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                                                                                      Docket #0001 Date Filed: 1/22/2021




    PACHULSKI STANG ZIEHL & JONES LLP
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    Counsel for Highland Capital Management, L.P.

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    In re:                                                       §
                                                                 §    Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                                 §    Case No. 19-34054-sgj11
                                      Debtor.                    §
                                                                 §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                                 §
                                      Plaintiff,                 §    Adversary Proceeding No.
                                                                 §
    vs.                                                          §    ______________________
                                                                 §
    HIGHLAND CAPITAL MANAGEMENT FUND                             §
    ADVISORS, L.P.,                                              §
                                                                 §
                                      Defendant.




    1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
    address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                          COMPLAINT FOR (I) BREACH OF CONTRACT
                 AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

            Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

    possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

    captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

    and for its complaint (the “Complaint”) against defendant, Highland Capital Management Fund

    Advisors, L.P. (“HCMFA” or “Defendant”), alleges upon knowledge of its own actions and upon

    information and belief as to other matters as follows:

                                    PRELIMINARY STATEMENT

            1.       The Debtor brings this action against HCMFA as a result of HCMFA’s defaults

    under two promissory notes executed by HCMFA in favor of the Debtor in the aggregate original

    principal amount of $7,400,000 and payable upon the Debtor’s demand. Despite due demand,

    HCMFA has failed to pay amounts due and owing under the notes and the accrued but unpaid

    interest thereon.

            2.       Through this Complaint, the Debtor seeks (a) damages from HCMFA in an

    amount equal to (i) the aggregate outstanding principal due under the Notes (as defined below),

    plus (ii) all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount

    equal to the Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees

    and expenses, as provided for in the Notes), and (b) turnover by HCMFA to the Debtor of the

    foregoing amounts.

                                    JURISDICTION AND VENUE

            3.       This adversary proceeding arises in and relates to the Debtor’s case pending

    before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

    (the “Court”) under chapter 11 of the Bankruptcy Code.


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            4.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

    1334.

            5.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

    pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

    by the Court in the event that it is later determined that the Court, absent consent of the parties,

    cannot enter final orders or judgments consistent with Article III of the United States

    Constitution.

            6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              THE PARTIES

            7.       The Debtor is a limited liability partnership formed under the laws of Delaware

    with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

            8.       Upon information and belief, HCMFA is a limited partnership with offices

    located in Dallas, Texas and is organized under the laws of the state of Delaware.

                                          CASE BACKGROUND

            9.       On October 16, 2019, the Debtor filed a voluntary petition for relief under chapter

    11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware

    (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

            10.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

    Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

    Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

    LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.




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               11.      On December 4, 2019, the Delaware Court entered an order transferring venue of

    the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

               12.      The Debtor has continued in the possession of its property and has continued to

    operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

    of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                               STATEMENT OF FACTS

    A.         The HCMFA Notes

               13.      HCMFA is the maker under a series of promissory notes in favor of the Debtor.

               14.      Specifically, on May 2, 2019, HCMFA executed a promissory note in favor of the

    Debtor, as payee, in the original principal amount of $2,400,000 (“HCMFA’s First Note”). A

    true and correct copy of HCMFA’s First Note is attached hereto as Exhibit 1.

               15.      On May 3, 2019, HCMFA executed a promissory note in favor of the Debtor, as

    payee, in the original principal amount of $5,000,000 (“HCMFA’s Second Note,” and together

    with HCMFA’s First Note, the “Notes”). A true and correct copy of HCMFA’s Second Note is

    attached hereto as Exhibit 2.

               16.      Section 2 of each Note provides: “Payment of Principal and Interest. The

    accrued interest and principal of this Note shall be due and payable on demand of the Payee.”

               17.      Section 4 of each Note provides:

               Acceleration Upon Default. Failure to pay this Note or any installment
               hereunder as it becomes due shall, at the election of the holder hereof, without
               notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
               or any other notice of any kind which are hereby waived, mature the principal of
               this Note and all interest then accrued, if any, and the same shall at once become
               due and payable and subject to those remedies of the holder hereof. No failure or
               delay on the part of the Payee in exercising any right, power, or privilege
               hereunder shall operate as a waiver hereof.


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        All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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             18.     Section 6 of each Note provides:

             Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
             otherwise) and is placed in the hands of an attorney for collection, or if it is
             collected through a bankruptcy court or any other court after maturity, the Maker
             shall pay, in addition to all other amounts owing hereunder, all actual expenses of
             collection, all court costs and reasonable attorneys’ fees and expenses incurred by
             the holder hereof.

    B.       HCMFA’s Default under Each Note

             19.     By letter dated December 3, 2020, the Debtor made demand on HCMFA for

    payment under the Notes by December 11, 2020 (the “Demand Letter”). A true and correct copy

    of the Demand Letter is attached hereto as Exhibit 3. The Demand Letter provided:

             By this letter, Payee is demanding payment of the accrued interest and principal
             due and payable on the Notes in the aggregate amount of $7,687,653.07, which
             represents all accrued interest and principal through and including December 11,
             2020.

             Payment is due on December 11, 2020, and failure to make payment in full
             on such date will constitute an event of default under the Notes.

    Demand Letter (emphasis in the original).

             20.     Despite the Debtor’s demand, HCMFA did not pay all or any portion of the

    amounts demanded by the Debtor on December 11, 2020 or at any time thereafter.

             21.     As of December 11, 2020, there was an outstanding principal amount of

    $2,457,517.15 on HCMFA’s First Note and accrued but unpaid interest in the amount of

    $35,884.46, resulting in a total outstanding amount as of that date of $2,493,401.61.

             22.     As of December 11, 2020, there was an outstanding principal balance of

    $5,119,827.40 on HCMFA’s Second Note and accrued but unpaid interest in the amount of

    $74,424.05, resulting in a total outstanding amount as of that date of $5,194,251.45.

             23.     Thus, as of December 11, 2020, the total outstanding principal and accrued but

    unpaid interest due under the Notes was $7,687,653.07


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            24.      Pursuant to Section 4 of each Note, each Note is in default and is currently due

    and payable.

                                      FIRST CLAIM FOR RELIEF
                                        (For Breach of Contract)

            25.      The Debtor repeats and re-alleges the allegations in each of the foregoing

    paragraphs as though fully set forth herein.

            26.      Each Note is a binding and enforceable contract.

            27.      HCMFA breached each Note by failing to pay all amounts due to the Debtor upon

    the Debtor’s demand.

            28.      Pursuant to each Note, the Debtor is entitled to damages from HCMFA in an

    amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

    and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

    costs of collection (including all court costs and reasonable attorneys’ fees and expenses) for

    HCMFA’s breach of its obligations under each of the Notes.

            29.      As a direct and proximate cause of HCMFA’s breach of each Note, the Debtor

    has suffered damages in the total amount of at least $7,687,653.07 as of December 11, 2020, plus

    an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

    collection.

                                     SECOND CLAIM FOR RELIEF
                           (Turnover by HCMFA Pursuant to 11 U.S.C. § 542(b))

           30.       The Debtor repeats and re-alleges the allegations in each of the foregoing

    paragraphs as though fully set forth herein.

            31.      HCMFA owes the Debtor an amount equal to (i) the aggregate outstanding

    principal due under each Note, plus (ii) all accrued and unpaid interest thereon until the date of

    payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court costs

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    and reasonable attorneys’ fees and expenses) for HCMFA’s breach of its obligations under each

    of the Notes.

            32.      Each Note is property of the Debtor’s estate, and the amounts due under each

    Note are matured and payable upon demand.

            33.      HCMFA has not paid the amounts due under each Note to the Debtor.

            34.      The Debtor has made demand for the turnover of the amounts due under each

    Note.

            35.      As of the date of filing of this Complaint, HCMFA has not turned over to the

    Debtor all or any of the amounts due under each of the Notes.

            36.      The Debtor is entitled to the turnover of all amounts due under each of the Notes.

            WHEREFORE, the Debtor prays for judgment as follows:

                     (i)        On its First Claim for Relief, damages in an amount to be determined at

                     trial, including, among other things, (a) the aggregate outstanding principal due

                     under each Note, plus (b) all accrued and unpaid interest thereon until the date of

                     payment, plus (c) an amount equal to the Debtor’s costs of collection (including

                     all court costs and reasonable attorneys’ fees and expenses);

                     (ii)       On its Second Claim for Relief, ordering turnover by HCMFA to the

                     Debtor of an amount equal to (a) the aggregate outstanding principal due under

                     each Note, plus (b) all accrued and unpaid interest thereon until the date of

                     payment, plus (c) an amount equal to the Debtor’s costs of collection (including

                     all court costs and reasonable attorneys’ fees and expenses); and

                     (iii)      Such other and further relief as this Court deems just and proper.




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    Dated: January 22, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

                                      Jeffrey N. Pomerantz (CA Bar No.143717)
                                      Ira D. Kharasch (CA Bar No. 109084)
                                      John A. Morris (NY Bar No. 2405397)
                                      Gregory V. Demo (NY Bar No. 5371992)
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                                      -and-

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                                      Counsel for Highland Capital Management, L.P.




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                        EXHIBIT 1




     EXHIBIT 1


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     $2,400,000.00                                                                         May 2, 2019


            FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT FUND
     ADVISORS, LP. (“Maker”) promises to pay to the order of HIGHLAND CAPITAL
     MANAGEMENT, LP (“Payee”), in legal and lawful tender of the United States of America, the
     principal sum of TWO MILLION FOUR HUNDRED THOUSAND and 00/100 Dollars
     ($2,400,000.00), together with interest, on the terms set forth below (the “Note”). All sums
     hereunder are payable to Payee at 300 Crescent Court, Dallas, TX 75201, or such other address
     as Payee may specify to Maker in writing from time to time.

             1.     Interest Rate. The unpaid principal balance of this Note from time to time
     outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
     in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
     Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
     the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
     1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
     number of days elapsed, and shall be payable on demand of the Payee.

             2.     Payment of Principal and Interest. The accrued interest and principal of this Note
     shall be due and payable on demand.

             3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
     or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
     be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

            4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
     as it becomes due shall, at the election of the holder hereof, without notice, demand,
     presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
     which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
     and the same shall at once become due and payable and subject to those remedies of the holder
     hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
     hereunder shall operate as a waiver thereof.

             5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
     nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
     all other notices of any kind hereunder.

            6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
     otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
     bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
     amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
     attorneys’ fees and expenses incurred by the holder hereof.




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            7.       Limitation on Agreements. All agreements between Maker and Payee, whether
     now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
     agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
     performance of any covenant or obligation contained herein or in any other document
     evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
     law. The terms and provisions of this paragraph shall control and supersede every other
     provision of all agreements between Payee and Maker in conflict herewith.

             8.     Governing Law. This Note and the rights and obligations of the parties hereunder
     shall be governed by the laws of the United States of America and by the laws of the State of
     Texas, and is performable in Dallas County, Texas.


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                                                  FRANK WATERHOUSE




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                        EXHIBIT 2




     EXHIBIT 2


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     $5,000,000.00                                                                         May 3, 2019


             FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT FUND
     ADVISORS, LP. (“Maker”) promises to pay to the order of HIGHLAND CAPITAL
     MANAGEMENT, LP (“Payee”), in legal and lawful tender of the United States of America, the
     principal sum of FIVE MILLION and 00/100 Dollars ($5,000,000.00), together with interest, on
     the terms set forth below (the “Note”). All sums hereunder are payable to Payee at 300 Crescent
     Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from
     time to time.

             1.     Interest Rate. The unpaid principal balance of this Note from time to time
     outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
     in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
     Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
     the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
     1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
     number of days elapsed, and shall be payable on demand of the Payee.

             2.     Payment of Principal and Interest. The accrued interest and principal of this Note
     shall be due and payable on demand.

             3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
     or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
     be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

            4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
     as it becomes due shall, at the election of the holder hereof, without notice, demand,
     presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
     which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
     and the same shall at once become due and payable and subject to those remedies of the holder
     hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
     hereunder shall operate as a waiver thereof.

             5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
     nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
     all other notices of any kind hereunder.

            6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
     otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
     bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
     amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
     attorneys’ fees and expenses incurred by the holder hereof.




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            7.       Limitation on Agreements. All agreements between Maker and Payee, whether
     now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
     agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
     performance of any covenant or obligation contained herein or in any other document
     evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
     law. The terms and provisions of this paragraph shall control and supersede every other
     provision of all agreements between Payee and Maker in conflict herewith.

             8.     Governing Law. This Note and the rights and obligations of the parties hereunder
     shall be governed by the laws of the United States of America and by the laws of the State of
     Texas, and is performable in Dallas County, Texas.


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                                                  FRANK WATERHOUSE




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                        EXHIBIT 3




     EXHIBIT 3


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                                      HIGHLAND CAPITAL MANAGEMENT, L.P.




     December 3, 2020




     Highland Capital Management Fund Advisors, LP
     c/o Highland Capital Management, L.P.
     300 Crescent Court, Suite 700
     Dallas, Texas 75201
     Attention: Frank Waterhouse, CFO

              Re: Demand on Promissory Notes:

     Dear Mr. Waterhouse,

     Highland Capital Management Fund Advisors, LP (“Maker”) entered into the following
     promissory notes (collectively, the “Notes”), among others,1 in favor of Highland Capital
     Management, L.P. (“Payee”):

    Date Issued      Original Principal     Outstanding Principal        Accrued But              Total Amount
                          Amount             Amount (12/11/20)          Unpaid Interest       Outstanding (12/11/20)
                                                                          (12/11/20)
     5/2/2019            $2,400,000             $2,457,517.15             $35,884.46               $2,493,401.61
     5/3/2019            $5,000,000             $5,119,827.40             $74,424.05               $5,194,251.45
      TOTALS             $7,400,000             $7,577,344.55            $110,308.52               $7,687,653.07

     As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
     upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
     and principal due and payable on the Notes in the aggregate amount of $7,687,653.07, which
     represents all accrued and unpaid interest and principal through and including December 11,
     2020.

     Payment is due on December 11, 2020, and failure to make payment in full on such date
     will constitute an event of default under the Notes.

     Payments on the Notes must be made in immediately available funds. Payee’s wire information
     is attached hereto as Appendix A.

     Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
     or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are


     1
      Maker is also obligated to pay amounts due under promissory notes issued in favor of Payee prior to April 15,
     2019. Pursuant to that certain Acknowledgment from HCMLP, dated as of April 15, 2019, Payee agreed not to
     demand payment on such amounts until May 31, 2021. Payee reserves all rights with respect to such amounts.


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                                                                                                             D-CNL002810
                                                                                                       Appx. 00017
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     expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
     accrue until the Notes are paid in full. Any such interest will remain the obligation of Maker.

     Sincerely,

     /s/ James P. Seery, Jr.

     James P. Seery, Jr.
     Highland Capital Management, L.P.
     Chief Executive Officer/Chief Restructuring Officer

     cc:     Fred Caruso
             James Romey
             Jeffrey Pomerantz
             Ira Kharasch
             Gregory Demo
             DC Sauter




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                                                                                                     D-CNL002811
                                                                                               Appx. 00018
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                                         Appendix A


                       ABA #:          322070381
                       Bank Name:      East West Bank
                       Account Name:   Highland Capital Management, LP
                       Account #:      5500014686




                                                                                      D-CNL002812
                                                                                Appx. 00019
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   B1040 (FORM 1040) (12/15)

           ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                   (Instructions on Reverse)

 PLAINTIFFS                                                                      DEFENDANTS
 Highland Capital Management, L.P.                                                    Highland Capital Management Fund Advisors, L.P.



 ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Hayward LLP                                                                     Munsch Hardt Kopf & Harr, P.C.
 10501 N. Central Expressway, Suite 106                                          500 N. Akard Street, Suite 3800
 Dallas, Texas 75231 Tel.: (972) 755-7100                                        Dallas, Texas 75201 Tel.: (214) 855-7500
 PARTY (Check One Box Only)                                                      PARTY (Check One Box Only)
 □ Debtor    □ U.S. Trustee/Bankruptcy Admin                                     □ Debtor         □ U.S. Trustee/Bankruptcy Admin
 □ Creditor  □ Other                                                             □ Creditor       □ Other
 □ Trustee                                                                       □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
  Count 1: Breach of contract; Count 2: Turnover pursuant to 11 U.S.C. 542




                                                                     NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


 □2 11-Recovery of money/property - §542 turnover of property                    □ 61-Dischargeability - §523(a)(5), domestic support
     FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

 □ 12-Recovery of money/property - §547 preference                               □ 68-Dischargeability - §523(a)(6), willful and malicious injury
 □ 13-Recovery of money/property - §548 fraudulent transfer                      □ 63-Dischargeability - §523(a)(8), student loan
 □ 14-Recovery of money/property - other                                         □ 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                 □ 65-Dischargeability - other
                                                                                      (other than domestic support)

 □ 21-Validity, priority or extent of lien or other interest in property
     FRBP 7001(2) – Validity, Priority or Extent of Lien



                                                                                 □
                                                                                 FRBP 7001(7) – Injunctive Relief

 □
     FRBP 7001(3) – Approval of Sale of Property
                                                                                 □
                                                                                    71-Injunctive relief – imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


 □ 41-Objection / revocation of discharge - §727(c),(d),(e)
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                 □ 81-Subordination of claim or interest
                                                                                 FRBP 7001(8) Subordination of Claim or Interest



 □ 51-Revocation of confirmation
     FRBP 7001(5) – Revocation of Confirmation
                                                                                 □ 91-Declaratory judgment
                                                                                 FRBP 7001(9) Declaratory Judgment



 □ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
     FRBP 7001(6) – Dischargeability
                                                                               □
                                                                               FRBP 7001(10) Determination of Removed Action

 □ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


 □ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
       actual fraud                                                            Other


                    (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                          if unrelated to bankruptcy case)
 □ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                                Demand $ 7,687,653.07 plus interest, fees, and expenses
 Other Relief Sought




                                                                                                                                          D-CNL002813
                                                                                                                                    Appx. 00020
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  B1040 (FORM 1040) (12/15)

                    BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                                    BANKRUPTCY CASE NO.
 Highland Capital Management, L.P.                   19-34054-sgj11
 DISTRICT IN WHICH CASE IS PENDING               DIVISION OFFICE                                         NAME OF JUDGE
  Northern District of Texas                        Dallas                                               Stacey G. C. Jernigan
                             RELATED ADVERSARY PROCEEDING (IF ANY)
 PLAINTIFF                             DEFENDANT                                                         ADVERSARY
                                                                                                         PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)




 DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
   January 22, 2021                                                      Zachery Z. Annable



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.




                                                                                                                          D-CNL002814
                                                                                                                    Appx. 00021
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                                EXHIBIT 2




                                                                          Appx. 00022
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                                                                                            Docket #0063 Date Filed: 8/27/2021




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     Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

         In re:                                                        §
                                                                       §   Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                       §   Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                       §
                                          Plaintiff,                   §   Adversary Proceeding No.
                                                                       §
         vs.                                                           §   21-03005
                                                                       §
         NEXPOINT ADVISORS, L.P., JAMES                                §
         DONDERO, NANCY DONDERO, AND THE                               §
         DUGABOY INVESTMENT TRUST,                                     §

                                          Defendants.



     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                                                                                                              Appx. 00023
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                  AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
          (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                            BREACH OF FIDUCIARY DUTY

                    Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

     debtor-in-possession (the “Debtor”) in the above captioned chapter 11 case (the “Bankruptcy

     Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

     “Adversary Proceeding”) by its undersigned counsel, as and for its amended complaint (the

     “Complaint”) against defendants NexPoint Advisors, L.P. (“NPA”), James Dondero (“Mr.

     Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy Investment Trust (“Dugaboy”

     and together with NPA, Mr. Dondero, and Ms. Dondero, the “Defendants”), alleges upon

     knowledge of its own actions and upon information and belief as to other matters as follows:

                                     PRELIMINARY STATEMENT

                    1.      The Debtor brings this action against Defendants in connection with NPA’s

     default under a promissory note executed by NPA in favor of the Debtor in the original principal

     amount of $30,746,812.33, and payable in annual installments. NPA has failed to pay amounts

     when due under the Note (as defined below), the Note is in default, and the amounts due under the

     Note have been accelerated pursuant to the terms of the Note.

                    2.      In paragraph 42 of NPA’s First Amended Answer [Docket No. 34-3], NPA

     contends that the Debtor orally agreed to relieve it of the obligations under the notes upon

     fulfillment of “conditions subsequent” (the “Alleged Agreement”). NPA further contends that the

     Alleged Agreement was entered into between James Dondero, acting on behalf of NPA, and his

     sister, Nancy Dondero, as representative of a majority of the Class A shareholders of the Plaintiff,

     including Dugaboy (the “Representative”), acting on behalf of the Debtor. At the time Mr.




                                                      2



                                                                                                    D-CNL002936
                                                                                              Appx. 00024
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     Dondero entered into the Alleged Agreement on behalf of NPA, he controlled both NPA and the

     Debtor and was the lifetime beneficiary of Dugaboy.

                    3.      Based on its books and records, discovery to date, and other facts, the

     Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

     Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

     under the Note.

                    4.      Nevertheless, the Debtor amends its Complaint to add certain claims and

     name additional parties who would be liable to the Debtor if the Alleged Agreement were

     determined to exist and be enforceable. Specifically, in addition to pursuing claims against NPA

     for breach of its obligations under the Note and for turnover, the Debtor adds alternative claims

     (a) against NPA for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

     fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

     against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                    5.      As remedies, the Debtor seeks (a) damages from NPA in an amount equal

     to (i) the outstanding principal due under the Note (as defined below), plus (ii) all accrued and

     unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s costs

     of collection (including all court costs and reasonable attorneys’ fees and expenses, as provided

     for in the Note), for NPA’s breach of its obligations under the Note, (b) turnover by NPA to the

     Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and the transfers

     thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit of, NPA

     pursuant to the Note; (d) declaratory relief, and (e) damages arising from the Defendants’ breach

     of fiduciary duties or aiding and abetting thereof.




                                                      3



                                                                                                    D-CNL002937
                                                                                              Appx. 00025
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                                     JURISDICTION AND VENUE

                     6.    This adversary proceeding arises in and relates to the Debtor’s case pending

     before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

     “Court”) under chapter 11 of the Bankruptcy Code.

                     7.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

     and 1334.

                     8.    This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

     and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

     order by the Court in the event that it is later determined that the Court, absent consent of the

     parties, cannot enter final orders or judgments consistent with Article III of the United States

     Constitution.

                     9.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             THE PARTIES

                     10.   The Debtor is a limited liability partnership formed under the laws of

     Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                     11.   Upon information and belief, NPA is a limited partnership with offices

     located in Dallas, Texas, and organized under the laws of the state of Delaware.

                     12.   Upon information and belief, Mr. Dondero is an individual residing in

     Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

     Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

     controlled NPA; Mr. Dondero also controlled the Debtor until January 9, 2020.

                     13.   Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

     and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



                                                     4



                                                                                                   D-CNL002938
                                                                                             Appx. 00026
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                         14.      Upon information and belief, Nancy Dondero is an individual residing in

     the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                                  CASE BACKGROUND

                         15.      On October 16, 2019, the Debtor filed a voluntary petition for relief under

     chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

     Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                         16.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

     Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

     Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

     Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

     Capital Management GP LLC (collectively, “Acis”).

                         17.      On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

     Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

     Redeemer had resigned from the Committee.

                         18.      On December 4, 2019, the Delaware Court entered an order transferring

     venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                         19.      The Debtor has continued in the possession of its property and has

     continued to operate and manage its business as a debtor-in-possession pursuant to sections

     1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

     chapter 11 case.




     2
         All docket numbers refer to the main docket for the Debtor’s Case maintained by this Court.

                                                                5



                                                                                                                 D-CNL002939
                                                                                                           Appx. 00027
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                                        STATEMENT OF FACTS

     A.     The NPA Note

                    20.    NPA is the maker under a promissory note in favor of the Debtor.

                    21.    Specifically, on May 31, 2017, NPA executed a promissory note in favor

     of the Debtor, as payee, in the original principal amount of $30,746, 812.33 (the “Note”). A true

     and correct copy of the Note is attached hereto as Exhibit 1.

                    22.    Section 2 of the Note provides: “Payment of Principal and Interest.

     Principal and interest under this Note shall be due and payable as follows:

                    2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                    the outstanding principal amount of the Note (and all unpaid accrued interest
                    through the date of each such payment) in thirty (30) equal annual payments (the
                    “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                    Installment on the 31st day of December of each calendar year during the term of
                    this Note, commencing on the first such date to occur after the date of execution of
                    this note.

                    2.2    Final Payment Date. The final payment in the aggregate amount of the
                    then outstanding and unpaid Note, together with all accrued and unpaid interest
                    thereon, shall become immediately due and payable in full on December 31, 2047
                    (the “Maturity Date”).

                    23.    Section 3 of the Note provides:

                    Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                    whole or in part the unpaid principal or accrued interest of this Note. Any
                    payments on this Note shall be applied first to unpaid accrued interest hereon, and
                    then to unpaid principal hereof.

                    24.    Section 4 of the Note provides:

                    Acceleration Upon Default. Failure to pay this Note or any installment
                    hereunder as it becomes due shall, at the election of the holder hereof,
                    without notice, demand, presentment, notice of intent to accelerate, notice
                    of acceleration, or any other notice of any kind which are hereby waived,
                    mature the principal of this Note and all interest then accrued, if any, and
                    the same shall at once become due and payable and subject to those
                    remedies of the holder hereof. No failure or delay on the part of the Payee
                    in exercising any right, power, or privilege hereunder shall operate as a
                    waiver hereof.

                                                     6



                                                                                                   D-CNL002940
                                                                                             Appx. 00028
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                    25.     Section 6 of the Note provides:

                    Attorneys’ Fees. If this Note is not paid at maturity (whether by
                    acceleration or otherwise) and is placed in the hands of an attorney for
                    collection, or if it is collected through a bankruptcy court or any other court
                    after maturity, the Maker shall pay, in addition to all other amounts owing
                    hereunder, all actual expenses of collection, all court costs and reasonable
                    attorneys’ fees and expenses incurred by the holder hereof.

     B.     NPA’s Default Under the Note

                    26.     NPA failed to make the payment due under the Note on December 31,

     2020 in the amount of $1,406,111.92.

                    27.     By letter dated January 7, 2021, the Debtor made demand on NPA for

     immediate payment under the Note (the “Demand Letter”). A true and correct copy of the Demand

     Letter is attached hereto as Exhibit 2. The Demand Letter provides:

                    Because of Maker’s failure to pay, the Note is in default. Pursuant to
                    Section 4 of the Note, all principal, interest, and any other amounts due on
                    the Note are immediately due and payable. The amount due and payable on
                    the Note as of January 8, 2021 is $24,471,804.98; however, interest
                    continues to accrue under the Note.

                    The Note is in default, and payment is due immediately.

     Demand Letter (emphasis in the original).

                    28.     On January 14, 2021, in an apparent attempt to cure its default, NPA paid

     the Debtor the $1,406,111.92 that was due on December 31, 2020 (the “Partial Payment”).

                    29.     The Note does not contain a cure provision. Therefore, the Partial Payment

     did not cure NPA’s default. Accordingly, on January 15, 2021, the Debtor sent NPA a follow-up

     letter to its Demand Letter (the “Second Demand Letter”), a true and correct copy of which is

     attached hereto as Exhibit 3, stating:

                    [T]he Partial Payment will be applied as payment against the amounts due under
                    the Note in accordance with Section 3 thereof. The Note remains in default, and
                    all amounts due thereunder are due immediately.


                                                      7



                                                                                                      D-CNL002941
                                                                                                Appx. 00029
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                    After adjusting for the Partial Payment and the continued accrual of interest, the
                    amount due under the Note as of January 15, 2021, is $23,071,195.03 (which
                    amount does not include expenses incurred to date in collecting the Note).

     Second Demand Letter (emphasis in original).

                    30.    Despite the Debtor’s demands, NPA did not pay the amount demanded by

     the Debtor on January 7, 2021, or at any time thereafter.

                    31.    As of January 15, 2021, the total outstanding principal and accrued but

     unpaid interest due under the Note was $23,071,195.03

                    32.    Pursuant to Section 4 of the Note, the Note is in default, and is currently due

     and payable.

     C.     The Debtor Files the Original Complaint

                    33.    On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

     Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

     Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

     NPA’s breach of its obligations under the Note and (ii) turnover by NPA for the outstanding

     amounts under the Note, plus all accrued and unpaid interest until the date of payment plus the

     Debtor’s costs of collection and reasonable attorney’s fees.

     D.     NPA’s Affirmative Defenses

                    34.    On March 1, 2021, NPA filed Defendant’s Original Answer [Docket No. 6]

     (the “Original Answer”). In its Original Answer, NPA asserted three affirmative defenses: (i) the

     claims are barred because the Plaintiff caused NPA to default, (ii) the claims are barred because

     the Plaintiff caused NPA to delay in making payment, and (iii) waiver and estoppel. See id. ¶¶39-

     41.

                    35.    On June 9, 2021, NPA filed Defendant’s First Amended Answer [Docket

     No. 35-3] (the “Amended Answer”), that asserted a new affirmative defense; namely, that the

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     Debtor previously agreed that it would not collect on the Notes “upon fulfillment of conditions

     subsequent” (i.e., the Alleged Agreement) id. ¶42.

                    36.     According to NPA, the Alleged Agreement was orally entered into

     “sometime between December of the year each note was made and February of the following

     year.”

                    37.     According to NPA, Mr. Dondero, acting on its behalf, entered into the

     Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                    38.     Mr. Dondero controlled both NPA and the Debtor at the time he entered

     into the Alleged Agreement on behalf of NPA.

                    39.     Upon information and belief, the Debtor’s books and records do not reflect

     the Alleged Agreement.

     E.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                    40.     Under section 4.2 of the Fourth Amended and Restated Agreement of

     Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

     Agreement”), and attached hereto as Exhibit 4, Dugaboy was not authorized to enter into the

     Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

     “Partnership” is defined in the Limited Partnership Agreement).

                    41.     Section 4.2(b) of the Limited Partnership Agreement states:

                    Management of Business. No Limited Partner shall take part in the control (within
                    the meaning of the Delaware Act) of the Partnership’s business, transact any
                    business in the Partnership’s name, or have the power to sign documents for or
                    otherwise bind the Partnership other than as specifically set forth in this Agreement.

     Exhibit 4, § 4.2(b).

                    42.     No provision in the Limited Partnership Agreement authorizes any of the

     Partnership’s limited partners to bind the Partnership.


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                    43.     Nancy Dondero also lacked authority to enter into the Alleged Agreement

     or to otherwise bind the Debtor

                                       FIRST CLAIM FOR RELIEF
                                             (Against NPA)

                                          (For Breach of Contract)

                    44.     The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                    45.     The Note is a binding and enforceable contract.

                    46.     NPA breached the Note by failing to pay all amounts due to the Debtor upon

     NPA’s default and acceleration.

                    47.     Pursuant to the Note, the Debtor is entitled to damages from NPA in an

     amount equal to (i) the aggregate outstanding principal due under the Note, plus (ii) all accrued

     and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

     costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

     NPA’s breach of its obligations under the Note.

                    48.     As a direct and proximate cause of NPA’s breach of the Note, the Debtor

     has suffered damages in the amount of at least $23,071,195.03, as of January 15, 2021, plus an

     amount equal to all accrued buy unpaid interest from that date, plus the Debtor’s cost of collection.

                                  SECOND CLAIM FOR RELIEF
                                           (Against NPA)
                           (Turnover by NPA Pursuant to 11 U.S.C. § 542(b))

                    49.     The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                    50.     NPA owes the Debtor an amount equal to (i) the aggregate outstanding

     principal due under the Note, plus (ii) all accrued and unpaid interest thereon until the date of


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     payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court costs

     and reasonable attorneys’ fees and expenses), for NPA’s breach of its obligations under the Note.

                    51.      The Note is property of the Debtor’s estate that is matured and payable upon

     default and acceleration.

                    52.      NPA has not paid the amount due under the Note to the Debtor.

                    53.      The Debtor has made demand for the turnover of the amount due under the

     Note.

                    54.      As of the date of filing of this Complaint, NPA has not turned over the

     amount due under the Note.

                    55.      The Debtor is entitled to the amount due under the Note.

                                 THIRD CLAIM FOR RELIEF
                                         (Against NPA)
      (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                           and 550)

                    56.      The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                    57.      The Debtor made the transfer pursuant to the Alleged Agreement within

     two years of the Petition Date.

                    58.      Mr. Dondero entered into the Alleged Agreement on behalf of NPA with

     actual intent to hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                    (a) The transfer was made to, or for the benefit of, NPA, an insider of the Debtor.

                    (b) Mr. Dondero entered into the Alleged Agreement on behalf of NPA with his

                          sister, Nancy Dondero.

                    (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                          Alleged Agreement.


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                       (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                       (e) The Alleged Agreement was not subject to negotiation.

                       (f) The value of the consideration received by the Debtor for the transfer was not

                             reasonably equivalent in value.

                       59.      The pattern of conduct, series of transactions, and general chronology of

     events under inquiry in connection with the debt NPA incurred under the Note demonstrates a

     scheme of fraud.

                       60.      Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

     of the Debtor’s estates the transfer made pursuant to the Alleged Agreement from NPA.

                       61.      Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

     Agreement and the transfer made thereunder, and (ii) recovering from NPA an amount equal to all

     obligations remaining under the Note.

                                FOURTH CLAIM FOR RELIEF
                                         (Against NPA)
       (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                          550, and Tex. Bus. & C. Code § 24.005(a)(1))

                       62.      The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                       63.      The Debtor made the transfers pursuant to the Alleged Agreement after, or

     within a reasonable time before, creditors’ claims arose.

                       64.      Mr. Dondero entered into the Alleged Agreement on behalf of NPA with

     actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

     by, inter alia:

                       (g) The transfer was made to, or for the benefit of, NPA, an insider of the Debtor.




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                    (h) Mr. Dondero entered into the Alleged Agreement on behalf of NPA with his

                          sister, Nancy Dondero.

                    (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                          Alleged Agreement.

                    (j) Upon information and belief, the Debtor’s books and record do not reflect the

                          Alleged Agreement.

                    (k) The Alleged Agreement was not subject to negotiation.

                    (l) The value of the consideration received by the Debtor for the transfer was not

                          reasonably equivalent in value.

                    65.      Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

     of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from NPA.

                    66.      Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

     Agreement and the transfer made thereunder, and (ii) recovering from NPA an amount equal to all

     obligations remaining under the Notes.


                                    FIFTH CLAIM FOR RELIEF
                                (Against Dugaboy and Ms. Dondero)
               (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                    67.      The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                    68.      A bona fide, actual, present dispute exists between the Debtor, on the one

     hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

     Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

     Debtor’s behalf.




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                    69.       A judgment declaring the parties’ respective rights and obligations will

     resolve their dispute.

                    70.       Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

     declarations that:

                    •     (a) limited partners, including but not limited to Dugaboy, have no right or

                          authority to take part in the control (within the meaning of the Delaware Act)

                          of the Partnership’s business, transact any business in the Partnership’s name,

                          or have the power to sign documents for or otherwise bind the Partnership other

                          than as specifically provided in the Limited Partnership Agreement,

                    •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                          Representative) was authorized under the Limited Partnership Agreement to

                          enter into the Alleged Agreement on behalf of the Partnership,

                    •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                          Representative) otherwise had any right or authority to enter into the Alleged

                          Agreement on behalf of the Partnership, and

                    •     (d) the Alleged Agreement is null and void.

                                      SIXTH CLAIM FOR RELIEF
                                    (Against Dugaboy and Ms. Dondero)
                                        (Breach of Fiduciary Duty)

                    71.       The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                    72.       If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

     the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

     Ms. Dondero would owe the Debtor a fiduciary duty.



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                    73.     If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

     into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

     their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

     Agreement on behalf of the Debtor.

                    74.     Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

     Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

     and (b) for punitive and exemplary damages.

                                  SEVENTH CLAIM FOR RELIEF
                             (Against James Dondero and Nancy Dondero)
                           (Aiding and Abetting a Breach of Fiduciary Duty)

                    75.     The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                    76.     James Dondero and Nancy Dondero (together, the “Donderos”) were aware

     that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                    77.     The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

     the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                    78.     The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

     the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                    79.     Accordingly, the Donderos are jointly and severally liable (a) for the actual

     damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of fiduciary

     duties, and (b) for punitive and exemplary damages

            WHEREFORE, the Debtor prays for judgment as follows:

                    (i)     On its First Claim for Relief, damages in an amount to be determined at trial

                    but includes (a) the outstanding principal due under the Note, plus (b) all accrued

                    and unpaid interest thereon until the date of payment, plus (c) an amount equal to

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                 the Debtor’s costs of collection (including all court costs and reasonable attorneys’

                 fees and expenses);

                 (ii)    On its Second Claim for Relief, ordering turnover by NPA to the Debtor of

                 an amount equal to (a) the outstanding principal due under the Note, plus (b) all

                 accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                 equal to the Debtor’s costs of collection (including all court costs and reasonable

                 attorneys’ fees and expenses);

                 (iii)   On its Third Claim for Relief, avoidance of the Alleged Agreement and the

                 transfers thereunder pursuant to the Alleged Agreement arising from actual

                 fraudulent transfer under section 548 of the Bankruptcy Code;

                 (iv)    On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                 transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                 fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

                 (v)     On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                 including but not limited to Dugaboy, have no right or authority to take part in the

                 control (within the meaning of the Delaware Act) of the Partnership’s business,

                 transact any business in the Partnership’s name, or have the power to sign

                 documents for or otherwise bind the Partnership other than as specifically provided

                 in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

                 (whether individually or as Representative) was authorized under the Limited

                 Partnership Agreement to enter into the Alleged Agreement on behalf of the

                 Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                 Representative) otherwise had any right or authority to enter into the Alleged



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                 Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

                 void;

                 (vi)    On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

                 Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

                 their breach of fiduciary duty, and for punitive and exemplary damages;

                 (vii)   On its Seventh Claim for Relief, actual damages from the Donderos, jointly

                 and severally, in an amount to be determined at trial, that Debtor suffered as a result

                 of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

                 exemplary damages and

                 (iii)   Such other and further relief as this Court deems just and proper.




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      Dated: As of July 13, 2021        PACHULSKI STANG ZIEHL & JONES LLP
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                                        Ira D. Kharasch (CA Bar No. 109084)
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                                        Counsel for Highland Capital Management, L.P.




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                                    EXHIBIT 1




                                                                                     D-CNL002953
                                                                               Appx. 00041
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                                    EXHIBIT 2




                                                                                     D-CNL002957
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                                 HIGHLAND CAPITAL MANAGEMENT, L.P.




     January 7, 2021




     NexPoint Advisors, L.P.
     300 Crescent Court, Suite 700
     Dallas, Texas 75201
     Attention: James Dondero

             Re: Demand on Promissory Note

     Dear Mr. Dondero,

     On May 31, 2017, NexPoint Advisors, L.P, entered into that certain promissory note in the
     original principal amount of $30,746,812.33 (the “Note”) in favor of Highland Capital
     Management, L.P. (“Payee”).

     As set forth in Section 2 of the Note, accrued interest and principal on the Note is due and
     payable in thirty equal annual payments with each payment due on December 31 of each
     calendar year. Maker failed to make the payment due on December 31, 2020.

     Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of the Note, all
     principal, interest, and any other amounts due on the Note are immediately due and payable. The
     amount due and payable on the Note as of January 8, 2021 is $24,471,804.98; however, interest
     continues to accrue under the Note.

     The Note is in default, and payment is due immediately. Payments on the Note must be made
     in immediately available funds. Payee’s wire information is attached hereto as Appendix A.

     Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
     or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
     expressly reserved. Interest, including default interest if applicable, on the Note will continue to
     accrue until the Note is paid in full. Any such interest will remain the obligation of Maker.

     Sincerely,

     /s/ James P. Seery, Jr.

     James P. Seery, Jr.
     Highland Capital Management, L.P.
     Chief Executive Officer/Chief Restructuring Officer



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     cc:     Fred Caruso
             James Romey
             Jeffrey Pomerantz
             Ira Kharasch
             Gregory Demo
             DC Sauter




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                                         Appendix A


                       ABA #:          322070381
                       Bank Name:      East West Bank
                       Account Name:   Highland Capital Management, LP
                       Account #:      5500014686




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                                                                               Appx. 00048
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                                    EXHIBIT 3




                                                                                     D-CNL002961
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                                 HIGHLAND CAPITAL MANAGEMENT, L.P.

     January 15, 2021



     NexPoint Advisors, L.P.
     300 Crescent Court, Suite 700
     Dallas, Texas 75201
     Attention: James Dondero

             Re: Partial Payment on Promissory Note

     Dear Mr. Dondero,

     On May 31, 2017, NexPoint Advisors, L.P, (“Maker”), entered into that certain promissory note
     in the original principal amount of $30,746,812.33 (the “Note”) in favor of Highland Capital
     Management, L.P. (“Payee”). A copy of the Note is attached hereto as Appendix A.

     On January 7, 2021, Payee notified you that because of Maker’s failure to make the payment due
     on December 31, 2020 (the “Default”), the Note was in default and that all principal, interest,
     and any other amounts due on the Note were immediately due and payable. The amount due and
     payable on the Note as of January 8, 2021, was $24,471,804.98; however, interest continues to
     accrue under the Note.

     On January 14, 2021, Payee received a wire from Maker in the amount of $1,406,111.92 (the
     “Partial Payment”). To reiterate, the amount due under the Note as of January 8, 2021, was
     $24,471,804.98. The Partial Payment will be applied as payment against the amounts due under
     the Note pursuant to Section 3 thereof. The Note remains in default, and all amounts due
     thereunder are due immediately.

     After adjusting for the Partial Payment and the continued accrual of interest, the amount due
     under the Note as of January 15, 2021, is $23,071,195.03 (which amount does not include
     expenses incurred to date in collecting the Note). Payment of such amount is due immediately.
     Payments on the Note must be made in immediately available funds. Payee’s wire information is
     attached hereto as Appendix B.

     Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
     or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
     expressly reserved, including the right to recover Payee’s expenses incurred in collecting the
     Note. Interest, including default interest if applicable, on the Note will continue to accrue until
     the Note is paid in full. Any such interest will remain the obligation of Maker.

     Sincerely,

     /s/ James P. Seery, Jr.

     James P. Seery, Jr.
     Highland Capital Management, L.P.
     Chief Executive Officer/Chief Restructuring Officer


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     cc:     Fred Caruso
             James Romey
             Jeffrey Pomerantz
             Ira Kharasch
             Gregory Demo
             DC Sauter
             A. Lee Hogewood III




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                                     Appendix A




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                                         Appendix B


                       ABA #:          322070381
                       Bank Name:      East West Bank
                       Account Name:   Highland Capital Management, LP
                       Account #:      5500014686




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                                     EXHIBIT 4




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                             FOURTH AMENDED AND RESTATED

                          AGREEMENT OF LIMITED PARTNERSHIP

                                            OF

                          HIGHLAND CAPITAL MANAGEMENT, L.P.




     THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
     AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
     UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
     ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
     PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
     SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
     PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




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                                     HIGHLAND CAPITAL MANAGEMENT, L.P.

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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
     is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
     among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
     party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                                   ARTICLE 1

                                                   GENERAL

             1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
     the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
     expressly provided herein, the rights and obligations of the Partners and the administration and
     termination of the Partnership shall be governed by the Delaware Act.

              1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
     conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
     unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
     provide Limited Partners with written notice of such name change within twenty (20) days after such
     name change.

              1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
     business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
     Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
     indirectly through another partnership, joint venture, or other arrangement.

            1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
    continue until terminated pursuant to this Agreement.

             1.5.    Partnership Offices; Addresses of Partners.

                     (a)      Partnership Offices. The registered office of the Partnership in the State of
    Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
    service of process on the Partnership at that registered office shall be Corporation Service Company, or
    such other registered office or registered agent as the General Partner may from time to time designate.
    The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
    sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
    offices at such other place or places as the General Partner deems advisable.

                    (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
    Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
    Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
    the General Partner with prompt written notice of any change in his/her/its address.




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                                                   ARTICLE 2

                                                  DEFINITIONS

             2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
     unless otherwise clearly indicated to the contrary in this Agreement:


     Agreement.

                     ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
    balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
    relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
    further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
    or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
    Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
    Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
    the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
    (B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
    minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
    Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                     ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
    under common control with the Person in question. As used in this definition, the term ·'controf' means
    the possession. directly or indirectly, of the power to direct or cause the direction of the management and
    policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                      ..Agreement" means this Fourth Amended and Restated Agreement of Limited
    Partnership, as it may be amended, supplemented, or restated from time to time.

                    "Business Day" means Monday through Friday of each week, except that a legal holiday
    recognized as such by the government of the United States or the State of Texas shall not be regarded as a
    Business Day.

                      ·'Capital Account" means the eapital account maintained for a Partner pursuant to
    Section 3.7(a).

                    "Capital Contribution" means, with respect to any Partner, the amount of money or
    property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

                   "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
    with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
    supplemented or restated from time to time.

                     "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
    Interest, as shown on Exhibit A.

                      "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
    its capacity as a Class A Limited Partner.''




                                                         2




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                      "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
     Interest, as shown on ==~~·

                       "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class B Limited Partner."

                      ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
    Limited Partner's aggregate capital contributions, including the original principal balance of the
    Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
    exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
    total book value of the Partnership; provided, however, that the General Partner shall only be required to
    test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
    further the General Partner must complete the testing within 180 days of the end of each calendar year;
    provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
    at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                     "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
    Interest, as shown on Exhibit A.

                       "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
     its capacity as a Class C Limited Partner."

                    "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
    $93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
    Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
    multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
    only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
    calendar year; provided further the General Partner must complete the testing within 180 days of the end
    of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
    General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
    Ratio Trigger Period.

                     "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
    time.

                  ''Contribution Note" means that certain Secured Promissory Note dated December 21,
    2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                     ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                     "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                     "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
    Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
    restated from time to time, and any successor to that Act.

                     "Effective Date" means the date first recited above.

                     ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




                                                           3




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                    "Founding Partner Group" means, all partners holding partnership interests m the
     Partnership immediately before the Effective Date.

                     "General Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
     not ceased to be a General Partner pursuant to the terms of this Agreement.

                     "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
     not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                    "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
    determined in accordance with accounting principles consistently applied from year to year employed
    under the Partnership's method of accounting and as reported, separately or in the aggregate, as
    appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
    expenditures described in Code Section 705(a)(2)(B).

                      ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
     Interests of Class A Limited Partners.

                    ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
     NA V Ratio Trigger Period.

                      "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
    plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
    Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
    measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
    plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
    the beginning of the period being measured; provided, however, that amounts within each of the
    aforementioned categories shall be excluded from the calculation to the extent they are specifically
    identified as being derived from investing or financing activities. Each of the capitalized terms in this
    definition shall have the meaning given them in the books and records of the Partnership and appropriate
    adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
    that are current assets or current liabilities.

                   ''New Issues" means Securities that are considered to be "new issues," as defined in the
    Conduct Rules of the National Association of Securities Dealers, Inc.

                       "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
     I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                         "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
     l. 704-2(b )(3 ).

                    "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
    Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
    capitalized terms in this definition shall have the meaning given them in the books and records of the
    Partnership.



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                       "Parmer'' means a General Partner or a Limited Partner.

                       "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
     l .704-2(b)(4).

                      "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
     Section l .704-2(i)(2).

                    "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
     Regulations Section 1.704-2(i)(5).

                     "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
     partnership established pursuant to this Agreement.

                     "Partnership Capitaf' means, as of any relevant date, the net book value of the
     Partnership's assets.

                    ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
    including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
    deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
    a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
    manage and operate the Pa1inership.

                       "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
     l. 704-2( d).

                    ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
    Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                     "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
    organization, association, or other entity.

                       "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                    "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
    determined in accordance with accounting principles consistently applied from year to year employed
    under the Partnership's method of accounting and as reported, separately or in the aggregate, as
    appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
    income described in Code Section 705(a)( 1)(B).

                     "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
    treated as a "profits interest" for federal income tax purposes.

                   "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
    by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
    Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
    The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
    Promissory Notes.




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                       ·'Record Date'' means the date established by the General Partner for determining the
     identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
     rights in respect of any other lawful action of Limited Partners.

                    "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
     Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
     as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
     supplemented, or restated from time to time.

                       ''Securities·' means the following: (i) securities of any kind (including, without limitation,
    ·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
    (as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
    thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
    any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
    any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
    participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
    through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
    convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
    bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
    ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
    marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
    bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
    foreign country or any state or possession of the United States or any foreign country or any political
    subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                     "Securities Act" means the Securities Act of 1933, as amended, and any successor to
    such statute.

                     "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                    "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
    sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
    part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
    exchange, pledge, hypothecate or otherwise dispose oC

                    "Treasury Regulations" means the Department of Treasury Regulations promulgated
    under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

            2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
    have the meanings contained elsewhere in this Agreement.

                                                     ARTICLE 3

                                             FINANCIAL MATTERS

            3.1.     Capital Contributions.

                      (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
    shall be set forth in the books and records of the Partnership.

                     (b)     Additional Capital Contributions.


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                             (i)      The General Partner, in its reasonable discretion and for a bona
     business purpose, may request in writing that the Founding Partner Group make additional Capital
     Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                               (ii)     Any failure by a Partner to make an Additional Capital Contribution
     requested under                     on or before the date on which that Additional Capital Contribution was
     due shall result in the Partner being in default.

                      (c)                                                In the event a Partner is in default under
     =====:c..:~~ (a "Defaulting Partner''),      the Defaulting Partner, in its sole and unfettered discretion, may
     elect to take either one of the option set forth below.

                               (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
    shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
    capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
    advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
    the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
    which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
    of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
    and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
    receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
    or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
    Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
    shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
    the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
    but shall be considered, for all other purposes of this Agreement, to have been distributed to the
    Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
    by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
    connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
    enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
    addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
    repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
    Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
    to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
    Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
    accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
    agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
    statements, continuation statements or other documents and take such other actions as the General Partner
    shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
    Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
    notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
    hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
    documents and take all such other actions as may be required to perfect such security interest. Such
    appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
    shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
    available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
    reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
    shall not be less than five (5) days following the date of such notice.




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                             ( ii)                                      If the Defaulting Partner does not elect
     to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
     Partner's Percentage Interest in accordance with the following formula:

             The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
             Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
             current Capital Account of the Defaulting Partner (with such Capital Account determined
             after taking into account a revaluation of the Capital Accounts immediately prior to such
             determination), divided by (b) the sum of (i) the current Capital Account of the
             Defaulting Partner (with such Capital Account determined after taking into account a
             revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
             the amount of the additional capital contribution that such Defaulting Partner failed to
             make when due.

    To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
    Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
    proportion to their respective Percentage Interests.

             3.2.    Allocations of Profits and Losses.

                     (a)      Allocations of Profits. Except as provided in===~-''                  and       Profits
     for any Fiscal Year will be allocated to the Partners as follows:

                                (i)      First, to the Partners until cumulative Profits allocated under this Section
    3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
    3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                               (ii)            to the Partners until cumulative Profits allocated under this Section
    3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
    3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                              (iii)   Then, to all Patiners in proportion to their respective Percentage
    Interests.

                    (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
    for any Fiscal Year will be will be allocated as follows:

                                 (i)      First, to the Partners until cumulative Losses allocated under this Section
    3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
    3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                              (ii)           to the Partners in proportion to their respective positive Capital
    Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
    Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
    that were last allocated to the Capital Accounts of the Partners; and

                             (iii)    Then, to all Partners in proportion to their respective Percentage
    Interests.




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                     (c)                                      If any allocation of Losses would cause a
     Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
     the General Partner.

              3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
     Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
     existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
     Section 4.3( d).

              3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
     special allocations shall be made in the following order:

                     (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
     this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
     period for which allocations are made, prior to any other allocation under this Agreement, each Partner
     shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
     subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
     net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
     Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
     Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
     minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
     provided therein.

                     (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
    other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
    Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
    other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
    Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
    and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
    or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
    accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
    determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
    to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
    Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
    exceptions provided therein.

                     (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
    allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
    (d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
    amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
    Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
    pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
    Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
    tentatively made without considering this Section 3.4(c).

                      ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
    any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
    restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
    sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
    be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
    as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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     the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
     allocations provided for in this       have been tentatively made without considering               or


                     ( e)                             Nonrecourse Deductions for any taxable year or other
     period for which allocations are made shall he allocated among the Partners in accordance with their
     Percentage interests.

                     (f)                                        Notwithstanding anything to the contrary in
     this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
     allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
     the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
     with Treasury Regulations Section l .704-2(i).

                     (g)                                  To the extent an adjustment to the adjusted tax basis
    of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
    Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
    Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
    adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
    that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
    which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
    Regulations.

                     (h)                                    Any allocable items of income, gain, expense,
    deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
    exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
    Partnership Interest whether such items are positive or negative in amount.

             3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
    pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
    provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
    items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
    amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
    equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
    Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
    this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
    extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
    economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
    determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
    shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
    during which such items are recognized for tax purposes.

             3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
    Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
    the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
    account of any variation at the time of the contribution between the tax basis of the property to the
    Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
    or other decisions relating to those allocations shall be made by the General Partner in any manner that
    reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
    deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
    affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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     of Profits,         other tax items or distributions of any Partner pursuant to any provision of this
     Agreement.

            3.7.     Capital Accounts.

                     (a)                                       The Partnership shall establish and maintain a
    separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
    Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                             (i)     The Capital Account balanee of each Partner shall be credited (increased)
    by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
    value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
    that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
    (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
    specially allocated pursuant to             and     · and

                             (ii)     The Capital Account balance of each Partner shall be debited (decreased)
    by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
    property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
    property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
    allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
    Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
    allocated pursuant to Sections 3 .2,   and

    The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
    of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
    Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
    with those provisions. The General Partner may modify the manner in which the Capital Accounts are
    maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
    occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                    (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
    Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
    Contribution by reason thereof, and that negative balance shall not be considered an asset of the
    Partnership or of any Partner.

                    (c)              No interest shall be paid by the Patinership on Capital Contributions or
    on balances in Capital Accounts.

                    (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
    Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
    except as provided in Section 3.9 and Article 5.

                   ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
    considered Capital Contributions.

                   ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
    "'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
    otherwise.



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             3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
    credit that are recognized for federal income tax purposes will be allocated among the Partners in
    accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
    its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
    New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
    any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
    that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
    any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
    an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
    being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
    time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
    consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
    or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
    determines such alteration to be necessary or appropriate to avoid a materially inequitable result
    where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
    of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
    consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

            3. 9.    Distributions.

                      (a)                  The General Partner may make such pro rata or non-pro rata
    distributions as it may determine in its sole and unfettered discretion, without being limited to current or
    accumulated income or gains, but no such distribution shall be made out of funds required to make
    current payments on Partnership indebtedness; provided, however, that the General Partner may not make
    non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
    consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
    Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
    provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
    tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
    credit facilities with financial institutions that may limit the amount and timing of distributions to the
    Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
    distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
    3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
    aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
    Partners under Section 3 .9(b ).

                     (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
    pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
    Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
    Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                           (i)     No later than March 31st of each calendar year, commencing March 31,
    2017, an amount equal to $1,600,000.00;

                            (ii)     No later than March 31st of each year, commencing March 31, 2017, an
    amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
    the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
    gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
    and records;




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                             (iii)     No later than March 31st of      year, commencing March 31, 2017, an
     amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                            (iv)    No later than December 24th of each year, commencing December
     2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
     the then current year.

                      (c)                         The General Partner may, in its sole discretion, declare and
    make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
    attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
    paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
    Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
    provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
    Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
    Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
    income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
    and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
    Priority Distributions under ==~~~CJ.·

                     ( d)                                                      Any amounts paid pursuant to
    ===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                     (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
    the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
    pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
    that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
    withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
    received a payment from the Partnership as of the time that withholding or tax is paid, which payment
    shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
    Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
    To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
    which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
    the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
    income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
    hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
    sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
    otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
    the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
    received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
    lower rate is applicable, or that no withholding is applicable.

                    (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
    Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
    amount necessary for each of them to pay their respective federal income tax obligations incurred through
    the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
    Capital Management, L.P., the predecessor to this Agreement.

                     (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
    defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
    distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
    Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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    as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
    consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
    and any of its direct or indirect owners that have governing documents directly affected by a Honis
            Event.

            3.10.    Compensation and Reimbursement of General Partner.

                    (a)     Compensation. The General Partner and any Affiliate of the General Partner
    shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
    any other agreements unless approved by a Majority Interest; provided, however, that no compensation
    above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
            Period.

                     (b)                                     In addition to amounts paid under other Sections
    of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
    disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
    with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
    and all related matters.

            3.11.    Books, Records, Accounting, and Reports.

                     (a)     Records and Accounting. The General Partner shall keep or cause to be kept
    appropriate books and records with respect to the Partnership's business, which shall at all times be kept
    at the principal office of the Partnership or such other office as the General Partner may designate for
    such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
    accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
    discretion. in accordance with generally accepted accounting principles and applicable law. Upon
    reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
    records of the Partnership.

                    (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
    otherwise determined by the General Partner in its sole and unfettered discretion.

                     ( c)    Other Information. The General Paitner may release information concerning the
    operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
    to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
    other Person for reasons reasonably related to the business and operations of the Partnership or as
    required by law or regulation of any regulatory body.

                    ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
    Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
    Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
    Partner requesting the information.

            3.12.   Tax Matters.

                     (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
    filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
    federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
    his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
    October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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     other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
     General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
     unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
     and treat such taxes as an expense of the Partnership.

                      (b)                      Except as otherwise provided herein, the General Partner shall, in
     its sole and unfettered discretion, determine whether to make any available tax election.

                      (c)                             Subject to the provisions hereof, the General Partner is
     designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
     represent the Partnership, at the Partnership's expense, in connection with all examinations of the
     Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
     expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
     cooperate \\ith the General Partner in connection with such proceedings.

                      (d)                                No election shall be made by the Partnership or any
     Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
     Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                    ARTICLE 4

                                RIGHTS AND OBLIGATIONS OF PARTNERS

              4.1.    Rights and Obligations of the General Partner. In addition to the rights and
     obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
     obligations:

                     (a)      Management. The General Partner shall conduct, direct, and exercise full control
    of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
    management powers over the business and affairs of the Partnership shall be exclusively vested in the
    General Partner, and Limited Partners shall have no right of control over the business and affairs of the
    Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
    partnership under applicable law or that are granted to the General Partner under any provision of this
    Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
    desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
    determination of the activities in which the Partnership will participate; (ii) the performance of any and all
    acts necessary or appropriate to the operation of any business of the Partnership (including, without
    limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
    paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
    insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
    General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
    of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
    in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
    any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
    business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
    and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
    deems necessary or advisable for the conduct of the activities of the Partnership, including, without
    limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
    pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
    on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
    of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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     of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
     desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
     implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
     cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
     consultants, contractors, agents and representatives and the determination of their compensation and other
     teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
     ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
     or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
     the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
     the incurring of legal expenses, and the settlement of claims and suits.

                      (b)                                          The General Partner caused the Cetiificate of
     Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
     the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
     limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
     Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
     operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
     State of Delaware and in any other state where the Partnership may elect to do business.

                     (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
    Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
     from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
    representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
    properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
    exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
    sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
    all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
    contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
    financing. In no event shall any Person dealing with the General Partner or the General Partner's
    representative with respect to any business or property of the Partnership be obligated to asce1iain that the
    terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
    assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
    such Person be obligated to inquire into the necessity or expedience of any act or action of the General
    Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
    agreement, promissory note, or other instrument or document executed by the General Partner or the
    General Partner's representative with respect to any business or property of the Patinership shall be
    conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
    the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
    instrument or document was duly executed in accordance with the terms and provisions of this Agreement
    and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
    was duly authorized and empowered to execute and deliver any and every such instrument or document
    for and on behalf of the Paiinership.

                     (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
    account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
    unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
    the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
    Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
    account are maintained that show the amount of funds of the Partnership on deposit in such account and
    interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
    the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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     not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
     obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
     thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
     Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
     withdrawals from or charges against such accounts shall be made by the General Partner or by its
     representatives. Funds of the Partnership may be invested as determined by the General Partner in
     accordance with the terms and provisions of this Agreement.

                     (e)

                               (i)      The General Partner or any Affiliate of the General Partner may lend to
     the Partnership funds needed by the Partnership for such periods of time as the General Partner may
     determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
     at a rate greater than the rate (including points or other financing charges or fees) that would be charged
     the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
     lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
     case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
     borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
     Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
     General Partner's sole and exclusive discretion.

                              (ii)    The General Partner or any of its Affiliates may enter into an agreement
     with the Partnership to render services, including management services, for the Partnership. Any service
     rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
     and reasonable to the Partnership.

                              (iii)   The Partnership may Transfer any assets to JOmt ventures or other
     partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
     consistent with applicable law as the General Partner deems appropriate; provided, however, that the
     Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
     Ratio Trigger Period for consideration less than such asset's fair market value.

                     (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
    thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
    thereof shall be entitled to and may have business interests and engage in business activities in addition to
    those relating to the Patinership, including, without limitation, business interests and activities in direct
    competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
    virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
    General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
    the General Patiner or any Affiliate thereof.

                     (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
    Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
    between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
    Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
    General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
    herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
    any other applicable law, rule, or regulation.

                    (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
    Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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     the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
     performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
     with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
     in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
     Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
     harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
     misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
     and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
     who is or was serving at the request of the Partnership acting through the General Partner as a director,
     oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
     venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
     its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
     permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
     elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
     reduce or limit in any manner the indemnification provided for or permitted by this                  unless
     such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
     enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
     reason of the indemnification provisions of this Agreement.

                     ( i)    Liability of General Partner.

                             (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
    or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
    any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                              (ii)   The General Partner may exercise any of the powers granted to it by this
    Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
    directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
    for any misconduct or negligence on the part of any agent or representative appointed by the General
    Partner.

                     U)      Reliance by General Partner.

                             (i)     The General Partner may rely and shall be protected in acting or
    refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
    request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
    have been signed or presented by the proper party or parties.

                             (ii)    The General Partner may consult with legal counsel, accountants,
    appraisers, management consultants, investment bankers, and other consultants and advisers selected by
    it, and any opinion of any such Person as to matters which the General Partner believes to be within such
    Person's professional or expe11 competence shall be full and complete authorization and protection in
    respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
    accordance with such opinion.

                     (k)     The General Partner may, from time to time, designate one or more Persons to be
    officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
    authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
    General Partner may assign titles to particular officers, including, without limitation, president, vice
    president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
    until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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     until such Person shall          or shall have been removed in the manner hereinafter provided. Any
     number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
     officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
     may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
     Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
     any office of the Partnership may be filled by the General Partner.

              4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
     of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
     rights and obligations:

                  (a)                                 Limited Partners shall have no liability under this
    Agreement except as provided herein or under the Delaware Aet.

                     (b)                               No Limited Partner shall take part in the control
    (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
    Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
    as specifically set forth in this Agreement.

                    (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
    return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
    Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
    extent provided for in this Agreement.

                  (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
    shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
    Agreement.

                     ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
    Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
    Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
    may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
    Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
    however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
    traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
    3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
    offer to purchase any securities liquidated under this Section 4.2(e).

            4.3.     Transfer of Partnership Interests.

                      (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
    in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
    Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
    made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
    shall be null and void. An alleged transferee shall have no right to require any information or account of
    the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
    treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
    incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
    of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
    notices required to be given to holders of Partnership Interests.



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                     (b)                                      The General Partner may Transfer all, but not
    than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
    however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
     Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
    the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
     Interest under this                 to an Af111iate of the General Partner or any other Person shall not
    constitute a withdrawal of the General Partner under                                 or any other provision
    of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
    otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
    jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
    consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
    pursuant to~~~~~·

                    (c)                                      The Partnership Interest of a Limited Partner may
    not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
    and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
    and Redemption Agreement.

                     ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
    any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
    A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
    items attributable to the transferred interest for that period shall be divided and allocated between the
    transferor and the transferee by taking into aecount their varying interests during the period in aecordance
    with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
    provided that no allocations shall be made under this Section 4.3(d) that would affect any special
    allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
    be made to the transferor. Solely for purposes of making such allocations and distributions, the
    Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
    given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
    date that Partnership Interest was Transferred and such other information as the General Pa1iner may
    reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
    occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
    according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
    Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
    incur any liability for making alloeations and distributions in accordance with the provisions of this
    Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
    of any Pa1inership Interest.

                     ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
    event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
    default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
    Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
    Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
    equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
    transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
    Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
    forfeiture of such Class B Limited Partnership Interest.

                    (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
    Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
    Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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     the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
     default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
     member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
     automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
     each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
     Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     transfer of such Class C Limited Partnership Interest.

             4.4.    Issuances of Partnership Interests to New and Existing Partners.

                     (a)                                                                   The General Partner
    may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
    Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
    discretion; provided, however, that the General Partner may only admit additional Persons as Limited
    Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
    further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
    in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
    Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
    Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
    partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
    executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
    the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
    Sell and Redemption Agreement.

                    (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
    General Partner may issue an additional Partnership Interest to any existing Partner at such times and
    upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
    additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
    Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
    subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
    Redemption Agreement.

            4.5.     Withdrawal of General Partner

                     (a)      Option. In the event of the withdrawal of the General Partner from the
    Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
    (if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
    from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
    to its Capital Account balance, determined as of the effective date of its departure.

                     (b)     Conversion. If the successor to a Departing Partner does not exercise the option
    described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
    Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

            4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                     (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
    or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
    receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
    to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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     that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
     withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
     requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
     respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
     Agreement in the form attached as                (which may be modified by the General Partner in its sole
     and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
     Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
     of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
     Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
     Limited Partner.

                     (b)                                                  A successor General Partner selected
    pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
    Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
    of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
    predecessor's Partnership Interest.

                    ( c)    Action by General Partner. In connection with the admission of any substitute
    Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
    have the authority to take all such actions as it deems necessary or advisable in connection therewith,
    including the amendment of              and the execution and filing with appropriate authorities of any
    necessary documentation.

                                                    ARTICLE 5

                                      DISSOLUTION AND WINDING UP

            5.1.     Dissolution. The Partnership shall be dissolved upon:

                     (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
    event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
    Section 4.3(b)):

                    (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
    the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
    Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
    Amended Buy-Sell and Redemption Agreement; or

                    (c)      Any other event that, under the Delaware Act, would cause its dissolution.

    For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
    when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
    bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
    or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
    arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
    an answer or other pleading admitting or failing to contest the material allegations of a petition filed
    against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
    paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
    the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
    hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
    Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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     similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
     expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
     trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
     Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
     expire after the date of expiration of a stay, if the appointment has not previously been vacated.

              5.2.      Continuation of the Partnership. Upon the occurrence of an event described in      ==C!c!
             the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
     continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
     made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
     up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
     111                 then:

                     (a)       Within that ninety (90)-day period a successor General Partner shall be selected
     by a Majority Interest;

                      (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
     end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                     (c)       The interest of the former General Partner shall be converted to an interest as a
     Limited Pa11ner: and

                    (d)     All necessary steps shall be taken to amend or restate this Agreement and the
    Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
    Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

             5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
     under               the General Partner or, in the event the General Partner has been dissolved, becomes
     bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
    committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
    General Partner) shall be entitled to receive such compensation for its services as may be approved by a
     Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
     written notice and (if other than the General Partner) may be removed at any time, with or without cause,
     by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
     Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
    duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
    The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
    and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
    the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
    such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
    provided in this              the Liquidator appointed in the manner provided herein shall have and may
    exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
    upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
    limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
    desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
    Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
    judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
    herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
    of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
    of applicable law:



                                                          23




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                      (a)    To the payment of the            of the terminating transactions including, without
     limitation, brokerage commission, legal fees, accounting      and closing costs;

                      (b)    To the payment of creditors of the Partnership, including Partners, in order of
     priority provided by law;

                        (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
     balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
     1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
     of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
     for such purposes; and

                     (d)      To the Partners in propo1iion to their respective Percentage Interests.

               5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
     liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
     dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
     Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
     Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
     liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
     assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
     undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
     such distributions in kind shall be subject to such conditions relating to the disposition and management
     of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
     or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
     determine the fair market value of any property distributed in kind using such reasonable method of
     valuation as it may adopt.

             5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
    distribution of Partnership property as provided in                     and       the Partnership shall be
    terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
    cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
    registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
    Delaware and shall take such other actions as may be necessary to terminate the Partnership.

            5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
    the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
    any such return shall be made solely from Partnership assets.

            5.7.    Waiver of Partition.        Each Partner hereby waives any rights to partition of the
    Partnership property.

                                                    ARTICLE 6

                                            GENERAL PROVISIONS

            6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
    the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
    and appropriate; provided, however, any action taken by the General Partner shall be subject to its
    fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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     that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
     the consent of such Partner adversely affected.

              6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
     be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
     ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
     his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
     may have an interest in any Partnership Interest by reason of an assignment or otherwise.

             6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
     convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
     or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
     references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
     Agreement. All Exhibits hereto are incorporated herein by reference.

             6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
     Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
     nouns, pronouns. and verbs shall include the plural and vice versa.

            6.5.      Further Action. The parties shall execute all documents, provide all information, and
    take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
    Agreement.

             6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
    pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
    assigns.

             6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
    pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
    thereto.

            6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
    enforceable by any creditors of the Partnership.

            6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
    duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
    breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
    condition.

            6.10. Counterparts. This agreement may be executed in counterparts, all of which together
    shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
    not signatories to the original or the same counterpart.

             6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
    by the laws of the State of Delaware, without regard to the principles of conflicts of law.

             6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
    illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
    arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
    intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
    provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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     not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
     objectives.

               6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
     the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
     affiliates.

              6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
     parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
     representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
     submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
    ~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
     and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
     binding on the other party, with related expedited discovery for the parties, in a court of law, and
     thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
     American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
    arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
    The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
     limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
    each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
    deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
     request for production (in response, the producing pa11y shall not be obligated to produce in excess of
     5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
    pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
    paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
    state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
    The arbitrators will not have the authority to render a decision that contains an outcome based on error of
    state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
    state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
    ,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
     be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
    mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
    another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
    including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
    bear costs and fees. The duty to arbitrate described above shall survive the termination of this
    Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
    jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
    of law will apply in the arbitration.




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                IN WITNESS WHEREOF. the           hereto have entered into this            date and
        year first written above.

                                                    GENERAL PART:'IER:




                                                    THE DUGABOY INVESTMENT TRUST




                                                     THE MARK AND PAMELA OK,\DA FAMILY
                                                     TRUST - EXEMPT TRt;ST #1


                                                        By:
                                                        -:-Jame: Lawrence Tonomura
                                                        Its:     Trustee


                                                        THE MARK AND PAMELA OKADA FA.MILY
                                                        TRUST - EXEMPT TRUST #2


                                                        By:
                                                        Name: Lawrence Tonomura
                                                        Its:  Trustee




         Signature Page to Fourth Amended @d Res1a1ed
         Agreement qt' Li111i,ed Parfllership




                                                                                                 D-CNL003000
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               IN WITNESS              the       hereto have entered into this        as of the date and
      year first written above.

                                                       GENERAL PARTNER:

                                                       STRAND ADVISORS, INC.,
                                                       a Delaware corporation

                                                       By:
                                                                James D. Dondero,
                                                                President


                                                       LIMITED PARTNERS:

                                                       THE DUGABOY INVESTMENT TRUST


                                                       By:
                                                       Name: Nancy M. Dondero
                                                       Its:  Trustee

                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST - EXEMPT TRUST #1




                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST EXEMPT TRUST #2


                                                       By:
                                                       Na
                                                       Its:


                                                       MARK K. OKADA



                                                       Mark K. Okada




       Signature Page to Fourth Amended and Restated
       Agreement of Limited Partnership




                                                                                                     D-CNL003001
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                                                                        . INVESTMl(NT TRUST
                                                                         .C Administrator


                                                       By




       Signawre Page ro Fourth Amended and !?estated
       Agreeme/11 of l.i111ited Partnership




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                                             EXHIBIT A


                                                                      Percentage Interest
     CLASS A PARTNERS                                               By Class   Effective %

       GENERAL PARTNER:

          Strand Advisors                                             0.5573%       0.2508%

       LIMITED PARTNERS:

          The Dugaboy Investment Trust                               74.4426%       0.1866%

          Mark K. Okada                                              19.4268%       0.0487%

          The Mark and Pamela Okada Family Trust- Exempt Trust #1     3.9013%       0.0098%

          The Mark and Pamela Okada Family Trust Exempt Trust #2      1.6720%       0.0042%

     Total Class A Percentage Interest                              100.0000%        0.500%

     CLASS B LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%      55.0000%

     CLASS C LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%       44.500%

     PROFIT AND LOSS AMONG CLASSES

          Class A Partners                                           0.5000%

          Class B Partners                                          55.0000%

          Class C Partners                                          44.5000%




                                                                                          D-CNL003003
                                                                                    Appx. 00091
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                                                     EXHIBIT B

                                   ADDENDUM
                                    TO THE
          FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                       OF
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
     Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
     be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
     entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
     General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
     - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
     have the meanings set forth in the Agreement).

                                                     RECITALS:

             WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
     any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
     Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
     Agreement to amend the Agreement;

          WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
     a_% Percentage Interest in the Partnership as of the date hereof;

            WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
     and conditions of the Agreement; and

              WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
     party thereto.

                                                   AGREEMENT:

            RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
     acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
     bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
     Second Amended Buy-Sell and Redemption Agreement; and be it

           FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
                   as a Limited Partner, and the General Partner shall attach this Addendum to the
     Agreement and make it a part thereof; and be it

             FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
     which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
     such parties are not signatories to the original or the same counterpart.




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            IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
     above written.

                                                     GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.

                                                     By:
                                                             Name: _ _ _ _ _ _ _ _ _ _ __
                                                             Title:


                                                     NEW LIMITED PARTNER:



     AGREED AND ACCEPTED:

     In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
     allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
     valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
     terms and conditions of the Agreement as though a party thereto.



     ___________]




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                                                                                                 Appx. 00093
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   B1040 (FORM 1040) (12/15)

           ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                   (Instructions on Reverse)

 PLAINTIFFS                                                                      DEFENDANTS
 Highland Capital Management, L.P.                                                 NexPoint Advisors, L.P., James Dondero,
                                                                                   Nancy Dondero, and The Dugaboy Investment
                                                                                   Trust
 ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Hayward PLLC                                                                    Munsch Hardt Kopf & Harr, P.C. (for NexPoint);
 10501 N. Central Expressway, Suite 106                                          Stinson LLP (for Nancy Dondero); Heller, Draper,
 Dallas, Texas 75231 Tel.: (972) 755-7100                                        & Horn, L.L.C. (for The Dugaboy Investment Trust)
 PARTY (Check One Box Only)                         PARTY (Check One Box Only)
 □ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
 □ Creditor  □ Other                                □ Creditor    □ Other
 □ Trustee                                          □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Breach of Contract; Turnover Pursuant to 11 USC 542(b); Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 548(a)(1)(A) and 550; Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 544(b) and 550 and Tex. Bus. & C. Code 24.005(a)(1);
 Declaratory Relief; Breach of Fiduciary Duty; Aiding & Abetting Breach of Fiduciary Duty
                                                                     NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


 □2 11-Recovery of money/property - §542 turnover of property                    □
     FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

 □ 12-Recovery of money/property - §547 preference                               □
                                                                                    61-Dischargeability - §523(a)(5), domestic support

 □3 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                    68-Dischargeability - §523(a)(6), willful and malicious injury

 □4 14-Recovery of money/property - other                                        □
                                                                                    63-Dischargeability - §523(a)(8), student loan
                                                                                    64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                 □
                                                                                       (other than domestic support)

 □ 21-Validity, priority or extent of lien or other interest in property
     FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                 □
                                                                                 FRBP 7001(7) – Injunctive Relief

 □
     FRBP 7001(3) – Approval of Sale of Property
                                                                                 □
                                                                                    71-Injunctive relief – imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


 □ 41-Objection / revocation of discharge - §727(c),(d),(e)
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                 □ 81-Subordination of claim or interest
                                                                                 FRBP 7001(8) Subordination of Claim or Interest



 □ 51-Revocation of confirmation
     FRBP 7001(5) – Revocation of Confirmation
                                                                                 □5 91-Declaratory judgment
                                                                                 FRBP 7001(9) Declaratory Judgment



 □ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
     FRBP 7001(6) – Dischargeability
                                                                               □
                                                                               FRBP 7001(10) Determination of Removed Action

 □ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


 □ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
       actual fraud                                                            Other


                    (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                          if unrelated to bankruptcy case)
 □ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                Demand $ Damages in an amount to be determined at trial
 Other Relief Sought Turnover of amounts due under note, avoidance of transfers to defendants,
                            declaratory relief, punitive and exemplary damages, costs, attorneys' fees




                                                                                                                                           D-CNL003006
                                                                                                                                     Appx. 00094
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  B1040 (FORM 1040) (12/15)

               BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Highland Capital Management, L.P.                                      19-34054-sgj11
 DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Northern District of Texas                                             Dallas                            Stacey G. C. Jernigan
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
 PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)




 DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 August 27, 2021                                                       Zachery Z. Annable



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.




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                                                                                                                    Appx. 00095
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                                EXHIBIT 3




                                                                          Appx. 00096
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                                                                                            Docket #0068 Date Filed: 8/27/2021




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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

         In re:                                                        §
                                                                       §   Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                       §   Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                       §
                                          Plaintiff,                   §   Adversary Proceeding No.
                                                                       §
         vs.                                                           §   21-03006
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT                                   §
         SERVICES, INC, JAMES DONDERO, NANCY                           §
         DONDERO, AND THE DUGABOY                                      §
         INVESTMENT TRUST

                                          Defendants.


     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                   AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
           (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                             BREACH OF FIDUCIARY DUTY

                      Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

     debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

     Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

     “Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

     “Complaint”) against defendants Highland Capital Management Services, Inc. (“HCMS”), James

     Dondero (“Mr. Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy Investment Trust

     (“Dugaboy” and together with HCMS, Mr. Dondero, and Ms. Dondero, the “Defendants”) alleges

     upon knowledge of its own actions and upon information and belief as to other matters as follows:

                                         PRELIMINARY STATEMENT

                      1.         The Debtor brings this action against Defendants in connection with

     HCMS’s defaults under (i) four demand notes, in the aggregate principal amount of $900,000, and

     payable upon the Debtor’s demand, and (ii) one term note, in the aggregate principal amount of

     $20,247,628.02, and payable in the event of default, all executed by HCMS in favor of the Debtor.

     HCMS has failed to pay amounts due and owing under the notes and the accrued but unpaid interest

     thereon.

                      2.         In paragraph 56 of HCMS’s First Amended Answer to Plaintiff’s Complaint

     [Docket No. 34], HCMS contends that the Debtor orally agreed to relieve it of the obligations

     under the Notes (as defined below) upon fulfillment of “conditions subsequent” (the “Alleged

     Agreement”). HCMS further contends that the Alleged Agreement was entered into between

     James Dondero, acting on behalf of HCMS, and his sister, Nancy Dondero, as representative of a

     majority of the Class A shareholders of the Plaintiff, including Dugaboy (the “Representative”),



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      acting on behalf of the Debtor. At the time Mr. Dondero entered into the Alleged Agreement on

      behalf of HCMS, he controlled both HCMS and the Debtor and was the lifetime beneficiary of

      Dugaboy.

                       3.         Based on its books and records, discovery to date, and other facts, the

      Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

      Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

      under the Notes.

                       4.         Nevertheless, the Debtor amends its Complaint to add certain claims and

      name additional parties who would be liable to the Debtor if the Alleged Agreement were

      determined to exist and be enforceable. Specifically, in addition to pursuing claims against HCMS

      for breach of its obligations under the Notes and for turnover, the Debtor adds alternative claims

      (a) against HCMS for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

      fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

      against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                       5.         As remedies, the Debtor seeks (a) damages from HCMS in an amount equal

      to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii) all

      accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

      Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

      as provided for in the notes), for HCMS’s breach of its obligations under the Notes, (b) turnover

      by HCMS to the Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and

      the transfers thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit

      of, HCMS pursuant to the Notes; (d) declaratory relief, and (e) damages arising from the

      Defendants’ breach of fiduciary duties or aiding and abetting thereof.



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                                           JURISDICTION AND VENUE

                       6.         This adversary proceeding arises in and relates to the Debtor’s case pending

      before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

      “Court”) under chapter 11 of the Bankruptcy Code.

                       7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

      and 1334.

                       8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

      and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

      order by the Court in the event that it is later determined that the Court, absent consent of the

      parties, cannot enter final orders or judgments consistent with Article III of the United States

      Constitution.

                       9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                    THE PARTIES

                       10.        The Debtor is a limited liability partnership formed under the laws of

      Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                       11.        Upon information and belief, HCMS is a company with offices located in

      Dallas, Texas, and is incorporated in the state of Delaware.

                       12.        Upon information and belief, Mr. Dondero is an individual residing in

      Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

      Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

      controlled HCRE; Mr. Dondero also controlled the Debtor until January 9, 2020.

                       13.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

      and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



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                          14.     Upon information and belief, Nancy Dondero is an individual residing in

      the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                                  CASE BACKGROUND

                          15.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

      chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

      Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                          16.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

      Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

      Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

      Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

      Capital Management GP LLC (collectively, “Acis”).

                          17.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

      Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

      Redeemer had resigned from the Committee.

                          18.     On December 4, 2019, the Delaware Court entered an order transferring

      venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                          19.     The Debtor has continued in the possession of its property and has

      continued to operate and manage its business as a debtor-in-possession pursuant to sections

      1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

      chapter 11 case.




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          All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                             STATEMENT OF FACTS

      A.      The HCMS Demand Notes

                       20.        HCMS is the maker under a series of demand notes in favor of the Debtor.

                       21.        Specifically, on March 28, 2018, HCMS executed a demand note in favor

      of the Debtor, as payee, in the original principal amount of $150,000 (“HCMS’s First Demand

      Note”). A true and correct copy of HCMS’s First Demand Note is attached hereto as Exhibit 1.

                       22.        On June 25, 2018, HCMS executed a demand note in favor of the Debtor,

      as payee, in the original principal amount of $200,000 (“HCMS’s Second Demand Note”). A true

      and correct copy of HCMS’s Second Demand Note is attached hereto as Exhibit 2.

                       23.        On May 29, 2019, HCMS executed a demand note in favor of the Debtor,

      as payee, in the original principal amount of $400,000 (“HCMS’s Third Demand Note”). A true

      and correct copy of HCMS’s Third Demand Note is attached hereto as Exhibit 3.

                       24.        On June 26, 2019, HCMS executed a demand note in favor of the Debtor,

      as payee, in the original principal amount of $150,000 (“HCMS’s Fourth Demand Note,” and

      collectively, with HCMS’s First Demand Note, HCMS’s Second Demand Note, and HCMS’s

      Third Demand Note, the “Demand Notes”). A true and correct copy of HCMS’s Fourth Demand

      Note is attached hereto as Exhibit 4.

                       25.        Section 2 of the Demand Notes provide: “Payment of Principal and

      Interest. The accrued interest and principal of this Note shall be due and payable on demand of

      the Payee.”

                       26.        Section 4 of the Demand Notes provide:

                       Acceleration Upon Default. Failure to pay this Note or any installment
                       hereunder as it becomes due shall, at the election of the holder hereof,
                       without notice, demand, presentment, notice of intent to accelerate, notice
                       of acceleration, or any other notice of any kind which are hereby waived,
                       mature the principal of this Note and all interest then accrued, if any, and

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                       the same shall at once become due and payable and subject to those
                       remedies of the holder hereof. No failure or delay on the part of the Payee
                       in exercising any right, power, or privilege hereunder shall operate as a
                       waiver hereof.

                       27.        Section 6 of the Demand Notes provide:

                       Attorneys’ Fees. If this Note is not paid at maturity (whether by
                       acceleration or otherwise) and is placed in the hands of an attorney for
                       collection, or if it is collected through a bankruptcy court or any other court
                       after maturity, the Maker shall pay, in addition to all other amounts owing
                       hereunder, all actual expenses of collection, all court costs and reasonable
                       attorneys’ fees and expenses incurred by the holder hereof.

      B.      HCMS’s Defaults Under Each Demand Note

                       28.        By letter dated December 3, 2020, the Debtor made demand on HCMS for

      payment under the Demand Notes by December 11, 2020 (the “Demand Letter”). A true and

      correct copy of the Demand Letter is attached hereto as Exhibit 5. The Demand Letter provided:

                       By this letter, Payee is demanding payment of the accrued interest and principal
                       due and payable on the Notes in the aggregate amount of $947,519.43, which
                       represents all accrued interest and principal through and including December 11,
                       2020.

                       Payment is due on December 11, 2020, and failure to make payment in full
                       on such date will constitute an event of default under the Notes.

      Demand Letter (emphasis in the original).

                       29.        Despite the Debtor’s demand, HCMS did not pay all or any portion of the

      amounts demanded by the Debtor on December 11, 2020.

                       30.        As of December 11, 2020, there was an outstanding principal amount of

      $158,776.59 on HCMS’s First Demand Note and accrued but unpaid interest in the amount of

      $3,257.32, resulting in a total outstanding amount as of that date of $162,033.91.

                       31.        As of December 11, 2020, there was an outstanding principal balance of

      $212,403.37 on HCMS’s Second Demand Note and accrued but unpaid interest in the amount of

      $2,999.54, resulting in a total outstanding amount as of that date of $215,402.81.

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                       32.        As of December 11, 2020, there was an outstanding principal balance of

      $409,586.19 on HCMS’s Third Demand Note and accrued but unpaid interest in the amount of

      $5,256.62, resulting in a total outstanding amount as of that date of $414,842.81.

                       33.        As of December 11, 2020, there was an outstanding principal balance of

      $153,564.74 on HCMS’s Fourth Demand Note and accrued but unpaid interest in the amount of

      $1,675.16, resulting in a total outstanding amount as of that date of $155,239.90.

                       34.        Thus, as of December 11, 2020, the total outstanding principal and accrued

      but unpaid interest due under the Demand Notes was $947,519.43. Pursuant to Section 4 of each

      Demand Note, each Note is in default, and is currently due and payable.

      C.      The HCMS Term Note

                       35.        HCMS is the maker under a term note in favor of the Debtor.

                       36.        Specifically, on May 31, 2017, HCMS executed a term note in favor of the

      Debtor, as payee, in the original principal amount of $20,247,628.02 (the “Term Note,” and

      together with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is

      attached hereto as Exhibit 6.

                       37.        Section 2 of the Term Note provides: “Payment of Principal and

      Interest. Principal and interest under this Note shall be due and payable as follows:

                       2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                       the outstanding principal amount of the Note (and all unpaid accrued interest
                       through the date of each such payment) in thirty (30) equal annual payments (the
                       “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                       Installment on the 31st day of December of each calendar year during the term of
                       this Note, commencing on the first such date to occur after the date of execution of
                       this note.

                       2.2    Final Payment Date. The final payment in the aggregate amount of the
                       then outstanding and unpaid Note, together with all accrued and unpaid interest
                       thereon, shall become immediately due and payable in full on December 31, 2047
                       (the “Maturity Date”).


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                       38.        Section 3 of the Note provides:

                       Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                       whole or in part the unpaid principal or accrued interest of this Note. Any
                       payments on this Note shall be applied first to unpaid accrued interest hereon, and
                       then to unpaid principal hereof.

                       39.        Section 4 of the Term Note provides:

                       Acceleration Upon Default. Failure to pay this Note or any installment
                       hereunder as it becomes due shall, at the election of the holder hereof,
                       without notice, demand, presentment, notice of intent to accelerate, notice
                       of acceleration, or any other notice of any kind which are hereby waived,
                       mature the principal of this Note and all interest then accrued, if any, and
                       the same shall at once become due and payable and subject to those
                       remedies of the holder hereof. No failure or delay on the part of the Payee
                       in exercising any right, power, or privilege hereunder shall operate as a
                       waiver hereof.

                       40.        Section 6 of the Term Note provides:

                       Attorneys’ Fees. If this Note is not paid at maturity (whether by
                       acceleration or otherwise) and is placed in the hands of an attorney for
                       collection, or if it is collected through a bankruptcy court or any other court
                       after maturity, the Maker shall pay, in addition to all other amounts owing
                       hereunder, all actual expenses of collection, all court costs and reasonable
                       attorneys’ fees and expenses incurred by the holder hereof.

      D.      HCMS’s Default Under the Term Note

                       41.        HCMS failed to make the payment due under the Term Note on December

      31, 2020.

                       42.        By letter dated January 7, 2021, the Debtor made demand on HCMS for

      immediate payment under the Term Note (the “Second Demand Letter”). A true and correct

      copy of the Second Demand Letter is attached hereto as Exhibit 7. The Second Demand Letter

      provides:

                       Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
                       the Note, all principal, interest, and any other amounts due on the Note are
                       immediately due and payable. The amount due and payable on the Note as of
                       January 8, 2021 is $6,757,248.95; however, interest continues to accrue under the
                       Note.

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                       The Note is in default, and payment is due immediately.

      Second Demand Letter (emphasis in the original).

                       43.        As of January 8, 2021, the total outstanding principal and accrued but

      unpaid interest under the Term Note was $6,757,248.95.

                       44.        Pursuant to Section 4 of the Term Note, the Note is in default, and is

      currently due and payable.

      E.      The Debtor Files the Original Complaint

                       45.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

      Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

      Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

      HCMS’s breach of its obligations under the Notes and (ii) turnover by HCMS for the outstanding

      amounts under the Notes, plus all accrued and unpaid interest until the date of payment plus the

      Debtor’s costs of collection and reasonable attorney’s fees.

      F.      HCMS’s Affirmative Defenses

                       46.        On March 13, 2021, HCMS filed Highland Capital Management Services,

      Inc.’s Answer to Plaintiff’s Complaint [Docket No. 6] (the “Original Answer”). In its Original

      Answer, HCMS asserted four affirmative defenses: (i) the claims are barred in whole or in part

      under the doctrines of justification or repudiation, (ii) waiver, (iii) estoppel, and (iv) offset and/or

      setoff (the “Setoff Defense”). See id. ¶¶ 53-56.

                       47.        On June 11, 2021, HCMS filed its First Amended Answer to Plaintiff’s

      Complaint [Docket No. 34] (the “Amended Answer”), that omitted the Setoff Defense but asserted

      two affirmative defenses: (i) the Debtor previously agreed that it would not collect on the Notes




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      “upon fulfillment of conditions subsequent” (i.e., the Alleged Agreement) id. ¶ 56, and (ii) the

      Notes are “ambiguous,” id. ¶ 57.

                       48.        According to HCMS, the Alleged Agreement was orally entered into

      “sometime between December of the year each note was made and February of the following

      year.”

                       49.        According to HCMS, Mr. Dondero, acting on its behalf, entered into the

      Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                       50.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

      Agreement on behalf of HCMS.

                       51.        Upon information and belief, the Debtor’s books and records do not reflect

      the Alleged Agreement.

      G.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                       52.        Under section 4.2 of the Fourth Amended and Restated Agreement of

      Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

      Agreement”), and attached hereto as Exhibit 8, Dugaboy was not authorized to enter into the

      Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

      “Partnership” is defined in the Limited Partnership Agreement).

                       53.        Section 4.2(b) of the Limited Partnership Agreement states:

                       Management of Business. No Limited Partner shall take part in the control (within
                       the meaning of the Delaware Act) of the Partnership’s business, transact any
                       business in the Partnership’s name, or have the power to sign documents for or
                       otherwise bind the Partnership other than as specifically set forth in this Agreement.

      Exhibit 8, § 4.2(b).

                       54.        No provision in the Limited Partnership Agreement authorizes any of the

      Partnership’s limited partners to bind the Partnership.


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                       55.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

      or to otherwise bind the Debtor.

                                            FIRST CLAIM FOR RELIEF

                                                   (Against HCMS)

                                               (For Breach of Contract)

                       56.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       57.        The Notes are binding and enforceable contracts.

                       58.        HCMS breached each Demand Note by failing to pay all amounts due to

      the Debtor upon the Debtor’s demand.

                       59.        HCMS breached the Term Note by failing to pay all amounts due to the

      Debtor upon HCMS’s default and acceleration.

                       60.        Pursuant to each Note, the Debtor is entitled to damages from HCMS in an

      amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

      and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

      costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

      HCMS’s breach of its obligations under each of the Demand Notes.

                       61.        As a direct and proximate cause of HCMS’s breach of each Demand Note,

      the Debtor has suffered damages in the amount of at least $947,519.43, as of December 11, 2020,

      plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

      collection.

                       62.        As a direct and proximate cause of HCMS’s breach of the Term Note, the

      Debtor has suffered damages in the amount of at least $6,757,248.95, as of January 8, 2021, plus



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      an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

      collection.

                                          SECOND CLAIM FOR RELIEF

                                                   (Against HCMS)

                              (Turnover by HCMS Pursuant to 11 U.S.C. § 542(b))

                       63.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       64.        HCMS owes the Debtor an amount equal to (i) the aggregate outstanding

      principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

      date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

      costs and reasonable attorneys’ fees and expenses), for HCMS’s breach of its obligations under

      each of the Notes

                       65.        Each Demand Note is property of the Debtor’s estate and the amounts due

      under each Demand Note is matured and payable upon demand.

                       66.        The Term Note is property of the Debtor’s estate and the amounts due

      under the Term Note is matured and payable upon default and acceleration.

                       67.        The Debtor has made demand for turnover of the amounts due under each

      of the Notes

                       68.        As of the date of filing this Complaint, HCMS has not turned over to the

      Debtor all or any of the amounts due under each of the Notes.

                       69.        The Debtor is entitled to the turnover of all amounts due under each of the

      Notes.




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                                                                                                         D-CNL003095
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                                  THIRD CLAIM FOR RELIEF
                                         (Against HCMS)
       (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                            and 550)

                       70.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       71.        The Debtor made the transfers pursuant to the Alleged Agreement within

      two years of the Petition Date.

                       72.        HCMS entered into the Alleged Agreement with actual intent to hinder,

      delay, or defraud a present or future creditor, demonstrated by, inter alia:

                       (a) The transfers were made to, or for the benefit of, HCMS, an insider of the

                             Debtor.

                       (b) Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with his

                             sister, Nancy Dondero.

                       (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                             Alleged Agreement.

                       (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                       (e) The Alleged Agreement was not subject to negotiation.

                       (f) The value of the consideration received by the Debtor for the transfers was not

                             reasonably equivalent in value.

                       73.        The pattern of conduct, series of transactions, and general chronology of

      events under inquiry in connection with the debt HCMS incurred under the Notes demonstrates a

      scheme of fraud.

                       74.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

      of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCMS.


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                        75.       Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

      Agreement and the transfers thereunder, and (ii) recovering from HCMS an amount equal to all

      obligations remaining under the Notes.

                                 FOURTH CLAIM FOR RELIEF
                                         (Against HCMS)
        (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                           550, and Tex. Bus. & C. Code § 24.005(a)(1))

                        76.       The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                        77.       The Debtor made the transfers pursuant to the Alleged Agreement after, or

      within a reasonable time before, creditors’ claims arose.

                        78.       Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with

      actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

      by, inter alia:

                        (g) The transfers were made to, or for the benefit of, HCMS, an insider of the

                              Debtor.

                        (h) Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with his

                              sister, Nancy Dondero.

                        (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                              Alleged Agreement.

                        (j) Upon information and belief, the Debtor’s books and record do not reflect the

                              Alleged Agreement.

                        (k) The Alleged Agreement was not subject to negotiation.

                        (l) The value of the consideration received by the Debtor for the transfers was not

                              reasonably equivalent in value.


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                       79.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

      of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCMS.

                       80.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

      Agreement and the transfers thereunder, and (ii) recovering from HCMS an amount equal to all

      obligations remaining under the Notes.


                                      FIFTH CLAIM FOR RELIEF
                                  (Against Dugaboy and Ms. Dondero)
                 (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                       81.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       82.        A bona fide, actual, present dispute exists between the Debtor, on the one

      hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

      Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

      Debtor’s behalf.

                       83.        A judgment declaring the parties’ respective rights and obligations will

      resolve their dispute.

                       84.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

      declarations that:

                       •     (a) limited partners, including but not limited to Dugaboy, have no right or

                             authority to take part in the control (within the meaning of the Delaware Act)

                             of the Partnership’s business, transact any business in the Partnership’s name,

                             or have the power to sign documents for or otherwise bind the Partnership other

                             than as specifically provided in the Limited Partnership Agreement,




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                       •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                             Representative) was authorized under the Limited Partnership Agreement to

                             enter into the Alleged Agreement on behalf of the Partnership,

                       •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                             Representative) otherwise had any right or authority to enter into the Alleged

                             Agreement on behalf of the Partnership, and

                       •     (d) the Alleged Agreement is null and void.

                                          SIXTH CLAIM FOR RELIEF
                                        (Against Dugaboy and Ms. Dondero)
                                            (Breach of Fiduciary Duty)

                       85.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       86.        If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

      the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

      Ms. Dondero would owe the Debtor a fiduciary duty.

                       87.        If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

      into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

      their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

      Agreement on behalf of the Debtor.

                       88.        Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

      Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

      and (b) for punitive and exemplary damages.




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                                         SEVENTH CLAIM FOR RELIEF
                                    (Against James Dondero and Nancy Dondero)
                                  (Aiding and Abetting a Breach of Fiduciary Duty)

                       89.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       90.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

      that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                       91.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

      the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                       92.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

      the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                       93.        Accordingly, the Donderos are jointly and severally liable (a) for the

      actual damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of

      fiduciary duties, and (b) for punitive and exemplary damages.

                       WHEREFORE, the Debtor prays for judgment as follows:

                       (i)        On its First Claim for Relief, damages in an amount to be determined at trial

                       but includes (a) the aggregate outstanding principal due under each Note, plus (b)

                       all accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                       equal to the Debtor’s cost of collection (including all court costs and reasonable

                       attorneys’ fees and expenses);

                        (ii)      On its Second Claim for Relief, ordering turnover by HCMS to the Debtor

                       of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                       accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                       equal to the Debtor’s cost of collection (including all court costs and reasonable

                       attorneys’ fees and expenses);

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                       (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreements and the

                       transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                       fraudulent transfer under section 548 of the Bankruptcy Code;

                       (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                       transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                       fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

                       (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                       including but not limited to Dugaboy, have no right or authority to take part in the

                       control (within the meaning of the Delaware Act) of the Partnership’s business,

                       transact any business in the Partnership’s name, or have the power to sign

                       documents for or otherwise bind the Partnership other than as specifically provided

                       in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

                       (whether individually or as Representative) was authorized under the Limited

                       Partnership Agreement to enter into the Alleged Agreement on behalf of the

                       Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                       Representative) otherwise had any right or authority to enter into the Alleged

                       Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

                       void;

                       (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

                       Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

                       their breach of fiduciary duty, and for punitive and exemplary damages;

                       (vii)      On its Seventh Claim for Relief, actual damages from the Donderos, jointly

                       and severally, in an amount to be determined at trial, that Debtor suffered as a result



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                       of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

                       exemplary damages; and

                       (iii)      Such other and further relief as this Court deems just and proper.



       Dated: As of July 13, 2021.                    PACHULSKI STANG ZIEHL & JONES LLP
                                                      Jeffrey N. Pomerantz (CA Bar No.143717)
                                                      Ira D. Kharasch (CA Bar No. 109084)
                                                      John A. Morris (NY Bar No. 2405397)
                                                      Gregory V. Demo (NY Bar No. 5371992)
                                                      Hayley R. Winograd (NY Bar No. 5612569)
                                                      10100 Santa Monica Blvd., 13th Floor
                                                      Los Angeles, CA 90067
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                                                                  jmorris@pszjlaw.com
                                                                  gdemo@pszjlaw.com
                                                                  hwinograd@pszjlaw.com

                                                      -and-

                                                      /s/ Zachery Z. Annable
                                                      HAYWARD PLLC
                                                      Melissa S. Hayward
                                                      Texas Bar No. 24044908
                                                      MHayward@HaywardFirm.com
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                                                      10501 N. Central Expy, Ste. 106
                                                      Dallas, Texas 75231
                                                      Tel: (972) 755-7100
                                                      Fax: (972) 755-7110

                                                      Counsel for Highland Capital Management, L.P.




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                                      EXHIBIT 1




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                                      EXHIBIT 2




                                                                                       D-CNL003106
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                                                                                       D-CNL003108
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                                      EXHIBIT 3




                                                                                       D-CNL003109
                                                                                 Appx. 00123
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                                           PROMISSORY NOTE


      $400,000                                                                             May 29, 2019


              FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
      (“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
      (“Payee”), in legal and lawful tender of the United States of America, the principal sum of
      FOUR HUNDRED THOUSAND and 00/100 Dollars ($400,000.00), together with interest, on
      the terms set forth below (the “Note”). All sums hereunder are payable to Payee at 300 Crescent
      Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from
      time to time.

              1.     Interest Rate. The unpaid principal balance of this Note from time to time
      outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
      in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
      Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
      the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
      1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
      number of days elapsed, and shall be payable on demand of the Payee.

              2.     Payment of Principal and Interest. The accrued interest and principal of this Note
      shall be due and payable on demand.

              3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
      or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
      be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

             4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
      as it becomes due shall, at the election of the holder hereof, without notice, demand,
      presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
      which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
      and the same shall at once become due and payable and subject to those remedies of the holder
      hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
      hereunder shall operate as a waiver thereof.

              5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
      nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
      all other notices of any kind hereunder.

             6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
      otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
      bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
      amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
      attorneys’ fees and expenses incurred by the holder hereof.




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                                                                                               Appx. 00124
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             7.       Limitation on Agreements. All agreements between Maker and Payee, whether
      now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
      agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
      performance of any covenant or obligation contained herein or in any other document
      evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
      law. The terms and provisions of this paragraph shall control and supersede every other
      provision of all agreements between Payee and Maker in conflict herewith.

              8.     Governing Law. This Note and the rights and obligations of the parties hereunder
      shall be governed by the laws of the United States of America and by the laws of the State of
      Texas, and is performable in Dallas County, Texas.


                                                   MAKER:




                                                   FRANK WATERHOUSE




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                                                                                              Appx. 00125
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                                      EXHIBIT 4




                                                                                       D-CNL003112
                                                                                 Appx. 00126
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                                           PROMISSORY NOTE


      $150,000                                                                             June 26, 2019


              FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
      (“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
      (“Payee”), in legal and lawful tender of the United States of America, the principal sum of ONE
      HUNDRED AND FIFTY THOUSAND and 00/100 Dollars ($150,000.00), together with
      interest, on the terms set forth below (the “Note”). All sums hereunder are payable to Payee at
      300 Crescent Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in
      writing from time to time.

              1.     Interest Rate. The unpaid principal balance of this Note from time to time
      outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.37%)
      in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
      Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
      the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
      1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
      number of days elapsed, and shall be payable on demand of the Payee.

              2.     Payment of Principal and Interest. The accrued interest and principal of this Note
      shall be due and payable on demand.

              3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
      or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
      be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

             4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
      as it becomes due shall, at the election of the holder hereof, without notice, demand,
      presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
      which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
      and the same shall at once become due and payable and subject to those remedies of the holder
      hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
      hereunder shall operate as a waiver thereof.

              5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
      nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
      all other notices of any kind hereunder.

             6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
      otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
      bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
      amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
      attorneys’ fees and expenses incurred by the holder hereof.




                                                                                                     D-CNL003113
                                                                                               Appx. 00127
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             7.       Limitation on Agreements. All agreements between Maker and Payee, whether
      now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
      agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
      performance of any covenant or obligation contained herein or in any other document
      evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
      law. The terms and provisions of this paragraph shall control and supersede every other
      provision of all agreements between Payee and Maker in conflict herewith.

              8.     Governing Law. This Note and the rights and obligations of the parties hereunder
      shall be governed by the laws of the United States of America and by the laws of the State of
      Texas, and is performable in Dallas County, Texas.


                                                   MAKER:




                                                   FRANK WATERHOUSE




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                                                                                              Appx. 00128
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                                     EXHIBIT 5




                                                                                       D-CNL003115
                                                                                 Appx. 00129
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                                      HIGHLAND CAPITAL MANAGEMENT, L.P.

      December 3, 2020

      Highland Capital Management Services, Inc.
      c/o Highland Capital Management, L.P.
      300 Crescent Court, Suite 700
      Dallas, Texas 75201
      Attention: Frank Waterhouse, CFO

              Re: Demand on Promissory Notes:

      Dear Mr. Waterhouse,

      Highland Capital Management Services, Inc. (“Maker”) entered into the following promissory
      notes (collectively, the “Notes”) in favor of Highland Capital Management, L.P. (“Payee”):

     Date Issued      Original Principal   Outstanding Principal    Accrued But             Total Amount
                           Amount           Amount (12/11/20)      Unpaid Interest      Outstanding (12/11/20)
                                                                     (12/11/20)
       3/28/18             $150,000            $158,776.59            $3,257.32              $162,033.91
       6/25/18             $200,000            $212,403.27            $2,999.54              $215,402.81
       5/29/19             $400,000            $409,586.19            $5,256.62              $414,842.81
       6/26/19             $150,000            $153,564.74            $1,675.16              $155,239.90
       TOTALS              $900,000            $934,330.79           $13,188.64              $947,519.43

      As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
      upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
      and principal due and payable on the Notes in the aggregate amount of $947,519.43, which
      represents all accrued and unpaid interest and principal through and including December 11,
      2020.

      Payment is due on December 11, 2020, and failure to make payment in full on such date
      will constitute an event of default under the Notes.

      Payments on the Notes must be made in immediately available funds. Payee’s wire information
      is attached hereto as Appendix A.

      Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
      or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
      expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
      accrue until the Notes are paid in full. Any such interest will remain the obligation of Maker.

      Sincerely,

      /s/ James P. Seery, Jr.

      James P. Seery, Jr.
      Highland Capital Management, L.P.
      Chief Executive Officer/Chief Restructuring Officer



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                                                                                                      D-CNL003116
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      cc:     Fred Caruso
              James Romey
              Jeffrey Pomerantz
              Ira Kharasch
              Gregory Demo




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                                          Appendix A


                        ABA #:          322070381
                        Bank Name:      East West Bank
                        Account Name:   Highland Capital Management, LP
                        Account #:      5500014686




                                                                                       D-CNL003118
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                                     EXHIBIT 6




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                                     EXHIBIT 7




                                                                                       D-CNL003123
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                                  HIGHLAND CAPITAL MANAGEMENT, L.P.




      January 7, 2021




      Highland Capital Management Services, Inc.
      c/o Bonds Ellis Eppich Schafer Jones LLP
      420 Throckmorton Street, Suite 1000
      Fort Worth, Texas 76012
      Attention: James Dondero

              Re: Demand on Promissory Note

      Dear Mr. Dondero,

      On May 31, 2017, Highland Capital Management Services, Inc. entered into that certain
      promissory note in the original principal amount of $20,247,628.02 (the “Note”) in favor of
      Highland Capital Management, L.P. (“Payee”).

      As set forth in Section 2 of the Note, accrued interest and principal on the Note is due and
      payable in thirty equal annual payments with each payment due on December 31 of each
      calendar year. Maker failed to make the payment due on December 31, 2020.

      Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of the Note, all
      principal, interest, and any other amounts due on the Note are immediately due and payable. The
      amount due and payable on the Note as of January 8, 2021 is $6,757,248.95; however, interest
      continues to accrue under the Note.

      The Note is in default, and payment is due immediately. Payments on the Note must be made
      in immediately available funds. Payee’s wire information is attached hereto as Appendix A.

      Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
      or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
      expressly reserved. Interest, including default interest if applicable, on the Note will continue to
      accrue until the Note is paid in full. Any such interest will remain the obligation of Maker.

      Sincerely,

      /s/ James P. Seery, Jr.

      James P. Seery, Jr.
      Highland Capital Management, L.P.
      Chief Executive Officer/Chief Restructuring Officer


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      cc:     Fred Caruso
              James Romey
              Jeffrey Pomerantz
              Ira Kharasch
              Gregory Demo
              D. Michael Lynn




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                                          Appendix A


                        ABA #:          322070381
                        Bank Name:      East West Bank
                        Account Name:   Highland Capital Management, LP
                        Account #:      5500014686




                                                                                       D-CNL003126
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                                      EXHIBIT 8




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                              FOURTH AMENDED AND RESTATED

                           AGREEMENT OF LIMITED PARTNERSHIP

                                             OF

                           HIGHLAND CAPITAL MANAGEMENT, L.P.




     THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
     AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
     UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
     ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
     PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
     SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
     PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




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                                       FOURTH AMENDED AND RESTATED
                                     AGREEMENT OF LIMITED PARTNERSHIP
                                                    Of'
                                     HIGHLAND CAPITAL MANAGEMENT, L.P.

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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
     is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
     among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
     party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                                   ARTICLE 1

                                                   GENERAL

             1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
     the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
     expressly provided herein, the rights and obligations of the Partners and the administration and
     termination of the Partnership shall be governed by the Delaware Act.

              1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
     conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
     unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
     provide Limited Partners with written notice of such name change within twenty (20) days after such
     name change.

              1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
     business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
     Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
     indirectly through another partnership, joint venture, or other arrangement.

             1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
     continue until terminated pursuant to this Agreement.

             1.5.    Partnership Offices; Addresses of Partners.

                      (a)      Partnership Offices. The registered office of the Partnership in the State of
     Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
     service of process on the Partnership at that registered office shall be Corporation Service Company, or
     such other registered office or registered agent as the General Partner may from time to time designate.
     The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
     sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
     offices at such other place or places as the General Partner deems advisable.

                     (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
     Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
     Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
     the General Partner with prompt written notice of any change in his/her/its address.




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                                                    ARTICLE 2

                                                   DEFINITIONS

             2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
     unless otherwise clearly indicated to the contrary in this Agreement:


     Agreement.

                      ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
     balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
     relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
     further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
     or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
     Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
     Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
     the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
     (B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
     minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
     Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                      ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
     under common control with the Person in question. As used in this definition, the term ·'controf' means
     the possession. directly or indirectly, of the power to direct or cause the direction of the management and
     policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                       ..Agreement" means this Fourth Amended and Restated Agreement of Limited
     Partnership, as it may be amended, supplemented, or restated from time to time.

                     "Business Day" means Monday through Friday of each week, except that a legal holiday
     recognized as such by the government of the United States or the State of Texas shall not be regarded as a
     Business Day.

                       ·'Capital Account" means the eapital account maintained for a Partner pursuant to
     Section 3.7(a).

                     "Capital Contribution" means, with respect to any Partner, the amount of money or
     property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

                    "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
     with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
     supplemented or restated from time to time.

                      "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class A Limited Partner.''




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                      "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
     Interest, as shown on ==~~·

                       "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class B Limited Partner."

                       ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
     Limited Partner's aggregate capital contributions, including the original principal balance of the
     Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
     exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
     total book value of the Partnership; provided, however, that the General Partner shall only be required to
     test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
     further the General Partner must complete the testing within 180 days of the end of each calendar year;
     provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
     at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                      "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
     its capacity as a Class C Limited Partner."

                     "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
     $93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
     Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
     multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
     only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
     calendar year; provided further the General Partner must complete the testing within 180 days of the end
     of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
     General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
     Ratio Trigger Period.

                     "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
     time.

                   ''Contribution Note" means that certain Secured Promissory Note dated December 21,
     2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                     ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                     "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                      "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
     Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
     restated from time to time, and any successor to that Act.

                     "Effective Date" means the date first recited above.

                     ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




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                    "Founding Partner Group" means, all partners holding partnership interests m the
     Partnership immediately before the Effective Date.

                     "General Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
     not ceased to be a General Partner pursuant to the terms of this Agreement.

                     "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
     not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                     "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
     expenditures described in Code Section 705(a)(2)(B).

                      ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
     Interests of Class A Limited Partners.

                    ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
     NA V Ratio Trigger Period.

                       "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
     plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
     Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
     measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
     plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
     the beginning of the period being measured; provided, however, that amounts within each of the
     aforementioned categories shall be excluded from the calculation to the extent they are specifically
     identified as being derived from investing or financing activities. Each of the capitalized terms in this
     definition shall have the meaning given them in the books and records of the Partnership and appropriate
     adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
     that are current assets or current liabilities.

                    ''New Issues" means Securities that are considered to be "new issues," as defined in the
     Conduct Rules of the National Association of Securities Dealers, Inc.

                       "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
     I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                         "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
     l. 704-2(b )(3 ).

                     "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
     Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
     capitalized terms in this definition shall have the meaning given them in the books and records of the
     Partnership.



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                       "Parmer'' means a General Partner or a Limited Partner.

                       "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
     l .704-2(b)(4).

                      "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
     Section l .704-2(i)(2).

                    "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
     Regulations Section 1.704-2(i)(5).

                     "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
     partnership established pursuant to this Agreement.

                     "Partnership Capitaf' means, as of any relevant date, the net book value of the
     Partnership's assets.

                     ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
     including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
     deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
     a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
     manage and operate the Pa1inership.

                       "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
     l. 704-2( d).

                     ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
     Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                      "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
     organization, association, or other entity.

                       "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                     "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
     income described in Code Section 705(a)( 1)(B).

                      "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
     treated as a "profits interest" for federal income tax purposes.

                    "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
     by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
     Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
     The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
     Promissory Notes.




                                                           5




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                       ·'Record Date'' means the date established by the General Partner for determining the
     identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
     rights in respect of any other lawful action of Limited Partners.

                    "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
     Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
     as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
     supplemented, or restated from time to time.

                        ''Securities·' means the following: (i) securities of any kind (including, without limitation,
     ·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
     (as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
     thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
     any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
     any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
     participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
     through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
     convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
     bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
     ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
     marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
     bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
     foreign country or any state or possession of the United States or any foreign country or any political
     subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                      "Securities Act" means the Securities Act of 1933, as amended, and any successor to
     such statute.

                      "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                     "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
     sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
     part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
     exchange, pledge, hypothecate or otherwise dispose oC

                     "Treasury Regulations" means the Department of Treasury Regulations promulgated
     under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

             2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
     have the meanings contained elsewhere in this Agreement.

                                                      ARTICLE 3

                                              FINANCIAL MATTERS

             3.1.     Capital Contributions.

                       (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
     shall be set forth in the books and records of the Partnership.

                      (b)     Additional Capital Contributions.


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                             (i)      The General Partner, in its reasonable discretion and for a bona
     business purpose, may request in writing that the Founding Partner Group make additional Capital
     Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                               (ii)     Any failure by a Partner to make an Additional Capital Contribution
     requested under                     on or before the date on which that Additional Capital Contribution was
     due shall result in the Partner being in default.

                      (c)                                                In the event a Partner is in default under
     =====:c..:~~ (a "Defaulting Partner''),      the Defaulting Partner, in its sole and unfettered discretion, may
     elect to take either one of the option set forth below.

                                (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
     shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
     capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
     advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
     the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
     which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
     of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
     and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
     receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
     or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
     Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
     shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
     the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
     but shall be considered, for all other purposes of this Agreement, to have been distributed to the
     Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
     by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
     connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
     enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
     addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
     repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
     Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
     to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
     Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
     accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
     agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
     statements, continuation statements or other documents and take such other actions as the General Partner
     shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
     Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
     notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
     hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
     documents and take all such other actions as may be required to perfect such security interest. Such
     appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
     shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
     available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
     reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
     shall not be less than five (5) days following the date of such notice.




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                             ( ii)                                      If the Defaulting Partner does not elect
     to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
     Partner's Percentage Interest in accordance with the following formula:

              The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
              Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
              current Capital Account of the Defaulting Partner (with such Capital Account determined
              after taking into account a revaluation of the Capital Accounts immediately prior to such
              determination), divided by (b) the sum of (i) the current Capital Account of the
              Defaulting Partner (with such Capital Account determined after taking into account a
              revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
              the amount of the additional capital contribution that such Defaulting Partner failed to
              make when due.

     To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
     Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
     proportion to their respective Percentage Interests.

              3.2.    Allocations of Profits and Losses.

                     (a)      Allocations of Profits. Except as provided in===~-''                   and       Profits
     for any Fiscal Year will be allocated to the Partners as follows:

                                 (i)      First, to the Partners until cumulative Profits allocated under this Section
     3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                                (ii)            to the Partners until cumulative Profits allocated under this Section
     3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                               (iii)   Then, to all Patiners in proportion to their respective Percentage
     Interests.

                     (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
     for any Fiscal Year will be will be allocated as follows:

                                  (i)      First, to the Partners until cumulative Losses allocated under this Section
     3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
     3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                               (ii)           to the Partners in proportion to their respective positive Capital
     Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
     Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
     that were last allocated to the Capital Accounts of the Partners; and

                              (iii)    Then, to all Partners in proportion to their respective Percentage
     Interests.




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                     (c)                                      If any allocation of Losses would cause a
     Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
     the General Partner.

              3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
     Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
     existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
     Section 4.3( d).

              3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
     special allocations shall be made in the following order:

                     (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
     this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
     period for which allocations are made, prior to any other allocation under this Agreement, each Partner
     shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
     subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
     net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
     Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
     Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
     minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
     provided therein.

                      (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
     other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
     Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
     other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
     Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
     and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
     or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
     accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
     determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
     to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
     Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
     exceptions provided therein.

                      (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
     allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
     (d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
     amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
     Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
     pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
     Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
     tentatively made without considering this Section 3.4(c).

                       ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
     any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
     restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
     sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
     be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
     as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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     the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
     allocations provided for in this       have been tentatively made without considering               or


                     ( e)                             Nonrecourse Deductions for any taxable year or other
     period for which allocations are made shall he allocated among the Partners in accordance with their
     Percentage interests.

                     (f)                                        Notwithstanding anything to the contrary in
     this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
     allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
     the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
     with Treasury Regulations Section l .704-2(i).

                      (g)                                  To the extent an adjustment to the adjusted tax basis
     of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
     Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
     Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
     adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
     that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
     which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
     Regulations.

                      (h)                                    Any allocable items of income, gain, expense,
     deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
     exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
     Partnership Interest whether such items are positive or negative in amount.

              3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
     pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
     provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
     items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
     amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
     equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
     Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
     this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
     extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
     economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
     determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
     shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
     during which such items are recognized for tax purposes.

              3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
     Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
     the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
     account of any variation at the time of the contribution between the tax basis of the property to the
     Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
     or other decisions relating to those allocations shall be made by the General Partner in any manner that
     reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
     deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
     affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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     of Profits,          other tax items or distributions of any Partner pursuant to any provision of this
     Agreement.

             3.7.     Capital Accounts.

                      (a)                                       The Partnership shall establish and maintain a
     separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
     Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                              (i)     The Capital Account balanee of each Partner shall be credited (increased)
     by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
     value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
     that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
     (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
     specially allocated pursuant to             and     · and

                              (ii)     The Capital Account balance of each Partner shall be debited (decreased)
     by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
     property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
     property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
     allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
     Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
     allocated pursuant to Sections 3 .2,   and

     The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
     of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
     Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
     with those provisions. The General Partner may modify the manner in which the Capital Accounts are
     maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
     occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                     (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
     Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
     Contribution by reason thereof, and that negative balance shall not be considered an asset of the
     Partnership or of any Partner.

                     (c)              No interest shall be paid by the Patinership on Capital Contributions or
     on balances in Capital Accounts.

                     (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
     Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
     except as provided in Section 3.9 and Article 5.

                    ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
     considered Capital Contributions.

                    ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
     "'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
     otherwise.



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              3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
     credit that are recognized for federal income tax purposes will be allocated among the Partners in
     accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
     its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
     New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
     any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
     that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
     any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
     an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
     being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
     time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
     consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
     or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
     determines such alteration to be necessary or appropriate to avoid a materially inequitable result
     where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
     of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
     consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

             3. 9.    Distributions.

                       (a)                  The General Partner may make such pro rata or non-pro rata
     distributions as it may determine in its sole and unfettered discretion, without being limited to current or
     accumulated income or gains, but no such distribution shall be made out of funds required to make
     current payments on Partnership indebtedness; provided, however, that the General Partner may not make
     non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
     consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
     Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
     provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
     tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
     credit facilities with financial institutions that may limit the amount and timing of distributions to the
     Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
     distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
     3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
     aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
     Partners under Section 3 .9(b ).

                      (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
     pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
     Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
     Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                            (i)     No later than March 31st of each calendar year, commencing March 31,
     2017, an amount equal to $1,600,000.00;

                             (ii)     No later than March 31st of each year, commencing March 31, 2017, an
     amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
     the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
     gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
     and records;




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                             (iii)     No later than March 31st of      year, commencing March 31, 2017, an
     amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                            (iv)    No later than December 24th of each year, commencing December
     2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
     the then current year.

                       (c)                         The General Partner may, in its sole discretion, declare and
     make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
     attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
     paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
     Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
     provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
     Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
     Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
     income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
     and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
     Priority Distributions under ==~~~CJ.·

                      ( d)                                                      Any amounts paid pursuant to
     ===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                      (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
     the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
     pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
     that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
     withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
     received a payment from the Partnership as of the time that withholding or tax is paid, which payment
     shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
     Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
     To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
     which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
     the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
     income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
     hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
     sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
     otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
     the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
     received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
     lower rate is applicable, or that no withholding is applicable.

                     (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
     Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
     amount necessary for each of them to pay their respective federal income tax obligations incurred through
     the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
     Capital Management, L.P., the predecessor to this Agreement.

                      (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
     defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
     distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
     Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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     as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
     consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
     and any of its direct or indirect owners that have governing documents directly affected by a Honis
             Event.

             3.10.    Compensation and Reimbursement of General Partner.

                     (a)     Compensation. The General Partner and any Affiliate of the General Partner
     shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
     any other agreements unless approved by a Majority Interest; provided, however, that no compensation
     above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
             Period.

                      (b)                                     In addition to amounts paid under other Sections
     of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
     disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
     with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
     and all related matters.

             3.11.    Books, Records, Accounting, and Reports.

                      (a)     Records and Accounting. The General Partner shall keep or cause to be kept
     appropriate books and records with respect to the Partnership's business, which shall at all times be kept
     at the principal office of the Partnership or such other office as the General Partner may designate for
     such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
     accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
     discretion. in accordance with generally accepted accounting principles and applicable law. Upon
     reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
     records of the Partnership.

                     (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
     otherwise determined by the General Partner in its sole and unfettered discretion.

                      ( c)    Other Information. The General Paitner may release information concerning the
     operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
     to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
     other Person for reasons reasonably related to the business and operations of the Partnership or as
     required by law or regulation of any regulatory body.

                     ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
     Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
     Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
     Partner requesting the information.

             3.12.   Tax Matters.

                      (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
     filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
     federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
     his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
     October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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     other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
     General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
     unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
     and treat such taxes as an expense of the Partnership.

                      (b)                      Except as otherwise provided herein, the General Partner shall, in
     its sole and unfettered discretion, determine whether to make any available tax election.

                      (c)                             Subject to the provisions hereof, the General Partner is
     designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
     represent the Partnership, at the Partnership's expense, in connection with all examinations of the
     Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
     expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
     cooperate \\ith the General Partner in connection with such proceedings.

                      (d)                                No election shall be made by the Partnership or any
     Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
     Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                     ARTICLE 4

                                 RIGHTS AND OBLIGATIONS OF PARTNERS

              4.1.    Rights and Obligations of the General Partner. In addition to the rights and
     obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
     obligations:

                      (a)      Management. The General Partner shall conduct, direct, and exercise full control
     of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
     management powers over the business and affairs of the Partnership shall be exclusively vested in the
     General Partner, and Limited Partners shall have no right of control over the business and affairs of the
     Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
     partnership under applicable law or that are granted to the General Partner under any provision of this
     Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
     desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
     determination of the activities in which the Partnership will participate; (ii) the performance of any and all
     acts necessary or appropriate to the operation of any business of the Partnership (including, without
     limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
     paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
     insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
     General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
     of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
     in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
     any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
     business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
     and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
     deems necessary or advisable for the conduct of the activities of the Partnership, including, without
     limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
     pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
     on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
     of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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     of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
     desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
     implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
     cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
     consultants, contractors, agents and representatives and the determination of their compensation and other
     teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
     ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
     or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
     the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
     the incurring of legal expenses, and the settlement of claims and suits.

                      (b)                                          The General Partner caused the Cetiificate of
     Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
     the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
     limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
     Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
     operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
     State of Delaware and in any other state where the Partnership may elect to do business.

                      (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
     Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
      from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
     representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
     properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
     exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
     sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
     all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
     contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
     financing. In no event shall any Person dealing with the General Partner or the General Partner's
     representative with respect to any business or property of the Partnership be obligated to asce1iain that the
     terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
     assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
     such Person be obligated to inquire into the necessity or expedience of any act or action of the General
     Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
     agreement, promissory note, or other instrument or document executed by the General Partner or the
     General Partner's representative with respect to any business or property of the Patinership shall be
     conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
     the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
     instrument or document was duly executed in accordance with the terms and provisions of this Agreement
     and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
     was duly authorized and empowered to execute and deliver any and every such instrument or document
     for and on behalf of the Paiinership.

                      (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
     account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
     unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
     the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
     Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
     account are maintained that show the amount of funds of the Partnership on deposit in such account and
     interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
     the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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     not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
     obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
     thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
     Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
     withdrawals from or charges against such accounts shall be made by the General Partner or by its
     representatives. Funds of the Partnership may be invested as determined by the General Partner in
     accordance with the terms and provisions of this Agreement.

                      (e)

                               (i)      The General Partner or any Affiliate of the General Partner may lend to
     the Partnership funds needed by the Partnership for such periods of time as the General Partner may
     determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
     at a rate greater than the rate (including points or other financing charges or fees) that would be charged
     the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
     lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
     case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
     borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
     Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
     General Partner's sole and exclusive discretion.

                              (ii)    The General Partner or any of its Affiliates may enter into an agreement
     with the Partnership to render services, including management services, for the Partnership. Any service
     rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
     and reasonable to the Partnership.

                              (iii)   The Partnership may Transfer any assets to JOmt ventures or other
     partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
     consistent with applicable law as the General Partner deems appropriate; provided, however, that the
     Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
     Ratio Trigger Period for consideration less than such asset's fair market value.

                      (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
     thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
     thereof shall be entitled to and may have business interests and engage in business activities in addition to
     those relating to the Patinership, including, without limitation, business interests and activities in direct
     competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
     virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
     General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
     the General Patiner or any Affiliate thereof.

                      (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
     Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
     between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
     Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
     General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
     herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
     any other applicable law, rule, or regulation.

                     (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
     Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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     the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
     performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
     with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
     in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
     Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
     harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
     misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
     and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
     who is or was serving at the request of the Partnership acting through the General Partner as a director,
     oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
     venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
     its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
     permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
     elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
     reduce or limit in any manner the indemnification provided for or permitted by this                  unless
     such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
     enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
     reason of the indemnification provisions of this Agreement.

                     ( i)     Liability of General Partner.

                              (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
     or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
     any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                               (ii)   The General Partner may exercise any of the powers granted to it by this
     Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
     directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
     for any misconduct or negligence on the part of any agent or representative appointed by the General
     Partner.

                     U)       Reliance by General Partner.

                              (i)     The General Partner may rely and shall be protected in acting or
     refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
     request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
     have been signed or presented by the proper party or parties.

                              (ii)    The General Partner may consult with legal counsel, accountants,
     appraisers, management consultants, investment bankers, and other consultants and advisers selected by
     it, and any opinion of any such Person as to matters which the General Partner believes to be within such
     Person's professional or expe11 competence shall be full and complete authorization and protection in
     respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
     accordance with such opinion.

                      (k)     The General Partner may, from time to time, designate one or more Persons to be
     officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
     authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
     General Partner may assign titles to particular officers, including, without limitation, president, vice
     president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
     until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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     until such Person shall          or shall have been removed in the manner hereinafter provided. Any
     number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
     officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
     may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
     Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
     any office of the Partnership may be filled by the General Partner.

              4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
     of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
     rights and obligations:

                   (a)                                 Limited Partners shall have no liability under this
     Agreement except as provided herein or under the Delaware Aet.

                      (b)                               No Limited Partner shall take part in the control
     (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
     Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
     as specifically set forth in this Agreement.

                     (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
     return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
     Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
     extent provided for in this Agreement.

                   (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
     shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
     Agreement.

                      ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
     Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
     Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
     may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
     Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
     however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
     traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
     3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
     offer to purchase any securities liquidated under this Section 4.2(e).

             4.3.     Transfer of Partnership Interests.

                       (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
     in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
     Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
     made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
     shall be null and void. An alleged transferee shall have no right to require any information or account of
     the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
     treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
     incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
     of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
     notices required to be given to holders of Partnership Interests.



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                      (b)                                      The General Partner may Transfer all, but not
     than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
     however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
      Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
     the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
      Interest under this                 to an Af111iate of the General Partner or any other Person shall not
     constitute a withdrawal of the General Partner under                                 or any other provision
     of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
     otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
     jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
     consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
     pursuant to~~~~~·

                     (c)                                      The Partnership Interest of a Limited Partner may
     not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
     and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
     and Redemption Agreement.

                      ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
     any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
     A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
     items attributable to the transferred interest for that period shall be divided and allocated between the
     transferor and the transferee by taking into aecount their varying interests during the period in aecordance
     with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
     provided that no allocations shall be made under this Section 4.3(d) that would affect any special
     allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
     be made to the transferor. Solely for purposes of making such allocations and distributions, the
     Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
     given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
     date that Partnership Interest was Transferred and such other information as the General Pa1iner may
     reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
     occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
     according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
     Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
     incur any liability for making alloeations and distributions in accordance with the provisions of this
     Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
     of any Pa1inership Interest.

                      ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
     event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
     default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
     Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
     Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
     equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
     transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     forfeiture of such Class B Limited Partnership Interest.

                     (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
     Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
     Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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     the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
     default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
     member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
     automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
     each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
     Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     transfer of such Class C Limited Partnership Interest.

             4.4.     Issuances of Partnership Interests to New and Existing Partners.

                      (a)                                                                   The General Partner
     may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
     Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
     discretion; provided, however, that the General Partner may only admit additional Persons as Limited
     Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
     further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
     in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
     Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
     Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
     partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
     executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
     the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
     Sell and Redemption Agreement.

                     (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
     General Partner may issue an additional Partnership Interest to any existing Partner at such times and
     upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
     additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
     Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
     subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
     Redemption Agreement.

             4.5.     Withdrawal of General Partner

                      (a)      Option. In the event of the withdrawal of the General Partner from the
     Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
     (if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
     from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
     to its Capital Account balance, determined as of the effective date of its departure.

                      (b)     Conversion. If the successor to a Departing Partner does not exercise the option
     described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
     Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

             4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                      (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
     or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
     receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
     to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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     that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
     withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
     requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
     respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
     Agreement in the form attached as                (which may be modified by the General Partner in its sole
     and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
     Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
     of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
     Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
     Limited Partner.

                      (b)                                                  A successor General Partner selected
     pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
     Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
     of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
     predecessor's Partnership Interest.

                     ( c)    Action by General Partner. In connection with the admission of any substitute
     Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
     have the authority to take all such actions as it deems necessary or advisable in connection therewith,
     including the amendment of              and the execution and filing with appropriate authorities of any
     necessary documentation.

                                                     ARTICLE 5

                                       DISSOLUTION AND WINDING UP

             5.1.     Dissolution. The Partnership shall be dissolved upon:

                      (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
     event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
     Section 4.3(b)):

                     (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
     the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
     Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
     Amended Buy-Sell and Redemption Agreement; or

                     (c)      Any other event that, under the Delaware Act, would cause its dissolution.

     For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
     when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
     bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
     or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
     arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
     an answer or other pleading admitting or failing to contest the material allegations of a petition filed
     against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
     paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
     the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
     hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
     Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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     similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
     expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
     trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
     Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
     expire after the date of expiration of a stay, if the appointment has not previously been vacated.

              5.2.      Continuation of the Partnership. Upon the occurrence of an event described in       ==C!c!
             the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
     continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
     made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
     up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
     111                 then:

                     (a)       Within that ninety (90)-day period a successor General Partner shall be selected
     by a Majority Interest;

                      (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
     end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                     (c)       The interest of the former General Partner shall be converted to an interest as a
     Limited Pa11ner: and

                     (d)     All necessary steps shall be taken to amend or restate this Agreement and the
     Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
     Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

              5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
      under               the General Partner or, in the event the General Partner has been dissolved, becomes
      bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
     committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
     General Partner) shall be entitled to receive such compensation for its services as may be approved by a
      Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
      written notice and (if other than the General Partner) may be removed at any time, with or without cause,
      by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
      Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
     duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
     The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
     and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
     the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
     such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
     provided in this              the Liquidator appointed in the manner provided herein shall have and may
     exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
     upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
     limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
     desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
     Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
     judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
     herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
     of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
     of applicable law:



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                      (a)    To the payment of the            of the terminating transactions including, without
     limitation, brokerage commission, legal fees, accounting      and closing costs;

                      (b)    To the payment of creditors of the Partnership, including Partners, in order of
     priority provided by law;

                        (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
     balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
     1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
     of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
     for such purposes; and

                     (d)      To the Partners in propo1iion to their respective Percentage Interests.

               5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
     liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
     dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
     Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
     Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
     liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
     assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
     undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
     such distributions in kind shall be subject to such conditions relating to the disposition and management
     of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
     or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
     determine the fair market value of any property distributed in kind using such reasonable method of
     valuation as it may adopt.

              5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
     distribution of Partnership property as provided in                     and       the Partnership shall be
     terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
     cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
     registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
     Delaware and shall take such other actions as may be necessary to terminate the Partnership.

             5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
     the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
     any such return shall be made solely from Partnership assets.

             5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
     Partnership property.

                                                    ARTICLE 6

                                            GENERAL PROVISIONS

             6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
     the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
     and appropriate; provided, however, any action taken by the General Partner shall be subject to its
     fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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     that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
     the consent of such Partner adversely affected.

              6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
     be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
     ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
     his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
     may have an interest in any Partnership Interest by reason of an assignment or otherwise.

             6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
     convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
     or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
     references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
     Agreement. All Exhibits hereto are incorporated herein by reference.

             6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
     Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
     nouns, pronouns. and verbs shall include the plural and vice versa.

             6.5.      Further Action. The parties shall execute all documents, provide all information, and
     take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
     Agreement.

              6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
     pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
     assigns.

              6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
     pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
     thereto.

             6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
     enforceable by any creditors of the Partnership.

             6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
     duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
     breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
     condition.

             6.10. Counterparts. This agreement may be executed in counterparts, all of which together
     shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
     not signatories to the original or the same counterpart.

              6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
     by the laws of the State of Delaware, without regard to the principles of conflicts of law.

              6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
     illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
     arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
     intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
     provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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     not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
     objectives.

               6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
     the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
     affiliates.

               6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
      parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
      representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
      submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     ~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
      and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
      binding on the other party, with related expedited discovery for the parties, in a court of law, and
      thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
      American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
     arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
     The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
      limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
     each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
     deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
      request for production (in response, the producing pa11y shall not be obligated to produce in excess of
      5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
     pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
     paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
     state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
     The arbitrators will not have the authority to render a decision that contains an outcome based on error of
     state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
     state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
     ,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
      be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
     mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
     another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
     including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
     bear costs and fees. The duty to arbitrate described above shall survive the termination of this
     Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
     jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
     of law will apply in the arbitration.




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                 IN WITNESS WHEREOF. the           hereto have entered into this            date and
         year first written above.

                                                     GENERAL PART:'IER:




                                                     THE DUGABOY INVESTMENT TRUST




                                                      THE MARK AND PAMELA OK,\DA FAMILY
                                                      TRUST - EXEMPT TRt;ST #1


                                                         By:
                                                         -:-Jame: Lawrence Tonomura
                                                         Its:     Trustee


                                                         THE MARK AND PAMELA OKADA FA.MILY
                                                         TRUST - EXEMPT TRUST #2


                                                         By:
                                                         Name: Lawrence Tonomura
                                                         Its:  Trustee




          Signature Page to Fourth Amended @d Res1a1ed
          Agreement qt' Li111i,ed Parfllership




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                IN WITNESS             the       hereto have entered into this        as of the date and
       year first written above.

                                                       GENERAL PARTNER:

                                                       STRAND ADVISORS, INC.,
                                                       a Delaware corporation

                                                       By:
                                                                James D. Dondero,
                                                                President


                                                       LIMITED PARTNERS:

                                                       THE DUGABOY INVESTMENT TRUST


                                                       By:
                                                       Name: Nancy M. Dondero
                                                       Its:  Trustee

                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST - EXEMPT TRUST #1




                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST EXEMPT TRUST #2


                                                       By:
                                                       Na
                                                       Its:


                                                       MARK K. OKADA



                                                       Mark K. Okada




       Signature Page to Fourth Amended and Restated
       Agreement of Limited Partnership




                                                                                                     D-CNL003159
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                                                                         . INVESTMl(NT TRUST
                                                                          .C Administrator


                                                        By




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                                             EXHIBIT A


                                                                      Percentage Interest
      CLASS A PARTNERS                                              By Class   Effective %

       GENERAL PARTNER:

          Strand Advisors                                             0.5573%       0.2508%

       LIMITED PARTNERS:

          The Dugaboy Investment Trust                               74.4426%       0.1866%

          Mark K. Okada                                              19.4268%       0.0487%

          The Mark and Pamela Okada Family Trust- Exempt Trust #1     3.9013%       0.0098%

          The Mark and Pamela Okada Family Trust Exempt Trust #2      1.6720%       0.0042%

     Total Class A Percentage Interest                              100.0000%        0.500%

     CLASS B LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%      55.0000%

     CLASS C LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%       44.500%

     PROFIT AND LOSS AMONG CLASSES

          Class A Partners                                           0.5000%

          Class B Partners                                          55.0000%

          Class C Partners                                          44.5000%




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                                                     EXHIBIT B

                                   ADDENDUM
                                    TO THE
          FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                       OF
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
     Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
     be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
     entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
     General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
     - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
     have the meanings set forth in the Agreement).

                                                     RECITALS:

             WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
     any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
     Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
     Agreement to amend the Agreement;

          WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
     a_% Percentage Interest in the Partnership as of the date hereof;

            WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
     and conditions of the Agreement; and

              WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
     party thereto.

                                                   AGREEMENT:

            RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
     acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
     bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
     Second Amended Buy-Sell and Redemption Agreement; and be it

           FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
                   as a Limited Partner, and the General Partner shall attach this Addendum to the
     Agreement and make it a part thereof; and be it

             FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
     which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
     such parties are not signatories to the original or the same counterpart.




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            IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
     above written.

                                                     GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.

                                                     By:
                                                             Name: _ _ _ _ _ _ _ _ _ _ __
                                                             Title:


                                                     NEW LIMITED PARTNER:



     AGREED AND ACCEPTED:

     In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
     allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
     valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
     terms and conditions of the Agreement as though a party thereto.



      ___________]




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   B1040 (FORM 1040) (12/15)

           ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                   (Instructions on Reverse)

 PLAINTIFFS                                                                      DEFENDANTS
 Highland Capital Management, L.P.                                                Highland Capital Management Services, Inc.,
                                                                                  James Dondero, Nancy Dondero, and The
                                                                                  Dugaboy Investment Trust
 ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Hayward PLLC                                                                    Stinson LLP (for Highland Capital Management
 10501 N. Central Expressway, Suite 106                                          Services, Inc. and Nancy Dondero); Heller, Draper
 Dallas, Texas 75231 Tel.: (972) 755-7100                                        & Horn, L.L.C. (for The Dugaboy Investment Trust)
 PARTY (Check One Box Only)                         PARTY (Check One Box Only)
 □ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
 □ Creditor  □ Other                                □ Creditor    □ Other
 □ Trustee                                          □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Breach of Contract; Turnover Pursuant to 11 USC 542(b); Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 548(a)(1)(A) and 550; Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 544(b) and 550 and Tex. Bus. & C. Code 24.005(a)(1);
 Declaratory Relief; Breach of Fiduciary Duty; Aiding & Abetting Breach of Fiduciary Duty
                                                                     NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


 □2 11-Recovery of money/property - §542 turnover of property                    □
     FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

 □ 12-Recovery of money/property - §547 preference                               □
                                                                                    61-Dischargeability - §523(a)(5), domestic support

 □3 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                    68-Dischargeability - §523(a)(6), willful and malicious injury

 □4 14-Recovery of money/property - other                                        □
                                                                                    63-Dischargeability - §523(a)(8), student loan
                                                                                    64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                 □
                                                                                       (other than domestic support)

 □ 21-Validity, priority or extent of lien or other interest in property
     FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                 □
                                                                                 FRBP 7001(7) – Injunctive Relief

 □
     FRBP 7001(3) – Approval of Sale of Property
                                                                                 □
                                                                                    71-Injunctive relief – imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


 □ 41-Objection / revocation of discharge - §727(c),(d),(e)
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                 □ 81-Subordination of claim or interest
                                                                                 FRBP 7001(8) Subordination of Claim or Interest



 □ 51-Revocation of confirmation
     FRBP 7001(5) – Revocation of Confirmation
                                                                                 □5 91-Declaratory judgment
                                                                                 FRBP 7001(9) Declaratory Judgment



 □ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
     FRBP 7001(6) – Dischargeability
                                                                               □
                                                                               FRBP 7001(10) Determination of Removed Action

 □ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


 □ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
       actual fraud                                                            Other


                    (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                          if unrelated to bankruptcy case)
 □ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                 Demand $ Damages in an amount to be determined at trial
 Other Relief Sought Turnover of amounts due under note, avoidance of transfers to defendants,
                            declaratory relief, punitive and exemplary damages, costs, attorneys' fees




                                                                                                                                           D-CNL003164
                                                                                                                                     Appx. 00178
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   B1040 (FORM 1040) (12/15)

               BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                               BANKRUPTCY CASE NO.
 Highland Capital Management, L.P.                                      19-34054-sgj11
 DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
 Northern District of Texas                                             Dallas                            Stacey G. C. Jernigan
                                       RELATED ADVERSARY PROCEEDING (IF ANY)
 PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                          PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)




 DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 August 27, 2021                                                        Zachery Z. Annable



                                                           INSTRUCTIONS

             The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
   all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
   jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
   lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
   proceeding.

            A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
   Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
   Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
   completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
   information to process the adversary proceeding and prepare required statistical reports on court activity.

            The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
   or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
   explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
   attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

   Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

   Attorneys. Give the names and addresses of the attorneys, if known.

   Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

   Demand. Enter the dollar amount being demanded in the complaint.

   Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
   plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
   attorney, the plaintiff must sign.




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                                                                                                                     Appx. 00179
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                                 EXHIBIT 4




                                                                          Appx. 00180
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                                                                                             Docket #0063 Date Filed: 8/27/2021




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

          In re:                                                        §
                                                                        §   Chapter 11
          HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                        §   Case No. 19-34054-sgj11
                                                                        §
                                           Debtor.
                                                                        §
          HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                        §
                                           Plaintiff,                   §   Adversary Proceeding No.
                                                                        §
          vs.                                                           §   21-03007
                                                                        §
          HCRE PARTERS, LLC (N/K/A/ NEXPOINT                            §
          REAL ESTATE PARTNERS, LLC), JAMES                             §
          DONDERO, NANCY DONDERO, AND THE                               §
          DUGABOY INVESTMENT TRUST

                                           Defendants.


      1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
      for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                    AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
            (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                              BREACH OF FIDUCIARY DUTY

                       Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

      debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

      Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

      “Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

      “Complaint”) against defendants HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC)

      (“HCRE”), James Dondero (“Mr. Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy

      Investment Trust (“Dugaboy” and together with HCRE, Mr. Dondero, and Ms. Dondero, the

      “Defendants”), alleges upon knowledge of its own actions and upon information and belief as to

      other matters as follows:

                                          PRELIMINARY STATEMENT

                       1.         The Debtor brings this action against Defendants in connection with

      HCRE’s defaults under (i) four demand notes, in the aggregate principal amount of $4,250,000,

      and payable upon the Debtor’s demand, and (ii) one term note, in the aggregate principal amount

      of $6,059,831.51, payable in the event of default, all executed by HCRE in favor of the Debtor.

      HCRE has failed to pay amounts due and owing under the notes and the accrued but unpaid interest

      thereon.

                       2.         In paragraph 58 of HCRE’s First Amended Answer to Plaintiff’s Complaint

      [Docket No. 34], HCMS contends that the Debtor orally agreed to relieve it of the obligations

      under the Notes (as defined below) upon fulfillment of “conditions subsequent” (the “Alleged

      Agreement”). HCRE further contends that the Alleged Agreement was entered into between

      James Dondero and his sister, Nancy Dondero, as representative of a majority of the Class A



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      shareholders of the Plaintiff, including Dugaboy (the “Representative”), acting on behalf of the

      Debtor. At the time Mr. Dondero entered into the Alleged Agreement on behalf of HCRE, he

      controlled both HCRE and the Debtor and was the lifetime beneficiary of Dugaboy.

                       3.         Based on its books and records, discovery to date, and other facts, the

      Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

      Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

      under the Notes.

                       4.         Nevertheless, the Debtor amends its Complaint to add certain claims and

      name additional parties who would be liable to the Debtor if the Alleged Agreement were

      determined to exist and be enforceable. Specifically, in addition to pursuing claims against HCMS

      for breach of its obligations under the Notes and for turnover, the Debtor adds alternative claims

      (a) against HCMS for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

      fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

      against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                       5.         As remedies, the Debtor seeks (a) damages from HCRE in an amount equal

      to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii) all

      accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

      Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

      as provided for in the notes), for HCRE’s breach of its obligations under the Notes, and (b) turnover

      by HCRE to the Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and

      the transfers thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit

      of, HCRE pursuant to the Notes; (d) declaratory relief, and (e) damages arising from the

      Defendants’ breach of fiduciary duties or aiding and abetting thereof.



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                                           JURISDICTION AND VENUE

                       6.         This adversary proceeding arises in and relates to the Debtor’s case pending

      before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

      “Court”) under chapter 11 of the Bankruptcy Code.

                       7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

      and 1334.

                       8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

      and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

      order by the Court in the event that it is later determined that the Court, absent consent of the

      parties, cannot enter final orders or judgments consistent with Article III of the United States

      Constitution.

                       9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                    THE PARTIES

                       10.        The Debtor is a limited liability partnership formed under the laws of

      Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                       11.        Upon information and belief, HCRE is a limited liability company with

      offices located in Dallas, Texas, and is organized under the laws of the state of Delaware.

                       12.        Upon information and belief, Mr. Dondero is an individual residing in

      Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

      Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

      controlled HCRE; Mr. Dondero also controlled the Debtor until January 9, 2020.

                       13.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

      and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



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                          14.     Upon information and belief, Nancy Dondero is an individual residing in

      the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                                  CASE BACKGROUND

                          15.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

      chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

      Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                          16.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

      Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

      Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

      Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

      Capital Management GP LLC (collectively, “Acis”).

                          17.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

      Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

      Redeemer had resigned from the Committee.

                          18.     On December 4, 2019, the Delaware Court entered an order transferring

      venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                          19.     The Debtor has continued in the possession of its property and has

      continued to operate and manage its business as a debtor-in-possession pursuant to sections

      1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

      chapter 11 case.




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          All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                             STATEMENT OF FACTS

      A.      The HCRE Demand Notes

                       20.        HCRE is the maker under a series of demand notes in favor of the Debtor.

                       21.        Specifically, on November 27, 2013, HCRE executed a demand note in

      favor of the Debtor, as payee, in the original principal amount of $100,000 (“HCRE’s First

      Demand Note”). A true and correct copy of HCRE’s First Demand Note is attached hereto as

      Exhibit 1.

                       22.        On October 12, 2017, HCRE executed a demand note in favor of the Debtor,

      as payee, in the original principal amount of $2,500,000 (“HCRE’s Second Demand Note”). A

      true and correct copy of HCRE’s Second Demand Note is attached hereto as Exhibit 2.

                       23.        On October 15, 2018, 2017, HCRE executed a demand note in favor of the

      Debtor, as payee, in the original principal amount of $750,000 (“HCRE’s Third Demand Note”).

      A true and correct copy of HCRE’s Third Demand Note is attached hereto as Exhibit 3

                       24.        On September 25, 2019, HCRE executed a demand note in favor of the

      Debtor, as payee, in the original principal amount of $900,000 (“HCRE’s Fourth Demand Note,”

      and collectively, with HCRE’s First Demand Note, HCRE’s Second Demand Note, and HCRE’s

      Third Demand Note, the “Demand Notes”). A true and correct copy of HCRE’s Fourth Demand

      Note is attached hereto as Exhibit 4.

                       25.        Section 2 of the Demand Notes provide: “Payment of Principal and

      Interest. The accrued interest and principal of this Note shall be due and payable on demand of

      the Payee.”

                       26.        Section 4 of the Demand Notes provide:

                       Acceleration Upon Default. Failure to pay this Note or any installment
                       hereunder as it becomes due shall, at the election of the holder hereof,
                       without notice, demand, presentment, notice of intent to accelerate, notice

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                       of acceleration, or any other notice of any kind which are hereby waived,
                       mature the principal of this Note and all interest then accrued, if any, and
                       the same shall at once become due and payable and subject to those
                       remedies of the holder hereof. No failure or delay on the part of the Payee
                       in exercising any right, power, or privilege hereunder shall operate as a
                       waiver hereof.

                       27.        Section 6 of the Demand Notes provide:

                       Attorneys’ Fees. If this Note is not paid at maturity (whether by
                       acceleration or otherwise) and is placed in the hands of an attorney for
                       collection, or if it is collected through a bankruptcy court or any other court
                       after maturity, the Maker shall pay, in addition to all other amounts owing
                       hereunder, all actual expenses of collection, all court costs and reasonable
                       attorneys’ fees and expenses incurred by the holder hereof.

      B.      HCRE’s Defaults Under Each Demand Note

                       28.        By letter dated December 3, 2020, the Debtor made demand on HCRE for

      payment of the Demand Note Repayment Amount by December 11, 2020 (the “Demand

      Letter”). A true and correct copy of the Demand Letter is attached hereto as Exhibit 5. The

      Demand Letter provides:

                       By this letter, Payee is demanding payment of the accrued interest and principal
                       due and payable on the Notes in the aggregate amount of $5,012,260.96, which
                       represents all accrued interest and principal through and including December 11,
                       2020.

                       Payment is due on December 11, 2020, and failure to make payment in full
                       on such date will constitute an event of default under the Notes.

      Demand Letter (emphasis in the original).

                       29.        Despite the Debtor’s demand, HCRE did not pay all or any portion of the

      amount demanded by the Debtor on December 11, 2020, or at any time thereafter.

                       30.        As of December 11, 2020, there was an outstanding principal amount of

      $171,542 on HCRE’s First Demand Note and accrued but unpaid interest in the amount of $526.10,

      resulting in a total outstanding amount as of that date of $172,068.10.



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                       31.        As of December 11, 2020, there was an outstanding principal balance of

      $3,149,919.12 on HCRE’s Second Demand Note and accrued but unpaid interest in the amount of

      $41,423.60, resulting in a total outstanding amount as of that date of $3,191,342.72.

                       32.        As of December 11, 2020, there was an outstanding principal balance of

      $874,977.53 on HCRE’s Third Demand Note and accrued but unpaid interest in the amount of

      $10,931.23, resulting in a total outstanding amount as of that date of $885,908.76.

                       33.        As of December 11, 2020, there was an outstanding principal balance of

      $750,279.14 on HCRE’s Fourth Demand Note and accrued but unpaid interest in the amount of

      $12,662.24, resulting in a total outstanding amount as of that date of $762,941.38.

                       34.        Thus, as of December 11, 2020, the total outstanding principal and accrued

      but unpaid interest due under the Demand Notes was $5,012,260.96.

                       35.        Pursuant to Section 4 of each Note, each Note is in default, and is currently

      due and payable.

      C.      The HCRE Term Note

                       36.        HCRE is the maker under a term note in favor of the Debtor.

                       37.        Specifically, on May 31, 2017, HCRE executed a term note in favor of the

      Debtor, as payee, in the original principal amount of $6,059,831 (the “Term Note,” and together

      with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is attached hereto

      as Exhibit 6.

                       38.        Section 2 of the Term Note provides: “Payment of Principal and

      Interest. Principal and interest under this Note shall be due and payable as follows:

                       2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                       the outstanding principal amount of the Note (and all unpaid accrued interest
                       through the date of each such payment) in thirty (30) equal annual payments (the
                       “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                       Installment on the 31st day of December of each calendar year during the term of

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                       this Note, commencing on the first such date to occur after the date of execution of
                       this note.

                       2.2    Final Payment Date. The final payment in the aggregate amount of the
                       then outstanding and unpaid Note, together with all accrued and unpaid interest
                       thereon, shall become immediately due and payable in full on December 31, 2047
                       (the “Maturity Date”).

                       39.        Section 3 of the Term Note provides:

                       Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                       whole or in part the unpaid principal or accrued interest of this Note. Any
                       payments on this Note shall be applied first to unpaid accrued interest hereon, and
                       then to unpaid principal hereof.

                       40.        Section 4 of the Term Note provides:

                       Acceleration Upon Default. Failure to pay this Note or any installment
                       hereunder as it becomes due shall, at the election of the holder hereof,
                       without notice, demand, presentment, notice of intent to accelerate, notice
                       of acceleration, or any other notice of any kind which are hereby waived,
                       mature the principal of this Note and all interest then accrued, if any, and
                       the same shall at once become due and payable and subject to those
                       remedies of the holder hereof. No failure or delay on the part of the Payee
                       in exercising any right, power, or privilege hereunder shall operate as a
                       waiver hereof.

                       41.        Section 6 of the Term Note provides:

                       Attorneys’ Fees. If this Note is not paid at maturity (whether by
                       acceleration or otherwise) and is placed in the hands of an attorney for
                       collection, or if it is collected through a bankruptcy court or any other court
                       after maturity, the Maker shall pay, in addition to all other amounts owing
                       hereunder, all actual expenses of collection, all court costs and reasonable
                       attorneys’ fees and expenses incurred by the holder hereof.

      D.      HCRE’s Default Under the Term Note

                       42.        HCRE failed to make the payment due under the Term Note on December

      31, 2020.

                       43.        By letter dated January 7, 2021, the Debtor made demand on HCRE for

      immediate payment under the Term Note (the “Second Demand Letter”). A true and correct copy

      of the Second Demand Letter is attached hereto as Exhibit 7. The Demand Letter provides:

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                       Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
                       the Note, all principal, interest, and any other amounts due on the Note are
                       immediately due and payable. The amount due and payable on the Note as of
                       January 8, 2021 is $6,145,466.84; however, interest continues to accrue under the
                       Note.

                       The Term Note is in default, and payment is due immediately.

      Second Demand Letter (emphasis in the original).

                       44.        Despite the Debtor’s demands, HCRE did not pay the amount demanded

      by the debtor on January 7, 2021, or at any time thereafter.

                       45.        As of January 8, 2021, the total outstanding principal and accrued but

      unpaid interest under the Term Note was 6,145,466.84.

                       46.        Pursuant to Section 4 of the Term Note, the Note is in default, and is

      currently due and payable.

      E.      The Debtor Files the Original Complaint

                       47.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

      Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

      Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

      HCRE’s breach of its obligations under the Notes and (ii) turnover by HCRE for the outstanding

      amounts under the Notes, plus all accrued and unpaid interest until the date of payment plus the

      Debtor’s costs of collection and reasonable attorney’s fees.

      F.      HCRE’s Affirmative Defenses

                       48.        On March 13, 2021, HCMS filed Highland Capital Management Services,

      Inc.’s Answer to Plaintiff’s Complaint [Docket No. 6] (the “Original Answer”). In its Original

      Answer, HCMS asserted four affirmative defenses: (i) the claims are barred in whole or in part

      under the doctrines of justification or repudiation, (ii) waiver, (iii) estoppel, and (iv) offset and/or

      setoff (the “Setoff Defense”). See id. ¶¶ 55-58.

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                       49.        On June 11, 2021, HCRE filed its First Amended Answer to Plaintiff’s

      Complaint [Docket No. 34] (the “Amended Answer”), that omitted the Setoff Defense but asserted

      two affirmative defenses: (i) the Debtor previously agreed that it would not collect on the Notes

      “upon fulfillment of conditions subsequent” (i.e., the Alleged Agreement) id. ¶ 58, and (ii) the

      Notes are “ambiguous,” id. ¶ 59.

                       50.        According to HCRE, the Alleged Agreement was orally entered into

      “sometime between December of the year each note was made and February of the following

      year.”

                       51.        According to HCRE, Mr. Dondero, acting on its behalf, entered into the

      Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                       52.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

      Agreement on behalf of HCRE.

                       53.        Upon information and belief, the Debtor’s books and records do not reflect

      the Alleged Agreement.

      G.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                       54.        Under section 4.2 of the Fourth Amended and Restated Agreement of

      Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

      Agreement”), and attached hereto as Exhibit 8, Dugaboy was not authorized to enter into the

      Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

      “Partnership” is defined in the Limited Partnership Agreement).

                       55.        Section 4.2(b) of the Limited Partnership Agreement states:

                       Management of Business. No Limited Partner shall take part in the control (within
                       the meaning of the Delaware Act) of the Partnership’s business, transact any
                       business in the Partnership’s name, or have the power to sign documents for or
                       otherwise bind the Partnership other than as specifically set forth in this Agreement.


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      Exhibit 8, § 4.2(b).

                       56.        No provision in the Limited Partnership Agreement authorizes any of the

      Partnership’s limited partners to bind the Partnership.

                       57.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

      or to otherwise bind the Debtor.

                                            FIRST CLAIM FOR RELIEF
                                                 (Against HCRE)

                                               (For Breach of Contract)

                       58.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       59.        Each Note is a binding and enforceable contract.

                       60.        HCRE breached each Demand Note by failing to pay all amounts due to the

      Debtor upon the Debtor’s demand.

                       61.        HCRE breached the Term Note by failing to pay all amounts due to the

      Debtor upon HCRE’s default and acceleration.

                       62.        Pursuant to each Note, the Debtor is entitled to damages from HCRE in an

      amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

      and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

      costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

      HCRE’s breach of its obligations under each of the Notes.

                       63.        As a direct and proximate cause of HCRE’s breach of each Demand Note,

      the Debtor has suffered damages in the amount of at least $5,012,260.96, as of December 11,

      2020, plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s

      cost of collection.


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                       64.        As a direct and proximate cause of HCRE’s breach of the Term Note, the

      Debtor has suffered damages in the amount of at least $6,145,466.84, as of January 8, 2021, plus

      an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

      collection.

                                      SECOND CLAIM FOR RELIEF
                                             (Against HCRE)
                              (Turnover by HCRE Pursuant to 11 U.S.C. § 542(b))

                       65.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       66.        HCRE owes the Debtor an amount equal to (i) the aggregate outstanding

      principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

      date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

      costs and reasonable attorneys’ fees and expenses), for HCRE’s breach of its obligations under

      each of the Notes

                       67.        Each Demand Note is property of the Debtor’s estate and the amounts due

      under each Demand Note is matured and payable upon demand.

                       68.        The Term Note is property of the Debtor’s estate and the amounts due

      under the Term Note is matured and payable upon default and acceleration.

                       69.        The Debtor has made demand for turnover of the amounts due under each

      of the Notes.

                       70.        As of the date of filing this Complaint, HCRE has not turned over to the

      Debtor all or any of the amounts due under each of the Notes.

                       71.        The Debtor is entitled to the turnover of all amounts due under each of the

      Notes.



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                                  THIRD CLAIM FOR RELIEF
                                         (Against HCRE)
       (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                            and 550)

                       72.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       73.        The Debtor made the transfers pursuant to the Alleged Agreement within

      two years of the Petition Date.

                       74.        Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with

      actual intent to hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                       (a) The transfers were made to, or for the benefit of, HCRE, an insider of the

                             Debtor.

                       (b) Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with his

                             sister, Nancy Dondero.

                       (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                             Alleged Agreement.

                       (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                       (e) The Alleged Agreement was not subject to negotiation.

                       (f) The value of the consideration received by the Debtor for the transfers was not

                             reasonably equivalent in value.

                       75.        The pattern of conduct, series of transactions, and general chronology of

      events under inquiry in connection with the debt HCRE incurred under the Notes demonstrates a

      scheme of fraud.

                       76.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

      of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCRE.


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                        77.       Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

      Agreement and the transfer thereunder, and (ii) recovering from HCRE an amount equal to all

      obligations remaining under the Notes.

                                 FOURTH CLAIM FOR RELIEF
                                         (Against HCRE)
        (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                           550, and Tex. Bus. & C. Code § 24.005(a)(1))

                        78.       The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                        79.       The Debtor made the transfers pursuant to the Alleged Agreement after, or

      within a reasonable time before, creditors’ claims arose.

                        80.       Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with

      actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

      by, inter alia:

                        (g) The transfers were made to, or for the benefit of, HCRE, an insider of the

                              Debtor.

                        (h) Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with his

                              sister, Nancy Dondero.

                        (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                              Alleged Agreement.

                        (j) Upon information and belief, the Debtor’s books and record do not reflect the

                              Alleged Agreement.

                        (k) The Alleged Agreement was not subject to negotiation.

                        (l) The value of the consideration received by the Debtor for the transfers was not

                              reasonably equivalent in value.


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                       81.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

      of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCRE.

                       82.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

      Agreement and the transfer thereunder, and (ii) recovering from HCRE an amount equal to all

      obligations remaining under the Notes.


                                      FIFTH CLAIM FOR RELIEF
                                  (Against Dugaboy and Ms. Dondero)
                 (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                       83.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       84.        A bona fide, actual, present dispute exists between the Debtor, on the one

      hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

      Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

      Debtor’s behalf.

                       85.        A judgment declaring the parties’ respective rights and obligations will

      resolve their dispute.

                       86.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

      declarations that:

                       •     (a) limited partners, including but not limited to Dugaboy, have no right or

                             authority to take part in the control (within the meaning of the Delaware Act)

                             of the Partnership’s business, transact any business in the Partnership’s name,

                             or have the power to sign documents for or otherwise bind the Partnership other

                             than as specifically provided in the Limited Partnership Agreement,




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                       •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                             Representative) was authorized under the Limited Partnership Agreement to

                             enter into the Alleged Agreement on behalf of the Partnership,

                       •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                             Representative) otherwise had any right or authority to enter into the Alleged

                             Agreement on behalf of the Partnership, and

                       •     (d) the Alleged Agreement is null and void.

                                          SIXTH CLAIM FOR RELIEF
                                        (Against Dugaboy and Ms. Dondero)
                                            (Breach of Fiduciary Duty)

                       87.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       88.        If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

      the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

      Ms. Dondero would owe the Debtor a fiduciary duty.

                       89.        If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

      into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

      their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

      Agreement on behalf of the Debtor.

                       90.        Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

      Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

      and (b) for punitive and exemplary damages.




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                                         SEVENTH CLAIM FOR RELIEF
                                    (Against James Dondero and Nancy Dondero)
                                  (Aiding and Abetting a Breach of Fiduciary Duty)

                       91.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       92.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

      that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                       93.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

      the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                       94.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

      the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                       95.        Accordingly, the Donderos are jointly and severally liable (a) for the

      actual damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of

      fiduciary duties, and (b) for punitive and exemplary damages.

                       WHEREFORE, the Debtor prays for judgment as follows:

                       (i)        On its First Claim for Relief, damages in an amount to be determined at

                       trial but includes (a) the aggregate outstanding principal due under each Note,

                       plus (b) all accrued and unpaid interest thereon until the date of payment, plus (c)

                       an amount equal to the Debtor’s cost of collection (including all court costs and

                       reasonable attorneys’ fees and expenses);

                       (ii)       On its Second Claim for Relief, ordering turnover by HCRE to the Debtor

                       of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                       accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                       equal to the Debtor’s cost of collection (including all court costs and reasonable

                       attorneys’ fees and expenses);

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                       (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreement and the

                       transfers thereunder pursuant to the Alleged Agreement arising from actual

                       fraudulent transfer under section 548 of the Bankruptcy Code;

                       (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                       transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                       fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

                       (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                       including but not limited to Dugaboy, have no right or authority to take part in the

                       control (within the meaning of the Delaware Act) of the Partnership’s business,

                       transact any business in the Partnership’s name, or have the power to sign

                       documents for or otherwise bind the Partnership other than as specifically provided

                       in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

                       (whether individually or as Representative) was authorized under the Limited

                       Partnership Agreement to enter into the Alleged Agreement on behalf of the

                       Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                       Representative) otherwise had any right or authority to enter into the Alleged

                       Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

                       void;

                       (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

                       Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

                       their breach of fiduciary duty, and for punitive and exemplary damages;

                       (vii)      On its Seventh Claim for Relief, actual damages from the Donderos,

                       jointly and severally, in an amount to be determined at trial, that Debtor suffered



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                       as a result of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for

                       punitive and exemplary damages; and

                       (iii)      Such other and further relief as this Court deems just and proper.



       Dated: As of July 13, 2021.                    PACHULSKI STANG ZIEHL & JONES LLP
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                                                      Ira D. Kharasch (CA Bar No. 109084)
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                                                      -and-

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                                      EXHIBIT 1




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                                           PROMISSORY NOTE


      $100,000                                                                       November 27, 2013


             FOR VALUE RECEIVED, HCRE PARTNERS, LLC (“Maker”) promises to pay to the
      order of HIGHLAND CAPITAL MANAGEMENT, LP. (“Payee”), in legal and lawful tender of
      the United States of America, the principal sum of ONE HUNDRED THOUSAND and 00/100
      Dollars ($100,000.00), together with interest, on the terms set forth below (the “Note”). All
      sums hereunder are payable to Payee at 300 Crescent Court, Dallas, TX 75201, or such other
      address as Payee may specify to Maker in writing from time to time.

              1.     Interest Rate. The unpaid principal balance of this Note from time to time
      outstanding shall bear interest at a rate equal to 8.00% per annum from the date hereof until
      maturity, compounded annually on the anniversary of the date of this Note. Interest shall be
      calculated at a daily rate equal to 1/365th (1/366 in a leap year) of the rate per annum, shall be
      charged and collected on the actual number of days elapsed, and shall be payable on demand of
      the Payee.

              2.     Payment of Principal and Interest. The accrued interest and principal of this Note
      shall be due and payable on demand of the Payee.

              3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
      or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
      be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

             4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
      as it becomes due shall, at the election of the holder hereof, without notice, demand,
      presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
      which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
      and the same shall at once become due and payable and subject to those remedies of the holder
      hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
      hereunder shall operate as a waiver thereof.

              5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
      nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
      all other notices of any kind hereunder.

             6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
      otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
      bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
      amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
      attorneys’ fees and expenses incurred by the holder hereof.

             7.      Limitation on Agreements. All agreements between Maker and Payee, whether
      now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
      agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or




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                                      EXHIBIT 2




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                                      EXHIBIT 3




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                                      EXHIBIT 4




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                                           PROMISSORY NOTE


      $900,000                                                                       September 25, 2019


             FOR VALUE RECEIVED, HCRE PARTNERS, LLC (“Maker”) promises to pay to the
      order of HIGHLAND CAPITAL MANAGEMENT, LP. (“Payee”), in legal and lawful tender of
      the United States of America, the principal sum of NINE HUNDRED THOUSAND and 00/100
      Dollars ($900,000.00), together with interest, on the terms set forth below (the “Note”). All
      sums hereunder are payable to Payee at 300 Crescent Court, Dallas, TX 75201, or such other
      address as Payee may specify to Maker in writing from time to time.

              1.     Interest Rate. The unpaid principal balance of this Note from time to time
      outstanding shall bear interest at a rate equal to 8.00% per annum from the date hereof until
      maturity, compounded annually on the anniversary of the date of this Note. Interest shall be
      calculated at a daily rate equal to 1/365th (1/366 in a leap year) of the rate per annum, shall be
      charged and collected on the actual number of days elapsed, and shall be payable on demand of
      the Payee.

              2.     Payment of Principal and Interest. The accrued interest and principal of this Note
      shall be due and payable on demand of the Payee.

              3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
      or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
      be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

             4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
      as it becomes due shall, at the election of the holder hereof, without notice, demand,
      presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
      which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
      and the same shall at once become due and payable and subject to those remedies of the holder
      hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
      hereunder shall operate as a waiver thereof.

              5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
      nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
      all other notices of any kind hereunder.

             6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
      otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
      bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
      amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
      attorneys’ fees and expenses incurred by the holder hereof.

             7.      Limitation on Agreements. All agreements between Maker and Payee, whether
      now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
      agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or




                                                                                                     D-CNL003271
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                                     EXHIBIT 5




                                                                                       D-CNL003273
                                                                                 Appx. 00213
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                                       HIGHLAND CAPITAL MANAGEMENT, L.P.




      December 3, 2020




      HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC)
      c/o NexPoint Advisors, LP
      300 Crescent Court, Suite 700
      Dallas, Texas 75201
      Attention: James Dondero

              Re: Demand on Promissory Notes:

      Dear Mr. Dondero,

      HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) (“Maker”) entered into the
      following promissory notes (collectively, the “Notes”) in favor of Highland Capital
      Management, L.P. (“Payee”):

     Date Issued      Original Principal    Outstanding Principal      Accrued But          Total Amount
                           Amount            Amount (12/11/20)        Unpaid Interest   Outstanding (12/11/20)
                                                                        (12/11/20)
      11/27/13             $100,000              $171,542.00             $526.10             $172,068.10
      10/12/17            $2,500,000            $3,149,919.12           $41,423.60          $3,191,342.72
      10/15/18             $750,000              $874,977.53            $10,931.23           $885,908.76
      9/25/19              $900,000              $750,279.14            $12,662.24           $762,941.38
       TOTALS             $4,250,000            $4,946,717.79           $65,543.17          $5,012,260.96

      As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
      upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
      and principal due and payable on the Notes in the aggregate amount of $5,012,260.96, which
      represents all accrued and unpaid interest and principal through and including December 11,
      2020.

      Payment is due on December 11, 2020, and failure to make payment in full on such date
      will constitute an event of default under the Notes.

      Payments on the Notes must be made in immediately available funds. Payee’s wire information
      is attached hereto as Appendix A.

      Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
      or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
      expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
      accrue until the Notes are paid in full. Any such interest will remain the obligation of Maker.


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      Sincerely,

      /s/ James P. Seery, Jr.

      James P. Seery, Jr.
      Highland Capital Management, L.P.
      Chief Executive Officer/Chief Restructuring Officer

      cc:     Fred Caruso
              James Romey
              Jeffrey Pomerantz
              Ira Kharasch
              Gregory Demo
              DC Sauter




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                                          Appendix A


                        ABA #:          322070381
                        Bank Name:      East West Bank
                        Account Name:   Highland Capital Management, LP
                        Account #:      5500014686




                                                                                       D-CNL003276
                                                                                 Appx. 00216
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                                     EXHIBIT 7




                                                                                       D-CNL003281
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                                  HIGHLAND CAPITAL MANAGEMENT, L.P.




      January 7, 2021




      HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC)
      c/o NexPoint Advisors, LP
      300 Crescent Court, Suite 700
      Dallas, Texas 75201
      Attention: James Dondero

              Re: Demand on Promissory Note

      Dear Mr. Dondero,

      On May 31, 2017, HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) (“Maker”)
      entered into that certain promissory note in the original principal amount of $6,059,831.51 (the
      “Note”) in favor of Highland Capital Management, L.P. (“Payee”).

      As set forth in Section 2 of the Note, accrued interest and principal on the Note is due and
      payable in thirty equal annual payments with each payment due on December 31 of each
      calendar year. Maker failed to make the payment due on December 31, 2020.

      Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of the Note, all
      principal, interest, and any other amounts due on the Note are immediately due and payable. The
      amount due and payable on the Note as of January 8, 2021 is $6,145,466.84; however, interest
      continues to accrue under the Note.

      The Note is in default, and payment is due immediately. Payments on the Note must be made
      in immediately available funds. Payee’s wire information is attached hereto as Appendix A.

      Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
      or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
      expressly reserved. Interest, including default interest if applicable, on the Note will continue to
      accrue until the Note is paid in full. Any such interest will remain the obligation of Maker.

      Sincerely,

      /s/ James P. Seery, Jr.

      James P. Seery, Jr.
      Highland Capital Management, L.P.
      Chief Executive Officer/Chief Restructuring Officer


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      cc:     Fred Caruso
              James Romey
              Jeffrey Pomerantz
              Ira Kharasch
              Gregory Demo
              DC Sauter




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                                          Appendix A


                        ABA #:          322070381
                        Bank Name:      East West Bank
                        Account Name:   Highland Capital Management, LP
                        Account #:      5500014686




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                                      EXHIBIT 8




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                              FOURTH AMENDED AND RESTATED

                           AGREEMENT OF LIMITED PARTNERSHIP

                                             OF

                           HIGHLAND CAPITAL MANAGEMENT, L.P.




     THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
     AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
     UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
     ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
     PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
     SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
     PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




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                                       FOURTH AMENDED AND RESTATED
                                     AGREEMENT OF LIMITED PARTNERSHIP
                                                    Of'
                                     HIGHLAND CAPITAL MANAGEMENT, L.P.

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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
     is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
     among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
     party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                                   ARTICLE 1

                                                   GENERAL

             1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
     the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
     expressly provided herein, the rights and obligations of the Partners and the administration and
     termination of the Partnership shall be governed by the Delaware Act.

              1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
     conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
     unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
     provide Limited Partners with written notice of such name change within twenty (20) days after such
     name change.

              1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
     business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
     Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
     indirectly through another partnership, joint venture, or other arrangement.

             1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
     continue until terminated pursuant to this Agreement.

             1.5.    Partnership Offices; Addresses of Partners.

                      (a)      Partnership Offices. The registered office of the Partnership in the State of
     Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
     service of process on the Partnership at that registered office shall be Corporation Service Company, or
     such other registered office or registered agent as the General Partner may from time to time designate.
     The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
     sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
     offices at such other place or places as the General Partner deems advisable.

                     (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
     Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
     Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
     the General Partner with prompt written notice of any change in his/her/its address.




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                                                    ARTICLE 2

                                                   DEFINITIONS

             2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
     unless otherwise clearly indicated to the contrary in this Agreement:


     Agreement.

                      ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
     balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
     relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
     further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
     or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
     Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
     Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
     the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
     (B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
     minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
     Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                      ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
     under common control with the Person in question. As used in this definition, the term ·'controf' means
     the possession. directly or indirectly, of the power to direct or cause the direction of the management and
     policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                       ..Agreement" means this Fourth Amended and Restated Agreement of Limited
     Partnership, as it may be amended, supplemented, or restated from time to time.

                     "Business Day" means Monday through Friday of each week, except that a legal holiday
     recognized as such by the government of the United States or the State of Texas shall not be regarded as a
     Business Day.

                       ·'Capital Account" means the eapital account maintained for a Partner pursuant to
     Section 3.7(a).

                     "Capital Contribution" means, with respect to any Partner, the amount of money or
     property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

                    "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
     with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
     supplemented or restated from time to time.

                      "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class A Limited Partner.''




                                                          2




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                      "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
     Interest, as shown on ==~~·

                       "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class B Limited Partner."

                       ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
     Limited Partner's aggregate capital contributions, including the original principal balance of the
     Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
     exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
     total book value of the Partnership; provided, however, that the General Partner shall only be required to
     test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
     further the General Partner must complete the testing within 180 days of the end of each calendar year;
     provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
     at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                      "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
     its capacity as a Class C Limited Partner."

                     "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
     $93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
     Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
     multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
     only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
     calendar year; provided further the General Partner must complete the testing within 180 days of the end
     of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
     General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
     Ratio Trigger Period.

                     "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
     time.

                   ''Contribution Note" means that certain Secured Promissory Note dated December 21,
     2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                     ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                     "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                      "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
     Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
     restated from time to time, and any successor to that Act.

                     "Effective Date" means the date first recited above.

                     ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




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                    "Founding Partner Group" means, all partners holding partnership interests m the
     Partnership immediately before the Effective Date.

                     "General Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
     not ceased to be a General Partner pursuant to the terms of this Agreement.

                     "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
     not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                     "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
     expenditures described in Code Section 705(a)(2)(B).

                      ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
     Interests of Class A Limited Partners.

                    ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
     NA V Ratio Trigger Period.

                       "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
     plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
     Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
     measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
     plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
     the beginning of the period being measured; provided, however, that amounts within each of the
     aforementioned categories shall be excluded from the calculation to the extent they are specifically
     identified as being derived from investing or financing activities. Each of the capitalized terms in this
     definition shall have the meaning given them in the books and records of the Partnership and appropriate
     adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
     that are current assets or current liabilities.

                    ''New Issues" means Securities that are considered to be "new issues," as defined in the
     Conduct Rules of the National Association of Securities Dealers, Inc.

                       "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
     I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                         "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
     l. 704-2(b )(3 ).

                     "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
     Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
     capitalized terms in this definition shall have the meaning given them in the books and records of the
     Partnership.



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                       "Parmer'' means a General Partner or a Limited Partner.

                       "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
     l .704-2(b)(4).

                      "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
     Section l .704-2(i)(2).

                    "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
     Regulations Section 1.704-2(i)(5).

                     "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
     partnership established pursuant to this Agreement.

                     "Partnership Capitaf' means, as of any relevant date, the net book value of the
     Partnership's assets.

                     ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
     including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
     deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
     a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
     manage and operate the Pa1inership.

                       "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
     l. 704-2( d).

                     ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
     Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                      "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
     organization, association, or other entity.

                       "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                     "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
     income described in Code Section 705(a)( 1)(B).

                      "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
     treated as a "profits interest" for federal income tax purposes.

                    "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
     by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
     Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
     The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
     Promissory Notes.




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                       ·'Record Date'' means the date established by the General Partner for determining the
     identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
     rights in respect of any other lawful action of Limited Partners.

                    "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
     Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
     as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
     supplemented, or restated from time to time.

                        ''Securities·' means the following: (i) securities of any kind (including, without limitation,
     ·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
     (as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
     thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
     any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
     any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
     participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
     through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
     convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
     bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
     ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
     marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
     bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
     foreign country or any state or possession of the United States or any foreign country or any political
     subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                      "Securities Act" means the Securities Act of 1933, as amended, and any successor to
     such statute.

                      "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                     "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
     sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
     part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
     exchange, pledge, hypothecate or otherwise dispose oC

                     "Treasury Regulations" means the Department of Treasury Regulations promulgated
     under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

             2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
     have the meanings contained elsewhere in this Agreement.

                                                      ARTICLE 3

                                              FINANCIAL MATTERS

             3.1.     Capital Contributions.

                       (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
     shall be set forth in the books and records of the Partnership.

                      (b)     Additional Capital Contributions.


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                             (i)      The General Partner, in its reasonable discretion and for a bona
     business purpose, may request in writing that the Founding Partner Group make additional Capital
     Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                               (ii)     Any failure by a Partner to make an Additional Capital Contribution
     requested under                     on or before the date on which that Additional Capital Contribution was
     due shall result in the Partner being in default.

                      (c)                                                In the event a Partner is in default under
     =====:c..:~~ (a "Defaulting Partner''),      the Defaulting Partner, in its sole and unfettered discretion, may
     elect to take either one of the option set forth below.

                                (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
     shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
     capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
     advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
     the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
     which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
     of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
     and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
     receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
     or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
     Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
     shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
     the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
     but shall be considered, for all other purposes of this Agreement, to have been distributed to the
     Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
     by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
     connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
     enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
     addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
     repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
     Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
     to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
     Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
     accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
     agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
     statements, continuation statements or other documents and take such other actions as the General Partner
     shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
     Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
     notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
     hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
     documents and take all such other actions as may be required to perfect such security interest. Such
     appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
     shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
     available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
     reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
     shall not be less than five (5) days following the date of such notice.




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                             ( ii)                                      If the Defaulting Partner does not elect
     to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
     Partner's Percentage Interest in accordance with the following formula:

              The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
              Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
              current Capital Account of the Defaulting Partner (with such Capital Account determined
              after taking into account a revaluation of the Capital Accounts immediately prior to such
              determination), divided by (b) the sum of (i) the current Capital Account of the
              Defaulting Partner (with such Capital Account determined after taking into account a
              revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
              the amount of the additional capital contribution that such Defaulting Partner failed to
              make when due.

     To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
     Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
     proportion to their respective Percentage Interests.

              3.2.    Allocations of Profits and Losses.

                     (a)      Allocations of Profits. Except as provided in===~-''                   and       Profits
     for any Fiscal Year will be allocated to the Partners as follows:

                                 (i)      First, to the Partners until cumulative Profits allocated under this Section
     3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                                (ii)            to the Partners until cumulative Profits allocated under this Section
     3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                               (iii)   Then, to all Patiners in proportion to their respective Percentage
     Interests.

                     (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
     for any Fiscal Year will be will be allocated as follows:

                                  (i)      First, to the Partners until cumulative Losses allocated under this Section
     3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
     3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                               (ii)           to the Partners in proportion to their respective positive Capital
     Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
     Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
     that were last allocated to the Capital Accounts of the Partners; and

                              (iii)    Then, to all Partners in proportion to their respective Percentage
     Interests.




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                     (c)                                      If any allocation of Losses would cause a
     Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
     the General Partner.

              3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
     Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
     existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
     Section 4.3( d).

              3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
     special allocations shall be made in the following order:

                     (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
     this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
     period for which allocations are made, prior to any other allocation under this Agreement, each Partner
     shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
     subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
     net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
     Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
     Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
     minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
     provided therein.

                      (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
     other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
     Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
     other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
     Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
     and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
     or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
     accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
     determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
     to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
     Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
     exceptions provided therein.

                      (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
     allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
     (d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
     amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
     Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
     pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
     Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
     tentatively made without considering this Section 3.4(c).

                       ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
     any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
     restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
     sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
     be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
     as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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     the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
     allocations provided for in this       have been tentatively made without considering               or


                     ( e)                             Nonrecourse Deductions for any taxable year or other
     period for which allocations are made shall he allocated among the Partners in accordance with their
     Percentage interests.

                     (f)                                        Notwithstanding anything to the contrary in
     this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
     allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
     the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
     with Treasury Regulations Section l .704-2(i).

                      (g)                                  To the extent an adjustment to the adjusted tax basis
     of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
     Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
     Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
     adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
     that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
     which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
     Regulations.

                      (h)                                    Any allocable items of income, gain, expense,
     deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
     exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
     Partnership Interest whether such items are positive or negative in amount.

              3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
     pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
     provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
     items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
     amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
     equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
     Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
     this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
     extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
     economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
     determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
     shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
     during which such items are recognized for tax purposes.

              3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
     Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
     the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
     account of any variation at the time of the contribution between the tax basis of the property to the
     Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
     or other decisions relating to those allocations shall be made by the General Partner in any manner that
     reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
     deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
     affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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     of Profits,          other tax items or distributions of any Partner pursuant to any provision of this
     Agreement.

             3.7.     Capital Accounts.

                      (a)                                       The Partnership shall establish and maintain a
     separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
     Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                              (i)     The Capital Account balanee of each Partner shall be credited (increased)
     by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
     value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
     that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
     (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
     specially allocated pursuant to             and     · and

                              (ii)     The Capital Account balance of each Partner shall be debited (decreased)
     by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
     property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
     property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
     allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
     Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
     allocated pursuant to Sections 3 .2,   and

     The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
     of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
     Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
     with those provisions. The General Partner may modify the manner in which the Capital Accounts are
     maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
     occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                     (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
     Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
     Contribution by reason thereof, and that negative balance shall not be considered an asset of the
     Partnership or of any Partner.

                     (c)              No interest shall be paid by the Patinership on Capital Contributions or
     on balances in Capital Accounts.

                     (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
     Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
     except as provided in Section 3.9 and Article 5.

                    ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
     considered Capital Contributions.

                    ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
     "'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
     otherwise.



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              3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
     credit that are recognized for federal income tax purposes will be allocated among the Partners in
     accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
     its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
     New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
     any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
     that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
     any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
     an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
     being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
     time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
     consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
     or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
     determines such alteration to be necessary or appropriate to avoid a materially inequitable result
     where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
     of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
     consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

             3. 9.    Distributions.

                       (a)                  The General Partner may make such pro rata or non-pro rata
     distributions as it may determine in its sole and unfettered discretion, without being limited to current or
     accumulated income or gains, but no such distribution shall be made out of funds required to make
     current payments on Partnership indebtedness; provided, however, that the General Partner may not make
     non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
     consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
     Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
     provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
     tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
     credit facilities with financial institutions that may limit the amount and timing of distributions to the
     Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
     distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
     3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
     aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
     Partners under Section 3 .9(b ).

                      (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
     pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
     Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
     Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                            (i)     No later than March 31st of each calendar year, commencing March 31,
     2017, an amount equal to $1,600,000.00;

                             (ii)     No later than March 31st of each year, commencing March 31, 2017, an
     amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
     the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
     gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
     and records;




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                             (iii)     No later than March 31st of      year, commencing March 31, 2017, an
     amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                            (iv)    No later than December 24th of each year, commencing December
     2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
     the then current year.

                       (c)                         The General Partner may, in its sole discretion, declare and
     make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
     attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
     paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
     Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
     provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
     Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
     Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
     income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
     and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
     Priority Distributions under ==~~~CJ.·

                      ( d)                                                      Any amounts paid pursuant to
     ===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                      (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
     the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
     pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
     that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
     withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
     received a payment from the Partnership as of the time that withholding or tax is paid, which payment
     shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
     Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
     To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
     which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
     the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
     income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
     hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
     sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
     otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
     the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
     received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
     lower rate is applicable, or that no withholding is applicable.

                     (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
     Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
     amount necessary for each of them to pay their respective federal income tax obligations incurred through
     the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
     Capital Management, L.P., the predecessor to this Agreement.

                      (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
     defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
     distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
     Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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     as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
     consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
     and any of its direct or indirect owners that have governing documents directly affected by a Honis
             Event.

             3.10.    Compensation and Reimbursement of General Partner.

                     (a)     Compensation. The General Partner and any Affiliate of the General Partner
     shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
     any other agreements unless approved by a Majority Interest; provided, however, that no compensation
     above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
             Period.

                      (b)                                     In addition to amounts paid under other Sections
     of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
     disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
     with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
     and all related matters.

             3.11.    Books, Records, Accounting, and Reports.

                      (a)     Records and Accounting. The General Partner shall keep or cause to be kept
     appropriate books and records with respect to the Partnership's business, which shall at all times be kept
     at the principal office of the Partnership or such other office as the General Partner may designate for
     such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
     accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
     discretion. in accordance with generally accepted accounting principles and applicable law. Upon
     reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
     records of the Partnership.

                     (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
     otherwise determined by the General Partner in its sole and unfettered discretion.

                      ( c)    Other Information. The General Paitner may release information concerning the
     operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
     to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
     other Person for reasons reasonably related to the business and operations of the Partnership or as
     required by law or regulation of any regulatory body.

                     ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
     Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
     Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
     Partner requesting the information.

             3.12.   Tax Matters.

                      (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
     filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
     federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
     his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
     October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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     other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
     General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
     unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
     and treat such taxes as an expense of the Partnership.

                      (b)                      Except as otherwise provided herein, the General Partner shall, in
     its sole and unfettered discretion, determine whether to make any available tax election.

                      (c)                             Subject to the provisions hereof, the General Partner is
     designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
     represent the Partnership, at the Partnership's expense, in connection with all examinations of the
     Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
     expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
     cooperate \\ith the General Partner in connection with such proceedings.

                      (d)                                No election shall be made by the Partnership or any
     Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
     Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                     ARTICLE 4

                                 RIGHTS AND OBLIGATIONS OF PARTNERS

              4.1.    Rights and Obligations of the General Partner. In addition to the rights and
     obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
     obligations:

                      (a)      Management. The General Partner shall conduct, direct, and exercise full control
     of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
     management powers over the business and affairs of the Partnership shall be exclusively vested in the
     General Partner, and Limited Partners shall have no right of control over the business and affairs of the
     Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
     partnership under applicable law or that are granted to the General Partner under any provision of this
     Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
     desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
     determination of the activities in which the Partnership will participate; (ii) the performance of any and all
     acts necessary or appropriate to the operation of any business of the Partnership (including, without
     limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
     paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
     insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
     General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
     of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
     in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
     any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
     business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
     and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
     deems necessary or advisable for the conduct of the activities of the Partnership, including, without
     limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
     pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
     on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
     of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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     of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
     desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
     implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
     cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
     consultants, contractors, agents and representatives and the determination of their compensation and other
     teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
     ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
     or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
     the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
     the incurring of legal expenses, and the settlement of claims and suits.

                      (b)                                          The General Partner caused the Cetiificate of
     Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
     the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
     limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
     Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
     operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
     State of Delaware and in any other state where the Partnership may elect to do business.

                      (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
     Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
      from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
     representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
     properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
     exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
     sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
     all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
     contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
     financing. In no event shall any Person dealing with the General Partner or the General Partner's
     representative with respect to any business or property of the Partnership be obligated to asce1iain that the
     terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
     assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
     such Person be obligated to inquire into the necessity or expedience of any act or action of the General
     Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
     agreement, promissory note, or other instrument or document executed by the General Partner or the
     General Partner's representative with respect to any business or property of the Patinership shall be
     conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
     the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
     instrument or document was duly executed in accordance with the terms and provisions of this Agreement
     and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
     was duly authorized and empowered to execute and deliver any and every such instrument or document
     for and on behalf of the Paiinership.

                      (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
     account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
     unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
     the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
     Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
     account are maintained that show the amount of funds of the Partnership on deposit in such account and
     interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
     the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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     not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
     obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
     thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
     Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
     withdrawals from or charges against such accounts shall be made by the General Partner or by its
     representatives. Funds of the Partnership may be invested as determined by the General Partner in
     accordance with the terms and provisions of this Agreement.

                      (e)

                               (i)      The General Partner or any Affiliate of the General Partner may lend to
     the Partnership funds needed by the Partnership for such periods of time as the General Partner may
     determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
     at a rate greater than the rate (including points or other financing charges or fees) that would be charged
     the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
     lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
     case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
     borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
     Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
     General Partner's sole and exclusive discretion.

                              (ii)    The General Partner or any of its Affiliates may enter into an agreement
     with the Partnership to render services, including management services, for the Partnership. Any service
     rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
     and reasonable to the Partnership.

                              (iii)   The Partnership may Transfer any assets to JOmt ventures or other
     partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
     consistent with applicable law as the General Partner deems appropriate; provided, however, that the
     Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
     Ratio Trigger Period for consideration less than such asset's fair market value.

                      (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
     thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
     thereof shall be entitled to and may have business interests and engage in business activities in addition to
     those relating to the Patinership, including, without limitation, business interests and activities in direct
     competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
     virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
     General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
     the General Patiner or any Affiliate thereof.

                      (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
     Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
     between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
     Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
     General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
     herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
     any other applicable law, rule, or regulation.

                     (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
     Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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     the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
     performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
     with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
     in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
     Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
     harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
     misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
     and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
     who is or was serving at the request of the Partnership acting through the General Partner as a director,
     oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
     venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
     its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
     permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
     elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
     reduce or limit in any manner the indemnification provided for or permitted by this                  unless
     such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
     enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
     reason of the indemnification provisions of this Agreement.

                     ( i)     Liability of General Partner.

                              (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
     or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
     any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                               (ii)   The General Partner may exercise any of the powers granted to it by this
     Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
     directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
     for any misconduct or negligence on the part of any agent or representative appointed by the General
     Partner.

                     U)       Reliance by General Partner.

                              (i)     The General Partner may rely and shall be protected in acting or
     refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
     request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
     have been signed or presented by the proper party or parties.

                              (ii)    The General Partner may consult with legal counsel, accountants,
     appraisers, management consultants, investment bankers, and other consultants and advisers selected by
     it, and any opinion of any such Person as to matters which the General Partner believes to be within such
     Person's professional or expe11 competence shall be full and complete authorization and protection in
     respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
     accordance with such opinion.

                      (k)     The General Partner may, from time to time, designate one or more Persons to be
     officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
     authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
     General Partner may assign titles to particular officers, including, without limitation, president, vice
     president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
     until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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     until such Person shall          or shall have been removed in the manner hereinafter provided. Any
     number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
     officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
     may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
     Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
     any office of the Partnership may be filled by the General Partner.

              4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
     of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
     rights and obligations:

                   (a)                                 Limited Partners shall have no liability under this
     Agreement except as provided herein or under the Delaware Aet.

                      (b)                               No Limited Partner shall take part in the control
     (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
     Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
     as specifically set forth in this Agreement.

                     (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
     return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
     Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
     extent provided for in this Agreement.

                   (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
     shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
     Agreement.

                      ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
     Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
     Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
     may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
     Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
     however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
     traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
     3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
     offer to purchase any securities liquidated under this Section 4.2(e).

             4.3.     Transfer of Partnership Interests.

                       (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
     in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
     Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
     made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
     shall be null and void. An alleged transferee shall have no right to require any information or account of
     the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
     treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
     incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
     of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
     notices required to be given to holders of Partnership Interests.



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                      (b)                                      The General Partner may Transfer all, but not
     than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
     however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
      Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
     the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
      Interest under this                 to an Af111iate of the General Partner or any other Person shall not
     constitute a withdrawal of the General Partner under                                 or any other provision
     of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
     otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
     jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
     consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
     pursuant to~~~~~·

                     (c)                                      The Partnership Interest of a Limited Partner may
     not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
     and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
     and Redemption Agreement.

                      ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
     any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
     A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
     items attributable to the transferred interest for that period shall be divided and allocated between the
     transferor and the transferee by taking into aecount their varying interests during the period in aecordance
     with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
     provided that no allocations shall be made under this Section 4.3(d) that would affect any special
     allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
     be made to the transferor. Solely for purposes of making such allocations and distributions, the
     Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
     given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
     date that Partnership Interest was Transferred and such other information as the General Pa1iner may
     reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
     occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
     according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
     Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
     incur any liability for making alloeations and distributions in accordance with the provisions of this
     Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
     of any Pa1inership Interest.

                      ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
     event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
     default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
     Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
     Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
     equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
     transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     forfeiture of such Class B Limited Partnership Interest.

                     (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
     Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
     Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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     the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
     default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
     member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
     automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
     each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
     Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     transfer of such Class C Limited Partnership Interest.

             4.4.     Issuances of Partnership Interests to New and Existing Partners.

                      (a)                                                                   The General Partner
     may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
     Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
     discretion; provided, however, that the General Partner may only admit additional Persons as Limited
     Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
     further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
     in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
     Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
     Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
     partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
     executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
     the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
     Sell and Redemption Agreement.

                     (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
     General Partner may issue an additional Partnership Interest to any existing Partner at such times and
     upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
     additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
     Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
     subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
     Redemption Agreement.

             4.5.     Withdrawal of General Partner

                      (a)      Option. In the event of the withdrawal of the General Partner from the
     Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
     (if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
     from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
     to its Capital Account balance, determined as of the effective date of its departure.

                      (b)     Conversion. If the successor to a Departing Partner does not exercise the option
     described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
     Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

             4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                      (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
     or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
     receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
     to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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     that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
     withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
     requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
     respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
     Agreement in the form attached as                (which may be modified by the General Partner in its sole
     and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
     Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
     of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
     Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
     Limited Partner.

                      (b)                                                  A successor General Partner selected
     pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
     Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
     of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
     predecessor's Partnership Interest.

                     ( c)    Action by General Partner. In connection with the admission of any substitute
     Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
     have the authority to take all such actions as it deems necessary or advisable in connection therewith,
     including the amendment of              and the execution and filing with appropriate authorities of any
     necessary documentation.

                                                     ARTICLE 5

                                       DISSOLUTION AND WINDING UP

             5.1.     Dissolution. The Partnership shall be dissolved upon:

                      (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
     event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
     Section 4.3(b)):

                     (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
     the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
     Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
     Amended Buy-Sell and Redemption Agreement; or

                     (c)      Any other event that, under the Delaware Act, would cause its dissolution.

     For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
     when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
     bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
     or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
     arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
     an answer or other pleading admitting or failing to contest the material allegations of a petition filed
     against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
     paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
     the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
     hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
     Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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     similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
     expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
     trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
     Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
     expire after the date of expiration of a stay, if the appointment has not previously been vacated.

              5.2.      Continuation of the Partnership. Upon the occurrence of an event described in       ==C!c!
             the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
     continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
     made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
     up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
     111                 then:

                     (a)       Within that ninety (90)-day period a successor General Partner shall be selected
     by a Majority Interest;

                      (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
     end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                     (c)       The interest of the former General Partner shall be converted to an interest as a
     Limited Pa11ner: and

                     (d)     All necessary steps shall be taken to amend or restate this Agreement and the
     Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
     Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

              5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
      under               the General Partner or, in the event the General Partner has been dissolved, becomes
      bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
     committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
     General Partner) shall be entitled to receive such compensation for its services as may be approved by a
      Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
      written notice and (if other than the General Partner) may be removed at any time, with or without cause,
      by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
      Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
     duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
     The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
     and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
     the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
     such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
     provided in this              the Liquidator appointed in the manner provided herein shall have and may
     exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
     upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
     limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
     desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
     Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
     judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
     herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
     of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
     of applicable law:



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                      (a)    To the payment of the            of the terminating transactions including, without
     limitation, brokerage commission, legal fees, accounting      and closing costs;

                      (b)    To the payment of creditors of the Partnership, including Partners, in order of
     priority provided by law;

                        (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
     balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
     1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
     of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
     for such purposes; and

                     (d)      To the Partners in propo1iion to their respective Percentage Interests.

               5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
     liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
     dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
     Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
     Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
     liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
     assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
     undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
     such distributions in kind shall be subject to such conditions relating to the disposition and management
     of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
     or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
     determine the fair market value of any property distributed in kind using such reasonable method of
     valuation as it may adopt.

              5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
     distribution of Partnership property as provided in                     and       the Partnership shall be
     terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
     cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
     registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
     Delaware and shall take such other actions as may be necessary to terminate the Partnership.

             5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
     the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
     any such return shall be made solely from Partnership assets.

             5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
     Partnership property.

                                                    ARTICLE 6

                                            GENERAL PROVISIONS

             6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
     the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
     and appropriate; provided, however, any action taken by the General Partner shall be subject to its
     fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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     that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
     the consent of such Partner adversely affected.

              6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
     be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
     ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
     his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
     may have an interest in any Partnership Interest by reason of an assignment or otherwise.

             6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
     convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
     or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
     references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
     Agreement. All Exhibits hereto are incorporated herein by reference.

             6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
     Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
     nouns, pronouns. and verbs shall include the plural and vice versa.

             6.5.      Further Action. The parties shall execute all documents, provide all information, and
     take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
     Agreement.

              6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
     pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
     assigns.

              6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
     pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
     thereto.

             6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
     enforceable by any creditors of the Partnership.

             6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
     duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
     breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
     condition.

             6.10. Counterparts. This agreement may be executed in counterparts, all of which together
     shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
     not signatories to the original or the same counterpart.

              6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
     by the laws of the State of Delaware, without regard to the principles of conflicts of law.

              6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
     illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
     arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
     intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
     provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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     not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
     objectives.

               6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
     the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
     affiliates.

               6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
      parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
      representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
      submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     ~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
      and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
      binding on the other party, with related expedited discovery for the parties, in a court of law, and
      thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
      American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
     arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
     The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
      limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
     each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
     deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
      request for production (in response, the producing pa11y shall not be obligated to produce in excess of
      5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
     pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
     paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
     state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
     The arbitrators will not have the authority to render a decision that contains an outcome based on error of
     state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
     state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
     ,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
      be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
     mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
     another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
     including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
     bear costs and fees. The duty to arbitrate described above shall survive the termination of this
     Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
     jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
     of law will apply in the arbitration.




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                 IN WITNESS WHEREOF. the           hereto have entered into this            date and
         year first written above.

                                                     GENERAL PART:'IER:




                                                     THE DUGABOY INVESTMENT TRUST




                                                      THE MARK AND PAMELA OK,\DA FAMILY
                                                      TRUST - EXEMPT TRt;ST #1


                                                         By:
                                                         -:-Jame: Lawrence Tonomura
                                                         Its:     Trustee


                                                         THE MARK AND PAMELA OKADA FA.MILY
                                                         TRUST - EXEMPT TRUST #2


                                                         By:
                                                         Name: Lawrence Tonomura
                                                         Its:  Trustee




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                IN WITNESS             the       hereto have entered into this        as of the date and
       year first written above.

                                                       GENERAL PARTNER:

                                                       STRAND ADVISORS, INC.,
                                                       a Delaware corporation

                                                       By:
                                                                James D. Dondero,
                                                                President


                                                       LIMITED PARTNERS:

                                                       THE DUGABOY INVESTMENT TRUST


                                                       By:
                                                       Name: Nancy M. Dondero
                                                       Its:  Trustee

                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST - EXEMPT TRUST #1




                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST EXEMPT TRUST #2


                                                       By:
                                                       Na
                                                       Its:


                                                       MARK K. OKADA



                                                       Mark K. Okada




       Signature Page to Fourth Amended and Restated
       Agreement of Limited Partnership




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                                                                         . INVESTMl(NT TRUST
                                                                          .C Administrator


                                                        By




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                                             EXHIBIT A


                                                                      Percentage Interest
      CLASS A PARTNERS                                              By Class   Effective %

       GENERAL PARTNER:

          Strand Advisors                                             0.5573%       0.2508%

       LIMITED PARTNERS:

          The Dugaboy Investment Trust                               74.4426%       0.1866%

          Mark K. Okada                                              19.4268%       0.0487%

          The Mark and Pamela Okada Family Trust- Exempt Trust #1     3.9013%       0.0098%

          The Mark and Pamela Okada Family Trust Exempt Trust #2      1.6720%       0.0042%

     Total Class A Percentage Interest                              100.0000%        0.500%

     CLASS B LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%      55.0000%

     CLASS C LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%       44.500%

     PROFIT AND LOSS AMONG CLASSES

          Class A Partners                                           0.5000%

          Class B Partners                                          55.0000%

          Class C Partners                                          44.5000%




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                                                     EXHIBIT B

                                   ADDENDUM
                                    TO THE
          FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                       OF
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
     Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
     be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
     entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
     General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
     - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
     have the meanings set forth in the Agreement).

                                                     RECITALS:

             WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
     any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
     Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
     Agreement to amend the Agreement;

          WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
     a_% Percentage Interest in the Partnership as of the date hereof;

            WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
     and conditions of the Agreement; and

              WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
     party thereto.

                                                   AGREEMENT:

            RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
     acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
     bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
     Second Amended Buy-Sell and Redemption Agreement; and be it

           FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
                   as a Limited Partner, and the General Partner shall attach this Addendum to the
     Agreement and make it a part thereof; and be it

             FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
     which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
     such parties are not signatories to the original or the same counterpart.




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            IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
     above written.

                                                     GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.

                                                     By:
                                                             Name: _ _ _ _ _ _ _ _ _ _ __
                                                             Title:


                                                     NEW LIMITED PARTNER:



     AGREED AND ACCEPTED:

     In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
     allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
     valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
     terms and conditions of the Agreement as though a party thereto.



      ___________]




                                                                                                       D-CNL003321
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   B1040 (FORM 1040) (12/15)

           ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                   (Instructions on Reverse)

 PLAINTIFFS                                                                      DEFENDANTS
 Highland Capital Management, L.P.                                                HCRE Partners, LLC (n/k/a NexPoint Real Estate
                                                                                  Partners, LLC), James Dondero, Nancy Dondero,
                                                                                  and The Dugaboy Investment Trust
 ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Hayward PLLC                                                                    Stinson LLP (for NexPoint Real Estate Partners,
 10501 N. Central Expressway, Suite 106                                          LLC and Nancy Dondero); Heller, Draper & Horn,
 Dallas, Texas 75231 Tel.: (972) 755-7100                                        L.L.C. (for The Dugaboy Investment Trust)
 PARTY (Check One Box Only)                         PARTY (Check One Box Only)
 □ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
 □ Creditor  □ Other                                □ Creditor    □ Other
 □ Trustee                                          □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Breach of Contract; Turnover Pursuant to 11 USC 542(b); Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 548(a)(1)(A) and 550; Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 544(b) and 550 and Tex. Bus. & C. Code 24.005(a)(1);
 Declaratory Relief; Breach of Fiduciary Duty; Aiding & Abetting Breach of Fiduciary Duty
                                                                     NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


 □2 11-Recovery of money/property - §542 turnover of property                    □
     FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

 □ 12-Recovery of money/property - §547 preference                               □
                                                                                    61-Dischargeability - §523(a)(5), domestic support

 □3 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                    68-Dischargeability - §523(a)(6), willful and malicious injury

 □                                                                               □
                                                                                    63-Dischargeability - §523(a)(8), student loan
  4 14-Recovery of money/property - other                                           64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                 □
                                                                                       (other than domestic support)

 □ 21-Validity, priority or extent of lien or other interest in property
     FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                 □
                                                                                 FRBP 7001(7) – Injunctive Relief

 □
     FRBP 7001(3) – Approval of Sale of Property
                                                                                 □
                                                                                    71-Injunctive relief – imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


 □ 41-Objection / revocation of discharge - §727(c),(d),(e)
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                 □ 81-Subordination of claim or interest
                                                                                 FRBP 7001(8) Subordination of Claim or Interest



 □ 51-Revocation of confirmation
     FRBP 7001(5) – Revocation of Confirmation
                                                                                 □5 91-Declaratory judgment
                                                                                 FRBP 7001(9) Declaratory Judgment



 □ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
     FRBP 7001(6) – Dischargeability
                                                                               □
                                                                               FRBP 7001(10) Determination of Removed Action

 □ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


 □ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
       actual fraud                                                            Other


                    (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                          if unrelated to bankruptcy case)
 □ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                 Demand $ Damages in an amount to be determined at trial
 Other Relief Sought Turnover of amounts due under note, avoidance of transfers to defendants,
                           declaratory relief, punitive and exemplary damages, costs, attorneys' fees




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   B1040 (FORM 1040) (12/15)

               BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                               BANKRUPTCY CASE NO.
 Highland Capital Management, L.P.                                      19-34054-sgj11
 DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
 Northern District of Texas                                             Dallas                            Stacey G. C. Jernigan
                                       RELATED ADVERSARY PROCEEDING (IF ANY)
 PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                          PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)




 DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 August 27, 2021                                                        Zachery Z. Annable



                                                           INSTRUCTIONS

             The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
   all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
   jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
   lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
   proceeding.

            A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
   Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
   Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
   completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
   information to process the adversary proceeding and prepare required statistical reports on court activity.

            The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
   or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
   explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
   attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

   Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

   Attorneys. Give the names and addresses of the attorneys, if known.

   Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

   Demand. Enter the dollar amount being demanded in the complaint.

   Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
   plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
   attorney, the plaintiff must sign.




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                                                                                                                     Appx. 00263
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                                 EXHIBIT 5




                                                                          Appx. 00264
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                                                      Dallas, Texas 75202-2790
       A. Lee Hogewood, III (pro hac vice)            Telephone: (214) 855-7500
       4350 Lassiter at North Hills Ave., Suite 300   Facsimile: (214) 978-4375
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       Tel: (919) 743-7306                            jvasek@munsch.com
       Lee.hogewood@klgates.com
                                                      Counsel for Highland Capital Management Fund
       Counsel for Highland Capital Management Fund   Advisors, L.P.
       Advisors, L.P.

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

       In re                                           §
                                                       §
                                                                            Chapter 11
       HIGHLAND CAPITAL MANAGEMENT,                    §
       L.P.,                                           §
                                                                    Case No. 19-34054-sgj11
                                                       §
               Debtor.                                 §
                                                       §
       HIGHLAND CAPITAL MANAGEMENT,                    §
       L.P.,                                           §
                                                       §
               Plaintiff,                              §
                                                       §
                                                                       Adv. No. 21-03004
       v.                                              §
                                                       §
       HIGHLAND CAPITAL MANAGEMENT                     §
       FUND ADVISORS, L.P.                             §
                                                       §
               Defendant.                              §

                                      DEFENDANT’S ORIGINAL ANSWER

               COMES NOW Highland Capital Management Fund Advisors, L.P. (the “Defendant”), the

      defendant in the above-styled and numbered adversary proceeding (the “Adversary Proceeding”)

      filed by Highland Capital Management, L.P. (the “Plaintiff”), and files this its Defendant’s

      Original Answer (the “Answer”), responding to the Complaint for (I) Breach of Contract and (II)



      DEFENDANT’S ORIGINAL ANSWER                                     ¨1¤}HV5#"        Page 1 of 7 &F«
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      Turnover of Property of the Debtor’s Estate (the “Complaint”). Where an allegation in the

      Complaint is not expressly admitted in this Answer, it is denied.

                                       PRELIMINARY STATEMENT

                1.   The first sentence of ¶ 1 sets forth the Plaintiff’s objective in bringing the Complaint

      and does not require a response. To the extent it contains factual allegations, they are denied. The

      second sentence contains a legal conclusion that does not require a response. To the extent it

      contains factual allegations, they are denied.

                2.   Paragraph 2 contains a summary of the relief the Plaintiff seeks and does not require

      a response. To the extent it contains factual allegations, they are denied.

                                       JURISDICTION AND VENUE

                3.   The Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

      bankruptcy case but denies any implication that this fact confers Constitutional authority on the

      Bankruptcy Case to adjudicate this dispute. Any allegations in ¶ 3 not expressly admitted are

      denied.

                4.   The Defendant admits that the Court has statutory (but not Constitutional)

      jurisdiction to hear this Adversary Proceeding. Any allegations in ¶ 4 not expressly admitted are

      denied.

                5.   The Defendant denies that a breach of contract claim is core. The Defendant denies

      that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested debt. The

      Defendant admits that a § 542(b) turnover proceeding is statutorily core but denies that it is

      Constitutionally core under Stern v. Marshall. The Defendant does not consent to the Bankruptcy

      Court entering final orders or judgment in this Adversary Proceeding. Any allegations in ¶ 5 not

      expressly admitted are denied.

                6.   The Defendant admits ¶ 6 of the Complaint.


      DEFENDANT’S ORIGINAL ANSWER                                                                 Page 2 of 7



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                                                THE PARTIES

             7.      The Defendant admits ¶ 7 of the Complaint.

             8.      The Defendant admits ¶ 8 of the Complaint.

                                           CASE BACKGROUND

             9.      The Defendant admits ¶ 9 of the Complaint.

             10.     The Defendant admits ¶ 10 of the Complaint.

             11.     The Defendant admits ¶ 11 of the Complaint.

             12.     The Defendant admits ¶ 12 of the Complaint.

                                          STATEMENT OF FACTS

      A.     The HCMFA Notes

             13.     The Defendant admits that it has executed at least one promissory note under which

      the Debtor is the payee. Any allegations in ¶ 13 not expressly admitted are denied.

             14.     The Defendant admits ¶ 14 of the Complaint.

             15.     The Defendant admits ¶ 15 of the Complaint.

             16.     The Defendant denies ¶ 16 of the Complaint. The document speaks for itself and

      the quote set forth in ¶ 16 is not verbatim.

             17.     The Defendant denies ¶ 17 of the Complaint. The document speaks for itself and

      the quote set forth in ¶ 17 is not verbatim.

             18.     The Defendant admits ¶ 18 of the Complaint.

      B.     HCMFA’s Default under Each Note

             19.     The Defendant admits that Exhibit 3 to the Complaint (the “Demand Letter”) is a

      true and correct copy of what it purports to be and that the document speaks for itself. To the

      extent ¶ 19 of the Complaint asserts a legal conclusion, no response is required, and it is denied.

      To the extent not expressly admitted, ¶ 19 of the Complaint is denied.


      DEFENDANT’S ORIGINAL ANSWER                                                              Page 3 of 7



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              20.    To the extent ¶ 20 of the Complaint asserts a legal conclusion, no response is

      necessary, and it is denied. The Defendant otherwise admits ¶ 20 of the Complaint.

              21.    The Defendant lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in ¶ 21 of the Complaint and therefore denies the same.

              22.    The Defendant lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in ¶ 22 of the Complaint and therefore denies the same.

              23.    The Defendant lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in ¶ 23 of the Complaint and therefore denies the same.

              24.    The Defendant denies ¶ 24 of the Complaint.

                                       FIRST CLAIM FOR RELIEF
                                         (For Breach of Contract)

              25.    Paragraph 25 of the Complaint is a sentence of incorporation that does not require

      a response. All prior denials are incorporated herein by reference.

              26.    Paragraph 26 of the Complaint states a legal conclusion that does not require a

      response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

      to form a belief about the truth of the allegations in ¶ 26 of the Complaint and therefore denies the

      same.

              27.    Paragraph 27 of the Complaint states a legal conclusion that does not require a

      response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

      to form a belief about the truth of the allegations in ¶ 27 of the Complaint and therefore denies the

      same.

              28.    Paragraph 28 of the Complaint states a legal conclusion that does not require a

      response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient




      DEFENDANT’S ORIGINAL ANSWER                                                                Page 4 of 7



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      to form a belief about the truth of the allegations in ¶ 28 of the Complaint and therefore denies the

      same.

              29.    The Defendant denies ¶ 29 of the Complaint.

                                    SECOND CLAIM FOR RELIEF
                          (Turnover by HCMFA Pursuant to 11 U.S.C. § 542(b))

              30.    Paragraph 30 of the Complaint is a sentence of incorporation that does not require

      a response. All prior denials are incorporated herein by reference.

              31.    Paragraph 31 of the Complaint states a legal conclusion that does not require a

      response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

      to form a belief about the truth of the allegations in ¶ 31 of the Complaint and therefore denies the

      same.

              32.    Paragraph 32 of the Complaint states a legal conclusion that does not require a

      response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

      to form a belief about the truth of the allegations in ¶ 32 of the Complaint and therefore denies the

      same.

              33.    The Defendant denies ¶ 33 of the Complaint.

              34.    Paragraph 34 of the Complaint states a legal conclusion that does not require a

      response. The Defendant admits that the Plaintiff transmitted the Demand Letter. To the extent ¶

      34 alleges other facts, the Defendant lacks knowledge or information sufficient to form a belief

      about the truth of the allegations in ¶ 34 of the Complaint and therefore denies the same.

              35.    The Defendant lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in ¶ 35 of the Complaint and therefore denies the same.

              36.    Paragraph 36 of the Complaint states a legal conclusion that does not require a

      response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient



      DEFENDANT’S ORIGINAL ANSWER                                                                Page 5 of 7



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      to form a belief about the truth of the allegations in ¶ 36 of the Complaint and therefore denies the

      same.

              37.      The Defendant denies that the Plaintiff is entitled to the relief requested in the

      prayer, including parts (i), (ii), and (iii).

                                                  JURY DEMAND

              38.      The Defendant demands a trial by jury of all issues so triable pursuant to Rule 38

      of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of Bankruptcy

      Procedure.

              39.      The Defendant does not consent to the Bankruptcy Court conducting a jury trial

      and therefore demands a jury trial in the District Court.

                                                      PRAYER

              WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully request that,

      following a trial on the merits, the Court enter a judgment that the Plaintiff take noting on the

      Complaint and provide the Defendant such other relief to which it is entitled.

              RESPECTFULLY SUBMITTED this 1st day of March, 2021.




      DEFENDANT’S ORIGINAL ANSWER                                                                Page 6 of 7



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                                                         MUNSCH HARDT KOPF & HARR, P.C.

                                                         By: /s/ Davor Rukavina
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                                                            Texas Bar No. 24030781
                                                            Julian P. Vasek, Esq.
                                                            Texas Bar No. 24070790
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                                                            Telephone: (214) 855-7500
                                                            Facsimile: (214) 978-4375
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                                                         K&L GATES LLP

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                                                             A. Lee Hogewood, III (pro hac vice)
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                                                             300
                                                             Raleigh, NC 27609
                                                             Tel: (919) 743-7306
                                                             Lee.hogewood@klgates.com

                                                         COUNSEL FOR HIGHLAND CAPITAL
                                                         MANAGEMENT FUND ADVISORS,
                                                         L.P.




                                       CERTIFICATE OF SERVICE

              The undersigned hereby certifies that, on the 1st day of March, 2021, a true and correct
      copy of this document was electronically served by the Court’s ECF system on parties entitled to
      notice thereof, including counsel for the Plaintiff.

                                                         /s/ Davor Rukavina
                                                            Davor Rukavina, Esq.




      DEFENDANT’S ORIGINAL ANSWER                                                            Page 7 of 7
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                                 EXHIBIT 6




                                                                          Appx. 00272
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 COUNSEL FOR HIGHLAND MANAGEMENT
 SERVICES, INC.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
  In re:                                            §
                                                    §
  HIGHLAND CAPITAL MANAGEMENT,                      §            Chapter 11
  L.P.                                              §
                                                    §            Case No.: 19-34054-sgj11
            Debtor.                                 §
                                                    §
  HIGHLAND CAPITAL MANAGEMENT,                      §
  L.P.                                              §
                                                    §
            Plaintiff,                              §
                                                    §
  vs.                                               §            Adv. Pro. No. 21-03006-sgj
                                                    §
  HIGHLAND CAPITAL MANAGEMENT                       §
  SERVICES, INC.,                                   §
                                                    §
            Defendant.                              §

                   HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
                         ANSWER TO PLAINTIFF’S COMPLAINT


           Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

 this Answer in response to Highland Capital Management L.P.’s (“Plaintiff” or “Debtor”)

 Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s Estate (the

 “Complaint”) and respectfully states as follows:



 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                      PAGE 1
                                                                                       Appx. 00273
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                                      PRELIMINARY STATEMENT 1

          1.       The first sentence of Paragraph 1 sets forth Plaintiff’s objective in bringing the

 Complaint and does not require a response. To the extent a response is required, Defendant denies

 the allegations in the first sentence of Paragraph 1. The second sentence contains a legal conclusion

 that does not require a response. To the extent a response is required, Defendant denies the

 allegations in the second sentence of Paragraph 1.

          2.       Paragraph 2 contains a summary of the relief Plaintiff seeks and does not require a

 response. To the extent a response is required, Defendant denies the allegations in Paragraph 2.

                                       JURISDICTION AND VENUE

          3.       Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

 bankruptcy case but denies any implication that this fact confers constitutional authority on the

 Bankruptcy Court to adjudicate this dispute. Defendant denies any allegations in Paragraph 3 that

 are not expressly admitted.

          4.       Paragraph 4 states a legal conclusion that does not require a response. To the extent

 a response is required, Defendant admits the Bankruptcy Court has statutory jurisdiction over this

 Adversary Proceeding but denies that the Court has constitutional authority over this Adversary

 Proceeding. Defendant denies any allegations in Paragraph 4 that are not expressly admitted.

          5.       Defendant denies that Plaintiff’s breach of contract claim is a core proceeding.

 Defendant further denies that a turnover proceeding under 11 U.S.C. § 542(b) is the appropriate

 mechanism to collect a contested debt. Defendant admits that a turnover proceeding under 11

 U.S.C. § 542(b) is a statutorily core proceeding but denies that it is constitutionally core under

 Stern v. Marshall. Defendant does not consent to the Bankruptcy Court entering final orders or



 1
     The headings herein are from Plaintiff’s Complaint and are solely included for the Court’s convenience.


 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                                         PAGE 2
                                                                                                        Appx. 00274
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 judgment in this Adversary Proceeding. Defendant denies any allegations in Paragraph 5 that are

 not expressly admitted.

        6.      Paragraph 6 states a legal conclusion to which no response is required. To the extent

 a response is required, Defendant admits that venue is proper in this District.

                                          THE PARTIES

        7.      Defendant admits the allegations in Paragraph 7 of the Complaint.

        8.      Defendant admits the allegations in Paragraph 8 of the Complaint.

                                      CASE BACKGROUND

        9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

        10.     Defendant admits the allegations in Paragraph 10 of the Complaint.

        11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

        12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

                                    STATEMENT OF FACTS

 A.     The HCMS Demand Notes

        13.     Defendant admits it has executed at least one promissory note under which the

 Debtor is the payee. Defendant denies any allegations in Paragraph 13 that are not expressly

 admitted.

        14.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 1. Defendant denies any allegations in Paragraph 14 that are not expressly admitted.

        15.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 2. Defendant denies any allegations in Paragraph 15 that are not expressly admitted.

        16.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 3. Defendant denies any allegations in Paragraph 16 that are not expressly admitted.



 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                        PAGE 3
                                                                                          Appx. 00275
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          17.   Defendant admits that it signed the document attached to the Complaint as Exhibit

 4. Defendant denies any allegations in Paragraph 17 that are not expressly admitted.

          18.   Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibits 1-4 to

 the Complaint in Paragraph 18.

          19.   Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibits 1-4 to

 the Complaint in Paragraph 19.

          20.   Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibits 1-4 of

 the Complaint in Paragraph 20.

 B.       Allegations regarding the Demand Notes

          21.   Defendant admits that Plaintiff sent it a copy of Exhibit 5. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of Paragraph 21.

 Defendant denies any allegations in Paragraph 21 that are not expressly admitted.

          22.   To the extent Paragraph 22 asserts a legal conclusion, no response is required, and

 it is denied. Defendant otherwise admits the allegations in Paragraph 22.

          23.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 23 and, therefore, denies them.

          24.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 24 and, therefore, denies them.

          25.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 25 and, therefore, denies them.

          26.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 26 and, therefore, denies them.




 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                       PAGE 4
                                                                                         Appx. 00276
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        27.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in the first sentence of Paragraph 27 and, therefore, denies them. Defendant denies the

 allegations in the second sentence of Paragraph 27 of the Complaint.

 C.     The HCMS Term Note

        28.     Defendant admits that it has executed at least one promissory note under which

 Debtor is the payee. Defendant denies any allegations in Paragraph 28 that are not expressly

 admitted.

        29.     Defendant admits it signed the document attached to the Complaint as Exhibit 6.

 Defendant denies any allegations in Paragraph 29 that are not expressly admitted.

        30.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibit 6 to the

 Complaint in Paragraph 30. Defendant denies any allegations in Paragraph 30 that are not

 expressly admitted.

        31.     Defendant admits that Plaintiff correctly transcribed Section 3 of Exhibit 6 to the

 Complaint in Paragraph 31. Defendant denies any allegations in Paragraph 31 that are not

 expressly admitted.

        32.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibit 6 to the

 Complaint in Paragraph 32. Defendant denies any allegations in Paragraph 32 that are not

 expressly admitted.

        33.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibit 6 to the

 Complaint in Paragraph 33. Defendant denies any allegations in Paragraph 33 that are not

 expressly admitted.

 D.     Allegations regarding the Term Note.

        34.     To the extent Paragraph 34 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise admits Paragraph 34 of the Complaint.

 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                       PAGE 5
                                                                                         Appx. 00277
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        35.     Defendant admits that Plaintiff sent it a copy of Exhibit 7. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of Paragraph 35 of the

 Complaint. Defendant denies any allegations in Paragraph 35 that are not expressly admitted.

        36.     Defendant is without sufficient information or knowledge to admit or deny the

 allegations in Paragraph 36 of the Complaint and, therefore, denies them.

        37.     Defendant denies Paragraph 37 of the Complaint.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        38.     Paragraph 38 of the Complaint seeks to incorporate the allegations in the preceding

 paragraphs and does not require a response. Defendant incorporates all prior denials herein by

 reference.

        39.     Paragraph 39 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        40.     Paragraph 40 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        41.     Paragraph 41 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        42.     Paragraph 42 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        43.     Defendant denies Paragraph 43 of the Complaint.


 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                        PAGE 6
                                                                                          Appx. 00278
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         44.     Defendant denies Paragraph 44 of the Complaint.

                               SECOND CLAIM FOR RELIEF
                       (Turnover by HCMS Pursuant to 11 U.S.C. § 549(b))

         45.     Paragraph 45 seeks to incorporate the allegations in the preceding paragraphs and

 does not require a response. Defendant incorporates all prior denials herein by reference.

         46.     Paragraph 46 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         47.     Paragraph 47 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         48.     Paragraph 48 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         49.     Defendant admits that Plaintiff transmitted Exhibits 5 and 7 to the Complaint.

 Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

 in Paragraph 49 of the Complaint and, therefore, denies them.

         50.     Defendant lacks sufficient information or knowledge to admit or deny the

 remaining allegations in Paragraph 50 of the Complaint and, therefore, denies them.

         51.     Defendant denies Paragraph 51 of the Complaint.

         52.     Defendant denies that Plaintiff is entitled to the relief requested in the prayer of the

 Complaint, including parts (i), (ii), and (iii).




 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                            PAGE 7
                                                                                             Appx. 00279
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                                    AFFIRMATIVE DEFENSES

           53.    Plaintiff’s claims are barred in whole or in part by the doctrine of justification

 and/or repudiation.

           54.    Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

           55.    Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

           56.    Plaintiff’s claims are barred in whole or in part by the doctrines of offset and/or

 setoff.

                                           JURY DEMAND

           57.    HCMS demands a trial by jury of all issues so triable under Federal Rule of Civil

 Procedure 38 and Federal Rule of Bankruptcy Procedure 9015.

           58.    HCMS does not consent to the Bankruptcy Court conducting a jury trial and

 therefore demands such jury trial in the District Court.

                                               PRAYER

           For these reasons, HCMS respectfully requests that, following a trial on the merits, the

 Court deny the relief Plaintiffs seeks through its Complaint, enter a judgment that the Plaintiff take

 nothing on the Complaint, and grant HCMS such other relief at law or in equity to which it may

 be entitled.




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                                                                                            Appx. 00280
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                                            Respectfully submitted,


                                             /s/ Lauren K. Drawhorn
                                             Jason M. Rudd
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                                             Lauren K. Drawhorn
                                             Texas Bar No. 24074528
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                                                     lauren.drawhorn@wickphillips.com

                                             COUNSEL FOR HIGHLAND MANAGEMENT
                                             SERVICES, INC.


                                CERTIFICATE OF SERVICE

        I hereby certify that on March 3, 2021, a true and correct copy of the foregoing pleading
 was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
 requesting or consenting to such service in this adversary case.

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                                             /s/ Lauren K. Drawhorn
                                                 Lauren K. Drawhorn



 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                    PAGE 9
                                                                                      Appx. 00281
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                                 EXHIBIT 7




                                                                          Appx. 00282
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 COUNSEL FOR HCRE PARTNERS, LLC
 (N/K/A NEXPOINT REAL ESTATE
 PARTNERS, LLC)

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
  In re:                                          §
                                                  §        Chapter 11
  HIGHLAND CAPITAL MANAGEMENT,                    §
  L.P.                                            §        Case No.: 19-34054-sgj11
                                                  §
            Debtor.                               §
                                                  §
  HIGHLAND CAPITAL MANAGEMENT,                    §
  L.P.                                            §
                                                  §
            Plaintiff,                            §
                                                  §          Adv. Pro. No. 21-03007-sgj
  vs.                                             §
                                                  §
  HCRE PARTNERS, LLC (n/k/a                       §
  NEXPOINT REAL ESTATE PARTNERS,                  §
  LLC),                                           §
                                                  §
            Defendant.                            §

             HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT


           Defendant HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) (“HCRE” or

 “Defendant”) files this Answer in response to Highland Capital Management L.P.’s (“Plaintiff” or

 “Debtor”) Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s




 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                     PAGE 1
                                                                                      Appx. 00283
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 Estate (the “Complaint”) in the above-referend adversary proceeding (the “Adversary

 Proceeding”) and respectfully states as follows:

                                      PRELIMINARY STATEMENT 1

          1.       The first sentence of Paragraph 1 sets forth Plaintiff’s objective in bringing the

 Complaint and does not require a response. To the extent a response is required, Defendant denies

 the allegations in the first sentence of Paragraph 1. The second sentence contains a legal conclusion

 that does not require a response. To the extent a response is required, Defendant denies the

 allegations in the second sentence of Paragraph 1.

          2.       Paragraph 2 contains a summary of the relief Plaintiff seeks and does not require a

 response. To the extent a response is required, Defendant denies the allegations in Paragraph 2.

                                       JURISDICTION AND VENUE

          3.       Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

 bankruptcy case but denies any implication that this fact confers constitutional authority on the

 Bankruptcy Court to adjudicate this dispute. Defendant denies any allegations in Paragraph 3 that

 are not expressly admitted.

          4.       Paragraph 4 states a legal conclusion that does not require a response. To the extent

 a response is required, Defendant admits the Bankruptcy Court has statutory jurisdiction over this

 Adversary Proceeding but denies that the Court has constitutional authority over this Adversary

 Proceeding. Defendant denies any allegations in Paragraph 4 that are not expressly admitted.

          5.       Defendant denies that Plaintiff’s breach of contract claim is a core proceeding.

 Defendant further denies that a turnover proceeding under 11 U.S.C. § 542(b) is the appropriate

 mechanism to collect a contested debt. Defendant admits that a turnover proceeding under 11



 1
     The headings herein are from Plaintiff’s Complaint and are solely included for the Court’s convenience.


 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                                          PAGE 2
                                                                                                        Appx. 00284
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 U.S.C. § 542(b) is a statutorily core proceeding but denies that it is constitutionally core under

 Stern v. Marshall. Defendant does not consent to the Bankruptcy Court entering final orders or

 judgment in this Adversary Proceeding. Defendant denies any allegations in Paragraph 5 that are

 not expressly admitted.

        6.      Paragraph 6 states a legal conclusion to which no response is required. To the extent

 a response is required, Defendant admits that venue is proper in this District.

                                          THE PARTIES

        7.      Defendant admits the allegations in Paragraph 7 of the Complaint.

        8.      Defendant admits the allegations in Paragraph 8 of the Complaint.

                                      CASE BACKGROUND

        9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

        10.     Defendant admits the allegations in Paragraph 10 of the Complaint.

        11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

        12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

                                    STATEMENT OF FACTS

 A.     The HCRE Demand Notes

        13.     Defendant admits it has executed at least one promissory note under which the

 Debtor is the payee. Defendant denies any allegations in Paragraph 13 that are not expressly

 admitted.

        14.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 1. Defendant denies any allegations in Paragraph 14 that are not expressly admitted.

        15.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 2. Defendant denies any allegations in Paragraph 15 that are not expressly admitted.



 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                         PAGE 3
                                                                                          Appx. 00285
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          16.   Defendant admits that it signed the document attached to the Complaint as Exhibit

 3. Defendant denies any allegations in Paragraph 16 that are not expressly admitted.

          17.   Defendant admits that it signed the document attached to the Complaint as Exhibit

 4. Defendant denies any allegations in Paragraph 17 that are not expressly admitted.

          18.   Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibits 1-4 to

 the Complaint in Paragraph 18.

          19.   Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibits 1-4 to

 the Complaint in Paragraph 19.

          20.   Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibits 1-4 of

 the Complaint in Paragraph 20.

 B.       Allegations regarding the Demand Notes

          21.   Defendant admits that Plaintiff sent it a copy of Exhibit 5. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of Paragraph 21.

 Defendant denies any allegations in Paragraph 21 that are not expressly admitted.

          22.   To the extent Paragraph 22 asserts a legal conclusion, no response is required, and

 it is denied. Defendant otherwise admits the allegations in Paragraph 22.

          23.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 23 and, therefore, denies them.

          24.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 24 and, therefore, denies them.

          25.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 25 and, therefore, denies them.

          26.   Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 26 and, therefore, denies them.

 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                        PAGE 4
                                                                                         Appx. 00286
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        27.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 27 and, therefore, denies them.

        28.     Defendant denies the allegations in Paragraph 28 of the Complaint.

 C.     The HCRE Term Note

        29.     Defendant admits that it has executed at least one promissory note under which

 Debtor is the payee. Defendant denies any allegations in Paragraph 29 that are not expressly

 admitted.

        30.     Defendant admits it signed the document attached to the Complaint as Exhibit 6.

 Defendant denies any allegations in Paragraph 30 that are not expressly admitted.

        31.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibit 6 to the

 Complaint in Paragraph 31. Defendant denies any allegations in Paragraph 31 that are not

 expressly admitted.

        32.     Defendant admits that Plaintiff correctly transcribed Section 3 of Exhibit 6 to the

 Complaint in Paragraph 32. Defendant denies any allegations in Paragraph 32 that are not

 expressly admitted.

        33.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibit 6 to the

 Complaint in Paragraph 33. Defendant denies any allegations in Paragraph 33 that are not

 expressly admitted.

        34.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibit 6 to the

 Complaint in Paragraph 34. Defendant denies any allegations in Paragraph 34 that are not

 expressly admitted.

 D.     Allegations regarding the Term Note.

        35.     To the extent Paragraph 35 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise admits Paragraph 35 of the Complaint.

 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                       PAGE 5
                                                                                        Appx. 00287
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        36.     Defendant admits that Plaintiff sent it a copy of Exhibit 7. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of Paragraph 36 of the

 Complaint. Defendant denies any allegations in Paragraph 36 that are not expressly admitted.

        37.     To the extent Paragraph 37 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise admits Paragraph 37 of the Complaint.

        38.     Defendant is without sufficient information or knowledge to admit or deny the

 allegations in Paragraph 38 of the Complaint and, therefore, denies them.

        39.     Defendant denies Paragraph 39 of the Complaint.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        40.     Paragraph 40 of the Complaint seeks to incorporate the allegations in the preceding

 paragraphs and does not require a response. Defendant incorporates all prior denials herein by

 reference.

        41.     Paragraph 41 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        42.     Paragraph 42 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        43.     Paragraph 43 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.




 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                         PAGE 6
                                                                                          Appx. 00288
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        44.     Paragraph 44 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        45.     Defendant denies Paragraph 45 of the Complaint.

        46.     Defendant denies Paragraph 46 of the Complaint.

                             SECOND CLAIM FOR RELIEF
                     (Turnover by HCRE Pursuant to 11 U.S.C. § 549(b))

        47.     Paragraph 47 seeks to incorporate the allegations in the preceding paragraphs and

 does not require a response. Defendant incorporates all prior denials herein by reference.

        48.     Paragraph 48 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        49.     Paragraph 49 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        50.     Paragraph 50 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        51.     Defendant admits that Plaintiff transmitted Exhibits 5 and 7 to the Complaint.

 Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

 in Paragraph 51 of the Complaint and, therefore, denies them.

        52.     Defendant lacks sufficient information or knowledge to admit or deny the

 remaining allegations in Paragraph 52 of the Complaint and, therefore, denies them.

        53.     Defendant denies Paragraph 53 of the Complaint.


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           54.    Defendant denies that Plaintiff is entitled to the relief requested in the prayer of the

 Complaint, including parts (i), (ii), and (iii).

                                     AFFIRMATIVE DEFENSES

           55.    Plaintiff’s claims are barred in whole or in part by the doctrine of justification

 and/or repudiation.

           56.    Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

           57.    Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

           58.    Plaintiff’s claims are barred in whole or in part by the doctrines of offset and/or

 setoff.

                                            JURY DEMAND

           59.    HCRE demands a trial by jury of all issues so triable under Federal Rule of Civil

 Procedure 38 and Federal Rule of Bankruptcy Procedure 9015.

           60.    HCRE does not consent to the Bankruptcy Court conducting a jury trial and

 therefore demands such jury trial in the District Court.

                                                PRAYER

           For these reasons, HCRE respectfully requests that, following a trial on the merits, the

 Court deny the relief Plaintiffs seeks through its Complaint, enter a judgment that the Plaintiff take

 nothing on the Complaint, and grant HCRE such other relief at law or in equity to which it may be

 entitled.




 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                              PAGE 8
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                                             Respectfully submitted,

                                             /s/ Lauren K. Drawhorn
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                                             Texas Bar No. 24028786
                                             Lauren K. Drawhorn
                                             Texas Bar No. 24074528
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                                             COUNSEL FOR HCRE PARTNERS, LLC (N/K/A
                                             NEXPOINT REAL ESTATE PARTNERS, LLC)



                                CERTIFICATE OF SERVICE

        I hereby certify that on March 3, 2021, a true and correct copy of the foregoing pleading
 was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
 requesting or consenting to such service in this adversary case.

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                                             /s/ Lauren K. Drawhorn
                                                 Lauren K. Drawhorn



 HCRE PARTNERS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT                                     PAGE 9
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                                 EXHIBIT 8




                                                                          Appx. 00292
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   COUNSEL FOR HIGHLAND CAPITAL
   MANAGEMENT SERVICES, INC.

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION
       In re:                                                  §
                                                               §
       HIGHLAND CAPITAL MANAGEMENT,                            §              Chapter 11
       L.P.                                                    §
                                                               §              Case No.: 19-34054-sgj11
                 Debtor.                                       §
                                                               §
       HIGHLAND CAPITAL MANAGEMENT,                            §
       L.P.                                                    §
                                                               §
                 Plaintiff,                                    §
                                                               §
       vs.                                                     §              Adv. Pro. No. 21-03006-sgj
                                                               §
       HIGHLAND CAPITAL MANAGEMENT                             §
       SERVICES, INC.,                                         §
                                                               §
                 Defendant.                                    §

        HIGHLAND CAPITAL MANAGEMENT SERVICES INC.’S MOTION FOR LEAVE
                TO FILE AMENDED ANSWER AND BRIEF IN SUPPORT


                Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

   this Motion for Leave to File Amended Answer and Brief in Support (“Motion”) 1 in response to




   1
        Defendant files its brief in the same document as the motion pursuant to Local Bankruptcy Rule 7007-1(d).



   DEFENDANT’S MOTION FOR LEAVE FOR FILE AMENDED ANSWER                                                        PAGE 1
                                                                                                           Appx. 00293
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   Highland Capital Management L.P.’s (“Plaintiff” or “Debtor”) Complaint in the above-referenced

   adversary proceeding (the “Adversary Proceeding”) and respectfully states as follows:

                                  I. RELEVANT BACKGROUND

          1.      On January 22, 2021, Plaintiff filed its Complaint for (I) Breach of Contract and

   (II) Turnover of Property of the Debtor’s Estate (the “Complaint”), commencing this Adversary

   Proceeding. Defendant’s counsel accepted service of the Complaint on February 1, 2021 and the

   parties agreed the Defendant’s deadline to answer or otherwise respond to the Complaint was

   March 3, 2021. On March 3, 2021, Defendant filed its Answer to Plaintiff’s Complaint (“Original

   Answer”).

          2.      On March 11, 2021, Plaintiff and Defendant filed a Stipulation and Proposed

   Scheduling Order [ECF No. 7], setting forth a proposed joint scheduling order in lieu of the

   Alternative Scheduling Order issued by the Court. On March 16, 2021, the Court entered its Order

   Approving Stipulation Regarding Scheduling Order [ECF No. 9] (the “Scheduling Order”).

          3.      Under the Scheduling Order, the deadline to serve discovery requests is

   May 10, 2021 and responses to discovery requests are due June 14, 2021. Fact discovery closes

   July 5, 2017, dispositive motions must be filed by August 16, 2021, and trial docket call is

   October 4, 2021 at 1:30 p.m.

          4.      Preparation of the defense of this adversary has been made extremely difficult by

   the constraints imposed by the Debtor with respect to access to witnesses and evidence. In

   connection with preparation of the defense, Defendant realized its affirmative defenses were not

   as clear as they could have been and that the additional defenses which it seeks to assert in this

   Adversary Proceeding should be more fully set out as follows: (i) the Debtor’s ability to make

   demand on the Notes was subject to a condition subsequent that has not yet become unable to be

   met, and (ii) the Notes are ambiguous. The original listing of affirmative defenses was intended to


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   cover any such defenses, however, in an abundance of caution Defendant seeks leave to amend

   and more clearly set out its intended defenses. The Scheduling Order does not contain a deadline

   to amend pleadings; therefore, Defendant’s Motion is governed by Federal Rule of Civil Procedure

   15(a)(2), made applicable to this Adversary Proceeding by Federal Rule of Bankruptcy Procedure

   7015, which favors liberal amendment of pleadings. See FED. R. CIV. P. 15(a)(2); FED. R. BANKR.

   P. 7015.

          5.      Given the deadlines for discovery and pre-trial matters under the Scheduling Order,

   Defendant’s proposed amendment will not delay the proceedings or otherwise prejudice the

   Plaintiff. Moreover, the proposed amendment is not sought in bad faith, but in furtherance of

   meritorious defenses based on additional investigation.

          6.      Because Defendant’s Motion is not sought in bad faith and will not result in undue

   delay or prejudice to Plaintiff, the Court should grant Defendant’s Motion under the standard

   favoring liberal amendment of pleadings under Rule 15.

                                II. ARGUMENT AND AUTHORITY

          7.      Rule 15(a) governs amendments to pleadings and provides that a party may amend

   its pleading with the opposing party’s written consent or the court’s leave. FED. R. CIV P. 15(a).

   The court “should freely give leave when justice so requires.” Id. Rule 15 “evinces a bias in favor

   of granting leave to amend.” Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 597 (5th Cir. 1981);

   Marshall v. MarOpCo, Inc., 223 F.Supp.3d 562, 566 (N.D. Tex. 2017) (“Since Dussouy, the Fifth

   Circuit has repeatedly held that Rule 15(a) evinces a liberal amendment policy.”). “The policy of

   the federal rules is to permit liberal amendment to facilitate determination of claims on the merits

   and to prevent litigation from becoming a technical exercise in the fine points of pleading.”

   Dussouy, 660 F.2d at 598. While decisions to grant leave are within the discretion of the trial

   court, its discretion is not broad enough to permit denial if the court lacks a “substantial reason



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   to do so.” Dussouy, 660 F.2d at 598. Instead, leave to amend should be granted unless there is a

   substantial reason for denying leave. InternetAd Sys., LLC v. Opodo Ltd., 481 F.Supp.2d 596,

   603 (N.D. Tex. 2007). Courts may consider the following factors in determining whether a

   substantial reason exists to deny leave: (i) delay or prejudice to the non-movant; (ii) bad faith or

   dilatory motives on the part of the movant; (iii) repeated failure to cure deficiencies; or (iv) futility

   of amendment. InternetAd Sys, 481 F.Supp.2d at 604. Sabre, Inc. v. Lyn-Lea Travel Corp., No.

   Civ. A. 3:96-CV-2068R, 2003 WL 21339291, *4 (N.D. Tex. June 5, 2003).

           8.      Here, there is no substantial reason to deny Defendant’s Motion and, as such, the

   Court should grant Defendant leave to amend its answer. First, there is no undue delay or prejudice

   to Plaintiff. This is not a situation where there is an “unexplained delay” following the original

   answer. See, e.g., In re Southmark Corp., 88 F.3d 311, 316 (5th Cir. 1996) (denying motion for

   leave to amend where the plaintiff sought to add cause of action more than one year after the

   original complaint was filed and eleven months after the first amended complaint was filed with

   no reasonable explanation for such delay). Instead, Defendant was served with the Complaint less

   than three months ago and its answer was due less than two months ago. Defendant seeks to

   amend its answer to add two affirmative defenses based on its further investigation into the

   allegations of Plaintiff and in connection with its preparation for serving written discovery.

   Defendant discovered these new defenses in connection with its investigation and preparation for

   written discovery in connection with its defense of the case and within the expected timeline of

   this contested matter based on the Scheduling Order. Further, allowing Defendant to amend its

   answer will not result in prejudice to Plaintiff. Fact discovery does not close until July 5, 2021

   and, although both parties will likely serve written discovery today, Plaintiff has not yet conducted

   any discovery. See, e.g., Sabre, Inc., 2003 WL 21339291 at *4 (noting that undue prejudice arises




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   where a new theory requires a reiteration of discovery proceedings). Accordingly, there is no

   undue delay or prejudice to Plaintiff.

          9.      Nor does Defendant seek to amend in bad faith. In determining bad faith, Courts

   consider whether “the movant first presents a theory difficult to establish but favorable and, only

   after that fails, presents a less favorable theory.” Sabre, 2003 WL 21339291 at *6. Here,

   Defendant is not seeking to add a new theory after the first theory failed – discovery has not yet

   begun, and the dispositive motion deadline is almost four months away – and the circumstances

   do not give rise to an inference that Defendant is engaging in tactical maneuvers. Defendant is

   seeking to amend its answer, less than two months after filing it, because it determined additional

   defenses were applicable as it continued to investigate its defense of the Plaintiff’s allegations

   and prepare for discovery. Accordingly, Defendant’s Motion is not brought in bad faith or for

   dilatory motives.

          10.     Third, this is not a situation where Defendant has repeatedly failed to cure

   deficiencies with prior amendments. This is Defendant’s first request for leave to amend and, if

   granted, will be Defendant’s first amendment to its answer. As such, repeated failure to cure

   deficiencies is not a reason to deny Defendant’s Motion.

          11.     Last, Defendant’s proposed amendments are not futile. Amendments to defenses

   are futile “where they would necessarily fail or are so lacking in merit on their face.” Southpoint

   Condo. Ass’n Inc. v. Lexington Ins. Co., Case No. 19-cv-61365, 2020 WL 639400, *6 (S.D. Fla.

   Feb. 11, 2020). Some courts refuse to address the issue of futility in a motion for leave to amend

   context and instead does so in the context of a Rule 12(b)(6) or Rule 56 motion, “where the

   procedural safeguards are surer.” Garcia v. Zale Corp., 2006 WL 298156, *1 (N.D. Tex. Feb. 1,

   2006) (Fitzwater, J.) (“…the court’s almost unvarying practice when futility is raised is to address

   the merits of the claim or defense in the context of a Rule 12(b)(6) or Rule 56 motion.”). Here, the



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   proposed affirmative defenses are not futile, 2 and Defendant expects evidence supporting such

   defenses will be uncovered through discovery. See, e.g., Don Stevenson Design, Inc. v. Randy

   Herrera Designer, LLC, No. 5:16-CV-1130, 2017 WL 10581124, *1 (W.D. Tex. Sept. 8, 2017)

   (“Finally, Defendants’ Motion for Leave is not futile because additional evidence substantiating

   the statute of limitations defense may come forward during the remainder of discovery.”).

            12.      Further, “even if there is substantial reason to deny leave to amend, the court should

   consider prejudice to the movant, as well as judicial economy, in determining whether justice

   requires granting leave.” Allen v. Target Corporation, 2007 WL 9735894, *1 (S.D. Tex. Nov 29,

   2007). As a result, in considering a motion for leave to add additional affirmative defenses, Rule

   8(c)’s requirement that affirmative defenses be pleaded or waived “must be applied in the context

   of the Federal Rules’ liberal pleading and amendment policy, the goal of which is to do substantial

   justice.” Id. At *1-2 (granting defendant’s motion for leave to add affirmative defenses known

   previously because the delay did not constitute a substantial reason to deny leave and justice

   requires allowing the amendment).

            13.      Because there is no substantial reason to deny Defendant’s request, Defendant’s

   additional affirmative defenses could be waived if not allowed, and Plaintiff is free to challenge

   any of Defendant’s affirmative defenses under Rule 56, made applicable to this Adversary

   Proceeding by Bankruptcy Rule 7056. Leave to amend should be freely granted and, as such, the

   Court should grant Defendant’s Motion.




   2
       Plaintiff contemplated at least some of its loans to affiliates or related entities (such as the Notes at issue in this
   Adversary Proceeding) “may not result in allowed or enforceable claims” by the Plaintiff. See Global Notes and
   Statement of Limitations, Methods, and Disclaimers Regarding Debtor’s Amended Schedules of Assets and
   Liabilities, p. 3 “Intercompany Claims” [Docket No. 1082-1], Global Notes and Statement of Limitations, methods,
   and Disclaimer Regarding Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs, p. 3
   “Intercompany Claims” [Docket No. 247-1]. Defendant believes the reason some of these intercompany loans may
   not be allowed or enforceable is because collectability was dependent on a condition subsequent and/or they are
   ambiguous – the very defense Defendant now seeks to include in its Answer.



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                         III. PROPOSED AMENDED ANSWER ATTACHED

          14.     Defendant’s proposed First Amended Answer is attached hereto as Exhibit A.

                                         IV. CONCLUSION

          The Court should liberally grant leave to file amended pleadings absent a demonstration

   that such amendment would result in undue delay, prejudice, or is sought in bad faith. There is no

   such evidence of any of the foregoing here. For these reasons, Defendant respectfully requests the

   Court (i) grant this Motion; (ii) deem Defendant’s First Amended Answer filed as of the date of

   the order granting this Motion; and grant Defendant such other relief at law or in equity to which

   it may be entitled.

                                                Respectfully submitted,

                                                /s/ Lauren K. Drawhorn
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                                                COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT
                                                SERVICES, INC.




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                                CERTIFICATE OF CONFERENCE

            Between April 21 and 25, 2021, I conferred with John Morris, counsel for the Plaintiff,
   regarding the relief requested herein and Mr. Morris indicated that the Plaintiff is opposed to the
   relief requested in Defendant’s Motion.

                                                /s/ Lauren K. Drawhorn
                                                   Lauren K. Drawhorn



                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 10, 2021, a true and correct copy of the foregoing pleading
   was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
   requesting or consenting to such service in this adversary case.

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                            EXHIBIT A




                                                                           Appx. 00301
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 COUNSEL FOR HIGHLAND CAPITAL
 MANAGEMENT SERVICES, INC.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
  In re:                                           §
                                                   §
  HIGHLAND CAPITAL MANAGEMENT,                     §            Chapter 11
  L.P.                                             §
                                                   §            Case No.: 19-34054-sgj11
            Debtor.                                §
                                                   §
  HIGHLAND CAPITAL MANAGEMENT,                     §
  L.P.                                             §
                                                   §
            Plaintiff,                             §
                                                   §
  vs.                                              §            Adv. Pro. No. 21-03006-sgj
                                                   §
  HIGHLAND CAPITAL MANAGEMENT                      §
  SERVICES, INC.,                                  §
                                                   §
            Defendant.                             §

                  HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
                 FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT


           Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

 this First Amended Answer in response to Highland Capital Management L.P.’s (“Plaintiff” or

 “Debtor”) Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s

 Estate (the “Complaint”) and respectfully states as follows:



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                                       PRELIMINARY STATEMENT 1

          1.       The first sentence of Paragraph 1 sets forth Plaintiff’s objective in bringing the

 Complaint and does not require a response. To the extent a response is required, Defendant denies

 the allegations in the first sentence of Paragraph 1. The second sentence contains a legal conclusion

 that does not require a response. To the extent a response is required, Defendant denies the

 allegations in the second sentence of Paragraph 1.

          2.       Paragraph 2 contains a summary of the relief Plaintiff seeks and does not require a

 response. To the extent a response is required, Defendant denies the allegations in Paragraph 2.

                                       JURISDICTION AND VENUE

          3.       Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

 bankruptcy case but denies any implication that this fact confers constitutional authority on the

 Bankruptcy Court to adjudicate this dispute. Defendant denies any allegations in Paragraph 3 that

 are not expressly admitted.

          4.       Paragraph 4 states a legal conclusion that does not require a response. To the extent

 a response is required, Defendant admits the Bankruptcy Court has statutory jurisdiction over this

 Adversary Proceeding but denies that the Court has constitutional authority over this Adversary

 Proceeding. Defendant denies any allegations in Paragraph 4 that are not expressly admitted.

          5.       Defendant denies that Plaintiff’s breach of contract claim is a core proceeding.

 Defendant further denies that a turnover proceeding under 11 U.S.C. § 542(b) is the appropriate

 mechanism to collect a contested debt. Defendant admits that a turnover proceeding under 11

 U.S.C. § 542(b) is a statutorily core proceeding but denies that it is constitutionally core under

 Stern v. Marshall. Defendant does not consent to the Bankruptcy Court entering final orders or



 1
     The headings herein are from Plaintiff’s Complaint and are solely included for the Court’s convenience.

 HCMS’ FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                                           PAGE 2
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 judgment in this Adversary Proceeding. Defendant denies any allegations in Paragraph 5 that are

 not expressly admitted.

        6.      Paragraph 6 states a legal conclusion to which no response is required. To the extent

 a response is required, Defendant admits that venue is proper in this District.

                                          THE PARTIES

        7.      Defendant admits the allegations in Paragraph 7 of the Complaint.

        8.      Defendant admits the allegations in Paragraph 8 of the Complaint.

                                      CASE BACKGROUND

        9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

        10.     Defendant admits the allegations in Paragraph 10 of the Complaint.

        11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

        12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

                                    STATEMENT OF FACTS

 A.     The HCMS Demand Notes

        13.     Defendant admits it has executed at least one promissory note under which the

 Debtor is the payee. Defendant denies any allegations in Paragraph 13 that are not expressly

 admitted.

        14.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 1. Defendant denies any allegations in Paragraph 14 that are not expressly admitted.

        15.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 2. Defendant denies any allegations in Paragraph 15 that are not expressly admitted.

        16.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 3. Defendant denies any allegations in Paragraph 16 that are not expressly admitted.



 HCMS’ FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                          PAGE 3
                                                                                          Appx. 00304
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        17.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 4. Defendant denies any allegations in Paragraph 17 that are not expressly admitted.

        18.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibits 1-4 to

 the Complaint in Paragraph 18.

        19.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibits 1-4 to

 the Complaint in Paragraph 19.

        20.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibits 1-4 of

 the Complaint in Paragraph 20.

 B.     Allegations regarding the Demand Notes

        21.     Defendant admits that Plaintiff sent it a copy of Exhibit 5. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of Paragraph 21.

 Defendant denies any allegations in Paragraph 21 that are not expressly admitted.

        22.     To the extent Paragraph 22 asserts a legal conclusion, no response is required, and

 it is denied. Defendant otherwise admits the allegations in Paragraph 22.

        23.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 23 and, therefore, denies them.

        24.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 24 and, therefore, denies them.

        25.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 25 and, therefore, denies them.

        26.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 26 and, therefore, denies them.




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                                                                                         Appx. 00305
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        27.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in the first sentence of Paragraph 27 and, therefore, denies them. Defendant denies the

 allegations in the second sentence of Paragraph 27 of the Complaint.

 C.     The HCMS Term Note

        28.     Defendant admits that it has executed at least one promissory note under which

 Debtor is the payee. Defendant denies any allegations in Paragraph 28 that are not expressly

 admitted.

        29.     Defendant admits it signed the document attached to the Complaint as Exhibit 6.

 Defendant denies any allegations in Paragraph 29 that are not expressly admitted.

        30.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibit 6 to the

 Complaint in Paragraph 30. Defendant denies any allegations in Paragraph 30 that are not

 expressly admitted.

        31.     Defendant admits that Plaintiff correctly transcribed Section 3 of Exhibit 6 to the

 Complaint in Paragraph 31. Defendant denies any allegations in Paragraph 31 that are not

 expressly admitted.

        32.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibit 6 to the

 Complaint in Paragraph 32. Defendant denies any allegations in Paragraph 32 that are not

 expressly admitted.

        33.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibit 6 to the

 Complaint in Paragraph 33. Defendant denies any allegations in Paragraph 33 that are not

 expressly admitted.

 D.     Allegations regarding the Term Note.

        34.     To the extent Paragraph 34 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise admits Paragraph 34 of the Complaint.

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        35.     Defendant admits that Plaintiff sent it a copy of Exhibit 7. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of Paragraph 35 of the

 Complaint. Defendant denies any allegations in Paragraph 35 that are not expressly admitted.

        36.     Defendant is without sufficient information or knowledge to admit or deny the

 allegations in Paragraph 36 of the Complaint and, therefore, denies them.

        37.     Defendant denies Paragraph 37 of the Complaint.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        38.     Paragraph 38 of the Complaint seeks to incorporate the allegations in the preceding

 paragraphs and does not require a response. Defendant incorporates all prior denials herein by

 reference.

        39.     Paragraph 39 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        40.     Paragraph 40 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        41.     Paragraph 41 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        42.     Paragraph 42 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        43.     Defendant denies Paragraph 43 of the Complaint.


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                                                                                          Appx. 00307
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         44.     Defendant denies Paragraph 44 of the Complaint.

                               SECOND CLAIM FOR RELIEF
                       (Turnover by HCMS Pursuant to 11 U.S.C. § 549(b))

         45.     Paragraph 45 seeks to incorporate the allegations in the preceding paragraphs and

 does not require a response. Defendant incorporates all prior denials herein by reference.

         46.     Paragraph 46 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         47.     Paragraph 47 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         48.     Paragraph 48 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         49.     Defendant admits that Plaintiff transmitted Exhibits 5 and 7 to the Complaint.

 Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

 in Paragraph 49 of the Complaint and, therefore, denies them.

         50.     Defendant lacks sufficient information or knowledge to admit or deny the

 remaining allegations in Paragraph 50 of the Complaint and, therefore, denies them.

         51.     Defendant denies Paragraph 51 of the Complaint.

         52.     Defendant denies that Plaintiff is entitled to the relief requested in the prayer of the

 Complaint, including parts (i), (ii), and (iii).




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                                                                                             Appx. 00308
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                                   AFFIRMATIVE DEFENSES

         53.    Plaintiff’s claims are barred in whole or in part by the doctrine of justification

 and/or repudiation.

         54.    Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

         55.    Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

         56.    Plaintiff’s claims are barred in whole or in part because prior to the demands for

 payment Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

 subsequent.

         57.    HCMS further asserts that each Note is ambiguous.

                                          JURY DEMAND

         58.    HCMS demands a trial by jury of all issues so triable under Federal Rule of Civil

 Procedure 38 and Federal Rule of Bankruptcy Procedure 9015.

         59.    HCMS does not consent to the Bankruptcy Court conducting a jury trial and

 therefore demands such jury trial in the District Court.

                                              PRAYER

         For these reasons, HCMS respectfully requests that, following a trial on the merits, the

 Court deny the relief Plaintiffs seeks through its Complaint, enter a judgment that the Plaintiff take

 nothing on the Complaint, and grant HCMS such other relief at law or in equity to which it may

 be entitled.




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                                            Respectfully submitted,


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                                            COUNSEL FOR HIGHLAND MANAGEMENT
                                            SERVICES, INC.


                                CERTIFICATE OF SERVICE

        I hereby certify that on May 10, 2021, a true and correct copy of the foregoing pleading
 was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
 requesting or consenting to such service in this adversary case.

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                                            /s/ Lauren K. Drawhorn
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                                                                                     Appx. 00310
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
  In re:                                        §
                                                §
  HIGHLAND CAPITAL MANAGEMENT,                  §           Chapter 11
  L.P.                                          §
                                                §           Case No.: 19-34054-sgj11
           Debtor.                              §
                                                §
  HIGHLAND CAPITAL MANAGEMENT,                  §
  L.P.                                          §
                                                §
           Plaintiff,                           §
                                                §
  vs.                                           §           Adv. Pro. No. 21-03006-sgj
                                                §
  HIGHLAND CAPITAL MANAGEMENT                   §
  SERVICES, INC.,                               §
                                                §
           Defendant.                           §

        ORDER GRANTING HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
         MOTION FOR LEAVE TO AMEND ANSWER TO PLAINTIFF’S COMPLAINT


           On this day, the Court considered Defendant Highland Capital Management Services,

  Inc.’s (“Defendant”) Motion for Leave to Amend its Answer to Plaintiff’s Complaint (the




  ORDER GRANTING HCMS’ MOTION FOR LEAVE TO AMEND ANSWER TO PLAINTIFF’S COMPLAINT         PAGE 1
                                                                                    Appx. 00311
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  “Motion”). Having considered the Motion, and finding good cause exists, the Court hereby,

  GRANTS the Motion.

         IT IS THEREFORE ORDERED that Defendant’s First Amended Answer to Plaintiff’s

  Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s Estate, is

  hereby DEEMED FILED as of the date of this Order.


                                   ### END OF ORDER ###




  ORDER GRANTING HCMS’ MOTION FOR LEAVE TO AMEND ANSWER TO PLAINTIFF’S COMPLAINT        PAGE 2
                                                                                     Appx. 00312
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                                 EXHIBIT 9




                                                                          Appx. 00313
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   COUNSEL FOR NEXPOINT REAL ESTATE
   PARTNERS, LLC F/K/A HCRE PARTNERS, LLC

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION
       In re:                                                  §
                                                               §        Chapter 11
       HIGHLAND CAPITAL MANAGEMENT,                            §
       L.P.                                                    §         Case No.: 19-34054-sgj11
                                                               §
                Debtor.                                        §
                                                               §
       HIGHLAND CAPITAL MANAGEMENT,                            §
       L.P.                                                    §
                                                               §
                Plaintiff,                                     §
                                                               §           Adv. Pro. No. 21-03007-sgj
       vs.                                                     §
                                                               §
       HCRE PARTNERS, LLC (n/k/a                               §
       NEXPOINT REAL ESTATE PARTNERS,                          §
       LLC),                                                   §
                                                               §
                Defendant.                                     §

        NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S
        MOTION FOR LEAVE TO FILE AMENDED ANSWER AND BRIEF IN SUPPORT


                Defendant NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC (“NREP” or

   “Defendant”) files this Motion for Leave to File Amended Answer and Brief in Support

   (“Motion”) 1 in response to Highland Capital Management L.P.’s (“Plaintiff” or “Debtor”)


   1
        Defendant files its brief in the same document as the motion pursuant to Local Bankruptcy Rule 7007-1(d).



   DEFENDANT’S MOTION FOR LEAVE FOR FILE AMENDED ANSWER                                                        PAGE 1
                                                                                                           Appx. 00314
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   Complaint in the above-referenced adversary proceeding (the “Adversary Proceeding”) and

   respectfully states as follows:

                                     I. RELEVANT BACKGROUND

          1.      On January 22, 2021, Plaintiff filed its Complaint for (I) Breach of Contract and

   (II) Turnover of Property of the Debtor’s Estate (the “Complaint”), commencing this Adversary

   Proceeding. Defendant’s counsel accepted service of the Complaint on February 1, 2021 and the

   parties agreed the Defendant’s deadline to answer or otherwise respond to the Complaint was

   March 3, 2021. On March 3, 2021, Defendant filed its Answer to Plaintiff’s Complaint (“Original

   Answer”).

          2.      On March 11, 2021, Plaintiff and Defendant filed a Stipulation and Proposed

   Scheduling Order [ECF No. 8], setting forth a proposed joint scheduling order in lieu of the

   Alternative Scheduling Order issued by the Court. On March 16, 2021, the Court entered its Order

   Approving Stipulation Regarding Scheduling Order [ECF No. 10] (the “Scheduling Order”).

          3.      Under the Scheduling Order, the deadline to serve discovery requests is May 31,

   2021 and responses to discovery requests are due July 5, 2021. Fact discovery closes July 26, 2017,

   dispositive motions must be filed by September 6, 2021, and trial docket call is November 8, 2021

   at 1:30 p.m.

          4.      Preparation of the defense of this adversary has been made extremely difficult by

   the constraints imposed by the Debtor with respect to access to witnesses and evidence. In

   connection with preparation of the defense, Defendant realized its affirmative defenses were not

   as clear as they could have been and that the additional defenses which it seeks to assert in this

   Adversary Proceeding should have been more fully set out as follows: (i) the Debtor’s ability to

   make demand on the Notes was subject to a condition subsequent that has not yet become unable

   to be met, and (ii) the Notes are ambiguous. The original listing of affirmative defenses was


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   intended to cover such defenses, however, in an abundance of caution, Defendant seeks leave to

   amend and more clearly set out its intended defenses. The Scheduling Order does not contain a

   deadline to amend pleadings; therefore, Defendant’s Motion is governed by Federal Rule of Civil

   Procedure 15(a)(2), made applicable to this Adversary Proceeding by Federal Rule of Bankruptcy

   Procedure 7015, which favors liberal amendment of pleadings. See Fed. R. Civ. P. 15(a)(2); Fed.

   R. Bankr. P. 7015.

          5.      Given the deadlines for discovery and pre-trial matters under the Scheduling Order,

   Defendant’s proposed amendment will not delay the proceedings or otherwise prejudice the

   Plaintiff. Moreover, the proposed amendment is not sought in bad faith, but in furtherance of

   meritorious defenses based on additional investigation.

          6.      Because Defendant’s Motion is not sought in bad faith and will not result in undue

   delay or prejudice to Plaintiff, the Court should grant Defendant’s Motion under the standard

   favoring liberal amendment of pleadings under Rule 15.

                                II. ARGUMENT AND AUTHORITY

          7.      Rule 15(a) governs amendments to pleadings and provides that a party may amend

   its pleading with the opposing party’s written consent or the court’s leave. Fed. R. Civ P. 15(a).

   The court “should freely give leave when justice so requires.” Id. Rule 15 “evinces a bias in favor

   of granting leave to amend.” Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 597 (5th Cir. 1981);

   Marshall v. MarOpCo, Inc., 223 F.Supp.3d 562, 566 (N.D. Tex. 2017) (“Since Dussouy, the Fifth

   Circuit has repeatedly held that Rule 15(a) evinces a liberal amendment policy.”). “The policy of

   the federal rules is to permit liberal amendment to facilitate determination of claims on the merits

   and to prevent litigation from becoming a technical exercise in the fine points of pleading.”

   Dussouy, 660 F.2d at 598. Leave to amend should be granted unless there is a substantial reason

   for denying leave. InternetAd Sys., LLC v. Opodo Ltd., 481 F.Supp.2d 596, 603 (N.D. Tex. 2007).



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   Courts may consider the following factors in determining whether a substantial reason exists to

   deny leave: (i) delay or prejudice to the non-movant; (ii) bad faith or dilatory motives on the part

   of the movant; (iii) repeated failure to cure deficiencies; or (iv) futility of amendment. InternetAd

   Sys, 481 F.Supp.2d at 604; Sabre, Inc. v. Lyn-Lea Travel Corp., No. Civ. A. 3:96-CV-2068R,

   2003 WL 21339291, *4 (N.D. Tex. June 5, 2003).

           8.      Here, there is no substantial reason to deny Defendant’s Motion and, as such, the

   Court should grant Defendant leave to amend its answer. First, there is no undue delay or prejudice

   to Plaintiff. This is not a situation where there is an “unexplained delay” following the original

   answer. See, e.g., In re Southmark Corp., 88 F.3d 311, 316 (5th Cir. 1996) (denying motion for

   leave to amend where the plaintiff sought to add a cause of action more than one year after the

   original complaint was filed and eleven months after the first amended complaint was filed with

   no reasonable explanation for such delay). Instead, Defendant was served with the Complaint less

   than three months ago and its answer was due less than two months ago. Defendant seeks to amend

   its answer to clarify its defense by adding two affirmative defenses based on its further

   investigation into the allegations of Plaintiff and in connection with its preparation for serving

   written discovery. Defendant determined these affirmative defenses applied in connection with its

   investigation and preparation for written discovery in connection with its defense of the case and

   within the expected timeline of this contested matter based on the Scheduling Order. Further,

   allowing Defendant to amend its answer will not result in prejudice to Plaintiff. Fact discovery

   does not close until July 26, 2021 and Plaintiff has not yet conducted any discovery. See, e.g.,

   Sabre, Inc., 2003 WL 21339291 at *4 (noting that undue prejudice arises where a new theory

   requires a reiteration of discovery proceedings). Accordingly, there is no undue delay or prejudice

   to Plaintiff.




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          9.      Nor does Defendant seek to amend in bad faith. In determining bad faith, Courts

   consider whether “the movant first presents a theory difficult to establish but favorable and, only

   after that fails, presents a less favorable theory.” Sabre, 2003 WL 21339291 at *6. Here,

   Defendant is not seeking to add a new theory after the first theory failed – discovery has not yet

   begun, and the dispositive motion deadline is approximately four months away – and the

   circumstances do not give rise to an inference that Defendant is engaging in tactical maneuvers.

   Defendant is seeking to amend its answer, less than two months after filing it, because it

   determined additional defenses were applicable as it continued to investigate its defense of the

   Plaintiff’s allegations and prepare for discovery. Accordingly, Defendant’s Motion is not brought

   in bad faith or for dilatory motives.

          10.     Third, this is not a situation where Defendant has repeatedly failed to cure

   deficiencies with prior amendments. This is Defendant’s first request for leave to amend and, if

   granted, will be Defendant’s first amendment to its answer. As such, repeated failure to cure

   deficiencies is not a reason to deny Defendant’s Motion.

          11.     Last, Defendant’s proposed amendments are not futile. Amendments to defenses

   are futile “where they would necessarily fail or are so lacking in merit on their face.” Southpoint

   Condo. Ass’n Inc. v. Lexington Ins. Co., Case No. 19-cv-61365, 2020 WL 639400, *6 (S.D. Fla.

   Feb. 11, 2020). Some courts refuse to address the issue of futility in a motion for leave to amend

   context and instead does so in the context of a Rule 12(b)(6) or Rule 56 motion, “where the

   procedural safeguards are surer.” Garcia v. Zale Corp., 2006 WL 298156, *1 (N.D. Tex. Feb. 1,

   2006) (Fitzwater, J.) (“…the court’s almost unvarying practice when futility is raised is to address

   the merits of the claim or defense in the context of a Rule 12(b)(6) or Rule 56 motion.”). Here, the




   DEFENDANT’S MOTION FOR LEAVE FOR FILE AMENDED ANSWER                                          PAGE 5
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   proposed affirmative defenses are not futile, 2 and Defendant expects evidence supporting such

   defenses will be uncovered through discovery. See, e.g., Don Stevenson Design, Inc. v. Randy

   Herrera Designer, LLC, No. 5:16-CV-1130, 2017 WL 10581124, *1 (W.D. Tex. Sept. 8, 2017)

   (“Finally, Defendants’ Motion for Leave is not futile because additional evidence substantiating

   the statute of limitations defense may come forward during the remainder of discovery.”).

            12.      Further, “even if there is substantial reason to deny leave to amend, the court should

   consider prejudice to the movant, as well as judicial economy, in determining whether justice

   requires granting leave.” Allen v. Target Corporation, 2007 WL 9735894, *1 (S.D. Tex. Nov 29,

   2007). As a result, in considering a motion for leave to add additional affirmative defenses, Rule

   8(c)’s requirement that affirmative defenses be pleaded or waived “must be applied in the context

   of the Federal Rules’ liberal pleading and amendment policy, the goal of which is to do substantial

   justice.” Id. At *1-2 (granting defendant’s motion for leave to add affirmative defenses known

   previously because the delay did not constitute a substantial reason to deny leave and justice

   requires allowing the amendment).

            13.      Because there is no substantial reason to deny Defendant’s request, Defendant’s

   additional affirmative defenses could be waived if not allowed, and Plaintiff is free to challenge

   any of Defendant’s affirmative defenses under Rule 56, made applicable to this Adversary

   Proceeding by Bankruptcy Rule 7056. Leave to amend should be freely granted and, as such, the

   Court should grant Defendant’s Motion.




   2
       Plaintiff contemplated at least some of its loans to affiliates or related entities (such as the Notes at issue in this
   Adversary Proceeding) “may not result in allowed or enforceable claims” by the Plaintiff. See Global Notes and
   Statement of Limitations, Methods, and Disclaimers Regarding Debtor’s Amended Schedules of Assets and
   Liabilities, p. 3 “Intercompany Claims” [Docket No. 1082-1], Global Notes and Statement of Limitations, methods,
   and Disclaimer Regarding Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs, p. 3
   “Intercompany Claims” [Docket No. 247-1]. Defendant believes the reason some of these intercompany loans may
   not be allowed or enforceable is because collectability was dependent on a condition subsequent and/or they are
   ambiguous – the very defense Defendant now seeks to include in its Answer.



   DEFENDANT’S MOTION FOR LEAVE FOR FILE AMENDED ANSWER                                                              PAGE 6
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                         III. PROPOSED AMENDED ANSWER ATTACHED

          14.     Defendant’s proposed First Amended Answer is attached hereto as Exhibit A.

                                         IV. CONCLUSION

          The Court should liberally grant leave to file amended pleadings absent a demonstration

   that such amendment would result in undue delay, prejudice, or is sought in bad faith. There is no

   such evidence of any of the foregoing here. For these reasons, Defendant respectfully requests the

   Court (i) grant this Motion; (ii) deem Defendant’s First Amended Answer filed as of the date of

   the order granting this Motion; and grant Defendant such other relief at law or in equity to which

   it may be entitled.

                                                Respectfully submitted,

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                                                COUNSEL FOR HCRE PARTNERS, LLC (N/K/A
                                                NEXPOINT REAL ESTATE PARTNERS, LLC)


                                CERTIFICATE OF CONFERENCE

            Between April 21 and 25, 2021, I conferred with John Morris, counsel for the Plaintiff,
   regarding the relief requested herein and Mr. Morris indicated that the Plaintiff is opposed to the
   relief requested in Defendant’s Motion.

                                                /s/ Lauren K. Drawhorn
                                                   Lauren K. Drawhorn




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 10, 2021, a true and correct copy of the foregoing pleading
   was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
   requesting or consenting to such service in this adversary case.

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                                              /s/ Lauren K. Drawhorn
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                                                                                        Appx. 00321
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                            EXHIBIT A




                                                                           Appx. 00322
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 COUNSEL FOR NEXPOINT REAL ESTATE
 PARTNERS, LLC F/K/A HCRE PARTNERS, LLC

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
  In re:                                           §
                                                   §        Chapter 11
  HIGHLAND CAPITAL MANAGEMENT,                     §
  L.P.                                             §        Case No.: 19-34054-sgj11
                                                   §
           Debtor.                                 §
                                                   §
  HIGHLAND CAPITAL MANAGEMENT,                     §
  L.P.                                             §
                                                   §
           Plaintiff,                              §
                                                   §          Adv. Pro. No. 21-03007-sgj
  vs.                                              §
                                                   §
  HCRE PARTNERS, LLC (n/k/a                        §
  NEXPOINT REAL ESTATE PARTNERS,                   §
  LLC),                                            §
                                                   §
           Defendant.                              §

     NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S
           FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT


           Defendant NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC (“NREP” or

 “Defendant”) files this First Amended Answer in response to Highland Capital Management L.P.’s

 (“Plaintiff” or “Debtor”) Complaint for (I) Breach of Contract and (II) Turnover of Property of the




 DEFENDANT’S FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                   PAGE 1
                                                                                         Appx. 00323
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 Debtor’s Estate (the “Complaint”) in the above-referend adversary proceeding (the “Adversary

 Proceeding”) and respectfully states as follows:

                                      PRELIMINARY STATEMENT 1

          1.       The first sentence of Paragraph 1 sets forth Plaintiff’s objective in bringing the

 Complaint and does not require a response. To the extent a response is required, Defendant denies

 the allegations in the first sentence of Paragraph 1. The second sentence contains a legal conclusion

 that does not require a response. To the extent a response is required, Defendant denies the

 allegations in the second sentence of Paragraph 1.

          2.       Paragraph 2 contains a summary of the relief Plaintiff seeks and does not require a

 response. To the extent a response is required, Defendant denies the allegations in Paragraph 2.

                                       JURISDICTION AND VENUE

          3.       Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

 bankruptcy case but denies any implication that this fact confers constitutional authority on the

 Bankruptcy Court to adjudicate this dispute. Defendant denies any allegations in Paragraph 3 that

 are not expressly admitted.

          4.       Paragraph 4 states a legal conclusion that does not require a response. To the extent

 a response is required, Defendant admits the Bankruptcy Court has statutory jurisdiction over this

 Adversary Proceeding but denies that the Court has constitutional authority over this Adversary

 Proceeding. Defendant denies any allegations in Paragraph 4 that are not expressly admitted.

          5.       Defendant denies that Plaintiff’s breach of contract claim is a core proceeding.

 Defendant further denies that a turnover proceeding under 11 U.S.C. § 542(b) is the appropriate

 mechanism to collect a contested debt. Defendant admits that a turnover proceeding under 11



 1
     The headings herein are from Plaintiff’s Complaint and are solely included for the Court’s convenience.


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                                                                                                        Appx. 00324
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 U.S.C. § 542(b) is a statutorily core proceeding but denies that it is constitutionally core under

 Stern v. Marshall. Defendant does not consent to the Bankruptcy Court entering final orders or

 judgment in this Adversary Proceeding. Defendant denies any allegations in Paragraph 5 that are

 not expressly admitted.

        6.      Paragraph 6 states a legal conclusion to which no response is required. To the extent

 a response is required, Defendant admits that venue is proper in this District.

                                          THE PARTIES

        7.      Defendant admits the allegations in Paragraph 7 of the Complaint.

        8.      Defendant admits the allegations in Paragraph 8 of the Complaint.

                                      CASE BACKGROUND

        9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

        10.     Defendant admits the allegations in Paragraph 10 of the Complaint.

        11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

        12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

                                    STATEMENT OF FACTS

 A.     The Demand Notes

        13.     Defendant admits it has executed at least one promissory note under which the

 Debtor is the payee. Defendant denies any allegations in Paragraph 13 that are not expressly

 admitted.

        14.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 1. Defendant denies any allegations in Paragraph 14 that are not expressly admitted.

        15.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 2. Defendant denies any allegations in Paragraph 15 that are not expressly admitted.



 DEFENDANT’S FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                    PAGE 3
                                                                                          Appx. 00325
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        16.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 3. Defendant denies any allegations in Paragraph 16 that are not expressly admitted.

        17.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 4. Defendant denies any allegations in Paragraph 17 that are not expressly admitted.

        18.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibits 1-4 to

 the Complaint in Paragraph 18.

        19.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibits 1-4 to

 the Complaint in Paragraph 19.

        20.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibits 1-4 of

 the Complaint in Paragraph 20.

 B.     Allegations regarding the Demand Notes

        21.     Defendant admits that Plaintiff sent it a copy of Exhibit 5. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of Paragraph 21.

 Defendant denies any allegations in Paragraph 21 that are not expressly admitted.

        22.     To the extent Paragraph 22 asserts a legal conclusion, no response is required, and

 it is denied. Defendant otherwise admits the allegations in Paragraph 22.

        23.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 23 and, therefore, denies them.

        24.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 24 and, therefore, denies them.

        25.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 25 and, therefore, denies them.

        26.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 26 and, therefore, denies them.

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        27.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 27 and, therefore, denies them.

        28.     Defendant denies the allegations in Paragraph 28 of the Complaint.

 C.     The Term Note

        29.     Defendant admits that it has executed at least one promissory note under which

 Debtor is the payee. Defendant denies any allegations in Paragraph 29 that are not expressly

 admitted.

        30.     Defendant admits it signed the document attached to the Complaint as Exhibit 6.

 Defendant denies any allegations in Paragraph 30 that are not expressly admitted.

        31.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibit 6 to the

 Complaint in Paragraph 31. Defendant denies any allegations in Paragraph 31 that are not

 expressly admitted.

        32.     Defendant admits that Plaintiff correctly transcribed Section 3 of Exhibit 6 to the

 Complaint in Paragraph 32. Defendant denies any allegations in Paragraph 32 that are not

 expressly admitted.

        33.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibit 6 to the

 Complaint in Paragraph 33. Defendant denies any allegations in Paragraph 33 that are not

 expressly admitted.

        34.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibit 6 to the

 Complaint in Paragraph 34. Defendant denies any allegations in Paragraph 34 that are not

 expressly admitted.

 D.     Allegations regarding the Term Note.

        35.     To the extent Paragraph 35 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise admits Paragraph 35 of the Complaint.

 DEFENDANT’S FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                  PAGE 5
                                                                                        Appx. 00327
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        36.     Defendant admits that Plaintiff sent it a copy of Exhibit 7. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of Paragraph 36 of the

 Complaint. Defendant denies any allegations in Paragraph 36 that are not expressly admitted.

        37.     To the extent Paragraph 37 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise admits Paragraph 37 of the Complaint.

        38.     Defendant is without sufficient information or knowledge to admit or deny the

 allegations in Paragraph 38 of the Complaint and, therefore, denies them.

        39.     Defendant denies Paragraph 39 of the Complaint.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        40.     Paragraph 40 of the Complaint seeks to incorporate the allegations in the preceding

 paragraphs and does not require a response. Defendant incorporates all prior denials herein by

 reference.

        41.     Paragraph 41 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        42.     Paragraph 42 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        43.     Paragraph 43 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.




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                                                                                          Appx. 00328
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        44.     Paragraph 44 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        45.     Defendant denies Paragraph 45 of the Complaint.

        46.     Defendant denies Paragraph 46 of the Complaint.

                               SECOND CLAIM FOR RELIEF
                           (Turnover Pursuant to 11 U.S.C. § 549(b))

        47.     Paragraph 47 seeks to incorporate the allegations in the preceding paragraphs and

 does not require a response. Defendant incorporates all prior denials herein by reference.

        48.     Paragraph 48 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        49.     Paragraph 49 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        50.     Paragraph 50 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        51.     Defendant admits that Plaintiff transmitted Exhibits 5 and 7 to the Complaint.

 Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

 in Paragraph 51 of the Complaint and, therefore, denies them.

        52.     Defendant lacks sufficient information or knowledge to admit or deny the

 remaining allegations in Paragraph 52 of the Complaint and, therefore, denies them.

        53.     Defendant denies Paragraph 53 of the Complaint.


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         54.     Defendant denies that Plaintiff is entitled to the relief requested in the prayer of the

 Complaint, including parts (i), (ii), and (iii).

                                     AFFIRMATIVE DEFENSES

         55.     Plaintiff’s claims are barred in whole or in part by the doctrine of justification

 and/or repudiation.

         56.     Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

         57.     Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

         58.     Plaintiff’s claims are barred in whole or in part because prior to the demands for

 payment, Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

 subsequent.

         59.     Defendant further asserts that each Note is ambiguous.

                                            JURY DEMAND

         60.     Defendant demands a trial by jury of all issues so triable under Federal Rule of

 Civil Procedure 38 and Federal Rule of Bankruptcy Procedure 9015.

         61.     Defendant does not consent to the Bankruptcy Court conducting a jury trial and

 therefore demands such jury trial in the District Court.

                                                PRAYER

         For these reasons, Defendant respectfully requests that, following a trial on the merits, the

 Court deny the relief Plaintiffs seeks through its Complaint, enter a judgment that the Plaintiff take

 nothing on the Complaint, and grant Defendant such other relief at law or in equity to which it

 may be entitled.




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                                            Respectfully submitted,

                                            /s/ Lauren K. Drawhorn
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                                            COUNSEL FOR NEXPOINT REAL ESTATE
                                            PARTNERS, LLC F/K/A HCRE PARTNERS, LLC



                                CERTIFICATE OF SERVICE

        I hereby certify that on May 10, 2021, a true and correct copy of the foregoing pleading
 was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
 requesting or consenting to such service in this adversary case.

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                                            /s/ Lauren K. Drawhorn
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 DEFENDANT’S FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                               PAGE 9
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
   In re:                                       §
                                                §       Chapter 11
   HIGHLAND CAPITAL MANAGEMENT,                 §
   L.P.                                         §       Case No.: 19-34054-sgj11
                                                §
            Debtor.                             §
                                                §
   HIGHLAND CAPITAL MANAGEMENT,                 §
   L.P.                                         §
                                                §
            Plaintiff,                          §
                                                §         Adv. Pro. No. 21-03007-sgj
   vs.                                          §
                                                §
   HCRE PARTNERS, LLC (n/k/a                    §
   NEXPOINT REAL ESTATE PARTNERS,               §
   LLC),                                        §
                                                §
            Defendant.                          §

                      ORDER GRANTING NEXPOINT REAL ESTATE
                PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S MOTION FOR
                 LEAVE TO AMEND ANSWER TO PLAINTIFF’S COMPLAINT




   ORDER GRANTING NREP’S MOTION FOR LEAVE TO AMEND ANSWER TO PLAINTIFF’S COMPLAINT       PAGE 1
                                                                                     Appx. 00332
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         On this day, the Court considered Defendant NexPoint Real Estate Partners, LLC f/k/a

  HCRE Partners, LLC’s (“Defendant”) Motion for Leave to Amend its Answer to Plaintiff’s

  Complaint (the “Motion”). Having considered the Motion, and finding good cause exists, the

  Court hereby, GRANTS the Motion.

         IT IS THEREFORE ORDERED that Defendant’s First Amended Answer to Plaintiff’s

  Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s Estate, is

  hereby DEEMED FILED as of the date of this Order.


                                   ### END OF ORDER ###




  ORDER GRANTING NREP’S MOTION FOR LEAVE TO AMEND ANSWER TO PLAINTIFF’S COMPLAINT       PAGE 2
                                                                                     Appx. 00333
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                                EXHIBIT 10




                                                                          Appx. 00334
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COUNSEL FOR HIGHLAND CAPITAL
MANAGEMENT FUND ADVISORS, L.P.

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                                         §
                                               §
                                                                  Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                  §
 L.P.,                                         §
                                                           Case No. 19-34054-sgj11
                                               §
          Debtor.                              §
                                               §
 HIGHLAND CAPITAL MANAGEMENT,                  §
 L.P.,                                         §
                                               §
          Plaintiff,                           §
                                               §
                                                              Adv. No. 21-03004
 v.                                            §
                                               §
 HIGHLAND CAPITAL MANAGEMENT                   §
 FUND ADVISORS, L.P.                           §
                                               §
          Defendant.                           §

               DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER

TO THE HONORABLE COURT:

         COMES NOW Highland Capital Management Fund Advisors, L.P., the defendant (the

“Defendant”) in the above styled and numbered adversary proceeding (the “Adversary

Proceeding”), and files this its Defendant’s Motion for Leave to Amend Answer (the “Motion”),

respectfully stating as follows:




DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 1         ¨1¤}HV5%6                  (B«
                                                                1934054210522000000000008
                                                                                      Appx. 00335
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                                         I.      SUMMARY

         1.      This Adversary Proceeding concerns two promissory notes allegedly payable by

  the Defendant to Highland Capital Management, L.P. (the “Plaintiff”) in the combined amounts of

  $7.4 million (the “Notes”). Now that the Defendant has access to former employees of the Plaintiff

  and to various books and records, the Defendant has learned that the Notes were unauthorized,

  represent a mutual mistake, and were never intended as debt, but rather that the Plaintiff was

  compensating the Defendant for the Plaintiff’s own liability to the Defendant for causing a serious

  valuation error. Accordingly, and not having learned of these facts until recently, the Defendant

  respectfully seeks leave to assert resulting affirmative defenses.

                             II.     PROCEDRUAL BACKGROUND

         2.      On January 22, 2021, the Plaintiff filed its Complaint for (i) Breach of Contract

  and (ii) Turnover of Property of the Debtor’s Estate (the “Complaint”), thereby initiating this

  Adversary Proceeding.

         3.      On March 1, 2021, the Defendant filed its Defendant’s Original Answer (the

  “Answer”). The Answer does not contain any affirmative defenses.

         4.      The agreed scheduling order entered in this Adversary Proceeding does not contain

  a deadline to amend operative pleadings. See Docket No. 13.

         5.      This Adversary Proceeding is non-core and the Defendant has not consented to the

  Bankruptcy Court’s entry of final orders or judgment. The Defendant has asserted a right to trial

  by jury.

         6.      The Defendant has filed a motion for withdrawal of the reference, which motion

  remains pending, and this Motion is subject to, and without prejudice to, any and all arguments

  raised in support of the withdrawal of the reference.




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                                III.   FACTUAL BACKGROUND

         7.      This Motion is supported by the Declaration of Dennis C. Sauter (the “Sauter

  Declaration”), attached hereto as Exhibit “A” and incorporated herein.

         8.      The Defendant is a registered advisor under the Investment Advisors Act of 1940.

  Sauter Declaration at ¶ 4. As such, the Defendant advises various independent funds which, in

  turn, are investment vehicles for a large number of investors. See id. One such fund was Highland

  Global Allocation Fund (“HGAF”). Id. at ¶ 24.

         9.      Prior to the end of February, 2021, and during all times relevant to the Notes, the

  Plaintiff and the Defendant were parties to that certain Second Amended and Restated Shared

  Services Agreement dated February 8, 2013 (the “Shared Services Agreement”). Id. at ¶ 6. This

  was standard business practices for the Plaintiff and various other affiliated companies, including

  other advisers, within the Plaintiff’s “complex” of business: the Plaintiff would employ most of

  the employees and then share those employees with the Defendant and other “complex” entities,

  in exchange for payments by the Defendant and such other entities. Id. at ¶ 7. The Defendant

  otherwise had very few direct employees. Id. at ¶ 5. Thus, under the Shared Services Agreement,

  employees of the Plaintiff (many of whom were highly trained and specialized) provided many of

  the key services to the Defendant on an as-needed basis. Id. at ¶ 8. These services included legal,

  accounting, regulatory, compliance, IT, valuation, and tax services, among others. Id. at ¶ 8.

  Additionally, under the Shared Services Agreement the Debtor provided critical electronic

  infrastructure to HCMFA and other “complex” entities, such that the books and records, and e-

  mail communications, of HCMFA were actually stored. Id. at ¶ 8.

         10.     In March, 2018, HGAF sold equity interests it held in TerreStar. Id. at ¶ 24. As

  part of this, it was necessary to calculate the “net asset value” (“NAV”) of these securities and of




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  HGAF assets. Id. at ¶ 24. The Defendant was responsible for advising on the NAV. In turn,

  pursuant to the Shared Services Agreement, the Plaintiff was responsible to the Defendant to

  calculate the NAV, and the Plaintiff had several employees charged with these and similar

  calculations as part of the Plaintiff’s routine business services and as part of what the Plaintiff

  regularly provided to the Defendant and affiliated companies. Id. at ¶ 24.

             11.    The Plaintff made a mistake in calculating the NAV (the “NAV Error”). Id. at ¶

  25. The NAV Error was discovered in early 2019 as HGAF was being converted from an open-

  ended fund to a closed-ended fund. Id. at ¶ 25. The Securities and Exchange Commission opened

  an investigation, and various employees and representatives of the Plaintiff, the Defendant, and

  HGAF worked with the SEC to correct the error and to compensate HGAF and the various

  investors in HGAF harmed by the NAV Error. Id. at ¶ 25. Ultimately, and working with the SEC,

  the Plaintiff determined that the losses from the NAV Error to HGAF and its shareholders

  amounted to $7.5 million: (i) $6.1 million for the NAV Error itself, as well as rebating related

  advisor fees and processing costs; and (ii) $1.4 million of losses to the shareholders of HGAF. Id.

  at ¶ 26.

             12.    The Defendant accepted responsibility for the NAV Error and paid out $5,186,496

  on February 15, 2019 and $2,398,842 on May 21, 2019. Id. at ¶ 27. In turn, the Plaintiff accepted

  responsibility to the Defendant for having caused the NAV Error, and the Plaintiff ultimately,

  whether through insurance or its own funds, compensated the Defendant for the above payments.

  Id. at ¶ 28. The Defendant is unsure as to the flow of funds; i.e. whether the Plaintiff paid HGAF

  directly or through the Defendant, and is awaiting discovery from the Plaintiff on that point. Either

  way, the Plaintiff accepted, and paid, approximately $7.5 million to compensate for the NAV Error

  that it caused.




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         13.     Frank Waterhouse (“Waterhouse”) was the Chief Financial Officer of both the

  Plaintiff and the Defendant. Id. at ¶ 29. Waterhouse prepared and signed the Notes. Interestingly,

  Waterhouse did not sign the Notes in a representative capacity for the Defendant, but rather as:




  This was highly unusual and indicates that the Plaintiff’s legal department did not prepare the

  Notes. It is also highly unusual that the Notes were not signed by Jim Dondero or by the general

  partner of the Defendant.

         14.     Waterhouse was not authorized to execute the Notes on behalf of the Defendant,

  and he was not authorized to lend funds by the Plaintiff. Id. at ¶ 22. It appears that what happened

  is that Waterhouse, either for some internal accounting purpose or because funds were flowing

  from the Plaintiff to the Defendant, believed that some document was necessary or that what was

  being funded was a loan, so he unilaterally, and in mistake, prepared and signed the Notes. Id. at

  ¶ 30. In short, Waterhouse made a mistake, there was no loan, there was no return consideration

  for any loan, and the Notes, if anything, are a mutual mistake and are void. Id. at ¶ 30 & 32.

         15.     The Defendant only learned of these facts in April, 2021, and was therefore unable

  to assert defenses and affirmative defenses based on these facts at the time that it filed its Answer.

  Id. at ¶ 21. This is because the Defendant’s own employees had no knowledge of the facts and

  circumstances surrounding the Notes; the Plaintiff, through its CEO Mr. Seery, had prohibited

  employees of the Plaintiff from discussing matters with the Defendant that may relate to

  controversies or litigation under penalty of termination; the Defendant did not have access to all



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  of its books and records, as they were in the possession of the Plaintiff pursuant to the Shared

  Services Agreement; and an injunction from the Bankruptcy Court prohibited Mr. Dondero from

  “indirectly” communicating with the Plaintiff’s employees (Mr. Dondero controls the Defendant).

  Id. at ¶¶ 13-17.

         16.     By mid-April, 2021, the Plaintiff has terminated most of its employees, those

  employees formed their own company, and the Defendant retained that company to provide

  services to the Defendant basically in continuation of the services provided by the Plaintiff

  pursuant to the Shared Services Agreement. Id. at ¶¶ 19-20. Additionally, the Plaintiff provided

  many, but not all, of the Defendant’s books and records to the Defendant. See id. Thus, it was not

  until then that the Defendant was meaningfully able to talk to persons with some knowledge

  regarding the facts and circumstances surrounding the Notes and to review its books and records

  to determine that the NAV Error had occurred and that the Plaintiff paying for the resulting

  damages was compensation by the Plaintiff for its own error, as opposed to a loan from the Plaintiff

  to the Defendant. Id. at ¶¶ 21-22.

         17.     The Defendant also notes that the Plaintiff, on its schedules, did not schedule the

  Notes even though it scheduled various other promissory notes owed by its affiliates. See Docket

  No. 247 at 13 of 74. Additionally, on April 15, 2019, the Plaintiff agreed to extend the date that

  certain demand notes payable by the Defendant to the Plaintiff could be demanded to May 31,

  2021, as the Defendant expected to be unable to pay those notes. See Sauter Declaration at ¶ 31.

  It is illogical and highly improbable that, notwithstanding that admission and acknowledgement,

  the Plaintiff would nevertheless loan the Defendant $7.4 million some two weeks later. Rather, as

  the evidence suggests, Waterhouse made a mistake in not realizing that the funds being paid by

  the Plaintiff to the Defendant were in compensation for the NAV Error and not a loan.




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                                       IV.     DISCUSSION

           18.   Attached hereto as Exhibit “B” is the Defendant’s proposed Amended Answer,

  incorporating new defenses or affirmative defenses resulting from the knowledge of the facts

  above.

           19.   Federal Rule of Civil Procedure 15, as made applicable to this Adversary

  Proceeding by Federal Rule of Bankruptcy Procedure 7015, provides for leave to amend a

  pleading, which leave “[t]he court should freely give [] when justice so requires.” FED. R. CIV. P.

  15(a)(2).

           20.   The Court must “possess a ‘substantial reason’ to deny a request for leave to

  amend.” Smith v. EMC Corp., 393 F.3d 590, 595 (5th Cir. 2004). The Fifth Circuit has outlined

  five “consideration” guiding the Rule 15 inquiry: “1) undue delay, 2) bad faith or dilatory motive,

  3) repeated failure to cure deficiencies by previous amendments, 4) undue prejudice to the

  opposing party, and 5) futility of the amendment.” Id.

           21.   No Undue Delay. There has been no undue delay. The Defendant filed its Answer

  only some seventy (80) days ago. This Adversary Proceeding has been pending for four (4)

  months. The Defendant has not filed a prior motion for leave to amend. And, most importantly,

  as evidenced by the Sauter Declaration, the Defendant had no way of knowing of these defenses

  and affirmative defenses until the termination of the Shared Services Agreement and the ability of

  the Defendant to communicate with former employees of the Plaintiff who, prior to that time, were

  under instructions to not discuss matters of a potential litigation nature with the Defendant under

  penalty of termination, and to have access to its books and records. Thus, it was not until April,

  2021, that the Defendant was even able to learn of these defenses to the Notes or the facts and

  circumstances surrounding the Notes.




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         22.     No Bad Faith or Dilatory Motive. There is no bad faith or dilatory motive for the

  same reasons as above; the Defendant only recently learned of its defenses, the Defendant moved

  for leave promptly after learning of them; and leave to amend is not sought to avoid summary

  judgment or continue trial.

         23.     No Repeated Failures to Cure By Prior Amendments. This is the Defendant’s first

  motion to amend.

         24.     No Undue Prejudice. There is no undue prejudice to the Plaintiff. Discovery is

  ongoing and depositions have not been scheduled. The Defendant is agreeable to further extending

  discovery. The Plaintiff will have every reasonable opportunity to test the new defenses, and all

  underlying witness and documents related to the same are available.

         25.     No Futility of the Amendment. The Defendant’s defense is not futile:

         (i)     it is supported by prima facie evidence by the Sauter Declaration;

         (ii)    the amount of the Notes, one for $5 million and one for $2.4 million, is almost

                 identical to the ultimate $5,186,496 payment by the Defendant on February 15,

                 2019 and the $2,398,842 May 21, 2019 payment by the Defendant;

         (iii)   the fact that the Plaintiff did not schedule the Notes, while scheduling many others,

                 is evidence that the Plaintiff itself did not consider the Notes legitimate (or know

                 of their existence);

         (iv)    the fact that Waterhouse signed the Notes, and not in a representative capacity for

                 the Defendant, whereas all other notes are prepared by the Plaintiff’s legal

                 department and signed by other agents in representative capacities, is evidence that

                 Waterhouse made a mistake or did not understand what was going on, and had no

                 authority or clearance to bind the Defendant to the Notes, and that, perhaps, the




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                 Notes were done for some draft, or accounting, or temporary purpose with no

                 intention or expectation, even on the part of Waterhouse, that the Notes ever be

                 legitimate.

         26.     The Defendant is not suggesting that the merits of its defenses be tried through this

  Motion; only that its defenses and the Motion are not “futile.”

         27.     Accordingly, as no substantial reason exists to deny the amendment, the Court

  should “freely” grant leave to the Defendant to amend its Answer.

                                               V.    PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully requests that the

  Court enter an order: (i) granting this Motion; (ii) granting the Defendant leave to file the Amended

  Answer attached hereto as Exhibit “B”; and (iii) granting the Defendant such other and further

  relief to which it may be justly entitled.

         RESPECTFULLY SUBMITTED this 22d day of May, 2021.

                                                    MUNSCH HARDT KOPF & HARR, P.C.

                                                    By: /s/ Davor Rukavina
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                                                    COUNSEL FOR HIGHLAND CAPITAL
                                                    MANAGEMENT FUND ADVISORS, L.P.




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                                    CERTIFICATE OF CONFERENCE

          The undersigned hereby certifies that he discussed the relief requested herein with Jeff
   Pomerantz, Esq. and John Morris, Esq., on March 21, 2021, but that, as of the filing hereof, he has
   not heard back regarding whether the Plaintiff opposes said relief.

                                                  /s/ Davor Rukavina
                                                  Davor Rukavina




                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on this the 22d day of May, 2021, true and correct
   copies of this document and the exhibits hereto were electronically served by the Court’s ECF
   system on parties entitled to notice thereof, including on the Plaintiff through its counsel of record.

                                                  /s/ Davor Rukavina
                                                  Davor Rukavina




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                                                                             EXHIBIT "A"


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                                    SECOND AMENDED AND RESTATED
                                     SHARED SERVICES AGREEMENT

             THIS SECOND AMENDED AND RESTATED SHARED SERVICES AGREEMENT (this
     “Agreement”) is entered into to be effective as of 8th day of February, 2013 (the “Effective Date”) by and
     among Highland Capital Management, L.P., a Delaware limited partnership (“HCMLP”), and Highland
     Capital Management Fund Advisors, L.P., formerly known as Pyxis Capital, L.P., a Delaware limited
     partnership (“HCMFA”), and any affiliate of HCMFA that becomes a party hereto. Each of the
     signatories hereto is individually a “Party” and collectively the “Parties”.

                                                    RECITALS

             A.      During the Term, HCMLP will provide to HCMFA certain services as more fully
     described herein and the Parties desire to allocate the costs incurred for such services and assets among
     them in accordance with the terms and conditions in this Agreement.

                                                  AGREEMENT

              In consideration of the foregoing recitals and the mutual covenants and conditions contained
     herein, the Parties agree, intending to be legally bound, as follows:

                                                   ARTICLE I
                                                  DEFINITIONS

             “Actual Cost” means, with respect to any period hereunder, one hundred percent (100%) of the
     actual costs and expenses caused by, incurred or otherwise arising from or relating to (i) the Shared
     Services and (ii) the Shared Assets, in each case during such period.

             “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
     controls, or is controlled by, or is under common control with, a specified Person. The term “control”
     (including, with correlative meanings, the terms “controlled by” and “under common control with”)
     means the possession of the power to direct the management and policies of the referenced Person,
     whether through ownership interests, by contract or otherwise.

             “Agreement” has the meaning set forth in the preamble.

             “Allocation Percentage” has the meaning set forth in Section 4.01.

             “Applicable Margin” shall mean an additional amount equal to 5% of all costs allocated by
     Service Provider to the other parties hereto under Article IV; provided that the parties may agree on a
     different margin percentage as to any item or items to the extent the above margin percentage, together
     with the allocated cost of such item or service, would not reflect an arm’s length value of the particular
     service or item allocated.

             “Change” has the meaning set forth in Section 2.02(a).

             “Change Request” has the meaning set forth in Section 2.02(b).

             “Code” means the Internal Revenue Code of 1986, as amended, and the related regulations and
     published interpretations.




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             “Effective Date” has the meaning set forth in the preamble.

            “Governmental Entity” means any government or any regulatory agency, bureau, board,
     commission, court, department, official, political subdivision, tribunal or other instrumentality of any
     government, whether federal, state or local, domestic or foreign.

              “Liabilities” means any cost, liability, indebtedness, obligation, co-obligation, commitment,
     expense, claim, deficiency, guaranty or endorsement of or by any Person of any nature (whether direct or
     indirect, known or unknown, absolute or contingent, liquidated or unliquidated, due or to become due,
     accrued or unaccrued, matured or unmatured).

             “Loss” means any cost, damage, disbursement, expense, liability, loss, obligation, penalty or
     settlement, including interest or other carrying costs, legal, accounting and other professional fees and
     expenses incurred in the investigation, collection, prosecution and defense of claims and amounts paid in
     settlement, that may be imposed on or otherwise incurred or suffered by the referenced Person; provided,
     however, that the term “Loss” will not be deemed to include any special, exemplary or punitive damages,
     except to the extent such damages are incurred as a result of third party claims.

             “New Shared Service” has the meaning set forth in Section 2.03.

             “Party” or “Parties” has the meaning set forth in the preamble.

           “Person” means an association, a corporation, an individual, a partnership, a limited liability
     company, a trust or any other entity or organization, including a Governmental Entity.

             “Quarterly Report” has the meaning set forth in Section 5.01.

             “Recipient” means HCMFA and any of HCMFA’s direct or indirect Subsidiaries or managed
     funds or accounts in their capacity as a recipient of the Shared Services and/or Shared Assets.

             “Service Provider” means any of HCMLP and its direct or indirect Subsidiaries in its capacity as
     a provider of Shared Services or Shared Assets.

             “Service Standards” has the meaning set forth in Section 6.01.

             “Shared Assets” shall have the meaning set forth in Section 3.02.

             “Shared Services” shall have the meaning set forth in Section 2.01.

              “Subsidiary” means, with respect to any Person, any Person in which such Person has a direct or
     indirect equity ownership interest in excess of 50%.

              “Tax” or “Taxes” means: (i) all state and local sales, use, value-added, gross receipts, foreign,
     privilege, utility, infrastructure maintenance, property, federal excise and similar levies, duties and other
     similar tax-like charges lawfully levied by a duly constituted taxing authority against or upon the Shared
     Services and the Shared Assets; and (ii) tax-related surcharges or fees that are related to the Shared
     Services and the Shared Assets identified and authorized by applicable tariffs.

             “Term” has the meaning set forth in Section 7.01.




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                                                  ARTICLE II
                                               SHARED SERVICES

             Section 2.01     Services. During the Term, Service Provider will provide Recipient with Shared
     Services, including without limitation, all of the (i) finance and accounting services, (ii) human resources
     services, (iii) marketing services, (iv) legal services, (v) corporate services, (vi) information technology
     services, and (vii) operations services; each as requested by HCMFA and as described more fully on
     Annex A attached hereto, the “Shared Services”), it being understood that personnel providing Shared
     Services may be deemed to be employees of HCMFA to the extent necessary for purposes of the
     Investment Advisers Act of 1940, as amended.

             Section 2.02    Changes to the Shared Services.

                     (a)      During the Term, the Parties may agree to modify the terms and conditions of a
     Service Provider’s performance of any Shared Service in order to reflect new procedures, processes or
     other methods of providing such Shared Service, including modifying the applicable fees for such Shared
     Service to reflect the then current fair market value of such service (a “Change”). The Parties will
     negotiate in good faith the terms upon which a Service Provider would be willing to provide such New
     Shared Service to Recipient.

                      (b)      The Party requesting a Change will deliver a description of the Change requested
     (a “Change Request”) and no Party receiving a Change Request may unreasonably withhold, condition or
     delay its consent to the proposed Change.

                      (c)      Notwithstanding any provision of this Agreement to the contrary, a Service
     Provider may make: (i) Changes to the process of performing a particular Shared Service that do not
     adversely affect the benefits to Recipient of Service Provider’s provision or quality of such Shared
     Service in any material respect or increase Recipient’s cost for such Shared Service; (ii) emergency
     Changes on a temporary and short-term basis; and/or (iii) Changes to a particular Shared Service in order
     to comply with applicable law or regulatory requirements, in each case without obtaining the prior
     consent of Recipient. A Service Provider will notify Recipient in writing of any such Change as follows:
     in the case of clauses (i) and (iii) above, prior to the implementation of such Change, and, in the case of
     clause (ii) above, as soon as reasonably practicable thereafter.

             Section 2.03   New Shared Services. The Parties may, from time to time during the Term of
     this Agreement, negotiate in good faith for Shared Services not otherwise specifically listed in Section
     2.01 (a “New Shared Service”). Any agreement between the Parties on the terms for a New Shared
     Service must be in accordance with the provisions of Article IV and Article V hereof, will be deemed to
     be an amendment to this Agreement and such New Shared Service will then be a “Shared Service” for all
     purposes of this Agreement.

             Section 2.04   Subcontractors. Nothing in this Agreement will prevent Service Provider from,
     with the consent of Recipient, using subcontractors, hired with due care, to perform all or any part of a
     Shared Service hereunder. A Service Provider will remain fully responsible for the performance of its
     obligations under this Agreement in accordance with its terms, including any obligations it performs
     through subcontractors, and a Service Provider will be solely responsible for payments due to its
     subcontractors.




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                                                   ARTICLE III
                                                 SHARED ASSETS

              Section 3.01    Shared IP Rights. Each Service Provider hereby grants to Recipient a non-
     exclusive right and license to use the intellectual property and other rights granted or licensed, directly or
     indirectly, to such Service Provider (the “Shared IP Rights”) pursuant to third party intellectual property
     Agreements (“Third Party IP Agreements”), provided that the rights granted to Recipient hereunder are
     subject to the terms and conditions of the applicable Third Party IP Agreement, and that such rights shall
     terminate, as applicable, upon the expiration or termination of the applicable Third Party IP Agreement.
     Recipient shall be licensed to use the Shared IP Rights only for so long as it remains an Affiliate of
     HCMLP. In consideration of the foregoing licenses, Recipient agrees to take such further reasonable
     actions as a Service Provider deems to be necessary or desirable to comply with its obligations under the
     Third Party IP Agreements.

             Section 3.02     Other Shared Assets. Subject to Section 3.01, each Service Provider hereby
     grants Recipient the right, license or permission, as applicable, to use and access the benefits under the
     agreements, contracts and licenses that such Service Provider will purchase, acquire, become a party or
     beneficiary to or license on behalf of Recipient (the “Future Shared Assets” and collectively with the
     Shared IP Rights, the “Shared Assets”).

                                                   ARTICLE IV
                                                COST ALLOCATION

             Section 4.01   Actual Cost Allocation Formula. The Actual Cost of any item relating to any
     Shared Services or Shared Assets shall be allocated based on the Allocation Percentage. For purposes of
     this Agreement, “Allocation Percentage” means:

                     (a)      To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
     of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

                    (b)    To the extent a specific percentage of use of such item can be determined (e.g.,
     70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual Cost of such item will be
     allocated to HCMLP or HCMFA, as applicable and as agreed by HCMFA; and

                     (c)      All other portions of the Actual Cost of any item that cannot be allocated
     pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA in such proportion as
     is agreed in good faith between the parties.

             Section 4.02     Non-Cash Cost Allocation. The actual, fully burdened cost of any item relating
     to any Shared Services or Shared Assets that does not result in a direct, out of pocket cash expense may
     be allocated to HCMLP and HCMFA for financial statement purposes only, as agreed by HCMFA,
     without any corresponding cash reimbursement required, in accordance with generally accepted
     accounting principles, based on the Allocation Percentage principles described in Section 4.01 hereof.

                                             ARTICLE V
                             PAYMENT OF COST AND REVENUE SHARE; TAXES

             Section 5.01     Quarterly Statements. Within thirty (30) days following the end of each calendar
     qaurter during the Term (or at such time as may be otherwise agreed by the parties), each Service
     Provider shall furnish the other Parties hereto with a written statement with respect to the Actual Cost
     paid by it in respect of Shared Services and Shared Assets provided by it, in each case, during such


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     period, setting forth (i) the cost allocation in accordance with Article IV hereof together with the
     Applicable Margin on such allocated amounts, and (ii) any amounts paid pursuant to Section 5.02 hereof,
     together with such other data and information necessary to complete the items described in Section 5.03
     hereof (hereinafter referred to as the “Quarterly Report”).

              Section 5.02    Settlement Payments. At any time during the Term, any Party may make
     payment of the amounts that are allocable to such Party together with the Applicable Margin related
     thereto, regardless of whether an invoice pursuant to Section 5.03 hereof has been issued with respect to
     such amounts.

             Section 5.03    Determination and Payment of Cost and Revenue Share.

                      (a)     Within ten (10) days of the submission of the Quarterly Report described in
     Section 5.02 hereof (or at such other time as may be agreed by the parties), the Parties shall (i) agree on
     the cost share of each of the Parties and Applicable Margin as calculated pursuant to the provisions of this
     Agreement; and (ii) prepare and issue invoices for the cost share and Applicable Margin payments that
     are payable by any of the Parties.

                      (b)     Within ten (10) days of preparation of the agreement and the issuance of the
     invoice described in Section 5.03(a) (or at such other time as may be agreed by the parties), the Parties
     shall promptly make payment of the amounts that are set forth on such cost allocation invoice.
     Notwithstanding anything in this Agreement to the contrary, provision of the Shared Services shall
     commence from the Effective Date, but no fees shall be payable from Recipient or otherwise accrue with
     respect to such services provided during the month of December 2011.

             Section 5.04    Taxes.

                      (a)     Recipient is responsible for and will pay all Taxes applicable to the Shared
     Services and the Shared Assets provided to Recipient, provided, that such payments by Recipient to
     Service Provider will be made in the most tax-efficient manner and provided further, that Service
     Provider will not be subject to any liability for Taxes applicable to the Shared Services and the Shared
     Assets as a result of such payment by Recipient. Service Provider will collect such Tax from Recipient in
     the same manner it collects such Taxes from other customers in the ordinary course of Service Provider’s
     business, but in no event prior to the time it invoices Recipient for the Shared Services and Shared Assets,
     costs for which such Taxes are levied. Recipient may provide Service Provider with a certificate
     evidencing its exemption from payment of or liability for such Taxes.

                      (b)    Service Provider will reimburse Recipient for any Taxes collected from Recipient
     and refunded to Service Provider. In the event a Tax is assessed against Service Provider that is solely the
     responsibility of Recipient and Recipient desires to protest such assessment, Recipient will submit to
     Service Provider a statement of the issues and arguments requesting that Service Provider grant Recipient
     the authority to prosecute the protest in Service Provider’s name. Service Provider’s authorization will
     not be unreasonably withheld. Recipient will finance, manage, control and determine the strategy for
     such protest while keeping Service Provider reasonably informed of the proceedings. However, the
     authorization will be periodically reviewed by Service Provider to determine any adverse impact on
     Service Provider, and Service Provider will have the right to reasonably withdraw such authority at any
     time. Upon notice by Service Provider that it is so withdrawing such authority, Recipient will
     expeditiously terminate all proceedings. Any adverse consequences suffered by Recipient as a result of
     the withdrawal will be submitted to arbitration pursuant to Section 9.14. Any contest for Taxes brought
     by Recipient may not result in any lien attaching to any property or rights of Service Provider or
     otherwise jeopardize Service Provider’s interests or rights in any of its property. Recipient agrees to


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     indemnify Service Provider for all Losses that Service Provider incurs as a result of any such contest by
     Recipient.

                       (c)     The provisions of this Section 5.04 will govern the treatment of all Taxes arising
     as a result of or in connection with this Agreement notwithstanding any other Article of this Agreement to
     the contrary.

                                              ARTICLE VI
                                   SERVICE PROVIDER RESPONSIBILITIES

             Section 6.01    Service Provider General Obligations. Service Provider will provide the Shared
     Services and the Shared Assets to Recipient on a non-discriminatory basis and will provide the Shared
     Services and the Shared Assets in the same manner as if it were providing such services and assets on its
     own account (the “Service Standards”). Service Provider will conduct its duties hereunder in a lawful
     manner in compliance with applicable laws, statutes, rules and regulations and in accordance with the
     Service Standards, including, for avoidance of doubt, laws and regulations relating to privacy of customer
     information.

              Section 6.02    Books and Records; Access to Information. Service Provider will keep and
     maintain books and records on behalf of Recipient in accordance with past practices and internal control
     procedures. Recipient will have the right, at any time and from time to time upon reasonable prior notice
     to Service Provider, to inspect and copy (at its expense) during normal business hours at the offices of
     Service Provider the books and records relating to the Shared Services and Shared Assets, with respect to
     Service Provider’s performance of its obligations hereunder. This inspection right will include the ability
     of Recipient’s financial auditors to review such books and records in the ordinary course of performing
     standard financial auditing services for Recipient (but subject to Service Provider imposing reasonable
     access restrictions to Service Provider’s and its Affiliates’ proprietary information and such financial
     auditors executing appropriate confidentiality agreements reasonably acceptable to Service Provider).
     Service Provider will promptly respond to any reasonable requests for information or access. For the
     avoidance of doubt, all books and records kept and maintained by Service Provider on behalf of Recipient
     shall be the property of Recipient, and Service Provider will surrender promptly to Recipient any of such
     books or records upon Recipient’s request (provided that Service Provider may retain a copy of such
     books or records) and shall make all such books and records available for inspection and use by the
     Securities and Exchange Commission or any person retained by Recipient at all reasonable times. Such
     records shall be maintained by Service Provider for the periods and in the places required by laws and
     regulations applicable to Recipient.

             Section 6.03  Return of Property and Equipment. Upon expiration or termination of this
     Agreement, Service Provider will be obligated to return to Recipient, as soon as is reasonably practicable,
     any equipment or other property or materials of Recipient that is in Service Provider’s control or
     possession.

                                                ARTICLE VII
                                           TERM AND TERMINATION

             Section 7.01      Term. The term of this Agreement will commence as of the Effective Date and
     will continue in full force and effect until the first anniversary of the Effective Date (the “Term”), unless
     terminated earlier in accordance with Section 9.02. The Term shall automatically renew for successive
     one year periods unless sooner terminated under Section 7.02.




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             Section 7.02    Termination. Either Party may terminate this Agreement, with or without cause,
     upon at least 60 days advance written notice at any time prior to the expiration of the Term.

                                                 ARTICLE VIII
                                              LIMITED WARRANTY

              Section 8.01    Limited Warranty. Service Provider will perform the Shared Services hereunder
     in accordance with the Service Standards. Except as specifically provided in this Agreement, Service
     Provider makes no express or implied representations, warranties or guarantees relating to its performance
     of the Shared Services and the granting of the Shared Assets under this Agreement, including any
     warranty of merchantability, fitness, quality, non-infringement of third party rights, suitability or
     adequacy of the Shared Services and the Shared Assets for any purpose or use or purpose. Service
     Provider will (to the extent possible and subject to Service Provider’s contractual obligations) pass
     through the benefits of any express warranties received from third parties relating to any Shared Service
     and Shared Asset, and will (at Recipient’s expense) assist Recipient with any warranty claims related
     thereto.

                                              ARTICLE IX
                                            MISCELLANEOUS

              Section 9.01    No Partnership or Joint Venture; Independent Contractor. Nothing contained in
     this Agreement will constitute or be construed to be or create a partnership or joint venture between or
     among HCMLP or HCMFA or their respective successors or assigns. The Parties understand and agree
     that, with the exception of the procurement by Service Provider of licenses or other rights on behalf of
     Recipient pursuant to Section 3.01, this Agreement does not make any of them an agent or legal
     representative of the other for any purpose whatsoever. With the exception of the procurement by Service
     Provider of licenses or other rights on behalf of Recipient pursuant to Section 3.01, no Party is granted, by
     this Agreement or otherwise, any right or authority to assume or create any obligation or responsibilities,
     express or implied, on behalf of or in the name of any other Party, or to bind any other Party in any
     manner whatsoever. The Parties expressly acknowledge that Service Provider is an independent
     contractor with respect to Recipient in all respects, including with respect to the provision of the Shared
     Services.

             Section 9.02     Amendments; Waivers. Except as expressly provided herein, this Agreement
     may be amended only by agreement in writing of all Parties. No waiver of any provision nor consent to
     any exception to the terms of this Agreement or any agreement contemplated hereby will be effective
     unless in writing and signed by all of the Parties affected and then only to the specific purpose, extent and
     instance so provided. No failure on the part of any Party to exercise or delay in exercising any right
     hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any further or
     other exercise of such or any other right.

             Section 9.03    Schedules and Exhibits; Integration. Each Schedule and Exhibit delivered
     pursuant to the terms of this Agreement must be in writing and will constitute a part of this Agreement,
     although schedules need not be attached to each copy of this Agreement. This Agreement, together with
     such Schedules and Exhibits constitutes the entire agreement among the Parties pertaining to the subject
     matter hereof and supersedes all prior agreements and understandings of the Parties in connection
     therewith.

            Section 9.04     Further Assurances. Each Party will take such actions as any other Party may
     reasonably request or as may be necessary or appropriate to consummate or implement the transactions
     contemplated by this Agreement or to evidence such events or matters.


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             Section 9.05   Governing Law. This Agreement and the legal relations between the Parties will
     be governed by and construed in accordance with the laws of the State of Texas applicable to contracts
     made and performed in such State and without regard to conflicts of law doctrines unless certain matters
     are preempted by federal law.

             Section 9.06     Assignment. Except as otherwise provided hereunder, neither this Agreement
     nor any rights or obligations hereunder are assignable by one Party without the express prior written
     consent of the other Parties.

             Section 9.07    Headings. The descriptive headings of the Articles, Sections and subsections of
     this Agreement are for convenience only and do not constitute a part of this Agreement.

              Section 9.08    Counterparts. This Agreement and any amendment hereto or any other
     agreement delivered pursuant hereto may be executed in one or more counterparts and by different Parties
     in separate counterparts. All counterparts will constitute one and the same agreement and will become
     effective when one or more counterparts have been signed by each Party and delivered to the other
     Parties.

              Section 9.09    Successors and Assigns; No Third Party Beneficiaries. This Agreement is
     binding upon and will inure to the benefit of each Party and its successors or assigns, and nothing in this
     Agreement, express or implied, is intended to confer upon any other Person or Governmental Entity any
     rights or remedies of any nature whatsoever under or by reason of this Agreement.

             Section 9.10     Notices. All notices, demands and other communications to be given or
     delivered under or by reason of the provisions of this Agreement will be in writing and will be deemed to
     have been given: (i)immediately when personally delivered; (ii) when received by first class mail, return
     receipt requested; (iii) one day after being sent for overnight delivery by Federal Express or other
     overnight delivery service; or (iv) when receipt is acknowledged, either electronically or otherwise, if sent
     by facsimile, telecopy or other electronic transmission device. Notices, demands and communications to
     the other Parties will, unless another address is specified by such Parties in writing, be sent to the
     addresses indicated below:

                              If to HCMLP, addressed to:

                              Highland Capital Management, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

                              If to HCMFA, addressed to:

                              Highland Capital Management Fund Advisors, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

             Section 9.11    Expenses. Except as otherwise provided herein, the Parties will each pay their
     own expenses incident to the negotiation, preparation and performance of this Agreement, including the
     fees, expenses and disbursements of their respective investment bankers, accountants and counsel.


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              Section 9.12     Waiver. No failure on the part of any Party to exercise or delay in exercising any
     right hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any
     further or other exercise of such or any other right.

             Section 9.13     Severability. If any provision of this Agreement is held to be unenforceable for
     any reason, it will be adjusted rather than voided, if possible, to achieve the intent of the Parties. All
     other provisions of this Agreement will be deemed valid and enforceable to the extent possible.

              Section 9.14     Arbitration; Jurisdiction. Notwithstanding anything contained in this Agreement
     or the Annexes hereto to the contrary, in the event there is an unresolved legal dispute between the parties
     and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
     representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
     submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     however, that either party or such applicable affiliate thereof may pursue a temporary restraining order
     and/or preliminary injunctive relief in connection with confidentiality covenants or agreements binding
     on the other party, with related expedited discovery for the parties, in a court of law, and, thereafter,
     require arbitration of all issues of final relief. The Arbitration will be conducted by the American
     Arbitration Association, or another, mutually agreeable arbitration service. The arbitrator(s) shall be duly
     licensed to practice law in the State of Texas. The discovery process shall be limited to the following:
     Each side shall be permitted no more than (i) two party depositions of six hours each. Each deposition is
     to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii)
     twenty-five interrogatories; (iv) twenty-five requests for admission; (v) ten requests for production. In
     response, the producing party shall not be obligated to produce in excess of 5,000 total pages of
     documents. The total pages of documents shall include electronic documents; (vi) one request for
     disclosure pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in
     this paragraph, whether to parties or non-parties, shall not be permitted. The arbitrator(s) shall be
     required to state in a written opinion all facts and conclusions of law relied upon to support any decision
     rendered. No arbitrator will have authority to render a decision that contains an outcome determinative
     error of state or federal law, or to fashion a cause of action or remedy not otherwise provided for under
     applicable state or federal law. Any dispute over whether the arbitrator(s) has failed to comply with the
     foregoing will be resolved by summary judgment in a court of law. In all other respects, the arbitration
     process will be conducted in accordance with the American Arbitration Association’s dispute resolution
     rules or other mutually agreeable, arbitration service rules. The party initiating arbitration shall pay all
     arbitration costs and arbitrator’s fees, subject to a final arbitration award on who should bear costs and
     fees. All proceedings shall be conducted in Dallas, Texas, or another mutually agreeable site. Each party
     shall bear its own attorneys fees, costs and expenses, including any costs of experts, witnesses and/or
     travel, subject to a final arbitration award on who should bear costs and fees. The duty to arbitrate
     described above shall survive the termination of this Agreement. Except as otherwise provided above, the
     parties hereby waive trial in a court of law or by jury. All other rights, remedies, statutes of limitation and
     defenses applicable to claims asserted in a court of law will apply in the arbitration.

             Section 9.15     General Rules of Construction. For all purposes of this Agreement and the
     Exhibits and Schedules delivered pursuant to this Agreement: (i) the terms defined in Article I have the
     meanings assigned to them in Article I and include the plural as well as the singular; (ii) all accounting
     terms not otherwise defined herein have the meanings assigned under GAAP; (iii) all references in this
     Agreement to designated “Articles,” “Sections” and other subdivisions are to the designated Articles,
     Sections and other subdivisions of the body of this Agreement; (iv) pronouns of either gender or neuter
     will include, as appropriate, the other pronoun forms; (v) the words “herein,”“hereof” and “hereunder”
     and other words of similar import refer to this Agreement as a whole and not to any particular Article,
     Section or other subdivision; (vi) “or” is not exclusive; (vii) “including” and “includes” will be deemed to
     be followed by “but not limited to” and “but is not limited to, “respectively; (viii) any definition of or

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     reference to any law, agreement, instrument or other document herein will be construed as referring to
     such law, agreement, instrument or other document as from time to time amended, supplemented or
     otherwise modified; and (ix) any definition of or reference to any statute will be construed as referring
     also to any rules and regulations promulgated thereunder.




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                                                         Annex A

                                                   Shared Services

               Compliance
                             General compliance
                             Compliance systems
               Facilities
                             Equipment
                             General Overhead
                             Office Supplies
                             Rent & Parking
               Finance & Accounting
                            Book keeping
                             Cash management
                             Cash forecasting
                             Credit facility reporting
                             Financial reporting
                             Accounts payable
                             Accounts receivable
                             Expense reimbursement
                             Vendor management
               HR
                             Drinks/snacks
                             Lunches
                             Recruiting
               IT
                             General support & maintenance (OMS, development, support)
                             Telecom (cell, phones, broadband)
                             WSO
               Legal
                             Corporate secretarial services
                             Document review and preparation
                             Litigation support
                             Management of outside counsel
               Marketing and PR
                             Public relations
               Tax
                             Tax audit support
                             Tax planning
                             Tax prep and filing
               Investments
                             Investment research on an ad hoc basis as requested by HCMFA



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                            Valuation Committee
               Trading
                            Trading desk services
               Operations
                            Trade settlement




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Rukavina, Davor

From:                              James Seery <jpseeryjr@gmail.com>
Sent:                              Thursday, September 17, 2020 4:17 PM
To:                                DC Sauter
Cc:                                Gregory V. Demo
Subject:                           Re: Acis Settlement


DC

I believe your concerns regarding the release are misplaced as it does not bind entities that HCMLP does not
control. Greg can walk you through the language, but I do not believe it requires adjustment nor does it create any
liability. To the contrary, it reduces liability.

With regard to the HCMLP employee prohibitions, no employee whether legal or non‐legal can work on any matter that
is inimical to the interests of HCMLP. I ,as CEO, and the Independent Board will make the determination as to whether
an action violates the prohibition, and a breach of the prohibition will lead to termination for cause. I believe that most
of the employees have been informed of this requirement and are following the directive.

With regard to transactional matters, HCMLP employees will continue to work with you on those issues that do not run
afoul of the prohibition above. If there is a particular matter where you are taking a potentially adversarial action vis a
vis HCMLP, please let me know what it is. We can then consider whether a customized operating protocol for that issue
is needed or whether you will simply be on your own. I will make the determination with the advice of counsel. We do
not believe the Texas rules of professional responsibility apply in this situation.

Please let me know what matter you are considering with respect to the immediately preceding paragraph, and we will
consider how to best address your concerns.

Best. Jim

Jim Seery
631‐804‐2049
jpseeryjr@gmail.com




From: DC Sauter <DSauter@NexPointadvisors.com>
Date: Thursday, September 17, 2020 at 4:56 PM
To: Jim Seery <jpseeryjr@gmail.com>
Cc: Greg Demo <GDemo@pszjlaw.com>
Subject: RE: Acis Settlement

Jim/Greg, follow up on my email below. I have a few items that have been placed on my plate, and I really need to
understand who I can speak with and the extent to which they are permitted to share information with me.


D.C. S AU T E R




                                                             1                                       EXHIBIT 2
                                                                                                       Appx. 00366
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O: 972.628.4117 | C: 469.877.6440



From: DC Sauter
Sent: Tuesday, September 15, 2020 8:55 AM
To: 'James Seery' <jpseeryjr@gmail.com>
Cc: Gregory V. Demo <GDemo@pszjlaw.com>
Subject: RE: Acis Settlement

My apologies for copying Isaac. I was under the mistaken impression that he would have assisted in the settlement.

In my view, the requested clarification is beneficial to Strand, HCMLP, and the other “HCMLP Entities.” The documents
purport to release ACIS from claims on behalf of, among others, any entity that is “managed” by HCMLP and “respective
current advisors, trustees, directors, officers, managers, members, partners, current or former employees, beneficiaries,
shareholders, agents, participants, subsidiaries, parents, affiliates, successors, designees, and assigns” of any “HCMLP
Entity.” Those “HCMLP Entities” lack the authority to bind a whole host of parties in that laundry list, which could result
in claims against HCMLP, Strand, and the other “HCMLP Entities” by both the “ACIS Released Parties,” who will claim
they didn’t receive the benefit of the bargain, and the parties on whose behalf the “HCMLP Parties” purported to release
claims who didn’t consent to the release.

Additionally, I’d like to visit with you all regarding the board’s position that prohibits certain HCMLP personnel from
working on certain matters.

First, I am unclear whether the prohibition applies to only HCMLP legal personnel or whether it applies to all HCMLP
employees. Please clarify.

Second, as you may know, virtually all of these matters are falling into my lap, and in most cases I lack any knowledge
about them. It would help me tremendously if current HCMLP employees, and particularly the legal personnel, could
provide me with transactional background to assist in the transition of the matter. While I understand the board’s
concern with Judge Jernigan’s order, I don’t believe that the Texas Disciplinary Rules of Professional Conduct mandate or
even permit an attorney licensed in the State of Texas to refuse to cooperate with a former client in the transfer of a
matter to a new attorney. Rule 1.15(d) states that “[u]pon termination of representation, a lawyer shall take steps to
the extent reasonably practicable to protect a client's interests, such as giving reasonable notice to the client, allowing
time for employment of other counsel, surrendering papers and property to which the client is entitled and refunding
any advance payments of fee that has not been earned.” The comments to that rule provide additional clarity: “In every
instance of withdrawal and even if the lawyer has been unfairly discharged by the client, a lawyer must take all
reasonable steps to mitigate the consequences to the client.” T.D.R.P.C. Rule 1.15, comment 9. Proper steps may
include providing information to new counsel or even continuing to represent the client for a limited time to meet
impending deadlines. Microsoft Corp. v. Commonwealth Sci. & Indus. Research Org., 2007 U.S. Dist. LEXIS 91550 *23‐24
fn. 11 (E.D. Tex. Dec. 13, 2007). Even if the board insists that the HCMLP legal personnel cannot continue to represent
others in non‐HCMLP matters or matters adverse to HCMLP (irrespective of any conflict of interest analysis of whether
those attorneys may continue to represent HCMLP in those matters), the ethical rules require that the attorneys provide
assistance in transferring those matters to me or others.

Finally, I routinely handle, and am routinely asked to handle, legal matters that relate to real estate for entities owned or
controlled by HCMLP (Park West, the Arizona assets, the Maple Ave. property, to name a few). I am not an HCMLP
employee, and it’s my understanding that NexPoint Advisors, L.P. is not compensated for the time I spend on HCMLP
matters. I’m not suggesting that this arrangement should change, but it feels from my perspective that the board’s
position is only working in one direction. In other words, if I understand the board’s position correctly, I can work on
both NexPoint and HCMLP matters, but the HCMLP legal employees may only work on HCMLP‐related matters. It has
also put a significant amount of additional work on my plate. I would like to understand two things. First, what is the
scope of my authority in these matters, and what is the proper protocol vis‐à‐vis you, DSI, and the board? I have tried to
take the conservative approach in keeping you all informed and asking for consent or approval where I thoughts it

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appropriate. I assume this is how you’d like to continue to handle things, but I would like confirmation of that. Second, I
have heard that you all were working to transfer a couple of the legal personnel (perhaps Thedford and Post) to HCMFA
so they could assist with the work load (particularly in the areas where I don’t have a significant amount of
experience). I’d like to know where that stands and when relief can be expected.

I’m available most of today and tomorrow to discuss.


D.C. S AU T E R




O: 972.628.4117 | C: 469.877.6440



From: James Seery <jpseeryjr@gmail.com>
Sent: Tuesday, September 15, 2020 7:01 AM
To: DC Sauter <DSauter@NexPointadvisors.com>
Cc: Gregory V. Demo <GDemo@pszjlaw.com>; Isaac Leventon <ILeventon@HighlandCapital.com>
Subject: Re: Acis Settlement

DC. We will discuss and revert to you. Neither Isaac nor anyone else at HCMLP is permitted to work on any issues
related to the settlement and release other than as directed by me.

Thanks

Sent from my iPad


           On Sep 14, 2020, at 7:08 PM, DC Sauter <DSauter@nexpointadvisors.com> wrote:


           Greg,

           I’ve been asked to review the attached release on behalf of HCMFA and the closed‐end funds. I’m
           concerned that the language below creates an ambiguity as to whether the closed‐end funds and
           HCMFA have released claims against the ACIS parties:

                1.          The release by Strand, which also serves as the general partner of HCMFA; and
                2.          The release by each “HCMLP Entity” of its “respective current advisors, trustees, directors,
                            officers, managers, members, partners, current or former employees, beneficiaries,
                            shareholders, agents, participants, subsidiaries, parents, affiliates, successors, designees,
                            and assigns.”

           We would like the final sentence in paragraph 1.a. of the Release to be revised to specifically identify
           HCMFA and the closed‐end funds as parties not covered by the release. Please let me know if you’d like
           to discuss in more detail.


           D.C. S AU T E R | G E N E R A L C O U N S E L , R E A L E S T A T E

           <image001.jpg>
           300 Crescent Court | Suite 700 | Dallas, Texas 75201
           O: 972.628.4117 | C: 469.877.6440 | F: 972.628.4147
           dsauter@nexpointadvisors.com | www.NexPointGroup.com

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   <Acis ‐ Release (EXECUTION VERSION).pdf>




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 11, 2021
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
                                                                  §
     In re:                                                           Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                                  §   Case No. 19-34054-sgj11
                                      Debtor.                     §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                                  §
                                                                  §   Adversary Proceeding No.
                                      Plaintiff,
                                                                  §
                                                                  §   No. 20-03190-sgj
     vs.
                                                                  §
                                                                  §
     JAMES D. DONDERO,
                                                                  §
                                                                  §
                                      Defendant.

           ORDER GRANTING DEBTOR’S MOTION FOR A PRELIMINARY INJUNCTION
                             AGAINST JAMES DONDERO

              This matter having come before the Court on Plaintiff Highland Capital Management,

     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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  L.P.’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction

  against Mr. James Dondero [Adv. Pro. Docket No. 2] (the “Motion”), filed by Highland Capital

  Management, L.P., the debtor and debtor-in-possession (the “Debtor”) in the above-captioned

  chapter 11 case (the “Bankruptcy Case”), and the plaintiff in the above-captioned adversary

  proceeding (the “Adversary Proceeding”); and this Court having considered (a) the Motion, (b)

  Plaintiff Highland Capital Management, L.P.’s Verified Original Complaint for Injunctive Relief

  [Adv. Pro. Docket No. 1] (the “Complaint”), (c) the arguments and law cited in the Debtor’s

  Amended Memorandum of Law in Support of its Motion for a Temporary Restraining Order and

  Preliminary Injunction against Mr. James Dondero [Adv. Pro. Docket No. 3] (the

  “Memorandum of Law,” and together with the Motion and Complaint, the “Debtor’s Papers”),

  (d) James Dondero’s Response in Opposition to Debtor’s Motion for a Preliminary Injunction

  [Adv. Pro. Docket No. 52] (the “Opposition”) filed by James Dondero, (e) the testimonial and

  documentary evidence admitted into evidence during the hearing held on January 8, 2021 (the

  “Hearing”), including assessing the credibility of Mr. James Dondero, (f) the arguments made

  during the Hearing, and (g) all prior proceedings relating to the Motion, including the December

  10, 2020 hearing on the Debtor’s Motion for a Temporary Restraining Order and Preliminary

  Injunction against James Dondero [Adv. Pro. Docket No. 6] (the “TRO Hearing”); and this

  Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court

  having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

  having found that venue of this proceeding and the Motion in this District is proper pursuant to

  28 U.S.C. §§ 1408 and 1409; and this Court having found that injunctive relief is warranted

  under sections 105(a) and 362(a) of the Bankruptcy Code and that the relief requested in the

  Motion is in the best interests of the Debtor’s estate, its creditors, and other parties-in-interest;



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  and this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing

  on the Motion were appropriate and that no other notice need be provided; and this Court having

  determined that the legal and factual bases set forth in the Debtor’s Papers, and the evidence

  submitted in support thereof, establish good cause for the relief granted herein, and that (1) such

  relief is necessary to avoid immediate and irreparable harm to the Debtor’s estate and

  reorganization process; (2) the Debtor is likely to succeed on the merits of its underlying claim

  for injunctive relief; (3) the balance of the equities tip in the Debtor’s favor; and (4) such relief

  serves the public interest; and upon all of the proceedings had before this Court; and after due

  deliberation and sufficient cause appearing therefor and for the reasons set forth in the record on

  this Motion, it is HEREBY ORDERED THAT:

          1.       The Motion is GRANTED as set forth herein.

          2.       James Dondero is preliminarily enjoined and restrained from (a) communicating

  (whether orally, in writing, or otherwise), directly or indirectly, with any Board member unless

  Mr. Dondero’s counsel and counsel for the Debtor are included in any such communication; (b)

  making any express or implied threats of any nature against the Debtor or any of its directors,

  officers, employees, professionals, or agents, in whatever capacity they are acting; (c)

  communicating with any of the Debtor’s employees, except as it specifically relates to shared

  services currently provided to affiliates owned or controlled by Mr. Dondero; (d) interfering with

  or otherwise impeding, directly or indirectly, the Debtor’s business, including but not limited to

  the Debtor’s decisions concerning its operations, management, treatment of claims, disposition

  of assets owned, controlled or managed by the Debtor, and the pursuit of the Plan or any




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  alternative to the Plan; and (e) otherwise violating section 362(a) of the Bankruptcy Code

  (collectively, the “Prohibited Conduct”). 2

          3.       James Dondero is further preliminarily enjoined and restrained from causing,

  encouraging, or conspiring with (a) any entity owned or controlled by him, and/or (b) any person

  or entity acting with him or on his behalf, to, directly or indirectly, engage in any Prohibited

  Conduct.

          4.       James Dondero is further preliminarily enjoined and restrained from

  communicating (in person, telephonically, by e-mail, text message or otherwise) with Scott

  Ellington and/or Isaac Leventon, unless otherwise ordered by the Court.

          5.       James Dondero is further preliminarily enjoined and restrained from physically

  entering, or virtually entering through the Debtor’s computer, email, or information systems, the

  Debtor’s offices located at Crescent Court in Dallas, Texas, or any other offices or facilities

  owned or leased by the Debtor, regardless of any agreements, subleases, or otherwise, held by

  the Debtor’s affiliates or entities owned or controlled by Mr. Dondero, without the prior written

  permission of Debtor’s counsel made to Mr. Dondero’s counsel. If Mr. Dondero enters the

  Debtor’s office or other facilities or systems without such permission, such entrance will

  constitute trespass.

          6.       James Dondero is ordered to attend all future hearings in this Bankruptcy Case by

  Webex (or whatever other video platform is utilized by the Court), unless otherwise ordered by

  the Court.

          7.       This Order shall remain in effect until the date that any plan of reorganization or

  liquidation resolving the Debtor’s case becomes effective, unless otherwise ordered by the Court.

  2
    For the avoidance of doubt, this Order does not enjoin or restrain Mr. Dondero from (1) seeking judicial relief
  upon proper notice or from objecting to any motion filed in this Bankruptcy Case, or (2) communicating with the
  committee of unsecured creditors (the “UCC”) and its professionals regarding a pot plan.

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          8.       All objections to the Motion are overruled in their entirety.

          9.       The Court shall retain exclusive jurisdiction with respect to all matters arising

  from or relating to the implementation, interpretation, and enforcement of this Order.


                                       ### END OF ORDER ###




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                                                                                   EXHIBIT 4




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   MUNSCH HARDT KOPF & HARR, P.C.
   500 N. Akard Street, Suite 3800
   Dallas, Texas 75202-2790
   Telephone: (214) 855-7500
   Facsimile: (214) 978-4375

   COUNSEL FOR HIGHLAND CAPITAL
   MANAGEMENT FUND ADVISORS, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

   In re                                            §
                                                    §
                                                                         Chapter 11
   HIGHLAND CAPITAL MANAGEMENT,                     §
   L.P.,                                            §
                                                                Case No. 19-34054-sgj11
                                                    §
           Debtor.                                  §
                                                    §
   HIGHLAND CAPITAL MANAGEMENT,                     §
   L.P.,                                            §
                                                    §
           Plaintiff,                               §
                                                    §
                                                                      Adv. No. 21-03004
   v.                                               §
                                                    §
   HIGHLAND CAPITAL MANAGEMENT                      §
   FUND ADVISORS, L.P.                              §
                                                    §
           Defendant.                               §

                             DEFENDANT’S AMENDED ANSWER

           COMES NOW Highland Capital Management Fund Advisors, L.P. (the “Defendant”), the

  defendant in the above-styled and numbered adversary proceeding (the “Adversary Proceeding”)

  filed by Highland Capital Management, L.P. (the “Plaintiff”), and files this its Defendant’s

  Amended Answer (the “Answer”), responding to the Complaint for (I) Breach of Contract and (II)

  Turnover of Property of the Debtor’s Estate (the “Complaint”). Where an allegation in the

  Complaint is not expressly admitted in this Answer, it is denied.

  DEFENDANT’S AMENDED ANSWER                                                              Page 1 of 8
                                                                                          EXHIBIT "B"
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                                   PRELIMINARY STATEMENT

            1.   The first sentence of ¶ 1 sets forth the Plaintiff’s objective in bringing the Complaint

  and does not require a response. To the extent it contains factual allegations, they are denied. The

  second sentence contains a legal conclusion that does not require a response. To the extent it

  contains factual allegations, they are denied.

            2.   Paragraph 2 contains a summary of the relief the Plaintiff seeks and does not require

  a response. To the extent it contains factual allegations, they are denied.

                                   JURISDICTION AND VENUE

            3.   The Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

  bankruptcy case but denies any implication that this fact confers Constitutional authority on the

  Bankruptcy Case to adjudicate this dispute. Any allegations in ¶ 3 not expressly admitted are

  denied.

            4.   The Defendant admits that the Court has statutory (but not Constitutional)

  jurisdiction to hear this Adversary Proceeding. Any allegations in ¶ 4 not expressly admitted are

  denied.

            5.   The Defendant denies that a breach of contract claim is core. The Defendant denies

  that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested debt. The

  Defendant admits that a § 542(b) turnover proceeding is statutorily core but denies that it is

  Constitutionally core under Stern v. Marshall. The Defendant does not consent to the Bankruptcy

  Court entering final orders or judgment in this Adversary Proceeding. Any allegations in ¶ 5 not

  expressly admitted are denied.

            6.   The Defendant admits ¶ 6 of the Complaint.

                                            THE PARTIES

            7.   The Defendant admits ¶ 7 of the Complaint.


  DEFENDANT’S AMENDED ANSWER                                                                  Page 2 of 8
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         8.      The Defendant admits ¶ 8 of the Complaint.

                                       CASE BACKGROUND

         9.      The Defendant admits ¶ 9 of the Complaint.

         10.     The Defendant admits ¶ 10 of the Complaint.

         11.     The Defendant admits ¶ 11 of the Complaint.

         12.     The Defendant admits ¶ 12 of the Complaint.

                                      STATEMENT OF FACTS

  A.     The HCMFA Notes

         13.     The Defendant admits that it has executed at least one promissory note under which

  the Debtor is the payee. Any allegations in ¶ 13 not expressly admitted are denied.

         14.     The Defendant denies ¶ 14 of the Complaint.

         15.     The Defendant denies ¶ 15 of the Complaint.

         16.     The Defendant denies ¶ 16 of the Complaint. The document speaks for itself and

  the quote set forth in ¶ 16 is not verbatim.

         17.     The Defendant denies ¶ 17 of the Complaint. The document speaks for itself and

  the quote set forth in ¶ 17 is not verbatim.

         18.     The Defendant admits ¶ 18 of the Complaint.

  B.     HCMFA’s Default under Each Note

         19.     The Defendant admits that Exhibit 3 to the Complaint (the “Demand Letter”) is a

  true and correct copy of what it purports to be and that the document speaks for itself. To the

  extent ¶ 19 of the Complaint asserts a legal conclusion, no response is required, and it is denied.

  To the extent not expressly admitted, ¶ 19 of the Complaint is denied.

         20.     To the extent ¶ 20 of the Complaint asserts a legal conclusion, no response is

  necessary, and it is denied. The Defendant otherwise admits ¶ 20 of the Complaint.


  DEFENDANT’S AMENDED ANSWER                                                               Page 3 of 8
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         21.     The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 21 of the Complaint and therefore denies the same.

         22.     The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 22 of the Complaint and therefore denies the same.

         23.     The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 23 of the Complaint and therefore denies the same.

         24.     The Defendant denies ¶ 24 of the Complaint.

                                   FIRST CLAIM FOR RELIEF
                                     (For Breach of Contract)

         25.     Paragraph 25 of the Complaint is a sentence of incorporation that does not require

  a response. All prior denials are incorporated herein by reference.

         26.     Paragraph 26 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 26 of the

  Complaint.

         27.     Paragraph 27 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 27 of the

  Complaint.

         28.     Paragraph 28 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 28 of the

  Complaint.

         29.     The Defendant denies ¶ 29 of the Complaint.



                               SECOND CLAIM FOR RELIEF
                     (Turnover by HCMFA Pursuant to 11 U.S.C. § 542(b))




  DEFENDANT’S AMENDED ANSWER                                                             Page 4 of 8
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          30.      Paragraph 30 of the Complaint is a sentence of incorporation that does not require

  a response. All prior denials are incorporated herein by reference.

          31.      Paragraph 31 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 31 of the

  Complaint.

          32.      Paragraph 32 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 32 of the

  Complaint.

          33.      The Defendant denies ¶ 33 of the Complaint.

          34.      Paragraph 34 of the Complaint states a legal conclusion that does not require a

  response. The Defendant admits that the Plaintiff transmitted the Demand Letter. To the extent ¶

  34 alleges other facts, the Defendant lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in ¶ 34 of the Complaint and therefore denies the same.

          35.      The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 35 of the Complaint and therefore denies the same.

          36.      Paragraph 36 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 36 of the

  Complaint.

          37.      The Defendant denies that the Plaintiff is entitled to the relief requested in the

  prayer, including parts (i), (ii), and (iii).

                                       AFFIRMATIVE DEFENSES

          38.      At all material times to the Complaint, the Defendant, a registered advisor, advised

  various third-party funds as to their investments. One such fund was Highland Global Allocation

  Fund (“HGAF”).

  DEFENDANT’S AMENDED ANSWER                                                                 Page 5 of 8
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         39.     At all material times to the Complaint, the Defendant contracted with the Plaintiff

  whereby the Plaintiff, through its employees, would provide certain services to the Defendant,

  including with respect to the Defendant’s advice to the third-party funds. These services so

  provided included accounting, legal, regulatory, valuation, and compliance services.

         40.     In March, 2018, HGAF sold equity interests it held in TerreStar. As part of this, it

  was necessary to calculate the “net asset value” (“NAV”) of these securities and of HGAF assets.

  The Defendant was responsible for advising on the NAV. In turn, pursuant to the Shared Services

  Agreement in effect at that time between the Plaintiff and the Defendant, the Plaintiff was

  responsible to the Defendant to calculate the NAV, and the Plaintiff had several employees charged

  with these and similar calculations as part of the Plaintiff’s routine business services and as part

  of what the Plaintiff regularly provided to the Defendant and affiliated companies.

         41.     The Plaintff made a mistake in calculating the NAV (the “NAV Error”). The NAV

  Error was discovered in early 2019 as HGAF was being converted from an open-ended fund to a

  closed-ended fund. The Securities and Exchange Commission opened an investigation, and

  various employees and representatives of the Plaintiff, the Defendant, and HGAF worked with the

  SEC to correct the error and to compensate HGAF and the various investors in HGAF harmed by

  the NAV Error. Ultimately, and working with the SEC, the Plantiff determined that the losses

  from the NAV Error to HGAF and its shareholders amounted to $7.5 million: (i) $6.1 million for

  the NAV Error itself, as well as rebating related advisor fees and processing costs; and (ii) $1.4

  million of losses to the shareholders of HGAF.

         42.     The Defendant accepted responsibility for the NAV Error and paid out $5,186,496

  on February 15, 2019 and $2,398,842 on May 21, 2019.              In turn, the Plaintiff accepted

  responsibility to the Defendant for having caused the NAV Error, and the Plaintiff ultimately,

  whether through insurance or its own funds, compensated the Defendant for the above payments

  DEFENDANT’S AMENDED ANSWER                                                                Page 6 of 8
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  by paying, or causing to be paid, approximately $7.5 million to the Defendant directly or indirectly

  to HGAF and its investors.

         43.     At this time, Frank Waterhouse (“Waterhouse”) was the Chief Financial Officer to

  both the Plaintiff and the Defendant. Waterhouse signed the two promissory notes the subject of

  the Complaint (the “Notes”). He did not sign the Notes in any representative capacity for the

  Defendant. The Defendant did not authorize Waterhouse to sign the Notes or to bind the Defendant

  in any way to the Note.

         44.     Waterhouse made a mistake in preparing and signing the Notes for the Defendant.

  Upon information and belief, Waterhouse was not aware that payments from the Plaintiff to the

  Defendant were to compensate the Defendant for the NAV Error and resulting damages, instead

  assuming that the Notes were like prior notes between the Plaintiff and the Defendant. Waterhouse

  failed to properly inquire into the underlying transaction and, either for unknown accounting or

  other purposes, Waterhouse prepared and signed the Notes on his own, without proper knowledge

  of the underlying facts and without actual authority from either the Plaintiff or the Defendant.

         45.     In sum, neither the Plaintiff nor the Defendant intended that any funds paid by the

  Plaintiff to the Defendant be treated as debt but that they instead be treated as compensation by

  the Plaintiff to the Defendant for the NAV Error that the Plaintiff caused. The Notes are an

  unauthorized mistake and a nullity, and are void for a lack of consideration.

         46.     To the extent Waterhouse had apparent authority to bind the Defendant to the

  Notes, such apparently authority does not apply to the Notes because Waterhouse’s lack of actual

  authority is imputed to the Plaintiff, as Waterhouse was the CFO for the Plaintiff.

         47.     Accordingly, the Notes are void or unenforceable for lack of consideration, for

  mutual mistake, and for the lack of authority from the Defendant to Waterhouse to execute the

  same for the Defendant.

  DEFENDANT’S AMENDED ANSWER                                                                Page 7 of 8
                                                                                           Appx. 00382
Case 21-03005-sgj Doc 134-1 Filed 12/18/21              Entered 12/18/21 02:10:25         Page 384 of 896

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                                            JURY DEMAND

           48.      The Defendant demands a trial by jury of all issues so triable pursuant to Rule 38

   of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of Bankruptcy

   Procedure.

           49.      The Defendant does not consent to the Bankruptcy Court conducting a jury trial

   and therefore demands a jury trial in the District Court.

                                                PRAYER

           WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully request that,

   following a trial on the merits, the Court enter a judgment that the Plaintiff take noting on the

   Complaint and provide the Defendant such other relief to which it is entitled.

           RESPECTFULLY SUBMITTED this                   day of May, 2021.

                                                         MUNSCH HARDT KOPF & HARR, P.C.

                                                         By: /s/ Davor Rukavina
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   DEFENDANT’S AMENDED ANSWER                                                               Page 8 of 8
   4846-7642-9033v.1 019717.00001
                                                                                            Appx. 00383
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                                EXHIBIT 11




                                                                          Appx. 00384
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    In re                                            §
                                                     §
                                                       Chapter 11
    HIGHLAND CAPITAL MANAGEMENT,                     §
    L.P.,                                            §
                                                       Case No. 19-34054-sgj11
                                                     §
             Debtor.                                 §
                                                     §
    HIGHLAND CAPITAL MANAGEMENT,                     §
    L.P.,                                            §
                                                     §
             Plaintiff,                              §
                                                     § Adv. No. 21-03005
    v.                                               §
                                                     §
    NEXPOINT ADVISORS, L.P.                          §
                                                     §
             Defendant.                              §

                  DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER

   TO THE HONORABLE COURT:

            COMES NOW NexPoint Advisors, L.P., the defendant (the “Defendant”) in the above

   styled and numbered adversary proceeding (the “Adversary Proceeding”), and files this its

   Defendant’s Motion for Leave to Amend Answer (the “Motion”), respectfully stating as follows:

                                          I.     SUMMARY

            1.      This Adversary Proceeding concerns one promissory note allegedly payable by the

   Defendant to Highland Capital Management, L.P. (the “Plaintiff”) in the amount of
   DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 1
                                                                                         Appx. 00385
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   $23,071,195.03 (the “Note”). While the Defendant was able to assert certain affirmative defenses

   to the Note in its original answer, now that the Defendant has access to former employees of the

   Plaintiff and to various books and records, and has had the time and ability to investigate potential

   additional affirmative defenses to the Note, the Defendant has learned that the Note is subject to a

   condition subsequent that discharged the Note. Accordingly, and not having learned of these facts

   until recently, the Defendant respectfully seeks leave to assert resulting affirmative defenses.

                              II.          PROCEDRUAL BACKGROUND

             2.   On January 22, 2021, the Plaintiff filed its Complaint for (i) Breach of Contract

   and (ii) Turnover of Property of the Debtor’s Estate (the “Complaint”), thereby initiating this

   Adversary Proceeding.

             3.   On March 1, 2021, the Defendant filed its Defendant’s Original Answer (the

   “Answer”).

             4.   The agreed scheduling order entered in this Adversary Proceeding does not contain

   a deadline to amend operative pleadings. See Docket No. 13.

             5.   This Adversary Proceeding is non-core and the Defendant has not consented to the

   Bankruptcy Court’s entry of final orders or judgment. The Defendant has asserted a right to trial

   by jury. The Court has orally agreed that the Defendant has a right to a jury trial, and the Court

   has stated that it will recommend to the District Court that the reference of this Adversary

   Proceeding be withdrawn once the case is certified ready for trial.

                                    III.    FACTUAL BACKGROUND

             6.   This Motion is supported by: (i) the Declaration of Dennis C. Sauter (the “Sauter

   Declaration”), attached hereto as Exhibit “A” and incorporated herein; and (ii) the Declaration of

   James Dondero (the “Dondero Declaration”), attached hereto as Exhibit “B” and incorporated

   herein.


   DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 2
                                                                                              Appx. 00386
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          7.      The Note is a term note, payable in annual installments of principal and interest.

  The Plaintiff alleges that the Defendant failed to make the annual payment due December 31, 2020,

  and that, accordingly, the Defendant breached the Note, the Plaintiff accelerated the Note, and the

  full unpaid amount of the Note remains outstanding. On January 14, 2021, however, and as

  admitted by the Plaintiff, the Defendant made the full December 31 payment, which payment was

  not rejected by the Plaintiff.

          8.      The Answer contains three affirmative defenses: two related to the Plaintiff having

  caused the alleged default in payment on the Note, as it was the Plaintiff, pursuant to the parties’

  then-existing shared services agreement, that was responsible for ensuring that the Defendant made

  the December 31 payment (as the Plaintiff had done in each prior year); and an affirmative defense

  of waiver, in that the Plaintiff accepted the Defendant’s January 14 payment.

          9.      The Defendant had all the information it needed at that time to assert these

  affirmative defenses, as the Defendant knew of the shared services agreement, expected the

  Plaintiff to ensure the Defendant timely made all payments, and obviously knew that it had made

  the January 14 payment. However, at that time, and until recently, the Defendant was not able to

  investigate other potential affirmative defenses that it may have had.

          10.     Prior to the end of February, 2021, and during all times relevant to the Notes, the

  Plaintiff and the Defendant were parties to that certain Amended and Restated Shared Services

  Agreement dated January 1, 2018 (the “Shared Services Agreement”). Exhibit A at ¶ 6. This was

  standard business practices for the Plaintiff and various other affiliated companies, including other

  advisers, within the Plaintiff’s “complex” of business: the Plaintiff would employ most of the

  employees and then share those employees with the Defendant and other “complex” entities, in

  exchange for payments by the Defendant and such other entities. Id. at ¶¶ 6-7. The Defendant

  otherwise had very few direct employees. Id. at ¶ 6. Thus, under the Shared Services Agreement,

  employees of the Plaintiff (many of whom were highly trained and specialized) provided many of
  DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 3
                                                                                             Appx. 00387
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  the key services to the Defendant on an as-needed basis. Id. at ¶¶ 7-8. These services included

  legal, accounting, regulatory, compliance, IT, valuation, and tax services, among others. Id.

  Additionally, under the Shared Services Agreement the Debtor provided critical electronic

  infrastructure to HCMFA and other “complex” entities, such that the books and records, and e-

  mail communications, of HCMFA were actually stored. Id. at ¶ 8.

         11.     The Defendants’ own employees had very limited knowledge regarding the Note,

  although they knew about the circumstances of the alleged default, as noted above. Id. at ¶ 13.

  They did not otherwise know, however, of the facts and circumstances surrounding the execution

  of the Note, or any conditions subsequent or other agreements that may affect the Note, thereby

  providing additional affirmative defenses. Id. at ¶¶13-14. At the time that the Defendant filed its

  Answer, the Defendant was precluded from discussing the Note with those employees of the

  Plaintiff that may have had relevant knowledge, and of reviewing books and records regarding the

  Note. Id. at ¶¶ 14-16. Specifically, the Plaintiff, through its CEO Mr. Seery, had prohibited

  employees of the Plaintiff from discussing matters with the Defendant that may relate to

  controversies or litigation under penalty of termination; the Defendant did not have access to all

  of its books and records, as they were in the possession of the Plaintiff pursuant to the Shared

  Services Agreement; and an injunction from the Bankruptcy Court prohibited Mr. Dondero from

  “indirectly” communicating with the Plaintiff’s employees (Mr. Dondero controls the Defendant).

  Id. at ¶¶ 14-17.

         12.     Around the time of the Answer, whether shortly before or after, Mr. James Dondero

  (“Dondero”), who is the president of the Defendant’s general partner and the former Chief

  Executive of the Plaintiff, indicated that the Plaintiff frequently lent funds to Dondero or other

  entities affiliated with Dondero, which loans would be subject to promissory notes modified by

  conditions subsequent that may lead the notes to be discharged. Id. at ¶ 14. However, Dondero

  did not recall all details concerning the Note and whether this specific Note fell into the category
  DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 4
                                                                                            Appx. 00388
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   of dischargeable promissory notes. Id. The Defendant was not able to, at that time, undertake an

   investigation to determine whether this Note was in fact one of such dischargeable notes (for the

   reasons stated above), and the Defendant did not believe that it could assert an affirmative defense

   based on such discharge without undertaking such an investigation. Id. at ¶¶ 13-18.

          13.     This situation changed in mid-May, 2021. Id. at ¶¶ 21-23. By April, 2021, the

   Plaintiff had terminated the Shared Services Agreement (as of late February, 2021) and the

   Plaintiff’s former employees formed a new company, Skyview Group, which then contracted with

   the Defendant and others to continue providing essentially the same services they had previously

   provided through the Plaintiff. Id. March and April, 2021, were exceedingly busy for the

   Defendant, having to convert the Plaintiff’s former employees and infrastructure to the new ones,

   and engaging in various other adversary proceedings and hearings against the Plaintiff. Id.

          14.     By mid-May, 2021, however, the situation had calmed down enough, and the

   Defendant had access to the Plaintiff’s former employees, including Frank Waterhouse, its former

   Chief Financial Officer, to mount a more thorough investigation of the Note. Id. at 23. Exhibit

   “B” at ¶ 10-12. Additionally, as additional lawyers began to work through the disclosures and

   issues in the cases, the Defendant learned of additional facts, including a February 2021 letter sent

   from D. Michael Lynn to the Plaintiff informing the Plaintiff of the dischargeable notes. Id. All

   of this triggered additional communications with Mr. Dondero and Mr. Waterhouse such that, by

   the end of May, 2021, the Defendant was able to confirm that the Note was subject to a condition

   subsequent of discharge. Exhibit “A” at ¶¶ 23-25; Exhibit “B” at ¶¶ 10-13.

          15.     That condition subsequent is essentially the same as has been raised by Mr.

   Dondero and other defendants to promissory note claims brought by the Plaintiff. Essentially,

   instead of taking a large salary or profits from the Plaintiff, Mr. Dondero would, on an as needed

   basis, ask the Plaintiff to lend funds to himself or to other entities affiliated with him, such as the

   Defendant. Those notes were legitimate notes. However, as had been the practice at the Plaintiff
   DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 5
                                                                                               Appx. 00389
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   and as is not unusual in the industry, the notes could be, and in this instance were, subject to a

   condition subsequent that might lead to the forgiveness and discharge of the notes, and therefore

   to potential income to Mr. Dondero or other payors. Exhibit “B” at ¶ 9. That would occur when

   when an appreciated asset was sold. Id.

            16.   Thus, here, Mr. Dondero, for the Plaintiff, entered into an agreement with Nancy

   Dondero, as the representative of a majority of the Class A holders of the Plaintiff, that the Note

   would be discharged upon the disposition at above cost of any of the portfolio company interests

   managed and/or owned, directly or indirectly, by the Plaintiff and/or its affiliates or managed

   funds. Id. Hence the affirmative defense the Defendant seeks to assert by this Motion.

                                        IV.     DISCUSSION

            17.   Attached hereto as Exhibit “C” is the Defendant’s proposed Amended Answer,

   incorporating new defenses or affirmative defenses resulting from the knowledge of the facts

   above.

            18.   Federal Rule of Civil Procedure 15, as made applicable to this Adversary

   Proceeding by Federal Rule of Bankruptcy Procedure 7015, provides for leave to amend a

   pleading, which leave “[t]he court should freely give [] when justice so requires.” FED. R. CIV. P.

   15(a)(2).

            19.   The Court must “possess a ‘substantial reason’ to deny a request for leave to

   amend.” Smith v. EMC Corp., 393 F.3d 590, 595 (5th Cir. 2004). The Fifth Circuit has outlined

   five “consideration” guiding the Rule 15 inquiry: “1) undue delay, 2) bad faith or dilatory motive,

   3) repeated failure to cure deficiencies by previous amendments, 4) undue prejudice to the

   opposing party, and 5) futility of the amendment.” Id.

            20.   No Undue Delay. There has been no undue delay. The Defendant filed its Answer

   only some one hundred (100) days ago. This Adversary Proceeding has been pending for six (6)

   months. The Defendant has not filed a prior motion for leave to amend. And, most importantly,
   DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 6
                                                                                            Appx. 00390
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   as evidenced by the Sauter Declaration, the Defendant could not reasonably confirm the validity

   of the affirmative defense until recently, whereafter the Defendant acted promptly to file this

   Motion.    Only as of mid-May was the Defendant able to satisfy itself, including through

   communications with former employees and others, that what Dondero remembered was accurate

   and that it applied to this Note specifically. The Defendant should not be penalized for having

   waited to confirm the validity of this defense, as opposed to rushing to assert it under Rule 11

   before it could assure itself, and the Court, that the defense was valid.

          21.      The Defendant will add the following. On March 16, 2021, Dondero filed an

   answer to a separate promissory note suit commenced against him by the Plaintiff, Adversary

   Proceeding No. 21-03003, at docket no. 6. In his answer, Dondero asserted an affirmative defense

   of: “Defendant asserts that Plaintiff’s claims should be barred because it was previously agreed by

   Plaintiff that Plaintiff would not collect on the Notes.” On April 6, 2021, Dondero amended his

   answer to assert an affirmative defense of: “Defendant asserts that Plaintiff’s claims should be

   barred because prior to the demands for payment Plaintiff agreed that it would not collect on the

   Notes upon fulfillment of conditions subsequent.” In other words, since, as of March and April,

   2021, it was generally known that there were dischargeable promissory notes out there, the

   Defendant had no reason to wait to assert the same defenses except because it honestly waited until

   it could complete its own independent investigation.

          22.      No Bad Faith or Dilatory Motive. There is no bad faith or dilatory motive for the

   same reasons as above; the Defendant only recently confirmed its defense, the Defendant moved

   for leave promptly after confirming the same; and leave to amend is not sought to avoid summary

   judgment or continue trial. Again, the reason for any delay is precisely to avoid a potential Rule

   11 argument or issue in asserting an affirmative defense without a sufficient investigation having

   been mounted.


   DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 7
                                                                                            Appx. 00391
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           23.     No Repeated Failures to Cure By Prior Amendments. This is the Defendant’s first

   motion to amend.

           24.     No Undue Prejudice. There is no undue prejudice to the Plaintiff. Discovery is

   ongoing and depositions have not been scheduled. The Defendant is agreeable to further extending

   discovery. The Plaintiff will have every reasonable opportunity to test the new defenses, and all

   underlying witness and documents related to the same are available. Moreover, both from Mr.

   Lynn’s February letter and from Dondero’s prior answers, and other adversary proceedings

   pending, the Plaintiff is already facing this same affirmative defense, it does not come as a surprise

   to the Plaintiff, and the Plaintiff will have to take discovery, prepare briefing, and try the same

   issues anyway. Finally, given that the Court agrees that the reference will have to be withdrawn,

   it is highly unlikely that the District Court will be able to convene a jury trial any time soon,

   meaning that there is no true trial date that will be prejudiced by the amendment.

           25.     No Futility of the Amendment. The Defendant’s defense is not futile. It is

   supported by prima facie evidence by the Dondero Declaration. Whether the trier of fact agrees

   or disagrees with the defense is for the trier of fact, but the defense itself is not futile on its face.

           26.     Accordingly, as no substantial reason exists to deny the amendment, the Court

   should “freely” grant leave to the Defendant to amend its Answer.

                                                V.    PRAYER

           WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully requests that the

   Court enter an order: (i) granting this Motion; (ii) granting the Defendant leave to file the Amended

   Answer attached hereto as Exhibit “C”; and (iii) granting the Defendant such other and further

   relief to which it may be justly entitled.




   DEFENDANT’S MOTION FOR LEAVE TO AMEND ANSWER—Page 8
                                                                                                   Appx. 00392
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          RESPECTFULLY SUBMITTED this 9th day of June, 2021.

                                                  MUNSCH HARDT KOPF & HARR, P.C.

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                                                  COUNSEL FOR HIGHLAND CAPITAL
                                                  MANAGEMENT FUND ADVISORS, L.P.




                                 CERTIFICATE OF CONFERENCE

           The undersigned hereby certifies that he discussed the relief requested herein with Jeff
   Pomerantz, Esq. and John Morris, Esq., on June 8, 2021, but that, as of the filing hereof, the
   Plaintiff has not consented to such relief and this Motion is therefore presented as opposed.

                                                  /s/ Davor Rukavina
                                                  Davor Rukavina




                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on this the 9th day of June, 2021, true and correct
   copies of this document and the exhibits hereto were electronically served by the Court’s ECF
   system on parties entitled to notice thereof, including on the Plaintiff through its counsel of record.

                                                  /s/ Davor Rukavina
                                                  Davor Rukavina




   DEFENDANT’S        MOTION FOR LEAVE TO AMEND ANSWER—Page 9
   4824-9524-9390v.1 019717.00001
                                                                                               Appx. 00393
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                                EXHIBIT 12




                                                                          Appx. 00394
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 COUNSEL FOR HIGHLAND CAPITAL
 MANAGEMENT SERVICES, INC.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
  In re:                                           §
                                                   §
  HIGHLAND CAPITAL MANAGEMENT,                     §            Chapter 11
  L.P.                                             §
                                                   §            Case No.: 19-34054-sgj11
            Debtor.                                §
                                                   §
  HIGHLAND CAPITAL MANAGEMENT,                     §
  L.P.                                             §
                                                   §
            Plaintiff,                             §
                                                   §
  vs.                                              §            Adv. Pro. No. 21-03006-sgj
                                                   §
  HIGHLAND CAPITAL MANAGEMENT                      §
  SERVICES, INC.,                                  §
                                                   §
            Defendant.                             §

                  HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
                 FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT


           Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

 this First Amended Answer in response to Highland Capital Management L.P.’s (“Plaintiff” or

 “Debtor”) Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s

 Estate (the “Complaint”) and respectfully states as follows:



 HCMS’ FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                       PAGE 1
                                                                                      Appx. 00395
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                                        PRELIMINARY STATEMENT1

           1.       The first sentence of Paragraph 1 sets forth Plaintiff’s objective in bringing the

 Complaint and does not require a response. To the extent a response is required, Defendant denies

 the allegations in the first sentence of Paragraph 1. The second sentence contains a legal conclusion

 that does not require a response. To the extent a response is required, Defendant denies the

 allegations in the second sentence of Paragraph 1.

           2.       Paragraph 2 contains a summary of the relief Plaintiff seeks and does not require a

 response. To the extent a response is required, Defendant denies the allegations in Paragraph 2.

                                        JURISDICTION AND VENUE

           3.       Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

 bankruptcy case but denies any implication that this fact confers constitutional authority on the

 Bankruptcy Court to adjudicate this dispute. Defendant denies any allegations in Paragraph 3 that

 are not expressly admitted.

           4.       Paragraph 4 states a legal conclusion that does not require a response. To the extent

 a response is required, Defendant admits the Bankruptcy Court has statutory jurisdiction over this

 Adversary Proceeding but denies that the Court has constitutional authority over this Adversary

 Proceeding. Defendant denies any allegations in Paragraph 4 that are not expressly admitted.

           5.       Defendant denies that Plaintiff’s breach of contract claim is a core proceeding.

 Defendant further denies that a turnover proceeding under 11 U.S.C. § 542(b) is the appropriate

 mechanism to collect a contested debt. Defendant admits that a turnover proceeding under 11

 U.S.C. § 542(b) is a statutorily core proceeding but denies that it is constitutionally core under

 Stern v. Marshall. Defendant does not consent to the Bankruptcy Court entering final orders or



 1
      The headings herein are from Plaintiff’s Complaint and are solely included for the Court’s convenience.

 HCMS’ FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                                            PAGE 2
                                                                                                         Appx. 00396
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 judgment in this Adversary Proceeding. Defendant denies any allegations in Paragraph 5 that are

 not expressly admitted.

        6.      Paragraph 6 states a legal conclusion to which no response is required. To the extent

 a response is required, Defendant admits that venue is proper in this District.

                                          THE PARTIES

        7.      Defendant admits the allegations in Paragraph 7 of the Complaint.

        8.      Defendant admits the allegations in Paragraph 8 of the Complaint.

                                      CASE BACKGROUND

        9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

        10.     Defendant admits the allegations in Paragraph 10 of the Complaint.

        11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

        12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

                                    STATEMENT OF FACTS

 A.     The HCMS Demand Notes

        13.     Defendant admits it has executed at least one promissory note under which the

 Debtor is the payee. Defendant denies any allegations in Paragraph 13 that are not expressly

 admitted.

        14.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 1. Defendant denies any allegations in Paragraph 14 that are not expressly admitted.

        15.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 2. Defendant denies any allegations in Paragraph 15 that are not expressly admitted.

        16.     Defendant denies that it signed the document attached to the Complaint as Exhibit

 3. Defendant denies any allegations in Paragraph 16 that are not expressly admitted.



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        17.     Defendant denies that it signed the document attached to the Complaint as Exhibit

 4. Defendant denies any allegations in Paragraph 17 that are not expressly admitted.

        18.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibits 1-4 to

 the Complaint in Paragraph 18.

        19.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibits 1-4 to

 the Complaint in Paragraph 19.

        20.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibits 1-4 of

 the Complaint in Paragraph 20.

 B.     Allegations regarding the Demand Notes

        21.     Defendant admits that Plaintiff sent it a copy of Exhibit 5. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of Paragraph 21.

 Defendant denies any allegations in Paragraph 21 that are not expressly admitted.

        22.     To the extent Paragraph 22 asserts a legal conclusion, no response is required, and

 it is denied. Defendant otherwise admits the allegations in Paragraph 22.

        23.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 23 and, therefore, denies them.

        24.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 24 and, therefore, denies them.

        25.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 25 and, therefore, denies them.

        26.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 26 and, therefore, denies them.




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        27.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in the first sentence of Paragraph 27 and, therefore, denies them. Defendant denies the

 allegations in the second sentence of Paragraph 27 of the Complaint.

 C.     The HCMS Term Note

        28.     Defendant admits that it has executed at least one promissory note under which

 Debtor is the payee. Defendant denies any allegations in Paragraph 28 that are not expressly

 admitted.

        29.     Defendant admits it signed the document attached to the Complaint as Exhibit 6.

 Defendant denies any allegations in Paragraph 29 that are not expressly admitted.

        30.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibit 6 to the

 Complaint in Paragraph 30. Defendant denies any allegations in Paragraph 30 that are not

 expressly admitted.

        31.     Defendant admits that Plaintiff correctly transcribed Section 3 of Exhibit 6 to the

 Complaint in Paragraph 31. Defendant denies any allegations in Paragraph 31 that are not

 expressly admitted.

        32.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibit 6 to the

 Complaint in Paragraph 32. Defendant denies any allegations in Paragraph 32 that are not

 expressly admitted.

        33.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibit 6 to the

 Complaint in Paragraph 33. Defendant denies any allegations in Paragraph 33 that are not

 expressly admitted.

 D.     Allegations regarding the Term Note.

        34.     To the extent Paragraph 34 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise denies Paragraph 34 of the Complaint.

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        35.     Defendant admits that Plaintiff sent it a copy of Exhibit 7. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of Paragraph 35 of the

 Complaint. Defendant denies any allegations in Paragraph 35 that are not expressly admitted.

        36.     Defendant is without sufficient information or knowledge to admit or deny the

 allegations in Paragraph 36 of the Complaint and, therefore, denies them.

        37.     Defendant denies Paragraph 37 of the Complaint.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        38.     Paragraph 38 of the Complaint seeks to incorporate the allegations in the preceding

 paragraphs and does not require a response. Defendant incorporates all prior denials herein by

 reference.

        39.     Paragraph 39 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        40.     Paragraph 40 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        41.     Paragraph 41 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        42.     Paragraph 42 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        43.     Defendant denies Paragraph 43 of the Complaint.


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         44.     Defendant denies Paragraph 44 of the Complaint.

                               SECOND CLAIM FOR RELIEF
                       (Turnover by HCMS Pursuant to 11 U.S.C. § 549(b))

         45.     Paragraph 45 seeks to incorporate the allegations in the preceding paragraphs and

 does not require a response. Defendant incorporates all prior denials herein by reference.

         46.     Paragraph 46 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         47.     Paragraph 47 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         48.     Paragraph 48 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         49.     Defendant admits that Plaintiff transmitted Exhibits 5 and 7 to the Complaint.

 Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

 in Paragraph 49 of the Complaint and, therefore, denies them.

         50.     Defendant lacks sufficient information or knowledge to admit or deny the

 remaining allegations in Paragraph 50 of the Complaint and, therefore, denies them.

         51.     Defendant denies Paragraph 51 of the Complaint.

         52.     Defendant denies that Plaintiff is entitled to the relief requested in the prayer of the

 Complaint, including parts (i), (ii), and (iii).




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                                   AFFIRMATIVE DEFENSES

        53.     Plaintiff’s claims are barred in whole or in part by the doctrine of justification

 and/or repudiation.

        54.     Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

        55.     Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

        56.     Plaintiff’s claims are barred in whole or in part because prior to the demands for

 payment Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

 subsequent. Specifically, sometime between December of the year in which each note was made

 and February of the following year, Nancy Dondero, as representative for a majority of the Class

 A shareholders of Plaintiff agreed with Mr. James Dondero, acting for Defendant, that Plaintiff

 would forgive the Notes if certain portfolio companies were sold for greater than cost or on a basis

 outside of Mr. Dondero’s control. This agreement setting forth the conditions subsequent to

 demands for payment on the Notes was an oral agreement; however, Defendant believes there may

 be testimony or email correspondence that discusses the existence of this agreement that may be

 uncovered through discovery in this Adversary Proceeding.

        57.     HCMS further asserts that each Note is ambiguous as a whole based on the

 signatory and/or references to unspecified related agreements.

                                         JURY DEMAND

        58.     HCMS demands a trial by jury of all issues so triable under Federal Rule of Civil

 Procedure 38 and Federal Rule of Bankruptcy Procedure 9015.

        59.     HCMS does not consent to the Bankruptcy Court conducting a jury trial and

 therefore demands such jury trial in the District Court.




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                                              PRAYER

         For these reasons, HCMS respectfully requests that, following a trial on the merits, the

 Court deny the relief Plaintiffs seeks through its Complaint, enter a judgment that the Plaintiff take

 nothing on the Complaint, and grant HCMS such other relief at law or in equity to which it may

 be entitled.

                                               Respectfully submitted,


                                                /s/ Lauren K. Drawhorn
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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2021, a true and correct copy of the foregoing pleading
 was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
 requesting or consenting to such service in this adversary case.

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                                             /s/ Lauren K. Drawhorn
                                                 Lauren K. Drawhorn




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                                EXHIBIT 13




                                                                          Appx. 00405
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   MANAGEMENT FUND ADVISORS, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

   In re                                            §
                                                    §
                                                                         Chapter 11
   HIGHLAND CAPITAL MANAGEMENT,                     §
   L.P.,                                            §
                                                                Case No. 19-34054-sgj11
                                                    §
            Debtor.                                 §
                                                    §
   HIGHLAND CAPITAL MANAGEMENT,                     §
   L.P.,                                            §
                                                    §
            Plaintiff,                              §
                                                    §
                                                                      Adv. No. 21-03004
   v.                                               §
                                                    §
   HIGHLAND CAPITAL MANAGEMENT                      §
   FUND ADVISORS, L.P.                              §
                                                    §
            Defendant.                              §

                             DEFENDANT’S AMENDED ANSWER

           COMES NOW Highland Capital Management Fund Advisors, L.P. (the “Defendant”), the

  defendant in the above-styled and numbered adversary proceeding (the “Adversary Proceeding”)

  filed by Highland Capital Management, L.P. (the “Plaintiff”), and files this its Defendant’s

  Amended Answer (the “Answer”), responding to the Complaint for (I) Breach of Contract and (II)

  Turnover of Property of the Debtor’s Estate (the “Complaint”). Where an allegation in the

  Complaint is not expressly admitted in this Answer, it is denied.

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                                   PRELIMINARY STATEMENT

            1.   The first sentence of ¶ 1 sets forth the Plaintiff’s objective in bringing the Complaint

  and does not require a response. To the extent it contains factual allegations, they are denied. The

  second sentence contains a legal conclusion that does not require a response. To the extent it

  contains factual allegations, they are denied.

            2.   Paragraph 2 contains a summary of the relief the Plaintiff seeks and does not require

  a response. To the extent it contains factual allegations, they are denied.

                                   JURISDICTION AND VENUE

            3.   The Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

  bankruptcy case but denies any implication that this fact confers Constitutional authority on the

  Bankruptcy Case to adjudicate this dispute. Any allegations in ¶ 3 not expressly admitted are

  denied.

            4.   The Defendant admits that the Court has statutory (but not Constitutional)

  jurisdiction to hear this Adversary Proceeding. Any allegations in ¶ 4 not expressly admitted are

  denied.

            5.   The Defendant denies that a breach of contract claim is core. The Defendant denies

  that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested debt. The

  Defendant admits that a § 542(b) turnover proceeding is statutorily core but denies that it is

  Constitutionally core under Stern v. Marshall. The Defendant does not consent to the Bankruptcy

  Court entering final orders or judgment in this Adversary Proceeding. Any allegations in ¶ 5 not

  expressly admitted are denied.

            6.   The Defendant admits ¶ 6 of the Complaint.

                                            THE PARTIES

            7.   The Defendant admits ¶ 7 of the Complaint.


  DEFENDANT’S AMENDED ANSWER                                                                  Page 2 of 9
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         8.      The Defendant admits ¶ 8 of the Complaint.

                                       CASE BACKGROUND

         9.      The Defendant admits ¶ 9 of the Complaint.

         10.     The Defendant admits ¶ 10 of the Complaint.

         11.     The Defendant admits ¶ 11 of the Complaint.

         12.     The Defendant admits ¶ 12 of the Complaint.

                                      STATEMENT OF FACTS

  A.     The HCMFA Notes

         13.     The Defendant admits that it has executed at least one promissory note under which

  the Debtor is the payee. Any allegations in ¶ 13 not expressly admitted are denied.

         14.     The Defendant denies ¶ 14 of the Complaint.

         15.     The Defendant denies ¶ 15 of the Complaint.

         16.     The Defendant denies ¶ 16 of the Complaint. The document speaks for itself and

  the quote set forth in ¶ 16 is not verbatim.

         17.     The Defendant denies ¶ 17 of the Complaint. The document speaks for itself and

  the quote set forth in ¶ 17 is not verbatim.

         18.     The Defendant admits ¶ 18 of the Complaint.

  B.     HCMFA’s Default under Each Note

         19.     The Defendant admits that Exhibit 3 to the Complaint (the “Demand Letter”) is a

  true and correct copy of what it purports to be and that the document speaks for itself. To the

  extent ¶ 19 of the Complaint asserts a legal conclusion, no response is required, and it is denied.

  To the extent not expressly admitted, ¶ 19 of the Complaint is denied.

         20.     To the extent ¶ 20 of the Complaint asserts a legal conclusion, no response is

  necessary, and it is denied. The Defendant otherwise admits ¶ 20 of the Complaint.


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         21.     The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 21 of the Complaint and therefore denies the same.

         22.     The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 22 of the Complaint and therefore denies the same.

         23.     The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 23 of the Complaint and therefore denies the same.

         24.     The Defendant denies ¶ 24 of the Complaint.

                                   FIRST CLAIM FOR RELIEF
                                     (For Breach of Contract)

         25.     Paragraph 25 of the Complaint is a sentence of incorporation that does not require

  a response. All prior denials are incorporated herein by reference.

         26.     Paragraph 26 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 26 of the

  Complaint.

         27.     Paragraph 27 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 27 of the

  Complaint.

         28.     Paragraph 28 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 28 of the

  Complaint.

         29.     The Defendant denies ¶ 29 of the Complaint.

                               SECOND CLAIM FOR RELIEF
                     (Turnover by HCMFA Pursuant to 11 U.S.C. § 542(b))

         30.     Paragraph 30 of the Complaint is a sentence of incorporation that does not require

  a response. All prior denials are incorporated herein by reference.


  DEFENDANT’S AMENDED ANSWER                                                             Page 4 of 9
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          31.      Paragraph 31 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 31 of the

  Complaint.

          32.      Paragraph 32 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 32 of the

  Complaint.

          33.      The Defendant denies ¶ 33 of the Complaint.

          34.      Paragraph 34 of the Complaint states a legal conclusion that does not require a

  response. The Defendant admits that the Plaintiff transmitted the Demand Letter. To the extent ¶

  34 alleges other facts, the Defendant lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in ¶ 34 of the Complaint and therefore denies the same.

          35.      The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 35 of the Complaint and therefore denies the same.

          36.      Paragraph 36 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant denies the allegations in ¶ 36 of the

  Complaint.

          37.      The Defendant denies that the Plaintiff is entitled to the relief requested in the

  prayer, including parts (i), (ii), and (iii).

                                       AFFIRMATIVE DEFENSES

          38.      At all material times to the Complaint, the Defendant, a registered advisor, advised

  various third-party funds as to their investments. One such fund was Highland Global Allocation

  Fund (“HGAF”).

          39.      At all material times to the Complaint, the Defendant contracted with the Plaintiff

  whereby the Plaintiff, through its employees, would provide certain services to the Defendant,

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  including with respect to the Defendant’s advice to the third-party funds. These services so

  provided included accounting, legal, regulatory, valuation, and compliance services.

         40.     In March, 2018, HGAF sold equity interests it held in TerreStar. As part of this, it

  was necessary to calculate the “net asset value” (“NAV”) of these securities and of HGAF assets.

  The Defendant was responsible for advising on the NAV. In turn, pursuant to the Shared Services

  Agreement in effect at that time between the Plaintiff and the Defendant, the Plaintiff was

  responsible to the Defendant to calculate the NAV, and the Plaintiff had several employees charged

  with these and similar calculations as part of the Plaintiff’s routine business services and as part

  of what the Plaintiff regularly provided to the Defendant and affiliated companies.

         41.     The Plaintff made a mistake in calculating the NAV (the “NAV Error”). The NAV

  Error was discovered in early 2019 as HGAF was being converted from an open-ended fund to a

  closed-ended fund. The Securities and Exchange Commission opened an investigation, and

  various employees and representatives of the Plaintiff, the Defendant, and HGAF worked with the

  SEC to correct the error and to compensate HGAF and the various investors in HGAF harmed by

  the NAV Error. Ultimately, and working with the SEC, the Plantiff determined that the losses

  from the NAV Error to HGAF and its shareholders amounted to $7.5 million: (i) $6.1 million for

  the NAV Error itself, as well as rebating related advisor fees and processing costs; and (ii) $1.4

  million of losses to the shareholders of HGAF.

         42.     The Defendant accepted responsibility for the NAV Error and paid out $5,186,496

  on February 15, 2019 and $2,398,842 on May 21, 2019.               In turn, the Plaintiff accepted

  responsibility to the Defendant for having caused the NAV Error, and the Plaintiff ultimately,

  whether through insurance or its own funds, compensated the Defendant for the above payments

  by paying, or causing to be paid, approximately $7.5 million to the Defendant directly or indirectly

  to HGAF and its investors.

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         43.     At this time, Frank Waterhouse (“Waterhouse”) was the Chief Financial Officer to

  both the Plaintiff and the Defendant. Waterhouse signed the two promissory notes the subject of

  the Complaint (the “Notes”). He did not sign the Notes in any representative capacity for the

  Defendant. The Defendant did not authorize Waterhouse to sign the Notes or to bind the Defendant

  in any way to the Note.

         44.     Waterhouse made a mistake in preparing and signing the Notes for the Defendant.

  Upon information and belief, Waterhouse was not aware that payments from the Plaintiff to the

  Defendant were to compensate the Defendant for the NAV Error and resulting damages, instead

  assuming that the Notes were like prior notes between the Plaintiff and the Defendant. Waterhouse

  failed to properly inquire into the underlying transaction and, either for unknown accounting or

  other purposes, Waterhouse prepared and signed the Notes on his own, without proper knowledge

  of the underlying facts and without actual authority from either the Plaintiff or the Defendant.

         45.     In sum, neither the Plaintiff nor the Defendant intended that any funds paid by the

  Plaintiff to the Defendant be treated as debt but that they instead be treated as compensation by

  the Plaintiff to the Defendant for the NAV Error that the Plaintiff caused. The Notes are an

  unauthorized mistake and a nullity, and are void for a lack of consideration.

         46.     To the extent Waterhouse had apparent authority to bind the Defendant to the

  Notes, such apparently authority does not apply to the Notes because Waterhouse’s lack of actual

  authority is imputed to the Plaintiff, as Waterhouse was the CFO for the Plaintiff.

         47.     Accordingly, the Notes are void or unenforceable for lack of consideration, for

  mutual mistake, and for the lack of authority from the Defendant to Waterhouse to execute the

  same for the Defendant.




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                                          JURY DEMAND

         48.     The Defendant demands a trial by jury of all issues so triable pursuant to Rule 38

  of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of Bankruptcy

  Procedure.

         49.     The Defendant does not consent to the Bankruptcy Court conducting a jury trial

  and therefore demands a jury trial in the District Court.

                                               PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully request that,

  following a trial on the merits, the Court enter a judgment that the Plaintiff take noting on the

  Complaint and provide the Defendant such other relief to which it is entitled.

         RESPECTFULLY SUBMITTED this 6th day of July, 2021.

                                                        MUNSCH HARDT KOPF & HARR, P.C.

                                                        By: /s/ Davor Rukavina
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                                                        MANAGEMENT FUND ADVISORS,
                                                        L.P.




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                                    CERTIFICATE OF SERVICE

           The undersigned hereby certifies that, on this the 6th day of July, 2021, true and correct
   copies of this document were electronically served by the Court’s ECF system on parties entitled
   to notice thereof, including on counsel for the plaintiff.

                                                       By: /s/ Davor Rukavina
                                                          Davor Rukavina, Esq.




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                                EXHIBIT 14




                                                                          Appx. 00415
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  COUNSEL FOR NEXPOINT ADVISORS, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

   In re                                             §
                                                     §
                                                                       Chapter 11
   HIGHLAND CAPITAL MANAGEMENT,                      §
   L.P.,                                             §
                                                                 Case No. 19-34054-sgj11
                                                     §
            Debtor.                                  §
                                                     §
   HIGHLAND CAPITAL MANAGEMENT,                      §
   L.P.,                                             §
                                                     §
            Plaintiff,                               §
                                                     §              Adv. No. 21-03005
   v.                                                §
                                                     §
   NEXPOINT ADVISORS, L.P.                           §
                                                     §
            Defendant.                               §

                           DEFENDANT’S FIRST AMENDED ANSWER

           COMES NOW NexPoint Advisors, L.P. (the “Defendant”), the defendant in the above-

  styled and numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland

  Capital Management, L.P. (the “Plaintiff”), and files this its Defendant’s First Amended Answer

  (the “Answer”), responding to the Complaint for (I) Breach of Contract and (II) Turnover of

  Property of the Debtor’s Estate (the “Complaint”). Where an allegation in the Complaint is not

  expressly admitted in this Answer, it is denied.


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                                   PRELIMINARY STATEMENT

            1.   The first sentence of ¶ 1 sets forth the Plaintiff’s objective in bringing the Complaint

  and does not require a response. To the extent it contains factual allegations, they are denied. The

  second sentence contains a legal conclusion that does not require a response. To the extent it

  contains factual allegations, they are denied.

            2.   Paragraph 2 contains a summary of the relief the Plaintiff seeks and does not require

  a response. To the extent it contains factual allegations, they are denied.

                                   JURISDICTION AND VENUE

            3.   The Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

  bankruptcy case but denies any implication that this fact confers Constitutional authority on the

  Bankruptcy Case to adjudicate this dispute. Any allegations in ¶ 3 not expressly admitted are

  denied.

            4.   The Defendant admits that the Court has statutory (but not Constitutional)

  jurisdiction to hear this Adversary Proceeding. Any allegations in ¶ 4 not expressly admitted are

  denied.

            5.   The Defendant denies that a breach of contract claim is core. The Defendant denies

  that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested debt. The

  Defendant admits that a § 542(b) turnover proceeding is statutorily core but denies that it is

  Constitutionally core under Stern v. Marshall. The Defendant does not consent to the Bankruptcy

  Court entering final orders or judgment in this Adversary Proceeding. Any allegations in ¶ 5 not

  expressly admitted are denied.

            6.   The Defendant admits ¶ 6 of the Complaint.

                                            THE PARTIES

            7.   The Defendant admits ¶ 7 of the Complaint.


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         8.      The Defendant admits ¶ 8 of the Complaint.

                                       CASE BACKGROUND

         9.      The Defendant admits ¶ 9 of the Complaint.

         10.     The Defendant admits ¶ 10 of the Complaint.

         11.     The Defendant admits ¶ 11 of the Complaint.

         12.     The Defendant admits ¶ 12 of the Complaint.

                                      STATEMENT OF FACTS

  A.     The NPA Notes

         13.     The Defendant admits that it has executed at least one promissory note under which

  the Debtor is the payee. Any allegations in ¶ 13 not expressly admitted are denied.

         14.     The Defendant admits ¶ 14 of the Complaint.

         15.     The Defendant denies ¶ 15 of the Complaint. The document speaks for itself and

  the quote set forth in ¶ 15 is not verbatim.

         16.     The Defendant admits ¶ 16 of the Complaint.

         17.     The Defendant denies ¶ 17 of the Complaint. The document speaks for itself and

  the quote set forth in ¶ 17 is not verbatim.

         18.     The Defendant admits ¶ 18 of the Complaint.

  B.     NPA’s Default under the Note

         19.     The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 19 of the Complaint and therefore denies the same.

         20.     The Defendant admits that Exhibit 2 to the Complaint (the “Demand Letter”) is a

  true and correct copy of what it purports to be and that the document speaks for itself. To the

  extent ¶ 20 of the Complaint asserts a legal conclusion, no response is required, and it is denied.

  To the extent not expressly admitted, ¶ 20 of the Complaint is denied.


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          21.    The Defendant admits that it paid the Debtor $1,406,111.92 on January 14, 2021.

  To the extent not expressly admitted, paragraph 21 of the Complaint is denied.

          22.    The Defendant admits that Exhibit 3 to the Complaint (the “Second Demand

  Letter”) is a true and correct copy of what it purports to be and that the document speaks for itself.

  To the extent ¶ 22 of the Complaint asserts a legal conclusion, no response is required, and it is

  denied. To the extent not expressly admitted, ¶ 22 of the Complaint is denied.

          23.    To the extent ¶ 23 of the Complaint asserts a legal conclusion, no response is

  necessary, and it is denied. The Defendant otherwise admits ¶ 23 of the Complaint.

          24.    The Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in ¶ 24 of the Complaint and therefore denies the same.

          25.    The Defendant denies ¶ 25 of the Complaint.

                                    FIRST CLAIM FOR RELIEF
                                      (For Breach of Contract)

          26.    Paragraph 26 of the Complaint is a sentence of incorporation that does not require

  a response. All prior denials are incorporated herein by reference.

          27.    Paragraph 27 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

  to form a belief about the truth of the allegations in ¶ 27 of the Complaint and therefore denies the

  same.

          28.    Paragraph 28 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

  to form a belief about the truth of the allegations in ¶ 28 of the Complaint and therefore denies the

  same.




  DEFENDANT’S FIRST AMENDED ANSWER—Page 4
                                                                                             Appx. 00419
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          29.    Paragraph 29 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

  to form a belief about the truth of the allegations in ¶ 29 of the Complaint and therefore denies the

  same.

          30.    The Defendant denies ¶ 30 of the Complaint.

                                SECOND CLAIM FOR RELIEF
                      (Turnover by HCMFA Pursuant to 11 U.S.C. § 542(b))

          31.    Paragraph 31 of the Complaint is a sentence of incorporation that does not require

  a response. All prior denials are incorporated herein by reference.

          32.    Paragraph 32 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

  to form a belief about the truth of the allegations in ¶ 32 of the Complaint and therefore denies the

  same.

          33.    Paragraph 33 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

  to form a belief about the truth of the allegations in ¶ 33 of the Complaint and therefore denies the

  same.

          34.    The Defendant denies ¶ 34 of the Complaint.

          35.    Paragraph 35 of the Complaint states a legal conclusion that does not require a

  response. The Defendant admits that the Plaintiff transmitted the Demand Letter and the Second

  Demand Letter, and those documents speak for themselves. To the extent ¶ 35 alleges other facts,

  the Defendant lacks knowledge or information sufficient to form a belief about the truth of the

  allegations in ¶ 35 of the Complaint and therefore denies the same.

          36.    The Defendant denies ¶ 36 of the Complaint.



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                                                                                            Appx. 00420
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          37.      Paragraph 37 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

  to form a belief about the truth of the allegations in ¶ 37 of the Complaint and therefore denies the

  same.

          38.      The Defendant denies that the Plaintiff is entitled to the relief requested in the

  prayer, including parts (i), (ii), and (iii).

                                       AFFIRMATIVE DEFENSES

          39.      Pursuant to that certain Shared Services Agreement, the Plaintiff was responsible

  for making payments on behalf of the Defendant under the note. Any alleged default under the

  note was the result of the Plaintiff’s own negligence, misconduct, breach of contract, etc.

          40.      Delay in the performance of a contract is excused when the party who seeks to

  enforce the contract caused the delay. It was therefore inappropriate for the Plaintiff to accelerate

  the note when the brief delay in payment was the Plaintiff’s own fault.

          41.      Furthermore, the Plaintiff was waived the right to accelerate the note and/or the

  Plaintiff is estopped to enforce the alleged acceleration by accepting payment after the same.

          42.      Furthermore, the Plaintiff’s claims are barred in whole or in part because, prior to

  any alleged breach or acceleration, the Plaintiff agreed that it would not collect on the note upon

  fulfilment of certain conditions subsequent. Specifically, sometime between December of the year

  in which each Note was made and February of the following year, Nancy Dondero, as

  representative for a majority of the Class A shareholders of Plaintiff agreed with Mr. James

  Dondero, acting for Defendant, that Plaintiff would forgive the Notes if certain portfolio

  companies were sold for greater than cost or on a basis outside of Mr. Dondero’s control. This

  agreement setting forth the conditions subsequent to demands for payment on the Notes was an

  oral agreement; however, Defendant believes there may be testimony or email correspondence that


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                                                                                            Appx. 00421
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  discusses the existence of this agreement that may be uncovered through discovery in this

  Adversary Proceeding.

                                          JURY DEMAND

         43.     The Defendant demands a trial by jury of all issues so triable pursuant to Rule 38

  of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of Bankruptcy

  Procedure.

         44.     The Defendant does not consent to the Bankruptcy Court conducting a jury trial

  and therefore demands a jury trial in the District Court.

                                               PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully request that,

  following a trial on the merits, the Court enter a judgment that the Plaintiff take nothing on the

  Complaint and provide the Defendant such other relief to which it is entitled.

         RESPECTFULLY SUBMITTED this 9th day of August, 2021.

                                                        MUNSCH HARDT KOPF & HARR, P.C.

                                                        By: /s/ Davor Rukavina
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                                                           Texas Bar No. 24030781
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                                                        COUNSEL FOR NEXPOINT
                                                        ADVISORS, L.P.




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                                    CERTIFICATE OF SERVICE

           The undersigned hereby certifies that, on the 9th day of August, 2021, a true and correct
   copy of this document was served electronically via the Court’s CM/ECF system on the following
   recipients:

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                                                       /s/ Davor Rukavina
                                                          Davor Rukavina, Esq.




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   4819-4723-3518v.2 019717.00001
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                                EXHIBIT 15




                                                                          Appx. 00424
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  Counsel for Defendant NexPoint Advisors, L.P.

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
  In re:                                   §          Case No. 19-34054-SGJ-11
                                           §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §                Chapter 11
                                           §
         Debtor.                           §
                                           §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                           §
         Plaintiff.                        §
                                           §
  v.                                       §
                                           §         Adversary No.: 21-03005-sgj
  NEXPOINT ADVISORS, L.P., JAMES           §
  DONDERO, NANCY DONDERO, AND              §
  DUGABOY INVESTMENT TRUST,                §
                                           §
         Defendants.                       §

                            DEFENDANT NEXPOINT ADVISORS, L.P.’S
                              ANSWER TO AMENDED COMPLAINT

          Defendant NexPoint Advisors, L.P. (“NexPoint”), a defendant in the above-styled and

  numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland Capital

  Management, L.P. (the “Plaintiff”), hereby files this Answer (the “Answer”) responding to the

  Amended Complaint for (I) Breach of Contract and (II) Turnover of Property (III) Fraudulent

  Transfer, and (IV) Breach of Fiduciary Duty [Adv. Dkt. 73] (the “Amended Complaint”). Where

  an allegation in the Amended Complaint is not expressly admitted in this Answer, it is denied.




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                         PAGE 1
                                                                                         Appx. 00425
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                                   PRELIMINARY STATEMENT

            1.   The first sentence of paragraph 1 of the Amended Complaint sets forth the

  Plaintiff’s objective in bringing the Amended Complaint and does not require a response. To the

  extent it contains factual allegations, they are denied. The second sentence contains a legal

  conclusion that does not require a response. To the extent it contains factual allegations, they are

  denied.

            2.   Defendant NexPoint admits that NPA’s First Amended Answer speaks for itself.

  To the extent paragraph 2 contradicts the First Amended Answer, it is denied.

            3.   Defendant NexPoint denies the allegations in paragraph 3 of the Amended

  Complaint.

            4.   Paragraph 4 of the Amended Complaint sets forth the Plaintiff’s objective in

  bringing the Amended Complaint and does not require a response. To the extent it contains factual

  allegations, they are denied.

            5.   Paragraph 5 of the Amended Complaint contains a summary of the relief the Plaintiff

  seeks and does not require a response. To the extent it contains factual allegations, they are

  denied.

                                   JURISDICTION AND VENUE

            6.   Defendant NexPoint admits that this Adversary Proceeding relates to the

  Plaintiff’s bankruptcy case but denies any implication that this fact confers Constitutional

  authority on the Bankruptcy Court to adjudicate this dispute. Any allegations in paragraph 6 not

  expressly admitted are denied.

            7.   Defendant NexPoint admits that the Court has statutory (but not Constitutional)

  jurisdiction to hear this Adversary Proceeding. Any allegations in paragraph 7 not expressly

  admitted are denied.

  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                             PAGE 2
                                                                                             Appx. 00426
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             8.    Defendant NexPoint denies the allegations contained in paragraph 8 of the

  Amended Complaint. Defendant NexPoint does not consent to any trial before, or final order

  entered by, the Bankruptcy Court. Defendant NexPoint demands a trial by jury of all issues so

  triable.

             9.    Defendant NexPoint admits the allegations in paragraph 9 of the Amended

  Complaint.

                                          THE PARTIES

             10.   Defendant NexPoint admits the allegations in paragraph 10 of the Amended

  Complaint.

             11.   Defendant NexPoint admits the allegations in paragraph 11 of the Amended

  Complaint.

             12.   Defendant NexPoint admits the allegations in paragraph 12 of the Amended

  Complaint.

             13.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 13 of the Amended Complaint and therefore denies

  the same.

             14.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 14 of the Amended Complaint and therefore denies

  the same.

                                      CASE BACKGROUND

             15.   Defendant NexPoint admits the allegations in paragraph 15 of the Amended

  Complaint.

             16.   Defendant NexPoint admits the allegations in paragraph 16 of the Amended

  Complaint.

  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                        PAGE 3
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         17.     Defendant NexPoint admits the allegations in paragraph 17 of the Amended

  Complaint.

         18.     Defendant NexPoint admits the allegations in paragraph 18 of the Amended

  Complaint.

         19.     Defendant NexPoint admits the allegations in paragraph 19 of the Amended

  Complaint.

                                     STATEMENT OF FACTS

         20.     Defendant NexPoint admits that it has executed at least one promissory note under

  which the Debtor is a payee. Any allegations in paragraph 20 note expressly admitted are denied.

         21.     Defendant NexPoint admits the allegations in paragraph 21 of the Amended

  Complaint.

         22.     Defendant NexPoint denies paragraph 22 of the Complaint. The document speaks

  for itself and the quote set forth in paragraph 22 is not verbatim.

         23.     Defendant NexPoint admits the allegations in paragraph 23 of the Amended

  Complaint.

         24.     Defendant NexPoint denies paragraph 24 of the Complaint. The document speaks

  for itself and the quote set forth in paragraph 24 is not verbatim.

         25.     Defendant NexPoint admits the allegations in paragraph 25 of the Amended

  Complaint.

         26.     Defendant NexPoint admits that it did not make a payment under the Note on

  December 31, 2020. Defendant NexPoint denies that any payment was due under the Note on

  December 31, 2020. To the extent not expressly admitted, paragraph 26 of the Amended

  Complaint is denied.




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                         PAGE 4
                                                                                         Appx. 00428
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             27.   Defendant NexPoint admits that Exhibit 2 to the Amended Complaint (the

   “Demand Letter”) is a true and correct copy of what it purports to be and that the document

   speaks for itself. To the extent paragraph 27 of the Amended Complaint asserts a legal

   conclusion, no response is required, and it is denied. To the extent not expressly admitted,

   paragraph 27 of the Amended Complaint is denied.

             28.   Defendant NexPoint admits that it paid the Debtor $1,406,111.92 on January 14,

   2021, but denies that any payment was due on December 31, 2020 or that this was an attempt to

   cure a default. To the extent not expressly admitted, paragraph 28 of the Amended Complaint is

   denied.

             29.   Defendant NexPoint admits that Exhibit 3 to the Amended Complaint (the

   “Second Demand Letter”) is a true and correct copy of what it purports to be and that the

   document speaks for itself. To the extent paragraph 29 of the Amended Complaint asserts a legal

   conclusion, no response is required, and it is denied. To the extent not expressly admitted,

   paragraph 29 of the Amended Complaint is denied.

             30.   To the extent paragraph 30 of the Amended Complaint asserts a legal conclusion,

   no response is necessary, and it is denied. The Defendant otherwise admits paragraph 30 of the

   Amended Complaint.

             31.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

   about the truth of the allegations in paragraph 31 of the Amended Complaint and therefore denies

   the same.

             32.   Defendant NexPoint denies the allegations in paragraph 32 of the Amended

   Complaint.

             33.   Defendant NexPoint admits that the Debtor filed the Original Complaint in this

   action on January 22, 2021, as alleged in the first sentence of paragraph 33 of the Amended

   DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                         PAGE 5
                                                                                         Appx. 00429
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   Complaint. Defendant NexPoint denies it is liable for the relief requested in the Original

   Complaint. To the extent not expressly admitted, paragraph 33 of the Amended Complaint is

   denied.

             34.   Defendant NexPoint admits the allegations in paragraph 34 of the Amended

   Complaint.

             35.   Defendant NexPoint admits the allegations in paragraph 35 of the Amended

   Complaint.

             36.   Defendant NexPoint admits that NexPoint’s First Amended Answer speaks for

   itself. To the extent paragraph 36 contradicts the First Amended Answer, it is denied.

             37.   Defendant NexPoint admits that NexPoint’s First Amended Answer speaks for

   itself. To the extent paragraph 37 contradicts the First Amended Answer, it is denied.

             38.   Paragraph 38 of the Amended Complaint asserts a legal conclusion to which no

   answer is required. To the extent of any factual allegation, Defendant NexPoint admits that Mr.

   Dondero controlled NPA and denies that he controlled the Debtor at the time of the Alleged

   Agreement.

             39.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

   about the truth of the allegations in paragraph 39 of the Amended Complaint and therefore denies

   the same.

             40.   Defendant NexPoint denies the allegations in paragraph 40 of the Amended

   Complaint.

             41.   Defendant NexPoint admits that Exhibit 4 to the Amended Complaint is a true and

   correct copy of what it purports to be and that the document speaks for itself. To the extent

   paragraph 41 of the Amended Complaint asserts a legal conclusion, no response is required, and




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                                                                                            Appx. 00430
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   it is denied. To the extent not expressly admitted, paragraph 41 of the Amended Complaint is

   denied.

             42.   Paragraph 42 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             43.   Paragraph 43 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

                                    FIRST CLAIM FOR RELIEF
                                         (against NexPoint)
                                      (for Breach of Contract)

             44.   Paragraph 44 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

             45.   Paragraph 45 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied. To the extent of any factual allegation, it is denied.

             46.   Paragraph 46 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied. To the extent of any factual allegation, it is denied.

             47.   Paragraph 47 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied. To the extent of any factual allegation, it is denied.

             48.   Paragraph 48 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                                SECOND CLAIM FOR RELIEF
                                       (against NexPoint)
                       (Turnover by NexPoint Pursuant to 11 U.S.C. § 542(b))

             49.   Paragraph 49 of the Amended Complaint is a sentence of incorporation that does

   not require a response and is therefore denied. All prior responses are incorporated herein by

   reference.




   DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                            PAGE 7
                                                                                             Appx. 00431
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         50.      Paragraph 50 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         51.      Paragraph 51 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         52.      Paragraph 52 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         53.      Paragraph 53 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.        Defendant NexPoint admits that the Plaintiff

  transmitted the Demand Letter and the Second Demand Letter, and those documents speak for

  themselves. 

         54.      Paragraph 54 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         55.      Paragraph 55 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                              THIRD CLAIM FOR RELIEF
                                   (Against NexPoint)
   (Avoidance and Recovery of Actual Fraudulent Transfer under 11 U.S.C. §§ 548(a)(1)(A)
                                        and 550)

         56.      Paragraph 56 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

         57.      Paragraph 57 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

         58.      Paragraph 58 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.




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         59.     Paragraph 59 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         60.     Paragraph 60 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         61.     Paragraph 61 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                             FOURTH CLAIM FOR RELIEF
                                   (Against NexPoint)
    (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 544(b) and
                       550, and Tex. Bus. & C. Code § 24.005(a)(1))

         62.     Paragraph 62 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

         63.     Paragraph 63 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

         64.     Paragraph 64 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         65.     Paragraph 65 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         66.     Paragraph 66 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                                 FIFTH CLAIM FOR RELIEF
                   (Against Dugaboy Investment Trust and Nancy Dondero)
            (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

         67.     Paragraph 67 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.




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          68.     This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

          69.     This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

          70.     Paragraph 70 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

                                 SIXTH CLAIM FOR RELIEF
                     (Against Dugaboy Investment Trust and Nancy Dondero)
                                   (Breach of Fiduciary Duty)

          71.     Paragraph 71 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

          72.     This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

          73.     This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

          74.     This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

                                SEVENTH CLAIM FOR RELIEF
                           (Against James Dondero and Nancy Dondero)
                         (Aiding and Abetting a Breach of Fiduciary Duty)

          75.     Paragraph 75 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

          76.     This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

          77.     This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

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           78.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

           79.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

           Defendant NexPoint denies that the Plaintiff is entitled to the relief requested in the

   prayer, including as to parts (i), (ii), (iii), (iv), (v), (vi), (vii) and (iii) [sic].

                                         AFFIRMATIVE DEFENSES

           80.      Pursuant to that certain Shared Services Agreement, the Plaintiff was responsible

   for making payments on behalf of the Defendant under the note. Any alleged default under the

   note was the result of the Plaintiff’s own negligence, misconduct, breach of contract, etc.

           81.      Delay in the performance of a contract is excused when the party who seeks to

   enforce the contract caused the delay. It was therefore inappropriate for the Plaintiff to accelerate

   the note when the brief delay in payment was the Plaintiff’s own fault.

           82.      Furthermore, the Plaintiff has waived the right to accelerate the note and /or the

   Plaintiff is estopped to enforce the alleged acceleration by accepting payment after the same.

           83.      Furthermore, the Plaintiff’s claims are barred in whole or in part because, prior to

   any alleged breach or acceleration, the Plaintiff agreed that it would not collect on the note upon

   fulfilment of certain conditions subsequent. Specifically, sometime between December of the

   year in which each Note was made and February of the following year, Defendant Nancy

   Dondero, as representative for a majority of the Class A shareholders of Plaintiff agreed that

   Plaintiff would forgive the Notes if certain portfolio companies were sold for greater than cost or

   on a basis outside of Defendant James Dondero’s control. This agreement setting forth the

   conditions subsequent to demands for payment on the Notes was an oral agreement; however,

   Defendant NexPoint believes there may be testimony or email correspondence thatdiscusses the

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  existence of this agreement that may be uncovered through discovery in this Adversary

  Proceeding.

         84.     Defendant NexPoint asserts that any fraudulent transfer claim is barred because

  NexPoint acted in good faith, without knowledge of any alleged avoidability, and because

  reasonably equivalent value was provided for any alleged transfer or obligation.

         85.     Defendant NexPoint asserts that any fraudulent transfer claim is barred because

  no transferor or transferee, or obligor or obligee, was insolvent.

         86.     To the extent of any avoidance, NexPoint asserts a lien under 11 U.S.C. § 548(c)

  to the extent that NexPoint gave value, and a similar preference lien under any applicable

  provision of the Texas Uniform Fraudulent Transfer Act.

                                           JURY DEMAND

         87.     Defendant NexPoint demands a trial by jury of all issues so triable pursuant to

  Rule 38 of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of

  Bankruptcy Procedure.

         88.     Defendant NexPoint does not consent to the Bankruptcy Court conducting a jury

  trial and therefore demands a jury trial in the District Court.

                                               PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendant NexPoint respectfully requests

  that, following a trial on the merits, the Court enter a judgment that the Plaintiff take nothing on

  the Amended Complaint and provide Defendant NexPoint such other relief to which it is entitled.




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            RESPECTFULLY SUBMITTED this 1st day of September, 2021.

                                              MUNSCH HARDT KOPF & HARR, P.C.
                                              
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                                                    Email: drukavina@munsch.com

                                              COUNSEL FOR NEXPOINT ADVISORS, L.P.




                                     CERTIFICATE OF SERVICE
   
           The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of
   this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                      /s/ Davor Rukavina
                                                      Davor Rukavina




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                                                                                        Appx. 00437
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                                EXHIBIT 16




                                                                          Appx. 00438
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  Counsel for Defendant Highland Capital
  Management Services, Inc.

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
  In re:                                  §         Case No. 19-34054-SGJ-11
                                          §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                          §
         Debtor.                          §
                                          §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                          §
         Plaintiff.                       §
                                          §
  v.                                      §
                                          §        Adversary No.: 21-03006-sgj
  HIGHLAND CAPITAL MANAGEMENT             §
  SERVICES, INC., JAMES DONDERO,          §
  NANCY DONDERO, AND THE DUGABOY          §
  INVESTMENT TRUST,                       §
                                          §
         Defendants.                      §

          DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
                      ANSWER TO AMENDED COMPLAINT

           Defendant Highland Capital Management Services, Inc. ("HCMS"), defendant in the

  above-styled and numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland

  Capital Management, L.P. (the “Plaintiff”), hereby files this Answer (the “Answer”) responding

  to the Amended Complaint for (I) Breach of Contract and (II) Turnover of Property (III)

  Fraudulent Transfer, and (IV) Breach of Fiduciary Duty [Adv. Dkt. 68] (the “Amended



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  Complaint”). Where an allegation in the Amended Complaint is not expressly admitted in this

  Amended Answer, it is denied.

            In filing this Answer, Defendant HCMS does not waive any rights to compel arbitration,

  as set forth in Defendants’ Motion to Compel Arbitration [Adv. Dkt. 70], filed on September 1,

  2021.1

                                         PRELIMINARY STATEMENT

            1.      The first sentence of paragraph 1 of the Amended Complaint sets forth the

  Plaintiff’s objective in bringing the Amended Complaint and does not require a response. To the

  extent it contains factual allegations, they are denied. The second sentence contains a legal

  conclusion that does not require a response. To the extent it contains factual allegations, they are

  denied.

            2.      Defendant HCMS admits that HCMS' First Amended Answer speaks for itself. To

  the extent paragraph 2 contradicts the First Amended Answer, it is denied.

            3.      Defendant HCMS denies the allegations in paragraph 3 of the Amended Complaint.

            4.      Paragraph 4 of the Amended Complaint sets forth the Plaintiff’s objective in

  bringing the Amended Complaint and does not require a response. To the extent it contains factual

  allegations, they are denied.

            5.      Paragraph 5 of the Amended Complaint contains a summary of the relief the Plaintiff

  seeks and does not require a response. To the extent it contains factual allegations, they are

  denied.


  1
    Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
  judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
  filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging
  discovery); Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when
  defendant filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty
  Life Ins. Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party
  seeking arbitration did no more than defend itself against the claims made against it).

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                                   JURISDICTION AND VENUE

           6.       Defendant HCMS admits that this Adversary Proceeding relates to the Plaintiff’s

  bankruptcy case but denies any implication that this fact confers Constitutional authority on the

  Bankruptcy Court to adjudicate this dispute. Any allegations in paragraph 6 not expressly

  admitted are denied.

           7.       Defendant HCMS admits that the Court has statutory (but not Constitutional)

  jurisdiction to hear this Adversary Proceeding. Any allegations in paragraph 7 not expressly

  admitted are denied.

           8.       Defendant HCMS denies that a breach of contract claim is core. Defendant HCMS

  denies that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested

  debt. Defendant HCMS admits that a § 542(b) turnover proceeding is statutorily core but denies

  that it is Constitutionally core under Stern v. Marshall. Defendant HCMS does not consent to the

  Bankruptcy Court entering final orders or judgment in this Adversary Proceeding. Any

  allegations in paragraph 8 not expressly admitted are denied.

           9.       Subject to the Defendants' Motion to Compel Arbitration, Defendant HCMS admits

  paragraph 9 of the Amended Complaint.

                                            THE PARTIES

           10.      Defendant HCMS admits the allegations in paragraph 10 of the Amended

  Complaint.

           11.      Defendant HCMS admits the allegations in paragraph 11 of the Amended

  Complaint.

           12.      Defendant HCMS admits that Defendant James Dondero was the President of the

  Debtor’s General Partner, Strand Advisors, Inc. and the Debtor’s CEO until his resignation on



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  January 9, 2020. The third sentence of paragraph 12 asserts a legal conclusion to which no

  response is required. Defendant HCMS denies any remaining allegations contained in paragraph

  12.

           13.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 13 of the Amended Complaint and therefore

  denies the same.

           14.      Defendant HCMS lacks knowledge or information sufficient to form a belief about

  the truth of the allegations in paragraph 14 of the Amended Complaint and therefore denies the

  same.

                                        CASE BACKGROUND

           15.      Defendant HCMS admits the allegations in paragraph 15 of the Amended

  Complaint.

           16.      Defendant HCMS admits the allegations in paragraph 16 of the Amended

  Complaint.

           17.      Defendant HCMS admits the allegations in paragraph 17 of the Amended

  Complaint.

           18.      Defendant HCMS admits the allegations in paragraph 18 of the Amended

  Complaint.

           19.      Defendant HCMS admits the allegations in paragraph 19 of the Amended

  Complaint.




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                                      STATEMENT OF FACTS

           20.      Defendant HCMS admits that it has executed at least one promissory note under

  which the Debtor is a payee. Any allegations in paragraph 20 note expressly admitted are denied.

           21.      Defendant HCMS admits that it signed the document attached to the Complaint

  as Exhibit 1. Defendant HCMS denies any allegations in paragraph 21 that are not expressly

  admitted.

           22.      Defendant HCMS admits that it signed the document attached to the Complaint as

  Exhibit 2. Defendant HCMS denies any allegations in paragraph 22 that are not expressly

  admitted.

           23.      Defendant HCMS denies that it signed the document attached to the Complaint as

  Exhibit 3. Defendant HCMS denies any allegations in paragraph 23 that are not expressly

  admitted.

           24.      Defendant HCMS denies that it signed the document attached to the Complaint as

  Exhibit 4. Defendant HCMS denies any allegations in paragraph 21 that are not expressly

  admitted.

           25.      Defendant HCMS admits that Plaintiff correctly transcribed Section 2 of Exhibits

  1-4 to the Complaint in paragraph 25.

           26.      Defendant HCMS admits that Plaintiff correctly transcribed Section 4 of Exhibits

  1-4 to the Complaint in paragraph 26.

           27.      Defendant HCMS admits that Plaintiff correctly transcribed Section 6 of Exhibits

  1-4 to the Complaint in paragraph 27.

           28.      Defendant HCMS admits that Plaintiff sent it a copy of Exhibit 5. Defendant

  HCMS admits that Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of



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  paragraph 28. Defendant HCMS denies any allegations in paragraph 28 that are not expressly

  admitted.

           29.      To the extent paragraph 29 asserts a legal conclusion, no response is required, and

  it is denied. Defendant HCMS otherwise admits the allegations in paragraph 29.

           30.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 30 of the Amended Complaint and therefore denies

  the same.

           31.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 31 of the Amended Complaint and therefore denies

  the same.

           32.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 32 of the Amended Complaint and therefore denies

  the same.

           33.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 33 of the Amended Complaint and therefore denies

  the same.

           34.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 34 of the Amended Complaint and therefore denies

  the same. Defendant HCMS denies the allegations in the second sentence of paragraph 34 of the

  Amended Complaint.

           35.      Defendant HCMS admits that it has executed at least one promissory note under

  which Debtor is the payee. Defendant HCMS denies any allegations in paragraph 35 that are not

  expressly admitted.



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            36.      Defendant HCMS admits that it signed the document attached to the Amended

   Complaint as Exhibit 6. Defendant HCMS denies any allegations in paragraph 29 that are not

   expressly admitted.

            37.      Defendant HCMS admits that Plaintiff correctly transcribed Section 2 of Exhibit

   6 to the Amended Complaint in paragraph 37. Defendant HCMS denies any allegations in

   paragraph 37 that are not expressly admitted.

            38.      Defendant HCMS admits that Plaintiff correctly transcribed Section 3 of Exhibit

   6 to the Amended Complaint in paragraph 38. Defendant HCMS denies any allegations in

   paragraph 37 that are not expressly admitted.

            39.      Defendant HCMS admits that Plaintiff correctly transcribed Section 4 of Exhibit

   6 to the Amended Complaint in paragraph 39. Defendant HCMS denies any allegations in

   paragraph 37 that are not expressly admitted.

            40.      Defendant HCMS admits that Plaintiff correctly transcribed Section 6 of Exhibit

   6 to the Amended Complaint in paragraph 40. Defendant HCMS denies any allegations in

   paragraph 37 that are not expressly admitted.

            41.      To the extent paragraph 41 of the Amended Complaint asserts a legal conclusion,

   no response is necessary, and it is denied. Defendant HCMS otherwise denies paragraph 41 of

   the Amended Complaint.

            42.      Defendant HCMS admits that Plaintiff sent it a copy of Exhibit 7. Defendant

   HCMS admits that Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of

   paragraph 42 of the Amended Complaint. Defendant HCMS denies any allegations in paragraph

   42 that are not expressly admitted.




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           43.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 43 of the Amended Complaint and therefore denies

  the same.

           44.      Defendant HCMS denies the allegations in paragraph 44 of the Amended

  Complaint.

           45.      Defendant HCMS admits that the Debtor filed the Original Complaint in this

  action on January 22, 2021, as alleged in the first sentence of paragraph 45 of the Amended

  Complaint. Defendant HCMS denies it is liable for the relief requested in the Original Complaint.

  To the extent not expressly admitted, paragraph 45 of the Amended Complaint is denied.

           46.      Defendant HCMS admits the allegations in paragraph 46 of the Amended

  Complaint.

           47.      Defendant HCMS admits the allegations in paragraph 47 of the Amended

  Complaint.

           48.      In response to the allegations in paragraph 48 of the Amended Complaint,

  Defendant HCMS admits that HCMS' First Amended Answer speaks for itself. To the extent

  paragraph 48 contradicts the First Amended Answer, it is denied.

           49.      Defendant HCMS admits that HCMS' First Amended Answer speaks for itself.

  To the extent paragraph 49 contradicts the First Amended Answer, it is denied.

           50.      Paragraph 50 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           51.      Defendant HCMS lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 51 of the Amended Complaint and therefore denies

  the same.



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             52.     Defendant HCMS denies the allegations in paragraph 52 of the Amended

   Complaint.

             53.     Defendant HCMS admits that Exhibit 8 to the Amended Complaint is a true and

   correct copy of what it purports to be and that the document speaks for itself. To the extent

   paragraph 53 of the Amended Complaint asserts a legal conclusion, no response is required, and

   it is denied. To the extent not expressly admitted, paragraph 53 of the Amended Complaint is

   denied.

             54.     Paragraph 54 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             55.     Paragraph 55 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

                                     FIRST CLAIM FOR RELIEF
                                           (against HCMS)
                                       (for Breach of Contract)

             56.     Paragraph 56 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

             57.     Paragraph 57 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             58.     Paragraph 58 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             59.     Paragraph 59 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             60.     Paragraph 60 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.



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           61.      Defendant HCMS denies paragraph 61 of the Amended Complaint.

           62.      Defendant HCMS denies paragraph 62 of the Amended Complaint.

                                   SECOND CLAIM FOR RELIEF
                                          (against HCMS)
                           (Turnover by HCMS Pursuant to 11 U.S.C. § 542(b))

           63.      Paragraph 63 of the Amended Complaint is a sentence of incorporation that does

  not require a response and is therefore denied. All prior responses are incorporated herein by

  reference.

           64.      Paragraph 64 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           65.      Paragraph 65 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           66.      Paragraph 66 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           67.      Defendant HCMS admits that Plaintiff transmitted Exhibits 5 and 7 to the Amended

  Complaint.

           68.      Paragraph 68 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           69.      Defendant HCMS denies paragraph 69 of the Amended Complaint.

                              THIRD CLAIM FOR RELIEF
                                     (Against HCMS)
   (Avoidance and Recovery of Actual Fraudulent Transfer under 11 U.S.C. §§ 548(a)(1)(A)
                                        and 550)

           70.      Paragraph 70 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.



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           71.      Paragraph 71 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           72.      Paragraph 72 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           73.      Paragraph 73 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           74.      Paragraph 74 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           75.      Paragraph 75 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

                             FOURTH CLAIM FOR RELIEF
                                     (Against HCMS)
    (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 544(b) and
                       550, and Tex. Bus. & C. Code § 24.005(a)(1))

           76.      Paragraph 76 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

           77.      Paragraph 77 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           78.      Paragraph 78 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           79.      Paragraph 79 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           80.      Paragraph 80 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.




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                                   FIFTH CLAIM FOR RELIEF
                     (Against Dugaboy Investment Trust and Nancy Dondero)
              (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

            81.      Paragraph 81 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

            82.      This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            83.      This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            84.      Paragraph 84 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

                                    SIXTH CLAIM FOR RELIEF
                        (Against Dugaboy Investment Trust and Nancy Dondero)
                                      (Breach of Fiduciary Duty)

            85.      Paragraph 85 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

            86.      This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            87.      This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            88.      This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant HCMS is not required to respond to this claim.




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                                                                                           Appx. 00450
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                                    SEVENTH CLAIM FOR RELIEF
                               (Against James Dondero and Nancy Dondero)
                             (Aiding and Abetting a Breach of Fiduciary Duty)

            89.      Paragraph 89 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

            90.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            91.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            92.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            93.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant HCMS is not required to respond to this claim.

            Defendant HCMS denies that the Plaintiff is entitled to the relief requested in the prayer,

   including as to parts (i), (ii), (iii), (iv), (v), (vi), (vii) and (iii) [sic].

                                          AFFIRMATIVE DEFENSES

            94.      Plaintiff's claims are barred in whole or in part by the doctrine of justification

   and/or repudiation.

            95.      Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

            96.      Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

            97.      Plaintiff’s claims are barred in whole or in part because prior to the demands for

   payment Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

   subsequent. Specifically, sometime between December of the year in which each note was made

   and February of the following year, Defendant Nancy Dondero, as representative for a majority



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   of the Class A shareholders of Plaintiff agreed that Plaintiff would forgive the Notes if certain

   portfolio companies were sold for greater than cost or on a basis outside of Defendant James

   Dondero’s control. This agreement setting forth the conditions subsequent to demands for

   payment on the Notes was an oral agreement; however, Defendant HCMS believes there may be

   testimony or email correspondence that discusses the existence of this agreement that may be

   uncovered through discovery in this Adversary Proceeding.

            98.      Defendant HCMS further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because at all relevant times Defendant HCMS acted in good faith.

            99.      Defendant HCMS further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because the alleged fraudulent transfer (i.e., the “Alleged

   Agreement”) was taken in good faith and for reasonably equivalent value.

            100.     Defendant HCMS further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because there was no intent to hinder, delay, or defraud any

   creditors of the Debtor by entering into the “Alleged Agreement.”

            101.     Defendant HCMS further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because the Debtor was solvent at the time the “Alleged

   Agreement” was made.

            102.     Defendant HCMS further asserts that each Note is ambiguous as a whole based

   on the signatory and/or references to unspecified related agreements.

                                             JURY DEMAND

            103.     Except to the extent compelled to arbitration, Defendant HCMS demands a trial

   by jury of all issues so triable pursuant to Rule 38 of the Federal Rules of Civil Procedure and

   Rule 9015 of the Federal Rules of Bankruptcy Procedure.



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           104.     Defendant HCMS does not consent to the Bankruptcy Court conducting a jury

  trial and therefore demands a jury trial in the District Court.

                                               PRAYER

           WHEREFORE, PREMISES CONSIDERED, Defendant HCMS respectfully requests that,

  following a trial on the merits, the Court enter a judgment that the Plaintiff take nothing on the

  Amended Complaint and provide Defendant HCMS such other relief to which it is entitled.

  Dated: September 1, 2021                               Respectfully submitted,
                                                         /s/ Deborah Deitsch-Perez
                                                         Deborah Deitsch-Perez
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                                                         Michael P. Aigen
                                                         Texas State Bar No. 24012196
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                                                         Email: michael.aigen@stinson.com

                                                         ATTORNEYS FOR DEFENDANT
                                                         HIGHLAND CAPITAL
                                                         MANAGEMENT SERVICES, INC.


                                     CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of
  this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                         /s/ Deborah Deitsch-Perez
                                                         Deborah Deitsch-Perez




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                                EXHIBIT 17




                                                                          Appx. 00454
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  Counsel for Defendant HCRE Partners, LLC
  (n/k/a NexPoint Real Estate Partners, LLC)

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
  In re:                                  §         Case No. 19-34054-SGJ-11
                                          §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                          §
         Debtor.                          §
                                          §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                          §
         Plaintiff.                       §
                                          §
  v.                                      §
                                          §        Adversary No.: 21-03007-sgj
  HCRE PARTNERS, LLC (n/k/a NEXPOINT      §
  REAL ESTATE PARTNERS, LLC), JAMES       §
  DONDERO, NANCY DONDERO, AND THE §
  DUGABOY INVESTMENT TRUST                §
                                          §
         Defendants.                      §

          DEFENDANT HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL ESTATE
              PARTNERS, LLC)’S ANSWER TO AMENDED COMPLAINT

           Defendant HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) (“NREP”),

  defendant in the above-styled and numbered adversary proceeding (the “Adversary Proceeding”)

  filed by Highland Capital Management, L.P. (the “Plaintiff”), hereby files this Answer (the

  “Answer”) responding to the Amended Complaint for (I) Breach of Contract and (II) Turnover of

  Property (III) Fraudulent Transfer, and (IV) Breach of Fiduciary Duty [Adv. Dkt. 63] (the


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  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                         PAGE 1
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  “Amended Complaint”). Where an allegation in the Amended Complaint is not expressly admitted

  in this Amended Answer, it is denied.

            In filing this Answer, Defendant NREP does not waive any rights to compel arbitration, as

  set forth in Defendants’ Motion to Compel Arbitration [Adv. Dkt. 65], filed on September 1,

  2021.1

                                         PRELIMINARY STATEMENT

            1.      The first sentence of paragraph 1 of the Amended Complaint sets forth the

  Plaintiff’s objective in bringing the Amended Complaint and does not require a response. To the

  extent it contains factual allegations, they are denied. The second sentence contains a legal

  conclusion that does not require a response. To the extent it contains factual allegations, they are

  denied.

            2.      Defendant NREP admits that NREP's First Amended Answer speaks for itself. To

  the extent paragraph 2 contradicts the First Amended Answer, it is denied.

            3.      Defendant NREP denies the allegations in paragraph 3 of the Amended Complaint.

            4.      Paragraph 4 of the Amended Complaint sets forth the Plaintiff’s objective in

  bringing the Amended Complaint and does not require a response. To the extent it contains factual

  allegations, they are denied.




  1
    Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
  judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
  filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging
  discovery); Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when
  defendant filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty
  Life Ins. Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party
  seeking arbitration did no more than defend itself against the claims made against it).

  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                                                    PAGE 2
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            5.      Paragraph 5 of the Amended Complaint contains a summary of the relief the Plaintiff

  seeks and does not require a response. To the extent it contains factual allegations, they are

  denied.

                                    JURISDICTION AND VENUE

            6.      Defendant NREP admits that this Adversary Proceeding relates to the Plaintiff’s

  bankruptcy case but denies any implication that this fact confers Constitutional authority on the

  Bankruptcy Court to adjudicate this dispute. Any allegations in paragraph 6 not expressly

  admitted are denied.

            7.      Defendant NREP admits that the Court has statutory (but not Constitutional)

  jurisdiction to hear this Adversary Proceeding. Any allegations in paragraph 7 not expressly

  admitted are denied.

            8.      Defendant NREP denies that a breach of contract claim is core. Defendant NREP

  denies that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested

  debt. Defendant NREP admits that a § 542(b) turnover proceeding is statutorily core but denies

  that it is Constitutionally core under Stern v. Marshall. Defendant NREP does not consent to the

  Bankruptcy Court entering final orders or judgment in this Adversary Proceeding. Any

  allegations in paragraph 8 not expressly admitted are denied.

            9.      Subject to the Defendants' Motion to Compel Arbitration, Defendant NREP admits

  paragraph 9 of the Amended Complaint.

                                             THE PARTIES

            10.     Defendant NREP admits the allegations in paragraph 10 of the Amended

  Complaint.




  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                                  PAGE 3
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           11.      Defendant NREP admits the allegations in paragraph 11 of the Amended

  Complaint.

           12.      Defendant NREP admits that Defendant James Dondero was the President of the

  Debtor’s General Partner, Strand Advisors, Inc. and the Debtor’s CEO until his resignation on

  January 9, 2020. The third sentence of paragraph 12 asserts a legal conclusion to which no

  response is required. Defendant NREP denies any remaining allegations contained in paragraph

  12.

           13.      Defendant NREP lacks knowledge or information sufficient to form a belief about

  the truth of the allegations in paragraph 13 of the Amended Complaint and therefore denies the

  same.

           14.      Defendant NREP lacks knowledge or information sufficient to form a belief about

  the truth of the allegations in paragraph 14 of the Amended Complaint and therefore denies the

  same.

                                        CASE BACKGROUND

           15.      Defendant NREP admits the allegations in paragraph 15 of the Amended

  Complaint.

           16.      Defendant NREP admits the allegations in paragraph 16 of the Amended

  Complaint.

           17.      Defendant NREP admits the allegations in paragraph 17 of the Amended

  Complaint.

           18.      Defendant NREP admits the allegations in paragraph 18 of the Amended

  Complaint.




  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                             PAGE 4
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           19.      Defendant NREP admits the allegations in paragraph 19 of the Amended

  Complaint.

                                      STATEMENT OF FACTS

           20.      Defendant NREP admits that it has executed at least one promissory note under

  which the Debtor is a payee. Any allegations in paragraph 20 note expressly admitted are denied.

           21.      Defendant NREP admits that it signed the document attached to the Amended

  Complaint as Exhibit 1. Defendant NREP denies any allegations in paragraph 21 that are not

  expressly admitted.

           22.      Defendant NREP admits that it signed the document attached to the Amended

  Complaint as Exhibit 2. Defendant NREP denies any allegations in paragraph 22 that are not

  expressly admitted.

           23.      Defendant NREP admits that it signed the document attached to the Amended

  Complaint as Exhibit 3. Defendant NREP denies any allegations in paragraph 23 that are not

  expressly admitted.

           24.      Defendant NREP admits that it signed the document attached to the Amended

  Complaint as Exhibit 4. Defendant NREP denies any allegations in paragraph 24 that are not

  expressly admitted.

           25.      Defendant NREP admits that Plaintiff correctly transcribed Section 2 of Exhibits

  1-4 to the Amended Complaint in paragraph 25.

           26.      Defendant NREP admits that Plaintiff correctly transcribed Section 4 of Exhibits

  1-4 to the Amended Complaint in paragraph 26.

           27.      Defendant NREP admits that Plaintiff correctly transcribed Section 6 of Exhibits

  1-4 to the Amended Complaint in paragraph 27.


  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                              PAGE 5
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           28.      Defendant NREP admits that Plaintiff sent it a copy of Exhibit 5. Defendant NREP

  admits that Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of paragraph

  28. Defendant NREP denies any allegations in paragraph 28 that are not expressly admitted.

           29.      To the extent paragraph 29 asserts a legal conclusion, no response is required, and

  it is denied. Defendant otherwise admits the allegations in paragraph 29.

           30.      Defendant NREP lacks sufficient information or knowledge to admit or deny the

  allegations in paragraph 30 and, therefore, denies them.

           31.      Defendant NREP lacks sufficient information or knowledge to admit or deny the

  allegations in paragraph 31 and, therefore, denies them.

           32.      Defendant NREP lacks sufficient information or knowledge to admit or deny the

  allegations in paragraph 32 and, therefore, denies them.

           33.      Defendant NREP lacks sufficient information or knowledge to admit or deny the

  allegations in paragraph 33 and, therefore, denies them.

           34.      Defendant NREP lacks sufficient information or knowledge to admit or deny the

  allegations in paragraph 34 and, therefore, denies them.

           35.      Defendant NREP denies the allegations in paragraph 35 of the Amended

  Complaint.

           36.      Defendant NREP admits that it has executed at least one promissory note under

  which Debtor is the payee. Defendant NREP denies any allegations in paragraph 36 that are not

  expressly admitted.

           37.      Defendant NREP admits that it signed the document attached to the Complaint as

  Exhibit 6. Defendant NREP denies any allegations in paragraph 37 that are not expressly

  admitted.


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  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                                 PAGE 6
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            38.      Defendant NREP admits that Plaintiff correctly transcribed Section 2 of Exhibit 6

   to the Amended Complaint in paragraph 38.            Defendant NREP denies any allegations in

   paragraph 38 that are not expressly admitted.

            39.      Defendant NREP admits that Plaintiff correctly transcribed Section 3 of Exhibit 6

   to the Amended Complaint in paragraph 39.            Defendant NREP denies any allegations in

   paragraph 39 that are not expressly admitted.

            40.      Defendant NREP admits that Plaintiff correctly transcribed Section 4 of Exhibit 6

   to the Amended Complaint in paragraph 40.            Defendant NREP denies any allegations in

   paragraph 40 that are not expressly admitted.

            41.      Defendant NREP admits that Plaintiff correctly transcribed Section 6 of Exhibit 6

   to the Amended Complaint in paragraph 41.            Defendant NREP denies any allegations in

   paragraph 41 that are not expressly admitted.

            42.      To the extent paragraph 42 of the Amended Complaint asserts a legal conclusion,

   no response is required, and it is denied. Defendant NREP otherwise denies paragraph 42 of the

   Amended Complaint.

            43.      Defendant NREP admits that Plaintiff sent it a copy of Exhibit 7. Defendant

   NREP admits that Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of

   paragraph 43 of the Amended Complaint. Defendant NREP denies any allegations in paragraph

   43 that are note expressly admitted.

            44.      To the extent paragraph 44 of the Amended Complaint asserts a legal conclusion,

   no response is required, and it is denied. Defendant NREP otherwise admits paragraph 44 of the

   Amended Complaint.




   DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
   PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                                PAGE 7
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            45.      Defendant NREP is without sufficient information or knowledge to admit or deny

   the allegations in paragraph 45 of the Amended Complaint and, therefore, denies them.

            46.      Defendant NREP denies paragraph 46 of the Amended Complaint.

            47.      Defendant NREP admits that the Debtor filed the Original Complaint in this action

   on January 22, 2021, as alleged in the first sentence of paragraph 47 of the Amended Complaint.

   Defendant NREP denies it is liable for the relief requested in the Original Complaint. To the

   extent not expressly admitted, paragraph 47 of the Amended Complaint is denied.

            48.      Defendant NREP admits the allegations in paragraph 48 of the Amended

   Complaint.

            49.      Defendant NREP admits that NREP's First Amended Answer speaks for itself. To

   the extent paragraph 49 contradicts the First Amended Answer, it is denied.

            50.      In response to the allegations in paragraph 48 of the Amended Complaint,

   Defendant NREP admits that NREP's First Amended Answer speaks for itself. To the extent

   paragraph 50 contradicts the First Amended Answer, it is denied.

            51.      Defendant NREP admits that NREP's First Amended Answer speaks for itself. To

   the extent paragraph 51 contradicts the First Amended Answer, it is denied.

            52.      Paragraph 52 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

            53.      Defendant NREP lacks knowledge or information sufficient to form a belief about

   the truth of the allegations in paragraph 53 of the Amended Complaint and therefore denies the

   same.

            54.      Defendant NREP admits that Exhibit 4 to the Amended Complaint is a true and

   correct copy of what it purports to be and that the document speaks for itself. To the extent


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   PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                                PAGE 8
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   paragraph 41 of the Amended Complaint asserts a legal conclusion, no response is required, and

   it is denied. To the extent not expressly admitted, paragraph 54 of the Amended Complaint is

   denied.

             55.     Defendant NREP admits that Exhibit 4 to the Amended Complaint is a true and

   correct copy of what it purports to be and that the document speaks for itself. To the extent

   paragraph 41 of the Amended Complaint asserts a legal conclusion, no response is required, and

   it is denied. To the extent not expressly admitted, paragraph 54 of the Amended Complaint is

   denied.

             56.     Paragraph 56 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             57.     Paragraph 57 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

                                     FIRST CLAIM FOR RELIEF
                                            (against NREP)
                                       (for Breach of Contract)

             58.     Paragraph 58 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

             59.     Paragraph 59 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             60.     Paragraph 60 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.

             61.     Paragraph 61 of the Amended Complaint states a legal conclusion that does not

   require a response and is therefore denied.




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   PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                              PAGE 9
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           62.      Paragraph 62 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           63.      Defendant NREP denies paragraph 63 of the Amended Complaint.

           64.      Defendant NREP denies paragraph 64 of the Amended Complaint.

                                   SECOND CLAIM FOR RELIEF
                                          (against NREP)
                           (Turnover by NREP Pursuant to 11 U.S.C. § 542(b))

           65.      Paragraph 65 of the Amended Complaint is a sentence of incorporation that does

  not require a response and is therefore denied. All prior responses are incorporated herein by

  reference.

           66.      Paragraph 66 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           67.      Paragraph 67 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           68.      Paragraph 68 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           69.      Defendant NREP admits that Plaintiff transmitted Exhibits 5 and 7 to the Amended

  Complaint. Defendant NREP lacks sufficient information or knowledge to admit or deny the

  remaining allegations in paragraph 69 of the Amended Complaint and, therefore, denies them.

           70.      Paragraph 70 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied Defendant

           71.      Defendant NREP denies paragraph 71 of the Amended Complaint.




  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
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                              THIRD CLAIM FOR RELIEF
                                     (Against NREP)
   (Avoidance and Recovery of Actual Fraudulent Transfer under 11 U.S.C. §§ 548(a)(1)(A)
                                        and 550)

           72.      Paragraph 72 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

           73.      Paragraph 73 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           74.      Paragraph 74 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           75.      Paragraph 75 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           76.      Paragraph 76 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           77.      Paragraph 77 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.


                             FOURTH CLAIM FOR RELIEF
                                     (Against NREP)
    (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 544(b) and
                       550, and Tex. Bus. & C. Code § 24.005(a)(1))

           78.      Paragraph 78 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

           79.      Paragraph 79 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.




  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                             PAGE 11
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           80.      Paragraph 80 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           81.      Paragraph 81 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

           82.      Paragraph 82 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

                                  FIFTH CLAIM FOR RELIEF
                    (Against Dugaboy Investment Trust and Nancy Dondero)
             (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

           83.      Paragraph 83 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

           84.      This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NREP is not required to respond to this claim.

           85.      This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NREP is not required to respond to this claim.

           86.      Paragraph 70 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

                                   SIXTH CLAIM FOR RELIEF
                       (Against Dugaboy Investment Trust and Nancy Dondero)
                                     (Breach of Fiduciary Duty)

           87.      Paragraph 87 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

           88.      This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NREP is not required to respond to this claim.




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  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                             PAGE 12
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            89.      This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant NREP is not required to respond to this claim.

            90.      This claim is only asserted against Defendants Dugaboy Investment Trust and

   Nancy Dondero. Therefore, Defendant NREP is not required to respond to this claim.

                                    SEVENTH CLAIM FOR RELIEF
                               (Against James Dondero and Nancy Dondero)
                             (Aiding and Abetting a Breach of Fiduciary Duty)

            91.      Paragraph 91 of the Amended Complaint is a sentence of incorporation that does

   not require a response. All prior responses are incorporated herein by reference.

            92.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NREP is not required to respond to this claim.

            93.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NREP is not required to respond to this claim.

            94.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NREP is not required to respond to this claim.

            95.      This claim is only asserted against Defendants James Dondero and Nancy

   Dondero. Therefore, Defendant NREP is not required to respond to this claim.

            Defendant NREP denies that the Plaintiff is entitled to the relief requested in the prayer,

   including as to parts (i), (ii), (iii), (iv), (v), (vi), (vii) and (iii) [sic].

                                          AFFIRMATIVE DEFENSES

            96.      Plaintiff’s claims are barred in whole or in part by the doctrine of justification

   and/or repudiation.

            97.      Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

            98.      Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.


   DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
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            99.      Plaintiff’s claims are barred in whole or in part because prior to the demands for

   payment, Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

   subsequent. Specifically, sometime between December of the year in which each Note was made

   and February of the following year, Defendant Nancy Dondero, as representative for a majority

   of the Class A shareholders of Plaintiff agreed that Plaintiff would forgive the Notes if certain

   portfolio companies were sold for greater than cost or on a basis outside of Defendant James

   Dondero’s control. This agreement setting forth the conditions subsequent to demands for

   payment on the Notes was an oral agreement; however, Defendant NREP believes there may be

   testimony or email correspondence that discusses the existence of this agreement that may be

   uncovered through discovery in this Adversary Proceeding.

            100.     Defendant NREP further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because at all relevant times Defendant NREP acted in good faith.

            101.     Defendant NREP further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because the alleged fraudulent transfer (i.e., the “Alleged

   Agreement”) was taken in good faith and for reasonably equivalent value.

            102.     Defendant NREP further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because there was no intent to hinder, delay, or defraud any

   creditors of the Debtor by entering into the “Alleged Agreement.”

            103.     Defendant NREP further asserts that Plaintiff’s fraudulent transfer claims should

   be barred, in whole or in part, because the Debtor was solvent at the time the “Alleged

   Agreement” was made.

            104.     Defendant NREP further asserts that each Note is ambiguous as a whole based on

   references to unspecified related agreements.


   DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
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                                           JURY DEMAND

           105.     Except to the extent compelled to arbitration, Defendant NREP demands a trial

  by jury of all issues so triable pursuant to Rule 38 of the Federal Rules of Civil Procedure and

  Rule 9015 of the Federal Rules of Bankruptcy Procedure.

           106.     Defendant NREP does not consent to the Bankruptcy Court conducting a jury

  trial and therefore demands a jury trial in the District Court.

                                               PRAYER

           WHEREFORE, PREMISES CONSIDERED, Defendant NREP respectfully requests that,

  following a trial on the merits, the Court enter a judgment that the Plaintiff take nothing on the

  Amended Complaint and provide Defendant NREP such other relief to which it is entitled.

  Dated: September 1, 2021                               Respectfully submitted,
                                                         /s/ Deborah Deitsch-Perez
                                                         Deborah Deitsch-Perez
                                                         Texas State Bar No. 24036072
                                                         Michael P. Aigen
                                                         Texas State Bar No. 24012196
                                                         STINSON LLP
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                                                         Email: michael.aigen@stinson.com

                                                         ATTORNEYS FOR DEFENDANT
                                                         HCRE PARTNERS, LLC (n/k/a
                                                         NEXPOINT REAL ESTATE
                                                         PARTNERS, LLC)




  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                            PAGE 15
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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of
  this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                     /s/ Deborah Deitsch-Perez
                                                     Deborah Deitsch-Perez




  DEFENDANT HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL ESTATE
  PARTNERS, LLC)'S ANSWER TO AMENDED COMPLAINT                                          PAGE 16
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                                EXHIBIT 18




                                                                          Appx. 00471
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Counsel for Highland Capital Management Fund Advisors, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                                                §
                                                      §
                                                                         Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                         §
 L.P.,                                                §
                                                                  Case No. 19-34054-sgj11
                                                      §
          Debtor.                                     §
                                                      §
 HIGHLAND CAPITAL MANAGEMENT,                         §
 L.P.,                                                §
                                                      §
          Plaintiff,                                  §
                                                      §
                                                                     Adv. No. 21-03004
 v.                                                   §
                                                      §
 HIGHLAND CAPITAL MANAGEMENT                          §
 FUND ADVISORS, L.P.                                  §
                                                      §
          Defendant.                                  §

    DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
   FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION

TO:      Highland Capital Management, L.P. through its counsel of record, Jeffrey Pomerantz and
         John Morris, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor,
         Los Angeles, CA 90067, jpomerantz@pszjlaw.com; jmorris@pszjlaw.com; Zachery
         Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, TX 75231,
         zannable@haywardfirm.com

         Highland Capital Management Fund Advisors, L.P. (“HCMFA”), the defendant in the

above-styled and numbered adversary proceeding, hereby makes the following objections and

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                                Page 1 of 7


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gives the following responses to the Debtor’s First Requests for Admissions Directed to Highland

Capital Management Fund Advisors, L.P., the Debtor’s First Request for Production of

Documents Directed to Highland Capital Management Fund Advisors, L.P., and the Debtor’s First

Set of Interrogatories Directed to Highland Capital Management Fund Advisors, L.P., pursuant

to Rules 33, 34, and 36 of the Federal Rules of Civil Procedure and Rules 7033, 7034, and 7036

of the Federal Rules of Bankruptcy Procedure.

                          I.      REQUESTS FOR ADMISSIONS

REQUEST FOR ADMISSION 1:

       Admit that attached as Exhibit A is a true and correct copy of the Note (a) executed by
HCMFA, as maker, in favor of the Debtor, as payee, (b) dated May 2, 2019, (c) in the original
principal amount of $2,400,000.

       RESPONSE: HCMFA admits only that the document attached as Exhibit A purports to
       be a note dated May 2, 2019 in the original principal amount of $2,400,000. HCMFA
       denies that the note represents a legitimate debt, and HCMFA denies that Frank
       Waterhouse had the authority to execute the note on its behalf. To the extent not expressly
       admitted, this request is denied.

REQUEST FOR ADMISSION 2:

       Admit that attached as Exhibit B is a true and correct copy of the Note (a) executed by
HCMFA, as maker, in favor of the Debtor, as payee, (b) dated May 3, 2019, (c) in the original
principal amount of $5,000,000.

       RESPONSE: HCMFA admits only that the document attached as Exhibit B purports to
       be a note dated May 3, 2019 in the original principal amount of $5,000,000. HCMFA
       denies that the note represents a legitimate debt, and HCMFA denies that Frank
       Waterhouse had the authority to execute the note on its behalf. To the extent not expressly
       admitted, this request is denied.

REQUEST FOR ADMISSION 3:

       Admit that attached as Exhibit C is the Debtor’s Demand Letter to HCMFA demanding
payment of the accrued interest and principal due on the Notes in the aggregate amount of
$7,687,653.07 (the “Outstanding Amount”), by December 11, 2020.

       RESPONSE: HCMFA admits that Exhibit C is a true and correct copy of a letter the
       Debtor sent to HCMFA on or about December 11, 2020. HCMFA denies that the letter
       had any legal effect. To the extent not expressly admitted, this request is denied.


DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                            Page 2 of 7

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REQUEST FOR ADMISSION 4:

       Admit that HCMFA has not paid the Debtor the Outstanding Amount.

       RESPONSE: HCMFA denies that any amount is due and payable under the note.
       HCMFA admits that it has not paid the amount the Debtor demanded in its December 11,
       2020 letter. To the extent not expressly admitted, this request is denied.

                          II.    REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

        All Documents and Communications Concerning Your denial of any of the allegations set
forth in paragraph 19 of the Complaint, including Your contention that “[t]o the extent not
expressly admitted, ¶ 19 of the Complaint is denied,” stated in paragraph 19 of the Answer.

       RESPONSE: HCMFA will produce responsive, non-privileged documents from January
       1, 2019 to present that are within its possession, custody, or control. HCMFA notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       HCMFA does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to HCMFA’s requests for production.

REQUEST FOR PRODUCTION 2:

        All Documents and Communications Concerning Your denial of any of the allegations set
forth in paragraph 20 of the Complaint. See paragraph 20 of the Answer.

       RESPONSE: HCMFA will produce responsive, non-privileged documents from January
       1, 2019 to present that are within its possession, custody, or control. HCMFA notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       HCMFA does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to HCMFA’s requests for production.

REQUEST FOR PRODUCTION 3:

        All Documents and Communications Concerning Your denial of the allegation that
“[p]ursuant to Section 4 of each Note, each Note is in default and is currently due and payable,”
as referenced in paragraph 24 of the Answer.

       RESPONSE: HCMFA will produce responsive, non-privileged documents from January
       1, 2019 to present that are within its possession, custody, or control. HCMFA notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       HCMFA does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to HCMFA’s requests for production.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
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REQUEST FOR PRODUCTION 4:

        All Documents and Communications Concerning Your denial of the allegation that “[a]s a
direct and proximate cause of HCMFA’s breach of each Note, the Debtor has suffered damages in
the total amount of at least $7,687,653.07 as of December 11, 2020, plus an amount equal to all
accrued but unpaid interest from that date, plus the Debtor’s cost of collection,” as referenced in
paragraph 29 of the Answer.

       RESPONSE: HCMFA will produce responsive, non-privileged documents from January
       1, 2019 to present that are within its possession, custody, or control. HCMFA notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       HCMFA does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to HCMFA’s requests for production.

REQUEST FOR PRODUCTION 5:

        All Documents and Communications Concerning Your denial of the allegation that
“HCMFA has not paid the amounts due under each Note to the Debtor,” as referenced in paragraph
33 of the Answer.

       RESPONSE: HCMFA will produce responsive, non-privileged documents from January
       1, 2019 to present that are within its possession, custody, or control. HCMFA notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       HCMFA does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to HCMFA’s requests for production.

REQUEST FOR PRODUCTION 6:

       All Documents and Communications Concerning Your denial that “[t]he Debtor has made
demand for the turnover of the amounts due under each Note,” as referenced in paragraph 34 of
the Answer.

       RESPONSE: HCMFA will produce responsive, non-privileged documents from January
       1, 2019 to present that are within its possession, custody, or control. HCMFA notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       HCMFA does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to HCMFA’s requests for production.

REQUEST FOR PRODUCTION 7:

        All Documents and Communications Concerning any legal or equitable defense that You
intend to assert in the above-referenced Adversary Proceeding.

       RESPONSE: HCMFA will produce responsive, non-privileged documents from January
       1, 2019 to present that are within its possession, custody, or control. HCMFA notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       HCMFA does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to HCMFA’s requests for production.

DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
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REQUEST FOR PRODUCTION 8:

       All Documents and Communications that You intend to offer into evidence in the above
referenced Adversary Proceeding.

RESPONSE: HCMFA objects to this request to the extent it seeks to impose obligations that
exceed those imposed by applicable law. HCMFA is still in the process of identifying documents
and communications it will offer into evidence, and the parties have stipulated to a deadline for
filing witness and exhibit lists (August 30, 2021). For the avoidance of doubt, documents
responsive to this request will likely be responsive to other requests, in which case they will not
be withheld elsewhere based on this objection.

                                   III.   INTERROGATORIES

INTERROGATORY NO. 1:

       Identify every person that You believe has personal knowledge of any legal or equitable
defense that You intend to assert in the above-referenced Adversary Proceeding.

       RESPONSE: HCMFA objects to this request to the extent it asks HCMFA to identify
       attorneys whose knowledge would be privileged. Subject to such objection, HCMFA
       identifies James Dondero, Frank Waterhouse, Jason Post, Thomas Surgent, Lauren
       Thedford, and Will Mabry.

INTERROGATORY NO. 2:

       Identify each witness that You intend to call at the Hearing in this Adversary Proceeding.

       RESPONSE: HCMFA objects to this request to the extent it seeks to impose obligations
       that exceed those imposed by applicable law. HCMFA is still in the process of identifying
       witnesses it will call at trial, and the parties have stipulated to a deadline for filing witness
       and exhibit lists (August 30, 2021). For the avoidance of doubt, individuals responsive to
       this request will likely be responsive to other interrogatories, in which case their identities
       will not be withheld elsewhere based on this objection.

                             IV.       RESERVATION OF RIGHTS

        HCMFA reserves the right to amend or supplement these written objections and responses
at any time, consistent with the applicable Federal Rules of Civil Procedure.

       RESPECTFULLY SUBMITTED this 19th day of May, 2021.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
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                                                  MUNSCH HARDT KOPF & HARR, P.C.

                                                  By: /s/ Julian P. Vasek
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                                                     Texas Bar No. 24030781
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                                                     drukavina@munsch.com
                                                     jvasek@munsch.com

                                                  COUNSEL FOR HIGHLAND CAPITAL
                                                  MANAGEMENT FUND ADVISORS,
                                                  L.P.




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on the 19th day of May, 2021, a true and correct
copy of this document was electronically served via email on counsel for the Debtor
(jpomerantz@pszjlaw.com; jmorriss@pszjlaw.com; zannable@haywardfirm.com).


                                                  /s/ Julian P. Vasek
                                                     Julian P. Vasek, Esq.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
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                                EXHIBIT 19




                                                                          Appx. 00479
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                                           §
                                                 §
                                                                    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                             Case No. 19-34054-sgj11
                                                 §
          Debtor.                                §
                                                 §
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                 §
          Plaintiff,                             §
                                                 §              Adv. No. 21-03005
 v.                                              §
                                                 §
 NEXPOINT ADVISORS, L.P.                         §
                                                 §
          Defendant.                             §

    DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
   FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION

TO:      Highland Capital Management, L.P. through its counsel of record, Jeffrey Pomerantz and
         John Morris, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor,
         Los Angeles, CA 90067, jpomerantz@pszjlaw.com; jmorris@pszjlaw.com; Zachery
         Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, TX 75231,
         zannable@haywardfirm.com

         NexPoint Advisors, L.P. (“NexPoint”), the defendant in the above-styled and numbered

adversary proceeding, hereby makes the following objections and gives the following responses


DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                           Page 1 of 8


                                                                                    Appx. 00480
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to the Debtor’s First Requests for Admissions Directed to NexPoint Advisors, L.P., the Debtor’s

First Request for Production of Documents Directed to NexPoint Advisors, L.P., and the Debtor’s

First Set of Interrogatories Directed to NexPoint Advisors, L.P., pursuant to Rules 33, 34, and 36

of the Federal Rules of Civil Procedure and Rules 7033, 7034, and 7036 of the Federal Rules of

Bankruptcy Procedure.

                           I.     REQUESTS FOR ADMISSIONS

REQUEST FOR ADMISSION 1:

      Admit that attached as Exhibit A is a true and correct copy of the Note (a) executed by
NPA, as maker, in favor of the Debtor, as payee, (b) dated May 31, 2017, (c) in the original face
amount of $30,746,812.33.

       RESPONSE: Admitted.

REQUEST FOR ADMISSION 2:

        Admit that on or about May 31, 2017, the Debtor paid $30,746,812.33 to NPA (or for its
benefit) in exchange for the Note (the “Consideration”).

       RESPONSE: Denied.

REQUEST FOR ADMISSION 3:

       Admit that attached as Exhibit B is the Debtor’s January 7, 2021 demand letter (the
“Demand Letter”) to NPA demanding payment of the accrued interest and principal due, and any
other amounts due on the Note, in the aggregate amount of $24,471,804.98 as of January 8, 2021.

       RESPONSE: NexPoint admits that Exhibit B is a true and correct copy of a letter the
       Debtor sent to NexPoint on or about January 7, 2021. NexPoint denies the letter had any
       legal effect given that the Debtor caused NexPoint’s alleged default. To the extent not
       expressly admitted, this request is denied.

REQUEST FOR ADMISSION 4:

        Admit that, after receiving the Demand Letter, NPA never asked, requested, or demanded
that the Debtor make any payments on the Note on behalf of NPA.

       RESPONSE: NexPoint admits that it made no such express request, but NexPoint denies
       it had any obligation to request that the Debtor do something it was already obligated to
       do. To the extent not expressly admitted, this request is denied.



DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                            Page 2 of 8

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REQUEST FOR ADMISSION 5:

        Admit that (a) on January 14, 2021, NPA paid the Debtor $1,406,111.92 that was due under
the Note on December 31, 2020 (the “January Payment”), and (b) the Debtor did nothing to assist
or aid NPA in making the January Payment.

       RESPONSE: NexPoint admits that it made the January Payment but denies that the
       January Payment was past due through any fault of NexPoint. NexPoint admits that the
       Debtor wrongfully failed to assist NexPoint with making payments when due under the
       Note, including the January Payment. To the extent not expressly admitted, this request is
       denied.

REQUEST FOR ADMISSION 6:

       Admit that attached as Exhibit C is the Debtor’s January 15, 2021 demand letter (the
“Second Demand Letter”) to NPA demanding payment of the accrued interest and principal due,
and any other amounts due on the Note, in the aggregate amount of $23,071,195.03 as of January
15, 2021 (the “Outstanding Amount”).

       RESPONSE: NexPoint admits that Exhibit C is a true and correct copy of a letter the
       Debtor sent to NexPoint on or about January 15, 2021. NexPoint denies the letter had any
       legal effect given that the Debtor caused NexPoint’s alleged default. To the extent not
       expressly admitted, this request is denied.

REQUEST FOR ADMISSION 7:

       Admit that, as of January 22, 2021, NPA has not paid the Debtor the Outstanding Amount.

       RESPONSE: NexPoint denies that any amount is due and payable under the note.
       NexPoint admits that it has not paid the balance owing under the note, as such balance is
       not due. To the extent not expressly admitted, this request is denied.

                          II.    REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

       All Documents and Communications Concerning Your contention that “Plaintiff was
responsible for making payments on behalf of the Defendant under the [N]ote,” as alleged in
paragraph 39 of the Answer.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                           Page 3 of 8

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REQUEST FOR PRODUCTION 2:

        All Documents and Communications Concerning Your contention that “[a]ny alleged
default under the [N]ote was the result of Plaintiff’s own negligence, misconduct, breach of
contract, etc.,” as alleged in paragraph 39 of the Answer.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.

REQUEST FOR PRODUCTION 3:

      All Documents and Communications Concerning Your contention that “the brief delay in
payment was the Plaintiff’s own fault,” as alleged in paragraph 40 of the Answer.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.

REQUEST FOR PRODUCTION 4:

       All Documents and Communications Concerning the affirmative defenses of “waiver” or
“estoppel.” See Answer ¶ 41.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.

REQUEST FOR PRODUCTION 5:

        All Documents and Communications Concerning the Default Letter, including but not
limited to any subsequent request or demand by NPA that the Debtor make the payment demanded
under the Note on Your behalf.

       RESPONSE: NexPoint will produce responsive, non-privileged documents from May 31,
       2017 to present that are within its possession, custody, or control. NexPoint notes,
       however, that most responsive documents will likely be on the Debtor’s servers, to which
       NexPoint does not have access. The Debtor therefore should encounter responsive
       documents in connection with responding to NexPoint’s requests for production.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                         Page 4 of 8

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REQUEST FOR PRODUCTION 6:

      All Documents and Communications that You intend to offer into evidence in this
Adversary Proceeding.

       RESPONSE: NexPoint objects to this request to the extent it seeks to impose obligations
       that exceed those imposed by applicable law. NexPoint is still in the process of identifying
       documents and communications it will offer into evidence, and the parties have stipulated
       to a deadline for filing witness and exhibit lists (July 26, 2021). For the avoidance of doubt,
       documents responsive to this request will likely be responsive to other requests, in which
       case they will not be withheld elsewhere based on this objection.

                                 III.    INTERROGATORIES

INTERROGATORY NO. 1:

       Identify each person who You believe has personal knowledge of any facts Concerning
Your contention that “Plaintiff was responsible for making payments on behalf of the Defendant
under the [N]ote,” as alleged in paragraph 39 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 2:

       Identify each person who You believe has personal knowledge of any facts to Concerning
Your contention that “[a]ny alleged default under the [N]ote was the result of Plaintiff’s own
negligence, misconduct, breach of contract, etc.,” as alleged in paragraph 39 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 3:

       Identify each person who You believe has personal knowledge of any facts Concerning
Your contention that “the brief delay in payment was the Plaintiff’s own fault,” as alleged in
paragraph 40 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 4:

       Identify each person who You believe has personal knowledge of any facts Concerning
Your contention that “the brief delay in payment was the Plaintiff’s own fault,” as alleged in
paragraph 40 of the Answer.

       RESPONSE: Frank Waterhouse and James Dondero.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                                Page 5 of 8

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INTERROGATORY NO. 5:

      Identify each person who You believe has personal knowledge of any facts Concerning
Your response to the Demand Letter, including but not limited to any subsequent request or
demand by NPA that the Debtor make the payment demanded under the Note on Your behalf, if
any.

       RESPONSE: Frank Waterhouse and James Dondero.

INTERROGATORY NO. 6:

       Identify each witness that You intend to call at trial in this Adversary Proceeding.

       RESPONSE: NexPoint objects to this request to the extent it seeks to impose obligations
       that exceed those imposed by applicable law. NexPoint is still in the process of identifying
       witnesses it will call at trial, and the parties have stipulated to a deadline for filing witness
       and exhibit lists (July 26, 2021). For the avoidance of doubt, names responsive to this
       request will likely be responsive to other requests, in which case they will not be withheld
       elsewhere based on this objection.

                             IV.     RESERVATION OF RIGHTS

        NexPoint reserves the right to amend or supplement these written objections and responses
at any time, consistent with the applicable Federal Rules of Civil Procedure.

       RESPECTFULLY SUBMITTED this 3rd day of May, 2021.

                                                       MUNSCH HARDT KOPF & HARR, P.C.

                                                       By: /s/ Davor Rukavina
                                                          Davor Rukavina, Esq.
                                                          Texas Bar No. 24030781
                                                          Julian P. Vasek, Esq.
                                                          Texas Bar No. 24070790
                                                          500 N. Akard Street, Suite 3800
                                                          Dallas, Texas 75202-2790
                                                          Telephone: (214) 855-7500
                                                          Facsimile: (214) 978-4375
                                                          drukavina@munsch.com
                                                          jvasek@munsch.com

                                                       COUNSEL FOR NEXPOINT
                                                       ADVISORS, L.P.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                                 Page 6 of 8

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on the 3rd day of May, 2021, a true and correct copy
of this document was electronically served via email on counsel for the Debtor
(jpomerantz@pszjlaw.com; jmorriss@pszjlaw.com; zannable@haywardfirm.com).


                                                    /s/ Davor Rukavina
                                                       Davor Rukavina, Esq.




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                            Page 7 of 8

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                                          Verification

STATE OF TEXAS      §
                    §
COUNTY OF DALLAS___ §

           Before me, the undersigned notary, on this day personally appeared
____________________________, the affiant, whose identity is known to me. After I
administered an oath, affiant testified as follows:

            “My name is _______________________________. I am capable of making
this Verification. I have read the foregoing document. The facts stated in the answers to the
interrogatories are within my personal knowledge and/or are based on information I obtained from
other persons, and are true and correct.”

                                    NexPoint Advisors, L.P.

                                    By: _______________________________________

                                    Title: _____________________________________


 SUBSCRIBED AND SWORN TO BEFORE ME on this the                     day of May, 2021.

                                        _______________________________________
                                        Notary Public, State of Texas
                                        My Commission Expires: __________________




DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS
FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION                           Page 8 of 8
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                                EXHIBIT 20




                                                                          Appx. 00488
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      Lauren K. Drawhorn
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      lauren.drawhorn@wickphillips.com
      WICK PHILLIPS GOULD & MARTIN, LLP
      3131 McKinney Avenue, Suite 500
      Dallas, Texas 75204
      Telephone: (214) 692-6200
      Fax: (214) 692-6255

      COUNSEL FOR HIGHLAND CAPITAL
      MANAGEMENT SERVICES, INC.

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
      In re:                                        §
                                                    §
      HIGHLAND CAPITAL MANAGEMENT,                  §           Chapter 11
      L.P.                                          §
                                                    §           Case No.: 19-34054-sgj11
               Debtor.                              §
                                                    §
      HIGHLAND CAPITAL MANAGEMENT,                  §
      L.P.                                          §
                                                    §
               Plaintiff,                           §
                                                    §
      vs.                                           §           Adv. Pro. No. 21-03006-sgj
                                                    §
      HIGHLAND CAPITAL MANAGEMENT                   §
      SERVICES, INC.,                               §
                                                    §
               Defendant.                           §


                        DEFENDANT HIGHLAND CAPITAL MANAGEMENT
                      SERVICES, INC.’S RESPONSES TO HIGHLAND CAPITAL
                     MANAGEMENT, L.P.’S FIRST REQUESTS FOR ADMISSION


               Defendant Highland Capital Management Services, Inc.’s (“Defendant” or “HCMS”)

      hereby responds to Highland Capital Management, L.P.’s (the “Debtor”) First Requests for

      Admission as follows:


      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S RESPONSES TO             PAGE 1 OF 4
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST REQUESTS FOR ADMISSION



                                                                                             D-CNL003076
                                                                                       Appx. 00489
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                           RESPONSES TO FIRST REQUESTS FOR ADMISSION

      REQUEST FOR ADMISSION NO. 1:                 Admit that attached as Exhibit A is a true and
      correct copy of the Demand Note (a) executed by HCMS, as maker, in favor of the Debtor, as
      payee, (b) dated March 28, 2018, (c) in the original principal amount of $150,000.

      RESPONSE: Admit.

      REQUEST FOR ADMISSION NO. 2:                   Admit that attached as Exhibit B is a true and
      correct copy of the Demand Note (a) executed by HCMS, as maker, in favor of the Debtor, as
      payee, (b) dated June 25, 2018, (c) in the original principal amount of $200,000.

      RESPONSE: Admit.

      REQUEST FOR ADMISSION NO. 3:                  Admit that attached as Exhibit C is a true and
      correct copy of the Demand Note (a) executed by HCMS, as maker, in favor of the Debtor, as
      payee, (b) dated May 29, 2019, (c) in the original principal amount of $400,000.

      RESPONSE: Deny.

      REQUEST FOR ADMISSION NO. 4:                   Admit that attached as Exhibit D is a true and
      correct copy of the Demand Note (a) executed by HCMS, as maker, in favor of the Debtor, as
      payee, (b) dated June 26, 2019, (c) in the original principal amount of $150,000.

      RESPONSE: Deny.

      REQUEST FOR ADMISSION NO. 5:                  Admit that attached as Exhibit E is a true and
      correct copy of the Term Note (a) executed by HCMS, as maker, in favor of the Debtor, as
      payee, (b) dated May 31, 2017, (c) in the original principal amount of $20,247,628.02.

      RESPONSE: Admit.

      REQUEST FOR ADMISSION NO. 6:              Admit that attached as Exhibit F is a true and
      correct copy of the Debtor’s First Demand Letter to HCMS demanding payment of the accrued
      interest and principal due on the Demand Notes in the aggregate amount of $947,519.43 by
      December 11, 2020.

      RESPONSE: HCMS admits that Exhibit F purports to be a letter from Debtor to HCMS dated
      December 3, 2020, demanding HCMS pay $947,519.43 by December 11, 2020, and the Debtor
      alleged such amount constituted accrued interest and payment on certain promissory notes issued
      3/28/2018, 6/25/2018, 5/29/2019, and 6/26/2019.

      REQUEST FOR ADMISSION NO. 7:                 Admit that attached as Exhibit G is a true and
      correct copy of the Debtor’s Second Demand Letter to HCMS demanding immediate payment of
      the accrued interest, principal, and all other amounts due on the Term Note in the aggregate
      amount of $6,757,248.95.


      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S RESPONSES TO                 PAGE 2 OF 4
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST REQUESTS FOR ADMISSION



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      RESPONSE: HCMS admits that Exhibit G purports to be a letter from Debtor to HCMS dated
      January 7, 2021, demanding HCMS immediately pay $6,757,248.95, and the Debtor alleged such
      amount constituted accrued principal, interest, and any other amounts due on a certain
      promissory note dated May 31, 2017.

      REQUEST FOR ADMISSION NO. 8:              Admit that the Debtor does not owe any debt or
      obligation to HCMS arising from, concerning, or otherwise relating to any of the Demand Notes.

      RESPONSE: Deny.

                                                 Respectfully submitted,

                                                 /s/ Lauren K. Drawhorn
                                                 Jason M. Rudd
                                                 Texas Bar No. 24028786
                                                 Lauren K. Drawhorn
                                                 Texas Bar No. 24074528
                                                 WICK PHILLIPS GOULD & MARTIN, LLP
                                                 3131 McKinney Avenue, Suite 500
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                                                         lauren.drawhorn@wickphillips.com

                                                 COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT
                                                 SERVICES, INC.




      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S RESPONSES TO                PAGE 3 OF 4
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST REQUESTS FOR ADMISSION



                                                                                                D-CNL003078
                                                                                          Appx. 00491
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                                     CERTIFICATE OF SERVICE

             I, the undersigned, hereby certify that, on June 14, 2021, a true and correct copy of the
      foregoing document was served via email on counsel for the Debtor.

      Jeffrey N. Pomerantz                          Melissa S. Hayward
      jpomerantz@pszjlaw.com                        MHayward@HaywardFirm.com
      John A. Morris                                Zachery Z. Annable
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      Hayley R. Winograd                            Dallas, Texas 75231
      hwinograd@pszjlaw.com                         Fax: (972) 755-7110
      PACHULSKI STANG ZIEHL & JONES LLP
      10100 Santa Monica Blvd., 13th Floor
      Los Angeles, California 90067
      Facsimile: (310) 201-0760
      Counsel for Highland Capital Management, L.P.

                                                  /s/ Lauren K. Drawhorn
                                                      Lauren K. Drawhorn




      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S RESPONSES TO                  PAGE 4 OF 4
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST REQUESTS FOR ADMISSION



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                                EXHIBIT 21




                                                                          Appx. 00493
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      COUNSEL FOR HIGHLAND CAPITAL
      MANAGEMENT SERVICES, INC.

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
      In re:                                       §
                                                   §
      HIGHLAND CAPITAL MANAGEMENT,                 §           Chapter 11
      L.P.                                         §
                                                   §           Case No.: 19-34054-sgj11
               Debtor.                             §
                                                   §
      HIGHLAND CAPITAL MANAGEMENT,                 §
      L.P.                                         §
                                                   §
               Plaintiff,                          §
                                                   §
      vs.                                          §           Adv. Pro. No. 21-03006-sgj
                                                   §
      HIGHLAND CAPITAL MANAGEMENT                  §
      SERVICES, INC.,                              §
                                                   §
               Defendant.                          §


                       DEFENDANT HIGHLAND CAPITAL MANAGEMENT
                      SERVICES, INC.’S ANSWERS TO HIGHLAND CAPITAL
                     MANAGEMENT, L.P.’S FIRST SET OF INTERROGATORIES


               Defendant Highland Capital Management Services, Inc.’s (“Defendant” or “HCMS”)

      hereby responds to Highland Capital Management, L.P.’s (the “Debtor”) First Set of

      Interrogatories as follows:


      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S ANSWERS TO              PAGE 1 OF 5
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF INTERROGATORIES



                                                                                            D-CNL003071
                                                                                      Appx. 00494
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                            ANSWERS TO FIRST SET OF INTERROGATORIES

      INTERROGATORY NO. 1:                Identify every person that You believe has personal
      knowledge of the facts and circumstances Concerning Your affirmative defense that the Debtor’s
      claims are “barred in whole or in part by the doctrine of justification and/or repudiation,” as
      alleged in paragraph 53 of the Answer.

      ANSWER: HCMS believes the following persons have knowledge of the facts and
      circumstances surrounding HCMS’ justification and/or repudiation defense:

             Corporate representative of HCMS
             c/o WICK PHILLIPS GOULD & MARTIN LLP,
             Attn: Lauren K. Drawhorn
             100 Throckmorton St., Suite 1500
             Fort Worth, TX 76102

             Corporate representative of Debtor
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

             James Dondero
             c/o BONDS ELLIS EPPIC SHAFER JONES LLP
             Attn: Clay M. Taylor and Bryan C. Assink
             420 Throckmorton St., Suite 1000
             Fort Worth, Texas 76102

             Frank Waterhouse
             c/o Ross & Smith PC
             Attn: Frances Smith
             700 N. Pearl Street, Suite 1610
             Dallas, TX 75201

             Kristin Hendrix
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

             David Klos
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

      INTERROGATORY NO. 2:                 Identify every person that You believe has personal
      knowledge of the facts and circumstances Concerning Your affirmative defense that the Debtor’s
      “claims are barred in whole or in part by the doctrine of estoppel,” as alleged in paragraph 54 of
      the Answer.

      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S ANSWERS TO                      PAGE 2 OF 5
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF INTERROGATORIES



                                                                                                    D-CNL003072
                                                                                              Appx. 00495
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      ANSWER: HCMS believes the following persons have knowledge of the facts and
      circumstances surrounding HCMS’ estoppel defense:

             Corporate representative of HCMS
             c/o WICK PHILLIPS GOULD & MARTIN LLP,
             Attn: Lauren K. Drawhorn
             100 Throckmorton St., Suite 1500
             Fort Worth, TX 76102

             Corporate representative of Debtor
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

             James Dondero
             c/o BONDS ELLIS EPPIC SHAFER JONES LLP
             Attn: Clay M. Taylor and Bryan C. Assink
             420 Throckmorton St., Suite 1000
             Fort Worth, Texas 76102

             Frank Waterhouse
             c/o Ross & Smith PC
             Attn: Frances Smith
             700 N. Pearl Street, Suite 1610
             Dallas, TX 75201

             Kristin Hendrix
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

             David Klos
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

      INTERROGATORY NO. 3:                 Identify every person that You believe has personal
      knowledge of the facts and circumstances Concerning Your affirmative defense that the Debtor’s
      “claims are barred in whole or in part by the doctrine of waiver,” as alleged in paragraph 55 of
      the Answer.

      ANSWER: HCMS believes the following persons have knowledge of the facts and
      circumstances surrounding HCMS’ waiver defense:




      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S ANSWERS TO                    PAGE 3 OF 5
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF INTERROGATORIES



                                                                                                  D-CNL003073
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             Corporate representative of HCMS
             c/o WICK PHILLIPS GOULD & MARTIN LLP,
             Attn: Lauren K. Drawhorn
             100 Throckmorton St., Suite 1500
             Fort Worth, TX 76102

             Corporate representative of Debtor
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

             James Dondero
             c/o BONDS ELLIS EPPIC SHAFER JONES LLP
             Attn: Clay M. Taylor and Bryan C. Assink
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             Fort Worth, Texas 76102

             Frank Waterhouse
             c/o Ross & Smith PC
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             700 N. Pearl Street, Suite 1610
             Dallas, TX 75201

             Kristin Hendrix
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

             David Klos
             c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067

      INTERROGATORY NO. 4:                Identify every person that You believe has personal
      knowledge of the facts and circumstances Concerning Your affirmative defense that the Debtor’s
      “claims are barred in whole or in part by the doctrines of offset and/or setoff,” as alleged in
      paragraph 56 of the Answer.

      ANSWER:       HCMS withdraws its affirmative defense of offset and/or setoff.

      INTERROGATORY NO. 5:                 Identify every debt and obligation that You contend the
      Debtor owes to You and is subject to “offset and/or setoff,” as alleged in paragraph 56 of the
      Answer, including (a) the amount of the debt or obligation, (b) the date the debt or obligation
      was incurred, (c) the proof of claim in which You asserted a right to recover on the debt or
      obligation, if any, (d) the person who authorized the Debtor to incur the debt or obligation, and
      (e) the facts and circumstances concerning the Debtor’s accrual of such debt or obligation.

      ANSWER:       HCMS withdraws its affirmative defense of offset and/or setoff.
      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S ANSWERS TO                     PAGE 4 OF 5
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF INTERROGATORIES



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      INTERROGATORY NO. 6:                Identify each witness that You intend to call at trial in this
      Adversary Proceeding.

      ANSWER: HCMS will provide its list of witnesses within the time required under the Federal
      Rules of Civil Procedures, the agreed-upon Scheduling Order in this case, and the Local Rules
      for the United States Bankruptcy Court for the Northern District of Texas.

                                                  Respectfully submitted,

                                                  /s/ Lauren K. Drawhorn
                                                  Jason M. Rudd
                                                  Texas Bar No. 24028786
                                                  Lauren K. Drawhorn
                                                  Texas Bar No. 24074528
                                                  WICK PHILLIPS GOULD & MARTIN, LLP
                                                  3131 McKinney Avenue, Suite 500
                                                  Dallas, Texas 75204
                                                  Telephone: (214) 692-6200
                                                  Fax: (214) 692-6255
                                                  Email: jason.rudd@wickphillips.com
                                                          lauren.drawhorn@wickphillips.com

                                                  COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT
                                                  SERVICES, INC.



                                     CERTIFICATE OF SERVICE

             I, the undersigned, hereby certify that, on June 14, 2021, a true and correct copy of the
      foregoing document was served via email on counsel for the Debtor.

      Jeffrey N. Pomerantz                          Melissa S. Hayward
      jpomerantz@pszjlaw.com                        MHayward@HaywardFirm.com
      John A. Morris                                Zachery Z. Annable
      jmorris@pszjlaw.com                           ZAnnable@HaywardFirm.com
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      hwinograd@pszjlaw.com                         Fax: (972) 755-7110
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      10100 Santa Monica Blvd., 13th Floor
      Los Angeles, California 90067
      Facsimile: (310) 201-0760
      Counsel for Highland Capital Management, L.P.

                                                  /s/ Lauren K. Drawhorn
                                                      Lauren K. Drawhorn
      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S ANSWERS TO                       PAGE 5 OF 5
      HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF INTERROGATORIES



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                                EXHIBIT 22




                                                                          Appx. 00499
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Jason M. Rudd
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COUNSEL FOR NEXPOINT REAL ESTATE
PARTNERS, LLC F/K/A HCRE PARTNERS, LLC

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
In re:                                          §
                                                §       Chapter 11
HIGHLAND CAPITAL MANAGEMENT,                    §
L.P.                                            §        Case No.: 19-34054-sgj11
                                                §
         Debtor.                                §
                                                §
HIGHLAND CAPITAL MANAGEMENT,                    §
L.P.                                            §
                                                §
         Plaintiff,                             §
                                                §          Adv. Pro. No. 21-03007-sgj
vs.                                             §
                                                §
HCRE PARTNERS, LLC (n/k/a                       §
NEXPOINT REAL ESTATE PARTNERS,                  §
LLC),                                           §
                                                §
         Defendant.                             §

            DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A
            HCRE PARTNERS, LLC’S RESPONSES TO DEBTOR HIGHLAND
            CAPITAL MANAGEMENT, L.P.’S REQUEST FOR ADMISSIONS

To:      Highland Capital Management, L.P., by and through its attorneys of record, John Morris,
         Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles,
         California 90067

         Defendant NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC’s

(“Defendant” or “NREP”) responds as follows to Highland Capital Management, L.P.’s


DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S              PAGE 1 OF 6
RESPONSES TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S REQUEST FOR
ADMISSIONS

                                                                                    Appx. 00500
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(“HCMLP”) Request for Admissions. NREP specifically reserves the right to reasonably

supplement and amend any and all of its responses, answers, and objections in accordance with

the Federal Rules of Bankruptcy Procedure and Federal Rules of Civil Procedure.

                     RESPONSES TO REQUEST FOR ADMISSIONS

REQUEST FOR ADMISSION NO. 1:                Admit that attached as Exhibit 1 to the Complaint
is a true and correct copy of a Demand Note (a) executed by James Dondero on Your behalf, as
maker, in favor of the Debtor, as payee, (b) dated November 27, 2013, (c) in the original face
amount of $100,000 (the “November 2013 Note”).

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 2:               Admit that on or about November 27, 2013, the
Debtor paid $100,000 to You (or for Your benefit) in exchange for the November 2013 Note.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 3:                Admit that on or about November 27, 2013, the
Debtor transferred $100,000 to an account for Your benefit.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 4:               Admit that attached as Exhibit 2 to the Complaint
is a true and correct copy of a Demand Note (a) executed by James Dondero on Your behalf, as
maker, in favor of the Debtor, as payee, (b) dated October 12, 2017, (c) in the original face
amount of $2,500,000 (the “October 2017 Note”).

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 5:               Admit that on or about October 12, 2017, the
Debtor paid $2,500,000 to You (or for Your benefit) in exchange for the October 2017 Note.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 6:                Admit that on or about October 12, 2017, the
Debtor transferred $2,500,000 to an account for Your benefit.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 7:               Admit that attached as Exhibit 3 to the Complaint
is a true and correct copy of a Demand Note (a) executed by James Dondero on Your behalf, as
maker, in favor of the Debtor, as payee, (b) dated October 15, 2018, (c) in the original face
amount of $750,000 (the “October 2018 Note”).

DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S             PAGE 2 OF 6
RESPONSES TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S REQUEST FOR
ADMISSIONS

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RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 8:               Admit that on or about October 15, 2018, the
Debtor paid $750,000 to You (or for Your benefit) in exchange for the October 2018 Note.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 9:                Admit that on or about October 15, 2018, the
Debtor transferred $750,000 to an account for Your benefit.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 10: Admit that attached as Exhibit 4 to the Complaint
is a true and correct copy of a Demand Note (a) executed by James Dondero on Your behalf, as
maker, in favor of the Debtor, as payee, (b) dated September 25, 2019, (c) in the original face
amount of $900,000 (the “September 2019 Note”).

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 11: Admit that on or about September 25, 2019, the
Debtor paid $900,000 to You (or for Your benefit) in exchange for the September 2019 Note.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 12: Admit that on or about September 25, 2019, the
Debtor transferred $900,000 to an account for Your benefit.

RESPONSE: Admit.

REQUEST FOR ADMISSION NO. 13: Admit that attached as Exhibit 6 to the Complaint is
a true and correct copy of the Term Note (a) executed by James Dondero on Your behalf, as
maker, in favor of the Debtor, as payee, (b) dated May 31, 2017, (c) in the original face amount
of $6,059,831.

RESPONSE: Deny.

REQUEST FOR ADMISSION NO. 14: Admit that You gave the Term Note to the Debtor
in consideration for the Debtor’s agreement to cancel and extinguish each of the Prior Notes (as
defined in the Term Note and as specifically identified in Exhibit A to the Term Note), including
all obligations then due and owing under each of the Prior Notes.

RESPONSE: NREP admits the Term Note substituted for and superseded in their entirety
certain promissory notes described in Exhibit A to the Term Note. NREP denies the remainder of
this Request.




DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S               PAGE 3 OF 6
RESPONSES TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S REQUEST FOR
ADMISSIONS

                                                                                     Appx. 00502
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REQUEST FOR ADMISSION NO. 15: Admit that attached as Exhibit 5 to the Complaint
is the Debtor’s December 3, 2020 demand letter (the “Demand Letter”) to You demanding
payment of the accrued interest and principal due and payable on the Demand Notes in the
aggregate amount of $5,0012,260.96 (the “Outstanding Amount”).

RESPONSE: Deny.

REQUEST FOR ADMISSION NO. 16:              Admit that as of May 31, 2021, You have not paid
the Debtor the Outstanding Amount.

RESPONSE: NREP admits only that NREP has not paid the Debtor the amount the Debtor
asserts is due on the Demand Notes in the amount of $5,012,260.96. NREP denies the remainder
of this Request.

REQUEST FOR ADMISSION NO. 17: Admit that You have not paid any amounts due
under any of the Demands Notes since December 3, 2020.

RESPONSE: Deny.

REQUEST FOR ADMISSION NO. 18: Admit that attached as Exhibit 7 to the Complaint
is the Debtor’s January 7, 2021 default letter (the “Default Letter”) to You demanding payment
of the accrued interest and principal due and payable on the Term Note in the amount of
$6,145,466.84 (the “Unpaid Term Loan Amount”).

RESPONSE: NREP admits that Exhibit 7 to the Complaint purports to be a letter from Debtor
dated January 7, 2021 alleging NREP is in default under the Term Note and demanding NREP
pay $6,145,466.84, and the Debtor alleged such amount constituted accrued interest and
principal due and payable on the Term Note.

REQUEST FOR ADMISSION NO. 19: Admit that as of May 31, 2021, You have not paid
the Debtor the Unpaid Term Loan Amount.

RESPONSE: NREP admits only that NREP has not paid the Debtor the amount the Debtor
asserts is due on the Term Note in the amount of $5,012,260.96. NREP denies the remainder of
this Request.

REQUEST FOR ADMISSION NO. 20: Admit that on or about December 31, 2017, You
paid the Annual Installment then due under the Term Note.

RESPONSE: NREP admits that payment was made on the Term Note on or around
December 31, 2017.

REQUEST FOR ADMISSION NO. 21: Admit that on or about December 31, 2018, You
paid the Annual Installment then due under the Term Note.

RESPONSE: NREP admits that payment was made on the Term Note on or around
December 19, 2018.
DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S            PAGE 4 OF 6
RESPONSES TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S REQUEST FOR
ADMISSIONS

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REQUEST FOR ADMISSION NO. 22: Admit that on or about December 31, 2019, You
paid the Annual Installment then due under the Term Note.

RESPONSE: NREP admits that payment was made on the Term Note on or around
December 30, 2019.

REQUEST FOR ADMISSION NO. 23: Admit that You failed to pay the Annual Installment
due under the Term Note on December 31, 2020.

RESPONSE: Deny.

                                          Respectfully submitted,

                                          /s/ Lauren K. Drawhorn
                                          Jason M. Rudd
                                          Texas Bar No. 24028786
                                          Lauren K. Drawhorn
                                          Texas Bar No. 24074528
                                          WICK PHILLIPS GOULD & MARTIN, LLP
                                          3131 McKinney Avenue, Suite 500
                                          Dallas, Texas 75204
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                                          Email: jason.rudd@wickphillips.com
                                                  lauren.drawhorn@wickphillips.com

                                          COUNSEL FOR NEXPOINT REAL ESTATE
                                          PARTNERS, LLC’S F/K/A HCRE PARTNERS, LLC




DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S         PAGE 5 OF 6
RESPONSES TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S REQUEST FOR
ADMISSIONS

                                                                               Appx. 00504
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                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on July 6, 2021, a true and correct copy of the
foregoing document was served via email on counsel for the Debtor.

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John A. Morris                                Zachery Z. Annable
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Gregory V. Demo                               HAYWARD PLLC
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10100 Santa Monica Blvd., 13th Floor
Los Angeles, California 90067
Facsimile: (310) 201-0760
Counsel for Highland Capital Management, L.P.

                                           /s/ Lauren K. Drawhorn
                                               Lauren K. Drawhorn




DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S             PAGE 6 OF 6
RESPONSES TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S REQUEST FOR
ADMISSIONS

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                                EXHIBIT 23




                                                                          Appx. 00506
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Telephone: (214) 692-6200
Fax: (214) 692-6255

COUNSEL FOR NEXPOINT REAL ESTATE
PARTNERS, LLC F/K/A HCRE PARTNERS, LLC

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
In re:                                          §
                                                §       Chapter 11
HIGHLAND CAPITAL MANAGEMENT,                    §
L.P.                                            §        Case No.: 19-34054-sgj11
                                                §
         Debtor.                                §
                                                §
HIGHLAND CAPITAL MANAGEMENT,                    §
L.P.                                            §
                                                §
         Plaintiff,                             §
                                                §          Adv. Pro. No. 21-03007-sgj
vs.                                             §
                                                §
HCRE PARTNERS, LLC (n/k/a                       §
NEXPOINT REAL ESTATE PARTNERS,                  §
LLC),                                           §
                                                §
         Defendant.                             §

           DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A
            HCRE PARTNERS, LLC’S ANSWERS TO DEBTOR HIGHLAND
         CAPITAL MANAGEMENT, L.P.’S FIRST SET OF INTERROGATORIES

To:      Highland Capital Management, L.P., by and through its attorneys of record, John Morris,
         Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles,
         California 90067

         Defendant NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC’s

(“Defendant” or “NREP”) responds as follows to Highland Capital Management, L.P.’s


DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S              PAGE 1 OF 6
ANSWERS TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF
INTERROGATORIES

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(“HCMLP”) First Set of Interrogatories. NREP specifically reserves the right to reasonably

supplement and amend any and all of its responses, answers, and objections in accordance with

the Federal Rules of Bankruptcy Procedure and Federal Rules of Civil Procedure.

                  ANSWERS TO FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1:                 Identify each person who You believe has actual
knowledge Concerning the (a) preparation, (b) purpose, and (c) execution of each of the Demand
Notes, including any such person’s last known contact information.

ANSWER: NREP believes the following persons may have knowledge of the facts and
circumstances surrounding the Demand Notes:

       Corporate representative of NREP
       c/o WICK PHILLIPS GOULD & MARTIN LLP,
       Attn: Lauren K. Drawhorn
       100 Throckmorton St., Suite 1500
       Fort Worth, TX 76102

       Corporate representative of Debtor
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067

       James Dondero
       c/o BONDS ELLIS EPPIC SHAFER JONES LLP
       Attn: Clay M. Taylor and Bryan C. Assink
       420 Throckmorton St., Suite 1000
       Fort Worth, TX 76102

       Frank Waterhouse
       c/o Ross & Smith PC
       Attn: Frances Smith
       700 N. Pearl Street, Suite 1610
       Dallas, TX 75201

       Kristin Hendrix
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067

       David Klos
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067
DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S             PAGE 2 OF 6
ANSWERS TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF
INTERROGATORIES

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       Scott Ellington
       c/o ROSS & SMITH PC
       Attn: Frances Smith
       700 N. Pearl Street, Suite 1610
       Dallas, TX 75201

       John Honis
       Tel: 214-335-7969

INTERROGATORY NO. 2:                 Identify each person who You believe has actual
knowledge Concerning the (a) preparation, (b) purpose, and (c) execution of the Term Note,
including any such person’s last known contact information.

ANSWER: NREP believes the following persons may have knowledge of the facts and
circumstances surrounding the Term Note:

       Corporate representative of NREP
       c/o WICK PHILLIPS GOULD & MARTIN LLP,
       Attn: Lauren K. Drawhorn
       100 Throckmorton St., Suite 1500
       Fort Worth, TX 76102

       Corporate representative of Debtor
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067

       James Dondero
       c/o BONDS ELLIS EPPIC SHAFER JONES LLP
       Attn: Clay M. Taylor and Bryan C. Assink
       420 Throckmorton St., Suite 1000
       Fort Worth, TX 76102

       Frank Waterhouse
       c/o Ross & Smith PC
       Attn: Frances Smith
       700 N. Pearl Street, Suite 1610
       Dallas, TX 75201

       Kristin Hendrix
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067




DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S         PAGE 3 OF 6
ANSWERS TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF
INTERROGATORIES

                                                                               Appx. 00509
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       David Klos
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067

       Scott Ellington
       c/o ROSS & SMITH PC
       Attn: Frances Smith
       700 N. Pearl Street, Suite 1610
       Dallas, TX 75201

       John Honis
       Tel: 214-335-7969

INTERROGATORY NO. 3:                 Identify each person who You believe has actual
knowledge of any facts Concerning any of the affirmative defenses set forth in Your answer,
including any such person’s last known contact information.

ANSWER: NREP believes the following persons may have knowledge of the facts
concerning NREP’s affirmative defenses:

       Corporate representative of NREP
       c/o WICK PHILLIPS GOULD & MARTIN LLP,
       Attn: Lauren K. Drawhorn
       100 Throckmorton St., Suite 1500
       Fort Worth, TX 76102

       Corporate representative of Debtor
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067

       James Dondero
       c/o BONDS ELLIS EPPIC SHAFER JONES LLP
       Attn: Clay M. Taylor and Bryan C. Assink
       420 Throckmorton St., Suite 1000
       Fort Worth, TX 76102

       Frank Waterhouse
       c/o Ross & Smith PC
       Attn: Frances Smith
       700 N. Pearl Street, Suite 1610
       Dallas, TX 75201




DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S         PAGE 4 OF 6
ANSWERS TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF
INTERROGATORIES

                                                                                Appx. 00510
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       Kristin Hendrix
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067

       David Klos
       c/o PACHULSKI STANG ZIEHL & JONES, LLP, Attn: John Morris
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067

       Nancy Dondero
       Crescent Research Services Inc.
       Vero Beach, FL
       Tel: 772-234-6182

INTERROGATORY NO. 4:             Identify (a) anything of value that You received in
exchange for each Demand Note, and (b) the date You received anything of value in exchange
for each Note.

ANSWER: NREP received the funds evidenced in each Demand Note on or about the date
that each Demand Note was entered into by the parties to the Demand Notes.

INTERROGATORY NO. 5:                Identify (a) anything of value that You received in
exchange for the Term Note, and (b) the date You received anything of value in exchange for the
Term Note.

ANSWER: NREP received the funds evidenced in the Term Note on or about the date the
Term Note was entered into by the parties to the Term Note.

INTERROGATORY NO. 6:                  Identify every debt that You contend the Debtor owes to
You and that is subject to “offset and/or setoff,” as referenced in paragraph 58 of Your Answer,
including (a) the amount of such debt, (b) the date that such debt was allegedly incurred, (c) the
facts and circumstances Concerning the Debtor’s incurrence of such debt, and the Demand Note
or Term Note subject to any alleged “offset and/or setoff.”

ANSWER:        NREP withdraws its offset and/or setoff defense.

INTERROGATORY NO. 7:                 Identify each person who You believe has actual
knowledge of any debt identified in response to Interrogatory No. 6.

ANSWER:        NREP withdraws its offset and/or setoff defense.

INTERROGATORY NO. 8:                 Identify each witness You intend to call at trial in this
Adversary Proceeding.




DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S                PAGE 5 OF 6
ANSWERS TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF
INTERROGATORIES

                                                                                      Appx. 00511
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ANSWER: NREP will provide its list of witnesses within the time required under the Federal
Rules of Civil Procedures, the agreed-upon Scheduling Order in this case, and the Local Rules
for the United States Bankruptcy Court for the Northern District of Texas.



                                           Respectfully submitted,

                                           /s/ Lauren K. Drawhorn
                                           Jason M. Rudd
                                           Texas Bar No. 24028786
                                           Lauren K. Drawhorn
                                           Texas Bar No. 24074528
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                                           Email: jason.rudd@wickphillips.com
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                                           COUNSEL FOR NEXPOINT REAL ESTATE
                                           PARTNERS, LLC’S F/K/A HCRE PARTNERS, LLC


                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on July 6, 2021, a true and correct copy of the
foregoing document was served via email on counsel for the Debtor.

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Counsel for Highland Capital Management, L.P.

                                           /s/ Lauren K. Drawhorn
                                               Lauren K. Drawhorn

DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC F/K/A HCRE PARTNERS, LLC’S             PAGE 6 OF 6
ANSWERS TO DEBTOR HIGHLAND CAPITAL MANAGEMENT, L.P.’S FIRST SET OF
INTERROGATORIES

                                                                                   Appx. 00512
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                                EXHIBIT 24




                                                                          Appx. 00513
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  Clay M. Taylor                                     Deborah Deitsch-Perez
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  ATTORNEYS FOR JAMES DONDERO                        ATTORNEYS FOR JAMES DONDERO

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

  In re:                                                   §
                                                           §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                       §   Chapter 11
                                                           §
                             Debtor.                       §   Case No. 19-34054-sgj11
                                                           §
                                                           §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                       §
                                                           §
                             Plaintiff,                    §   Adversary Proceeding No.
                                                           §
  vs.                                                      §   21-03003-sgj
                                                           §
  JAMES DONDERO, NANCY DONDERO, AND                        §
  THE DUGABOY INVESTMENT TRUST,                            §
                                                           §
                             Defendants.                   §
                                                           §

           DEFENDANT JAMES DONDERO'S OBJECTIONS AND RESPONSES TO
           PLAINTIFF’S REQUESTS FOR ADMISSION, INTERROGATORIES, AND
                           REQUESTS FOR PRODUCTION

 TO:       Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
           Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

           Defendant James Dondero (“Defendant” or “Dondero”) serves his Objections and

 Responses to Plaintiff Highland Capital Management, L.P.’s (“Debtor” or “Highland”) Requests

 for Admission, Interrogatories, and Requests for Production (“Requests”), as follows:




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                                 REQUESTS FOR PRODUCTION

 Request for Production No. 1:

          All Documents and Communications Concerning the existence of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 2:

          All Documents and Communications Concerning the negotiation of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 3:

          All Documents and Communications Concerning the terms of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 4:

          All Communications Concerning the Agreement between You and (a) Nancy Dondero, or

 (b) Mark Okada, or (c) Frank Waterhouse, or (d) PricewaterhouseCoopers LLP or (d) any Class A

 shareholders of Highland (see paragraph 82 of the Amended Answer) for the period January 1,

 2018 to the present. See paragraph 82 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.


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 Request for Production No. 5:

          All Documents and Communications Concerning the cost of the “portfolio companies,” as

 referred to in paragraph 82 of the Amended Answer, including Documents and Communications

 sufficient to identify the (a) portfolio company, (b) the date each portfolio company was acquired,

 (c) the consideration paid by Highland for its investment in the portfolio company.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 6:

          All Documents and Communications Concerning the value of each of the “portfolio

 companies” at or around the time the Agreement was entered into.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 7:

          All Documents and Communications Concerning Mr. Dondero’s assertion that “Plaintiff’s

 claims are barred, in whole or in part, due to waiver,” as alleged in paragraph 83 of the Amended

 Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 8:




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          All Documents and Communications Concerning Mr. Dondero’s assertion that “Plaintiff’s

 claims are barred, in whole or in part, due to estoppel,” as alleged in paragraph 84 of the Amended

 Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 9:

          All Documents and Communications Concerning Mr. Dondero’s assertion that “Plaintiff’s

 claims are barred, in whole or in part, due to failure of consideration,” as alleged in paragraph 86

 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 10:

          All Documents and Communications Concerning Mr. Dondero’s assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because at all relevant times

 Defendant James Dondero acted in good faith,” as alleged in paragraph 87 of the Amended

 Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 11:

          All Documents and Communications Concerning Mr. Dondero’s assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because the alleged transfer (i.e.,


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 the ‘Alleged Agreement’) was . . . for reasonably equivalent value,” as alleged in paragraph 88 of

 the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 12:

          All Documents and Communications Concerning Mr. Dondero’s assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because there was no intent to

 hinder, delay, or defraud any creditors of the Debtor by entering into the ‘Alleged Agreement,’”

 as alleged in paragraph 89 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 13:

          All Documents and Communications Concerning Mr. Dondero’s allegation that the use of

 “forgivable loans [was] a practice that was standard at [Highland],” as alleged in paragraph 83 of

 the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request for Production No. 14:

          All Documents and Communications Concerning any loan ever given by Highland that

 was actually forgiven, including any loan ever given by Highland to: (a) Mr. Dondero, (b)

 Highland Capital Management Fund Advisors, L.P., (c) NexPoint Advisors, L.P., (d) HCRE


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Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC), (e) Highland Capital Management

Services, Inc., that was actually forgiven.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Dondero will produce all responsive documents, if any, at
a mutually agreeable place and time.

Request for Production No. 15:

         All Documents and Communications reflecting Your compensation for the years 2016,

2017, 2018, 2019, and 2020, including salary, deferred benefits, bonuses, expense reimbursements,

and tax returns.

RESPONSE:

       Dondero objects to this Request because the documents requested are in the possession of
the Debtor and the Debtor has refused to produce these documents in this litigation. Subject to
any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the collection of
responsive documents, Dondero will produce all responsive documents, if any, at a mutually
agreeable place and time.

Request for Production No. 16:

         All Documents provided to each of Your two experts. See James Dondero’s Rule 26(a)(2)

Expert Disclosures, disclosed on May 28, 2021.

RESPONSE:

         Dondero will produce all responsive documents, if any, at a mutually agreeable place and
time.

Request for Production No. 17:

         For each year during the period 2016 through the present, those portions of Your federal

and state income tax returns Concerning Highland or any current or former affiliate of Highland.

RESPONSE:

        Dondero objects to this Request because it seeks documents not reasonably calculated to
lead to the discovery of relevant information. Subject to this objection, Dondero will produce
responsive documents, if any, at a mutually agreeable place and time.

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 Request for Production No. 18:

          To the extent not responsive to the prior Requests, all Documents and Communications

 Concerning each of Your responses to the Interrogatories.

 RESPONSE:

         Dondero objects to this Request because it is vague and not specifically tailored. Subject
 to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the collection of
 responsive documents, Dondero will produce all responsive documents, if any, at a mutually
 agreeable place and time.

 Request for Production No. 19:

          All Documents You intend to introduce at trial in this Adversary Proceeding.

 RESPONSE:

         Subject to any scheduling order agreed to by the parties or entered by the Court, Dondero
 will produce all responsive documents, if any, at a mutually agreeable place and time.




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                                 REQUESTS FOR ADMISSION

 Request for Admission No. 1:

          Admit that You never disclosed the terms of the Agreement to PricewaterhouseCoopers

 LLP.

 RESPONSE:

          ADMIT.

 Request for Admission No. 2:

          Admit that You never disclosed the existence of the Agreement to PricewaterhouseCoopers

 LLP.

 RESPONSE:

          ADMIT.

 Request for Admission No. 3:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Frank Waterhouse.

 RESPONSE:

          DENY.

 Request for Admission No. 4:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Frank Waterhouse.

 RESPONSE:

          DENY.

 Request for Admission No. 5:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Mark Okada.



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 RESPONSE:

          ADMIT.

 Request for Admission No. 6:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Mark Okada.

 RESPONSE:

          ADMIT.

 Request for Admission No. 7:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding that reflects or memorializes the terms of the Agreement.

 RESPONSE:

          ADMIT.

 Request for Admission No. 8:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding Concerning the existence of the Agreement.

 RESPONSE:

          DENY.

 Request for Admission No. 9:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to any creditor of Highland.

 RESPONSE:

          DENY.

 Request for Admission No. 10:




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          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to any creditor of Highland.

 RESPONSE:

          DENY.

 Request for Admission No. 11:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to the Bankruptcy Court.

 RESPONSE:

          ADMIT.

 Request for Admission No. 12:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to the Bankruptcy Court.

 RESPONSE:

          ADMIT.

 Request for Admission No. 13:

          Admit that You never caused Highland to disclose the terms of the Agreement in

 connection with the Bankruptcy Case.

 RESPONSE:

          ADMIT.

 Request for Admission No. 14:

          Admit that You never caused Highland to disclose the existence of the Agreement in

 connection with the Bankruptcy Case.

 RESPONSE:

          ADMIT.



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 Request for Admission No. 15:

          Admit that Highland never gave You a loan that was actually forgiven.

 RESPONSE:

          ADMIT.

 Request for Admission No. 16:

          Admit that Highland never gave Mark Okada a loan that was actually forgiven.

 RESPONSE:

          ADMIT.

 Request for Admission No. 17:

          Admit that Highland never gave a loan to any entity directly or indirectly owned or

 controlled by You that was actually forgiven.

 RESPONSE:

          ADMIT.




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                                      INTERROGATORIES

 Interrogatory No. 1:

          Identify the “testimony” that You believe “discusses the existence of [the Agreement] that

 may be uncovered through discovery in this Adversary Proceeding,” including the (a) name of the

 witness, (b) the substance of the anticipated testimony, and (c) the basis for Your belief. See

 paragraph 82 of the Amended Answer.

 RESPONSE:

         James Dondero objects to this Interrogatory because discovery is ongoing and because the
 Interrogatory seeks privileged information.

 Interrogatory No. 2:

          Identify the “email correspondence” that You believe “discusses the existence of [the

 Agreement] that may be uncovered through discovery in this Adversary Proceeding,” including

 the (a) name(s) of the sender(s) and recipient(s) of such email correspondence, (b) the date of any

 such email correspondence, and (c) the substance of any such e-mail correspondence. See

 paragraph 82 of the Amended Answer.

 RESPONSE:

         James Dondero objects to this Interrogatory because discovery is ongoing and because the
 Interrogatory seeks privileged information.

 Interrogatory No. 3:

          Identify the “portfolio companies” referred to in paragraph 82 of the Amended Answer.

 RESPONSE:

          MGM, Cornerstone, and Trussway.

 Interrogatory No. 4:

          Identify every loan made by Highland that was actually forgiven, including (a) the date of

 the loan, (b) the principal amount of the loan, (c) the obligor/debtor under the loan, (d) the reason


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 for the loan, (e) the date the loan was forgiven, (f) the amount of principal forgiven, and (g) the

 reason the loan was forgiven.

 RESPONSE:

         James Dondero objects to this Interrogatory because this information is in the possession
 of Plaintiff and Plaintiff has refused to provide this information to James Dondero in discovery.
 Therefore, James Dondero is unable to respond to this Interrogatory. Subject to these objections,
 James Dondero believes the following individuals may have received loans made by Highland that
 were forgiven, in whole or in part: Mike Hurley, Tim Lawler, Pat Daugherty, Jack Yang, Paul
 Adkins, Gibran Mahmud, Jean-Luc Eberlin, and Appu Mundassery.

 Interrogatory No. 5:

          Identify which part or parts of the Notes are “ambiguous,” as alleged in paragraph 85 of

 the Amended Answer, and state the basis for Your belief.

 RESPONSE:

        James Dondero contends that each note as a whole is ambiguous because it refers to
 additional agreements without specifying them.

 Interrogatory No. 6:

          Identify all witnesses You intend to call at trial for the Adversary Proceeding.

 RESPONSE:

         James Dondero objects to this Interrogatory because it is premature. James Dondero will
 identify any witnesses in accordance with any scheduling order entered by the Court.




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     Dated: September 27, 2021               Respectfully submitted,

                                             /s/Michael P. Aigen
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                                             Michael P. Aigen
                                             State Bar No. 24012196
                                             STINSON LLP
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                                             ATTORNEYS FOR JAMES DONDERO




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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
 the foregoing document was served via email on counsel for the Debtor.


                                                     /s/ Michael P. Aigen
                                                     Michael P. Aigen




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                                                                                       Appx. 00529
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                                EXHIBIT 25




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       ATTORNEYS FOR NANCY DONDERO

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                            §
       In re:                               §
                                            §              Chapter 11
       HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                           Case No. 19-34054-sgjl 1
                                            §
                         Debtor.            §
                                            §
       HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                            §
                         Plaintiff,         §              Adversary Proceeding No.
                                            §
       vs.                                  §              21-03003-sgj
                                            §
       HIGHLAND CAPITAL MANAGEMENT          §
       SERVICES, INC., JAMES DONDERO, NANCY §
       DONDERO, AND THE DUGABOY             §
       INVESTMENT TRUST,                    §
                                            §
                         Defendants.
                                            §




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                                                                               Appx. 00531
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         DEFENDANT NANCY DONDERO'S OBJECTIONS AND RESPONSES TO
         PLAINTIFF'S REQUESTS FOR ADMISSION, INTERROGATORIES, AND
                         REQUESTS FOR PRODUCTION

 TO:      Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
          Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

          Defendant Nancy Dondero (“Defendant” or “Dondero”) serves her Objections and

 Responses to Plaintiff Highland Capital Management, L.P.’s (“Debtor” or “Highland”) Requests

 for Admission, Interrogatories, and Requests for Production (“Requests”), as follows:

                                 REQUESTS FOR PRODUCTION

 Request For Production No. 1:

          All Documents and Communications Concerning the existence of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 2:

          All Documents and Communications Concerning the negotiation of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 3:

          All Documents and Communications Concerning the terms of the Agreement.

 RESPONSE:




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         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 4:

          All Documents and Communications you actually reviewed in connection with Your

 decision to enter into the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 5:

          All Communications Concerning the Agreement between You and (a) James Dondero, or

 (b) Mark Okada, or (c) Frank Waterhouse, or (d) PricewaterhouseCoopers LLP, or (e) any Class

 A shareholders of Highland (see paragraph 82 of the Amended Answer) for the period January 1,

 2018 to the present.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 6:

          All Documents and Communications Concerning the “portfolio companies,” as referred to

 in paragraph 82 of the Amended Answer.

 RESPONSE:




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                                                                                      Appx. 00533
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         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 7:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s claims are barred, in whole or in part, due to waiver,” as alleged in paragraph 83 of the

 Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 8:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s claims are barred, in whole or in part, due to estoppel,” as alleged in paragraph 84 of

 the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 9:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s claims are barred, in whole or in part, due to failure of consideration,” as alleged in

 paragraph 86 of the Amended Answer.

 RESPONSE:


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                                                                                           Appx. 00534
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         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 10:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s fraudulent transfer claims should be barred, in whole or in part, because at all relevant

 times Defendant James Dondero acted in good faith,” as alleged in paragraph 87 of the Amended

 Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 11:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s fraudulent transfer claims should be barred, in whole or in part, because the alleged

 transfer (i.e., the ‘Alleged Agreement’) was . . . for reasonably equivalent value,” as alleged in

 paragraph 88 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 12:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s fraudulent transfer claims should be barred, in whole or in part, because there was no


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 intent to hinder, delay, or defraud any creditors of the Debtor by entering into the ‘Alleged

 Agreement,’” as alleged in paragraph 89 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 13:

          All Documents and Communications Concerning any agreement You ever entered into “as

 representative for a majority of the Class A shareholders of Plaintiff.” See paragraph 82 of the

 Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dondero will produce all responsive documents, if any, at
 a mutually agreeable place and time.



 Request For Production No. 14:

          To the extent not responsive to the prior Requests, all Documents and Communications

 Concerning each of Your responses to the Interrogatories.

 RESPONSE:

         Dondero objects to this Request because it is vague and not specifically tailored. Subject
 to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the collection of
 responsive documents, Dondero will produce all responsive documents, if any, at a mutually
 agreeable place and time.



 Request For Production No. 15:

          All Documents You intend to introduce at trial in this Adversary Proceeding.



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 RESPONSE:

         Subject to any scheduling order agreed to by the parties or entered by the Court, Dondero
 will produce all responsive documents, if any, at a mutually agreeable place and time.




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                                 REQUESTS FOR ADMISSION

 Request For Admission No. 1:

          Admit that You never disclosed the terms of the Agreement to PricewaterhouseCoopers

 LLP.

 RESPONSE:

          ADMIT.

 Request For Admission No. 2:

          Admit that You never disclosed the existence of the Agreement to PricewaterhouseCoopers

 LLP.

 RESPONSE:

          ADMIT.

 Request For Admission No. 3:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Frank Waterhouse.

 RESPONSE:

          ADMIT.

 Request For Admission No. 4:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Frank Waterhouse.

 RESPONSE:

          ADMIT.

 Request For Admission No. 5:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Mark Okada.

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 RESPONSE:

          ADMIT.

 Request For Admission No. 6:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Mark Okada.

 RESPONSE:

          ADMIT.

 Request For Admission No. 7:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding that reflects or memorializes the terms of the Agreement.

 RESPONSE:

          Nancy Dondero lacks sufficient information to admit or deny this request.

 Request For Admission No. 8:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding Concerning the existence of the Agreement.

 RESPONSE:

          Nancy Dondero lacks sufficient information to admit or deny this request.

 Request For Admission No. 9:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to any creditor of Highland.

 RESPONSE:

          ADMIT.

 Request For Admission No. 10:




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          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to any creditor of Highland.

 RESPONSE:

          ADMIT.

 Request For Admission No. 11:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to the Bankruptcy Court.

 RESPONSE:

          ADMIT.

 Request For Admission No. 12:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to the Bankruptcy Court.

 RESPONSE:

          ADMIT.

 Request For Admission No. 13:

          Admit that You never caused Highland to disclose the terms of the Agreement in

 connection with the Bankruptcy Case.

 RESPONSE:

          ADMIT.

 Request For Admission No. 14:

          Admit that You never caused Highland to disclose the existence of the Agreement in

 connection with the Bankruptcy Case.

 RESPONSE:

          ADMIT.

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 Request For Admission No. 15:

          Admit that, prior to the Commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to anyone.

 RESPONSE:

          ADMIT (other than my brother).

 Request For Admission No. 16:

          Admit that, prior to the Commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to anyone.

 RESPONSE:

          ADMIT (other than my brother).




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                                     INTERROGATORIES

 Interrogatory No. 1:

          Identify each individual to whom You disclosed the terms of the Agreement prior to the

 commencement of the Action, including (a) the name of each person, (b) the date the disclosure

 was made, and (c) the substance of the disclosure.

 RESPONSE:

          None.

 Interrogatory No. 2:

          Identify each Person to whom You disclosed the existence of the Agreement prior to the

 commencement of the Adversary Proceeding, including (a) the name of each person, (b) the date

 the disclosure was made, and (c) the substance of the disclosure.

 RESPONSE:

          None.

 Interrogatory No. 3:

          Identify every Document and Communication Concerning the terms of the Agreement.

 RESPONSE:

       The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital
 Management, L.P.

 Interrogatory No. 4:

          Identify every Document and Communication Concerning the existence of the Agreement.

 RESPONSE:

       The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital
 Management, L.P.



 Interrogatory No. 5:


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          Identify every Document and Communication you reviewed in connection with Your

 decision to enter into the Agreement.

 RESPONSE:

        In addition to conversations with James Dondero, Nancy Dondero either reviewed or
 discussed with James Dondero the Fourth Amended and Restated Agreement of Limited
 Partnership of Highland Capital Management, L.P. and The Dugaboy Trust documents.



 Interrogatory No. 6:

          Other than the Agreement (as set forth in paragraph 82 of the Amended Answer), identify

 every agreement You ever entered into “as a representative of a majority of Class A shareholders

 of Plaintiff,” including (a) the parties with whom the agreement was made, (b) the date of the

 agreement, and (c) the terms of the agreement.

 Response:

        Other than generally approving compensation, including the Agreements at issue in the
 Notes proceedings, none.

 Interrogatory No. 7:

          Identify all witnesses You intend to call at trial for the Adversary Proceeding.

 RESPONSE:

         Nancy Dondero objects to this Interrogatory because it is premature. Nancy Dondero will
 identify any witnesses in accordance with any scheduling order entered by the Court.




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     Dated: September 27, 2021               Respectfully submitted,

                                             /s/Michael P. Aigen
                                             Deborah Deitsch-Perez
                                             State Bar No. 24036072
                                             Michael P. Aigen
                                             State Bar No. 24012196
                                             STINSON LLP
                                             3102 Oak Lawn Avenue, Suite 777
                                             Dallas, Texas 75219
                                             (214) 560-2201 telephone
                                             (214) 560-2203 facsimile
                                             Email: deborah.deitschperez@stinson.com
                                             Email: michael.aigen@stinson.com

                                             -and-

                                             /s/Daniel P. Elms
                                             Daniel P. Elms
                                             State Bar No. 24002049
                                             GREENBERG TRAURIG, LLP
                                             2200 Ross Avenue, Suite 5200
                                             Dallas, Texas 75201
                                             (214) 665-3600 telephone
                                             (214) 665-3601 facsimile
                                             Email: elmsd@gtlaw.com

                                             ATTORNEYS FOR NANCY DONDERO




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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
 the foregoing document was served via email on counsel for the Debtor.


                                                     /s/ Michael P. Aigen
                                                     Michael P. Aigen




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                                EXHIBIT 26




                                                                          Appx. 00547
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  Douglas S. Draper (La. Bar No. 5073)
  Leslie A. Collins (La. Bar No. 14891)
  Greta M. Brouphy (La. Bar No. 26216)
  HELLER, DRAPER & HORN, L.L.C.
  650 Poydras Street, Suite 2500
  New Orleans, LA 70130
  (504) 299-3300 telephone
  (504) 299-3399 facsimile
  ATTORNEYS FOR THE DUGABOY INVESTMENT
  TRUST



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                      §
  In re:                                              §
                                                      §   Chapter 11
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                  §
                                                          Case No. 19-34054-sgjl 1
                                                      §
                             Debtor.                  §
                                                      §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                  §
                                                      §
                             Plaintiff,               §   Adversary Proceeding No.
                                                      §
  vs.                                                 §   21-03003-sgj
                                                      §
  JAMES DONDERO, NANCY DONDERO,                       §
  AND THE DUGABOY INVESTMENT TRUST,                   §
                                                      §
                             Defendants.
                                                      §
                                                      §
                                                      §

    DEFENDANT THE DUGABOY INVESTMENT TRUST'S OBJECTIONS AND
 RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSION, INTERROGATORIES,
                   AND REQUESTS FOR PRODUCTION

 TO:       Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
           Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

           Defendant The Dugaboy Investment Trust (“Defendant” or “Dugaboy”) serves its

 Objections and Responses to Plaintiff Highland Capital Management, L.P.’s (“Debtor” or


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 “Highland”) Requests for Admission, Interrogatories, and Requests for Production (“Requests”),

 as follows:

                                 REQUESTS FOR PRODUCTION

 Request For Production No. 1:

          All Documents and Communications Concerning the existence of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 2:

          All Documents and Communications Concerning the negotiation of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 3:

          All Documents and Communications Concerning the terms of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 4:

          All Documents and Communications you actually reviewed in connection with Your

 decision to enter into the Agreement.


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 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 5:

          All Communications Concerning the Agreement between You and (a) James Dondero, or

 (b) Mark Okada, or (c) Frank Waterhouse, or (d) Nancy Dondero, or (e) any Class A shareholders

 of Highland. See paragraph 82 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 6:

          All Documents and Communications Concerning the “portfolio companies,” as referred to

 in paragraph 82 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 7:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s claims are barred, in whole or in part, due to waiver,” as alleged in paragraph 83 of the

 Amended Answer.

 RESPONSE:


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                                                                                           Appx. 00550
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         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 8:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s claims are barred, in whole or in part, due to estoppel,” as alleged in paragraph 84 of

 the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 9:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s claims are barred, in whole or in part, due to failure of consideration,” as alleged in

 paragraph 86 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 10:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s fraudulent transfer claims should be barred, in whole or in part, because at all relevant

 times Defendant James Dondero acted in good faith,” as alleged in paragraph 87 of the Amended

 Answer.


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                                                                                           Appx. 00551
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 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 11:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s fraudulent transfer claims should be barred, in whole or in part, because the alleged

 transfer (i.e., the ‘Alleged Agreement’) was . . . for reasonably equivalent value,” as alleged in

 paragraph 88 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 12:

          All Documents and Communications Concerning James Dondero’s assertion that

 “Plaintiff’s fraudulent transfer claims should be barred, in whole or in part, because there was no

 intent to hinder, delay, or defraud any creditors of the Debtor by entering into the ‘Alleged

 Agreement,’” as alleged in paragraph 89 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 13:




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                                                                                        Appx. 00552
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          All Documents and Communications Concerning any agreement Nancy Dondero ever

 entered into “as representative for a majority of the Class A shareholders of Plaintiff.” See

 paragraph 82 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Dugaboy will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 14:

          To the extent not responsive to the prior Requests, all Documents and Communications

 Concerning each of Your responses to the Interrogatories.

 RESPONSE:

         Dugaboy objects to this Request because it is vague and not specifically tailored. Subject
 to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the collection of
 responsive documents, Dugaboy will produce all responsive documents, if any, at a mutually
 agreeable place and time.



 Request For Production No. 15:

          All Documents You intend to introduce at trial in this Adversary Proceeding.

 RESPONSE:

         Subject to any scheduling order agreed to by the parties or entered by the Court, Dugaboy
 will produce all responsive documents, if any, at a mutually agreeable place and time.




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                                 REQUESTS FOR ADMISSION

 Request For Admission No. 1:

          Admit that You never disclosed the terms of the Agreement to PricewaterhouseCoopers

 LLP.

 RESPONSE:

          ADMIT.

 Request For Admission No. 2:

          Admit that You never disclosed the existence of the Agreement to PricewaterhouseCoopers

 LLP.

 RESPONSE:

          ADMIT.

 Request For Admission No. 3:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Frank Waterhouse.

 RESPONSE:

          ADMIT.

 Request For Admission No. 4:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Frank Waterhouse.

 RESPONSE:

          ADMIT.

 Request For Admission No. 5:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Mark Okada.

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 RESPONSE:

          ADMIT.

 Request For Admission No. 6:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Mark Okada.

 RESPONSE:

          ADMIT.

 Request For Admission No. 7:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding that reflects or memorializes the terms of the Agreement.

 RESPONSE:

          Dugaboy lacks sufficient information to admit or deny this request.

 Request For Admission No. 8:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding Concerning the existence of the Agreement.

 RESPONSE:

          Dugaboy lacks sufficient information to admit or deny this request.

 Request For Admission No. 9:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to any creditor of Highland.

 RESPONSE:

          ADMIT.

 Request For Admission No. 10:




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                                                                                     Appx. 00555
Case 21-03005-sgj Doc 134-1 Filed 12/18/21          Entered 12/18/21 02:10:25      Page 557 of 896




          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to any creditor of Highland.

 RESPONSE:

          ADMIT.

 Request For Admission No. 11:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to the Bankruptcy Court.

 RESPONSE:

          ADMIT.

 Request For Admission No. 12:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to the Bankruptcy Court.

 RESPONSE:

          ADMIT.

 Request For Admission No. 13:

          Admit that You never caused Highland to disclose the terms of the Agreement in

 connection with the Bankruptcy Case.

 RESPONSE:

          ADMIT.

 Request For Admission No. 14:

          Admit that You never caused Highland to disclose the existence of the Agreement in

 connection with the Bankruptcy Case.

 RESPONSE:

          ADMIT.

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                                                                                     Appx. 00556
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 Request For Admission No. 15:

          Admit that, prior to the Commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to anyone.

 RESPONSE:

          ADMIT.

 Request For Admission No. 16:

          Admit that, prior to the Commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to anyone.

 RESPONSE:

          ADMIT.




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                                     INTERROGATORIES

 Interrogatory No. 1:

          Identify each individual to whom You disclosed the terms of the Agreement prior to the

 commencement of the Adversary Proceeding, including (a) the name of each person, (b) the date

 the disclosure was made, and (c) the substance of the disclosure.

 RESPONSE:

          None.

 Interrogatory No. 2:

          Identify each Person to whom You disclosed the existence of the Agreement prior to the

 commencement of the Adversary Proceeding, including (a) the name of each person, (b) the date

 the disclosure was made, and (c) the substance of the disclosure.

 RESPONSE:

          None.

 Interrogatory No. 3:

          Identify every Document and Communication Concerning the terms of the Agreement.

 RESPONSE:

       The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital
 Management, L.P.

 Interrogatory No. 4:

          Identify every Document and Communication Concerning the existence of the Agreement.

 RESPONSE:

       The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital
 Management, L.P.



 Interrogatory No. 5:


                                                11
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                                                                                     Appx. 00558
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          Identify every Document and Communication you reviewed in connection with Your

 decision to enter into the Agreement.

 RESPONSE:

        In addition to conversations with James Dondero, Nancy Dondero either reviewed or
 discussed with James Dondero the Fourth Amended and Restated Agreement of Limited
 Partnership of Highland Capital Management, L.P. and The Dugaboy Trust documents.



 Interrogatory No. 6:

          Other than the Agreement (as set forth in paragraph 82 of the Amended Answer), identify

 every agreement Nancy Dondero ever entered into “as a representative of a majority of Class A

 shareholders of Plaintiff,” including (a) the parties with whom the agreement was made, (b) the

 date of the agreement, and (c) the terms of the agreement.

 Response:

        Other than generally approving compensation, including the Agreements at issue in the
 Notes proceedings, none.

 Interrogatory No. 7:

          Identify all witnesses You intend to call at trial for the Adversary Proceeding.

 RESPONSE:

        Dugaboy objects to this Interrogatory because it is premature. Dugaboy will identify any
 witnesses in accordance with any scheduling order entered by the Court.




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    Dated: September 27, 2021            Respectfully submitted,


                                         /s/Douglas Draper
                                         Douglas S. Draper (La. Bar No. 5073)
                                         Leslie A. Collins (La. Bar No. 14891)
                                         Greta M. Brouphy (La. Bar No. 26216)
                                         HELLER, DRAPER & HORN, L.L.C.
                                         650 Poydras Street, Suite 2500
                                         New Orleans, LA 70130
                                         (504) 299-3300 telephone
                                         (504) 299-3399 facsimile




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                                                                            Appx. 00560
Case 21-03005-sgj Doc 134-1 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 562 of 896




                                                                          Appx. 00561
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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
 the foregoing document was served via email on counsel for the Debtor.


                                                     /s/Douglas S. Draper
                                                     Douglas S. Draper




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                                                                                       Appx. 00562
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                                EXHIBIT 27




                                                                          Appx. 00563
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 Davor Rukavina
 Thomas D. Berghman
 Julian P. Vasek
 MUNSCH HARDT KOPF & HARR, P.C.
 500 N. Akard Street, Suite 3800
 Dallas, Texas 75202-2790
 (214) 855-7500 telephone
 (214) 978-4375 facsimile
 Email: drukavina@munsch.com
 ATTORNEYS FOR NEXPOINT ADVISORS, L.P.
                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                                §
                                                       §    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                       §    Case No. 19-34054-sgj11
                                Debtor.                §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                       §
                                Plaintiff,             §    Adversary Proceeding No.
                                                       §
 vs.                                                   §    21-03005-sgj
                                                       §
 NEXPOINT ADVISORS, L.P., JAMES                        §
 DONDERO, NANCY DONDERO, AND THE                       §
 DUGABOY INVESTMENT TRUST,                             §
                                                       §
                                Defendants.            §

  DEFENDANT NEXPOINT ADVISORS, L.P.'S OBJECTIONS AND RESPONSES TO
     PLAINTIFF’S REQUESTS FOR ADMISSION, INTERROGATORIES, AND
                     REQUESTS FOR PRODUCTION

TO:       Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
          Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

          Defendant NexPoint Advisors, L.P. (“Defendant” or “NexPoint”) serves its Objections and

Responses to Plaintiff Highland Capital Management, L.P.’s (“Debtor” or “Highland”) Requests

for Admission, Interrogatories, and Requests for Production (“Requests”), as follows:




                                                 1

                                                                                        Appx. 00564
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                             REQUESTS FOR PRODUCTION

Request for Production No. 1:

       All Documents and Communications Concerning the existence of the Agreement.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 2:

       All Documents and Communications Concerning the negotiation of the Agreement.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 3:

       All Documents and Communications Concerning the terms of the Agreement.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 4:

       All Communications Concerning the Agreement between You and (a) James Dondero, or

(b) Nancy Dondero, or (c) Frank Waterhouse, or (d) Your outside auditor(s), or (e) any Class A

shareholders of Highland (see paragraph 83 of the Amended Answer) for the period January 1,

2018 to the present.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.


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                                                                                    Appx. 00565
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Request for Production No. 5:

       All Documents and Communications Concerning Your assertion that “Plaintiff was

responsible for making payments on behalf of the Defendant under the note,” as alleged in

paragraph 80 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 6:

       All Documents and Communications Concerning Your assertion that “[a]ny alleged default

under the note was the result of the Plaintiff’s negligence, misconduct, breach of contract, etc.,” as

alleged in paragraph 80 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 7:

       All Documents and Communications Concerning Your assertion that Plaintiff “caused the

delay” in the performance of the contract, as alleged in paragraph 81 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 8:

       All Documents and Communications Concerning Your assertion that “Plaintiff has waived

the right to accelerate the note and/or the Plaintiff is estopped to enforce the alleged acceleration

by accepting payment after the same,” as alleged in paragraph 82 of the Amended Answer.


                                                  3

                                                                                         Appx. 00566
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RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 9:

       All Documents and Communications Concerning Your assertion that NexPoint acted in

“good faith,” as alleged in paragraph 84 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 10:

       All Documents and Communications Concerning Your assertion that “reasonably

equivalent value was provided for any alleged transfer or obligation,” as alleged in paragraph 84

of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 11:

       Your audited financial statements for the period January 1, 2018 to the present.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
redacted as needed, at a mutually agreeable place and time.

Request for Production No. 12:

       Your unaudited financial statements for the period January 1, 2018 to the present, to the

extent any portion of that time period is not covered by the audited financial statements.


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                                                                                       Appx. 00567
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RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
redacted as needed, at a mutually agreeable place and time.

Request for Production No. 13:

       For the period January 1, 2018 through the present, all Communications between You and

Your outside auditor(s) concerning the Notes.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 14:

       All Documents and Communications Concerning any compensation that You paid to

James Dondero for each of Your fiscal years 2016, 2017, 2018, and 2019, and 2020.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 15:

       All Documents and Communications Concerning any loan that You ever made to or for

the benefit of James Dondero.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 16:

       All Documents and Communications Concerning any Loan that You ever made to or for

the benefit of James Dondero that You forgave.


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                                                                                    Appx. 00568
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RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 17:

       To the extent not responsive to the prior requests, all Documents and Communications

Concerning each of Your responses to the Interrogatories.

RESPONSE:

        Defendant objects to this Request because it is vague and not specifically tailored. Subject
to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the collection of
responsive documents, Defendant will produce all responsive documents, if any, at a mutually
agreeable place and time.

Request for Production No. 18:

       All Documents You intend to introduce at trial in this Adversary Proceeding.

RESPONSE:

        Subject to any scheduling order agreed to by the parties or entered by the Court, Defendant
will produce all responsive documents, if any, at a mutually agreeable place and time.




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                                REQUESTS FOR ADMISSION

 Request for Admission No. 1:

        Admit that You never disclosed the terms of the Agreement to Your outside auditor(s).

 RESPONSE:

        ADMIT.

 Request for Admission No. 2:

        Admit that You never disclosed the existence of the Agreement to Your outside auditor(s).

 RESPONSE:

        ADMIT.

 Request for Admission No. 3:

        Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Frank Waterhouse.

 RESPONSE:

        DENY.

 Request for Admission No. 4:

        Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Frank Waterhouse.

 RESPONSE:

        DENY.

 Request for Admission No. 5:

        Admit that no document was created prior to the commencement of the Adversary

 Proceeding that reflects or memorializes the terms of the Agreement.

 RESPONSE:

        ADMIT.


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Request for Admission No. 6:

       Admit that no document was created prior to the commencement of the Adversary

Proceeding Concerning the existence of the Agreement.

RESPONSE:

       DENY.

Request for Admission No. 7:

       Admit that You did not disclose the terms of the Agreement in connection with the

Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

to the Plan or Disclosure Statement.

RESPONSE:

       DENY.

Request for Admission No. 8:

       Admit that You did not disclose the existence of the Agreement in connection with the

Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

to the Plan or Disclosure Statement.

RESPONSE:

       DENY.




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                                                                                  Appx. 00571
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                                    INTERROGATORIES

Interrogatory No. 1:

       Identify the “testimony” that You believe “discusses the existence of [the Agreement] that

may be uncovered through discovery in this Adversary Proceeding,” including the (a) name of the

witness, (b) the substance of the anticipated testimony, and (c) the basis for Your belief. See

paragraph 83 of the Amended Answer.

RESPONSE:

        Defendant objects to this Interrogatory because discovery is ongoing and because the
Interrogatory seeks privileged information.

Interrogatory No. 2:

       Identify the “email correspondence” that You believe “discusses the existence of [the

Agreement] that may be uncovered through discovery in this Adversary Proceeding,” including

the (a) name(s) of the sender(s) and recipient(s) of such email correspondence, (b) the date of any

such email correspondence, and (c) the substance of any such e-mail correspondence.

RESPONSE:

        Defendant objects to this Interrogatory because discovery is ongoing and because the
Interrogatory seeks privileged information.

Interrogatory No. 3:

       Identify each of Your employees, officers, representatives, and agents who knew of the

terms and existence of the Agreement prior to March 1, 2021, and for each such person, identify

(a) the name of the person, (b) the person’s title or connection to You, (c) the date on which the

person first learned of the terms and existence of the Agreement, and (d) how and from whom the

person first learned of the terms and existence of the Agreement.




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                                                                                       Appx. 00572
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RESPONSE:

       Defendant objects to this Interrogatory to the extent that it seeks privileged information.
Subject to this objection, Defendant states that James Dondero and Frank Waterhouse knew of the
terms and existence of the Agreement prior to March 1, 2021.

Interrogatory No. 4:

       Identify all witnesses You intend to call at trial for the Adversary Proceeding.

RESPONSE:

       Defendant objects to this Interrogatory because it is premature. Defendant will identify any
witnesses in accordance with any scheduling order entered by the Court.




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                                                                                          Appx. 00573
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    Dated: September 27, 2021            Respectfully submitted,

                                         /s/Julian P. Vasek
                                         Davor Rukavina
                                         State Bar No. 24030781
                                         Thomas D. Berghman
                                         State Bar No. 24082683
                                         Julian P. Vasek.
                                         State Bar No. 24070790
                                         MUNSCH HARDT KOPF & HARR, P.C.
                                         500 N. Akard Street, Suite 3800
                                         Dallas, Texas 75202-2790
                                         Telephone: (214) 855-7500
                                         Facsimile: (214) 978-4375
                                         Email: drukavina@munsch.com
                                         Email: tberghman@munsch.com
                                         Email: jvasek@munsch.com

                                         ATTORNEYS FOR NEXPOINT ADVISORS, L.P.




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                                             VERIFICATION

       STATE OF TEXAS

       COUNTY OF DALLAS

                On this day, James D. Dondero appeared before me, the undersigned notary public, and

       upon his oath, certified that he had read DEFENDANT NEXPOINT ADVISORS, L.P.'S

       OBJECTIONS AND RESPONSES TO PLAINTIFF'S INTERROGATORIES and that the facts

       stated therein are within his personal knowledge and are true and correct to the best of his

       knowledge, information and belief.




                                                           JAMES D. DONDERO



             SWORN TO and SUBSCRIBED before me by James D. Dondero on the 27th day of
       September, 2021.




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                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
the foregoing document was served via email on counsel for the Debtor.


                                                    /s/ Julian P. Vasek
                                                    Julian P. Vasek




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                                                                                      Appx. 00576
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                                EXHIBIT 28




                                                                          Appx. 00577
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 Email: michael.aigen@stinson.com
 ATTORNEYS FOR HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.

                          IN THE UNITED STATES BANKRUPTCY
                      COURT FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                       §
  In re:                               §
                                       §                   Chapter 11
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                           Case No. 19-34054-sgjl 1
                                       §
                    Debtor.            §
                                       §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                       §
                    Plaintiff,         §                   Adversary Proceeding No.
                                       §
  vs.                                  §                   21-03006-sgj
                                       §
  HIGHLAND CAPITAL MANAGEMENT          §
  SERVICES, INC., JAMES DONDERO, NANCY §
  DONDERO, AND THE DUGABOY             §
  INVESTMENT TRUST,                    §
                                       §
                    Defendants.
                                       §

      DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.'S
   OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION,
           INTERROGATORIES, AND REQUESTS FOR PRODUCTION

 TO:       Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
           Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

           Defendant Highland Capital Management Services, Inc. (“Defendant” or “HCMS”)

 serves its Objections and Responses to Plaintiff Highland Capital Management, L.P.’s (“Debtor”



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                                                                                       Appx. 00578
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 or “Highland”) Requests for Admission, Interrogatories, and Requests for Production

 (“Requests”), as follows:

                                 REQUESTS FOR PRODUCTION

 Request For Production No. 1:

          All Documents and Communications Concerning the existence of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 2:

          All Documents and Communications Concerning the negotiation of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 3:

          All Documents and Communications Concerning the terms of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 4:

          All Communications Concerning the Agreement between You and (a) James Dondero, or

 (b) Nancy Dondero, or (c) Frank Waterhouse, or (d) any Class A shareholders of Highland (see

 paragraph 97 of the Amended Answer), or (e) Your outside auditor(s) for the period January 1,

 2018 to the present.

 RESPONSE:

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 CORE/3522697.0002/169345241.2
                                                                                       Appx. 00579
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         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 5:

          All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

 are barred, in whole or in part, due to waiver,” as alleged in paragraph 96 of the Amended

 Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 6:

          All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

 are barred, in whole or in part, due to estoppel,” as alleged in paragraph 95 of the Amended

 Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 7:

          All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

 are barred in whole or in part by the doctrine of justification and/or repudiation,” as alleged in

 paragraph 94 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 8:

                                                   3
 CORE/3522697.0002/169345241.2
                                                                                          Appx. 00580
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          All Documents and Communications Concerning Your assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because at all relevant times

 Defendant HCMS acted in good faith,” as alleged in paragraph 98 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 9:

          All Documents and Communications Concerning Your assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because the alleged transfer (i.e.,

 the “Alleged Agreement”) was . . . for reasonably equivalent value,” as alleged in paragraph 99

 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 10:

          All Documents and Communications Concerning Your assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because there was no intent to

 hinder, delay, or defraud any creditors of the Debtor by entering into the ‘Alleged Agreement’,”

 as alleged in paragraph 100 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 11:

          Your audited financial statements for the period January 1, 2018 to the present.

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 CORE/3522697.0002/169345241.2
                                                                                          Appx. 00581
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 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 redacted as needed, at a mutually agreeable place and time.

 Request For Production No. 12:

          Your unaudited financial statements for the period January 1, 2018 to the present, to the

 extent any portion of that time period is not covered by the audited financial statements.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 redacted as needed, at a mutually agreeable place and time.

 Request For Production No. 13:

          For the period January 1, 2018 through the present, all Communications between You

 and Your outside auditor(s) concerning the Notes.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 14:

          All Documents and Communications Concerning any compensation that You paid to

 James Dondero for each of Your fiscal years 2016, 2017, 2018, and 2019, and 2020.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 15:




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 CORE/3522697.0002/169345241.2
                                                                                         Appx. 00582
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          All Documents and Communications Concerning any loan that You ever made to or for

 the benefit of James Dondero.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request For Production No. 16:

          All Documents and Communications Concerning any Loan that You ever made to or for

 the benefit of James Dondero that You forgave.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request For Production No. 17:

          To the extent not responsive to the prior requests, all Documents and Communications

 Concerning each of Your responses to the Interrogatories.

 RESPONSE:

         Defendant objects to this Request because it is vague and not specifically tailored.
 Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the
 collection of responsive documents, Defendant will produce all responsive documents, if any, at
 a mutually agreeable place and time.

 Request For Production No. 18:

          All Documents You intend to introduce at trial in this Adversary Proceeding.

 RESPONSE:

       Subject to any scheduling order agreed to by the parties or entered by the Court,
 Defendant will produce all responsive documents, if any, at a mutually agreeable place and time.




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                                  REQUESTS FOR ADMISSION

  Request For Admission No. 1:

           Admit that You never disclosed the terms of the Agreement to Your outside auditor(s).

  RESPONSE:

           ADMIT.

  Request For Admission No. 2:

           Admit that You never disclosed the existence of the Agreement to Your outside

  auditor(s).

  RESPONSE:

           ADMIT.

  Request For Admission No. 3:

           Admit that, prior to the commencement of the Adversary Proceeding, You never

  disclosed the terms of the Agreement to Frank Waterhouse.

  RESPONSE:

           DENY.

  Request For Admission No. 4:

           Admit that, prior to the commencement of the Adversary Proceeding, You never

  disclosed the existence of the Agreement to Frank Waterhouse.

  RESPONSE:

           DENY.

  Request For Admission No. 5:

           Admit that no document was created prior to the commencement of the Adversary

  Proceeding that reflects or memorializes the terms of the Agreement.

  RESPONSE:

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                                                                                      Appx. 00584
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          ADMIT.

 Request For Admission No. 6:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding Concerning the existence of the Agreement.

 RESPONSE:

          DENY.

 Request For Admission No. 7:

          Admit that You did not disclose the terms of the Agreement in connection with the

 Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

 to the Plan or Disclosure Statement.

 RESPONSE:

          DENY.

 Request For Admission No. 8:

          Admit that You did not disclose the existence of the Agreement in connection with the

 Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

 to the Plan or Disclosure Statement.

 RESPONSE:

          DENY.




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                                                                                      Appx. 00585
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                                      INTERROGATORIES

 Interrogatory No. 1:

          Identify the “testimony” that You believe “discusses the existence of [the Agreement]

 that may be uncovered through discovery in this Adversary Proceeding,” including the (a) name

 of the witness, (b) the substance of the anticipated testimony, and (c) the basis for Your belief.

 See paragraph 97 of the Amended Answer.

 RESPONSE:

         Defendant objects to this Interrogatory because discovery is ongoing and because the
 Interrogatory seeks privileged information.



 Interrogatory No. 2:

          Identify the “email correspondence” that You believe “discusses the existence of [the

 Agreement] that may be uncovered through discovery in this Adversary Proceeding,” including

 the (a) name(s) of the sender(s) and recipient(s) of such email correspondence, (b) the date of

 any such email correspondence, and (c) the substance of any such e-mail correspondence.

 RESPONSE:

         Defendant objects to this Interrogatory because discovery is ongoing and because the
 Interrogatory seeks privileged information.

 Interrogatory No. 3:

          Identify each of Your employees, officers, representatives, and agents who knew of the

 terms and existence of the Agreement prior to March 1, 2021, and for each such person, identify

 (a) the name of the person, (b) the person’s title or connection to You, (c) the date on which the

 person first learned of the terms and existence of the Agreement, and (d) how and from whom

 the person first learned of the terms and existence of the Agreement.

 RESPONSE:

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                                                                                          Appx. 00586
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         Defendant objects to this Interrogatory to the extent that it seeks privileged information.
 Subject to this objection, Defendant states that James Dondero and Frank Waterhouse knew of
 the terms and existence of the Agreement prior to March 1, 2021.

 Interrogatory No. 4:

          Identify which part or parts of the Notes are “ambiguous,” as alleged in paragraph 102 of

 the Amended Answer, and state the basis for Your belief.

 RESPONSE:

       Defendant contends that each note as a whole is ambiguous because it refers to additional
 agreements without specifying them.

 Interrogatory No. 5:

          Identify all witnesses You intend to call at trial for the Adversary Proceeding.

 RESPONSE:

        Defendant objects to this Interrogatory because it is premature. Defendant will identify
 any witnesses in accordance with any scheduling order entered by the Court.




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                                                                                             Appx. 00587
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 Dated: September 27, 2021             Respectfully submitted,

                                       /s/Deborah Deitsch-Perez
                                       Deborah Deitsch-Perez
                                       State Bar No. 24036072
                                       Michael P. Aigen
                                       State Bar No. 24012196
                                       STINSON LLP
                                       3102 Oak Lawn Avenue, Suite 777
                                       Dallas, Texas 75219
                                       (214) 560-2201 telephone
                                       (214) 560-2203 facsimile
                                       Email: deborah.deitschperez@stinson.com
                                       Email: michael.aigen@stinson.com

                                       ATTORNEYS FOR DEFENDANT HIGHLAND CAPITAL
                                       MANAGEMENT SERVICES, INC.




                                         11
 CORE/3522697.0002/169345241.2
                                                                           Appx. 00588
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                                              VERIFICATION

       STATE OF TEXAS
                                        )
       COUNTY OF DALLAS                 )


               On this day, James D. Dondero appeared before me, the undersigned notary public, and

       upon his oath, certified that he had read DEFENDANT HIGHLAND CAPITAL MANAGEMENT

       SERVICES,           INC.'S      OBJECTIONS     AND            RESPONSES                  TO          PLAINTIFF'S

       INTERROGATORIES and that the facts stated therein are within his pers                        1 knowledge and are

       true and correct to the best of his knowledge, information a              lief.



                                                               JAMES ►. DONDERO



             SWORN TO and SUBSCRIBED before me by James D. Dondero on the 27th day of
       September, 2021.




                                                    Notary P          is in and for the State of Texas




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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
 the foregoing document was served via email on counsel for the Debtor.


                                                       /s/ Michael P. Aigen
                                                       Michael P. Aigen




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                                                                                        Appx. 00590
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                                EXHIBIT 29




                                                                          Appx. 00591
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 ATTORNEYS FOR NEXPOINT REAL ESTATE PARTNERS, LLC

                          IN THE UNITED STATE BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

  In re:                             §
                                     §                     Chapter 11
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                     §                     Case No. 19-34054-sgj11
                        Debtor.      §
                                     §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                        Plaintiff,   §                     Adversary Proceeding No.
                                     §
  vs.                                §                     21-03007-sgj
                                     §
  HCRE PARTNERS, LLC (N/K/A NEXPOINT §
  REAL ESTATE PARTNERS, LLC), JAMES  §
  DONDERO, NANCY DONDERO, AND THE    §
  DUGABOY INVESTMENT TRUST,          §
                                     §
                        Defendants.  §

  DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC'S OBJECTIONS AND
 RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION, INTERROGATORIES,
                   AND REQUESTS FOR PRODUCTION

 TO:       Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
           Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

           Defendant HCRE Partners, LLC, n/k/a NexPoint Real Estate Partners, LLC (“Defendant”

 or “NREP”), serves its Objections and Responses to Plaintiff Highland Capital Management,




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                                                                                      Appx. 00592
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 L.P.’s (“Debtor” or “Highland”) Requests for Admission, Interrogatories, and Requests for

 Production (“Requests”), as follows:

                                 REQUESTS FOR PRODUCTION

 Request for Production No. 1:

          All documents and communications Concerning the existence of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request for Production No. 2:

          All Documents and Communications Concerning the negotiation of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request for Production No. 3:

          All Documents and Communications Concerning the terms of the Agreement.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request for Production No. 4:

          All Communications Concerning the Agreement between You and (a) James Dondero, or

 (b) Nancy Dondero, or (c) Frank Waterhouse, or (d) any Class A shareholders of Highland (see

 paragraph 99 of the Amended Answer), or (e) Your outside auditor(s) for the period January 1,

 2018 to the present.

 RESPONSE:

                                                2
 CORE/3522697.0002/169345052.1
                                                                                     Appx. 00593
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        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 5:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

are barred, in whole or in part, due to waiver,” as alleged in paragraph 98 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 6:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

are barred, in whole or in part, due to estoppel,” as alleged in paragraph 97 of the Amended

Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 7:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

are barred in whole or in part by the doctrine of justification and/or repudiation,” as alleged in

paragraph 96 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 8:




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                                                                                       Appx. 00594
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          All Documents and Communications Concerning Your assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because at all relevant times

 Defendant NREP acted in good faith,” as alleged in paragraph 100 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request for Production No. 9:

          All Documents and Communications Concerning Your assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because the alleged transfer (i.e.,

 the “Alleged Agreement”) was . . . for reasonably equivalent value,” as alleged in paragraph 101

 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request for Production No. 10:

          All Documents and Communications Concerning Your assertion that “Plaintiff’s

 fraudulent transfer claims should be barred, in whole or in part, because there was no intent to

 hinder, delay, or defraud any creditors of the Debtor by entering into the ‘Alleged Agreement’,”

 as alleged in paragraph 102 of the Amended Answer.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.

 Request for Production No. 11:

          Your audited financial statements for the period January 1, 2018 to the present.

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 CORE/3522697.0002/169345052.1
                                                                                          Appx. 00595
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 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 redacted as needed, at a mutually agreeable place and time.

 Request for Production No. 12:

          Your unaudited financial statements for the period January 1, 2018 to the present, to the

 extent any portion of that time period is not covered by the audited financial statements.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 redacted as needed, at a mutually agreeable place and time.

 Request for Production No. 13:

          For the period January 1, 2018 through the present, all Communications between You and

 Your outside auditor(s) concerning the Notes.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request for Production No. 14:

          All Documents and Communications Concerning any compensation that You paid to

 James Dondero for each of Your fiscal years 2016, 2017, 2018, and 2019, and 2020.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request for Production No. 15:


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                                                                                         Appx. 00596
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          All Documents and Communications Concerning any loan that You ever made to or for

 the benefit of James Dondero.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request for Production No. 16:

          All Documents and Communications Concerning any Loan that You ever made to or for

 the benefit of James Dondero that You forgave.

 RESPONSE:

         Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
 the collection of responsive documents, Defendant will produce all responsive documents, if any,
 at a mutually agreeable place and time.



 Request for Production No. 17:

          To the extent not responsive to the prior requests, all Documents and Communications

 Concerning each of Your responses to the Interrogatories.

 RESPONSE:

         Defendant objects to this Request because it is vague and not specifically tailored. Subject
 to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the collection of
 responsive documents, Defendant will produce all responsive documents, if any, at a mutually
 agreeable place and time.

 Request for Production No. 18:

          All Documents You intend to introduce at trial in this Adversary Proceeding.

 RESPONSE:

         Subject to any scheduling order agreed to by the parties or entered by the Court, Defendant
 will produce all responsive documents, if any, at a mutually agreeable place and time.

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                                                                                         Appx. 00597
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                                 REQUESTS FOR ADMISSION

 Request for Admission No. 1:

          Admit that You never disclosed the terms of the Agreement to Your outside auditor(s).

 RESPONSE:

          ADMIT.

 Request for Admission No. 2:

          Admit that You never disclosed the existence of the Agreement to Your outside auditor(s).

 RESPONSE:

          ADMIT.

 Request for Admission No. 3:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the terms of the Agreement to Frank Waterhouse.

 RESPONSE:

          DENY.

 Request for Admission No. 4:

          Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

 the existence of the Agreement to Frank Waterhouse.

 RESPONSE:

          DENY.

 Request for Admission No. 5:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding that reflects or memorializes the terms of the Agreement.

 RESPONSE:

          ADMIT.

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 CORE/3522697.0002/169345052.1
                                                                                       Appx. 00598
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 Request for Admission No. 6:

          Admit that no document was created prior to the commencement of the Adversary

 Proceeding Concerning the existence of the Agreement.

 RESPONSE:

          DENY.

 Request for Admission No. 7:

          Admit that You did not disclose the terms of the Agreement in connection with the

 Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

 to the Plan or Disclosure Statement.

 RESPONSE:

          DENY.

 Request for Admission No. 8:

          Admit that You did not disclose the existence of the Agreement in connection with the

 Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

 to the Plan or Disclosure Statement.

 RESPONSE:

          DENY.




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                                      INTERROGATORIES

 Interrogatory No. 1:

          Identify the “testimony” that You believe “discusses the existence of [the Agreement] that

 may be uncovered through discovery in this Adversary Proceeding,” including the (a) name of the

 witness, (b) the substance of the anticipated testimony, and (c) the basis for Your belief. See

 paragraph 99 of the Amended Answer.

 RESPONSE:

         Defendant objects to this Interrogatory because discovery is ongoing and because the
 Interrogatory seeks privileged information.



 Interrogatory No. 2:

          Identify the “email correspondence” that You believe “discusses the existence of [the

 Agreement] that may be uncovered through discovery in this Adversary Proceeding,” including

 the (a) name(s) of the sender(s) and recipient(s) of such email correspondence, (b) the date of any

 such email correspondence, and (c) the substance of any such e-mail correspondence.

 RESPONSE:

         Defendant objects to this Interrogatory because discovery is ongoing and because the
 Interrogatory seeks privileged information.



 Interrogatory No. 3:

          Identify each of Your employees, officers, representatives, and agents who knew of the

 terms and existence of the Agreement prior to March 1, 2021, and for each such person, identify

 (a) the name of the person, (b) the person’s title or connection to You, (c) the date on which the

 person first learned of the terms and existence of the Agreement, and (d) how and from whom the

 person first learned of the terms and existence of the Agreement.

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                                                                                        Appx. 00600
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RESPONSE:

       Defendant objects to this Interrogatory to the extent that it seeks privileged information.
Subject to this objection, Defendant states that James Dondero knew of the terms and existence of
the Agreement prior to March 1, 2021.

Interrogatory No. 4:

         Identify which part or parts of the Notes are “ambiguous,” as alleged in paragraph 104 of

the Amended Answer, and state the basis for Your belief.

RESPONSE:

      Defendant contends that each note as a whole is ambiguous because it refers to additional
agreements without specifying them.

Interrogatory No. 5:

         Identify all witnesses You intend to call at trial for the Adversary Proceeding.

RESPONSE:

       Defendant objects to this Interrogatory because it is premature. Defendant will identify any
witnesses in accordance with any scheduling order entered by the Court.




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                                                                                            Appx. 00601
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     Dated: September 27, 2021               Respectfully submitted,

                                             /s/Michael P. Aigen
                                             Deborah Deitsch-Perez
                                             State Bar No. 24036072
                                             Michael P. Aigen
                                             State Bar No. 24012196
                                             STINSON LLP
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                                             (214) 560-2203 facsimile
                                             Email: deborah.deitschperez@stinson.com
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                                             ATTORNEYS FOR NEXPOINT REAL ESTATE
                                             PARTNERS, LLC




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                                               VERIFICATION

       STATE OF TEXAS

       COUNTY OF DALLAS                  )


               On this day, James D. Dondero appeared before me, the undersigned notary public, and

       upon his oath, certified that he had read DEFENDANT NEXPOINT REAL ESTATE

       PARTNERS,         LLC'S         JAMES DONDERO'S       OBJECTIONS AND                     RESPONSES     TO

       PLAINTIFF'S INTERROGATORIES and that the facts stated                          ein are within his personal

       knowledge and are true and correct to the best of his kn          led e.     orm tion and belief.



                                                              JAME D. DON                RO



             SWORN TO and SUBSCRIBED before me by James D. Dondero on the 27th day of
       September, 2021.




                                                        JO-AA
                                                    Notary Publ. in and for the State of Texas



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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
 the foregoing document was served via email on counsel for the Debtor.


                                                     /s/ Michael P. Aigen
                                                     Michael P. Aigen




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                                EXHIBIT 30




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                              FOURTH AMENDED AND RESTATED

                           AGREEMENT OF LIMITED PARTNERSHIP

                                             OF

                           HIGHLAND CAPITAL MANAGEMENT, L.P.




     THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
     AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
     UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
     ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
     PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
     SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
     PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




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                                       FOURTH AMENDED AND RESTATED
                                     AGREEMENT OF LIMITED PARTNERSHIP
                                                    Of'
                                     HIGHLAND CAPITAL MANAGEMENT, L.P.

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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
     is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
     among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
     party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                                   ARTICLE 1

                                                   GENERAL

             1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
     the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
     expressly provided herein, the rights and obligations of the Partners and the administration and
     termination of the Partnership shall be governed by the Delaware Act.

              1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
     conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
     unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
     provide Limited Partners with written notice of such name change within twenty (20) days after such
     name change.

              1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
     business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
     Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
     indirectly through another partnership, joint venture, or other arrangement.

             1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
     continue until terminated pursuant to this Agreement.

             1.5.    Partnership Offices; Addresses of Partners.

                      (a)      Partnership Offices. The registered office of the Partnership in the State of
     Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
     service of process on the Partnership at that registered office shall be Corporation Service Company, or
     such other registered office or registered agent as the General Partner may from time to time designate.
     The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
     sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
     offices at such other place or places as the General Partner deems advisable.

                     (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
     Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
     Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
     the General Partner with prompt written notice of any change in his/her/its address.




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                                                    ARTICLE 2

                                                   DEFINITIONS

             2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
     unless otherwise clearly indicated to the contrary in this Agreement:


     Agreement.

                      ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
     balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
     relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
     further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
     or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
     Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
     Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
     the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
     (B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
     minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
     Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                      ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
     under common control with the Person in question. As used in this definition, the term ·'controf' means
     the possession. directly or indirectly, of the power to direct or cause the direction of the management and
     policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                       ..Agreement" means this Fourth Amended and Restated Agreement of Limited
     Partnership, as it may be amended, supplemented, or restated from time to time.

                     "Business Day" means Monday through Friday of each week, except that a legal holiday
     recognized as such by the government of the United States or the State of Texas shall not be regarded as a
     Business Day.

                       ·'Capital Account" means the eapital account maintained for a Partner pursuant to
     Section 3.7(a).

                     "Capital Contribution" means, with respect to any Partner, the amount of money or
     property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

                    "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
     with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
     supplemented or restated from time to time.

                      "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class A Limited Partner.''




                                                          2




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                      "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
     Interest, as shown on ==~~·

                       "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class B Limited Partner."

                       ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
     Limited Partner's aggregate capital contributions, including the original principal balance of the
     Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
     exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
     total book value of the Partnership; provided, however, that the General Partner shall only be required to
     test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
     further the General Partner must complete the testing within 180 days of the end of each calendar year;
     provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
     at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                      "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
     its capacity as a Class C Limited Partner."

                     "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
     $93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
     Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
     multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
     only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
     calendar year; provided further the General Partner must complete the testing within 180 days of the end
     of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
     General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
     Ratio Trigger Period.

                     "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
     time.

                   ''Contribution Note" means that certain Secured Promissory Note dated December 21,
     2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                     ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                     "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                      "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
     Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
     restated from time to time, and any successor to that Act.

                     "Effective Date" means the date first recited above.

                     ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




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                    "Founding Partner Group" means, all partners holding partnership interests m the
     Partnership immediately before the Effective Date.

                     "General Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
     not ceased to be a General Partner pursuant to the terms of this Agreement.

                     "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
     not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                     "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
     expenditures described in Code Section 705(a)(2)(B).

                      ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
     Interests of Class A Limited Partners.

                    ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
     NA V Ratio Trigger Period.

                       "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
     plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
     Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
     measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
     plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
     the beginning of the period being measured; provided, however, that amounts within each of the
     aforementioned categories shall be excluded from the calculation to the extent they are specifically
     identified as being derived from investing or financing activities. Each of the capitalized terms in this
     definition shall have the meaning given them in the books and records of the Partnership and appropriate
     adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
     that are current assets or current liabilities.

                    ''New Issues" means Securities that are considered to be "new issues," as defined in the
     Conduct Rules of the National Association of Securities Dealers, Inc.

                       "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
     I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                         "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
     l. 704-2(b )(3 ).

                     "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
     Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
     capitalized terms in this definition shall have the meaning given them in the books and records of the
     Partnership.



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                       "Parmer'' means a General Partner or a Limited Partner.

                       "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
     l .704-2(b)(4).

                      "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
     Section l .704-2(i)(2).

                    "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
     Regulations Section 1.704-2(i)(5).

                     "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
     partnership established pursuant to this Agreement.

                     "Partnership Capitaf' means, as of any relevant date, the net book value of the
     Partnership's assets.

                     ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
     including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
     deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
     a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
     manage and operate the Pa1inership.

                       "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
     l. 704-2( d).

                     ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
     Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                      "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
     organization, association, or other entity.

                       "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                     "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
     income described in Code Section 705(a)( 1)(B).

                      "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
     treated as a "profits interest" for federal income tax purposes.

                    "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
     by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
     Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
     The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
     Promissory Notes.




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                       ·'Record Date'' means the date established by the General Partner for determining the
     identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
     rights in respect of any other lawful action of Limited Partners.

                    "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
     Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
     as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
     supplemented, or restated from time to time.

                        ''Securities·' means the following: (i) securities of any kind (including, without limitation,
     ·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
     (as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
     thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
     any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
     any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
     participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
     through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
     convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
     bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
     ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
     marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
     bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
     foreign country or any state or possession of the United States or any foreign country or any political
     subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                      "Securities Act" means the Securities Act of 1933, as amended, and any successor to
     such statute.

                      "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                     "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
     sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
     part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
     exchange, pledge, hypothecate or otherwise dispose oC

                     "Treasury Regulations" means the Department of Treasury Regulations promulgated
     under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

             2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
     have the meanings contained elsewhere in this Agreement.

                                                      ARTICLE 3

                                              FINANCIAL MATTERS

             3.1.     Capital Contributions.

                       (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
     shall be set forth in the books and records of the Partnership.

                      (b)     Additional Capital Contributions.


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                             (i)      The General Partner, in its reasonable discretion and for a bona
     business purpose, may request in writing that the Founding Partner Group make additional Capital
     Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                               (ii)     Any failure by a Partner to make an Additional Capital Contribution
     requested under                     on or before the date on which that Additional Capital Contribution was
     due shall result in the Partner being in default.

                      (c)                                                In the event a Partner is in default under
     =====:c..:~~ (a "Defaulting Partner''),      the Defaulting Partner, in its sole and unfettered discretion, may
     elect to take either one of the option set forth below.

                                (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
     shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
     capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
     advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
     the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
     which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
     of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
     and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
     receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
     or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
     Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
     shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
     the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
     but shall be considered, for all other purposes of this Agreement, to have been distributed to the
     Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
     by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
     connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
     enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
     addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
     repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
     Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
     to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
     Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
     accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
     agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
     statements, continuation statements or other documents and take such other actions as the General Partner
     shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
     Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
     notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
     hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
     documents and take all such other actions as may be required to perfect such security interest. Such
     appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
     shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
     available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
     reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
     shall not be less than five (5) days following the date of such notice.




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                             ( ii)                                      If the Defaulting Partner does not elect
     to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
     Partner's Percentage Interest in accordance with the following formula:

              The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
              Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
              current Capital Account of the Defaulting Partner (with such Capital Account determined
              after taking into account a revaluation of the Capital Accounts immediately prior to such
              determination), divided by (b) the sum of (i) the current Capital Account of the
              Defaulting Partner (with such Capital Account determined after taking into account a
              revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
              the amount of the additional capital contribution that such Defaulting Partner failed to
              make when due.

     To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
     Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
     proportion to their respective Percentage Interests.

              3.2.    Allocations of Profits and Losses.

                     (a)      Allocations of Profits. Except as provided in===~-''                   and       Profits
     for any Fiscal Year will be allocated to the Partners as follows:

                                 (i)      First, to the Partners until cumulative Profits allocated under this Section
     3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                                (ii)            to the Partners until cumulative Profits allocated under this Section
     3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                               (iii)   Then, to all Patiners in proportion to their respective Percentage
     Interests.

                     (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
     for any Fiscal Year will be will be allocated as follows:

                                  (i)      First, to the Partners until cumulative Losses allocated under this Section
     3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
     3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                               (ii)           to the Partners in proportion to their respective positive Capital
     Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
     Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
     that were last allocated to the Capital Accounts of the Partners; and

                              (iii)    Then, to all Partners in proportion to their respective Percentage
     Interests.




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                     (c)                                      If any allocation of Losses would cause a
     Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
     the General Partner.

              3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
     Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
     existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
     Section 4.3( d).

              3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
     special allocations shall be made in the following order:

                     (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
     this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
     period for which allocations are made, prior to any other allocation under this Agreement, each Partner
     shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
     subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
     net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
     Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
     Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
     minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
     provided therein.

                      (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
     other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
     Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
     other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
     Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
     and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
     or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
     accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
     determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
     to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
     Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
     exceptions provided therein.

                      (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
     allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
     (d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
     amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
     Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
     pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
     Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
     tentatively made without considering this Section 3.4(c).

                       ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
     any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
     restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
     sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
     be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
     as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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     the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
     allocations provided for in this       have been tentatively made without considering               or


                     ( e)                             Nonrecourse Deductions for any taxable year or other
     period for which allocations are made shall he allocated among the Partners in accordance with their
     Percentage interests.

                     (f)                                        Notwithstanding anything to the contrary in
     this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
     allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
     the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
     with Treasury Regulations Section l .704-2(i).

                      (g)                                  To the extent an adjustment to the adjusted tax basis
     of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
     Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
     Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
     adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
     that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
     which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
     Regulations.

                      (h)                                    Any allocable items of income, gain, expense,
     deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
     exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
     Partnership Interest whether such items are positive or negative in amount.

              3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
     pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
     provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
     items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
     amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
     equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
     Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
     this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
     extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
     economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
     determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
     shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
     during which such items are recognized for tax purposes.

              3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
     Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
     the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
     account of any variation at the time of the contribution between the tax basis of the property to the
     Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
     or other decisions relating to those allocations shall be made by the General Partner in any manner that
     reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
     deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
     affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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     of Profits,          other tax items or distributions of any Partner pursuant to any provision of this
     Agreement.

             3.7.     Capital Accounts.

                      (a)                                       The Partnership shall establish and maintain a
     separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
     Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                              (i)     The Capital Account balanee of each Partner shall be credited (increased)
     by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
     value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
     that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
     (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
     specially allocated pursuant to             and     · and

                              (ii)     The Capital Account balance of each Partner shall be debited (decreased)
     by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
     property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
     property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
     allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
     Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
     allocated pursuant to Sections 3 .2,   and

     The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
     of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
     Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
     with those provisions. The General Partner may modify the manner in which the Capital Accounts are
     maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
     occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                     (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
     Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
     Contribution by reason thereof, and that negative balance shall not be considered an asset of the
     Partnership or of any Partner.

                     (c)              No interest shall be paid by the Patinership on Capital Contributions or
     on balances in Capital Accounts.

                     (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
     Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
     except as provided in Section 3.9 and Article 5.

                    ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
     considered Capital Contributions.

                    ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
     "'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
     otherwise.



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              3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
     credit that are recognized for federal income tax purposes will be allocated among the Partners in
     accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
     its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
     New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
     any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
     that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
     any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
     an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
     being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
     time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
     consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
     or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
     determines such alteration to be necessary or appropriate to avoid a materially inequitable result
     where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
     of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
     consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

             3. 9.    Distributions.

                       (a)                  The General Partner may make such pro rata or non-pro rata
     distributions as it may determine in its sole and unfettered discretion, without being limited to current or
     accumulated income or gains, but no such distribution shall be made out of funds required to make
     current payments on Partnership indebtedness; provided, however, that the General Partner may not make
     non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
     consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
     Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
     provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
     tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
     credit facilities with financial institutions that may limit the amount and timing of distributions to the
     Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
     distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
     3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
     aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
     Partners under Section 3 .9(b ).

                      (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
     pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
     Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
     Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                            (i)     No later than March 31st of each calendar year, commencing March 31,
     2017, an amount equal to $1,600,000.00;

                             (ii)     No later than March 31st of each year, commencing March 31, 2017, an
     amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
     the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
     gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
     and records;




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                             (iii)     No later than March 31st of      year, commencing March 31, 2017, an
     amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                            (iv)    No later than December 24th of each year, commencing December
     2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
     the then current year.

                       (c)                         The General Partner may, in its sole discretion, declare and
     make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
     attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
     paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
     Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
     provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
     Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
     Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
     income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
     and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
     Priority Distributions under ==~~~CJ.·

                      ( d)                                                      Any amounts paid pursuant to
     ===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                      (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
     the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
     pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
     that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
     withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
     received a payment from the Partnership as of the time that withholding or tax is paid, which payment
     shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
     Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
     To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
     which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
     the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
     income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
     hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
     sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
     otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
     the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
     received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
     lower rate is applicable, or that no withholding is applicable.

                     (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
     Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
     amount necessary for each of them to pay their respective federal income tax obligations incurred through
     the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
     Capital Management, L.P., the predecessor to this Agreement.

                      (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
     defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
     distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
     Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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     as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
     consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
     and any of its direct or indirect owners that have governing documents directly affected by a Honis
             Event.

             3.10.    Compensation and Reimbursement of General Partner.

                     (a)     Compensation. The General Partner and any Affiliate of the General Partner
     shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
     any other agreements unless approved by a Majority Interest; provided, however, that no compensation
     above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
             Period.

                      (b)                                     In addition to amounts paid under other Sections
     of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
     disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
     with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
     and all related matters.

             3.11.    Books, Records, Accounting, and Reports.

                      (a)     Records and Accounting. The General Partner shall keep or cause to be kept
     appropriate books and records with respect to the Partnership's business, which shall at all times be kept
     at the principal office of the Partnership or such other office as the General Partner may designate for
     such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
     accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
     discretion. in accordance with generally accepted accounting principles and applicable law. Upon
     reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
     records of the Partnership.

                     (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
     otherwise determined by the General Partner in its sole and unfettered discretion.

                      ( c)    Other Information. The General Paitner may release information concerning the
     operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
     to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
     other Person for reasons reasonably related to the business and operations of the Partnership or as
     required by law or regulation of any regulatory body.

                     ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
     Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
     Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
     Partner requesting the information.

             3.12.   Tax Matters.

                      (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
     filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
     federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
     his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
     October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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     other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
     General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
     unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
     and treat such taxes as an expense of the Partnership.

                      (b)                      Except as otherwise provided herein, the General Partner shall, in
     its sole and unfettered discretion, determine whether to make any available tax election.

                      (c)                             Subject to the provisions hereof, the General Partner is
     designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
     represent the Partnership, at the Partnership's expense, in connection with all examinations of the
     Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
     expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
     cooperate \\ith the General Partner in connection with such proceedings.

                      (d)                                No election shall be made by the Partnership or any
     Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
     Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                     ARTICLE 4

                                 RIGHTS AND OBLIGATIONS OF PARTNERS

              4.1.    Rights and Obligations of the General Partner. In addition to the rights and
     obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
     obligations:

                      (a)      Management. The General Partner shall conduct, direct, and exercise full control
     of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
     management powers over the business and affairs of the Partnership shall be exclusively vested in the
     General Partner, and Limited Partners shall have no right of control over the business and affairs of the
     Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
     partnership under applicable law or that are granted to the General Partner under any provision of this
     Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
     desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
     determination of the activities in which the Partnership will participate; (ii) the performance of any and all
     acts necessary or appropriate to the operation of any business of the Partnership (including, without
     limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
     paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
     insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
     General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
     of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
     in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
     any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
     business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
     and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
     deems necessary or advisable for the conduct of the activities of the Partnership, including, without
     limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
     pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
     on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
     of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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     of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
     desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
     implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
     cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
     consultants, contractors, agents and representatives and the determination of their compensation and other
     teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
     ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
     or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
     the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
     the incurring of legal expenses, and the settlement of claims and suits.

                      (b)                                          The General Partner caused the Cetiificate of
     Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
     the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
     limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
     Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
     operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
     State of Delaware and in any other state where the Partnership may elect to do business.

                      (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
     Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
      from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
     representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
     properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
     exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
     sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
     all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
     contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
     financing. In no event shall any Person dealing with the General Partner or the General Partner's
     representative with respect to any business or property of the Partnership be obligated to asce1iain that the
     terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
     assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
     such Person be obligated to inquire into the necessity or expedience of any act or action of the General
     Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
     agreement, promissory note, or other instrument or document executed by the General Partner or the
     General Partner's representative with respect to any business or property of the Patinership shall be
     conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
     the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
     instrument or document was duly executed in accordance with the terms and provisions of this Agreement
     and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
     was duly authorized and empowered to execute and deliver any and every such instrument or document
     for and on behalf of the Paiinership.

                      (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
     account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
     unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
     the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
     Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
     account are maintained that show the amount of funds of the Partnership on deposit in such account and
     interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
     the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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     not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
     obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
     thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
     Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
     withdrawals from or charges against such accounts shall be made by the General Partner or by its
     representatives. Funds of the Partnership may be invested as determined by the General Partner in
     accordance with the terms and provisions of this Agreement.

                      (e)

                               (i)      The General Partner or any Affiliate of the General Partner may lend to
     the Partnership funds needed by the Partnership for such periods of time as the General Partner may
     determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
     at a rate greater than the rate (including points or other financing charges or fees) that would be charged
     the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
     lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
     case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
     borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
     Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
     General Partner's sole and exclusive discretion.

                              (ii)    The General Partner or any of its Affiliates may enter into an agreement
     with the Partnership to render services, including management services, for the Partnership. Any service
     rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
     and reasonable to the Partnership.

                              (iii)   The Partnership may Transfer any assets to JOmt ventures or other
     partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
     consistent with applicable law as the General Partner deems appropriate; provided, however, that the
     Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
     Ratio Trigger Period for consideration less than such asset's fair market value.

                      (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
     thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
     thereof shall be entitled to and may have business interests and engage in business activities in addition to
     those relating to the Patinership, including, without limitation, business interests and activities in direct
     competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
     virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
     General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
     the General Patiner or any Affiliate thereof.

                      (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
     Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
     between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
     Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
     General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
     herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
     any other applicable law, rule, or regulation.

                     (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
     Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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     the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
     performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
     with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
     in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
     Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
     harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
     misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
     and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
     who is or was serving at the request of the Partnership acting through the General Partner as a director,
     oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
     venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
     its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
     permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
     elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
     reduce or limit in any manner the indemnification provided for or permitted by this                  unless
     such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
     enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
     reason of the indemnification provisions of this Agreement.

                     ( i)     Liability of General Partner.

                              (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
     or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
     any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                               (ii)   The General Partner may exercise any of the powers granted to it by this
     Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
     directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
     for any misconduct or negligence on the part of any agent or representative appointed by the General
     Partner.

                     U)       Reliance by General Partner.

                              (i)     The General Partner may rely and shall be protected in acting or
     refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
     request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
     have been signed or presented by the proper party or parties.

                              (ii)    The General Partner may consult with legal counsel, accountants,
     appraisers, management consultants, investment bankers, and other consultants and advisers selected by
     it, and any opinion of any such Person as to matters which the General Partner believes to be within such
     Person's professional or expe11 competence shall be full and complete authorization and protection in
     respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
     accordance with such opinion.

                      (k)     The General Partner may, from time to time, designate one or more Persons to be
     officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
     authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
     General Partner may assign titles to particular officers, including, without limitation, president, vice
     president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
     until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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     until such Person shall          or shall have been removed in the manner hereinafter provided. Any
     number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
     officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
     may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
     Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
     any office of the Partnership may be filled by the General Partner.

              4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
     of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
     rights and obligations:

                   (a)                                 Limited Partners shall have no liability under this
     Agreement except as provided herein or under the Delaware Aet.

                      (b)                               No Limited Partner shall take part in the control
     (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
     Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
     as specifically set forth in this Agreement.

                     (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
     return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
     Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
     extent provided for in this Agreement.

                   (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
     shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
     Agreement.

                      ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
     Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
     Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
     may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
     Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
     however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
     traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
     3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
     offer to purchase any securities liquidated under this Section 4.2(e).

             4.3.     Transfer of Partnership Interests.

                       (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
     in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
     Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
     made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
     shall be null and void. An alleged transferee shall have no right to require any information or account of
     the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
     treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
     incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
     of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
     notices required to be given to holders of Partnership Interests.



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                      (b)                                      The General Partner may Transfer all, but not
     than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
     however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
      Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
     the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
      Interest under this                 to an Af111iate of the General Partner or any other Person shall not
     constitute a withdrawal of the General Partner under                                 or any other provision
     of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
     otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
     jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
     consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
     pursuant to~~~~~·

                     (c)                                      The Partnership Interest of a Limited Partner may
     not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
     and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
     and Redemption Agreement.

                      ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
     any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
     A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
     items attributable to the transferred interest for that period shall be divided and allocated between the
     transferor and the transferee by taking into aecount their varying interests during the period in aecordance
     with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
     provided that no allocations shall be made under this Section 4.3(d) that would affect any special
     allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
     be made to the transferor. Solely for purposes of making such allocations and distributions, the
     Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
     given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
     date that Partnership Interest was Transferred and such other information as the General Pa1iner may
     reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
     occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
     according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
     Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
     incur any liability for making alloeations and distributions in accordance with the provisions of this
     Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
     of any Pa1inership Interest.

                      ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
     event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
     default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
     Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
     Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
     equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
     transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     forfeiture of such Class B Limited Partnership Interest.

                     (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
     Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
     Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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     the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
     default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
     member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
     automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
     each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
     Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     transfer of such Class C Limited Partnership Interest.

             4.4.     Issuances of Partnership Interests to New and Existing Partners.

                      (a)                                                                   The General Partner
     may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
     Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
     discretion; provided, however, that the General Partner may only admit additional Persons as Limited
     Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
     further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
     in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
     Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
     Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
     partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
     executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
     the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
     Sell and Redemption Agreement.

                     (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
     General Partner may issue an additional Partnership Interest to any existing Partner at such times and
     upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
     additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
     Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
     subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
     Redemption Agreement.

             4.5.     Withdrawal of General Partner

                      (a)      Option. In the event of the withdrawal of the General Partner from the
     Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
     (if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
     from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
     to its Capital Account balance, determined as of the effective date of its departure.

                      (b)     Conversion. If the successor to a Departing Partner does not exercise the option
     described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
     Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

             4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                      (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
     or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
     receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
     to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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     that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
     withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
     requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
     respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
     Agreement in the form attached as                (which may be modified by the General Partner in its sole
     and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
     Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
     of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
     Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
     Limited Partner.

                      (b)                                                  A successor General Partner selected
     pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
     Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
     of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
     predecessor's Partnership Interest.

                     ( c)    Action by General Partner. In connection with the admission of any substitute
     Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
     have the authority to take all such actions as it deems necessary or advisable in connection therewith,
     including the amendment of              and the execution and filing with appropriate authorities of any
     necessary documentation.

                                                     ARTICLE 5

                                       DISSOLUTION AND WINDING UP

             5.1.     Dissolution. The Partnership shall be dissolved upon:

                      (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
     event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
     Section 4.3(b)):

                     (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
     the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
     Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
     Amended Buy-Sell and Redemption Agreement; or

                     (c)      Any other event that, under the Delaware Act, would cause its dissolution.

     For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
     when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
     bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
     or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
     arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
     an answer or other pleading admitting or failing to contest the material allegations of a petition filed
     against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
     paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
     the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
     hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
     Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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     similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
     expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
     trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
     Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
     expire after the date of expiration of a stay, if the appointment has not previously been vacated.

              5.2.      Continuation of the Partnership. Upon the occurrence of an event described in       ==C!c!
             the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
     continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
     made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
     up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
     111                 then:

                     (a)       Within that ninety (90)-day period a successor General Partner shall be selected
     by a Majority Interest;

                      (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
     end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                     (c)       The interest of the former General Partner shall be converted to an interest as a
     Limited Pa11ner: and

                     (d)     All necessary steps shall be taken to amend or restate this Agreement and the
     Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
     Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

              5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
      under               the General Partner or, in the event the General Partner has been dissolved, becomes
      bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
     committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
     General Partner) shall be entitled to receive such compensation for its services as may be approved by a
      Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
      written notice and (if other than the General Partner) may be removed at any time, with or without cause,
      by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
      Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
     duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
     The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
     and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
     the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
     such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
     provided in this              the Liquidator appointed in the manner provided herein shall have and may
     exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
     upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
     limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
     desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
     Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
     judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
     herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
     of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
     of applicable law:



                                                           23




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                      (a)    To the payment of the            of the terminating transactions including, without
     limitation, brokerage commission, legal fees, accounting      and closing costs;

                      (b)    To the payment of creditors of the Partnership, including Partners, in order of
     priority provided by law;

                        (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
     balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
     1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
     of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
     for such purposes; and

                     (d)      To the Partners in propo1iion to their respective Percentage Interests.

               5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
     liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
     dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
     Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
     Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
     liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
     assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
     undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
     such distributions in kind shall be subject to such conditions relating to the disposition and management
     of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
     or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
     determine the fair market value of any property distributed in kind using such reasonable method of
     valuation as it may adopt.

              5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
     distribution of Partnership property as provided in                     and       the Partnership shall be
     terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
     cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
     registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
     Delaware and shall take such other actions as may be necessary to terminate the Partnership.

             5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
     the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
     any such return shall be made solely from Partnership assets.

             5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
     Partnership property.

                                                    ARTICLE 6

                                            GENERAL PROVISIONS

             6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
     the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
     and appropriate; provided, however, any action taken by the General Partner shall be subject to its
     fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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     that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
     the consent of such Partner adversely affected.

              6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
     be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
     ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
     his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
     may have an interest in any Partnership Interest by reason of an assignment or otherwise.

             6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
     convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
     or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
     references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
     Agreement. All Exhibits hereto are incorporated herein by reference.

             6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
     Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
     nouns, pronouns. and verbs shall include the plural and vice versa.

             6.5.      Further Action. The parties shall execute all documents, provide all information, and
     take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
     Agreement.

              6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
     pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
     assigns.

              6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
     pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
     thereto.

             6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
     enforceable by any creditors of the Partnership.

             6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
     duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
     breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
     condition.

             6.10. Counterparts. This agreement may be executed in counterparts, all of which together
     shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
     not signatories to the original or the same counterpart.

              6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
     by the laws of the State of Delaware, without regard to the principles of conflicts of law.

              6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
     illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
     arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
     intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
     provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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     not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
     objectives.

               6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
     the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
     affiliates.

               6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
      parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
      representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
      submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     ~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
      and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
      binding on the other party, with related expedited discovery for the parties, in a court of law, and
      thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
      American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
     arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
     The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
      limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
     each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
     deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
      request for production (in response, the producing pa11y shall not be obligated to produce in excess of
      5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
     pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
     paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
     state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
     The arbitrators will not have the authority to render a decision that contains an outcome based on error of
     state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
     state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
     ,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
      be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
     mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
     another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
     including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
     bear costs and fees. The duty to arbitrate described above shall survive the termination of this
     Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
     jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
     of law will apply in the arbitration.




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                 IN WITNESS WHEREOF. the           hereto have entered into this            date and
         year first written above.

                                                     GENERAL PART:'IER:




                                                     THE DUGABOY INVESTMENT TRUST




                                                      THE MARK AND PAMELA OK,\DA FAMILY
                                                      TRUST - EXEMPT TRt;ST #1


                                                         By:
                                                         -:-Jame: Lawrence Tonomura
                                                         Its:     Trustee


                                                         THE MARK AND PAMELA OKADA FA.MILY
                                                         TRUST - EXEMPT TRUST #2


                                                         By:
                                                         Name: Lawrence Tonomura
                                                         Its:  Trustee




          Signature Page to Fourth Amended @d Res1a1ed
          Agreement qt' Li111i,ed Parfllership




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                IN WITNESS             the       hereto have entered into this        as of the date and
       year first written above.

                                                       GENERAL PARTNER:

                                                       STRAND ADVISORS, INC.,
                                                       a Delaware corporation

                                                       By:
                                                                James D. Dondero,
                                                                President


                                                       LIMITED PARTNERS:

                                                       THE DUGABOY INVESTMENT TRUST


                                                       By:
                                                       Name: Nancy M. Dondero
                                                       Its:  Trustee

                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST - EXEMPT TRUST #1




                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST EXEMPT TRUST #2


                                                       By:
                                                       Na
                                                       Its:


                                                       MARK K. OKADA



                                                       Mark K. Okada




       Signature Page to Fourth Amended and Restated
       Agreement of Limited Partnership




                                                                                                     D-CNL003001
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                                                                         . INVESTMl(NT TRUST
                                                                          .C Administrator


                                                        By




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                                             EXHIBIT A


                                                                      Percentage Interest
      CLASS A PARTNERS                                              By Class   Effective %

       GENERAL PARTNER:

          Strand Advisors                                             0.5573%       0.2508%

       LIMITED PARTNERS:

          The Dugaboy Investment Trust                               74.4426%       0.1866%

          Mark K. Okada                                              19.4268%       0.0487%

          The Mark and Pamela Okada Family Trust- Exempt Trust #1     3.9013%       0.0098%

          The Mark and Pamela Okada Family Trust Exempt Trust #2      1.6720%       0.0042%

     Total Class A Percentage Interest                              100.0000%        0.500%

     CLASS B LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%      55.0000%

     CLASS C LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%       44.500%

     PROFIT AND LOSS AMONG CLASSES

          Class A Partners                                           0.5000%

          Class B Partners                                          55.0000%

          Class C Partners                                          44.5000%




                                                                                          D-CNL003003
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                                                     EXHIBIT B

                                   ADDENDUM
                                    TO THE
          FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                       OF
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
     Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
     be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
     entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
     General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
     - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
     have the meanings set forth in the Agreement).

                                                     RECITALS:

             WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
     any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
     Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
     Agreement to amend the Agreement;

          WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
     a_% Percentage Interest in the Partnership as of the date hereof;

            WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
     and conditions of the Agreement; and

              WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
     party thereto.

                                                   AGREEMENT:

            RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
     acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
     bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
     Second Amended Buy-Sell and Redemption Agreement; and be it

           FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
                   as a Limited Partner, and the General Partner shall attach this Addendum to the
     Agreement and make it a part thereof; and be it

             FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
     which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
     such parties are not signatories to the original or the same counterpart.




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            IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
     above written.

                                                     GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.

                                                     By:
                                                             Name: _ _ _ _ _ _ _ _ _ _ __
                                                             Title:


                                                     NEW LIMITED PARTNER:



     AGREED AND ACCEPTED:

     In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
     allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
     valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
     terms and conditions of the Agreement as though a party thereto.



      ___________]




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                                EXHIBIT 31




                                                                          Appx. 00642
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                                                                            Docket #0083 Date Filed: 9/1/2021




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      STINSON LLP
      3102 Oak Lawn Ave, Suite 777
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      -AND-

      Clay M. Taylor – State Bar ID 24033261
      Bryan C. Assink – State Bar ID 24089009
      BONDS ELLIS EPPICH SCHAFER JONES LLP
      420 Throckmorton Street, Suite 1000
      Fort Worth, Texas 76102
      (817) 405-6900 – Telephone
      (817) 405-6902 – Facsimile

      ATTORNEYS FOR DEFENDANT JAMES DONDERO

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                             §                            Case No. 19-34054-SGJ-11
                                         §
      HIGHLAND CAPITAL MANAGEMENT, L.P., §                            Chapter 11
                                         §
           Debtor.                       §
                                         §
      HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                         §
           Plaintiff.                    §
                                         §
      v.                                 §
                                         §                            Adversary No.: 21-03003
      JAMES DONDERO, NANCY DONDERO,      §
      AND THE DUGABOY INVESTMENT TRUST §
                                         §
           Defendants.                   §

              DEFENDANT JAMES DONDERO’S ANSWER TO AMENDED COMPLAINT

               Defendant James Dondero ("James Dondero"), defendant in the above-styled and

      numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland Capital

      Management, L.P. (the “Plaintiff”), hereby files this Answer (the “Answer”) responding to the



      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT
      CORE/3522697.0002/168973556                                 ¨1¤}HV5)!          PAGE 1
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      Amended Complaint for (I) Breach of Contract and (II) Turnover of Property (III) Fraudulent

      Transfer, and (IV) Breach of Fiduciary Duty [Adv. Dkt. 73] (the “Amended Complaint”). Where

      an allegation in the Amended Complaint is not expressly admitted in this Amended Answer, it is

      denied.

                In filing this Answer, Defendant James Dondero does not waive any rights to compel

      arbitration, as set forth in Defendants’ Motion to Compel Arbitration [Adv. Dkt. 80], filed on

      September 1, 2021.1

                                             PRELIMINARY STATEMENT

                1.      The first sentence of paragraph 1 of the Amended Complaint sets forth the

      Plaintiff’s objective in bringing the Amended Complaint and does not require a response. To the

      extent it contains factual allegations, they are denied. The second sentence contains a legal

      conclusion that does not require a response. To the extent it contains factual allegations, they are

      denied.

                2.      Defendant James Dondero admits that he amended his answer and served sworn

      responses to interrogatories and that these documents speak for themselves. To the extent paragraph

      2 alleges other facts, Defendant James Dondero lacks knowledge or information sufficient to form

      a belief about the truth of the allegations in paragraph 2 of the Amended Complaint and therefore

      denies the same.

                3.      Defendant James Dondero denies the allegations in paragraph 3 of the Amended

      Complaint.


      1
        Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
      judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
      filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging
      discovery); Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when
      defendant filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty
      Life Ins. Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party
      seeking arbitration did no more than defend itself against the claims made against it).

      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                                           PAGE 2
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                4.      Paragraph 4 of the Amended Complaint contains a summary of the relief the Plaintiff

      seeks and does not require a response. To the extent it contains factual allegations, they are denied.

                5.      Paragraph 5 of the Amended Complaint contains a summary of the relief the Plaintiff

      seeks and does not require a response. To the extent it contains factual allegations, they are

      denied.

                                        JURISDICTION AND VENUE

                6.      Defendant James Dondero admits that this Adversary Proceeding relates to the

      Plaintiff’s bankruptcy case but denies any implication that this fact confers Constitutional

      authority on the Bankruptcy Court to adjudicate this dispute. Any allegations in paragraph 6 not

      expressly admitted are denied.

                7.      Defendant James Dondero admits that the Court has statutory (but not

      Constitutional) jurisdiction to hear this Adversary Proceeding. Any allegations in paragraph 7

      not expressly admitted are denied.

                8.      Defendant James Dondero denies that a breach of contract claim is core. Defendant

      James Dondero denies that a § 542(b) turnover proceeding is the appropriate mechanism to

      collect a contested debt. Defendant James Dondero admits that a § 542(b) turnover proceeding is

      statutorily core but denies that it is Constitutionally core under Stern v. Marshall. Defendant

      James Dondero does not consent to the Bankruptcy Court entering final orders or judgment in

      this Adversary Proceeding. Any allegations in paragraph 8 not expressly admitted are denied.

                9.      Subject to the Defendants' Motion to Compel Arbitration, Defendant James

      Dondero admits paragraph 9 of the Amended Complaint.




      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                         PAGE 3
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                                                THE PARTIES

               10.      Defendant James Dondero admits the allegations in paragraph 10 of the Amended

      Complaint.

               11.      Defendant James Dondero admits the first and second sentences of the allegations

      in paragraph 11 of the Amended Complaint. The third sentence of paragraph 11 asserts a legal

      conclusion to which no response is required. To the extent a response is required or appropriate,

      Defendant James Dondero admits that he was the President of the Debtor’s General Partner, Strand

      Advisors, Inc. and the Debtor’s CEO until his resignation on January 9, 2020. Defendant James

      Dondero denies any remaining allegations contained in paragraph 11.

               12.      Defendant James Dondero admits the allegations in paragraph 12 of the Amended

      Complaint.

               13.      Defendant James Dondero admits that Nancy Dondero is his sister and admits that

      she is a trustee of Dugaboy. Any allegations in paragraph 13 not expressly admitted are denied.

                                            CASE BACKGROUND

               14.      Defendant James Dondero admits the allegations in paragraph 14 of the Amended

      Complaint.

               15.      Defendant James Dondero admits the allegations in paragraph 15 of the Amended

      Complaint.

               16.      Defendant James Dondero admits the allegations in paragraph 16 of the Amended

      Complaint.

               17.      Defendant James Dondero admits the allegations in paragraph 17 of the Amended

      Complaint.




      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                     PAGE 4
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                                                                                                    D-CNL002048
                                                                                              Appx. 00646
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               18.      Defendant James Dondero admits the allegations in paragraph 18 of the Amended

      Complaint.


                                          STATEMENT OF FACTS


               19.      Defendant James Dondero admits that he has executed promissory notes under

      which the Debtor is the payee. Any allegations in paragraph 19 not expressly admitted are denied.

               20.      Defendant James Dondero admits that he executed a note as alleged in the first

      sentence of paragraph 20 of the Amended Complaint. Defendant James Dondero admits that the

      attached document appears to be a copy of the referenced note.

               21.      Defendant James Dondero admits that he executed a note as alleged in the first

      sentence of paragraph 21 of the Amended Complaint. Defendant James Dondero admits that the

      attached document appears to be a copy of the referenced note.

               22.      Defendant James Dondero admits that he executed a note as alleged in the first

      sentence of paragraph 22 of the Amended Complaint. Defendant James Dondero admits that the

      attached document appears to be a copy of the referenced note.

               23.      Defendant James Dondero admits that Section 2 of each note attached to the

      Amended Complaint contains the provision quoted in paragraph 23 of the Amended Complaint.

               24.      Defendant James Dondero denies the allegations in paragraph 24 of the Amended

      Complaint. It appears that the provisions of each Note differ. Accordingly, the allegations made

      in this paragraph are denied.

               25.      Defendant James Dondero denies the allegations in paragraph 25 of the Amended

      Complaint. It appears that the provisions of each Note differ. Accordingly, the allegations made

      in this paragraph are denied.



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                                                                                                    D-CNL002049
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                26.     In response to paragraph 26 of the Amended Complaint, Defendant James

      Dondero admits that Exhibit 4 to the Amended Complaint (the “Demand Letter”) is a true and

      correct copy of what it purports to be and that the document speaks for itself. To the extent

      paragraph 26 of the Amended Complaint asserts a legal conclusion, no response is required, and

      it is denied. To the extent not expressly admitted, paragraph 26 of the Amended Complaint is

      denied.

                27.     To the extent paragraph 27 of the Amended Complaint asserts a legal conclusion,

      no response is necessary, and it is denied. Defendant James Dondero otherwise admits paragraph

      27 of the Complaint.

                28.     Defendant James Dondero lacks knowledge or information sufficient to form a

      belief about the truth of the allegations in paragraph 28 of the Amended Complaint and therefore

      denies same.

                29.     Defendant James Dondero lacks knowledge or information sufficient to form a

      belief about the truth of the allegations in paragraph 29 of the Amended Complaint and therefore

      denies same.

                30.     Defendant James Dondero lacks knowledge or information sufficient to form a

      belief about the truth of the allegations in paragraph 30 of the Amended Complaint and therefore

      denies same.

                31.     Defendant James Dondero lacks knowledge or information sufficient to form a

      belief about the truth of the allegations in paragraph 31 of the Amended Complaint and therefore

      denies same.

                32.     Defendant James Dondero denies the allegations in paragraph 32 of the Amended

      Complaint.



      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                     PAGE 6
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                                                                                                    D-CNL002050
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                33.     Defendant James Dondero admits that the Debtor filed the Original Complaint in

      this action on January 22, 2021 as alleged in the first sentence of paragraph 33 of the Amended

      Complaint. Defendant James Dondero denies he is liable for the relief requested in the Original

      Complaint. To the extent not expressly admitted, paragraph 33 of the Amended Complaint is

      denied.

                34.     Defendant James Dondero admits the allegations in paragraph 34 of the Amended

      Complaint.

                35.     Defendant James Dondero admits the allegations in paragraph 35 of the Amended

      Complaint.

                36.     In response to the allegations in paragraph 36 of the Amended Complaint,

      Defendant James Dondero admits that the Alleged Agreement was orally entered into in January

      or February 2019 or thereabouts. To the extent not expressly admitted, paragraph 36 of the

      Amended Complaint is denied.

                37.     Defendant James Dondero admits the allegations in paragraph 37 of the Amended

      Complaint.

                38.     Paragraph 38 of the Amended Complaint asserts a legal conclusion to which no

      response is required. To the extent a response is required or appropriate, Defendant James

      Dondero admits that he was the President of the Debtor’s General Partner, Stand Advisors, Inc.

      and the Debtor’s CEO until his resignation on January 9, 2020. To the extent not expressly

      admitted, paragraph 38 of the Amended Complaint is denied.

                39.     In response to paragraph 39 of the Amended Complaint, Defendant James

      Dondero informed the Debtor's CFO that the loans were potentially forgivable and testified that

      he doesn't remember if he told the Debtor's CFO about the Alleged Agreement. Subject to the



      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                    PAGE 7
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                                                                                                   D-CNL002051
                                                                                             Appx. 00649
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      foregoing, Defendant James Dondero otherwise admits the allegations in paragraph 39 of the

      Amended Complaint.

                40.     In response to paragraph 40 of the Amended Complaint, Defendant James

      Dondero admits that he discussed the Alleged Agreement with Nancy Dondero and that no one

      else participated in the discussions surrounding the execution or authorization of the Alleged

      Agreement. To the extent not expressly admitted, paragraph 40 of the Amended Complaint is

      denied.

                41.     Defendant James Dondero lacks knowledge or information sufficient to form a

      belief about the truth of the allegations in paragraph 41 of the Amended Complaint and therefore

      denies same.

                42.     Defendant James Dondero denies the allegations in paragraph 42 of the Amended

      Complaint.

                43.     Defendant James Dondero admits the allegations in paragraph 43 of the Amended

      Complaint.

                44.     Paragraph 44 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

                45.     Paragraph 45 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

                                        FIRST CLAIM FOR RELIEF
                                          (Against James Dondero)
                                            (Breach of Contract)

                46.     Paragraph 46 of the Amended Complaint is a sentence of incorporation that does

      not require a response. All prior responses are incorporated herein by reference.




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                                                                                                    D-CNL002052
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               47.      Paragraph 47 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               48.      Paragraph 48 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               49.      Paragraph 49 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               50.      Paragraph 50 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

                                        SECOND CLAIM FOR RELIEF
                                           (Against James Dondero)
                                    (Turnover Pursuant to 11 U.S.C. § 542(b))

               51.      Paragraph 51 of the Complaint is a sentence of incorporation that does not require

      a response. All prior responses are incorporated herein by reference.

               52.      Paragraph 52 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               53.      Paragraph 53 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               54.      Paragraph 54 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               55.      Paragraph 55 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied. Defendant James Dondero admits that the Plaintiff

      transmitted the Demand Letter, and that document speaks for itself. To the extent paragraph 55

      alleges other facts, Defendant James Dondero lacks knowledge or information sufficient to form




      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                        PAGE 9
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      a belief about the truth of the allegations in paragraph 55 of the Amended Complaint and

      therefore denies the same.

               56.      Paragraph 56 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               57.      Paragraph 57 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

                                   THIRD CLAIM FOR RELIEF
                                     (Against James Dondero)
        (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 548(a)(1)(A)
                                             and 550)

               58.      Paragraph 58 of the Complaint is a sentence of incorporation that does not require

      a response. All prior responses are incorporated herein by reference.

               59.      Paragraph 59 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               60.      Paragraph 60 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               61.      Paragraph 61 of the Amended Complaint states a legal conclusion that does not

      require a response and therefore it is denied.

               62.      Paragraph 62 of the Amended Complaint states a legal conclusion that does not

      require a response and therefore it is denied.

               63.      Paragraph 63 of the Amended Complaint states a legal conclusion that does not

      require a response and therefore it is denied.




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                                 FOURTH CLAIM FOR RELIEF
                                    (Against James Dondero)
        (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 544(b) and
                           550, and Tex. Bus. & C. Code § 24.005(a)(1))

               64.      Paragraph 64 of the Complaint is a sentence of incorporation that does not require

      a response. All prior responses are incorporated herein by reference.

               65.      Paragraph 65 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               66.      Paragraph 66 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               67.      Paragraph 67 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

               68.      Paragraph 68 of the Amended Complaint states a legal conclusion that does not

      require a response and is therefore denied.

                                      FIFTH CLAIM FOR RELIEF
                                             (Against Dugaboy)
                  (For Declaratory Relief: --11 U.S.C. § 105(a) and Fed. R. Bankr. P 7001)

               69.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.

               70.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.

               71.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.

               72.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.




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                                         SIXTH CLAIM FOR RELIEF
                                               (Against Dugaboy)
                                           (Breach of Fiduciary Duty)

               73.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.

               74.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.

               75.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.

               76.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

      Therefore, Defendant James Dondero is not required to respond to this claim.

                                       SEVENTH CLAIM FOR RELIEF
                                  (Against James Dondero and Nancy Dondero)
                                (Aiding and Abetting a Breach of Fiduciary Duty)

               77.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

      required to respond to this claim at this time.

               78.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

      required to respond to this claim at this time.

               79.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

      required to respond to this claim at this time.

               80.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

      required to respond to this claim at this time.

               81.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

      required to respond to this claim at this time.




      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                  PAGE 12
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               Defendant James Dondero denies that the Plaintiff is entitled to the relief requested in the

      prayer, including as to parts (i), (ii), (iii), (iv), (v), (vi), and (vii).

                                            AFFIRMATIVE DEFENSES

               82.      Plaintiff’s claims are barred in whole or in part because prior to the demands for

      payment Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

      subsequent. Specifically, sometime between December of the year in which each note was made

      and February of the following year, Defendant Nancy Dondero, as representative for a majority

      of the Class A shareholders of Plaintiff agreed that Plaintiff would forgive the Notes if certain

      portfolio companies were sold for greater than cost or on a basis outside of Defendant James

      Dondero’s control. The purpose of this agreement was to provide compensation to Defendant

      James Dondero, who was otherwise underpaid compared to reasonable compensation levels in

      the industry, through the use of forgivable loans, a practice that was standard at HCMLP and in

      the industry. This agreement setting forth the conditions subsequent to demands for payment on

      the Notes was an oral agreement; however, Defendant James Dondero believes there may be

      testimony or email correspondence that discusses the existence of this agreement that may be

      uncovered through discovery in this Adversary Proceeding.

               83.      Defendant James Dondero further asserts that Plaintiff’s claims are barred, in

      whole or in part, due to waiver.

               84.      Defendant James Dondero further asserts that Plaintiff’s claims are barred, in

      whole or in part, due to estoppel.

               85.      Defendant James Dondero further asserts that Note is ambiguous.

               86.      Defendant James Dondero further asserts that Plaintiff’s claims may be barred, in

      whole or in part, due to failure of consideration.



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               87.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

      claims should be barred, in whole or in part, because at all relevant times Defendant James

      Dondero acted in good faith.

               88.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

      claims should be barred, in whole or in part, because the alleged fraudulent transfer (i.e., the

      “Alleged Agreement”) was taken in good faith and for reasonably equivalent value.

               89.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

      claims should be barred, in whole or in part, because there was no intent to hinder, delay, or

      defraud any creditors of the Debtor by entering into the “Alleged Agreement.”

               90.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

      claims should be barred, in whole or in part, because the Debtor was solvent at the time the

      “Alleged Agreement” was made.

               91.      Defendant James Dondero further asserts that Plaintiff's claims must be resolved

      in arbitration.

                                                JURY DEMAND

               92.      Except to the extent compelled to arbitration, Defendant James Dondero demands

      a trial by jury of all issues so triable pursuant to Rule 38 of the Federal Rules of Civil Procedure

      and Rule 9015 of the Federal Rules of Bankruptcy Procedure.

               93.      Defendant James Dondero does not consent to the Bankruptcy Court conducting

      a jury trial and therefore demands a jury trial in the District Court.

                                                    PRAYER

               WHEREFORE, PREMISES CONSIDERED, Defendant James Dondero respectfully

      requests that, following a trial on the merits, the Court enter a judgment that the Plaintiff take



      DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                       PAGE 14
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      nothing on the Amended Complaint and provide Defendant James Dondero such other relief to

      which he is entitled.

      Dated: September 1, 2021                           Respectfully submitted,
                                                         /s/ Deborah Deitsch-Perez
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                                                         ATTORNEYS FOR DEFENDANT
                                                         JAMES DONDERO



                                      CERTIFICATE OF SERVICE

              The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of
      this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                         /s/ Deborah Deitsch-Perez
                                                         Deborah Deitsch-Perez



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                                EXHIBIT 32




                                                                          Appx. 00658
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                                                                                             Docket #0079 Date Filed: 8/27/2021




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      Counsel for Highland Capital Management, L.P.

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

          In re:                                                        §
                                                                        §   Chapter 11
          HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                        §   Case No. 19-34054-sgj11
                                                                        §
                                           Debtor.
                                                                        §
          HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                        §
                                           Plaintiff,                   §   Adversary Proceeding No.
                                                                        §
          vs.                                                           §   21-3003
                                                                        §
          JAMES DONDERO, NANCY DONDERO, AND                             §
          THE DUGABOY INVESTMENT TRUST,                                 §
                                                                        §
                                           Defendants.




      1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
      for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                    AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
            (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                              BREACH OF FIDUCIARY DUTY

                       Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

      debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

      Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

      “Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

      “Complaint”) against defendants James Dondero (“Mr. Dondero”), Nancy Dondero, and The

      Dugaboy Investment Trust (“Dugaboy,” and together with Mr. Dondero and Nancy Dondero,

      “Defendants”), alleges upon knowledge of its own actions and upon information and belief as to

      other matters as follows:

                                          PRELIMINARY STATEMENT

                       1.         The Debtor brings this action against Defendants in connection with Mr.

      Dondero’s defaults under three promissory notes executed by Mr. Dondero in favor of the Debtor

      in the aggregate original principal amount of $8,825,000, and payable upon the Debtor’s demand.

      Despite due demand, Mr. Dondero has failed to pay amounts due and owing under the notes and

      the accrued but unpaid interest thereon.

                       2.         After amending his answer and his sworn responses to interrogatories, Mr.

      Dondero now contends that the Debtor orally agreed to relieve him of his obligations under the

      notes upon fulfillment of “conditions subsequent” (the “Alleged Agreement”). Mr. Dondero

      further contends that he entered into the Alleged Agreement with his sister, Nancy Dondero, as

      trustee of Dugaboy, acting on behalf of the Debtor. At the time Mr. Dondero entered into the

      Alleged Agreement, he controlled the Debtor and was the lifetime beneficiary of Dugaboy.




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                       3.         Based on its books and records, discovery to date, and other facts, the

      Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

      Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

      under the notes.

                       4.         Nevertheless, the Debtor amends its Complaint for the purpose of adding

      certain claims and naming additional parties who would be liable to the Debtor if the Alleged

      Agreement were determined to exist and be enforceable. Specifically, in addition to pursuing

      claims against Mr. Dondero for breach of his obligations under the notes and for turnover, the

      Debtor adds alternative claims (a) against Mr. Dondero for actual fraudulent transfer and aiding

      and abetting Dugaboy in its breach of fiduciary duty, (b) against Dugaboy for declaratory relief

      and for breach of fiduciary duty, and (c) against Nancy Dondero for aiding and abetting Dugaboy

      in the breach of his fiduciary duties.

                       5.         As remedies, the Debtor seeks (a) damages from Mr. Dondero in an amount

      equal to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii)

      all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

      Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

      as provided for in the notes), for Mr. Dondero’s breach of his obligations under the Notes, (b)

      turnover by Mr. Dondero to the Debtor of the foregoing amounts; (c) avoidance of the Alleged

      Agreement and the transfers thereunder and recovery of the funds transferred from the Plaintiff to,

      or for the benefit of, Mr. Dondero pursuant to the Notes; (d) declaratory relief, and (e) damages

      arising from the Defendants’ breach of fiduciary duties or aiding and abetting thereof.




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                                           JURISDICTION AND VENUE

                       6.         This adversary proceeding arises in and relates to the Debtor’s case pending

      before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

      “Court”) under chapter 11 of the Bankruptcy Code.

                       7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

      and 1334.

                       8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

      and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

      order by the Court in the event that it is later determined that the Court, absent consent of the

      parties cannot enter final orders or judgments consistent with Article III of the United States

      Constitution.

                       9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                    THE PARTIES

                       10.        The Debtor is a limited liability partnership formed under the laws of

      Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                       11.        Upon information and belief, Mr. Dondero is an individual residing in

      Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

      Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

      controlled the Debtor.

                       12.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

      and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.

                       13.        Upon information and belief, Nancy Dondero is Mr. Dondero’s sister, and

      the trustee of Dugaboy.



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                                                  CASE BACKGROUND

                          14.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

      chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

      Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                          15.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

      Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

      Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

      Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

      Capital Management GP LLC (collectively, “Acis”).

                          16.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

      Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

      Redeemer had resigned from the Committee.

                          17.     On December 4, 2019, the Delaware Court entered an order transferring

      venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                          18.     The Debtor has continued in the possession of its property and has

      continued to operate and manage its business as a debtor-in-possession pursuant to sections

      1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

      chapter 11 case.

                                                 STATEMENT OF FACTS

      A.         The Dondero Notes

                          19.     Mr. Dondero, in his personal capacity, is the maker under a series of

      promissory notes in favor of the Debtor.



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          All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                       20.        Specifically, on February 2, 2018, Mr. Dondero executed a promissory note

      in favor of the Debtor, as payee, in the original principal amount of $3,825,000 (“Dondero’s First

      Note”). A true and correct copy of Dondero’s First Note is attached hereto as Exhibit 1.

                       21.        On August 1, 2018, Mr. Dondero executed a promissory note in favor of the

      Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Second Note”). A

      true and correct copy of Dondero’s Second Note is attached hereto as Exhibit 2.

                       22.        On August 13, 2018, Mr. Dondero executed a promissory note in favor of

      the Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Third Note” and

      collectively, with Dondero’s First Note and Dondero’s Second Note, the “Notes”). A true and

      correct copy of Dondero’s Third Note is attached hereto as Exhibit 3.

                       23.        Section 2 of each Note provides: “Payment of Principal and Interest. The

      accrued interest and principal of this Note shall be due and payable on demand of the Payee.”

                       24.        Section 4 of each Note provides:

                       Acceleration Upon Default. Failure to pay this Note or any installment
                       hereunder as it becomes due shall, at the election of the holder hereof,
                       without notice, demand, presentment, notice of intent to accelerate, notice
                       of acceleration, or any other notice of any kind which are hereby waived,
                       mature the principal of this Note and all interest then accrued, if any, and
                       the same shall at once become due and payable and subject to those
                       remedies of the holder hereof. No failure or delay on the part of the Payee
                       in exercising any right, power, or privilege hereunder shall operate as a
                       waiver hereof.

                       25.        Section 6 of each Note provides:

                       Attorneys’ Fees. If this Note is not paid at maturity (whether by
                       acceleration or otherwise) and is placed in the hands of an attorney for
                       collection, or if it is collected through a bankruptcy court or any other court
                       after maturity, the Maker shall pay, in addition to all other amounts owing
                       hereunder, all actual expenses of collection, all court costs and reasonable
                       attorneys’ fees and expenses incurred by the holder hereof.




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      B.      Mr. Dondero Defaults Under Each Note

                       26.        By letter dated December 3, 2020, the Debtor made demand on Mr.

      Dondero for payment under the Notes by December 11, 2020 (the “Demand Letter”). A true and

      correct copy of the Demand Letter is attached hereto as Exhibit 4. The Demand Letter provided:

                       By this letter, Payee is demanding payment of the accrued interest and
                       principal due and payable on the Notes in the aggregate amount of
                       $9,004,013.07, which represents all accrued interest and principal through
                       and including December 11, 2020.

                       Payment is due on December 11, 2020, and failure to make payment in
                       full on such date will constitute an event of default under the Notes.

      Demand Letter (emphasis in the original).

                       27.        Despite the Debtor’s demand, Mr. Dondero did not pay all or any portion

      of the amounts demanded by the Debtor on December 11, 2020, or at any time thereafter.

                       28.        As of December 11, 2020, there was an outstanding principal amount of

      $3,687,269.71 on Dondero’s First Note and accrued but unpaid interest in the amount of

      $21,003.70, resulting in a total outstanding amount as of that date of $3,708,273.41.

                       29.        As of December 11, 2020, there was an outstanding principal balance of

      $2,619,929.42 on Dondero’s Second Note and accrued but unpaid interest in the amount of

      $27,950.70, resulting in a total outstanding amount as of that date of $2,647,880.12.

                       30.        As of December 11, 2020, there was an outstanding principal balance of

      $2,622,425.61 on Dondero’s Third Note and accrued but unpaid interest in the amount of

      $25,433.94, resulting in a total outstanding amount as of that date of $2,647,859.55.

                       31.        Thus, as of December 11, 2020, the total outstanding principal and accrued

      but unpaid interest due under the Notes was $9,004,013.07.

                       32.        Pursuant to Section 4 of each Note, each Note is in default, and is currently

      due and payable.

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      C.      The Debtor Files the Original Complaint

                       33.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

      Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

      Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

      Mr. Dondero’s breach of his obligations under the Notes and (ii) turnover by Mr. Dondero for

      the outstanding amounts under the Notes, plus all accrued and unpaid interest until the date of

      payment plus the Debtor’s costs of collection and reasonable attorney’s fees.

      D.      Mr. Dondero’s Affirmative Defenses

                       34.        On March 16, 2021, Mr. Dondero filed his Original Answer [Docket No. 6]

      (the “Original Answer”). In his Original Answer, Mr. Dondero asserted four affirmative defenses:

      (i) the Debtor’s claims should be barred because it was previously agreed by the Debtor that the

      Debtor would not collect on the Notes, (ii) waiver, (iii) estoppel, and (iv) failure of consideration.

      See id. ¶¶ 40-43.

                       35.        On April 6, 2021, Mr. Dondero filed his Amended Answer [Docket No. 16]

      (the “Amended Answer”), asserting three additional affirmative defenses: (i) the Debtor previously

      agreed that it would not collect on the Notes “upon fulfillment of conditions subsequent” (i.e., the

      Alleged Agreement) id. ¶ 40, (ii) The Debtor’s claims are barred, in whole or in part, due to setoff,

      id. ¶ 41, and (iii) the Notes are “ambiguous,” id. ¶ 45.

                       36.        According to Mr. Dondero, the Alleged Agreement was orally entered into

      in January or February 2019, and was not memorialized in any documentation.

                       37.        According to Mr. Dondero, he entered into the Alleged Agreement with his

      sister, Nancy Dondero, acting in her capacity as the Trustee of Dugaboy, which purportedly held

      the majority of the Debtor’s Class A limited partnership interests.



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                       38.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

      Agreement.

                       39.        Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about

      the Alleged Agreement.

                       40.        According to Mr. Dondero, he discussed the Alleged Agreement with

      Nancy Dondero, but (a) no one else participated in the discussions surrounding the execution or

      authorization of the Alleged Agreement, and (b) the Alleged Agreement was not subject to any

      negotiation.

                       41.        Upon information and belief, the Debtor’s books and records do not reflect

      the Alleged Agreement.

      E.      Dugaboy Lacked Authority to Act on Behalf of the Debtor

                       42.        Under section 4.2 of the Fourth Amended and Restated Agreement of

      Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

      Agreement”), and attached hereto as Exhibit 5, Dugaboy was not authorized to enter into the

      Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

      “Partnership” is defined in the Limited Partnership Agreement).

                       43.        Section 4.2(b) of the Limited Partnership Agreement states:

                       Management of Business. No Limited Partner shall take part in the control (within
                       the meaning of the Delaware Act) of the Partnership’s business, transact any
                       business in the Partnership’s name, or have the power to sign documents for or
                       otherwise bind the Partnership other than as specifically set forth in this Agreement.

      Exhibit 5, § 4.2(b).

                       44.        No provision in the Limited Partnership Agreement authorizes any of the

      Partnership’s limited partners to bind the Partnership.




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                       45.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

      or to otherwise bind the Debtor.

                                            FIRST CLAIM FOR RELIEF
                                               (Against Mr. Dondero)
                                                (Breach of Contract)

                       46.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       47.        Each Note is a binding and enforceable contract.

                       48.        Mr. Dondero breached each Note by failing to pay all amounts due to the

      Debtor upon the Debtor’s demand.

                       49.        Pursuant to each Note, the Debtor is entitled to damages from Mr. Dondero

      in an amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all

      accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

      Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses),

      for Mr. Dondero’s breach of his obligations under each of the Notes.

                       50.        As a direct and proximate cause of Mr. Dondero’s breach of each Note, the

      Debtor has suffered damages in the total amount of at least $9,004,013.07, as of December 11,

      2020, plus an amount equal to all accrued but unpaid interest from that date plus the Debtor’s cost

      of collection.

                                          SECOND CLAIM FOR RELIEF
                                              (Against Mr. Dondero)
                                      (Turnover Pursuant to 11 U.S.C. § 542(b))

                       51.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       52.        Mr. Dondero owes the Debtor an amount equal to (i) the aggregate

      outstanding principal due under each Note, plus (ii) all accrued and unpaid interest thereon until

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      the date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all

      court costs and reasonable attorneys’ fees and expenses), for Mr. Dondero’s breach of his

      obligations under each of the Notes.

                       53.        Each Note is property of the Debtor’s estate and the amounts due under each

      Note is matured and payable upon demand.

                       54.        Mr. Dondero has not paid the amounts dues under each Note to the Debtor.

                       55.        The Debtor has made demand for the turnover of the amounts due under

      each Note.

                       56.        As of the date of filing of this Complaint, Mr. Dondero has not turned over

      to the Debtor all or any of the amounts due under each of the Notes.

                       57.        The Debtor is entitled to the turnover of all amounts due under each of the

      Notes.

                                  THIRD CLAIM FOR RELIEF
                                      (Against Mr. Dondero)
       (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                            and 550)

                       58.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       59.        The Debtor made the transfers in the aggregate amount of $8,825,000 in

      exchange for the Alleged Agreement within two years of the Petition Date.

                       60.        Mr. Dondero entered into the Alleged Agreement with actual intent to

      hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                       (a) The transfers were made to, or for the benefit of, Mr. Dondero, an insider of the

                             Debtor.




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                       (b) Mr. Dondero entered into the Alleged Agreement with his sister, Nancy

                             Dondero.

                       (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                             Alleged Agreement.

                       (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                       (e) The Alleged Agreement was not subject to negotiation.

                       (f) The value of the consideration received by the Debtor for the transfers was not

                             reasonably equivalent in value.

                       61.        The pattern of conduct, series of transactions, and general chronology of

      events under inquiry in connection with the debt Mr. Dondero incurred under the Notes

      demonstrates a scheme of fraud.

                       62.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

      of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from Mr.

      Dondero.

                       63.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding Alleged

      Agreement and the transfers thereunder, and (ii) recovering from Mr. Dondero the amount of

      $8,825,000.

                                 FOURTH CLAIM FOR RELIEF
                                      (Against Mr. Dondero)
        (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                           550, and Tex. Bus. & C. Code § 24.005(a)(1))

                       64.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.




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                       65.        The Debtor made the transfers in the aggregate amount of $8,825,000 in

      exchange for the Alleged Agreement after, or within a reasonable time before, creditors’ claims

      arose.

                       66.        Mr. Dondero entered into the Alleged Agreement with actual intent to

      hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated by, inter alia:

                       (g) The transfers were made to, or for the benefit of, Mr. Dondero, an insider of the

                             Debtor.

                       (h) Mr. Dondero entered into the Alleged Agreement with his sister, Nancy

                             Dondero.

                       (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                             Alleged Agreement.

                       (j) Upon information and belief, the Debtor’s books and record do not reflect the

                             Alleged Agreement.

                       (k) The Alleged Agreement was not subject to negotiation.

                       (l) The value of the consideration received by the Debtor for the transfers was not

                             reasonably equivalent in value.

                       67.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

      of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from Mr.

      Dondero.

                       68.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

      Agreement and the transfers thereunder, and (ii) recovering from Mr. Dondero the amount of

      $8,825,000.




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                                      FIFTH CLAIM FOR RELIEF
                                             (Against Dugaboy)
                 (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                       69.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       70.        A bona fide, actual, present dispute exists between the Debtor and Dugaboy

      concerning whether Dugaboy was authorized to entered into the Alleged Agreement on the

      Debtor’s behalf.

                       71.        A judgment declaring the parties’ respective rights and obligations will

      resolve their dispute..

                       72.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

      declarations that:

                       •     (a) limited partners, including but not limited to Dugaboy, have no right or

                             authority to take part in the control (within the meaning of the Delaware Act)

                             of the Partnership’s business, transact any business in the Partnership’s name,

                             or have the power to sign documents for or otherwise bind the Partnership other

                             than as specifically provided in the Limited Partnership Agreement,

                       •     (b) Dugaboy was not authorized under the Limited Partnership Agreement to

                             enter into the Alleged Agreement on behalf of the Partnership,

                       •     (c) Dugaboy otherwise had no right or authority to enter into the Alleged

                             Agreement on behalf of the Partnership, and

                       •     (d) the Alleged Agreement is null and void.




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                                            SIXTH CLAIM FOR RELIEF
                                                  (Against Dugaboy)
                                              (Breach of Fiduciary Duty)

                       73.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       74.        If Dugaboy, as a limited partner, had the authority to enter into the Alleged

      Agreement on behalf of the Debtor, then Dugaboy would owe the Debtor a fiduciary duty.

                       75.        If Dugaboy had the authority to enter into the Alleged Agreement on behalf

      of the Debtor, then Dugaboy breached its fiduciary duty of care to the Debtor by entering into and

      authorizing the purported Alleged Agreement on behalf of the Debtor.

                       76.        Accordingly, the Debtor is entitled to recover from Dugaboy (a) actual

      damages that the Debtor suffered as a result of its breach of fiduciary duty, and (b) for punitive

      and exemplary damages.

                                         SEVENTH CLAIM FOR RELIEF
                                    (Against James Dondero and Nancy Dondero)
                                  (Aiding and Abetting a Breach of Fiduciary Duty)

                       77.        The Debtor repeats and re-alleges the allegations in each of the foregoing

      paragraphs as though fully set forth herein.

                       78.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

      that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                       79.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

      the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                       80.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

      the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.




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                       81.        Accordingly, the Donderos are jointly and severally liable (a) for the actual

      damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of fiduciary

      duties, and (b) for punitive and exemplary damages.

              WHEREFORE, the Debtor prays for judgment as follows:

                       (i)        On its First Claim for Relief, damages in an amount to be determined at trial

                       but includes (a) the aggregate outstanding principal due under each Note, plus (b)

                       all accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                       equal to the Debtor’s costs of collection (including all court costs and reasonable

                       attorneys’ fees and expenses);

                       (ii)       On its Second Claim for Relief, ordering turnover by Mr. Dondero to the

                       Debtor of an amount equal to (a) the aggregate outstanding principal due under

                       each Note, plus (b) all accrued and unpaid interest thereon until the date of payment,

                       plus (c) an amount equal to the Debtor’s costs of collection (including all court

                       costs and reasonable attorneys’ fees and expenses);

                       (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreement and the

                       transfers thereunder and recovering from Mr. Dondero the amount of $8,825,000

                       pursuant to section 548 of the Bankruptcy Code;

                       (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                       transfers thereunder and recovering from Mr. Dondero the amount of $8,825,000

                       pursuant to section Tex. Bus. & C. Code § 24.005(a)(1);

                       (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                       including but not limited to Dugaboy, have no right or authority to take part in the

                       control (within the meaning of the Delaware Act) of the Partnership’s business,



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                       transact any business in the Partnership’s name, or have the power to sign

                       documents for or otherwise bind the Partnership other than as specifically provided

                       in the Limited Partnership Agreement, (b) Dugaboy was not authorized under the

                       Limited Partnership Agreement to enter into the Alleged Agreement on behalf of

                       the Partnership, (c) Dugaboy otherwise had no right or authority to enter into the

                       Alleged Agreement on behalf of the Partnership, and (d) the Alleged Agreement is

                       null and void;

                       (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy, in an amount

                       to be determined at trial, that Debtor suffered as a result of Dugaboy’s breach of

                       fiduciary duty, and for punitive and exemplary damages;

                       (vii)      On its Seventh Claim for Relief, actual damages from the Donderos, jointly

                       and severally, in an amount to be determined at trial, that Debtor suffered as a result

                       of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

                       exemplary damages; and

                       Such other and further relief as this Court deems just and proper.




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       Dated: As of July 13, 2021        PACHULSKI STANG ZIEHL & JONES LLP
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                                         Ira D. Kharasch (CA Bar No. 109084)
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                                       HIGHLAND CAPITAL MANAGEMENT, L.P.

      December 3, 2020



      James Dondero
      c/o Highland Capital Management, L.P.
      300 Crescent Court, Suite 700
      Dallas, Texas 75201

              Re: Demand on Promissory Notes:

      Dear Mr. Dondero,

      You entered into the following promissory notes (collectively, the “Notes”) in favor of Highland
      Capital Management, L.P. (“Payee”):

     Date Issued      Original Principal    Outstanding Principal      Accrued But          Total Amount
                           Amount            Amount (12/11/20)        Unpaid Interest   Outstanding (12/11/20)
                                                                        (12/11/20)
        2/2/18            $3,825,000            $3,687,269.71           $21,003.70          $3,708,273.41
        8/1/18            $2,500,000            $2,619,929.42           $27,950.70          $2,647,880.12
       8/13/18            $2,500,000            $2,622,425.61           $25,433.94          $2,647,859.55
       TOTALS            $16,725,000            $8,929,624.74           $74,388.33          $9,004,013.07

      As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
      upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
      and principal due and payable on the Notes in the aggregate amount of $9,004,013.07, which
      represents all accrued and unpaid interest and principal through and including December 11,
      2020.

      Payment is due on December 11, 2020, and failure to make payment in full on such date
      will constitute an event of default under the Notes.

      Payments on the Notes must be made in immediately available funds. Payee’s wire information
      is attached hereto as Appendix A.

      Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
      or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
      expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
      accrue until the Notes are paid in full. Any such interest will remain your obligation.

      Sincerely,

      /s/ James P. Seery, Jr.

      James P. Seery, Jr.
      Highland Capital Management, L.P.
      Chief Executive Officer/Chief Restructuring Officer



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      cc:     Fred Caruso
              James Romey
              Jeffrey Pomerantz
              Ira Kharasch
              Gregory Demo
              D. Michael Lynn




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                                          Appendix A


                        ABA #:          322070381
                        Bank Name:      East West Bank
                        Account Name:   Highland Capital Management, LP
                        Account #:      5500014686




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                              FOURTH AMENDED AND RESTATED

                           AGREEMENT OF LIMITED PARTNERSHIP

                                             OF

                           HIGHLAND CAPITAL MANAGEMENT, L.P.




     THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
     AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
     UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
     ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
     PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
     SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
     PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




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                                       FOURTH AMENDED AND RESTATED
                                     AGREEMENT OF LIMITED PARTNERSHIP
                                                    Of'
                                     HIGHLAND CAPITAL MANAGEMENT, L.P.

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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
     is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
     among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
     party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                                   ARTICLE 1

                                                   GENERAL

             1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
     the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
     expressly provided herein, the rights and obligations of the Partners and the administration and
     termination of the Partnership shall be governed by the Delaware Act.

              1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
     conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
     unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
     provide Limited Partners with written notice of such name change within twenty (20) days after such
     name change.

              1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
     business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
     Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
     indirectly through another partnership, joint venture, or other arrangement.

             1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
     continue until terminated pursuant to this Agreement.

             1.5.    Partnership Offices; Addresses of Partners.

                      (a)      Partnership Offices. The registered office of the Partnership in the State of
     Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
     service of process on the Partnership at that registered office shall be Corporation Service Company, or
     such other registered office or registered agent as the General Partner may from time to time designate.
     The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
     sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
     offices at such other place or places as the General Partner deems advisable.

                     (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
     Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
     Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
     the General Partner with prompt written notice of any change in his/her/its address.




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                                                    ARTICLE 2

                                                   DEFINITIONS

             2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
     unless otherwise clearly indicated to the contrary in this Agreement:


     Agreement.

                      ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
     balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
     relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
     further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
     or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
     Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
     Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
     the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
     (B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
     minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
     Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                      ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
     under common control with the Person in question. As used in this definition, the term ·'controf' means
     the possession. directly or indirectly, of the power to direct or cause the direction of the management and
     policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                       ..Agreement" means this Fourth Amended and Restated Agreement of Limited
     Partnership, as it may be amended, supplemented, or restated from time to time.

                     "Business Day" means Monday through Friday of each week, except that a legal holiday
     recognized as such by the government of the United States or the State of Texas shall not be regarded as a
     Business Day.

                       ·'Capital Account" means the eapital account maintained for a Partner pursuant to
     Section 3.7(a).

                     "Capital Contribution" means, with respect to any Partner, the amount of money or
     property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

                    "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
     with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
     supplemented or restated from time to time.

                      "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class A Limited Partner.''




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                      "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
     Interest, as shown on ==~~·

                       "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class B Limited Partner."

                       ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
     Limited Partner's aggregate capital contributions, including the original principal balance of the
     Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
     exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
     total book value of the Partnership; provided, however, that the General Partner shall only be required to
     test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
     further the General Partner must complete the testing within 180 days of the end of each calendar year;
     provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
     at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                      "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
     its capacity as a Class C Limited Partner."

                     "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
     $93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
     Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
     multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
     only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
     calendar year; provided further the General Partner must complete the testing within 180 days of the end
     of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
     General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
     Ratio Trigger Period.

                     "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
     time.

                   ''Contribution Note" means that certain Secured Promissory Note dated December 21,
     2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                     ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                     "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                      "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
     Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
     restated from time to time, and any successor to that Act.

                     "Effective Date" means the date first recited above.

                     ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




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                    "Founding Partner Group" means, all partners holding partnership interests m the
     Partnership immediately before the Effective Date.

                     "General Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
     not ceased to be a General Partner pursuant to the terms of this Agreement.

                     "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
     not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                     "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
     expenditures described in Code Section 705(a)(2)(B).

                      ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
     Interests of Class A Limited Partners.

                    ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
     NA V Ratio Trigger Period.

                       "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
     plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
     Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
     measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
     plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
     the beginning of the period being measured; provided, however, that amounts within each of the
     aforementioned categories shall be excluded from the calculation to the extent they are specifically
     identified as being derived from investing or financing activities. Each of the capitalized terms in this
     definition shall have the meaning given them in the books and records of the Partnership and appropriate
     adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
     that are current assets or current liabilities.

                    ''New Issues" means Securities that are considered to be "new issues," as defined in the
     Conduct Rules of the National Association of Securities Dealers, Inc.

                       "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
     I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                         "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
     l. 704-2(b )(3 ).

                     "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
     Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
     capitalized terms in this definition shall have the meaning given them in the books and records of the
     Partnership.



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                       "Parmer'' means a General Partner or a Limited Partner.

                       "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
     l .704-2(b)(4).

                      "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
     Section l .704-2(i)(2).

                    "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
     Regulations Section 1.704-2(i)(5).

                     "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
     partnership established pursuant to this Agreement.

                     "Partnership Capitaf' means, as of any relevant date, the net book value of the
     Partnership's assets.

                     ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
     including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
     deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
     a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
     manage and operate the Pa1inership.

                       "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
     l. 704-2( d).

                     ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
     Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                      "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
     organization, association, or other entity.

                       "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                     "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
     income described in Code Section 705(a)( 1)(B).

                      "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
     treated as a "profits interest" for federal income tax purposes.

                    "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
     by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
     Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
     The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
     Promissory Notes.




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                       ·'Record Date'' means the date established by the General Partner for determining the
     identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
     rights in respect of any other lawful action of Limited Partners.

                    "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
     Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
     as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
     supplemented, or restated from time to time.

                        ''Securities·' means the following: (i) securities of any kind (including, without limitation,
     ·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
     (as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
     thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
     any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
     any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
     participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
     through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
     convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
     bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
     ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
     marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
     bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
     foreign country or any state or possession of the United States or any foreign country or any political
     subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                      "Securities Act" means the Securities Act of 1933, as amended, and any successor to
     such statute.

                      "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                     "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
     sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
     part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
     exchange, pledge, hypothecate or otherwise dispose oC

                     "Treasury Regulations" means the Department of Treasury Regulations promulgated
     under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

             2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
     have the meanings contained elsewhere in this Agreement.

                                                      ARTICLE 3

                                              FINANCIAL MATTERS

             3.1.     Capital Contributions.

                       (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
     shall be set forth in the books and records of the Partnership.

                      (b)     Additional Capital Contributions.


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                             (i)      The General Partner, in its reasonable discretion and for a bona
     business purpose, may request in writing that the Founding Partner Group make additional Capital
     Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                               (ii)     Any failure by a Partner to make an Additional Capital Contribution
     requested under                     on or before the date on which that Additional Capital Contribution was
     due shall result in the Partner being in default.

                      (c)                                                In the event a Partner is in default under
     =====:c..:~~ (a "Defaulting Partner''),      the Defaulting Partner, in its sole and unfettered discretion, may
     elect to take either one of the option set forth below.

                                (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
     shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
     capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
     advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
     the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
     which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
     of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
     and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
     receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
     or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
     Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
     shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
     the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
     but shall be considered, for all other purposes of this Agreement, to have been distributed to the
     Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
     by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
     connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
     enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
     addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
     repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
     Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
     to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
     Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
     accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
     agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
     statements, continuation statements or other documents and take such other actions as the General Partner
     shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
     Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
     notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
     hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
     documents and take all such other actions as may be required to perfect such security interest. Such
     appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
     shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
     available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
     reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
     shall not be less than five (5) days following the date of such notice.




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                             ( ii)                                      If the Defaulting Partner does not elect
     to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
     Partner's Percentage Interest in accordance with the following formula:

              The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
              Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
              current Capital Account of the Defaulting Partner (with such Capital Account determined
              after taking into account a revaluation of the Capital Accounts immediately prior to such
              determination), divided by (b) the sum of (i) the current Capital Account of the
              Defaulting Partner (with such Capital Account determined after taking into account a
              revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
              the amount of the additional capital contribution that such Defaulting Partner failed to
              make when due.

     To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
     Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
     proportion to their respective Percentage Interests.

              3.2.    Allocations of Profits and Losses.

                     (a)      Allocations of Profits. Except as provided in===~-''                   and       Profits
     for any Fiscal Year will be allocated to the Partners as follows:

                                 (i)      First, to the Partners until cumulative Profits allocated under this Section
     3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                                (ii)            to the Partners until cumulative Profits allocated under this Section
     3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                               (iii)   Then, to all Patiners in proportion to their respective Percentage
     Interests.

                     (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
     for any Fiscal Year will be will be allocated as follows:

                                  (i)      First, to the Partners until cumulative Losses allocated under this Section
     3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
     3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                               (ii)           to the Partners in proportion to their respective positive Capital
     Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
     Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
     that were last allocated to the Capital Accounts of the Partners; and

                              (iii)    Then, to all Partners in proportion to their respective Percentage
     Interests.




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                     (c)                                      If any allocation of Losses would cause a
     Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
     the General Partner.

              3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
     Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
     existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
     Section 4.3( d).

              3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
     special allocations shall be made in the following order:

                     (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
     this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
     period for which allocations are made, prior to any other allocation under this Agreement, each Partner
     shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
     subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
     net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
     Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
     Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
     minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
     provided therein.

                      (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
     other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
     Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
     other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
     Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
     and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
     or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
     accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
     determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
     to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
     Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
     exceptions provided therein.

                      (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
     allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
     (d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
     amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
     Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
     pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
     Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
     tentatively made without considering this Section 3.4(c).

                       ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
     any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
     restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
     sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
     be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
     as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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     the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
     allocations provided for in this       have been tentatively made without considering               or


                     ( e)                             Nonrecourse Deductions for any taxable year or other
     period for which allocations are made shall he allocated among the Partners in accordance with their
     Percentage interests.

                     (f)                                        Notwithstanding anything to the contrary in
     this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
     allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
     the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
     with Treasury Regulations Section l .704-2(i).

                      (g)                                  To the extent an adjustment to the adjusted tax basis
     of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
     Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
     Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
     adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
     that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
     which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
     Regulations.

                      (h)                                    Any allocable items of income, gain, expense,
     deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
     exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
     Partnership Interest whether such items are positive or negative in amount.

              3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
     pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
     provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
     items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
     amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
     equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
     Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
     this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
     extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
     economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
     determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
     shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
     during which such items are recognized for tax purposes.

              3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
     Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
     the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
     account of any variation at the time of the contribution between the tax basis of the property to the
     Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
     or other decisions relating to those allocations shall be made by the General Partner in any manner that
     reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
     deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
     affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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     of Profits,          other tax items or distributions of any Partner pursuant to any provision of this
     Agreement.

             3.7.     Capital Accounts.

                      (a)                                       The Partnership shall establish and maintain a
     separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
     Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                              (i)     The Capital Account balanee of each Partner shall be credited (increased)
     by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
     value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
     that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
     (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
     specially allocated pursuant to             and     · and

                              (ii)     The Capital Account balance of each Partner shall be debited (decreased)
     by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
     property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
     property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
     allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
     Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
     allocated pursuant to Sections 3 .2,   and

     The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
     of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
     Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
     with those provisions. The General Partner may modify the manner in which the Capital Accounts are
     maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
     occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                     (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
     Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
     Contribution by reason thereof, and that negative balance shall not be considered an asset of the
     Partnership or of any Partner.

                     (c)              No interest shall be paid by the Patinership on Capital Contributions or
     on balances in Capital Accounts.

                     (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
     Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
     except as provided in Section 3.9 and Article 5.

                    ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
     considered Capital Contributions.

                    ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
     "'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
     otherwise.



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              3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
     credit that are recognized for federal income tax purposes will be allocated among the Partners in
     accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
     its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
     New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
     any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
     that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
     any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
     an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
     being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
     time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
     consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
     or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
     determines such alteration to be necessary or appropriate to avoid a materially inequitable result
     where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
     of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
     consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

             3. 9.    Distributions.

                       (a)                  The General Partner may make such pro rata or non-pro rata
     distributions as it may determine in its sole and unfettered discretion, without being limited to current or
     accumulated income or gains, but no such distribution shall be made out of funds required to make
     current payments on Partnership indebtedness; provided, however, that the General Partner may not make
     non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
     consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
     Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
     provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
     tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
     credit facilities with financial institutions that may limit the amount and timing of distributions to the
     Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
     distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
     3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
     aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
     Partners under Section 3 .9(b ).

                      (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
     pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
     Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
     Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                            (i)     No later than March 31st of each calendar year, commencing March 31,
     2017, an amount equal to $1,600,000.00;

                             (ii)     No later than March 31st of each year, commencing March 31, 2017, an
     amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
     the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
     gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
     and records;




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                             (iii)     No later than March 31st of      year, commencing March 31, 2017, an
     amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                            (iv)    No later than December 24th of each year, commencing December
     2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
     the then current year.

                       (c)                         The General Partner may, in its sole discretion, declare and
     make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
     attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
     paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
     Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
     provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
     Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
     Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
     income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
     and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
     Priority Distributions under ==~~~CJ.·

                      ( d)                                                      Any amounts paid pursuant to
     ===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                      (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
     the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
     pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
     that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
     withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
     received a payment from the Partnership as of the time that withholding or tax is paid, which payment
     shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
     Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
     To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
     which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
     the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
     income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
     hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
     sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
     otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
     the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
     received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
     lower rate is applicable, or that no withholding is applicable.

                     (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
     Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
     amount necessary for each of them to pay their respective federal income tax obligations incurred through
     the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
     Capital Management, L.P., the predecessor to this Agreement.

                      (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
     defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
     distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
     Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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     as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
     consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
     and any of its direct or indirect owners that have governing documents directly affected by a Honis
             Event.

             3.10.    Compensation and Reimbursement of General Partner.

                     (a)     Compensation. The General Partner and any Affiliate of the General Partner
     shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
     any other agreements unless approved by a Majority Interest; provided, however, that no compensation
     above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
             Period.

                      (b)                                     In addition to amounts paid under other Sections
     of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
     disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
     with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
     and all related matters.

             3.11.    Books, Records, Accounting, and Reports.

                      (a)     Records and Accounting. The General Partner shall keep or cause to be kept
     appropriate books and records with respect to the Partnership's business, which shall at all times be kept
     at the principal office of the Partnership or such other office as the General Partner may designate for
     such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
     accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
     discretion. in accordance with generally accepted accounting principles and applicable law. Upon
     reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
     records of the Partnership.

                     (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
     otherwise determined by the General Partner in its sole and unfettered discretion.

                      ( c)    Other Information. The General Paitner may release information concerning the
     operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
     to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
     other Person for reasons reasonably related to the business and operations of the Partnership or as
     required by law or regulation of any regulatory body.

                     ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
     Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
     Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
     Partner requesting the information.

             3.12.   Tax Matters.

                      (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
     filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
     federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
     his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
     October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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     other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
     General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
     unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
     and treat such taxes as an expense of the Partnership.

                      (b)                      Except as otherwise provided herein, the General Partner shall, in
     its sole and unfettered discretion, determine whether to make any available tax election.

                      (c)                             Subject to the provisions hereof, the General Partner is
     designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
     represent the Partnership, at the Partnership's expense, in connection with all examinations of the
     Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
     expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
     cooperate \\ith the General Partner in connection with such proceedings.

                      (d)                                No election shall be made by the Partnership or any
     Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
     Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                     ARTICLE 4

                                 RIGHTS AND OBLIGATIONS OF PARTNERS

              4.1.    Rights and Obligations of the General Partner. In addition to the rights and
     obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
     obligations:

                      (a)      Management. The General Partner shall conduct, direct, and exercise full control
     of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
     management powers over the business and affairs of the Partnership shall be exclusively vested in the
     General Partner, and Limited Partners shall have no right of control over the business and affairs of the
     Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
     partnership under applicable law or that are granted to the General Partner under any provision of this
     Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
     desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
     determination of the activities in which the Partnership will participate; (ii) the performance of any and all
     acts necessary or appropriate to the operation of any business of the Partnership (including, without
     limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
     paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
     insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
     General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
     of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
     in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
     any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
     business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
     and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
     deems necessary or advisable for the conduct of the activities of the Partnership, including, without
     limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
     pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
     on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
     of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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     of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
     desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
     implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
     cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
     consultants, contractors, agents and representatives and the determination of their compensation and other
     teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
     ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
     or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
     the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
     the incurring of legal expenses, and the settlement of claims and suits.

                      (b)                                          The General Partner caused the Cetiificate of
     Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
     the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
     limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
     Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
     operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
     State of Delaware and in any other state where the Partnership may elect to do business.

                      (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
     Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
      from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
     representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
     properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
     exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
     sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
     all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
     contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
     financing. In no event shall any Person dealing with the General Partner or the General Partner's
     representative with respect to any business or property of the Partnership be obligated to asce1iain that the
     terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
     assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
     such Person be obligated to inquire into the necessity or expedience of any act or action of the General
     Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
     agreement, promissory note, or other instrument or document executed by the General Partner or the
     General Partner's representative with respect to any business or property of the Patinership shall be
     conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
     the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
     instrument or document was duly executed in accordance with the terms and provisions of this Agreement
     and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
     was duly authorized and empowered to execute and deliver any and every such instrument or document
     for and on behalf of the Paiinership.

                      (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
     account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
     unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
     the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
     Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
     account are maintained that show the amount of funds of the Partnership on deposit in such account and
     interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
     the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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     not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
     obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
     thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
     Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
     withdrawals from or charges against such accounts shall be made by the General Partner or by its
     representatives. Funds of the Partnership may be invested as determined by the General Partner in
     accordance with the terms and provisions of this Agreement.

                      (e)

                               (i)      The General Partner or any Affiliate of the General Partner may lend to
     the Partnership funds needed by the Partnership for such periods of time as the General Partner may
     determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
     at a rate greater than the rate (including points or other financing charges or fees) that would be charged
     the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
     lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
     case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
     borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
     Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
     General Partner's sole and exclusive discretion.

                              (ii)    The General Partner or any of its Affiliates may enter into an agreement
     with the Partnership to render services, including management services, for the Partnership. Any service
     rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
     and reasonable to the Partnership.

                              (iii)   The Partnership may Transfer any assets to JOmt ventures or other
     partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
     consistent with applicable law as the General Partner deems appropriate; provided, however, that the
     Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
     Ratio Trigger Period for consideration less than such asset's fair market value.

                      (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
     thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
     thereof shall be entitled to and may have business interests and engage in business activities in addition to
     those relating to the Patinership, including, without limitation, business interests and activities in direct
     competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
     virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
     General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
     the General Patiner or any Affiliate thereof.

                      (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
     Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
     between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
     Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
     General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
     herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
     any other applicable law, rule, or regulation.

                     (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
     Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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     the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
     performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
     with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
     in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
     Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
     harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
     misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
     and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
     who is or was serving at the request of the Partnership acting through the General Partner as a director,
     oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
     venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
     its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
     permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
     elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
     reduce or limit in any manner the indemnification provided for or permitted by this                  unless
     such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
     enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
     reason of the indemnification provisions of this Agreement.

                     ( i)     Liability of General Partner.

                              (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
     or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
     any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                               (ii)   The General Partner may exercise any of the powers granted to it by this
     Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
     directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
     for any misconduct or negligence on the part of any agent or representative appointed by the General
     Partner.

                     U)       Reliance by General Partner.

                              (i)     The General Partner may rely and shall be protected in acting or
     refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
     request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
     have been signed or presented by the proper party or parties.

                              (ii)    The General Partner may consult with legal counsel, accountants,
     appraisers, management consultants, investment bankers, and other consultants and advisers selected by
     it, and any opinion of any such Person as to matters which the General Partner believes to be within such
     Person's professional or expe11 competence shall be full and complete authorization and protection in
     respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
     accordance with such opinion.

                      (k)     The General Partner may, from time to time, designate one or more Persons to be
     officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
     authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
     General Partner may assign titles to particular officers, including, without limitation, president, vice
     president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
     until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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     until such Person shall          or shall have been removed in the manner hereinafter provided. Any
     number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
     officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
     may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
     Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
     any office of the Partnership may be filled by the General Partner.

              4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
     of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
     rights and obligations:

                   (a)                                 Limited Partners shall have no liability under this
     Agreement except as provided herein or under the Delaware Aet.

                      (b)                               No Limited Partner shall take part in the control
     (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
     Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
     as specifically set forth in this Agreement.

                     (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
     return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
     Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
     extent provided for in this Agreement.

                   (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
     shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
     Agreement.

                      ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
     Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
     Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
     may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
     Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
     however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
     traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
     3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
     offer to purchase any securities liquidated under this Section 4.2(e).

             4.3.     Transfer of Partnership Interests.

                       (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
     in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
     Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
     made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
     shall be null and void. An alleged transferee shall have no right to require any information or account of
     the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
     treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
     incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
     of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
     notices required to be given to holders of Partnership Interests.



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                      (b)                                      The General Partner may Transfer all, but not
     than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
     however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
      Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
     the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
      Interest under this                 to an Af111iate of the General Partner or any other Person shall not
     constitute a withdrawal of the General Partner under                                 or any other provision
     of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
     otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
     jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
     consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
     pursuant to~~~~~·

                     (c)                                      The Partnership Interest of a Limited Partner may
     not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
     and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
     and Redemption Agreement.

                      ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
     any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
     A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
     items attributable to the transferred interest for that period shall be divided and allocated between the
     transferor and the transferee by taking into aecount their varying interests during the period in aecordance
     with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
     provided that no allocations shall be made under this Section 4.3(d) that would affect any special
     allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
     be made to the transferor. Solely for purposes of making such allocations and distributions, the
     Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
     given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
     date that Partnership Interest was Transferred and such other information as the General Pa1iner may
     reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
     occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
     according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
     Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
     incur any liability for making alloeations and distributions in accordance with the provisions of this
     Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
     of any Pa1inership Interest.

                      ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
     event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
     default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
     Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
     Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
     equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
     transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     forfeiture of such Class B Limited Partnership Interest.

                     (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
     Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
     Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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     the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
     default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
     member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
     automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
     each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
     Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     transfer of such Class C Limited Partnership Interest.

             4.4.     Issuances of Partnership Interests to New and Existing Partners.

                      (a)                                                                   The General Partner
     may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
     Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
     discretion; provided, however, that the General Partner may only admit additional Persons as Limited
     Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
     further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
     in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
     Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
     Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
     partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
     executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
     the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
     Sell and Redemption Agreement.

                     (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
     General Partner may issue an additional Partnership Interest to any existing Partner at such times and
     upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
     additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
     Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
     subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
     Redemption Agreement.

             4.5.     Withdrawal of General Partner

                      (a)      Option. In the event of the withdrawal of the General Partner from the
     Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
     (if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
     from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
     to its Capital Account balance, determined as of the effective date of its departure.

                      (b)     Conversion. If the successor to a Departing Partner does not exercise the option
     described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
     Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

             4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                      (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
     or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
     receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
     to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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     that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
     withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
     requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
     respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
     Agreement in the form attached as                (which may be modified by the General Partner in its sole
     and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
     Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
     of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
     Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
     Limited Partner.

                      (b)                                                  A successor General Partner selected
     pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
     Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
     of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
     predecessor's Partnership Interest.

                     ( c)    Action by General Partner. In connection with the admission of any substitute
     Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
     have the authority to take all such actions as it deems necessary or advisable in connection therewith,
     including the amendment of              and the execution and filing with appropriate authorities of any
     necessary documentation.

                                                     ARTICLE 5

                                       DISSOLUTION AND WINDING UP

             5.1.     Dissolution. The Partnership shall be dissolved upon:

                      (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
     event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
     Section 4.3(b)):

                     (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
     the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
     Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
     Amended Buy-Sell and Redemption Agreement; or

                     (c)      Any other event that, under the Delaware Act, would cause its dissolution.

     For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
     when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
     bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
     or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
     arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
     an answer or other pleading admitting or failing to contest the material allegations of a petition filed
     against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
     paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
     the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
     hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
     Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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     similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
     expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
     trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
     Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
     expire after the date of expiration of a stay, if the appointment has not previously been vacated.

              5.2.      Continuation of the Partnership. Upon the occurrence of an event described in       ==C!c!
             the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
     continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
     made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
     up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
     111                 then:

                     (a)       Within that ninety (90)-day period a successor General Partner shall be selected
     by a Majority Interest;

                      (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
     end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                     (c)       The interest of the former General Partner shall be converted to an interest as a
     Limited Pa11ner: and

                     (d)     All necessary steps shall be taken to amend or restate this Agreement and the
     Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
     Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

              5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
      under               the General Partner or, in the event the General Partner has been dissolved, becomes
      bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
     committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
     General Partner) shall be entitled to receive such compensation for its services as may be approved by a
      Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
      written notice and (if other than the General Partner) may be removed at any time, with or without cause,
      by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
      Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
     duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
     The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
     and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
     the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
     such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
     provided in this              the Liquidator appointed in the manner provided herein shall have and may
     exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
     upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
     limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
     desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
     Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
     judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
     herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
     of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
     of applicable law:



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                      (a)    To the payment of the            of the terminating transactions including, without
     limitation, brokerage commission, legal fees, accounting      and closing costs;

                      (b)    To the payment of creditors of the Partnership, including Partners, in order of
     priority provided by law;

                        (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
     balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
     1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
     of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
     for such purposes; and

                     (d)      To the Partners in propo1iion to their respective Percentage Interests.

               5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
     liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
     dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
     Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
     Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
     liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
     assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
     undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
     such distributions in kind shall be subject to such conditions relating to the disposition and management
     of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
     or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
     determine the fair market value of any property distributed in kind using such reasonable method of
     valuation as it may adopt.

              5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
     distribution of Partnership property as provided in                     and       the Partnership shall be
     terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
     cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
     registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
     Delaware and shall take such other actions as may be necessary to terminate the Partnership.

             5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
     the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
     any such return shall be made solely from Partnership assets.

             5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
     Partnership property.

                                                    ARTICLE 6

                                            GENERAL PROVISIONS

             6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
     the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
     and appropriate; provided, however, any action taken by the General Partner shall be subject to its
     fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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     that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
     the consent of such Partner adversely affected.

              6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
     be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
     ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
     his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
     may have an interest in any Partnership Interest by reason of an assignment or otherwise.

             6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
     convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
     or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
     references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
     Agreement. All Exhibits hereto are incorporated herein by reference.

             6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
     Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
     nouns, pronouns. and verbs shall include the plural and vice versa.

             6.5.      Further Action. The parties shall execute all documents, provide all information, and
     take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
     Agreement.

              6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
     pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
     assigns.

              6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
     pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
     thereto.

             6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
     enforceable by any creditors of the Partnership.

             6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
     duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
     breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
     condition.

             6.10. Counterparts. This agreement may be executed in counterparts, all of which together
     shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
     not signatories to the original or the same counterpart.

              6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
     by the laws of the State of Delaware, without regard to the principles of conflicts of law.

              6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
     illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
     arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
     intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
     provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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     not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
     objectives.

               6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
     the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
     affiliates.

               6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
      parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
      representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
      submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     ~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
      and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
      binding on the other party, with related expedited discovery for the parties, in a court of law, and
      thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
      American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
     arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
     The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
      limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
     each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
     deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
      request for production (in response, the producing pa11y shall not be obligated to produce in excess of
      5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
     pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
     paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
     state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
     The arbitrators will not have the authority to render a decision that contains an outcome based on error of
     state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
     state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
     ,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
      be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
     mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
     another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
     including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
     bear costs and fees. The duty to arbitrate described above shall survive the termination of this
     Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
     jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
     of law will apply in the arbitration.




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                 IN WITNESS WHEREOF. the           hereto have entered into this            date and
         year first written above.

                                                     GENERAL PART:'IER:




                                                     THE DUGABOY INVESTMENT TRUST




                                                      THE MARK AND PAMELA OK,\DA FAMILY
                                                      TRUST - EXEMPT TRt;ST #1


                                                         By:
                                                         -:-Jame: Lawrence Tonomura
                                                         Its:     Trustee


                                                         THE MARK AND PAMELA OKADA FA.MILY
                                                         TRUST - EXEMPT TRUST #2


                                                         By:
                                                         Name: Lawrence Tonomura
                                                         Its:  Trustee




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          Agreement qt' Li111i,ed Parfllership




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                IN WITNESS             the       hereto have entered into this        as of the date and
       year first written above.

                                                       GENERAL PARTNER:

                                                       STRAND ADVISORS, INC.,
                                                       a Delaware corporation

                                                       By:
                                                                James D. Dondero,
                                                                President


                                                       LIMITED PARTNERS:

                                                       THE DUGABOY INVESTMENT TRUST


                                                       By:
                                                       Name: Nancy M. Dondero
                                                       Its:  Trustee

                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST - EXEMPT TRUST #1




                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST EXEMPT TRUST #2


                                                       By:
                                                       Na
                                                       Its:


                                                       MARK K. OKADA



                                                       Mark K. Okada




       Signature Page to Fourth Amended and Restated
       Agreement of Limited Partnership




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                                                                         . INVESTMl(NT TRUST
                                                                          .C Administrator


                                                        By




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                                             EXHIBIT A


                                                                      Percentage Interest
      CLASS A PARTNERS                                              By Class   Effective %

       GENERAL PARTNER:

          Strand Advisors                                             0.5573%       0.2508%

       LIMITED PARTNERS:

          The Dugaboy Investment Trust                               74.4426%       0.1866%

          Mark K. Okada                                              19.4268%       0.0487%

          The Mark and Pamela Okada Family Trust- Exempt Trust #1     3.9013%       0.0098%

          The Mark and Pamela Okada Family Trust Exempt Trust #2      1.6720%       0.0042%

     Total Class A Percentage Interest                              100.0000%        0.500%

     CLASS B LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%      55.0000%

     CLASS C LIMITED PARTNERS

          Hunter Mountain Investment Trust                          100.0000%       44.500%

     PROFIT AND LOSS AMONG CLASSES

          Class A Partners                                           0.5000%

          Class B Partners                                          55.0000%

          Class C Partners                                          44.5000%




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                                                     EXHIBIT B

                                   ADDENDUM
                                    TO THE
          FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                       OF
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
     Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
     be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
     entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
     General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
     - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
     have the meanings set forth in the Agreement).

                                                     RECITALS:

             WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
     any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
     Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
     Agreement to amend the Agreement;

          WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
     a_% Percentage Interest in the Partnership as of the date hereof;

            WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
     and conditions of the Agreement; and

              WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
     party thereto.

                                                   AGREEMENT:

            RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
     acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
     bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
     Second Amended Buy-Sell and Redemption Agreement; and be it

           FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
                   as a Limited Partner, and the General Partner shall attach this Addendum to the
     Agreement and make it a part thereof; and be it

             FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
     which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
     such parties are not signatories to the original or the same counterpart.




                                                                                                             D-CNL002041
                                                                                                       Appx. 00725
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            IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
     above written.

                                                     GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.

                                                     By:
                                                             Name: _ _ _ _ _ _ _ _ _ _ __
                                                             Title:


                                                     NEW LIMITED PARTNER:



     AGREED AND ACCEPTED:

     In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
     allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
     valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
     terms and conditions of the Agreement as though a party thereto.



      ___________]




                                                                                                       D-CNL002042
                                                                                                 Appx. 00726
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   B1040 (FORM 1040) (12/15)

           ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                   (Instructions on Reverse)

 PLAINTIFFS                                                                      DEFENDANTS
 Highland Capital Management, L.P.                                                James Dondero, Nancy Dondero, and
                                                                                  The Dugaboy Investment Trust

 ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Hayward PLLC                                                                    Stinson LLP (for James Dondero and Nancy
 10501 N. Central Expressway, Suite 106                                          Dondero); Heller, Draper & Horn, L.L.C. (for
 Dallas, Texas 75231 Tel.: (972) 755-7100                                        The Dugaboy Investment Trust)
 PARTY (Check One Box Only)                         PARTY (Check One Box Only)
 □ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
 □ Creditor  □ Other                                □ Creditor    □ Other
 □ Trustee                                          □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Breach of Contract; Turnover Pursuant to 11 USC 542(b); Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 548(a)(1)(A) and 550; Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 544(b) and 550 and Tex. Bus. & C. Code 24.005(a)(1);
 Declaratory Relief; Breach of Fiduciary Duty; Aiding & Abetting Breach of Fiduciary Duty
                                                                     NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


 □2 11-Recovery of money/property - §542 turnover of property                    □
     FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

 □ 12-Recovery of money/property - §547 preference                               □
                                                                                    61-Dischargeability - §523(a)(5), domestic support

 □3 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                    68-Dischargeability - §523(a)(6), willful and malicious injury

 □4 14-Recovery of money/property - other                                        □
                                                                                    63-Dischargeability - §523(a)(8), student loan
                                                                                    64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                 □
                                                                                       (other than domestic support)

 □ 21-Validity, priority or extent of lien or other interest in property
     FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                 □
                                                                                 FRBP 7001(7) – Injunctive Relief

 □
     FRBP 7001(3) – Approval of Sale of Property
                                                                                 □
                                                                                    71-Injunctive relief – imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


 □ 41-Objection / revocation of discharge - §727(c),(d),(e)
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                 □ 81-Subordination of claim or interest
                                                                                 FRBP 7001(8) Subordination of Claim or Interest



 □ 51-Revocation of confirmation
     FRBP 7001(5) – Revocation of Confirmation
                                                                                 □5 91-Declaratory judgment
                                                                                 FRBP 7001(9) Declaratory Judgment



 □ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
     FRBP 7001(6) – Dischargeability
                                                                               □
                                                                               FRBP 7001(10) Determination of Removed Action

 □ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


 □ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
       actual fraud                                                            Other


                    (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                          if unrelated to bankruptcy case)
 □ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                                Demand $ Damages in an amount to be determined at trial
 Other Relief Sought Turnover of amounts             due under note, avoidance of transfers to defendants,
                              declaratory relief, punitive and exemplary damages, costs, attorneys' fees




                                                                                                                                           D-CNL002043
                                                                                                                                     Appx. 00727
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   B1040 (FORM 1040) (12/15)

               BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                               BANKRUPTCY CASE NO.
 Highland Capital Management, L.P.                                      19-34054-sgj11
 DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
 Northern District of Texas                                             Dallas                            Stacey G. C. Jernigan
                                       RELATED ADVERSARY PROCEEDING (IF ANY)
 PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                          PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)




 DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 August 27, 2021                                                        Zachery Z. Annable



                                                           INSTRUCTIONS

             The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
   all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
   jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
   lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
   proceeding.

            A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
   Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
   Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
   completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
   information to process the adversary proceeding and prepare required statistical reports on court activity.

            The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
   or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
   explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
   attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

   Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

   Attorneys. Give the names and addresses of the attorneys, if known.

   Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

   Demand. Enter the dollar amount being demanded in the complaint.

   Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
   plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
   attorney, the plaintiff must sign.




                                                                                                                           D-CNL002044
                                                                                                                     Appx. 00728
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                                EXHIBIT 33




                                                                          Appx. 00729
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CONFIDENTIAL                                                                    D-JDNL-033411
                                                                             Appx. 00730
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CONFIDENTIAL                                                                    D-JDNL-033412
                                                                             Appx. 00731
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CONFIDENTIAL                                                                    D-JDNL-033413
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CONFIDENTIAL                                                                    D-JDNL-033414
                                                                             Appx. 00733
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CONFIDENTIAL                                                                    D-JDNL-033415
                                                                             Appx. 00734
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CONFIDENTIAL                                                                    D-JDNL-033416
                                                                             Appx. 00735
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CONFIDENTIAL                                                                    D-JDNL-033417
                                                                             Appx. 00736
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CONFIDENTIAL                                                                    D-JDNL-033418
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CONFIDENTIAL                                                                    D-JDNL-033419
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CONFIDENTIAL                                                                    D-JDNL-033420
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CONFIDENTIAL                                                                    D-JDNL-033421
                                                                             Appx. 00740
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                                EXHIBIT 34




                                                                          Appx. 00741
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                      Highland Capital Management, L.P.
                      (A Delaware Limited Partnership)
                      Consolidated Financial Statements and
                      Supplemental Information
                      December 31, 2018




HIGHLY CONFIDENTIAL                                                                         D-CNL000212
                                                                                      Appx. 00742
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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Index
         December 31, 2018

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                                                      Report of Independent Auditors

             To the General Partner of Highland Capital Management, L.P.

             We have audited the accompanying consolidated financial statements of Highland Capital Management, L.P. and its
             subsidiaries (collectively, the “Partnership”), which comprise the consolidated balance sheet as of December 31, 2018,
             and the related consolidated statements of income, of changes in partners’ capital and of cash flows for the year then
             ended.

             Management's Responsibility for the Consolidated Financial Statements

             Management is responsible for the preparation and fair presentation of the consolidated financial statements in
             accordance with accounting principles generally accepted in the United States of America; this includes the design,
             implementation, and maintenance of internal control relevant to the preparation and fair presentation of consolidated
             financial statements that are free from material misstatement, whether due to fraud or error.

             Auditors’ Responsibility

             Our responsibility is to express an opinion on the consolidated financial statements based on our audit. We conducted
             our audit in accordance with auditing standards generally accepted in the United States of America. Those standards
             require that we plan and perform the audit to obtain reasonable assurance about whether the consolidated financial
             statements are free from material misstatement.

             An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the
             consolidated financial statements. The procedures selected depend on our judgment, including the assessment of the
             risks of material misstatement of the consolidated financial statements, whether due to fraud or error. In making
             those risk assessments, we consider internal control relevant to the Partnership's preparation and fair presentation of
             the consolidated financial statements in order to design audit procedures that are appropriate in the circumstances,
             but not for the purpose of expressing an opinion on the effectiveness of the Partnership's internal control.
             Accordingly, we express no such opinion. An audit also includes evaluating the appropriateness of accounting policies
             used and the reasonableness of significant accounting estimates made by management, as well as evaluating the
             overall presentation of the consolidated financial statements. We believe that the audit evidence we have obtained is
             sufficient and appropriate to provide a basis for our audit opinion.

             Opinion

             In our opinion, the consolidated financial statements referred to above present fairly, in all material respects, the
             financial position of Highland Capital Management, L.P. and its subsidiaries as of December 31. 2018, and the results
             of their operations, changes in their partners’ capital and their cash flows for the year then ended, in accordance with
             accounting principles generally accepted in the United States of America.

             Other Matter

             Our audit was conducted for the purpose of forming an opinion on the consolidated financial statements taken as a
             whole. The Supplemental Consolidating Balance Sheet, the Supplemental Consolidating Statement of Income, the
             Supplemental Unconsolidated Balance Sheet and the Supplemental Unconsolidated Statement of Income are presented
             for purposes of additional analysis and are not a required part of the consolidated financial statements. The information
             is the responsibility of management and was derived from and relates directly to the underlying accounting and other
             records used to prepare the consolidated financial statements. The information has been subjected to the auditing
             procedures applied in the audit of the financial statements and certain additional procedures, including comparing and
             reconciling such information directly to the underlying accounting and other records used to prepare the consolidated
             financial statements or to the consolidated financial statements themselves and other additional procedures, in
             accordance with auditing standards generally accepted in the United States of America. In our opinion, the information
             is fairly stated, in all material respects, in relation to the consolidated financial statements taken as a whole.




             June 3, 2019




             PricewaterhouseCoopers LLP, 2121 N Pearl Street, Suite 2000, Dallas, Texas 75201
             T: (214) 999 1400, F: (214) 754 7991, www.pwc.com/us



HIGHLY CONFIDENTIAL                                                                                                     D-CNL000214
                                                                                                                  Appx. 00744
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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Balance Sheet
         December 31, 2018



         (in thousands)


         Assets
         Cash and cash equivalents                                                              $        5,034
         Investments at fair value (cost $922,027)                                                     845,186
         Management and incentive fees receivable                                                        2,393
         Due from broker for securities sold, not yet settled                                              598
         Other assets                                                                                    9,255
         Notes and other amounts due from affiliates                                                   173,398
         Intangible assets                                                                               3,022
         Fixed assets and leasehold improvements, net of accumulated                                     4,581
            depreciation of $11,197
           Total assets                                                                         $    1,043,467

         Liabilities and partners' capital

         Liabilities
         Accounts payable                                                                       $        4,983
         Securities sold, not yet purchased (proceeds $26,135)                                          32,357
         Withdrawals payable                                                                            57,009
         Due to brokers                                                                                116,560
         Due to brokers for securities purchased, not yet settled                                        1,640
         Accrued and other liabilities                                                                  40,246
         Notes payable                                                                                  55,752
         Investment liabilities                                                                         46,092
           Total liabilities                                                                           354,639

         Non-controlling interest                                                                      316,867


         Partners' capital                                                                             371,961

           Total liabilities and partners' capital                                              $    1,043,467




                  The accompanying notes are an integral part of these consolidated financial statements.

                                                              2



HIGHLY CONFIDENTIAL                                                                                          D-CNL000215
                                                                                                       Appx. 00745
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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Statement of Income
         Year Ended December 31, 2018

         (in thousands)

         Revenue:
          Management fees                                                                         $           36,600
          Interest and investment income                                                                      15,831
          Incentive fees                                                                                          70
          Shared services fees                                                                                 9,187
          Other income                                                                                         2,622

            Total revenue                                                                                     64,310

         Expenses:
          Compensation and benefits                                                                           34,475
          Professional fees                                                                                   17,679
          Interest expense                                                                                     5,670
          Marketing and advertising expense                                                                    2,413
          Depreciation and amortization                                                                        1,317
          Investment and research consulting                                                                   1,082
          Bad debt expense                                                                                     7,862
          Other operating expenses                                                                            10,027

            Total expenses                                                                                    80,525

         Other Income/(Expense):
          Other income                                                                                         9,826
          Impairment on intangible assets                                                                     (2,830)

            Total other income                                                                                 6,996

         Loss before investment and derivative activities                                                     (9,219)

         Realized and unrealized loss on investments and derivatives:
          Net realized loss on investments and derivatives                                                (31,517)
          Net change in unrealized loss on investments and derivatives                                    (93,755)
            Net realized and unrealized loss on investments and derivatives                              (125,272)

         Net loss                                                                                        (134,491)

         Net loss attributable to non-controlling interest                                                (61,313)

         Net loss attributable to Highland Capital Management, L.P.                               $       (73,178)




                    The accompanying notes are an integral part of these consolidated financial statements.

                                                              3



HIGHLY CONFIDENTIAL                                                                                            D-CNL000216
                                                                                                         Appx. 00746
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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Statement of Changes in Partners' Capital
         Year Ended December 31, 2018

         (in thousands)


                                                                                General              Limited
                                                                                Partner              Partners           Total


         Partners' capital, December 31, 2017                               $         163        $      450,014     $     450,177

         Net loss attributable to Highland Capital Management, L.P.         $         (183)      $      (72,995)    $     (73,178)

         Partner distributions                                              $             (13)   $        (5,025)   $      (5,038)

         Partners' capital, December 31, 2018                               $             (33)   $      371,994     $     371,961




                   The accompanying notes are an integral part of these consolidated financial statements.

                                                                      4



HIGHLY CONFIDENTIAL                                                                                                           D-CNL000217
                                                                                                                        Appx. 00747
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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Statement of Cash Flows
         Year Ended December 31, 2018

         (in thousands)

         Cash flows from operating activities:
         Net loss                                                                                $      (134,491)
         Adjustment to reconcile net loss to net cash
          provided from operating activities:
            Net realized loss on investments and derivative transactions                                    31,517
            Net change in unrealized loss on investments and derivative transactions                        93,755
            Amortization and depreciation                                                                    1,317
            Changes in assets and liabilities:
              Management and incentive fee receivable                                                         9,468
              Due from brokers                                                                                1,689
              Due from affiliate                                                                            (10,989)
              Other assets                                                                                    4,272
              Intangible assets                                                                               3,308
              Accounts payable                                                                                  546
              Accrued and other liabilities                                                                   1,214
              Due to brokers for securities purchased, not yet settled                                        1,886
              Due to brokers                                                                                 11,665
                  Net cash provided from operating activities                                               15,157
         Cash flows from investing activities:
            Purchases of fixed assets and leasehold improvements, net                                        (67)
            Purchases of investments                                                                    (195,263)
            Proceeds from dispositions of investments                                                    258,858
            Proceeds from securities sold, not yet purchased                                              46,550
            Issuance of notes receivable to affiliates                                                    (2,400)
            Proceeds from repayments of notes receivable from affiliates                                   3,395
            Purchases of investments to cover securities sold, not yet purchased                        (127,954)
                  Net cash used in investing activities                                                     (16,881)
         Cash flows from financing activities:
            Payments on notes payable & investment liabilities                                            (2,743)
            Proceeds from long-term debt                                                                  38,501
            Capital contributions from minority interest investors of consolidated entities               14,615
            Capital withdrawals by minority interest investors of consolidated entities                 (141,986)
            Partner distributions                                                                         (5,060)
                  Net cash used in financing activities                                                     (96,673)
         Net decrease in cash and cash equivalents                                                          (98,397)
         Cash and cash equivalents
            Beginning of year                                                                           103,479
            De-consolidating funds adjustment                                                               (48)

            End of year                                                                          $           5,034


         Supplemental disclosure of cash flow information:
            Interest paid during the year                                                        $        (5,629)
            Taxes paid during the year                                                                  (510,961)
            Investments acquired for non-cash consideration                                               26,018
            Investments disposed for non-cash consideration                                                  116


                  The accompanying notes are an integral part of these consolidated financial statements.

                                                                  5

HIGHLY CONFIDENTIAL                                                                                          D-CNL000218
                                                                                                       Appx. 00748
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         Highland Capital Management, L.P.
         Notes to Consolidated Financial Statements
         December 31, 2018



         1.   Description of Business

              Highland Capital Management, L.P. (the “Partnership”) was formed on July 7, 1997 as a limited
              partnership in the state of Delaware. The Partnership is a registered investment adviser under the
              Investment Advisers Act of 1940 that manages collateralized loan obligations (“CLOs”), hedge funds,
              private equity funds, and other leveraged loan transactions that are collateralized predominately
              by senior secured bank debt and high-yield bonds. The Partnership and its subsidiaries make
              direct investments in debt, equity, and other securities in the normal course of business. The
              Partnership’s general partner is Strand Advisors, Inc. (the “General Partner”). The Partnership is
              owned by an unaffiliated (other than through its direct ownership) trust as well as affiliated trusts and
              personal holdings of the senior management of the Partnership.

              As of December 31, 2018, the Partnership provided investment advisory services for eighteen CLOs,
              five separate accounts, one master limited partnership, and nine hedge funds or private equity
              structures, with total fee-earning assets under management of approximately $3.1 billion. The
              Partnership also provides investment services on behalf of affiliate advisors.

         2.   Summary of Significant Accounting Policies

              The following is a summary of the significant accounting policies followed by the Partnership in
              preparation of its consolidated financial statements.

              Basis of Accounting
              The Partnership’s consolidated financial statements have been prepared in accordance with U.S.
              generally accepted accounting principles in the United States of America (“U.S. GAAP”) as set forth
              in the Financial Accounting Standards Board’s Accounting Standards Codification and are stated in
              the United States Dollar.

              Use of Estimates
              The preparation of the consolidated financial statements in conformity with U.S. GAAP requires
              management to make estimates and assumptions that affect the amounts and disclosures in the
              consolidated financial statements. Actual results could differ from those estimates and those
              differences could be material.

              Principles of Consolidation
              The consolidated financial statements include the accounts of the Partnership and the Partnership’s
              consolidated subsidiaries (“Consolidated Entities”), which are comprised of (i) those entities in
              which it has controlling investment and has control over significant operating, financial and
              investing decisions, (ii) those entities in which it, as the general partner, has control over
              significant operating, financial and investing decisions, and (iii) variable interest entities (“VIEs”) in
              which it is the primary beneficiary as described below.

              The Partnership determines whether an entity has equity investors who lack the characteristics of a
              controlling financial interest or does not have sufficient equity at risk to finance its expected activities
              without additional subordinated financial support from other parties. If an entity has either of these
              characteristics, it is considered a VIE and must be consolidated by its primary beneficiary, which is
              the party that, along with its affiliates and de facto agents, absorbs a majority of the VIEs’ expected
              losses or receives a majority of the expected residual returns as a result of holding variable interests.




                                                               6

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              The Partnership assesses consolidation requirements pursuant to ASU 2015-02: Consolidation,
              which was adopted using the modified retrospective method and resulted in an effective date of
              adoption of January 1, 2016.

              The Partnership and its affiliate’s involvement with unconsolidated VIEs is generally limited to that of
              an advisory services provider, and their investment, if any, represents an insignificant interest in the
              relevant investment entities’ assets under management. The Partnership’s affiliate’s exposure to risk
              in these entities is generally limited to any capital contribution it has made or is required to make and
              any earned but uncollected asset based and performance fees. The Partnership has not issued any
              investment performance guarantees to these VIEs or their investors, except that the Partnership has
              agreed to subject the full value of its equity interest in Highland Prometheus Fund to dollar-for-dollar
              reduction to the extent the third party investor in such fund does not achieve an annual target return.

              As of December 31, 2018, the net assets of the unconsolidated VIEs and the Partnership’s maximum
              risk of loss were as follows:

              (in thousands)


                                                                        Unconsolidated        Carrying Value and
                                                                        VIE Net Assets       Maximum Risk of Loss

               Sponsored investment funds                              $         206,329      $                12,178




              Consolidation of Variable Interest Entities
              The Partnership consolidates the following VIEs (along with majority owned funds: Highland
              Diversified Credit Fund, L.P., and Highland Select Equity Fund, L.P., collectively the "Consolidated
              Investment Funds"), as the Partnership (or its wholly owned subsidiaries) controls the general
              partner of the respective entities and is responsible for the daily operations of the following entities:

                  Highland Multi Strategy Credit Fund, L.P. (“Multi Strategy Master”), formerly Highland Credit
                   Opportunities CDO, L.P., a Delaware limited partnership that commenced operations on
                   December 15, 2005 and changed its name on August 26, 2014;

                  Highland Multi-Strategy Master Fund, L.P. (“Multi-Strategy Master”), a Bermuda limited
                   partnership that commenced operations on July 18, 2006;

                  Highland Multi-Strategy Fund, L.P. (“Multi-Strat Domestic Feeder”), a Delaware limited
                   partnership that commenced operations on July 6, 2006;

                  Highland Restoration Capital Partners Offshore, L.P. (“Restoration Offshore”), a Cayman limited
                   partnership that commenced operations on September 2, 2008;

                  Highland Restoration Capital Partners, L.P. (“Restoration Onshore”), a Delaware limited
                   partnership that commenced operations on September 2, 2008; and




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              Consolidation of Majority Owned Entities
              The Partnership consolidates the following entities as it has a controlling majority interest:

                  100% interest in Highland Capital Special Allocation, LLC (“HCSA”), a Delaware limited liability
                   company that commenced operations on December 21, 2006;

                  100% interest in Highland Receivables Finance 1, LLC, a Delaware limited liability company
                   that commenced operations on December 29, 2006;

                  100% interest in Highland Multi-Strategy Onshore Master SubFund, LLC, a Delaware limited
                   liability company that commenced operations on July 19, 2006;

                  100% interest in Highland Multi-Strategy Onshore Master Subfund II, LLC, LLC, a Delaware
                   limited liability company that commenced operations on February 22, 2007;

                  100% interest in Highland Brasil, LLC, a Delaware limited liability company that commenced
                   operations on January 28, 2014;

                  100% interest in Highland Capital Management (Singapore) Pte, Ltd. (“HCM Singapore”), a
                   company organized in the Republic of Singapore that commenced operations on April 2, 2008;

                  100% interest in Highland Capital Management Korea, Ltd. (“HCM Korea”), a company
                   organized in the Republic of Korea that commenced operations on August 2, 2012;

                  100% interest in Highland Capital Management Latin America, L.P., (“HCM Latin America”), a
                   Cayman company that was formed on April 13, 2017;

                  100% interest in HE Capital, LLC, a Delaware limited liability company that was formed on
                   March 22, 2007;

                  100% interest in De Kooning, Ltd, a Cayman company that was formed on December 1, 2012;

                  100% interest in Hirst, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Hockney, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Oldenburg, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Eames, Ltd, a Cayman company that was formed on December 12, 2012;

                  99.9% interest in Penant Management, L.P., a Delaware limited partnership that was formed on
                   December 12, 2012;

                  100% interest in Pollack, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Warhol, Ltd., a Cayman company that was formed on December 1, 2012;




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                  100% interest in HCREF-I Holding Corp., a Delaware company that was formed on December
                   13, 2012;

                  100% interest in HCREF-XI Holding Corp., a Delaware company that was formed on December
                   13, 2012;

                  100% interest in HCREF-XII Holding Corp., a Delaware company that was formed on December
                   13, 2012;

                  100% interest in Highland ERA Management, LLC, a Delaware limited liability company that
                   was formed on February 1, 2013;

                  100% interest in The Dondero Insurance Rabbi Trust., a trust that was formed on May 27, 2004;

                  100% interest in The Okada Insurance Rabbi Trust, a trust that was formed on May 27, 2004;

                  100% interest in Highland Employee Retention Assets (“HERA”), LLC, a Delaware limited
                   liability company that was formed on October 26, 2009;

                  100% interest in Highland Diversified Credit Fund, L.P. (“Highland Offshore Partners”), a
                   Delaware limited partnership which began operations on February 29, 2000 and was organized
                   for the sole purpose of investing substantially all of its assets in Highland Offshore Partners,
                   L.P.;

                  99.6% interest in Highland Select Equity Master Fund, LP, and Highland Select Equity Fund,
                   LP Delaware limited partnerships which began operations on January 1, 2002 and was
                   organized for the purpose of investing and trading in large and small cap stocks that trade for
                   less than intrinsic value;

                  100% interest in Highland Fund Holdings, LLC, a Delaware limited liability company that was
                   formed on May 24, 2016;

                  100% interest in Maple Avenue Holdings, LLC, a Texas limited liability company formed on
                   August 17, 2016;

                  100% interest in Highland HCF Advisor, Ltd., a Cayman company that was formed on October
                   27, 2017;

                  100% interest in Asury Holdings, LLC, a Delaware limited liability company formed on February
                   14, 2017 and;

                  100% interest in Highland CLO Management, Ltd., a Cayman company that was formed on
                   October 27, 2017.

              All inter-partnership and intercompany accounts and transactions involving the above listed
              Consolidated Entities have been eliminated in all of the aforementioned consolidating schedules.
              All the Consolidated Investment Funds are, for U.S. GAAP purposes, investment companies under
              the American Institute of Certified Public Accountants (AICPA) Audit and Accounting Guide -
              Investment Companies. The Partnership has retained the specialized accounting of these funds
              required under U.S. GAAP.



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              The following table includes a rollforward of non-controlling interests from December 31, 2017, to
              December 31, 2018.

               (in thousands)

               Noncontrolling interest, December 31, 2017               $   424,844

               Net loss attributable to noncontrolling interest             (61,313)

               Noncontrolling partner contributions                          14,615

               Noncontrolling partner distributions                         (58,061)

               Noncontrolling interest of deconsolidated entities             (3,218)

               Noncontrolling interest, December 31, 2018               $   316,867



              Investment Transactions
              Investment transactions are recorded on a trade date basis. Investments in securities are valued
              at market or fair value at the date of the consolidated financial statements with the resulting net
              unrealized appreciation or depreciation reflected in the Consolidated Statement of Income. Realized
              gains and losses on the transactions are determined based on either the first-in, first-out or specific
              identification method.

              See Note 5 for the Partnership’s fair value process and hierarchy disclosures.

              Management and Incentive Fee Revenue
              The Partnership recognizes revenue as earned in connection with services provided under collateral
              and investment management agreements. Under these agreements, the Partnership earns
              management fees calculated as a percentage of assets under management or net asset value. The
              Partnership also has an opportunity to earn additional incentive fees and incentive allocations related
              to certain management agreements depending ultimately on the financial performance of the
              underlying assets the Partnership manages. During the year ended December 31, 2018, the
              Partnership and its Consolidated Entities recognized management fees and incentive fees of
              approximately $36.6 million and $0.1 million, respectively.

              Shared Services Revenue
              The Partnership recognizes revenue as earned in connection with services provided to related
              parties under various shared services agreements. Under these agreements, the Partnership earns
              fees for services including, but not limited to, back office support functions, marketing, and
              investment advisory services. During the year ended December 31, 2018, the Partnership and its
              Consolidated Entities recognized shared services revenue of approximately $9.2 million, which has
              been presented in Shared services fees in the Consolidated Statement of Income. See further
              discussion in Note 8.




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              Income and Expense Recognition
              Interest on currently paying debt instruments is accrued as earned and dividend income and
              dividends on securities sold, not yet purchased are recorded on the ex-dividend date, net of
              withholding taxes. In certain instances where the asset has defaulted or some amount of the interest
              payment is deemed uncollectable, interest is recognized when received. Discounts and premiums
              associated with purchases of investments are accreted and amortized to interest income, except for
              deep-discounted debt where ultimate collection of interest and principal may be in doubt. Such
              accretion/amortization is calculated on an effective-yield basis over the life of the investment.
              Amendment fees are recognized when agreed to by the underlying company and all settlement
              contingencies are met. Operating expenses, including interest on securities sold short, not yet
              purchased, are recorded on the accrual basis as incurred.

              Income Taxes
              The Partnership is not subject to federal income taxes, and therefore, no provision has been made
              for such taxes in the accompanying consolidated financial statements. Income taxes are the
              responsibility of the partners. Certain consolidated subsidiaries are subject to federal income taxes.

              Certain entities that are included in these consolidated financial statements are subject to federal
              and/or state income taxes. Deferred tax assets and liabilities are recognized for the future tax
              consequences attributable to differences between the financial statement carrying amounts of existing
              assets and liabilities and their respective tax bases. Deferred tax assets and liabilities are
              measured using enacted tax rates expected to apply to taxable income in the years in which those
              temporary differences are expected to be recovered or settled. The effect on deferred tax assets
              and liabilities of a change in tax rates is recognized in the period that includes the enactment date. See
              further discussion in Note 13.

              Cash and Cash Equivalents
              Cash and cash equivalents consist of cash held at U.S. and foreign banks, deposits with original
              maturities of less than 90 days, and money market funds. Cash equivalents are carried at cost,
              which approximates market value. At December 31, 2018, the Partnership and Consolidated
              Entities held cash balances at certain financial institutions in excess of the federally insured limit
              of $0.3 million. The Partnership and Consolidated Entities regularly monitor the credit quality of
              these institutions.

              Notes Receivable
              Notes receivable consists of secured promissory notes with maturities greater than one year. When
              available, the Partnership uses observable market data, including pricing on recent closed
              transactions to value notes. When appropriate, these notes may be valued using collateral values.
              Adjustments to the value may be performed in circumstances where attributes specific to the
              collateral exist suggesting impairment.

              Other Intangible Assets
              Goodwill and other intangible assets are recorded on the Consolidated Balance Sheet at current
              carrying values. The Partnership and its Consolidated Entities perform an impairment test on an
              annual basis. Any impairment in the value of other intangible assets is accounted for in the year
              when it occurs.

              Fixed Assets and Leasehold Improvements
              Fixed assets and leasehold improvements are carried at cost, less accumulated depreciation.
              Depreciation is provided using the straight-line method over the shorter of the estimated useful life
              of the assets or the lease term.


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              The Partnership and its Consolidated Entities are depreciating fixed assets as follows:




              Securities Sold, Not Yet Purchased
              Certain of the Partnership’s Consolidated Investment Funds engage in “short sales” as part
              of their investment strategies. Short selling is the practice of selling securities that are borrowed
              from a third party. The Consolidated Investment Funds are required to return securities
              equivalent to those borrowed for the short sale at the lender’s demand.

              Pending the return of such securities, the Consolidated Investment Funds deposit with the lender as
              collateral the proceeds of the short sale plus additional cash. The amount of the required deposit,
              which earns interest, is adjusted periodically to reflect any change in the market price of the
              securities that the Consolidated Investment Funds are required to return to the lender. A gain
              (which cannot exceed the price at which the Consolidated Investment Funds sold the security short)
              or a loss (which theoretically could be unlimited in size) will be settled upon termination of a short
              sale.

              Due to/from Brokers
              Due to and from broker balances recorded on the Consolidated Balance Sheet include liquid assets
              maintained with brokers and counterparties for margin account balances and the amounts due for or
              due from the settlement of purchase and sales transactions. Certain due to and from broker balances
              have been reported on a net-by-counterparty basis where, in accordance with contractual rights and
              the Partnership’s opinion, there is a right of offset in the event of bankruptcy or default by a
              counterparty.

              Options Contracts
              The Partnership and the Consolidated Entities may purchase and write call and put options to gain
              market exposure or to hedge investments. A call option gives the purchaser of the option the right
              (but not the obligation) to buy, and obligates the seller to sell (when the option is exercised), the
              underlying position at the exercise price at any time or at a specified time during the option period.
              A put option gives the holder the right to sell and obligates the writer to buy the underlying position
              at the exercise price at any time or at a specified time during the option period. When the Partnership
              or the Consolidated Entities purchase (write) an option, an amount equal to the premium paid
              (received) by the entity is reflected as an asset (liability). The amount of the asset (liability) is
              subsequently marked-to-market to reflect the current market value of the option purchased (written).
              When a security is purchased (or sold) through an exercise of an option, the related premium paid
              (or received) is added to (or deducted from) the basis of the security acquired or deducted from (or
              added to) the proceeds of the security sold. When an option expires (or the Partnership or the
              Consolidated Entities enter into a closing transaction), the entity realizes a gain or loss on the option
              to the extent of the premiums received or paid (or gain or loss to the extent the cost of the closing
              transaction exceeds the premium received or paid). Exercise of a written option could result in the
              Partnership or the Consolidated Entities purchasing a security at a price different from the current
              market value.



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              The Partnership and the Consolidated Entities are exposed to counterparty risk from the potential
              that a seller of an option contract does not sell or purchase the underlying asset as agreed under the
              terms of the option contract. The maximum risk of loss from counterparty risk to the Partnership and
              the Consolidated Entities is the greater of the fair value of its open option contracts or the premiums
              paid to purchase the open option contracts. The Partnership and the Consolidated Entities consider
              the credit risk of the intermediary counterparties to its option transactions in evaluating potential credit
              risk.

              Margin Transactions
              To obtain more investable cash, certain of the Consolidated Entities may use various forms of
              leverage including purchasing securities on margin. A margin transaction consists of purchasing an
              investment with money loaned by a broker and agreeing to repay the broker at a later date.
              Interest expense on the outstanding margin balance is based on market rates at the time of the
              borrowing.

              Withdrawals Payable
              Withdrawals are recognized as liabilities, net of incentive allocations, when the amount requested in
              the withdrawal notice becomes fixed and determinable. This generally may occur either at the time
              of receipt of the notice, or on the last day of a fiscal period, depending on the nature of the request.
              As a result, withdrawals paid after the end of the year, but based upon year-end capital balances are
              reflected as withdrawals payable at December 31, 2018. Withdrawal notices received for which the
              dollar amount is not fixed remains in capital until the amount is determined. At December 31,
              2018, the Consolidated Investment Funds had withdrawals payable of $57.0 million.

              Foreign Currency Transactions
              The Partnership's subsidiaries HCM Singapore and HCM Korea use Singapore dollars and Korean
              won, respectively, as their functional currency. All foreign currency asset and liability balances are
              presented in U.S. dollars in the consolidated financial statements, translated using the exchange rate
              as of December 31, 2018. Revenues and expenses are recorded in U.S. dollars using an average
              exchange rate for the relative period. Foreign currency transaction gains and losses resulting from
              transactions outside of the functional currency of an entity are included in Other income on the
              Consolidated Statement of Income.

              The Consolidated Entities do not isolate that portion of the results of operations resulting from
              changes in foreign exchange rates or investment or fluctuations from changes in market prices of
              securities held. Such fluctuations are included within the Net realized and unrealized gains or loss
              from investments on the Consolidated Statement of Income.

              Life Settlement Contracts
              One of the Consolidated Investment Funds, through a subsidiary, holds life settlement contracts and
              accounts for them using the fair value method. These contracts are recorded as a component of
              “Investments at fair value” on the Consolidated Balance Sheet. Realized and unrealized gains
              (losses) on the contracts are recorded in the Consolidated Income Statement. Cash flows relating to
              the purchase and sale of the contracts are recorded as a component of Purchase of investments and
              Proceeds from dispositions of investments on the Consolidated Statement of Cash Flows. At
              December 31, 2018, the Consolidated Investment Fund was invested in 13 policies, which had a
              total face value of approximately $145.3 million and a fair value of $35.7 million.




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              Financing
              The Partnership and its Consolidated Entities may finance the acquisition of its investments in
              securities and loans through financing arrangements which are classified in Notes payable and
              Investment liabilities on the Consolidated Balance Sheet. The Partnership and its Consolidated
              Entities recognize interest expense on all borrowings on the accrual basis in the Consolidated
              Statement of Income.

              Financial Instruments
              The Partnership and its Consolidated Entities determine fair value of financial instruments as
              required by U.S. GAAP. The carrying amounts for cash and cash equivalents, receivables,
              accounts payable, withdrawals payable, debt and notes payable, due to brokers, investment
              liabilities and accrued liabilities approximate their fair values. For fair value of investment, see
              Note 5.

              Accounts Payable, Accrued and Other Liabilities
              Expenses are recorded on an accrual basis, as incurred. Current liabilities are included in Accounts
              payable. Long-term liabilities are included in Accrued and other liabilities.

              Partners’ Capital
              The Partnership agreement requires that income or loss of the Partnership be allocated to the
              partners in accordance with their respective partnership interests.




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         3.   Fixed Assets and Leasehold Improvements

              Fixed assets and leasehold improvements are comprised of the following as of December 31, 2018:

               (in thousands)


               Leasehold improvements                                         $         7,193
               Buildings                                                                2,595
               Furniture and fixtures                                                   2,796
               Computer and equipment                                                   2,863
               Computer software                                                          331
               Accumulated depreciation                                               (11,197)

                                                                              $        4,581


              Depreciation expense in 2018 totaled approximately $1.3 million for the Partnership and its
              subsidiaries.



         4.   Investments

              Detailed below is a summary of the Partnership and its Consolidated Entities’ investments at
              December 31, 2018:

               (in thousands)                                          Amortized
                                                                       Cost/Cost       Fair Value

               Common equity securities                            $      423,306     $     535,374
               Closed-end mutual funds                                    100,788            94,845
               Floating rate syndicated bank loans                        142,586            72,622
               Real Estate Investment Trusts                               28,271            57,475
               Life settlement contracts                                   65,276            35,744
               Limited partnership interests                               24,892            30,521
               Rights & warrants                                           26,661             7,446
               LLC interests                                               10,629             2,775
               Preferred equity                                               258             8,282
               Asset-backed securities                                      7,350               102
               Participation interests                                      6,590               -
               Corporate bonds                                             85,421               -

               Total investments                                   $      922,027     $     845,186

                                                                       Proceeds        Fair Value

               Securities sold, not yet purchased                  $       (26,135)   $      (32,357)




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         5.   Fair Value of Financial Instruments

              Fair Value Measurement
              U.S. GAAP defines fair value as the price an entity would receive to sell an asset or pay to transfer
              a liability in an orderly transaction between market participants as of the measurement date. The
              standard requires fair value measurement techniques to reflect the assumptions market participants
              would use in pricing an asset or liability and, where possible, to maximize the use of observable
              inputs and minimize the use of unobservable inputs. It also establishes the following hierarchy that
              prioritizes the valuation inputs into three broad levels:

                  Level 1 – Valuation based on unadjusted quoted prices in active markets for identical assets
                   and liabilities that the Partnership and the Consolidated Entities have the ability to access as
                   of the measurement date. Valuations utilizing Level 1 inputs do not require any degree of
                   judgment.

                  Level 2 – Valuations based on (a) quoted prices for similar instruments in active markets; (b)
                   quoted prices for identical or similar instruments in markets that are not active that are reflective
                   of recent market transactions; or (c) models in which all significant inputs are observable, either
                   directly or indirectly.

                  Level 3 – Valuations based on indicative quotes that do not reflect recent market transactions
                   and models or other valuation techniques in which the inputs are unobservable and significant
                   to the fair value measurement, which includes situations where there is little, if any, market
                   activity for the asset or liability.

              The availability of observable inputs varies among financial instruments and is affected by
              numerous factors, including the type of instruments, the period of time in which the instrument has
              been established in the marketplace, market liquidity for an asset class and other characteristics
              particular to a transaction. When the inputs used in a valuation model are unobservable,
              management is required to exercise a greater degree of judgment to determine fair value than it
              would for observable inputs. For certain instruments, the inputs used to measure fair value may fall
              into different levels of the hierarchy discussed above. In those cases, the instruments are
              categorized for disclosure purposes based on the lowest level of inputs that are significant to their
              fair value measurements.

              The Partnership and Consolidated Entities use prices and inputs that are current as of the
              measurement dates. The Partnership also considers the counterparty’s non-performance risk
              when measuring the fair value of its investments.

              During periods of market dislocation, the ability to observe prices and inputs for certain
              instruments may change. These circumstances may result in the instruments being reclassified
              to different levels within the hierarchy over time. They also create an inherent risk in the estimation
              of fair value that could cause actual amounts to differ from management’s estimates. Whenever
              possible, the Partnership and its Consolidated Entities use actual market prices or relevant
              observable inputs to establish the fair value of its assets and liabilities. In cases where observable
              inputs are not available, the Partnership and Consolidated Entities develop methodologies that
              provide appropriate fair value estimates. These methodologies are reviewed on a continuous basis
              to account for changing market conditions.




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              The Partnership has established policies, as described above, processes and procedures to ensure
              that valuation methodologies for investments and financial instruments that are categorized within all
              levels of the fair value hierarchy are fair and consistent. A Pricing Committee has been established
              to provide oversight of the valuation policies, processes and procedures, and is comprised of various
              personnel from the Partnership. The Pricing Committee meets monthly to review the proposed
              valuations for investments and financial instruments. The Pricing Committee is responsible for
              establishing the valuation policies and evaluating the overall fairness and consistent application of
              those policies.

              As of December 31, 2018, the Partnership and its Consolidated Entities’ investments consisted
              primarily of common equity securities, closed-end mutual funds, floating rate syndicated bank loans,
              real estate investment trusts, life settlement contracts, limited partnership interests, rights and
              warrants, LLC interests, asset-backed securities, and preferred equity. In addition, certain of the
              Consolidated Entities engage in short sale transactions. The majority of these financial instruments
              are not listed on national securities exchanges and management is required to use significant
              judgment to estimate their values.

              Public Equity Investments
              Publicly traded equities, including closed-end mutual funds and publicly traded REITs are valued at
              the closing price at the date of the financial statements. The fair value of equity investments that are
              not traded on national exchanges or through real-time quotation services are derived from
              methodologies that provide appropriate fair value estimates. Equity investments with quotes that are
              based on actual trades with a sufficient level of activity on or near the valuation date are classified
              as Level 2 assets.


              Private Equity Investments
              The Partnership and Consolidated Entities hold private equity investments which often resulted from
              the restructuring of other instruments which are classified as common equity securities. These
              assets are valued using market data obtained from a third-party pricing service and/or quotes from
              other parties dealing in the specific assets when available. In the event both a reliable market quote
              and third-party pricing service data are not available for such assets, the Partnership and
              Consolidated Entities will fair value the assets using various methodologies, as appropriate for
              individual investments, including comparable transaction multiples, comparable trading multiples,
              and/or discounted cash flow analysis. When utilizing comparable trading multiples, the Investment
              Manager determines comparable public companies (peers) based on industry, size, developmental
              stage, strategy, etc., and then calculates a trading multiple for each comparable company identified
              by using either a price to book ratio based on publically available information about the underlying
              comparable company or by dividing the enterprise value of the comparable company by its earnings
              before interest, taxes, depreciation and amortization (EBITDA) or similar metrics. In certain
              instances, the inputs used in the calculation of the trading multiples may vary based on the industry
              or development stage of the company. A multiple determined by the Investment Manager to be within
              a reasonable range as calculated amongst its peers is then applied to the underlying company’s
              price to book ratio or EBITDA (which may be normalized to adjust for certain nonrecurring events),
              to calculate the fair value of the underlying company. The fair value may be further adjusted for entity
              specific facts and circumstances. Private equity investments with quotes that are based on actual
              trades with a sufficient level of activity on or near the valuation date are classified as Level 2 assets.
              Private equity investments that are priced using quotes derived from implied values, bid/ask prices
              for trades that were never consummated, or a limited amount of actual trades are classified as Level
              3 assets because the inputs used by the brokers and pricing services to derive the values are not
              readily observable.



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HIGHLY CONFIDENTIAL                                                                                               D-CNL000230
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              The Consolidated Entities also invest in warrant securities of publicly–traded companies. The fair
              value of these investments is based on an option pricing model. The option model bases warrant
              value on a number of factors including underlying equity price as of the valuation date, strike price,
              exercise date, time to expiration and volatility. Warrant investments that have observable volatility
              are classified as Level 2 assets. Warrant investments where volatility inputs are not observable are
              valued using an estimated volatility input, and are classified as Level 3 assets.

              Debt Securities
              The Partnership and Consolidated Entities invest in various types of debt, including floating rate
              syndicated bank loans, which are almost exclusively valued using market data obtained from one or
              more third-party pricing services or brokers. In instances where a third-party pricing service does not
              provide pricing for a specific asset, the Partnership and Consolidated Entities first seek to obtain
              reliable market quotes from other parties dealing in the specific asset. Loans and bonds with quotes
              that are based on actual trades with a sufficient level of activity on or near the valuation date are
              classified as Level 2 assets. Loans and bonds that are priced using quotes derived from implied
              values, bid/ask prices for trades that were never consummated, or a limited amount of actual trades
              are classified as Level 3 assets because the inputs used by the brokers and pricing services to derive
              the values are not readily observable.

              Absent both a reliable market quote and third-party pricing service date, the Partnership and
              Consolidated Entities may use various models to establish an estimated exit price. These
              investments are classified as Level 3 assets. Models used for debt securities are primarily based on
              identifying comparable assets for which market data is available and pricing the target asset
              consistent with the yields of the comparable assets. As circumstances require, other industry
              accepted techniques may be used in modeling debt assets.

              Life Settlement Contracts
              Life Settlement contracts are valued using mortality tables and interest rate assumptions that
              are deemed by management to be appropriate for the demographic characteristics of the parties
              insured under the policies. Management generally utilizes an independent third party firm to
              perform these calculations and provide the relevant inputs. Management evaluates the results
              based on visible market activity and market research. Since these inputs are not readily
              observable, these contracts are classified as Level 3 assets.

              At December 31, 2018, the Consolidated Entities’ investments in life settlement contracts
              consisted of the following:

              (U.S. dollars in thousands, except number of policies)

               Remaining Life Expectancy
                       (in years)        Number of Policies Face Value Fair Value
                           1-2                   -           $     -    $      -
                           2-3                   3              33,785      16,940
                           3-4                   -                 -           -
                           4-5                   -                 -           -
                       Thereafter               10             111,500      18,804
                          Total                 13           $ 145,285 $    35,744




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HIGHLY CONFIDENTIAL                                                                                            D-CNL000231
                                                                                                         Appx. 00761
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              Asset-Backed Securities
              The Consolidated Entities invest in a variety of asset-backed securities. Asset-backed securities are
              generally valued based on complex cash flow models that analyze the cash flows generated by the
              investment’s underlying assets after adjusting for expected default rates, prepayment rates, collateral
              quality, market liquidity among other factors. These models are then adjusted based on spreads
              available in the market place from various research firms, dealers, and trading activity. The
              Consolidated Entities generally utilize an independent third parties to provide the relevant inputs.
              The Consolidated Entities evaluate the results based on visible market activity and market research.
              When appropriate, the Consolidated Entities may apply other techniques based on a specific asset’s
              characteristics. Asset-backed securities with quotes that are based on actual trades with a sufficient
              level of activity on or near the valuation date are classified as Level 2 assets. Asset-backed securities
              that are priced using quotes derived from implied values, bid/ask prices for trades that were never
              consummated, or a limited amount of actual trades are classified as Level 3 assets because the
              inputs used by the brokers and pricing services to derive the values are not readily observable.

              Limited Partnership and LLC Interests
              The Partnership and its Consolidated Entities hold limited partnership and LLC interests in various
              entities. These assets are valued as the net asset value of the limited partnership interests because
              the entities utilize fair value accounting for their own financial statements. These interests are
              classified as Level 3 assets.


              The Partnership categorizes investments recorded at fair value in accordance with the hierarchy
              established under U.S. GAAP. The following table provides a summary of the financial
              instruments recorded at fair value on a recurring basis by level within the hierarchy as of December
              31, 2018:

               (in thousands)
                                                                                                                Total Fair
                                                                                                                Value at
               Assets                                    Level 1           Level 2           Level 3             12/31/18
               Common equity securities                $   139,236       $   296,695       $    99,443        $     535,374
               Closed-end mutual funds                      94,845               -                   -               94,845
               Floating rate syndicated bank loans             -                  21            72,601               72,622
               Real Estate Investment Trusts                46,594            10,881                 -               57,475
               Life settlement contracts                       -                 -              35,744               35,744
               Limited partnership interests                   -                 -              30,521               30,521
               Rights & warrants                                20               123              7,303               7,446
               LLC interests                                   -                 -                2,775               2,775
               Preferred equity                              8,282               -                   -                8,282
               Asset-backed securities                         -                 -                  102                 102
               Total                                   $   288,977       $   307,720       $   248,489        $     845,186

               Liabilities
               Common stock & Options sold short       $     32,357      $        -                   -       $      32,357




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HIGHLY CONFIDENTIAL                                                                                              D-CNL000232
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                  The classification of a financial instrument within Level 3 is based on the significance of the
                  unobservable inputs to the overall fair value measurement. The following table provides a roll forward
                  of the investments classified within Level 3 for the year ended December 31, 2018:
           (in thousands)
                                                                                                                                 Net            Net
                                                  Fair Value at                                                                Realized     Unrealized         Fair Value at
                                                 Decem ber 31,                   Sales and                      Transfers       Gains /       Gains /         Decem ber 31,
                                                       2017        Purchases    Maturities     Restructures    Into Level 3   (Losses)       (Losses)               2018
           Common equity securities              $       141,201   $    1,058   $      (116)    $       -       $      -      $      -      $    (42,700)    $         99,443
           Floating rate syndicated bank loans            64,307       12,146        (1,952)            -              -          (2,799)            899               72,601
           Life settlement contracts                      28,959        7,353           -               -              -             -              (568)              35,744
           Limited partnership interests                  27,863        4,600        (4,766)            -              928           351           1,545               30,521
           Rights & w arrants                              8,013          -             -               -              -             -              (710)                7,303
           LLC interests                                   3,352          165        (1,312)            -              -             985            (415)                2,775
           Asset-backed securities                         6,477            1        (3,051)         (2,171)          (928)      (39,580)         39,354                   102
                                                 $       280,172   $   25,323   $ (11,197)      $    (2,171)    $      -      $ (41,043)    $     (2,595)    $        248,489




                  All net realized and unrealized gains and losses in the tables above are reflected in the
                  accompanying Consolidated Income Statement. Approximately $41.8 million of the net unrealized
                  losses presented in the table above relate to investments held as of December 31, 2018.

                 The following page includes a summary of significant unobservable inputs used in the fair valuations
                 of assets and liabilities categorized within Level 3 of the fair value hierarchy.




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HIGHLY CONFIDENTIAL                                                                                                                                               D-CNL000233
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                                                  Ending Balance
                            Category               at 12/31/2018           Valuation Technique           Unobservable Inputs                 Input Value(s)

            Common equity securities              $       99,443 Multiples Analysis              Multiple of EBITDA                            2.5x - 7.0x
                                                                                                 Cap Rate                                      8.0 - 10.0%
                                                                                                 Multiple of Revenue                          0.20x - 0.30x
                                                                                                 Liquidity Discount                               25%
                                                                   Discounted Cash Flow          Discount Rate                                10.5 - 40.0%
                                                                                                 Terminal Multiple                            1.25x - 6.50x
                                                                                                 Long-Term Grow th Rate                           2%
                                                                   Transaction Analysis          Multiple of EBITDA                           4.0x - 7.75x
                                                                                                 Cap Rate                                       8 - 10%
                                                                   Bid Indications               Enterprise Value ($mm)                      $720.0 - $765.0
                                                                   Impairment Analysis           Recoverable Value                                0%
                                                                   Appraisal                     N/A                                              N/A

            Floating rate syndicated bank loans           72,601 Multiples Analysis              Multiple of EBITDA                            2.0x - 5.0x
                                                                                                 Multiple of Revenue                          0.35x - 0.50x
                                                                   Escrow Recovery Analysis      Risk Discount                                    40%
                                                                   Appraisal                     N\A                                              N\A
                                                                   Bid Indications               Transaction Price                                10%
                                                                   Sales Proceeds Analysis       Discount Rate                                    6.0%
                                                                   Discounted Cash Flow          Discount Rate                               12.3% - 40.0%
                                                                                                 Terminal Multiple                               1.25x
                                                                                                 Spread Adjustment                            0.0% - 6.3%

            Life settlement contracts                     35,744 Discounted Cash Flow            Discount Rate                                15.0 - 16.0%

            Limited partnership interests                 30,521 Net Asset Value                 Various models including liquidation             N/A
                                                                                                 analysis, and third-party pricing vendor


            Rights & w arrants                             7,303 Discounted Cash Flow            Discount Rate                               11.0% - 17.0%
                                                                                                 Terminal Multiple                                6.5x
                                                                   Multiples Analysis            Multiple of EBITDA                            6.0x - 7.0x
                                                                   Transaction Analysis          Multiple of EBITDA                           7.25x - 7.75x
                                                                   Bid Indication of Value       Enterprise Value (in millions)              $720.0 - $765.0

            LLC interests                                  2,775 Discounted Cash Flow            Discount Rate                                    6%
                                                                   Adjusted Appraisal            Minority Discount                                25%
                                                                   Bid Indication                Total Purchase Price (in millions)             $130.00

            Asset-backed securities                          102 Adjusted NAV                    N/A                                              N/A


            Total                                 $      248,489




                In addition to the unobservable inputs utilized for various valuation methodologies, the Partnership
                often uses a combination of two or more valuation methodologies to determine fair value for a single
                holding. In such instances, the Partnership assesses the methodologies and ascribes weightings to
                each methodology. The selection of weightings is an inherently subjective process, dependent on
                professional judgement. These selections may have a material impact to the concluded fair value for
                such holdings.

                The significant unobservable inputs used in the fair value measurement of the Partnership’s assets
                could fluctuate significantly, resulting in a significantly higher or lower fair value measurement.




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HIGHLY CONFIDENTIAL                                                                                                                               D-CNL000234
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         6.   Financial Instruments with Concentration of Credit and Other Risks

              Financial Instruments
              The Partnership and its Consolidated Entities’ investments include, among other things, equity
              securities, debt securities (both investment and non-investment grade) and bank loans. The
              Consolidated Entities may also invest in derivative instruments, including total return and credit
              default swaps. Investments in these derivative instruments throughout the year subject the
              Consolidated Entities to off-balance sheet market risk, where changes in the market or fair value of
              the financial instruments underlying the derivative instruments may be in excess of the amounts
              recognized in the Consolidated Balance Sheet.

              Market Risk
              Market risk represents the potential loss that may be incurred by the Partnership and its Consolidated
              Entities due to a change in the market value of its investments or the value of the investments
              underlying swap agreements. The Partnership and its Consolidated Entities’ exposure to market
              risk is affected by a number of macroeconomic factors, such as interest rates, availability of credit,
              inflation rates, economic uncertainty and changes in laws and regulations. These factors may affect
              the level and volatility of securities prices and the liquidity of the Partnership and its Consolidated
              Entities investments. Volatility or illiquidity could impair the Partnership and its Consolidated Entities
              performance or result in losses. The Partnership and its Consolidated Entities may maintain
              substantial trading positions that can be adversely affected by the level of volatility in the financial
              markets. The performance of life settlement contracts may be adversely impacted by the under
              estimation of mortality and other rates.

              Credit Risk
              Credit risk is the potential loss the Partnership and its Consolidated Entities may incur as a result of
              the failure of a counterparty or an issuer to make payments according to the terms of a contract.
              Because the Consolidated Entities enter into over-the-counter derivatives such as swaps, it is
              exposed to the credit risk of their counterparties. To limit the credit risk associated with such
              transactions, the Consolidated Entities execute transactions with financial institutions that the
              Investment Manager believes to be financially viable.

              Liquidity Risk
              The Consolidated Entities’ limited partner interests have not been registered under the Securities
              Act of 1933 or any other applicable securities law. There is no public market for the interests, and
              neither the Consolidated Entities nor their manager expects such a market to develop.

              Business Risk
              The Partnership provides advisory services to the Consolidated Entities. Consolidated Entities
              could be materially affected by the liquidity, credit and other events of the Partnership.




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HIGHLY CONFIDENTIAL                                                                                               D-CNL000235
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              High Yield Bonds and Loans
              The Partnership and its Consolidated Entities’ investment portfolios consist of floating rate
              syndicated bank loans and fixed income securities that are not listed on a national securities
              exchange. These investments trade in a limited market and it may not be possible to immediately
              liquidate them if needed. In addition, certain of the Partnership and its Consolidated Entities’
              investments have resale or transfer restrictions that further reduce their liquidity. Because of the
              inherent uncertainty of these investments, the Investment Manager’s best estimates may differ
              significantly from values that would have been used had a broader market for the investments
              existed.

              When the Partnership and its Consolidated Entities purchase a senior secured syndicated bank
              loan, it enters into a contractual relationship directly with the corporate borrower, and as such, is
              exposed to certain degrees of risk, including interest rate risk, market risk and the potential non-
              payment of principal and interest, including default or bankruptcy of the corporate borrower or early
              payment by the corporate borrower. Typically, senior secured syndicated bank loans are secured
              by the assets of the corporate borrower and the Partnership and its Consolidated Entities have a
              policy of regularly reviewing the adequacy of each corporate borrower’s collateral.

              The Partnership and its Consolidated Entities may invest in high-yield bonds that have been
              assigned lower rating categories or are not rated by the various credit rating agencies. Bonds in the
              lower rating categories are generally considered to be speculative with respect to the issuer’s ability
              to repay principal and pay interest. They are also subject to greater risks than bonds with higher
              ratings in the case of deterioration of general economic conditions. Due to these risks, the yields
              and prices of lower-rated bonds are generally volatile, and the market for them is limited, which may
              affect the ability to liquidate them if needed.

              Debt Obligations
              The Partnership and its Consolidated Entities’ investment portfolio consists of collateralized loan
              obligations that are not listed on a national securities exchange. These investments trade in a limited
              market and it may not be possible to immediately liquidate them if needed. Because of the inherent
              uncertainty of these investments, the Partnership’s best estimates may differ significantly from values
              that would have been used had broader market for the investments existed.

              Distressed Investments
              A portion of the high yield corporate bonds and senior secured syndicated bank loans in which the
              Partnership and its Consolidated Entities invest have been issued by distressed companies in an
              unstable financial condition that have experienced poor operating performance and may be involved
              in bankruptcy or other reorganization and liquidation proceedings. These investments have
              substantial inherent risks. Many of these distressed companies are likely to have significantly
              leveraged capital structures, which make them highly sensitive to declines in revenue and to
              increases in expenses and interest rates. The leveraged capital structure also exposes the
              companies to adverse economic factors, including macroeconomic conditions, which may affect their
              ability to repay borrowed amounts on schedule.




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HIGHLY CONFIDENTIAL                                                                                            D-CNL000236
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              Corporate Bonds, Preferred Securities, and Loans
              The Consolidated Entities may invest in corporate bonds, floating rate syndicated bank loans, and
              preferred securities which are rated in the lower rating categories by the various credit rating
              agencies (or in comparable non-rated securities). Securities in the lower rating categories are
              subject to greater risk of loss of principal and interest than higher-rated securities and are generally
              considered to be predominantly speculative with respect to the issuer's capacity to pay interest and
              repay principal. They are also subject to greater risks than securities with higher ratings in the case
              of deterioration of general economic conditions. Because of these greater risks associated with the
              lower-rated securities, the yields and prices of such securities may be more volatile than those for
              higher-rated securities. The market for lower-rated securities is thinner and less active than that for
              higher-rated securities, which could adversely affect the prices at which these securities may be sold
              by the Consolidated Entities.

              Limited Diversification
              The Investment Manager attempts to diversify the Consolidated Entities’ investments. However, the
              Consolidated Entities’ portfolios could become significantly concentrated in any one issuer, industry,
              sector strategy, country or geographic region, and such concentration of credit risk may increase the
              losses suffered by the Consolidated Entities. In addition, it is possible that the Investment Manager
              may select investments that are concentrated in certain classes of financial instruments. This limited
              diversity could expose the Consolidated Entities to losses that are disproportionate to market
              movements as a whole.

              At December 31, 2018, the Consolidated Entities’ investments were predominantly concentrated in
              the United States and Cayman Islands.

              Exit Difficulties
              The Partnership and its Consolidated Entities cannot assure investors that it will be able to exit its
              investments by sale or other disposition at attractive prices, if at all. The mergers and acquisitions
              and public securities markets are highly cyclical, which means that the Consolidated Entities’
              investments, even its best performing investments, may be illiquid for extended periods of time
              despite the Consolidated Entities’ efforts to identify attractive exit opportunities. Additionally, a
              significant portion of the Consolidated Entities’ assets at any time will likely consist of debt obligations
              and other securities that are thinly-traded, for which no market exists and/or are restricted as to their
              transferability under applicable law and/or documents governing particular transactions of the
              Consolidated Entities. In some cases, the Consolidated Entities may be unable to realize an
              investment prior to the date on which the Consolidated Entities are scheduled to terminate and/or
              have to sell or otherwise dispose of one or more investments on disadvantageous terms as a result
              of the Consolidated Entities’ termination, or distribute such investments in kind.

              Custody Risk
              The clearing operations for the Partnership and its Consolidated Entities are provided by major
              financial institutions. In addition, all of the Partnership and its Consolidated Entities’ cash and
              investments are held with banks or brokerage firms, which have worldwide custody facilities and are
              members of all major securities exchanges. The Partnership or its Consolidated Entities may lose
              all or a portion of the assets held by these banks or brokerage firms if they become insolvent or fail
              to perform pursuant to the terms of their obligations. While both the U.S. Bankruptcy Code and the
              Securities Investor Protection Act of 1970 seek to protect customer property in the event of a broker-
              dealer’s failure, insolvency or liquidation, the Partnership and its Consolidated Entities might be
              unable to recover the full value of their assets or incur losses due to their assets being unavailable
              for a period of time.



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HIGHLY CONFIDENTIAL                                                                                                 D-CNL000237
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              Leverage Risk
              The Consolidated Entities may borrow funds from brokers, banks and other lenders to finance its
              trading operations. The use of leverage can, in certain circumstances, magnify the losses to which
              the Consolidated Entities’ investment portfolio may be subject. The use of margin and short-term
              borrowings creates several risks for the Consolidated Entities. If the value of the Consolidated
              Entities’ securities fall below the margin level required by a counterparty, additional margin deposits
              would be required. If the Consolidated Entities are unable to satisfy a margin call, the counterparty
              could liquidate the Consolidated Entities’ positions in some or all of the financial instruments that are
              in the account at the prime broker and cause the Consolidated Entities to incur significant losses. In
              addition, to the extent the Consolidated Entities have posted excess collateral for margin
              transactions, there is a risk that the counterparty will fail to fulfill its obligation to return the full value
              of that collateral.

              The failure to satisfy a margin call, or the occurrence of other material defaults under margin or other
              financing agreements, may trigger cross-defaults under the Consolidated Entities’ agreements with
              other brokers, lenders, clearing firms or other counterparties, multiplying the adverse impact to the
              Consolidated Entities. In addition, because the use of leverage allows the Consolidated Entities to
              control positions worth significantly more than its investment in those positions, the amount that the
              Consolidated Entities may lose in the event of adverse price movements is high in relation to the
              amount of their investment.

              In the event of a sudden drop in the value of the Consolidated Entities’ assets, the Consolidated
              Entities may not be able to liquidate assets quickly enough to satisfy their margin or collateral
              requirements. As a result, the Consolidated Entities may become subject to claims of financial
              intermediaries, and such claims could exceed the value of its assets. The banks and dealers that
              provide financing to the Consolidated Entities have the ability to apply discretionary margin, haircut,
              and financing and collateral valuation policies. Changes by banks and dealers in any of the foregoing
              may result in large margin calls, loss of financing and forced liquidations of positions and
              disadvantageous prices.

              Foreign Currency Risk
              The Partnership and its Consolidated Entities may invest in securities or maintain cash denominated
              in currencies other than the U.S. dollar. The Partnership and its Consolidated Entities are exposed
              to risk that the exchange rate of the U.S. dollar relative to other currencies may change in a manner
              that has an adverse effect on the reported value of the Partnership and its Consolidated Entities’
              assets and liabilities denominated in currencies other than the U.S. dollar.

              Concentration of Investments
              At December 31, 2018, the Consolidated Entities’ investments and derivative contracts were
              predominantly concentrated in the United States and Cayman Islands and across several industries.

              Litigation Risk
              The Partnership and its Consolidated Entities are periodically subject to legal actions arising from
              the ordinary course of business. The ultimate outcome of these cases is inherently uncertain and
              could result in additional losses to the Partnership and/or its Consolidated Entities. Refer to Note 14
              for a discussion of open litigation.




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HIGHLY CONFIDENTIAL                                                                                                    D-CNL000238
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         7.   Intangible Assets

              On May 12, 2017, HCM Latin America, as manager, purchased all rights and obligations for
              management of a certain hedge fund. As of December 31, 2018, the current carrying value of
              these rights and obligations is $3.0 million, which consists of the original purchase price of $2.0
              million and a deferred purchase price of $1.0 million and is reflected in the Consolidated Balance
              Sheet.

              The Partnership and its Consolidated Entities perform an impairment test as required by U.S. GAAP
              on a yearly basis. The Partnership has determined that an impairment charge was necessary for
              the value obtained on December 19, 2017, for subadvisory and shared servicing rights from an
              affiliate. As of December 31, 2018, the asset was determined to be fully impaired and an
              impairment expense of $2.8 million is reflected in the Consolidated Statement of Income.

         8.   Related Party Transactions

              Investments Under Common Control
              Certain members of the Partnership’s management serve as members on the Boards of Directors
              for some of the companies with which it invests. Because these individuals participate in the
              management of these companies, investments held by the Partnership and its subsidiaries in these
              companies may, from time to time, not be freely tradable. As of December 31, 2018, the Partnership
              and its Consolidated Entities held the following investments in these companies:

               (in thousands)
                                                                                        Fair
               Issuer                                        Type of Investment        Value
               Metro-Goldwyn-Mayer, Inc.                     Common Stock              296,695
               Cornerstone Healthcare Group Holding, Inc.    Common Equity              59,539
               OmniMax International, Inc.                   Term Loan                  52,464
               JHT Holdings Inc.                             Common Stock               25,099
               OmniMax International, Inc.                   Common Equity               7,804
               Carey International, Inc.                     Term Loan                   5,401
               CCS Medical, Inc.                             Loan                        5,960
               Trussway Holdings, LLC                        Common Equity               4,582
               JHT Holdings Inc.                             Term Loan                   4,160
               OmniMax International, Inc.                   Warrants                      551




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              Certain investments are issued and managed by affiliates of the Partnership. These investments are
              subject to the same valuation policies and procedures as similar investments within the same level
              of the fair value hierarchy. As of December 31, 2018, the Partnership and the Consolidated Entities
              held the following investments that were issued and managed by affiliates of the Partnership:

               (in thousands)
                                                                                                                   Fair
               Issuer                                                      Type of Investment                     Value
               Harko, LLC                                                  LLC Units                            $    2,721
               Highland CLO Funding                                        Partnership Interest                        610
               Highland Energy MLP Fund                                    Mutual Fund Shares                        1,363
               Highland Floating Rate Opportunities Fund                   Closed-end mutual fund shares               832
               Highland Global Allocation Fund                             Mutual Fund Shares                        2,173
               Highland Long/Short Equity Fund                             Mutual Fund Shares                          267
               Highland Long/Short Healthcare Fund                         Mutual Fund Shares                        2,963
               Highland Master Loan Fund                                   Limited Partnership interest                106
               Highland Merger Arbitrage Fund                              Mutual Fund Shares                        1,321
               Highland Opportunistic Credit Fund                          Mutual Fund Shares                        5,477
               Highland Premier Growth Equity Fund                         Mutual Fund Shares                           64
               Highland Small Cap Equity Fund                              Mutual Fund Shares                          465
               NexPoint Strategic Opportunities Fund                       Mutual Fund Shares                       36,563
               NexPoint Multi Family Capital Trust                         REIT                                     10,881
               NexPoint Real Estate Strategies Fund                        Closed-end mutual fund shares             1,454
               NexPoint Residential Trust                                  REIT                                     85,223

              Expenses Reimbursable by Funds Managed
              In the normal course of business, the Partnership typically pays invoices it receives from vendors for
              various services provided to the investment funds the Partnership manages. A summary of these
              eligible reimbursable expenses are then submitted to the trustee/administrator for each respective
              fund, typically on a quarterly basis, and the Partnership receives payment as reimbursement for
              paying the invoices on behalf of the respective funds. As of December 31, 2018, approximately $6.4
              million in reimbursable expenses were due from various affiliated funds and entities for these eligible
              expenses, and is included in Other Assets in the accompanying Consolidated Balance Sheet.

               Accounts Held with Related Party
              During the year the Partnership and its Consolidated Entities maintained bank accounts at NexBank,
              SSB (“NexBank”), a related party by way of common control. As of December 31, 2018, balances in
              these accounts were approximately $0.5 million, a portion of which exceeds Federal deposit
              insurance limits.

              Investment in Affiliated Loans
              During the year, certain subsidiaries of the Partnership were invested in several bank loans in which
              NexBank was the agent bank. Interest earned on the loans during the year was approximately $10.4
              million and is included in interest and investment income in the Consolidated Statement of Income.
              At December 31, 2018, these subsidiaries were invested in NexBank agented loans with
              commitments and market values totaling approximately $83.3 million and $56.5 million, respectively.




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              Notes and Other Amounts Due from Affiliates
              During the year ended December 31, 2018, Highland Capital Management Fund Advisors, L.P.
              (“HCMFA”) did not issue any new promissory notes to the Partnership. The outstanding promissory
              notes accrue interest at a rate ranging from of 1.97 - 2.62%, the mid-term applicable federal rate as
              promulgated by the Internal Revenue Service. As of December 31, 2018 total interest and principal
              due on outstanding promissory notes was approximately $5.3 million and is payable on demand. The
              Partnership will not demand payment on amounts owed that exceed HCMFA’s excess cash
              availability prior to May 31, 2021. The fair value of the Partnership’s outstanding notes receivable
              approximates the carrying value of the notes receivable.

              During the year ended December 31, 2018, NexPoint Advisors, L.P. (“NPA”) did not issue any new
              promissory notes to the Partnership. The outstanding promissory note accrues interest at a rate of
              6.0%. As of December 31, 2018 total interest and principal due on the outstanding promissory note
              was approximately $28.6 million and is payable in annual installments throughout the term of the
              loan. The fair value of the Partnership’s outstanding notes receivable approximates the carrying
              value of the notes receivable.

              During the year ended December 31, 2018, HCRE Partners, LLC (“HCRE”) issued a promissory note
              to the Partnership in the amount of $0.8 million. The note accrues interest at a rate of 8.0%. As of
              December 31, 2018 total interest and principal due on outstanding promissory notes was
              approximately $9.4 million and is generally payable in annual installments throughout the term of the
              note. The fair value of the Partnership’s outstanding notes receivable approximates the carrying
              value of the notes receivable.

              During the year ended December 31, 2018, Highland Capital Management Services, Inc. (“HCMSI”)
              issued promissory notes to the Partnership in the aggregate amount of $0.4 million. All outstanding
              promissory notes accrue interest at a rate ranging from 2.75% – 3.05%, the long-term applicable
              federal rate as promulgated by the Internal Revenue Service. As of December 31, 2018 total interest
              and principal due on outstanding promissory notes was approximately $14.0 million and is generally
              payable in annual installments throughout the term of the notes. The fair value of the Partnership’s
              outstanding notes receivable approximates the carrying value of the notes receivable.

              During the year ended December 31, 2018, James Dondero (“Dondero”) issued promissory notes to
              the Partnership in the aggregate amount of $14.9 million. The outstanding promissory notes accrue
              interest at a rate ranging from 2.03% – 2.95%, the average long-term applicable federal rate as
              promulgated by the Internal Revenue Service. As of December 31, 2018 total interest and principal
              due on outstanding promissory notes was approximately $29.2 million and is generally payable in
              annual installments throughout the term of the note. The fair value of the Partnership’s outstanding
              notes receivable approximates the carrying value of the notes receivable.

              During the year ended December 31, 2018, Mark Okada (“Okada”) did not issue any new promissory
              notes to the Partnership. All outstanding promissory notes accrue interest at a rate of 2.25%, the
              average long-term applicable federal rate as promulgated by the Internal Revenue Service. As of
              December 31, 2018 total interest and principal due on outstanding promissory notes was
              approximately $1.3 million and is payable on demand. The fair value of the Partnership’s outstanding
              notes receivable approximates the carrying value of the notes receivable.




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              During the year ended December 31, 2018, The Dugaboy Investment Trust (“Dugaboy”) did not issue
              any new promissory notes to the Partnership. All outstanding promissory notes accrue interest at a
              rate of 3.26%, the average long-term applicable federal rate as promulgated by the Internal Revenue
              Service. As of December 31, 2018 total interest and principal due on outstanding promissory notes
              was approximately $20.1 million and is payable in annual installments throughout the term of the
              note. The fair value of the Partnership’s outstanding notes receivable approximates the carrying
              value of the notes receivable.

              On December 21, 2015, the Partnership entered into a contribution agreement (the “Contribution
              Agreement”) with an affiliated trust. Pursuant to the Contribution Agreement, a note (the “Note
              Receivable”) in the amount of $63.0 million was due to the Partnership. The Note Receivable will
              mature on December 21, 2030. The Note Receivable accrues interest at a rate of 2.61% per annum.
              Accrued interest is paid-in-kind, with principal receipts occurring pursuant to a note amortization
              schedule, with such annual receipts commencing December 21, 2019. During the year, the trust pre-
              paid $2.1 million. As of December 31, 2018 total interest and principal due on the Note Receivable
              was approximately $60.2 million.

              Services Performed by or on Behalf of an Affiliate
              In March 2007, Highland Capital of New York, Inc. a New York corporation (“Highland New York”),
              was formed and has performed marketing services for the Partnership and its affiliates in connection
              with the Partnership’s investment management and advising business, including, but not limited to,
              assisting Highland Capital in the marketing and sales of interests in investment pools for which
              Highland Capital serves as the investment manager. The Partnership is charged a marketing
              services fee for the services that Highland New York performs on the Partnership’s behalf.
              Separately, the Partnership pays for, and seeks reimbursement for, various operating expenses on
              behalf of Highland New York. For the year ended December 31, 2018, total marketing fee expense
              charged to the Partnership by Highland New York was approximately $0.9 million. Because the
              Partnership funded Highland New York’s operations, including amounts above the marketing fee, as
              of December 31, 2018, net amounts owed to the Partnership by Highland New York was
              approximately $4.9 million.

              Effective December 15, 2011, the Partnership commenced performing services on behalf of HCMFA,
              a Delaware limited partnership and registered investment advisor. Services include, but are not
              limited to compliance, accounting, human resources, IT and other back office support functions. The
              Partnership charges a fee for the services performed. For the year ended December 31, 2018, the
              total fee charged by the Partnership to HCMFA was approximately $2.7 million and as of December
              31, 2018, amount owed to the Partnership by HCMFA was approximately $0.2 million.

              Effective July 29, 2010, the Partnership commenced performing services on behalf of Falcon E&P
              Opportunities GP, LLC. (“Falcon”), a Delaware limited liability company and registered investment
              advisor. Services include, but are not limited to compliance, accounting, human resources, IT and
              other back office support functions. The Partnership charges a fee for the services performed. For
              the year ended December 31, 2018, the total fee charged by the Partnership to Falcon was
              approximately $0.2 million and as of December 31, 2018, no amounts were owed to the Partnership
              by Falcon for services rendered.




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              Effective March 17, 2017, pursuant to the Third Amended and Restated Sub-Advisory Agreement
              and the Fourth Amended and Restated Shared Services Agreement, the Partnership continued
              performing services on behalf of Acis Capital Management, L.P. (“Acis”), a Delaware limited
              partnership and registered investment advisor. Subadvisory services include investment advisory
              services and shared services include, but are not limited to compliance, accounting, human
              resources, IT and other back office support functions. The Partnership charges a fee for the services
              performed. For the year ended December 31, 2018, the total fees charged by the Partnership to Acis
              for shared services and subadvisory fees were approximately $2.6 million and $3.4 million,
              respectively. As of December 31, 2018, amount owed to the Partnership by Acis was approximately
              $6.0 million. Although such fees were earned in 2018, all related revenues and receivables recorded
              by the Partnership have been fully reserved against based on estimated collectability.

              Effective January 1, 2018, pursuant to the Third Amended and Restated Shared Services
              Agreement, the Partnership commenced performing services on behalf of NPA. Services include,
              but are not limited to compliance, accounting, human resources, IT and other back office support
              functions. The Partnership charges a fee for the services performed. For the year ended December
              31, 2018, the total fee charged by the Partnership to NexPoint was approximately $2.0 million and
              as of December 31, 2018, no amounts were owed to the Partnership by NexPoint for services
              rendered.

              Effective September 1, 2017, pursuant to the Third Amended and Restated Shared Services
              Agreement dated September 26, 2017, the Partnership commenced performing services on behalf
              of NexBank Capital, Inc. (“NexBank Capital”), financial services company. Services include, but are
              not limited to compliance, accounting, human resources, IT and other back office support functions.
              The Partnership charges a fee for the services performed. For the year ended December 31, 2018,
              the total fee charged by the Partnership to NexBank Capital was approximately $0.2 million and as
              of December 31, 2018, $0.1 million was owed to the Partnership by NexBank Capital for services
              rendered.

              Effective September 1, 2017, pursuant to the Third Amended and Restated Investment Advisory
              Agreement dated September 26, 2017, the Partnership commenced performing services on behalf
              of NexBank SSB, (“NexBank”), a Texas savings bank. Services include investment advisory
              services. The Partnership charges a fee for the services performed. For the year ended December
              31, 2018, the total fee charged by the Partnership to NexBank was approximately $3.6 million and
              as of December 31, 2018, amounts owed by NexBank to the Partnership for services rendered were
              approximately $0.9 million.

              Effective April 1, 2015, the Partnership commenced performing services on behalf of NexPoint Real
              Estate Advisors, L.P. (“NREA”). Services include, but are not limited to compliance, accounting,
              human resources, IT and other back office support functions. NREA is charged a fee for the services
              provided. For the year ended December 31, 2018, the total fee charged to NREA by the Partnership
              was approximately $1.0 million and as of December 31, 2018, no amounts were owed by NREA to
              the Partnership for services rendered.

              Effective January 1, 2018, the Partnership entered in to a Payroll Reimbursement Agreement (the
              “Agreement”) with HCMFA. Under the Agreement, HCMFA reimburses the Partnership for the cost
              of any dual employees of the Partnership and HCMFA and who provide advice to registered
              investment companies advised by HCMFA. For the year ended December 31, 2018, the total fees
              charged by the Partnership to HCMFA was approximately $6.2 million and as of December 31, 2018,
              no amounts were owed by HCMFA to the Partnership for services rendered.



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              Effective January 1, 2018, the Partnership entered in to a Payroll Reimbursement Agreement (the
              “Agreement”) with NPA. Under the Agreement, NPA reimburses the Partnership for the cost of any
              dual employees of the Partnership and NPA and who provide advice to registered investment
              companies advised by NPA. For the year ended December 31, 2018, the total fees charged by the
              Partnership to NPA was approximately $4.3 million and as of December 31, 2018, no amounts were
              owed by NPA to the Partnership for services rendered.

              Investment liability
              On December 28, 2016, the Partnership entered into a purchase and sale agreement with The Get
              Good Nonexempt Trust (“Get Good”). In consideration for a note receivable from an affiliate, the
              Partnership sold or participated certain investments that it already held, with the participated
              investments carrying an aggregate market value of $21.3 million as of the date of the transaction.
              The fair value of the Agreement will fluctuate with the fair value of the securities, throughout the term
              of the Agreement. As of December 31, 2018, the fair value of the participated investments was $12.1
              million.

              On December 5, 2016, Select entered in to Stock Purchase Agreements with two counterparties for
              shares of Trussway Industries (“Trussway”), in exchange for promissory notes in the aggregate
              amount of $15.4 million. The promissory notes accrue interest at a rate of 2.07%, the long-term
              Applicable Federal Rate, compounded annually. Select must pay one-twenty-fifth of the initial note
              amounts, plus any additional principal attributable to the sale of Trussway, along with accumulated
              interest on an annual basis. The promissory notes will mature on December 5, 2041. As of December
              31, 2018 the remaining principal payable on the promissory notes was $14.8 million. The fair value
              of Select’s outstanding notes payable approximates the carrying value of the notes payable.

              During 2014 and 2015, Select received multiple master securities loan agreements (the “Securities
              Agreements”) for securities borrowed from an affiliate. The Securities Agreements accrue interest at
              a rate ranging from 0.38 - 0.48%, the short term Applicable Federal Rate. The fair value of the
              securities loans will fluctuate with the fair value of the borrowed securities, throughout the term of the
              Securities Agreements. As of December 31, 2018, the fair value of the loans was $19.2 million. The
              fair value of Select’s securities loans approximates the carrying value of the securities loans.

         9.   Notes Payable

              Promissory Notes and Loan Agreements
              On August 17, 2015, the Partnership entered in to a promissory note with Frontier State Bank
              (“Frontier”) in the amount of $9.5 million. Pursuant to the First Amended and Restated Loan
              Agreement, dated March 29, 2018, Frontier made an additional loan to the Partnership in the amount
              of $1.0 million. The promissory note accrues interest at the 3 month LIBOR rate plus 4.75%, adjusted
              each date of change, per annum. Accrued interest shall be paid quarterly. The promissory note is
              collateralized by shares of voting common stock of MGM Holdings, Inc and will mature on August
              17, 2021. As of December 31, 2018 the remaining principal payable on the promissory note was $7.2
              million. The fair value of the Partnership’s outstanding notes payable approximates the carrying value
              of the notes payable.

              On August 25, 2015, Highland Select Equity Fund, L.P. (“Select”) entered in to a promissory note
              with Dugaboy in the amount of $1.0 million. The promissory note accrues interest at a rate of 2.82%,
              the long-term Applicable Federal Rate, compounded annually. The accrued interest and principal of
              the promissory note is due and payable on demand. As of December 31, 2018 the remaining principal
              payable on the promissory note was $1.0 million. The fair value of Select’s outstanding notes
              payable approximates the carrying value of the notes payable.


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               On October 7, 2016, the Partnership entered in to a promissory note with Acis in the amount of $12.7
               million. The Partnership is required to make certain payments of the initial note amount, plus
               accumulated interest on May 31 of each year, until maturity. The promissory note is set to mature on
               May 31, 2020. The promissory note accrues interest at a rate of 3.00% per annum. Pursuant to an
               Assignment and Transfer Agreement dated November 3, 2017, between Acis and an affiliate of the
               Partnership, Acis transferred the promissory note to the affiliate. As of December 31, 2018 the
               remaining principal payable on the promissory note was $9.5 million.

               On August 29, 2016, Maple Avenue Holdings, LLC (“Maple”) entered in to a promissory note with
               Great Southern Bank in the amount of $3.9 million. Maple must pay principal and accrued interest
               installments on a monthly basis until maturity. The promissory note will mature on August 29, 2019.
               The promissory note accrues interest at a rate of 3.26% per annum. As of December 31, 2018 the
               remaining principal payable on the promissory note was $3.4 million. The fair value of Maple’s
               outstanding notes payable approximates the carrying value of the notes payable.

               On May 1, 2018, Multi Strategy Master executed a loan agreement (the “Loan Agreement”) with
               NexBank SSB, an affiliate of the Partnership. The original principal borrowed under the Loan
               Agreement was $36.5 million. The loan bears interest at the 1-month LIBOR rate plus 3.25%. The
               maturity date is May 1, 2021. For the year ended December 31, 2018, the Multi Strategy Master
               incurred and paid approximately $1.3 million of interest expense, and made aggregate principal
               payments of approximately $1.9 million. Shares of Metro-Goldwyn Mayer, Inc. are pledged as
               collateral on the loan. The loan was used to purchase an outstanding redemption of $38.7 million at
               a discount resulting in a reallocation of partners’ capital on the Statement of Changes in Partners’
               Capital. As of December 31, 2018 the remaining principal payable on the loan was $34.6 million. The
               fair value of Multi Strategy Master’s outstanding loan approximates the carrying value of the loan.

         10.   Due to Broker

               As of December 31, 2018 the due to broker balance of approximately $116.6 million is payable to
               financing counterparties for margin transactions.


         11.   Commitments and Contingencies

               Contracts in the Normal Course of Business
               In the normal course of business the Partnership and its subsidiaries may enter into contracts which
               provide general indemnifications and contain a variety of presentations and warranties that may
               expose the Partnership and its subsidiaries to some risk of loss. The Partnership regularly co-
               invests in vehicles it advises. The amounts committed are within the Partnerships capacity to fund
               when capital is called. In addition to the other financial commitments discussed in the consolidated
               financial statements, the amount of future losses arising from such undertakings, while not
               quantifiable, is not expected to be significant. Also refer to Note 8 for commitments of certain
               subsidiaries in affiliated loans.

               Loans as Co-Borrower
               The Partnership is a named co-borrower in a Bridge Loan Agreement (“Loan”) dated September 26,
               2018 with Key Bank for $556.3 million. The Loan accrues interest at the 3 month LIBOR rate plus
               3.75%, per annum. Accrued interest shall be paid monthly by a borrower other than the Partnership
               (“Lead Borrower”). The Loan will mature on September 26, 2019. The carrying value of the Loan is
               reflected on the financial statements of the Lead Borrower.



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               Legal Proceedings
               The Partnership is a party to various legal proceedings arising in the ordinary course of business.
               While any proceeding or litigation has an element of uncertainty, management believes that the final
               outcome will not have a materially adverse effect on the Partnership’s Consolidated Balance Sheet,
               Consolidated statement of Income, or its liquidity. See Note 14.

               Operating Leases
               The Partnership has an operating lease and associated commitments related to its main office space.
               Future minimum lease payments under operating lease commitments with initial or non-cancelable
               terms in excess of one year, at inception, are as follows:

               (in thousands)

               Years Ending December 31,
               2019                                                                             1,550
               2020                                                                             1,566
               2021                                                                             1,567
               2022                                                                               522
                    Total                                                              $        5,205




               Total rental expense of the Partnership and its Consolidated Entities for operating leases was
               approximately $1.5 million for the year ended December 31, 2018.

         12.   Post Retirement Benefits

               In December 2006, the Partnership created a defined benefit plan to which all employees and certain
               affiliated persons could participate if they met the eligibility requirements. The Partnership uses a
               December 31 measurement date for its defined benefit plan.

               Effective December 31, 2008, the Partnership amended the plan by freezing it to new participants
               and additional benefit accruals. A new amendment became effective on January 1, 2011 in which a
               named participant was admitted to the plan and is eligible to earn benefit accrual. 2018 expense
               reflects a service cost charge for the value of the new participant’s benefit earned during 2018.

               The Partnership’s benefit plan obligation and plan assets for the year ended December 31, 2018 are
               reconciled in the tables below.




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               (in thousands)

               Change in projected benefit obligation                                      2018

               Benefit obligation at beginning of year                                 $       2,578
               Service cost                                                                        6
               Interest cost                                                                      80
               Plan participants' contributions                                                  -
               Amendments                                                                        -
               Actuarial loss/(gain)                                                             386
               Acquisition/(divestiture)                                                         -
               Benefits paid                                                                    (121)

               Benefit obligation at end of year                                       $       2,929

               Change in plan assets                                                       2018

               Fair value of plan assets at beginning of year                          $       2,924
               Actual return on plan assets                                                      449
               Acquisition/(divestiture)                                                         -
               Employer contribution                                                             -
               Plan participants' contributions                                                  -
               Benefits paid                                                                    (121)
               Other increase/(decrease)                                                         -

               Fair value of plan assets at year end                                   $       3,252

               Reconciliation of Funded Status                                             2018

               Accumulated benefit obligation at end of year                           $       2,929
               Projected benefit obligation at end of year                                     2,929
               Fair value of assets at end of year                                             3,252

               Funded status at end of year                                            $          323

              The Partnership did not contribute to the plan during 2018.

              Assumptions

              Weighted-average assumptions used to determine benefit obligations at December 31, 2018:

                Discount rate                                                                 3.19%
                Rate of compensation increase                                                    N/A




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               Weighted-average assumptions used to determine net periodic benefit cost at December 31, 2018:

                Discount rate                                                                             3.19%
                Expected long-term return on plan assets                                                  3.19%
                Rate of compensation increase                                                                N/A

               As of December 31, 2018, there were no plan assets categorized as Level 3.

         13.   Income Taxes

               The Partnership
               For U.S. income tax purposes, the Partnership is treated as a pass-through-entity, which means it is
               not subject to income taxes under current Internal Revenue Service or state and local guidelines.
               Each partner is individually liable for income taxes, if any, on their share of the Partnership’s net
               taxable income.

               The Partnership files tax returns as prescribed by the tax laws of the jurisdictions in which it operates.
               In the normal course of business, the Partnership is subject to examination by federal and foreign
               jurisdictions, where applicable. As of December 31, 2018, the tax years that remain subject to
               examination by the major tax jurisdictions under the statute of limitations is from the year 2015
               forward (with limited exceptions).

               Authoritative guidance on accounting for and disclosure of uncertainty in tax positions requires the
               General Partner to determine whether a tax position of the Partnership is more likely than not to be
               sustained upon examination, including resolution of any related appeals or litigation processes,
               based on the technical merits of the position. For tax positions meeting the more likely than not
               threshold, the tax amount recognized in the financial statements is the largest benefit that as a
               greater than fifty percent likelihood of being realized upon ultimate settlement with the relative taxing
               authority. The General Partner does not expect a significant change in uncertain tax positions during
               the twelve months subsequent to December 31, 2018.

               Multi Strategy Master
               For U.S. income tax purposes, Multi Strategy Master is treated as a pass-through entity, which
               means it is not subject to federal income taxes under current Internal Revenue Service guidelines.
               However, each investor may be individually liable for income taxes, if any, on its share of the
               partnership’s net taxable income.

               Multi Strategy Master trades in senior secured syndicated bank loans for its own account and, as
               such, non-U.S. Investment Vehicle investors are generally not subject to U.S. tax on such earnings
               (other than certain withholding taxes indicated below). The Partnership intends to conduct Multi
               Strategy Master business in such a manner that it does not constitute a U.S. trade or business, nor
               does it create a taxable presence in any of the jurisdictions in which the Partnership has offices.

               Dividends as well as certain interest and other income received by Multi Strategy Master from
               sources within the United States may be subject to, and reflected net of, United States withholding
               tax at a rate of 30% for non-U.S. Investment Vehicles. Interest, dividend and other income realized
               by Multi Strategy Master from non-U.S. sources and capital gains realized on the sale of securities
               of non-U.S. issuers may be subject to withholding and other taxes levied by the jurisdiction in which
               the income is sourced. As of December 31, 2018, a minimal withholding tax liability of $0.9 million is
               classified within accrued and other liabilities on the Consolidated Balance Sheet.


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HIGHLY CONFIDENTIAL                                                                                                D-CNL000248
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         Highland Capital Management, L.P.
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         Notes to Consolidated Financial Statements
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              Multi Strategy Master applies authoritative guidance which requires management to determine
              whether a tax position Multi Strategy Master is more likely than not to be sustained upon examination,
              including resolution of any related appeals or litigation processes, based on the technical merits of
              the position. For tax positions meeting the more likely than not threshold, the tax amount recognized
              in the consolidated financial statements is the largest benefit that has a greater than fifty percent
              likelihood of being realized upon ultimate settlement with the relative taxing authority. Management
              does not expect a significant change in uncertain tax positions during the twelve months subsequent
              to December 31, 2018.

              Multi Strategy Master files tax returns as prescribed by the tax laws of the jurisdictions in which it
              operates. In the normal course of business, Multi Strategy Master is subject to examination by
              federal and foreign jurisdictions, where applicable. As of December 31, 2018, the tax years that
              remain subject to examination by the major tax jurisdictions under the statute of limitations is from
              the year 2015 forward (with limited exceptions).

              Restoration Onshore
              Restoration Onshore is treated as a pass-through entity for tax purposes, which means it is not
              subject to U.S. income taxes under current Internal Revenue Service or state and local guidelines.
              Each Partner is individually liable for income taxes, if any, on its share of the Restoration Onshore’s
              net taxable income. Interest, dividends and other income realized by Restoration Onshore from non-
              U.S. sources and capital gains realized on the sale of securities of non-U.S. issuers may be subject
              to withholding and other taxes levied by the jurisdiction in which the income is sourced.

              Restoration Onshore applies the authoritative guidance on accounting for and disclosure of
              uncertainty in tax positions, which requires the General Partner to determine whether a tax position
              of Restoration Onshore is more likely than not to be sustained upon examination, including resolution
              of any related appeals or litigation processes, based on the technical merits of the position. For tax
              positions meeting the more likely than not threshold, the tax amount recognized in the financial
              statements is the largest benefit that has a greater than fifty percent likelihood of being realized upon
              ultimate settlement with the relevant taxing authority.

              The General Partner has determined that there was no effect on the financial statements from the
              Partnership's application of this authoritative guidance. The General Partner does not expect a
              significant change in uncertain tax positions during the twelve months subsequent to December 31,
              2018. Restoration Onshore files tax returns as prescribed by the tax laws of the jurisdictions in which
              it operates. In the normal course of business, the Partnership is subject to examination by federal,
              state, local and foreign jurisdictions, where applicable. As of December 31, 2018, the tax years that
              remain subject to examination by the major tax jurisdictions under the statute of limitations is from
              the year 2015 forward (with limited exceptions).

              Restoration Offshore
              Restoration Offshore is a Cayman Islands exempted company. Under the current laws of the
              Cayman Islands, there is no income, estate, transfer, sales or other tax payable by Restoration
              Offshore. Restoration Offshore has elected to be treated as a corporation for U.S. tax purposes and
              files a protective 1120-F.

              The General Partner intends to conduct the business of Restoration Offshore in such a way that
              Restoration Offshore’s activities do not constitute a U.S. trade or business and any income or
              realized gains earned by Restoration Offshore do not become "effectively connected” with a trade or
              business carried on in the United States for U.S. federal income tax purposes.



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HIGHLY CONFIDENTIAL                                                                                              D-CNL000249
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         December 31, 2018

              Dividends as well as certain interest and other income received by the master partnership of
              Restoration Offshore from sources within the United States may be subject to, and reflected net of,
              United States withholding tax at a rate of 30% for non-U.S. Investment Vehicles. Interest, dividend
              and other income realized by the master partnership of Restoration Offshore from non-U.S. sources
              and capital gains realized on the sale of securities of non-U.S. issuers may be subject to withholding
              and other taxes levied by the jurisdiction in which the income is sourced.

              Restoration Offshore applies the authoritative guidance on accounting for and disclosure of
              uncertainty in tax positions, which requires the General Partner to determine whether a tax position
              of Restoration Offshore is more likely than not to be sustained upon examination, including resolution
              of any related appeals or litigation processes, based on the technical merits of the position. For tax
              positions meeting the more likely than not threshold, the tax amount recognized in the financial
              statements is the largest benefit that has a greater than fifty percent likelihood of being realized upon
              ultimate settlement with the relevant taxing authority. The General Partner has determined that there
              was no effect on the financial statements from the Partnership’s application of this authoritative
              guidance. The General Partner does not expect a significant change in uncertain tax positions during
              the twelve months subsequent to December 31, 2018. As of December 31, 2018, the tax years that
              remain subject to examination by major tax jurisdictions under the statute of limitations is from the
              year 2015 forward (with limited exceptions).

              The remaining entities consolidated by the Partnership had no uncertain tax positions which required
              accrual under U.S. GAAP.




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HIGHLY CONFIDENTIAL                                                                                              D-CNL000250
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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Notes to Consolidated Financial Statements
         December 31, 2018

         14.   Legal Proceedings

               The Partnership and certain affiliated investment vehicles are defendants in a complaint filed on
               February 24, 2009 New York state court by UBS Securities LLC and UBS AG, London Branch
               relating to a CLO warehouse facility with respect to which UBS is attempting to extend liability beyond
               the two entities that bore sole risk of loss under the governing documents. On February 19, 2010,
               the court dismissed all claims against the Partnership. UBS since has filed additional claims against
               the Partnership and certain additional investment vehicles. On July 21, 2011, the First Appellate
               Division again dismissed two of UBS’s four claims against the Partnership, severely limiting the
               remaining two claims. Additional claims were dismissed in a further appellate ruling issued on
               October 31, 2017. Certain claims were tried in July 2018 against two Highland-affiliated defendants,
               but the trial court has neither ruled on those claims nor indicated when it will set UBS’s remaining
               claims for trial. The second trial, if it occurs, will try all claims against the Partnership and certain
               affiliated investment vehicles.

               From time to time the Partnership is party to disputes with disgruntled former employees. One such
               matter involves a former employee that improperly recorded internal conversations in violation of the
               Partnership’s internal policies and procedures and potentially certain criminal and regulatory
               provisions. The former employee obtained a $7.9 million judgment against Highland affiliate Acis
               Capital Management, L.P. (“Acis”). The employee currently is attempting to collect this judgment
               through various proceedings in Texas state and federal court, including claims against Highland for
               receipt of assets from Acis.

               In another matter, a Court ruled that a former employee breached his fiduciary duty to the
               Partnership, owed damages to the Partnership, and ordered the former employee to cease using or
               disclosing the Partnership’s confidential information. Additionally, an award was entered in favor of
               the employee against a separate incentive compensation entity for an interest that was already
               escrowed in his name prior to trial and in which he was already vested. The dispute over the amount
               of his vested interest is on-going. Additionally, the Partnership from time to time must take action to
               enforce the permanent injunction against the former employee’s continuing improper disclosures of
               the Partnership’s confidential information.

               The Partnership is engaged in litigation and arbitration with a group of investors relating to the post-
               financial crisis wind down and distribution of the remaining assets in the Crusader hedge fund
               vehicle.

               The Partnership currently is and has been previously subject to various legal proceedings, many of
               which have been due to the nature of operating in the distressed loan business in the U.S. The legal
               process is often the route of last resort to recover amounts due from delinquent borrowers. We
               currently do not anticipate these proceedings will have a material negative impact to the Partnership.


         15.   Subsequent Events

               On March 18, 2019, SSP Holdings, LLC issued a promissory note to the Partnership in the amount
               of $2.0 million. The note accrues interest at a rate of 18%.

               On March 26, 2019, Trussway Holdings, LLC issued a promissory note to the Partnership in the
               amount of $1.0 million. The note accrues interest at a rate of 10%.




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HIGHLY CONFIDENTIAL                                                                                               D-CNL000251
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         Highland Capital Management, L.P.
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              On March 28, 2019, the Partnership distributed equity to its partners in the aggregate amount of $3.7
              million.

              On March 28, 2019, the Partnership received a $3.7 million pay down on the outstanding Contribution
              Agreement.

              Over the course of 2019, through the report date, HCMFA issued promissory notes to the Partnership
              in the aggregate amount of $7.4 million. The notes accrue interest at a rate of 2.39%.

              The Partnership has performed an evaluation of subsequent events through June 3, 2019, which is
              the date the consolidated financial statements were available to be issued, and has determined that
              there are no other material subsequent events that would require disclosure in the Partnership’s
              consolidated financial statements.




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Notes to Consolidated Financial Statements
         December 31, 2018




                                Highland Capital Management, L.P.

                                  (A Delaware Limited Partnership)

                            As of And Year Ended December 31, 2018

                                       Supplemental Information




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Supplemental Consolidating Balance Sheet
         December 31, 2018



                                                                         Highland
                                                                          Capital        All Other
                                                                       Management,     Consolidated                         Total
         (in thousands)                                                    L.P.           Entities    Eliminations       Consolidated

         Assets
         Cash and cash equivalents                                     $       2,567 $        2,467 $             - $           5,034
         Investments at fair value (cost $922,027)                           161,939        683,247               -           845,186
         Equity method investees                                             121,936              -        (121,936)                -
         Management and incentive fees receivable                              2,242            158              (7)            2,393
         Due from brokers                                                          -            598               -               598
         Other assets                                                          8,421          5,660          (4,826)            9,255
         Notes and other amounts due from affiliates                         176,963              -          (3,565)          173,398
         Intangible assets                                                         -          3,022               -             3,022
         Fixed assets and leasehold improvements, net of accumulated           4,538             43               -             4,581
           depreciation of $11,197
           Total assets                                                $     478,606 $      695,195 $      (130,334) $       1,043,467

         Liabilities and partners' capital

         Liabilities
         Accounts payable                                              $       4,838   $        145 $             - $           4,983
         Securities sold, not yet purchased (proceeds $26,135)                     -         32,357               -            32,357
         Withdrawals payable                                                       -         57,009               -            57,009
         Due to affiliates                                                     4,542              -          (4,542)                -
         Due to brokers                                                       31,194         86,108            (742)          116,560
         Due to brokers for securities purchased, not yet settled              1,640            -                 -             1,640
         Accrued and other liabilities                                        35,574          4,276             396            40,246
         Notes payable                                                        16,722         42,540          (3,510)           55,752
         Investment liabilities                                               12,135         33,957               -            46,092
           Total liabilities                                                 106,645        256,392          (8,398)          354,639

         Non-controlling interest                                                  -        316,867                  -        316,867

         Commitments and contingencies

         Partners' capital                                                   371,961        121,936        (121,936)          371,961

           Total liabilities and partners' capital                     $     478,606 $      695,195 $      (130,334) $       1,043,467




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HIGHLY CONFIDENTIAL                                                                                                             D-CNL000254
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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Supplemental Consolidating Statement of Income
         Year Ended December 31, 2018

                                                                                     Highland
                                                                                      Capital           All Other
                                                                                    Management,       Consolidated                         Total
         (in thousands)                                                                 L.P.             Entities        Eliminations   Consolidated

         Revenue:
          Management fees                                                            $   35,264 $             1,336 $              - $         36,600
          Interest and investment income                                                  4,857              10,974                -           15,831
          Incentive fees                                                                     17                  53                -               70
          Shared services fees                                                            9,187                   -                -            9,187
          Other income                                                                    1,038               1,584                -            2,622

            Total revenue                                                                50,363              13,947                -           64,310

         Expenses:
          Compensation and benefits                                                      33,670                 805                -           34,475
          Professional fees                                                              14,624               3,055                -           17,679
          Interest expense                                                                1,695               3,975                -            5,670
          Marketing and advertising expense                                               2,413                   -                -            2,413
          Depreciation and amortization                                                   1,304                  13                -            1,317
          Investment and research consulting                                              1,082                   -                -            1,082
          Bad debt expense                                                                7,862                   -                -            7,862
          Other operating expenses                                                        6,786               3,241                -           10,027

            Total expenses                                                               69,436              11,089                -           80,525

         Other Income/(Expense):
          Other income                                                                     9,816                 10                -            9,826
          Impairment on intangible assets                                                 (2,830)                 -                -           (2,830)

            Total other income                                                            6,986                  10                -            6,996

         Income/(loss) before investment and derivative activities                       (12,087)             2,868                -           (9,219)

         Realized and unrealized gain/(loss) on investments and derivatives:
          Net realized gain/(loss) on investments and derivatives                        13,397             (44,914)               -          (31,517)
          Net change in unrealized loss on investments and derivatives                     (406)            (93,349)               -          (93,755)
           Net realized and unrealized loss on investments and derivatives               12,991            (138,263)               -         (125,272)


         Net unrealized losses from equity method investees                              (74,082)                    -        74,082                   -

         Net loss                                                                        (73,178)          (135,395)          74,082         (134,491)

         Net loss attributable to non-controlling interest                                     -            (61,313)               -          (61,313)

         Net loss attributable to Highland Capital Management, L.P.                  $   (73,178) $         (74,082) $        74,082 $        (73,178)




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Supplemental Unconsolidated Balance Sheet
         December 31, 2018

         (in thousands)

         Assets
         Current assets:
          Cash and cash equivalents                                                                   $         2,567
          Investments at fair value (cost $263,008*)                                                          259,460
          Equity method investees                                                                              24,415
          Management and incentive fees receivable                                                              2,242
          Intangible assets                                                                                     8,421
          Notes and other amounts due from affiliates                                                         176,963
          Fixed assets and leasehold improvements, net of accumulated                                           4,538
             depreciation of $11,177
             Total assets                                                                             $       478,606

         Liabilities and partners' capital

         Liabilities
           Accounts payable                                                                           $         4,838
           Due to affiliate                                                                                     4,542
           Due to brokers                                                                                      31,194
           Due to brokers for securities purchased not yet settled                                              1,640
           Accrued and other liabilities                                                                       35,574
           Notes payable                                                                                       16,722
           Investment liabilities                                                                              12,135

             Total liabilities                                                                                106,645

         Partners' capital                                                                                    371,961

             Total liabilities and partners' capital                                                  $       478,606




         *Investments, at fair value includes $97.5 million of limited partnership interest ownership of Consolidated
         Investment Funds, which are discussed in Footnote 2. These entities are consolidated because the
         Partnership controls the general partner of the respective entities and is responsible for the daily operations
         of the entities.



         The above information was derived from the audited December 31, 2018 consolidated financial statements
         of Highland Capital Management, L.P. This information should be read in conjunction with such audited
         financial statements.




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Supplemental Unconsolidated Statement of Income
         Year Ended December 31, 2018

         (in thousands)

         Revenue:
          Management fees                                                                               $     35,264
          Incentive fees                                                                                          17
          Shared services fees                                                                                 9,187
          Interest and investment income                                                                       4,857
          Miscellaneous income                                                                                 1,038
            Total revenue                                                                                     50,363

         Expenses:
           Compensation and benefits                                                                          33,670
           Professional fees                                                                                  14,624
           Marketing and advertising expense                                                                   2,413
           Interest expense                                                                                    1,695
           Depreciation and amortization                                                                       1,304
           Investment and research consulting                                                                  1,082
           Bad debt expense                                                                                    7,862
           Other operating expenses                                                                            6,786

            Total expenses                                                                                    69,436

         Other Income/(Expense):
          Other income                                                                                         9,816
          Impairment on intangible assets                                                                     (2,830)
            Total other income                                                                                 6,986

         Loss before investment activities                                                                   (12,087)

         Realized and unrealized gains/losses on investments:
          Net realized gain on sale of investments                                                            13,397
          Net change in unrealized loss on investments*                                                      (56,529)

            Total realized and unrealized loss on investments                                                (43,132)

           Loss from equity method investees:                                                                (17,959)

            Net loss                                                                                    $    (73,178)



         *Net change in unrealized gain on investments includes $56.1 million of unrealized loss from holdings of
         limited partnership interests of Consolidated Investment Funds, which are discussed in Footnote 2. These
         entities are consolidated because the Partnership controls the general partner of the respective entities and
         is responsible for the daily operations of the entities.


         The above information was derived from the audited December 31, 2018 consolidated financial statements
         of Highland Capital Management, L.P. This information should be read in conjunction with such audited
         consolidated financial statements.



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HIGHLY CONFIDENTIAL                                                                                               D-CNL000257
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                                EXHIBIT 35




                                                                          Appx. 00788
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                     HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

                                        INCUMBENCY CERTIFICATE



        I am the sole Director of STRAND ADVISORS XVI, INC., a Delaware corporation (the
        "General Partner"), the general partner of HIGHLAND CAPITAL MANAGEMENT FUND
        ADVISORS, L.P., a Delaware limited partnership (the "Partnership"). In that capacity, I
        certify that the persons listed below have been duly appointed and qualified as, and currently are,
        officers of the General Partner of the Partnership. I also certify that each person listed below
        holds the position that is listed opposite his or her name in the General Partner, and that the
        signatures attached are the genuine signatures of the persons indicated. I also certify that in their
        capacity as officers of the General Partner, the persons listed below are authorized to execute any
        and all agreements on behalf of the General Partner in its capacity as the general partner of the
        Partnership. I further certify that in their capacity as officers of the General Partner, the persons
        listed below are authorized to give any party on behalf of the Partnership all notices, orders,
        directions, or instructions (including but not limited to written, facsimile, or oral funds transfer
        instructions) in connection with any transaction to which the Partnership is or in the future may
        be a party to in any capacity.

         Name of Officer             Title                             Signature


         Dustin Norris               Executive Vice President


         Frank Waterhouse            Treasurer


         Lauren Thedford             Secretary


         WITNESS my hand to be effective as of the 11t1 day of April, 2019.

                                                       HIGHLAND CAPITAL MANAGEMENT FUND
                                                       ADVISORS, L.P.

                                                       By: Strand Advisors XVI, Inc., its general partner




HIGHLY CONFIDENTIAL                                                                                     D-CNL003578
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                                EXHIBIT 36




                                                                          Appx. 00790
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 From: Frank Waterhouse <FWaterhouse@HighlandCapital.com>
 Sent: Tuesday, October 6, 2020 6:19 PM
 To: Lauren Thedford <LThedford@HighlandCapital.com>; David Klos <DKlos@HighlandCapital.com>; Kristin Hendrix
 <KHendrix@HighlandCapital.com>
 Cc: Thomas Surgent <TSurgent@HighlandCapital.com>; Jason Post <JPost@HighlandCapital.com>; Dustin Norris
 <DNorris@NexPointSecurities.com>; Will Mabry <WMabry@HighlandCapital.com>
 Subject: RE: 15(c) Follow up (10_2_20).DOCX

 No shared services outstanding. The HCMFA note is a demand note. The NexPoint note Kristin can give the end term. There
 was an agreement between HCMLP and HCMFA the earliest they could demand is May 2021. The attorneys think that BK
 doesnt change that but dont know for sure at the end of the day. The response should include as I covered in the Board
 meeting that both entities have the full faith and backing from Jim Dondero and to my knowledge that hasnt changed.

 From: Lauren Thedford <LThedford@HighlandCapital.com>
 Sent: Tuesday, October 6, 2020 6:14 PM
 To: Frank Waterhouse <FWaterhouse@HighlandCapital.com>; David Klos <DKlos@HighlandCapital.com>; Kristin Hendrix
 <KHendrix@HighlandCapital.com>
 Cc: Thomas Surgent <TSurgent@HighlandCapital.com>; Jason Post <JPost@HighlandCapital.com>; Dustin Norris
 <DNorris@NexPointSecurities.com>; Will Mabry <WMabry@HighlandCapital.com>
 Subject: RE: 15(c) Follow up (10_2_20).DOCX

 I see the below from the 6/30 financials 

 NPA: Due to HCMLP and affiliates as of June 30, 2020 ‐ 23,683,000
 HCMFA: Due to HCMLP as of June 30, 2020 ‐ 12,286

 I expect the follow‐up question will be regarding terms and structure of the notes and whether any of the shared services
 invoices are outstanding.

 Draft answer below.

                 Are there any material outstanding amounts currently payable or due in the future (e.g., notes) to HCMLP
                 by HCMFA or NexPoint Advisors or any other affiliate that provide services to the Funds?

                 Response: As of June 30, 2020, $23,683,000 remains outstanding to HCMLP and its affiliates from
                 NexPoint and $12,286,000 remains outstanding to HCMLP from HCMFA. The Notes between HCMLP
                 and NexPoint come due on [DATE]. The Notes between HCMLP and HCMFA come due on [DATE].
                 All amounts owed by each of NexPoint and HCMFA pursuant to the shared services arrangement with
                 HCMLP have been paid as of [DATE].



 From: Frank Waterhouse <FWaterhouse@HighlandCapital.com>
 Sent: Tuesday, October 6, 2020 6:05 PM
 To: Lauren Thedford <LThedford@HighlandCapital.com>; David Klos <DKlos@HighlandCapital.com>; Kristin Hendrix
 <KHendrix@HighlandCapital.com>
 Cc: Thomas Surgent <TSurgent@HighlandCapital.com>; Jason Post <JPost@HighlandCapital.com>; Dustin Norris

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CONFIDENTIAL                                                                                                D-HCMFA290880
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 <DNorris@NexPointSecurities.com>; Will Mabry <WMabry@HighlandCapital.com>
 Subject: RE: 15(c) Follow up (10_2_20).DOCX

 Its on the balance sheet that was provided to the board as part of the 15c materials.

 From: Lauren Thedford <LThedford@HighlandCapital.com>
 Sent: Tuesday, October 6, 2020 6:04 PM
 To: Frank Waterhouse <FWaterhouse@HighlandCapital.com>; David Klos <DKlos@HighlandCapital.com>; Kristin Hendrix
 <KHendrix@HighlandCapital.com>
 Cc: Thomas Surgent <TSurgent@HighlandCapital.com>; Jason Post <JPost@HighlandCapital.com>; Dustin Norris
 <DNorris@NexPointSecurities.com>; Will Mabry <WMabry@HighlandCapital.com>
 Subject: RE: 15(c) Follow up (10_2_20).DOCX

 Could you provide the amounts?

 Thanks

 From: Frank Waterhouse <FWaterhouse@HighlandCapital.com>
 Sent: Tuesday, October 6, 2020 5:53 PM
 To: Lauren Thedford <LThedford@HighlandCapital.com>; David Klos <DKlos@HighlandCapital.com>; Kristin Hendrix
 <KHendrix@HighlandCapital.com>
 Cc: Thomas Surgent <TSurgent@HighlandCapital.com>; Jason Post <JPost@HighlandCapital.com>; Dustin Norris
 <DNorris@NexPointSecurities.com>; Will Mabry <WMabry@HighlandCapital.com>
 Subject: RE: 15(c) Follow up (10_2_20).DOCX

 Yes

 From: Lauren Thedford <LThedford@HighlandCapital.com>
 Sent: Tuesday, October 6, 2020 5:52 PM
 To: Frank Waterhouse <FWaterhouse@HighlandCapital.com>; David Klos <DKlos@HighlandCapital.com>; Kristin Hendrix
 <KHendrix@HighlandCapital.com>
 Cc: Thomas Surgent <TSurgent@HighlandCapital.com>; Jason Post <JPost@HighlandCapital.com>; Dustin Norris
 <DNorris@NexPointSecurities.com>; Will Mabry <WMabry@HighlandCapital.com>
 Subject: RE: 15(c) Follow up (10_2_20).DOCX

 Good evening Frank, Klos, Kristin  please advise on the below in connection with the Boards follow‐up request. Thanks!

          Are there any material outstanding amounts currently payable or due in the future (e.g., notes) to HLCMLP by
          HCMFA or NexPoint Advisors or any other affiliate that provide services to the Funds?


 From: Lauren Thedford
 Sent: Friday, October 2, 2020 2:50 PM
 To: Thomas Surgent <TSurgent@HighlandCapital.com>
 Cc: Jason Post <JPost@HighlandCapital.com>; Dustin Norris <DNorris@Nexpointsecurities.com>; Will Mabry
 <WMabry@HighlandCapital.com>; David Klos <DKlos@HighlandCapital.com>
 Subject: FW: 15(c) Follow up (10_2_20).DOCX

 Thomas  please see attached (and reproduced below) additional 15c follow‐up questions from the Board.



                                                                 2




CONFIDENTIAL                                                                                               D-HCMFA290881
                                                                                                         Appx. 00792
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     1. Please provide, to the extent practicable, the contingency plans with respect to the services provided under the
        Shared Services Agreements in the event that the outcome of the HCMLP bankruptcy proceedings were to
        impact the current servicing structure. For example, has the Advisers considered any outside service providers
        if necessary?

                 Note prior question and response on related topic:


                 With respect to the Estimated Adviser Profitability chart (Item A.2.a in the Board book), is the "Share d
                 Services" line the only expenses attributable to HCMLP? Has any work been done or consideration bee n
                 given to the solicitation of a third party bid on performing these services or bringing them in house to
                 HCMFA?

                 Response: Shared services, along with a portion of the investment professional compensation & benefits
                 lines, are the only allocations attributable to HCMLP employees’ support of the Advisers. HCMFA does
                 not have the resources to bring these services in-house at this time, but given that HCMLP staffing levels
                 for the provision of the shared services have remained fairly consistent and HCMLP remains capable o f
                 providing such shared services on economically reasonable terms, outsourced third-party bids have not
                 been solicited at this time.


     2. Are there any material outstanding amounts currently payable or due in the future (e.g., notes) to HLCMLP by
        HCMFA or NexPoint Advisors or any other affiliate that provide services to the Funds?

     3. The Board notes the provision of the updated list of current co-investments provided by HCMFA/NexPoint
        Advisors and the Advisers’ discussion, including the senior-level team in place, to address any potential
        conflicts of interest matters. With respect to the compliance function, please confirm that the Funds’ Chief
        Compliance Officer overall will continue in his usual role with respect to the Funds. Are there any other
        potential conflicts outside of the specific co-investment matters identified?

 Please let me know if you would like me to set up a call on Monday to discuss.

 From: Louizos, Stacy <SLouizos@BlankRome.com>
 Sent: Friday, October 2, 2020 1:54 PM
 To: Dustin Norris <DNorris@NexPointSecurities.com>; Lauren Thedford <LThedford@HighlandCapital.com>
 Cc: Jason Post <JPost@HighlandCapital.com>; Zornada, George <George.Zornada@klgates.com>; Charles.Miller@klgates.com;
 Jon‐Luc.Dupuy@klgates.com
 Subject: 15(c) Follow up (10_2_20).DOCX

 Hi Dustin and LaurenPlease see attached follow up questions from the Trustees after the latest Board call. Happy to have a
 call to discuss if helpful.

 Best,
 Stacy


 Stacy H. Louizos | BLANKROME
 1271 Avenue of the Americas | New York, NY 10020
 O: 212.885.5147 | F: 917.332.3028 | slouizos@blankrome.com
 M: 203.918.3666


                                                                3




CONFIDENTIAL                                                                                              D-HCMFA290882
                                                                                                        Appx. 00793
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CONFIDENTIAL                                                                                                                                      D-HCMFA290883
                                                                                                                                                Appx. 00794
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                                EXHIBIT 37




                                                                          Appx. 00795
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                                         NEXPOINT ADVISORS, L.P.

                                       INCUMBENCY CERTIFICATE



        I am the President of NEXPOINT ADVISORS GP, LLC, a Delaware limited liability company
        (the "General Partner"), the general partner of NEXPOINT ADVISORS, L.P., a Delaware
        limited partnership (the "Partnership"). In that capacity, I certify that the persons listed below
        have been duly appointed and qualified as, and currently are, officers of the General Partner of
        the Partnership. I also certify that each person listed below holds the position that is listed
        opposite his or her name in the General Partner, and that the signatures attached are the genuine
        signatures of the persons indicated. I also certify that in their capacity as officers of the General
        Partner, the persons listed below are authorized to execute any and all agreements on behalf of
        the General Partner in its capacity as the general partner of the Partnership. I also certify that in
        their capacity as officers of the General Partner, the persons listed below are authorized to give
        any party on behalf of the Partnership all, notices, orders, directions, or instructions (including
        but not limited to written, facsimile, or oral funds transfer instructions) in connection with any
        transaction to which the Partnership is or in the future may be a party to in any capacity.

         Name of Officer               Title


         James Dondero                 President


         Dustin Norris                 Executive Vice President


         Frank Waterhouse              Treasurer


         Lauren Thedford               Secretary


         WITNESS my hand to be effective as of the 11ffi day of April, 2019.


                                               NEXPOINT ADVISORS, L.P.

                                               By: NexPoint Advisors GP, LLC, its general partner


                                               By:
                                                     James Dondero, President




HIGHLY CONFIDENTIAL                                                                                     D-CNL003590
                                                                                                  Appx. 00796
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                                EXHIBIT 38




                                                                          Appx. 00797
                                Case 21-03005-sgj Doc 134-1 Filed 12/18/21                                                  Entered 12/18/21 02:10:25                                 Page 799 of 896
Cash payment history after 12/31/2018 ‐ Other Notes subject to the Alleged Agreement

HCRE
                                         "HCRE Restructure note"               November 27, 2013 Note                  October 12, 2017 Note                  October 15, 2018 Note                September 25, 2019 Note
                   Cash receipt                                                                                                                                                                                                 Total Received in
     Date            amount             Principal          Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal        Interest     respect of notes
  9/30/2019      $       341,758 $               ‐   $              ‐   $             ‐   $               ‐   $                  ‐   $           ‐   $                  ‐   $           ‐   $           204,733 $           986 $         205,719
  12/30/2019             477,482             201,994            275,487               ‐                   ‐                      ‐               ‐                      ‐               ‐                    ‐              ‐             477,482
  1/21/2021              665,811              30,542 $          301,847           171,452               2,067                    ‐            69,730                    ‐            18,794                  ‐           71,380           665,811
     Total       $      1,485,051 $          232,537 $         577,334 $          171,452 $             2,067 $                  ‐   $        69,730 $                  ‐   $        18,794 $          204,733 $         72,366 $          1,349,012


* Difference between cash receipt and total received in respect of the notes of $136,039 was returned to HCRE on September 30, 2019.



HCMSI
                                        "Services Restructure note"
                   Cash receipt                                                                                                                                                                                                    Total Received in
     Date            amount             Principal          Interest                                                                                                                                                                 respect of notes
   3/5/2019      $     1,015,000 $           977,095 $           37,905                                                                                                                                                            $       1,015,000
   8/9/2019              550,000             550,000                ‐                                                                                                                                                                        550,000
  8/21/2019            5,600,000           5,595,862              4,138                                                                                                                                                                    5,600,000
  12/30/2019              65,360                  ‐              65,360                                                                                                                                                                        65,360
  1/21/2021              181,227                  ‐            181,227                                                                                                                                                                       181,227
     Total       $      7,411,587 $        7,122,957 $         288,630 $                  ‐   $              ‐   $               ‐   $              ‐   $               ‐   $              ‐   $           ‐   $               ‐   $       7,411,587




HCMFA
                                          February 26, 2014 Note
                   Cash receipt                                                                                                                                                                                                    Total Received in
      Date           amount             Principal          Interest                                                                                                                                                                 respect of notes
   5/29/2019     $     1,000,000 $           978,102 $           21,898                                                                                                                                                            $       1,000,000
   6/4/2019              500,000             500,000                ‐                                                                                                                                                                        500,000
   9/5/2019              500,000             484,172             15,828                                                                                                                                                                      500,000
   10/3/2019             375,000             375,000                ‐                                                                                                                                                                        375,000
     Total       $      2,375,000 $        2,337,274 $           37,726 $                 ‐   $              ‐   $               ‐   $              ‐   $               ‐   $              ‐   $           ‐   $               ‐   $       2,375,000




NexPoint
                                        "NexPoint Restructure note"            September 19, 2019 Note                September 23, 2019 Note
                   Cash receipt                                                                                                                                                                                                    Total Received in
     Date            amount             Principal          Interest           Principal           Interest           Principal           Interest                                                                                   respect of notes
  3/29/2019      $       725,000 $           411,079 $         313,921                ‐                   ‐                   ‐                  ‐                                                                                 $         725,000
  4/16/2019            1,300,000           1,216,918             83,082               ‐                   ‐                   ‐                  ‐                                                                                         1,300,000
   6/4/2019              300,000             282,207             17,793               ‐                   ‐                   ‐                  ‐                                                                                           300,000
  6/19/2019            2,100,000           2,033,972             66,028               ‐                   ‐                   ‐                  ‐                                                                                         2,100,000
   7/9/2019              630,000             548,650             81,350               ‐                   ‐                   ‐                  ‐                                                                                           630,000
  8/13/2019            1,300,000           1,160,793           139,207                ‐                   ‐                   ‐                  ‐                                                                                         1,300,000
  12/9/2019            1,518,575                  ‐                 ‐             500,000               6,658           1,000,000             11,918                                                                                       1,518,575
  12/30/2019             530,112                  ‐            530,112                ‐                   ‐                   ‐                  ‐                                                                                           530,112
  1/14/2021            1,406,112             575,551           830,561                ‐                   ‐                   ‐                  ‐                                                                                         1,406,112

     Total       $      9,809,800 $        6,229,170 $        2,062,054 $         500,000 $             6,658 $        1,000,000 $            11,918 $                  ‐   $              ‐   $           ‐   $               ‐   $       9,809,800




Total of HCRE, HCMSI, HCMFA, NexPoint after December 31, 2018                                                                                                                                                                      $ 20,945,399
                                                                                                                                                                                                                        Appx. 00798
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                                EXHIBIT 39




                                                                          Appx. 00799
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                         OPERATING RESULTS
                                    February 2018




                                                                            Appx. 00800
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              Case 21-03003-sgj Doc 11-13 Filed 03/30/21   Entered 03/30/21 11:24:52    Page 3 of 13
Highland Capital Management, L.P.
Significant Items Impacting HCMLP's Balance Sheet
February 2018


CLOs


Operating Activities




Investments




Other
- ($3.8M) partner loan




                                                                                                     1
                                                                                       Appx. 00801
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                                       Highland Capital Management, L.P.
                                        Financial/Operational Highlights
                                          February 2018 Close Package
                                                  (in millions)

                                                   11/30/2017      12/31/2017     1/31/2018          2/28/2018
   Cash                                            $       6.4     $      10.2   $       2.2     $           9.6
   Operating Revenue                               $         4.3   $      13.9   $         4.2   $           4.4
   Operating Expenses (1)                                  (4.2)          (19.7)        (3.7)               (4.5)
   Operating Income                                $        0.1 $          (5.8) $       0.5 $              (0.1)
   Add back: Non-Recurring Items                   $       -       $         -   $       -       $          -
   Adjusted Operating Income                       $         0.1   $       (5.8) $         0.5   $          (0.1)

   Net Income/(Loss)                               $      20.4     $      17.0   $         7.2   $         (26.1)



                                                       MTD             YTD           LTM
   Operating Cash Flow (2)                         $      (6.0) $          (4.2) $      (7.6)
    Interest Expense                                      (0.1)            (0.2)        (1.6)
   Adjusted Operating Cash Flow                    $      (6.1) $          (4.4) $      (9.2)

   Assets Under Management (billions)              11/30/2017      12/31/2017     1/31/2018
      CLO 1.0                                      $       2.1     $       1.9   $       1.8
      Sep. Accounts                                        1.9             2.0           2.0
      Hedge/PE                                             1.1             1.1           1.1
   Total                                           $       5.0     $       5.0   $       4.9

   Headcount - including affiliates                 11/30/2017     12/31/2017     1/31/2018          2/28/2018
   Front Office                                         47             45             45                42
   Institutional Marketing and Client Service           7              7              9                  8
   Legal                                                14             15             15                16
   Admin                                                13             14             13                13
   Retail Operations (HCMLP)                             4              4             4                  4
   Back Office                                          41             38             39                39
   HCFD/NSI                                             21             21             17                16
   HCMF Strategy/Marketing                               5              5             5                  5
   Total                                               152            149            147                143

   Notes:
   (1) Excludes deferred compensation MTM
   (2) Operating Cash Flow = Operating Income + Dep. + Deferred Comp + Non-Cash Bonus Expense




                                                                                                                             2
                                                                                                                     Appx. 00802
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                                                                                                   Appx. 00803
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HCMLP Monthly Management Fees
(in thousands)

                                       3/31/2017      4/30/2017      5/31/2017       6/30/2017       7/31/2017       8/31/2017       9/30/2017        10/31/2017    11/30/2017    12/31/2017        1/31/2018         2/28/2018
CLO 1 0                          $        1,433 $        1,081 $          961 $           961 $         1,644 $           793 $           802 $           1,082 $         768 $         765 $            817 $             713
Sep Accounts                                577            762            586             327             792             635             563               516           678           584              622               626
Subadvised Account                          566            526            505             588             538             520             529               447           620           621              491               497
Hedge/PE Funds                              414            446            409           2,617             797             837             831               814           818           817            1,177             1,138
Total                            $        2,990 $        2,815 $        2,462 $         4,494 $         3,771 $         2,785 $         2,725 $           2,860 $       2,885 $       2,786 $          3,107 $           2,974


                                                                                        Highland Capital Management, LP


                 $5,000

                 $4,500

                 $4,000
                                                                                                                                                                                                             Total
                 $3,500
                              $2,990                                                                                                                                                                         $3,107
                 $3,000
                                                                                                                                                                                                       Other Instruments
                 $2,500

                 $2,000

                 $1,500
                                                                                                                                                                                                          CLO 1 0
                 $1,000

                     $500

                      $-
                              Mar-17         Apr-17         May-17          Jun-17          Jul-17          Aug-17          Sep-17           Oct-17            Nov-17        Dec-17        Jan-18            Feb-18




                                                                                                                                                                                                                        4
                                                                                                                                                                                                        Appx. 00804
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                                                                                                                                       Statement of Income
                                                                                                                                 Twelve Months Ended February 2018
                                                                                                                                           (in thousands)


                                                                    Mar-17          Apr-17          May-17          Jun-17            Jul-17          Aug-17          Sep-17           Oct-17             Nov-17             Dec-17             Jan-18             Feb-18              LTM            YTD

Revenue:
 Management fees                                                $      2,990    $      2,815    $      2,462    $      4,494      $      3,771    $      2,785    $      2,725     $       2,860      $       2,885      $       3,265      $       3,129      $       2,974       $    37,154    $    6,103
 Shared services fees                                                    817             871             794             620               779             803             757               732                871                873                930                866             9,713         1,796
 Incentive fees                                                          -               -               -               -                 -               -               -                 -                  -               10,057                -                  -              10,057           -
 Other income                                                            431             217             560             477               274             614             562               234                586                912                215                596             5,679           811
   Total operating revenue                                             4,237           3,904           3,816           5,591             4,824           4,202           4,043             3,827              4,342             15,107              4,274              4,436            62,603         8,710
Operating expenses:
 Compensation and benefits                                             2,769           2,539           2,495           2,702             2,885           2,800           2,368             2,308              2,795              2,692              2,755              2,769            31,876         5,524
 Deferred compensation                                                   222             243             157             214               426              50             297               286                755                291                159                101             3,201           260
 Professional services                                                   629             307           1,168             511               616           1,531             472             1,031                649             16,650                181                314            24,060           495
 Investment research and consulting                                      226             175               8             208                14              15             160                22                  8                242                 13                 20             1,111            33
 Depreciation                                                            110             110             110             114               112             112             113               112                112                108                109                108             1,328           217
 Other operating expenses                                                875             684             702           1,021               645             988             805               723                497                662                580                683             8,866         1,263
   Total operating expenses                                            4,831           4,057           4,640           4,770             4,697           5,495           4,216             4,482              4,816             20,646              3,798              3,995            70,442         7,793
Operating income                                                        (594)           (153)           (824)            821               127          (1,292)           (172)             (655)              (474)            (5,539)                  476                441         (7,839)          917
Other income/expense:
 Interest and investment income, net                                     478             454             493             661               606             558             532               574                937                839                612                   473          7,219         1,086
 Interest expense                                                       (143)           (141)           (149)           (146)             (142)           (148)           (136)             (141)              (134)              (147)              (141)                  (65)        (1,632)         (206)
 Other income/expense                                                     59             170           4,060             947                39              13              63                77                 64             19,147                 81                    64         24,784           145
   Total other income/expense                                           394              484           4,405           1,462               503            424              459                  510                867          19,839                   552                472         30,370         1,024
Realized and unrealized gain/(loss) from investments:
 Net realized gain/(loss) on sale of investment transactions           1,547             (20)          2,560             272               496           2,811             -                  22                -               (1,155)               -                  -               6,533           -
 Net change in unrealized gain/(loss) of investments                    (189)           (460)          4,729           4,338             3,144          (9,361)          9,180            (1,004)             6,375              2,170             10,678            (10,201)           19,398           477
   Total realized and unrealized gain/(loss) from investments          1,358            (480)          7,290           4,610             3,640          (6,550)          9,180              (982)             6,375              1,015             10,678            (10,201)           25,931           477
Earnings and losses from equity method investees
              .                                                          225             235             (16)            258                44            (201)             333               12                200                329                926               (210)            2,135            716
                                                                      (2,857)           (558)           (624)            818            (1,908)          1,709           (1,136)            (203)             4,333                529             (1,674)            (5,137)           (6,708)        (6,811)
                                                                      (5,870)         (1,935)         (1,352)          1,692            (3,860)          3,454           (2,300)            (419)             8,353              1,019             (3,731)           (11,446)          (16,395)       (15,177)
                                                                         -               -               -               -                 -                 9                0               15                -                   18                -                  -                  42            -
                                                                         -              (184)            -                 (6)             (15)            -                (14)             (18)                11                102                -                  -                (125)           -
                                                                         -               -               -               -                 -               -                -                -                  768                -                  -                  -                 768            -
                                                                         -               -            (1,534)            -                 -               -                -                -                  -                  -                  -                  -              (1,534)           -
                                                                         -               -               -               -                 -               -                -                -                  -                  -                  -                  -                 -              -
   Total earnings/(loss) from equity method investees                 (8,502)         (2,441)         (3,525)          2,762            (5,740)          4,971           (3,118)            (613)            13,664              1,996             (4,479)           (16,794)          (21,817)       (21,273)
   Net income                                                         (7,345)         (2,591)          7,345           9,655            (1,470)         (2,447)          6,348            (1,739)            20,432             17,311              7,227            (26,081) $         26,645    $   (18,854)

   Profit margin                                                       -173%            -66%           192%            173%               -30%            -58%            157%              -45%              471%               115%               169%               -588%              43%          -216%

     Operating Cash Flow Calculation:
     Operating income                                                   (594)           (153)           (824)            821               127          (1,292)           (172)             (655)              (474)            (5,539)               476                441            (7,839)           917
     Add Depreciation expense                                            110             110             110             114               112             112             113               112                112                108                109                108             1,328            217
     Adjustment Deferred compensation                                 (2,767)            243             157             214               426              50             297               286                755                291                159               (489)             (378)          (330)
                   Bonus awards                                        1,000             956           1,000           1,000             1,000          (5,190)            986             1,000              1,300              1,300              1,000             (6,049)             (696)        (5,049)
     Operating Cash Flow                                              (2,251)          1,155             442           2,149             1,664          (6,320)          1,224               743              1,693             (3,840)             1,744             (5,989) $         (7,585) $      (4,245)


     Less Interest expense                                              (143)           (141)           (149)           (146)             (142)           (148)           (136)             (141)              (134)              (147)              (141)               (65)           (1,632)          (206)
     Adjusted Operating Cash Flow                                     (2,395)          1,015             293           2,003             1,523          (6,468)          1,087               603              1,559             (3,987)             1,603             (6,054) $         (9,217) $      (4,451)


     Add cash bonus expense                                            1,063           1,001           1,000           1,100             1,032           1,025           1,000             1,008              1,304              1,300              1,000              1,000            12,832          2,000
     Less cash bonuses paid                                              (63)            (45)            -              (100)              (32)         (6,215)            (14)               (8)                (4)               -                  -               (7,049)          (13,528)        (7,049)
     Non-cash bonus add-back                                           1,000             956           1,000           1,000             1,000          (5,190)            986             1,000              1,300              1,300              1,000             (6,049)             (696)        (5,049)
     Add deferred compensation MTM                                       222             243            157              214               426              50             297                  286                755                291                159             101             3,201           260
     Less cash deferred awards paid                                   (2,989)            -              -                -                 -               -               -                    -                  -                  -                  -              (590)           (3,579)         (590)
     Non-cash deferred award add-back                                 (2,767)            243            157              214               426              50             297                  286                755                291                159            (489)             (378)         (330)




                                                                                                                                                                                                                                                                                                               5
                                                                                                                                                                                                                                                                                              Appx. 00805
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                                                              Balance Sheet
                                                      February 2018 vs. January 2018
                                                              (in thousands)

                                                                                                              Increase/       Increase/
                                                                  February 28,          January 31,          (Decrease)      (Decrease)
                                                                     2018                  2018                   $              %
Assets

    Cash and cash equivalents                                 $            9,607    $            2,161   $         7,446            344.6%
    Investments, at fair value                                           266,615               277,888           (11,273)            -4.1%
    Equity method investees                                               59,692                82,690           (22,997)           -27.8%
    Management and incentive fee receivable                                1,918                 4,988            (3,070)           -61.5%
    Deferred incentive fees                                                  -                   6,944            (6,944)             0.0%
    Fixed assets, net                                                      5,557                 5,665              (109)            -1.9%
    Due from affiliates                                                  181,222               175,605             5,617              3.2%
    Other assets                                                           9,408                10,353              (945)            -9.1%
Total assets                                                  $          534,020    $          566,295   $       (32,275)           (5.7%)



Liabilities and Partners' Capital

    Accounts payable                                          $            2,036    $            2,667   $           (631)          -23.7%
    Due to brokers                                                        35,777                35,842                (64)           -0.2%
    Accrued expenses and other liabilities                                54,361                59,860             (5,498)           -9.2%

    Partners' capital                                                    441,846               467,927           (26,081)            -5.6%
Total liabilities and partners' capital                       $          534,020    $          566,295   $       (32,275)           (5.7%)



                                Partners' Capital Walk
                                 Partners' capital at 1/31 $             467,927
                         Net subscriptions/(redemptions)                     -
                                          Net income/(loss)              (26,081)
                                 Partners' capital at 2/28 $             441,846




                                                                                                                                6
                                                                                                                    Appx. 00806
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                                                                 Income Statement
                                                        February 2018 YTD vs. January 2017 YTD
                                                                      (in thousands)

                                                                                                                   Increase/        Increase/
                                                                                  2018               2017         (Decrease)       (Decrease)
                                                                                  YTD                YTD               $               %

     Revenue:
       Management fees                                                       $       6,103       $      6,106     $       (3)            0.0%
       Shared services fees                                                          1,796              1,574            221            14.1%
       Other income                                                                    811                808              3             0.4%
          Total operating revenue                                                    8,710              8,488            222             2.6%
     Operating expenses:
      Salaries and overtime                                                          2,331              2,274             57             2.5%
      Bonus                                                                          2,000              1,995              5             0.2%
      Other compensation and benefits                                                1,193              1,125             68             6.1%
      Deferred compensation                                                            260                666           (406)          -61.0%
      Professional services                                                            495                740           (245)          -33.1%
      Investment research and consulting                                                33                 23             10            45.5%
      Marketing and advertising expense                                                341                460           (119)          -25.8%
      Depreciation expense                                                             217                221             (4)           -2.0%
      Other operating expenses                                                         922                747            175            23.4%
          Total operating expenses                                                   7,793              8,252           (460)           -5.6%

     Operating income/(loss)                                                             917                236          681           288.5%
     Other income/expense:
       Interest income                                                               1,086                916            170            18.6%
       Interest expense                                                               (206)              (244)            39           -15.8%
       Other income/expense                                                            145                251           (106)          -42.3%
          Total other income/expense                                                 1,024                  922          103            11.1%

     Realized and unrealized gains from investments:
       Net realized losses on sales of investment transactions                             -                -             -              0.0%
       Net change in unrealized gains/(losses) of investments                            477           10,093          (9,616)          95.3%
          Total realized and unrealized gains from investments                           477           10,093          (9,616)         -95.3%
     Net earnings/(losses) from equity method investees                            (21,273)             6,393         (27,666)         432.8%
          Net income/(loss)                                                  $     (18,854)      $     17,644     $   (36,498)         206.9%

          Profit margin                                                             -216%               208%

     Other operating expenses detail
       Rent expense                                                                      258                196            61            31 2%
       Fees and dues                                                                      44                 55           (11)           -19 6%
       Travel and entertainment                                                          137                201           (63)           -31 6%
       Insurance expense                                                                 128                 50            78           155 8%
       Bad debt expense                                                                    -                  -           -               0 0%
       Miscellaneous expenses                                                            354                245           110            44 9%
          Total other operating expenses                                                 922                747           175            23.4%




                                                                                                                                                  7
                                                                                                                                  Appx. 00807
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HCMLP Analytics
(in thousands)
Accounts Payable Aging Analysis
                                                                                                                                                          Greater Than 120
Vendor Type                         Current                  30 Days                  45 Days                   90 Days                   120 Days             Days               Grand Total                    %
Overhead                        $               678    $                   45   $                   433   $                     86   $               -    $            -     $                 1,242                      61%
Legal                                           -                      -                            -                       -                        -                 794                       794                      39%
Grand Total                     $               678    $                   45   $                   433   $                     86   $               -    $            794   $                 2,036                     100%

% Outstanding                                   33%                    2%                           21%                     4%                       0%                39%


                               Overhead                                                                       Legal                                                          Grand Total




                    Current          30 Days                                              Current                 30 Days                                         Current            30 Days
                    45 Days          90 Days                                              45 Days                 90 Days                                         45 Days            90 Days
                    120 Days         Greater Than 120 Days                                120 Days                Greater Than 120 Days                           120 Days           Greater Than 120 Days




Top 5 Legal Greater than 120 Days                                                 February 2018           Top 5 Overhead Greater than 120 Days*                                  February 2018
                                                                                $            292          N/A                                                                                        -
                                                                                             200
                                                                                             180
                                                                                             112
                                                                                              10
Total                                                                           $            794          Total                                                              $                   -
% Total of AP Outstanding                                                                    39%          % Total of AP Outstanding                                                                  0%




Fund Reimbursements                                                                                                                                           Self-Insurance Summary
                                                                                                                     Year-Over-Year                                                                           Premium
Funds                               2/28/2018                1/31/2018                2/28/2017                 $ Change        % Change                      Entity                                           Balance
US CLOs                         $                851   $             1,893      $                633      $              217            34%                                                                               693
Hedge/Private Equity                             611                   622                       497                     114            23%                                                                               370
Separate Accounts                                 30                    30                        17                       13           77%                                                                                89
Retail                                           194                   194                       557                   (363)           -65%                                                                                 9
International/Portfolio Co                     3,413                 3,668                     3,954                   (541)           -14%                                                                              (156)
Research Unallocated                             759                   311                       888                   (129)           -15%                                                                              (154)
Unallocated                                    1,345                 1,297                     1,350                     -               0%                                                                              (197)
Total                           $              7,202   $             8,015      $              7,896      $            (688)            -9%                                                                              (392)
                                                                                                                                                                                                                         (258)
                                                                                                                                                              Total over/(under) funded                   $                 4
                                                             1/31/2018              Net Additions               Receipts                  2/28/2018
Month to Month Change                                  $             8,015      $               330       $           (1,143) $                   7,202       Shared Services Receivables Summary

                                                             2/28/2017                2/28/2018                2017 YTD                   2018 YTD            Entity                                          Balance
Fund Reimbursement Receipts                            $             1,620      $             1,143       $           2,225          $           2,256                                                                  3,730
                                                                                                                                                                                                                          367
 HCMLP Invoice Metrics                                   February 2018            January 2018                                                                                                                            200
Invoices Processed:                                                 162                      120                                                                                                                           40
$ Amount Processed:                                    $          8,077         $         11,918                                                                                                                            54
# of Payments                                                       166                      152                                                                                                                          -
$ Amount of Payments:                                  $          8,558         $         13,302                                                                                                                          -
                                                                                                                                                              Total                                       $             4,391




                                                                                                                                                                                                                                       8
                                                                                                                                                                                                                                           Appx. 00808
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                                  Highland Capital Management, LP
                                       Schedule of Investments
                                         As of February 2018
                                                                                       Contributions,
                                                                 Monthly Change in    (Distributions) &
                                                                    Unrealized            Realized
                  Fund                        MV @ 1/31/2018       Gain/(Loss)           Gain/(Loss)      MV @ 2/28/2018




                                                     5,660,653             (29,409)                -             5,631,244




                                                                                                                               9

                                                                                                                               Appx. 00809
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Historical Legal Summary through February 28, 2018
Includes only matters allocated to HCMLP
in thousands

HCMLP Legal by Matter                                                                      HCMLP Legal by Vendor




    Sub-Total Top 25 Matters                                 3,469   3,513   8,039   512      Sub-Total Top 25 Vendors                          2,865     3,045     7,450     450

    Sub-Total Other Matters                                     31       1     -     -        Sub-Total Other Vendors                             635       469       589      61
    Total Matters                                            3,500   3,514   8,039   512      Total Vendors                                     3,500     3,514     8,039     512

Sorted largest to smallest Matter by 2018 dollars invoiced                                 Sorted largest to smallest Vendor by cumulative dollars invoiced ('12 - YTD '18)




                                                                                                                                                                    10
                                                                                                                                                          Appx. 00810
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Employee Expenses through February 28, 2018
Excludes all Dondero Reimbursements
HCMLP & Certain Affiliated Advisors
in thousands

Employee Expenses - Including Reimbursable                                     Employee Expenses - Non-Reimbursable Only

                                                                    2018                                                                            2018
Company       2015          2016         2017         2018                      Company       2015         2016          2017         2018
                                                                  Annualized                                                                      Annualized
          $      838    $      707   $      818   $          93   $     557    HCMLP      $      387   $      174    $      396   $          61   $     363
               2,447         1,860        1,041              85         509    HCFD            2,219          933           543              39         231
                 742           511          292              23         139    HCMFA             450          380           256              18         110
                 -              57          141              18         108    NPA               -             16            61               9          55

Total     $    4,027    $    3,135   $    2,293   $      219      $   1,312    Total      $    3,056   $    1,503    $    1,257   $      127      $     759




                                                                                                                                                      11
                                                                                                                                              Appx. 00811
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                                EXHIBIT 40




                                                                          Appx. 00812
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 Fill in this information to identify the case:

 Debtor name            Highland Capital Management, L.P.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               19-34054-SGJ
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           523,970.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $     409,580,813.30

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $     410,104,783.30


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       34,862,225.94


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            Unknown

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     244,455,350.78


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        279,317,576.72




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                                                                                                                                                       Appx. 00813
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                                                                                           4

 Debtor         Highland Capital Management, L.P.                                              Case number (If known) 19-34054-SGJ
                Name



            General description                                                Net book value of       Valuation method used     Current value of
                                                                               debtor's interest       for current value         debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            139 Domain Names                                                                 $0.00     N/A                                   Unknown



 62.        Licenses, franchises, and royalties
            3rd Party Private Equity Management
            Company                                                                          $0.00     N/A                                   Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                             Unknown
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                 Current value of
                                                                                                                                 debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                        150,331,222.61 -                             Unknown =
            Notes Receivable (Exhibit D)                              Total face amount     doubtful or uncollectible amount                 Unknown



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 6
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                                                                                                                                 Appx. 00814
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 Highland Capital Management LP
 Case # 19‐34054‐SGJ
 Exhibit D ‐ Schedule 71A


 Notes Receivable                                              Total Face Amount [1]
 Hunter Mountain Investment Trust                          $               56,873,209.22
 Affiliate Note Receivable ‐ A                                             24,534,644.03
 The Dugaboy Investment Trust                                              18,286,268.16
 Affiliate Note Receivable ‐ B                                             10,413,539.53
 Affiliate Note Receivable ‐ C                                             10,394,680.47
 James Dondero                                                              9,334,012.00
 Highland Capital Management Services, Inc.                                 7,482,480.88
 Siepe                                                                      2,019,256.35
 Highland Mult Strategy Credit Fund, LP                                     3,269,000.00
 Highland Capital Management Korea Ltd. [2]                                 3,132,278.05
 Private Portfolio Company ‐ A                                              2,198,610.05
 Mark Okada                                                                 1,336,287.84
 Private Portfolio Company ‐ B                                              1,056,956.03
 Total                                                     $             150,331,222.61

 [1]Doubtful or Uncollectible accounts are evaluated at year end.
 [2] Includes $72,278.05 of intercompany receivable.




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                                                                                                     Appx. 00815
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                                EXHIBIT 41




                                                                          Appx. 00816
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                                                                            Monthly Operating Report
                                                                            ACCRUAL BASIS
   CASE NAME:           Highland Capital Management

   CASE NUMBER:         19-34054

   JUDGE: Stacey Jernigan


                        UNITED STATES BANKRUPTCY COURT

                    NORTHERN & EASTERN DISTRICTS OF TEXAS

                                           REGION 6

                            MONTHLY OPERATING REPORT

            MONTH ENDING:                   December             2019
                                               MONTH              YEAR



   IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
   PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
   (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
   TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
   DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
   INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


   RESPONSIBLE PARTY:

                                                               Chief Restructuring Officer
   ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                         TITLE

   Bradley Sharp                                                    1/31/2020
   PRINTED NAME OF RESPONSIBLE PARTY                                               DATE




   PREPARER:

                                                               Chief Financial Officer
   ORIGINAL SIGNATURE OF PREPARER                                                   TITLE

   Frank Waterhouse
   PRINTED NAME OF PREPARER                                                        DATE




                                                                                              Appx. 00817
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                                                                                                                           Monthly Operating Report
                                                                                                                                         ACCRUAL BASIS-1

            CASE NAME:                                                        Highland Capital Management, LP

            CASE NUMBER:                                                      19-12239-CSS


         Comparative Balance Sheet
         (in thousands)


                                                                                                                                                            (6)
                                                                                    10/15/2019          10/31/2019         11/30/2019          12/31/2019

             Assets

                    Cash and cash equivalents                                              2,529              2,286              6,343                   9,501
                    Investments, at fair value (3)                                       232,620           235,144             233,776                235,054
                    Equity method investees (3)                                          161,819           161,813             175,381                174,815
                    Management and incentive fee receivable                                2,579             3,202               1,223                  1,828
                    Fixed assets, net                                                      3,754             3,672               3,601                  3,521
                    Due from affiliates (1)                                              151,901           152,124             152,523                146,245
                    Reserve against notes recievable                                                                                                  (57,963)
                    Other assets                                                          11,311             11,260             10,621                 10,663
             Total assets                                                      $         566,513       $   569,501         $   583,468        $       523,664



             Liabilities and Partners' Capital

                                                     (4)
                    Pre-petition accounts payable                                          1,176              1,135              1,250                   1,068
                                                      (4)
                    Post-petition accounts payable                                            -                 102                236                     624
                    Secured debt:
                          Frontier                                                         5,195              5,195              5,195                  5,195
                          Jefferies                                                       30,328             30,315             30,268                 30,020
                                                              (4)
                    Accrued expenses and other liabilities                                59,203             59,184             60,848                 66,423
                                                            (5)
                    Accrued re-organization related fees                                      -                 -                   -                    5,693
                    Claim accrual (2)                                                     73,997             73,997             73,997                 73,997
                    Partners' capital                                                    396,614           399,573             411,674                340,644
             Total liabilities and partners' capital                            $        566,513       $   569,501         $   583,468        $       523,664




              (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully reserved
                    against ($58M reserve). Fair value has not been determined with respect to any of the notes.
              (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No interest has
                    been accrued beyond petition date.
              (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily
                    available market price information. Limited partnership interests normally marked to a NAV statement have been updated based upon
                    the most recent statement available, or marked to an estimate to the extent available.
              (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices recorded through
                    accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not
                    yet received invoices. For balance sheet dates other than the Petition Date, amounts include both pre-petition and post-petition
                    liabilities.
              (5)   At December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees incurred to date.
              (6)   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.




                                                                                                                                                          Appx. 00818
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                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                            ACCRUAL BASIS-2
         CASE NAME:                              Highland Capital Management, LP

         CASE NUMBER:                            19-12239-CSS

Income Statement 1
(in thousands)
                                                                                           Date                         Month ended                   Month ended (4)                Filing to Date
                                                                                    10/16/19 - 10/31/19                  11/30/2019                    12/31/2019
         Revenue:
          Management fees                                                                               975                           1,638                         1,804                         4,417
          Shared services fees                                                                          283                              709                          596                         1,588
          Other income                                                                                       99                          418                        1,032                         1,549

              Total operating revenue                                                                 1,357                           2,765                         3,433                         7,555

         Operating expenses:
          Compensation and benefits                                                                     997                           1,936                         2,256                         5,188
          Professional services                                                                         256                               90                          354                            700
          Investment research and consulting                                                                 10                           34                            10                            54
          Marketing and advertising expense                                                              -                                35                           (15)                           20
          Depreciation expense                                                                               82                           82                            80                           244
          Bad debt expense reserve                                                                            -                             -                       8,420                         8,420
          Other operating expenses                                                                      201                              480                          310                            991

              Total operating expenses                                                                1,545                           2,657                        11,415                        15,617

         Operating income/(loss)                                                                        (188)                            108                       (7,982)                       (8,062)

         Other income/expense:
          Interest income                                                                               250                              484                          495                         1,230
          Interest expense                                                                              (107)                           (103)                        (135)                          (346)
          Reserve against notes receivable                                                                    -                             -                     (57,963)                      (57,963)
           Re-org related expenses(2)                                                                         -                             -                      (5,693)                       (5,693)
           Other income/expense                                                                              32                             -                             -                           32

              Total other income/expense                                                                175                              381                      (63,296)                      (62,741)


           Net realized gains/(losses) on investments                                                   339                              279                              -                          618
           Net change in unrealized gains/(losses) of investments(3)                                  2,654                          (2,004)                          988                         1,638

                                                                                                      2,993                          (1,725)                          988                         2,256
                                                                              (3)
         Net earnings/(losses) from equity method investees                                              (20)                        13,468                          (692)                       12,756

              Net income/(loss)                                                     $                 2,959         $                12,232       $               (70,982)       $              (55,791)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
estimates for other incurred, but not yet received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date. At December 31st, 2019, Debtor accrued for post-petition re-
organization fees based upon an estimate of fees incurred to date.
(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Limited partnership interests
normally marked to a NAV statement have been updated based upon the most recent statement available, or marked to an estimate to the extent available.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.




                                                                                                                                                                                                Appx. 00819
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                                                                                                                     Monthly Operating Report
                                                                                                                                  ACCRUAL BASIS-3A
 CASE NAME:                     Highland Capital Management

 CASE NUMBER:                   19-34054


 CASH RECEIPTS AND DISBURSEMENTS                                               OCTOBER              NOVEMBER             DECEMBER            QUARTER
 1. CASH - BEGINNING OF MONTH 2                                            $       2,554,230    $       2,286,160    $       6,342,598   $       2,554,230
 RECEIPTS FROM OPERATIONS
 2.   OTHER OPERATING RECEIPTS                                             $            6,912   $         972,733    $         883,113   $       1,862,757
 3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $           15,000   $       1,764,749    $       1,376,993   $       3,156,742
 COLLECTION OF ACCOUNTS RECEIVABLE
 4    PREPETITION                                                          $           46,425   $       2,962,108    $         584,575   $       3,593,108
 5    POSTPETITION 1                                                       $              -     $              -     $              -    $              -
 6  TOTAL OPERATING RECEIPTS                                               $           68,337   $       5,699,590    $       2,844,680   $       8,612,608
 NON-OPERATING RECEIPTS
    THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
 7                                                                         $           79,266   $         320,836    $          23,365   $         423,468
 8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $         410,189    $         501,983    $         425,897   $       1,338,069
 9    OTHER (ATTACH LIST)                                                                                            $       3,390,286   $       3,390,286
 10   TOTAL NON-OPERATING RECEIPTS                                         $         489,456    $         822,820    $       3,839,547   $       5,151,822
 11   TOTAL RECEIPTS                                                       $         557,793    $       6,522,410    $       6,684,227   $      13,764,430
 12 TOTAL CASH AVAILABLE                                                   $       3,112,023    $       8,808,570    $      13,026,825
 OPERATING DISBURSEMENTS
 13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB (3)                         $         737,588    $         961,282    $       2,077,577   $       3,776,446
 14   SINGAPORE SERVICE FEES                                               $           34,633   $          32,555    $          27,930   $           95,118
 15   HCM LATIN AMERICA                                                                         $         100,000    $         100,000   $         200,000
 16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                                                  $         967,555    $         459,432   $       1,426,987
 17   UTILITIES                                                                                                                          $              -
 18   INSURANCE                                                                                                                          $              -
 19   INVENTORY PURCHASES                                                                                                                $              -
 20   VEHICLE EXPENSES                                                                                                                   $              -
 21   TRAVEL                                                                                                                             $              -
 22   ENTERTAINMENT                                                                                                                      $              -
 23   REPAIRS & MAINTENANCE                                                                                                              $              -
 24   SUPPLIES                                                                                                                           $              -
 25   ADVERTISING                                                                                                                        $              -
 26   OTHER (ATTACH LIST)                                                  $           53,642   $         404,581    $         860,477   $       1,318,700
 27 TOTAL OPERATING DISBURSEMENTS                                          $         825,863    $       2,465,973    $       3,525,415   $       6,817,251
 REORGANIZATION EXPENSES
 28   PROFESSIONAL FEES                                                                                                                  $              -
 29   U.S. TRUSTEE FEES                                                                                                                  $              -
 30   OTHER (ATTACH LIST)                                                                                                                $              -
 31   TOTAL REORGANIZATION EXPENSES                                        $              -     $              -     $              -    $              -
 32   TOTAL DISBURSEMENTS                                                  $         825,863    $       2,465,973    $       3,525,415   $       6,817,251
 33   NET CASH FLOW                                                        $         (268,070) $        4,056,437    $       3,158,812   $       6,947,179
 34   CASH - END OF MONTH                                                  $       2,286,160    $       6,342,598    $       9,501,409   $       9,501,409

 1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
 2    Beginning cash in October represents the bank balance as of the filing date, while the cash amount shown on the balance sheet includes any outstanding checks.
 3    November 30th, 2019 payroll in the amount of $478,337 did not debit the account until December 2nd, 2019. For comparability purposes this $478,337 amount
      should be added to the November total and subtracted from the December total.




                                                                                                                                             Appx. 00820
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           NON-OPERATING RECEIPTS - OTHER

                                        Date            Amount           Description
                                      12/9/2019           1,518,575.34   Note principal or interest
                                      12/9/2019                 739.72   Note principal or interest
                                     12/23/2019             783,011.86   Note principal or interest
                                     12/30/2019             530,112.36   Note principal or interest
                                     12/30/2019              65,360.49   Note principal or interest
                                     12/30/2019             201,994.40   Note principal or interest
                                     12/30/2019             275,487.21   Note principal or interest
                                     12/31/2019              15,004.30   Voided Checks
                                                        $ 3,390,285.68

           OPERATING DISBURSMENTS - OTHER

                                        Date            Amount            Vendor
                                      12/2/2019           155,084.39     Crescent TC Investors LP
                                      12/3/2019            18,289.49     Platinum Parking
                                      12/3/2019               672.72     ProStar Services, Inc
                                      12/3/2019             1,191.25     Gold's Gym International
                                      12/3/2019             1,021.44     Chick-fil-A
                                      12/3/2019             5,052.88     Iron Mountain Records Management
                                      12/3/2019             1,472.00     Platinum Parking
                                      12/5/2019               110.00     FINRA
                                     12/11/2019             5,780.50     Third Party Consultant
                                     12/13/2019               110.00     FINRA
                                     12/13/2019               163.35     Arkadin Inc
                                     12/13/2019               356.00     Jordan Fraker Photography
                                     12/13/2019               480.00     Action Shred of Texas
                                     12/13/2019             1,023.67     UPS Small Package
                                     12/13/2019             1,489.20     Canteen
                                     12/13/2019             3,032.73     Greenwood Office Outfitters, Inc.
                                     12/13/2019             3,659.07     Third Party Consultant
                                     12/13/2019             2,887.50     Centroid Systems, Inc.
                                     12/13/2019             2,394.28     Thomson Reuters West
                                     12/13/2019             8,642.37     Concur Technologies Inc
                                     12/13/2019            23,950.60     Flexential Colorado Corp
                                     12/13/2019             3,234.81     ICE Data Pricing Ref Data LLC
                                     12/13/2019               226.25     Third Party Consultant
                                     12/13/2019             1,155.00     Centroid Systems, Inc.
                                     12/13/2019             4,788.56     Thomson Reuters West
                                     12/13/2019             4,090.46     Concur Technologies Inc
                                     12/16/2019           155,452.35     Bloomberg Finance LP
                                     12/16/2019             1,582.66     Compass Bank Oper
                                     12/16/2019            32,508.98     Bloomberg Finance LP
                                     12/17/2019               259.60     East West Bank
                                     12/17/2019            13,516.50     ATT Mobility
                                     12/17/2019               516.91     DIRECTV
                                     12/19/2019               477.59     PITNEY BOWES
                                     12/19/2019               400.00     PITNEY BOWES
                                     12/19/2019             1,611.00     PITNEY BOWES
                                     12/20/2019               348.00     Visix, Inc.
                                     12/20/2019             1,000.00     Marco Quintana
                                     12/20/2019                21.40     CHASE COURIERS, INC
                                     12/20/2019               751.26     Four Seasons Plantscaping, LLC
                                     12/20/2019            36,084.06     SIEPE SOFTWARE
                                     12/20/2019           248,637.49     SIEPE SERVICES
                                     12/20/2019            31,050.00     McLagan
                                     12/20/2019             6,495.61     ATT Mobility
                                     12/23/2019            27,891.43     Third Party Consultant
                                     12/23/2019             6,942.54     TW Telecom
                                     12/23/2019             6,934.01     TW Telecom
                                     12/24/2019               398.22     Xerox
                                     12/26/2019               548.83     Pitney Bowes
                                     12/27/2019             5,076.50     Third Party Consultant
                                     12/31/2019            17,147.40     Wolters Kluwer
                                     12/31/2019             1,419.08     Oracle America, Inc.
                                     12/31/2019             2,047.22     Zayo Group
                                     12/31/2019            11,000.00     Third Party Consultant
                                                        $ 860,477.16




                                                                                                              Appx. 00821
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                                                                                                                                            ACCRUAL BASIS-4
  CASE NAME:                               Highland Capital Management

  CASE NUMBER:                             19-34054

                                                                    SCHEDULE
  MGMT FEE RECEIVABLE AGING 2                                        AMOUNT                    October                  November                 December
  1. 0-30                                                         $    2,578,744 $                  3,201,548    $           1,222,880               $1,828,180
  2. 31-60
  3. 61-90
  4. 91+
  5.       TOTAL MGMT FEE RECEIVABLE                              $       2,578,744     $            3,201,548   $             1,222,880              $1,828,180
  6.       AMOUNT CONSIDERED UNCOLLECTIBLE
  7.       MGMT FEE RECEIVABLE (NET)                              $       2,578,744     $            3,201,548   $             1,222,880              $1,828,180


  AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                     December 2019

                                                   0-30                 31-60                   61-90                      91+
  TAXES PAYABLE                                   DAYS                  DAYS                    DAYS                      DAYS                    TOTAL
  1.  FEDERAL                                                                                                                                                   $0
  2.  STATE                                                                                                                                                     $0
  3.  LOCAL                                                                                                                                                     $0
  4.  OTHER (ATTACH LIST)                                                                                                                                       $0
  5.  TOTAL TAXES PAYABLE                                    $0                   $0                        $0                         $0                       $0

  6.       ACCOUNTS PAYABLE                           $413,201              $60,483                  $150,355                                              $624,038


  STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                     December 2019

                                                                      BEGINNING                AMOUNT                                            ENDING
                                                                         TAX                WITHHELD AND/               AMOUNT                     TAX
  FEDERAL                                                             LIABILITY              0R ACCRUED                  PAID                   LIABILITY
  1.  WITHHOLDING                                                                                                                                               $0
  2.  FICA-EMPLOYEE                                                                                                                                             $0
  3.  FICA-EMPLOYER                                                                                                                                             $0
  4.  UNEMPLOYMENT                                                                                                                                              $0
  5.  INCOME                                                                                                                                                    $0
  6.  OTHER (ATTACH LIST)                                                                                                                                       $0
  7.  TOTAL FEDERAL TAXES                                                         $0                        $0                         $0                       $0
  STATE AND LOCAL
  8.  WITHHOLDING                                                                                                                                               $0
  9.  SALES                                                                                                                                                     $0
  10. EXCISE                                                                                                                                                    $0
  11. UNEMPLOYMENT                                                                                                                                              $0
  12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
  13. PERSONAL PROPERTY                                                                                                                                         $0
  14. OTHER (ATTACH LIST)                                                                                                                                       $0
  15. TOTAL STATE & LOCAL                                                         $0                        $0                         $0                       $0
  16. TOTAL TAXES                                                                 $0                        $0                         $0                       $0

       1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
           withholdings.
       2   Aging based on when management fee is due and payable.




                                                                                                                                              Appx. 00822
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                                                                                                                                                                                            Monthly Operating Report
                                                                                                                                                                                                            ACCRUAL BASIS-5
 CASE NAME:                     Highland Capital Management


 CASE NUMBER:                   19-34054


                                                                                                MONTH:                     December                                                                             2019
 BANK RECONCILIATIONS
                                                                 Account #1               Account #2              Account #3               Account #4               Account #5              Account #6
 A.      BANK:                                                 BBVA Compass             East West Bank          East West Bank            Maxim Group              Jefferies LLC             Nexbank
 B.      ACCOUNT NUMBER:                                           x6342                    x4686                   x4693                    x1885                    x0932                   x5891                    TOTAL
 C.      PURPOSE (TYPE):                                         Operating                Operating               Insurance                Brokerage                Brokerage                  CD
                                                 1
 1.     BALANCE PER BANK STATEMENT                         $               15,004   $           8,562,272   $               132,822   $              245,849   $              410,108   $             136,105   $        9,502,160
 2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                        $              -
 3.     SUBTRACT: OUTSTANDING CHECKS                                                $                 751                                                                                                       $              751
 4.     OTHER RECONCILING ITEMS                                                                                                                                                                                 $              -
 5.     MONTH END BALANCE PER BOOKS                        $               15,004   $          8,561,521    $               132,822   $              245,849   $              410,108   $             135,205   $        9,501,409
 6.     NUMBER OF LAST CHECK WRITTEN                               18133                   100009                    n/a                      n/a                      n/a                     n/a




 INVESTMENT ACCOUNTS

                                                                 DATE OF                  TYPE OF                PURCHASE                                                                                           CURRENT
 BANK, ACCOUNT NAME & NUMBER                                    PURCHASE                INSTRUMENT                 PRICE                                                                                             VALUE
 7.
 8.
 9.
 10.
 11.                 TOTAL INVESTMENTS                                                                                           $0                                                                                            $0


 CASH

 12.                            CURRENCY ON HAND                                                                                                                                                                               $0

 13.                            TOTAL CASH - END OF MONTH                                                                                                                                                               $9,501,409

 1      For Compass account x6342, subsequent to year end balance was transferred to the East West operating account and the account was closed.




                                                                                                                                                                                                  Appx. 00823
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                                                                                                                                                  Monthly Operating Report
                                                                                                                                                                 ACCRUAL BASIS-6
 CASE NAME:                                                 Highland Capital Management

 CASE NUMBER:                                               19-34054


                                                                                                                                      MONTH:               December 2019

 PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                     INSIDERS
                                                                        TYPE OF                     AMOUNT                TOTAL PAID
               NAME                                                    PAYMENT                       PAID                POST PETITION
 1        Frank Waterhouse                                  Salary                                       $29,167                       $72,917
 2        Frank Waterhouse                                  Expense Reimbursement                             $1,003                    $1,508
 3        Scott Ellington                                   Salary                                       $37,500                       $93,750
 4        Scott Ellington                                   Expense Reimbursement                               $24                     $2,034
 5        James Dondero                                     Salary                                       $46,875                      $117,188
                                                                                      1
 6        James Dondero                                     Expense Reimbursement                             $1,077                   $16,346
 7        Thomas Surgent                                    Salary                                       $33,333                       $83,333
 8        Thomas Surgent                                    Expense Reimbursement                             $1,007                    $1,254
 9        Trey Parker                                       Salary                                       $29,167                       $72,917
 10 Trey Parker                                    Expense Reimbursement                                    $240                          $665
                                 TOTAL PAYMENTS TO INSIDERS                                             $179,393                      $461,911

          The total amount of reimbursements during the reporting month also included $24,556 for use of the credit card by the Debtor for office related expenses such as subscriptions,
      1
          employee lunches, vending supplies, IT equipment/software, employee gifts/awards, non-employee related travel, training and postage.

                                                                                                          2
                                                                             PROFESSIONALS
                                                                  DATE OF COURT                                                                                             TOTAL
                                                                ORDER AUTHORIZING      AMOUNT                               AMOUNT                  TOTAL PAID            INCURRED
                  NAME                                              PAYMENT           APPROVED                               PAID                    TO DATE              & UNPAID
 1.
 2.
 3.
 4.
 5.
 6.       TOTAL PAYMENTS TO PROFESSIONALS                                                                                                    $0                   $0                  $0

      2 Does not include payments to ordinary course professionals.

 POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
 PROTECTION PAYMENTS

                                                                                                  SCHEDULED                 AMOUNTS
                                                                                                   MONTHLY                    PAID                    TOTAL
                                                                                                   PAYMENTS                  DURING                   UNPAID
                                      NAME OF CREDITOR                                                DUE                    MONTH                 POSTPETITION
 1.       Crescent TC Investors LP (rent portion only)                                                   130,364                      130,364                    -
 2.
 3.
 4.
 5.
 6.       TOTAL                                                                                          130,364                      $130,364                    $0




                                                                                                                                                                     Appx. 00824
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                                                                                                Monthly Operating Report
                                                                                                              ACCRUAL BASIS-7
    CASE NAME:                 Highland Capital Management


    CASE NUMBER:               19-34054

                                                                                       MONTH:           December 2019

    QUESTIONNAIRE

                                                                                                        YES                NO
    1.    HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                            x
          THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
    2.    HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                          x
          OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
    3.    ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                          x
          LOANS) DUE FROM RELATED PARTIES?
    4.    HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                          x
          THIS REPORTING PERIOD?
    5.    HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                            x
          DEBTOR FROM ANY PARTY?
    6.    ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                      x
    7.    ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                            x
          PAST DUE?
    8.    ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                  x
    9.    ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                        x
    10.   ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                            x
          DELINQUENT?
    11.   HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                            x
          REPORTING PERIOD?
    12.   ARE ANY WAGE PAYMENTS PAST DUE?                                                                                   x

    IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
    EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.
      2 $272,727 of funds transferred from non-debtor-in-possession accounts to debtor-in-possession account.
      3 Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
        further discussion.
      4 Payments have been made on prepetition liabilities, as approved in the critical vendor motion.

    INSURANCE
                                                                                                        YES                NO
    1.    ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                          x
          NECESSARY INSURANCE COVERAGES IN EFFECT?
    2.    ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                          x
    3.    PLEASE ITEMIZE POLICIES BELOW.


    IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
    CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
    BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.




                                                        INSTALLMENT PAYMENTS
            TYPE OF                                                                                      PAYMENT AMOUNT
            POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY




                                                                                                                           Appx. 00825
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                                EXHIBIT 42




                                                                          Appx. 00826
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                                                                            Monthly Operating Report
                                                                            ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                   September           2020
                                                MONTH             YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                               Chief Restructuring Officer/ Chief Executive Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                          TITLE

    James Seery
    PRINTED NAME OF RESPONSIBLE PARTY                                                 DATE



    PREPARER:

                                                               Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                                    TITLE

    Frank Waterhouse
    PRINTED NAME OF PREPARER                                                          DATE




                                                                                                   Appx. 00827
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                                                                                                                                  Monthly Operating Report
                                                                                                                                                  ACCRUAL BASIS-1

             CASE NAME:                                                                  Highland Capital Management, LP


             CASE NUMBER:                                                                19-12239-CSS


          Comparative Balance Sheet
          (in thousands)



                                                                                              10/15/2019              12/31/2019 (6)              9/30/2020 (6)

             Assets

                                 Cash and cash equivalents                                            2,529                    9,501                      5,888
                                 Investments, at fair value(3)                                     232,620                  232,820                     109,479
                                                           (3)
                                 Equity method investees                                           161,819                  183,529                     101,213
                                 Management and incentive fee receivable                             2,579                    1,929                       3,350
                                 Fixed assets, net                                                   3,754                    3,521                       2,823
                                                     (1)
                                 Due from affiliates                                               151,901                  146,276                     152,585
                                 Reserve against notes recievable                                                           (57,963)                    (59,140)
                                 Other assets                                                       11,311                   11,463                      12,105
             Total assets                                                                 $        566,513           $      531,076           $         328,302



             Liabilities and Partners' Capital

                                                                 (4)
                                 Pre-petition accounts payable                                        1,176                    1,141                      1,051
                                                                  (4)
                                 Post-petition accounts payable                                         -                      2,042                        583
                                 Secured debt:
                                       Frontier                                                      5,195                    5,195                       5,195
                                       Jefferies                                                    30,328                   30,020                         -
                                                                        (4)
                                 Accrued expenses and other liabilities                             59,203                   63,275                      58,733
                                                                        (5)
                                 Accrued re-organization related fees                                   -                      5,547                      5,922
                                 Claim accrual (2)                                                  73,997                   73,997                      73,997
                                 Partners' capital                                                 396,614                  349,857                     182,821
             Total liabilities and partners' capital                                      $        566,513           $      531,076           $         328,302




                           (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                 reserved against ($59M reserve). Fair value has not been determined with respect to any of the notes.
                           (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                 interest has been accrued beyond petition date. No additional accruals will be made on settlement claims until further
                                 approval by the court.
                           (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                 readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                 not been updated as of period end as statements are generally available on a one-month lag.
                           (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                 recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                 estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                 include both pre-petition and post-petition liabilities.
                           (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                 incurred to date.
                           (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                 the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.




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                                                                                                                                                                                                             Monthly Operating Report
                                                                                                                                                                                                                                  ACCRUAL BASIS-2
                                 CASE NAME:                                Highland Capital Management, LP

                                 CASE NUMBER:                              19-12239-CSS

Income Statement1
(in thousands)
                                                                                                                        Date                    Filing to Year Ended (4)                   Month ended (4)                Filing to date (4)
                                                                                                                 10/16/19 - 10/31/19                      2019                               9/30/2020
                                 Revenue:
                                  Management fees                                                                                        975                         4,528                               1,495                         18,993
                                  Shared services fees                                                                                   283                         1,588                                 645                          7,248
                                  Other income                                                                                            99                         1,582                                 401                          5,058

                                       Total operating revenue                                                                         1,357                         7,697                               2,541                        31,299

                                 Operating expenses:
                                  Compensation and benefits                                                                              997                         1,498                               1,668                         15,778
                                  Professional services                                                                                  256                            64                                 190                          2,167
                                  Investment research and consulting                                                                       10                          266                                 241                            960
                                  Marketing and advertising expense                                                                      -                             370                                  36                            521
                                  Depreciation expense                                                                                     82                          244                                  76                            940
                                  Bad debt expense reserve                                                                                  -                        8,410                                 124                          9,586
                                  Other operating expenses                                                                               201                         1,265                                 463                          4,665

                                       Total operating expenses                                                                        1,545                       12,118                                2,799                        34,617

                                 Operating income/(loss)                                                                               (188)                        (4,421)                               (258)                       (3,318)

                                 Other income/expense:
                                  Interest income                                                                                        250                         1,230                                  488                         5,616
                                  Interest expense                                                                                      (107)                         (286)                                 (21)                         (675)
                                  Reserve against notes receivable                                                                         -                       (57,963)                                   -                       (57,963)
                                    Re-org related expenses (2)                                                                            -                        (5,547)                             (3,816)                       (28,800)
                                    Independent director fees                                                                              -                           -                                   (30)                        (1,977)
                                    Other income/expense                                                                                  32                             32                                 (6)                          (144)
                                       Total other income/expense                                                                       175                       (62,534)                              (3,386)                      (83,943)


                                    Net realized gains/(losses) on investments                                                           339                            618                              1,133                        (27,738)
                                    Net change in unrealized gains/(losses) of investments (3)                                         2,654                          (955)                              1,480                        (36,847)

                                                                                                                                       2,993                          (337)                              2,613                       (64,585)
                                                                                                       (3)
                                 Net earnings/(losses) from equity method investees                                                      (20)                       14,918                                  337                       (67,564)

                                       Net income/(loss)                                                          $                    2,959      $               (52,374)             $                  (694)       $             (219,410)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not yet
received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a NAV
statement have not been updated as of period end as statements are generally available on a one-month lag.

(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.




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                                                                                                      Monthly Operating Report Monthly Operating Report
                                                                                                                  ACCRUAL BASIS-3A                       ACCRUAL BASIS-3A
 CASE NAME:                     Highland Capital Management

 CASE NUMBER:                   19-34054



                                                                           FILING TO YEAR END
 CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   QUARTER 1           QUARTER 2          SEPTEMBER            QUARTER 3
 1. CASH - BEGINNING OF MONTH                                              $             2,554,230    $       9,501,409   $     12,532,467   $      10,025,528    $     14,993,872
 RECEIPTS FROM OPERATIONS
 2.   OTHER OPERATING RECEIPTS                                             $             1,862,757    $       1,379,338   $      2,983,221   $        716,191     $      2,259,736
 3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $             3,156,742    $       7,555,297   $      6,179,437   $       1,515,102    $      5,575,680
 COLLECTION OF ACCOUNTS RECEIVABLE
 4    PREPETITION                                                          $             3,593,108    $         76,569    $          3,727   $             -      $             -
 5    POSTPETITION 1                                                       $                    -     $             -     $            -     $             -      $             -
 6  TOTAL OPERATING RECEIPTS                                               $             8,612,608    $       9,011,204   $      9,166,385   $       2,231,293    $      7,835,415
 NON-OPERATING RECEIPTS
    THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
 7                                                                         $               423,468    $      18,992,786   $       797,571    $        389,357     $        610,254
 8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $             1,338,069    $        477,479    $        74,376    $           1,769    $          5,311
 9    OTHER (ATTACH LIST)                                                  $             3,390,286    $       1,407,103   $     10,010,000   $         67,099     $      8,817,099
 10   TOTAL NON-OPERATING RECEIPTS                                         $             5,151,822    $      20,877,369   $     10,881,947   $        458,225     $      9,432,664
 11   TOTAL RECEIPTS                                                       $            13,764,430    $      29,888,573   $     20,048,331   $       2,689,517    $     17,268,080
 12 TOTAL CASH AVAILABLE                                                                                                                     $      12,715,045    $     32,261,951
 OPERATING DISBURSEMENTS
 13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                             $             3,776,446    $       8,825,042   $      4,886,314   $       1,428,122    $      8,806,880
 14   SINGAPORE SERVICE FEES                                               $                95,118    $         58,129    $          2,965   $             -      $             -
 15   HCM LATIN AMERICA                                                    $               200,000    $        100,000    $            -     $             -      $             -
 16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                             $             1,426,987    $       7,812,469   $      3,087,163   $             -      $        979,631
 17   UTILITIES                                                            $                    -     $             -     $            -     $             -      $             -
 18   INSURANCE                                                            $                    -     $        533,940    $       376,376    $             -      $        163,400
 19   INVENTORY PURCHASES                                                  $                    -     $             -     $            -     $             -      $             -
 20   VEHICLE EXPENSES                                                     $                    -     $             -     $            -     $             -      $             -
 21   TRAVEL                                                               $                    -     $             -     $            -     $             -      $             -
 22   ENTERTAINMENT                                                        $                    -     $             -     $            -     $             -      $             -
 23   REPAIRS & MAINTENANCE                                                $                    -     $             -     $            -     $             -      $             -
 24   SUPPLIES                                                             $                    -     $             -     $            -     $             -      $             -
 25   ADVERTISING                                                          $                    -     $             -     $            -     $             -      $             -
 26   OTHER (ATTACH LIST)                                                  $             1,318,700    $       3,283,898   $      3,195,054   $       1,286,630    $      3,633,331
 27 TOTAL OPERATING DISBURSEMENTS                                          $             6,817,251    $      20,613,478   $     11,547,870   $       2,714,752    $     13,583,243
 REORGANIZATION EXPENSES
 28   PROFESSIONAL FEES                                                    $                    -     $       5,460,546   $      5,572,032   $       3,902,480    $     11,551,682
 29   U.S. TRUSTEE FEES                                                    $                    -     $         68,173    $       167,025    $             -      $        277,924
 30   OTHER (ATTACH LIST)                                                  $                    -     $         715,317   $        300,000   $         210,000    $        961,289
 31   TOTAL REORGANIZATION EXPENSES                                        $                    -     $       6,244,037   $      6,039,057   $       4,112,480    $     12,790,896
 32   TOTAL DISBURSEMENTS                                                  $             6,817,251    $      26,857,515   $     17,586,927   $       6,827,232    $     26,374,138
 33   NET CASH FLOW                                                        $             6,947,179    $       3,031,058   $      2,461,404   $      (4,137,715) $        (9,106,059)
 34   CASH - END OF MONTH                                                  $             9,501,409    $      12,532,467   $     14,993,872   $       5,887,813    $      5,887,813

 1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.




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       CASE NAME:     Highland Capital Management

       CASE NUMBER:   19-34054

       OPERATING RECEIPTS - OTHER

                                   Date             Amount        Type
                                                        67,098.85 Nexpoint Real Estate Strategies Fund redemption

       OPERATING DISBURSMENTS - INVESTMENT

                                   Date             Amount        Type
                                                       383,041.29 Carey term-loan purchase


       OPERATING DISBURSMENTS - OTHER

                                    Date            Amount           Vendor
                                  9/1/2020              18,412.07   Ace Parking Management Inc.
                                  9/1/2020               2,257.01   Bloomberg Finance LP
                                  9/1/2020               3,009.00   Brighthouse Life Insurance Company
                                  9/1/2020              10,611.00   Brighthouse Life Insurance Company
                                  9/1/2020               1,889.22   Canteen Vending Services
                                  9/1/2020                 145.20   Chase Couriers, Inc
                                  9/1/2020                 950.00   Crescent Research
                                  9/1/2020             144,048.21   Crescent TC Investors LP
                                  9/1/2020               2,067.50   CT Corporation System
                                  9/1/2020              37,583.75   Third Party Consultant
                                  9/1/2020               1,548.97   GRUBHUB for Work
                                  9/1/2020              47,654.00   Houlihan Lokey
                                  9/1/2020               7,617.26   ICE Data Pricing & Reference Data, LLC
                                  9/1/2020               9,500.00   Ipreo Data Inc.
                                  9/1/2020                  89.24   Iron Mountain Records Management
                                  9/1/2020                 495.86   Jordan Fraker Photography
                                  9/1/2020               3,392.01   NYSE MARKET, INC
                                  9/1/2020               3,051.14   Oak Cliff Office Products
                                  9/1/2020               1,625.00   Paessler
                                  9/1/2020                 441.34   ProStar Services, Inc
                                  9/1/2020                 107.15   UPS Supply Chain Solutions
                                  9/9/2020               5,884.76   ABM
                                  9/9/2020                 432.00   Ace Parking Management Inc.
                                  9/9/2020                 600.00   Action Shred of Texas
                                  9/9/2020               1,492.38   Canteen Vending Services
                                  9/9/2020                 510.61   CDW Direct
                                  9/9/2020              11,131.97   CT Corporation System
                                  9/9/2020               1,617.81   GRUBHUB for Work
                                  9/9/2020              47,470.00   Houlihan Lokey
                                  9/9/2020              35,200.00   Intex Solutions, Inc.
                                  9/9/2020               2,668.57   Iron Mountain Records Management
                                  9/9/2020               7,500.00   MacroMavens, LLC
                                  9/9/2020               1,570.00   MICRO-TEL
                                  9/9/2020                 507.47   ProStar Services, Inc
                                  9/9/2020              16,355.06   S&P Global Market Intelligence
                                  9/9/2020             151,448.26   Siepe Services, LLC
                                  9/9/2020              18,042.03   Siepe Software, LLC
                                  9/9/2020                 535.34   Standard Insurance Company
                                  9/9/2020               6,369.17   TW Telecom Holdings, llc
                                  9/9/2020               6,866.42   Willis of Texas, Inc.
                                 9/11/2020                 263.81   Directv, LLC
                                 9/11/2020               1,000.00   Pitney Bowes- Purchase Power
                                 9/11/2020               4,335.10   Third Party Consultant
                                 9/14/2020                 500.00   Pitney Bowes
                                 9/17/2020               2,082.70   Zayo Group, LLC
                                 9/18/2020                 253.94   Arkadin, Inc.
                                 9/18/2020               4,192.71   Third Party Consultant
                                 9/18/2020               2,955.06   AT&T
                                 9/18/2020                 137.50   AT&T
                                 9/18/2020                 768.58   Audio Visual Innovations, Inc.
                                 9/18/2020               8,140.16   Bloomberg Finance LP
                                 9/18/2020               1,636.20   Canteen Vending Services
                                 9/18/2020              21,863.25   CDW Direct
                                 9/18/2020                 700.00   Centroid
                                 9/18/2020               4,059.81   Concur Technologies, Inc.
                                 9/18/2020                 369.00   CT Corporation System
                                 9/18/2020               3,031.00   Daltex Janitorial Services, LLC
                                 9/18/2020                 859.36   DTCC ITP LLC
                                 9/18/2020              11,887.73   Flexential Colorado Corp.
                                 9/18/2020               2,162.11   Grubhub for Work
                                 9/18/2020               3,762.48   ICE Data Pricing & Reference Data, LLC
                                 9/18/2020                 112.21   Iron Mountain Records Management
                                 9/18/2020               3,766.00   MacroView Business Technology
                                 9/18/2020               2,128.81   NYSE Market, Inc
                                 9/18/2020                 548.83   Pitney Bowes Financial Services
                                 9/18/2020               6,757.16   Proofpoint
                                 9/18/2020               2,466.10   Thomson West
                                 9/18/2020                 301.48   UPS Supply Chain Solutions
                                 9/18/2020                 259.80   Venture Mechanical, Inc.
                                 9/18/2020                 273.47   Verity Group
                                 9/18/2020                 416.57   Analysis Charge
                                 9/18/2020                  23.00   Chase Couriers
                                 9/25/2020              16,750.65   Ace Parking Management Inc.
                                 9/25/2020               1,740.82   AT&T
                                 9/25/2020                 763.22   AT&T
                                 9/25/2020               7,147.16   AT&T
                                 9/25/2020               1,431.77   Canteen Vending Services
                                 9/25/2020               2,491.11   CDW Direct
                                 9/25/2020              15,000.00   Centroid
                                 9/25/2020                  58.62   Chase Couriers
                                 9/25/2020                 320.70   CT Corporation System
                                 9/25/2020               7,752.34   Fitch Solutions, Inc.
                                 9/25/2020                 484.96   Four Seasons Plantscaping, LLC
                                 9/25/2020               1,480.74   Grubhub for Work
                                 9/25/2020               4,840.01   Liberty Life Assurance Company of Boston - Group Benefits
                                 9/25/2020                 562.50   Maples & Calder
                                 9/25/2020             124,634.61   Siepe Services, LLC
                                 9/28/2020               1,412.83   Southland Property Tax Consultants, Inc
                                 9/29/2020                 980.96   Xerox Corporation
                                 9/30/2020              11,000.00   Third Party Consultant
                                 9/30/2020                  25.00   Bank fees returned Foley Wire
                                                          903,589

       REORGANIZATION EXPENSES - OTHER

                                   Date             Amount          Description
                                 9/1/2020                   30,000 Dubel & Associates, L.L.C.
                                 9/1/2020                  150,000 J.P. Seery & Co. LLC
                                 9/1/2020                   30,000 Nelms and Associates
                                                           210,000




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                                                                                                                          Monthly Operating Report
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  CASE NAME:                               Highland Capital Management

  CASE NUMBER:                             19-34054


  MGMT FEE RECEIVABLE AGING 2                                           June '3                July '3                   August '3              September '3
  1.       0-30                                                   $       1,813,292                $2,428,715                $1,768,818              $2,577,696
  2.       31-60                                                         $1,163,000               $1,285,718                   $772,384
  3.       61-90                                                                                                                                           $772,384
  4.       91+
  5.       TOTAL MGMT FEE RECEIVABLE                              $       2,976,292    $             3,714,432   $             2,541,202              $3,350,080
  6.       AMOUNT CONSIDERED UNCOLLECTIBLE
  7.       MGMT FEE RECEIVABLE (NET)                              $       2,976,292    $             3,714,432   $             2,541,202              $3,350,080


  AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                    September 2020

                                                   0-30                 31-60                  61-90                       91+
  TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
  1.  FEDERAL                                                                                                                                                   $0
  2.  STATE                                                                                                                                                     $0
  3.  LOCAL                                                                                                                                                     $0
  4.  OTHER (ATTACH LIST)                                                                                                                                       $0
  5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                       $0

  6.       ACCOUNTS PAYABLE                           $418,457              $16,057                         $0                  $320,995                   $755,509


  STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                    September 2020

                                                                      BEGINNING               AMOUNT                                             ENDING
                                                                         TAX               WITHHELD AND/                AMOUNT                     TAX
  FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
  1.  WITHHOLDING                                                                                                                                               $0
  2.  FICA-EMPLOYEE                                                                                                                                             $0
  3.  FICA-EMPLOYER                                                                                                                                             $0
  4.  UNEMPLOYMENT                                                                                                                                              $0
  5.  INCOME                                                                                                                                                    $0
  6.  OTHER (ATTACH LIST)                                                                                                                                       $0
  7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                       $0
  STATE AND LOCAL
  8.  WITHHOLDING                                                                                                                                               $0
  9.  SALES                                                                                                                                                     $0
  10. EXCISE                                                                                                                                                    $0
  11. UNEMPLOYMENT                                                                                                                                              $0
  12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
  13. PERSONAL PROPERTY                                                                                                                                         $0
  14. OTHER (ATTACH LIST)                                                                                                                                       $0
  15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                       $0
  16. TOTAL TAXES                                                                $0                         $0                         $0                       $0

       1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
           withholdings.
       2   Aging based on when management fee is due and payable.
       3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.




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                                                                                                                                                                                    Monthly Operating Report
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 CASE NAME:                    Highland Capital Management

 CASE NUMBER:                  19-34054


                                                                                            MONTH:                 September                                                                              2020
 BANK RECONCILIATIONS
                                                               Account #1             Account #2              Account #3             Account #4             Account #5                Account #6
 A.      BANK:                                               East West Bank         East West Bank           Maxim Group            Jefferies LLC            Nexbank                East West Bank
 B.      ACCOUNT NUMBER:                                         x4686                  x4693                   x1885                  x0932                  x5891                     x5848                    TOTAL
 C.      PURPOSE (TYPE):                                       Operating              Insurance               Brokerage              Brokerage                 CD                    Prepaid Card
                                    1
 1.     BALANCE PER BANK STATEMENT                     $            5,617,167   $              32,373    $                 30   $                   -   $             138,190   $             100,052     $        5,887,812
 2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                  $              -
 3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                      $              -
 4.     OTHER RECONCILING ITEMS                                                                                                                                                                           $              -
 5.     MONTH END BALANCE PER BOOKS                    $            5,617,167   $               32,373   $                 30   $                   -   $             138,190   $               100,052   $        5,887,812
 6.     NUMBER OF LAST CHECK WRITTEN                            100510                   n/a                     n/a                    n/a                    n/a                       n/a



 INVESTMENT ACCOUNTS

                                                               DATE OF                TYPE OF                PURCHASE                                                                                         CURRENT
 BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                 PRICE                                                                                           VALUE
 7.
 8.
 9.
 10.
 11.                 TOTAL INVESTMENTS                                                                                     $0                                                                                            $0


 CASH

 12.                           CURRENCY ON HAND                                                                                                                                                                          $0

 13.                           TOTAL CASH - END OF MONTH                                                                                                                                                          $5,887,812

 1      Account x6342 is now closed.




                                                                                                                                                                                            Appx. 00833
Case 21-03005-sgj Doc 134-1 Filed 12/18/21                                                         Entered 12/18/21 02:10:25                                   Page 835 of 896



 Case
 Case 19-34054-sgj11
      21-03003-sgj Doc
                     Doc
                       11-18
                         1329Filed
                              Filed03/30/21
                                    11/03/20 Entered
                                              Entered03/30/21
                                                      11/03/2011:24:52
                                                               15:44:31 Page
                                                                         Page9 8ofof109



                                                                                                                                                  Monthly Operating Report
                                                                                                                                                                 ACCRUAL BASIS-6
 CASE NAME:                                                  Highland Capital Management

 CASE NUMBER:                                                19-34054


                                                                                                                                      MONTH:               September 2020

 PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                       INSIDERS
                                                                          TYPE OF                   AMOUNT                TOTAL PAID
               NAME                                                      PAYMENT                     PAID                POST PETITION
 1        Frank Waterhouse                                   Salary                                       $33,333                     $360,417
 2        Frank Waterhouse                                   Expense Reimbursement                           $807                        $5,918
 3        Scott Ellington                                    Salary                                       $37,500                     $431,250
 4        Scott Ellington                                    Expense Reimbursement                           $252                        $6,095
 5        James Dondero                                      Salary                                            $0                     $129,972
                                                                                      1
 6        James Dondero                                      Expense Reimbursement                             $0                      $16,918
 7        Thomas Surgent                                     Salary                                       $33,333                     $383,333
 8        Thomas Surgent                                     Expense Reimbursement                           $456                        $4,222
 9        Trey Parker                                        Salary                                            $0                     $131,250
 10 Trey Parker                                    Expense Reimbursement                                      $0                        $6,212
                                 TOTAL PAYMENTS TO INSIDERS                                             $105,681                    $1,475,585

          The total amount of reimbursements during the reporting month also included $5,675 for use of the credit card by the Debtor for office related expenses such as subscriptions,
      1
          vending supplies, and IT equipment/software.



                                                                                   PROFESSIONALS 2
                                                                           DATE                                                                                             TOTAL
                                                                        OF MONTHLY           AMOUNT                         AMOUNT                  TOTAL PAID            INCURRED
                  NAME                                                FEE APPLICATION       APPROVED                         PAID                    TO DATE              & UNPAID
 1. Kurtzman Carson Consultants LLC                                                                        41,966                        41,966              532,521              95,605
 2. Sidley Austin LLP                                                                                     814,318                      814,318             5,807,091           1,333,420
 3. Young Conaway Stargatt & Taylor LLP                                                                                                     -                281,156                  -
 4. FTI Consulting, Inc.                                                                                  626,333                      626,333             3,607,292             559,823
 5. Pachulski Stang Ziehl & Jones LLP                                                                   1,283,329                     1,283,329            8,435,219           1,512,143
 6        Hayward & Associates PLLC                                                                        60,736                        60,736              256,412              10,828
 7        Development Specialists, Inc.                                                                   237,828                      237,828             2,351,224             249,129
 8        Foley & Lardner LLP                                                                                 -                                              464,294             119,516
 9        Mercer (US) Inc.                                                                                 54,328                        54,328              170,284                  -
 10 Wilmer Cutler Pickering Hale and Dorr LLP                                                             618,643                      618,643               618,643
 11 Meta-e Discovery LLC                                                                                  165,000                       165,000             165,000
    TOTAL PAYMENTS TO PROFESSIONALS                                                                                                   3,902,480          22,689,136            3,880,463

      2 Does not include payments to ordinary course professionals.

 POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
 PROTECTION PAYMENTS

                                                                                                  SCHEDULED                 AMOUNTS
                                                                                                   MONTHLY                    PAID                    TOTAL
                                                                                                   PAYMENTS                  DURING                   UNPAID
                                      NAME OF CREDITOR                                                DUE                    MONTH                 POSTPETITION
 1. Crescent TC Investors LP (rent portion only)                                                          130,364                      130,364                   -
 2.
 3.
 4.
 5.
 6. TOTAL                                                                                                 130,364                     $130,364                    $0




                                                                                                                                                                     Appx. 00834
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 Case
 Case 21-03003-sgj
      19-34054-sgj11
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                                                                                        9




                                                                                                   Monthly Operating Report
                                                                                                                  ACCRUAL BASIS-7
   CASE NAME:                    Highland Capital Management


   CASE NUMBER:                  19-34054

                                                                                           MONTH:           September 2020

   QUESTIONNAIRE

                                                                                                            YES                NO
   1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                                x
            THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
   2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                                x
            OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
   3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                              x
            LOANS) DUE FROM RELATED PARTIES?
   4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                                                x
            THIS REPORTING PERIOD?
   5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                                x
            DEBTOR FROM ANY PARTY?
   6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
   7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                                x
            PAST DUE?
   8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
   9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
   10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                                x
            DELINQUENT?
   11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                                x
            REPORTING PERIOD?
   12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
   EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

        3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
            further discussion.



   INSURANCE
                                                                                                            YES                NO
   1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                              x
            NECESSARY INSURANCE COVERAGES IN EFFECT?
   2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
   3.       PLEASE ITEMIZE POLICIES BELOW.


   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
   CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
   BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                           INSTALLMENT PAYMENTS
               TYPE OF                                                                                      PAYMENT AMOUNT
               POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY




                                                                                                                                 Appx. 00835
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                                EXHIBIT 43




                                                                          Appx. 00836
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                                              PROMISSORY NOTE


        $7,900,000                                                                         :January I8, 2018

                FOR VALUE RECEIVED, JAMES DONDERU ("Maker) promises to pay to the order
        of HIGHLAND CAPITAL MANAGEMENT LP ("Payee"), in legal and lawful tender of the.
        United States of America, the principal sum of SEVEN MILLION, NINE HUNDRED
        THOUSAND and 00/100 Dollars ($7,900,000.00), together with interest, on the terms set forth
        below (the "Note"). All sums hereunder are payable to Payee at 300 Crescent COurt, Dallas, TX
        75201, or such other address as Payee:may specify to Maker in writing from time to time.

                1.     Interest Rate. The unpaid principal balance of this Note from time to time
        outstanding shall bear interest at a rate equal to the long-term "applicable federal rate? (2.59%)
        in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
        Internal Revenue Code, per annum from the date hereof until maturity, cOmpoUnded annually on
        the anniversary of the date of this Note. Interest shall be calculated -at a. daily rate equal to
        1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
        number'of days elapsed, and shall be payable on demand of the Payee.

                2.     Payment of Principal and Interest. The accrued interest and principal of this Note
        shall be due and payable on demand of the Payee.

                3..     Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
        or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
        be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

                4.      Tax Loan. This Note is paid to the Maker to help satisfy any current tax
        obligations of a former partner or current partner.

                5.      Acceleration Upon Default.. Failure to pay. this Note or any installment hereunder
         as it becomes due shall, at the election of the holder hereof, without notice, demand,
         presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
         which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
         and the same shall at once become due and payable and subject to those remedies of the holder
        :hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
         hereunder shall operate as a waiver thereof.

                 4,      Waiver. Maker hereby waives grace, demand,. presentment for payment, notice of
        nonpayment, protest, notice of proteat notice of intent to accelerate, notice of acceleration and
        all lecher notiees.of any kind hereunder.

                7.       Attorneys' Fees. If this Note is not paid_ t maturity (whether bY.aeceicration.or.
         otherwise) and is placedin the hands of.an attorney for collection, or if it is collected through a
         bankruptcy court or any other court after maturity, the Maker. Shall payola addition to .all other
        .amounts owing .hereunder, all actual expenses of collection, all court costs and. reasonable
         attorneys' fees and expenses incurred by the holder hereof,




CONFIDENTIAL                                                                                             D-CNL000550
                                                                                                   Appx. 00837
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               8.       Limitation on Agreements. All agreements between Maker and Payee, whether
        now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
        agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
        performance of any covenant or obligation contained herein or in any other document
        evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
        law. The terms and provisions of this paragraph shall control and supersede every other
        provision of all agreements between Payee and Maker in conflict herewith.

                9.     Governing Law. This Note and the rights and obligations of the parties hereunder
        shall be governed by the laws of the United States of America and by the laws of the State of
        Texas, and is performable in Dallas County, Texas.


                                                             MAKER:
                                                  onmaiGr.




                                                             JAM     D       0




                                                              2



CONFIDENTIAL                                                                                           D-CNL000551
                                                                                                 Appx. 00838
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                               EXHIBIT 44




              INTENTIONALLY

                         OMITTED




                                                                          Appx. 00839
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                             EXHIBIT 45




                   TO BE FILED

                  UNDER SEAL




                                                                          Appx. 00840
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                             EXHIBIT 46




                   TO BE FILED

                  UNDER SEAL




                                                                          Appx. 00841
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                                EXHIBIT 47




                                                                          Appx. 00842
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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

     In re:                                                      §
                                                                 §    Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        §
                                                                 §    Case No. 19-34054-sgj11
                                                                 §
                                     Reorganized Debtor.
                                                                 §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                 §
                                     Plaintiff,                  §    Adversary Proceeding No.
                                                                 §
     vs.                                                         §    21-03005
                                                                 §
     NEXPOINT ADVISORS, L.P., JAMES                              §
     DONDERO, NANCY DONDERO, AND THE                             §
     DUGABOY INVESTMENT TRUST,                                   §
                                                                 §
                                     Defendants.                 §




 1
   The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
 service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
                                                                                                     Appx. 00843
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           PLAINTIFF’S AMENDED NOTICE OF RULE 30(b)(6) DEPOSITION
                         TO NEXPOINT ADVISORS, L.P.

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

 Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

 Bankruptcy Procedure, Highland Capital Management, L.P. (“Highland”), the plaintiff in the

 above-referenced adversary proceeding in the above-captioned chapter 11 case, shall take the

 deposition of NexPoint Advisors, L.P. (“NexPoint”) by the person(s) most qualified to testify on

 NexPoint’s behalf with respect to the topics described in Exhibit A attached hereto on October

 20, 2021, commencing at 9:30 a.m. Central Time or at such other day and time as the Plaintiff

 may agree in writing. The deposition will be taken under oath before a notary public or other

 person authorized by law to administer oaths and will be visually recorded by video or otherwise.

        The deposition will be taken remotely via an online platform due to the coronavirus

 pandemic such that no one will need to be in the same location as anyone else in order to

 participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

 in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

 jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

 information regarding participating in this deposition remotely.




                                                                                      Appx. 00844
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    Dated: October 8, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ John A. Morris
                                      Jeffrey N. Pomerantz (CA Bar No.143717)
                                      Ira D. Kharasch (CA Bar No. 109084)
                                      John A. Morris (NY Bar No. 2405397)
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                                      -and-
                                      HAYWARD PLLC


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                                      Fax: (972) 755-7110
                                      Counsel for Highland Capital Management, L.P.




                                                                            Appx. 00845
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                                                EXHIBIT A

                                               DEFINITIONS

                    1.         “Answer” means Defendant NexPoint Advisors, L.P.’s Answer to Amended

   Complaint, lodged in Adv. Proc. 21-03005 at Docket No. 64.

                    2.         “Communications” means the transmittal of information (in the form of

   facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

   nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

   Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

   pagers, memoranda, and any other medium through which any information is conveyed or

   transmitted.

                    3.         “Concerning” means and includes relating to, constituting, defining,

   evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

   analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                    4.         “Discovery Requests” means Plaintiff’s Requests for Admission,

   Interrogatories, and Requests for Production Directed to NexPoint Advisors, L.P. served on Your

   counsel by e-mail on September 7, 2021.

                    5.         “Document” means and includes all written, recorded, transcribed or

   graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

   disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

   defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

   intangible thing or item that contains any information. Any Document that contains any comment,

   notation, addition, insertion or marking of any type or kind which is not part of another Document,

   is to be considered a separate Document.




   DOCS_NY:44182.4 36027/003
                                                                                              Appx. 00846
Case 21-03005-sgj Doc 134-1 Filed 12/18/21                  Entered 12/18/21 02:10:25        Page 848 of 896

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                    6.         “Note” shall have the meaning ascribed to that term in paragraph 21 of the

   the Amended Complaint for (I) Breach of Contract, (II) Turnover of Property, (III) Fraudulent

   Transfer, and (IV) Breach of Fiduciary Duty, filed by Highland at Adv. Pro. 21-03005, Docket

   No. 63.

                    7.         “You” or “Your” means NexPoint Advisors, L.P., and anyone authorized

   to act on its behalf.

                                                  Rule 30(b)6) Topics

   Topic No. 1:

             Your Answer.

   Topic No. 2:

             Each Affirmative Defense asserted in Your Answer, including but not limited to all facts

   and circumstances, Communications, and Documents Concerning each Affirmative Defense. See

   Answer ¶¶ 80-86.

   Topic No. 3:

             The Note, including but not limited to (a) the negotiation of the Note, (b) the terms of the

   Note, (c) Communications Concerning the Note, (d) any payments of principal or interest made

   by You or on Your behalf with respect to the Note; (e) the use of the proceeds of the Note, (f)

   Your communications with Your outside auditors Concerning the Note and the obligations

   thereunder, and (g) all agreements Concerning the Note.

   Topic No. 4:

             Your responses to the Discovery Requests.




                                                        2
   DOCS_NY:44182.4 36027/003
                                                                                               Appx. 00847
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                                EXHIBIT 48




                                                                          Appx. 00848
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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

     In re:                                                      §
                                                                 §    Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        §
                                                                 §    Case No. 19-34054-sgj11
                                                                 §
                                     Reorganized Debtor.
                                                                 §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                 §
                                     Plaintiff,                  §    Adversary Proceeding No.
                                                                 §
     vs.                                                         §    21-03006
                                                                 §
     HIGHLAND CAPITAL MANAGEMENT                                 §
     SERVICES, INC., JAMES DONDERO, NANCY                        §
     DONDERO, AND DUGABOY INVESTMENT                             §
     TRUST,                                                      §
                                                                 §
                                     Defendants.                 §




 1
   The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
 service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
                                                                                                     Appx. 00849
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           PLAINTIFF’S AMENDED NOTICE OF RULE 30(b)(6) DEPOSITION
             TO HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

 Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

 Bankruptcy Procedure, Highland Capital Management, L.P. (“Highland”), the plaintiff in the

 above-referenced adversary proceeding in the above-captioned chapter 11 case, shall take the

 deposition of Highland Capital Management Services, Inc. (“HCMS”) by the person(s) most

 qualified to testify on HCMS’s behalf with respect to the topics described in Exhibit A attached

 hereto on October 20, 2021, commencing at 9:30 a.m. Central Time or at such other day and

 time as the Plaintiff may agree in writing. The deposition will be taken under oath before a notary

 public or other person authorized by law to administer oaths and will be visually recorded by

 video or otherwise.

        The deposition will be taken remotely via an online platform due to the coronavirus

 pandemic such that no one will need to be in the same location as anyone else in order to

 participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

 in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

 jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

 information regarding participating in this deposition remotely.




                                                                                        Appx. 00850
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    Dated: October 8, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ John A. Morris
                                      Jeffrey N. Pomerantz (CA Bar No.143717)
                                      Ira D. Kharasch (CA Bar No. 109084)
                                      John A. Morris (NY Bar No. 2405397)
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                                      -and-
                                      HAYWARD PLLC


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                                      Counsel for Highland Capital Management, L.P.




                                                                            Appx. 00851
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                                                EXHIBIT A

                                               DEFINITIONS

                    1.         “Answer” means Defendant Defendant Highland Capital Management

   Services, Inc.’s Answer to Amended Complaint, lodged in Adv. Proc. 21-03006 at Docket No. 73.

                    2.         “Communications” means the transmittal of information (in the form of

   facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

   nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

   Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

   pagers, memoranda, and any other medium through which any information is conveyed or

   transmitted.

                    3.         “Concerning” means and includes relating to, constituting, defining,

   evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

   analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                    4.         “Discovery Requests” means Plaintiff’s Requests for Admission,

   Interrogatories, and Requests for Production Directed to Highland Capital Management

   Services, Inc. served on Your counsel by e-mail on September 7, 2021.

                    5.         “Document” means and includes all written, recorded, transcribed or

   graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

   disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

   defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

   intangible thing or item that contains any information. Any Document that contains any comment,

   notation, addition, insertion or marking of any type or kind which is not part of another Document,

   is to be considered a separate Document.




   DOCS_NY:44183.5 36027/003
                                                                                              Appx. 00852
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                    6.         “Demand Notes” shall have the meaning ascribed to that term in paragraph

   24 of the the Amended Complaint for (I) Breach of Contract, (II) Turnover of Property, (III)

   Fraudulent Transfer, and (IV) Breach of Fiduciary Duty, filed by Highland at Adv. Pro. 21-03006,

   Docket No. 68.

                    7.         “You” or “Your” means Highland Capital Management Services, Inc., and

   anyone authorized to act on its behalf.

                                                 Rule 30(b)6) Topics

   Topic No. 1:

            Your Answer.

   Topic No. 2:

            Each Affirmative Defense asserted in Your Answer, including but not limited to all facts

   and circumstances, Communications, and Documents Concerning each Affirmative Defense. See

   Answer ¶¶ 94-102.

   Topic No. 3:

           The Demand Notes, including but not limited to (a) the negotiation of the Demand Notes,

   (b) the terms of the Demand Notes, (c) Communications Concerning the Demand Notes, (d) any

   payments of principal or interest made by You or on Your behalf with respect to the Demand

   Notes; (e) the use of the proceeds of the Demand Notes, (f) Your communications with Your

   outside auditors Concerning the Demand Notes and the obligations thereunder, and (g) all

   agreements Concerning the Demand Notes.

   Topic No. 4:

            Your responses to the Discovery Requests.




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                                                                                             Appx. 00853
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                                EXHIBIT 49




                                                                          Appx. 00854
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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

     In re:                                                      §
                                                                 §    Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        §
                                                                 §    Case No. 19-34054-sgj11
                                                                 §
                                     Reorganized Debtor.
                                                                 §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                 §
                                     Plaintiff,                  §    Adversary Proceeding No.
                                                                 §
     vs.                                                         §    21-03007
                                                                 §
     HCRE PARTNERS LLC (N/K/A NEXPOINT                           §
     REAL ESTATE PARTNERS LLC), JAMES                            §
     DONDERO, NANCY DONDERO, AND THE                             §
     DUGABOY INVESTMENT TRUST,                                   §
                                                                 §
                                     Defendants.                 §




 1
   The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
 service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
                                                                                                     Appx. 00855
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       PLAINTIFF’S AMENDED NOTICE OF RULE 30(b)(6) DEPOSITION
  TO HCRE PARTNERS LLC (N/K/A NEXPOINT REAL ESTATE PARTNERS, LLC).

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

 Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

 Bankruptcy Procedure, Highland Capital Management, L.P. (“Highland”), the plaintiff in the

 above-referenced adversary proceeding in the above-captioned chapter 11 case, shall take the

 deposition of HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) (“HCRE”) by the

 person(s) most qualified to testify on HCRE’s behalf with respect to the topics described in

 Exhibit A attached hereto on October 20, 2021, commencing at 9:30 a.m. Central Time or at

 such other day and time as the Plaintiff may agree in writing. The deposition will be taken under

 oath before a notary public or other person authorized by law to administer oaths and will be

 visually recorded by video or otherwise.

        The deposition will be taken remotely via an online platform due to the coronavirus

 pandemic such that no one will need to be in the same location as anyone else in order to

 participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

 in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

 jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

 information regarding participating in this deposition remotely.




                                                                                      Appx. 00856
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    Dated: October 8, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ John A. Morris
                                      Jeffrey N. Pomerantz (CA Bar No.143717)
                                      Ira D. Kharasch (CA Bar No. 109084)
                                      John A. Morris (NY Bar No. 2405397)
                                      Gregory V. Demo (NY Bar No. 5371992)
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                                      -and-
                                      HAYWARD PLLC


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                                      Counsel for Highland Capital Management, L.P.




                                                                            Appx. 00857
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                                                EXHIBIT A

                                               DEFINITIONS

                    1.         “Answer” means Defendant HCRE Partners, LLC (n/k/a NexPoint Real

   Estate Partners, LLC)’s Answer to Amended Complaint, lodged in Adv. Proc. 21-03007 at Docket

   No. 68.

                    2.         “Communications” means the transmittal of information (in the form of

   facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

   nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

   Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

   pagers, memoranda, and any other medium through which any information is conveyed or

   transmitted.

                    3.         “Concerning” means and includes relating to, constituting, defining,

   evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

   analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                    4.         “Discovery Requests” means Plaintiff’s Requests for Admission,

   Interrogatories, and Requests for Production Directed to HCRE Partners, LLC (n/k/a NexPoint

   Real Estate Partners LLC) served on Your counsel by e-mail on September 7, 2021.

                    5.         “Document” means and includes all written, recorded, transcribed or

   graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

   disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

   defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

   intangible thing or item that contains any information. Any Document that contains any comment,

   notation, addition, insertion or marking of any type or kind which is not part of another Document,

   is to be considered a separate Document.



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                                                                                              Appx. 00858
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                    6.         “Demand Notes” shall have the meaning ascribed to that term in paragraph

   24 of the the Amended Complaint for (I) Breach of Contract, (II) Turnover of Property, (III)

   Fraudulent Transfer, and (IV) Breach of Fiduciary Duty, filed by Highland at Adv. Pro. 21-03006,

   Docket No. 63.

                    7.         “You” or “Your” means HCRE Partners, LLC (n/k/a NexPoint Real Estate

   Partners, LLC), and anyone authorized to act on its behalf.

                                                 Rule 30(b)6) Topics

   Topic No. 1:

            Your Answer.

   Topic No. 2:

            Each Affirmative Defense asserted in Your Answer, including but not limited to all facts

   and circumstances, Communications, and Documents Concerning each Affirmative Defense. See

   Answer ¶¶ 96-104.

   Topic No. 3:

           The Demand Notes, including but not limited to (a) the negotiation of the Demand Notes,

   (b) the terms of the Demand Notes, (c) Communications Concerning the Demand Notes, (d) any

   payments of principal or interest made by You or on Your behalf with respect to the Demand

   Notes; (e) the use of the proceeds of the Demand Notes, (f) Your communications with Your

   outside auditors Concerning the Demand Notes and the obligations thereunder; and (g) any

   agreements Concerning the Demand Notes.

   Topic No. 4:

            Your responses to the Discovery Requests.




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                                                                                             Appx. 00859
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                                EXHIBIT 50




                                                                          Appx. 00860
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         James Dondero
         Compensation and Benefit Statement

         Job Title: Partner
         Department: Executive
         EARNINGS AND AWARDS

         2017 Base Salary (as of 12/31/17)                                                           $2,500,024


         2017 Other Awards
            401(k) Match                                                                              $ 4,800
            Estimated 2017 Profit Sharing (will be contributed in 2018)                               $ 20,250
            *Final profit sharing award subject to passing IRS mandated testing
            2018 NXRT RSU Award                                                                       $1,550,250
                   • You have been granted 65,772 restricted stock units of NXRT for the 2017 performance year


         2017 Total Earnings and Awards                                                              $4,075,324

         HIGHLAND PAID BENEFITS
         Medical & Dental Insurance                                                                  $ 14,134
         Life, AD&D and Disability Insurance                                                         $ 968
         Executive Long Term Disability                                                              $ 1,260
         Daily Catered Lunches                                                                       $ 3,000
         Parking                                                                                     $ 2,160
         Cell Phone                                                                                  $ 1,680

         2017 Estimated Total Value of Highland Paid Benefits                                        $ 23,203

         TOTAL COMPENSATION PACKAGE                                                                  $4,098,527




HIGHLY CONFIDENTIAL                                                                                     D-CNL003587
                                                                                                  Appx. 00861
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                                EXHIBIT 51




                                                                          Appx. 00862
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         James Dondero
         Compensation and Benefit Statement

         Job Title: Partner
         Department: Executive
         EARNINGS AND AWARDS

         2018 Base Salary (as of 12/31/18)                                                          $2,500,000




         2018 Other Awards
            401(k) Match                                                                             $ 4,800
            Estimated 2018 Profit Sharing (will be contributed in 2019)                              $ 20,625
            *Final profit sharing award subject to passing IRS mandated testing
            2019 NXRT RSU Award                                                                      $1,669,500
                   • You have been granted 44,520 restricted stock units of NXRT for the 2018 performance year


         2018 Total Earnings and Awards                                                             $4,194,925

         HIGHLAND PAID BENEFITS
         Medical & Dental Insurance                                                                 $ 14,192
         Life, AD&D and Disability Insurance                                                        $ 1,044
         Executive Long Term Disability                                                             $ 1,260
         Daily Catered Lunches                                                                      $ 3,000
         Parking                                                                                    $ 2,160
         Cell Phone                                                                                 $ 1,680

         2018 Estimated Total Value of Highland Paid Benefits                                       $ 23,336

         TOTAL COMPENSATION PACKAGE                                                                 $4,218,262




HIGHLY CONFIDENTIAL                                                                                    D-CNL003588
                                                                                                   Appx. 00863
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                                EXHIBIT 52




                                                                          Appx. 00864
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         James Dondero
         Compensation and Benefit Statement

         Job Title: Partner
         Department: Executive
         EARNINGS AND AWARDS

         2019 Base Salary (as of 12/31/19)                                                 $2,500,000




         2019 Other Awards
             401(k) Match                                                                  $ 5,000
             Estimated 2019 Profit Sharing (will be contributed in 2020)                   $ 21,000
         *Final profit sharing award subject to passing IRS mandated testing
             2019 Deferred Compensation Award                                              $5,608,500
                    • $2,465,000 grant amount in NXRT; 5-year vesting period
                    • $850,500 grant amount in NREF; 4-year vesting period
                    • $1,771,000 grant amount in VineBrook; 4-year vesting period


         2019 Total Earnings and Awards                                                    $8,134,500

         HIGHLAND PAID BENEFITS
         Medical & Dental Insurance                                                        $ 14,417
         Life, AD&D and Disability Insurance                                               $ 1,044
         Executive Long Term Disability                                                    $ 1,260
         Daily Catered Lunches                                                             $ 3,000
         Parking                                                                           $ 2,160
         Cell Phone                                                                        $ 1,680

         2019 Estimated Total Value of Highland Paid Benefits                              $ 23,562

         TOTAL COMPENSATION PACKAGE                                                        $8,158,062




HIGHLY CONFIDENTIAL                                                                            D-CNL003589
                                                                                         Appx. 00865
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                                EXHIBIT 53




                                                                          Appx. 00866
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                                                                   D-CNL003768

                                                                          Appx. 00867
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 fwaterhouse@highlandcapital.com | www.highlandcapital.com




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                                                                                    D-CNL003769
                                                                                     Appx. 00868
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                                                                                 D-CNL003770

                                                                                           Appx. 00869
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                                EXHIBIT 54




                                                                          Appx. 00870
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                                                                   D-CNL003777

                                                                          Appx. 00871
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                                     PROMISSORY NOTE


$2,400,000.00                                                                         May 2, 2019


       FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT FUND
ADVISORS, LP. (“Maker”) promises to pay to the order of HIGHLAND CAPITAL
MANAGEMENT, LP (“Payee”), in legal and lawful tender of the United States of America, the
principal sum of TWO MILLION FOUR HUNDRED THOUSAND and 00/100 Dollars
($2,400,000.00), together with interest, on the terms set forth below (the “Note”). All sums
hereunder are payable to Payee at 300 Crescent Court, Dallas, TX 75201, or such other address
as Payee may specify to Maker in writing from time to time.

        1.     Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest. The accrued interest and principal of this Note
shall be due and payable on demand.

        3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

       4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a waiver thereof.

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

       6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys’ fees and expenses incurred by the holder hereof.




                                                                                D-CNL003778
                                                                                        Appx. 00872
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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                             MAKER:




                                             FRANK WATERHOUSE




                                                2
                                                                                D-CNL003779
                                                                                       Appx. 00873
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                                EXHIBIT 55




                                                                          Appx. 00874
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                                       5/2/2019 Wires

                                                             Description                            Notes
HCM
HCMFA                                  USD    2,400,000.00   Loan
Siepe Services                         USD      187,856.26   March
HCM *513                               USD      123,842.97   May 2019 BCBS
Select                                 USD      100,000.00   Margin Call
CDW                                    USD        4,145.57
CT Corp                                USD        1,077.75


HCMFA
Highland Opp Credit Fund               USD      27,694.31
HCM *513                               USD      19,968.45 May 2019 BCBS
Highland Merger Arb                    USD      18,494.04 April 2019 Advisory Fees
Highland Tax Exempt                    USD      12,783.25
Morgan Stanley                         USD      11,107.39
Highland MLP Fund                      USD      10,354.06
Wells Fargo                            USD       7,814.20
Pershing                               USD       5,719.83
Highland Commissions DDA               USD       5,000.00 DST Daily Commissions Debit Account Funding
Financial Data Services                USD         277.66




                                                                                                                   D-CNL003772
                                                                                                                      Appx. 00875
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                                EXHIBIT 56




                                                                          Appx. 00876
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                                                                   D-CNL003763

                                                                          Appx. 00877
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                                EXHIBIT 57




                                                                          Appx. 00878
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                                     PROMISSORY NOTE


$5,000,000.00                                                                         May 3, 2019


        FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT FUND
ADVISORS, LP. (“Maker”) promises to pay to the order of HIGHLAND CAPITAL
MANAGEMENT, LP (“Payee”), in legal and lawful tender of the United States of America, the
principal sum of FIVE MILLION and 00/100 Dollars ($5,000,000.00), together with interest, on
the terms set forth below (the “Note”). All sums hereunder are payable to Payee at 300 Crescent
Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from
time to time.

        1.     Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest. The accrued interest and principal of this Note
shall be due and payable on demand.

        3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

       4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a waiver thereof.

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

       6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys’ fees and expenses incurred by the holder hereof.




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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                             MAKER:




                                             FRANK WATERHOUSE




                                                2
                                                                                D-CNL003765
                                                                                       Appx. 00880
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                                EXHIBIT 58




                                                                          Appx. 00881
                                                                                                  Case 21-03005-sgj Doc 134-1 Filed 12/18/21                                                                                   Entered 12/18/21 02:10:25                                                          Page 883 of 896
               Highland Capital Management, L.P. - Cash
               Next 13 Weeks Commencing December 14, 2020
               (in thousands)
               CONFIDENTIAL DRAFT FOR ILLUSTRATIVE PURPOSES ONLY - NOT FINAL OR APPROVED FOR FURTHER DISTRIBUTION
                                                                           Actual       Forecast      Forecast                                Forecast           Forecast             Forecast           Forecast           Forecast            Forecast             Forecast            Forecast             Forecast             Forecast             Forecast


               Week beginning                                                        12/7                 12/14            12/21               12/28               1/4                 1/11               1/18               1/25                 2/1                  2/8                2/15                 2/22                  3/1                  3/8

               Beginning unrestricted operating cash                             $     12,537         $      11,948    $      10,684      $       11,051     $       11,771       $       11,048     $       11,188     $       11,353      $       10,486       $       11,445      $       10,860       $       10,279       $           8,145    $           8,381
               Operating Receipts
                 Management fees
                     CLOs                                                                    -                    -                -                     -                  -                    -                  -                -                     676                  -                   -                    -                    -                    -
                     Hedge funds                                                             -                    -                -                     -                  -                    -                  -                -                     -                    -                   -                    -                    -                    -
                     Private Equity, PetroCap, Port Co's                                     -                    -                -                     -                   63                  -                  -                -                     -                    -                   270                  -                    -                    -
                     Separate accounts                                                       -                    -                776                   -                  -                    -                  -                750                   165                  -                   579                  -                    -                    -
                 Management fees - managed funds                                 $           -        $           -    $           776    $              -   $               63   $              -   $              -   $            750    $              841   $              -    $              849   $              -     $              -     $              -

                      HCMFA / NPA investment support                                         -                    -                668                 -                    -                 668                -                   -                     668               -                      -                    -                    668                  -
                      Shared services receipts                                                39                  -                168                 385                  -                 168                290                 135                   -                 290                     60                   15                  -                    -
                  Intercompany and shared services revenue                                    39      $           -    $           836    $            385   $              -     $           836    $           290    $            135    $              668   $           290     $               60   $               15   $              668   $              -

                  Fund reimbursements                                                        -                    -                  60               -                     -                    -               100                   -                   -                    -                   100                  -                    -                    -
                  Interest receipts on notes receivable                                      -                    -                 -               2,051                   -                    -               -                     -                   -                    -                   -                    -                    -                    -
                  Dividend receipts (unencumbered)                                           -                    -                 -                 -                     -                    -               -                     -                   -                    -                   -                    -                    -                    -
                  Other miscellaneous receipts                                               -                    -                 -                 -                     -                    -               -                     -                   -                    -                   -                    -                    -                    -
                  Total other receipts                                           $           -        $           -    $             60   $         2,051    $              -     $              -   $           100    $              -    $              -     $              -    $              100   $              -     $              -     $              -

                      Total operating receipts                                   $               39   $           -    $       1,672      $         2,436    $              63    $           836    $           390    $            885    $           1,509    $           290     $           1,009    $              15    $              668   $              -

               Compensation and benefits
                 Payroll, benefits, and taxes + exp reimb                                   (408)                 (31)              -                  (556)                -                 (471)                 -               (561)                  -                 (535)                  -                (625)                    -                 (460)
                 Cash bonuses                                                                -                    -                 -                   -                   -                  -                    -                -                     -                  -                     -              (3,394)                    -                  -
                    Total compensation and benefits                              $          (408) $               (31) $            -     $            (556) $              -     $           (471) $               -   $           (561) $                -     $           (535) $                -     $        (4,019) $                  -     $           (460)

               General overhead
                 Outside legal (ordinary course)                                             (62)               -                  (499)                -                (560)                 -                  -                 (560)                -                    -                   -                   (560)                 -                    -
                 Independent director fees                                                   -                  -                   -                  (210)              -                    -                  -                  -                  (210)                 -                   -                    -                   (210)                 -
                 General overhead - critical vendors (pre-petition)                          -                  -                   -                   -                 -                    -                  -                  -                   -                    -                   -                    -                    -                    -
                 General overhead - post-petition vendors                                   (158)            (1,233)               (275)               (275)             (225)                (225)              (225)              (225)               (340)                (340)               (340)                (340)                (222)                (222)
                     Total general overhead                                      $          (220) $          (1,233) $             (774) $             (485) $           (785) $              (225) $            (225) $            (785) $             (550) $              (340) $             (340) $              (900) $              (432) $              (222)

                  Net change in cash due to operating activity                              (589)            (1,264)               898              1,395                (723)                140                165                (461)                  959               (585)                  669            (4,904)                    236               (682)

              Re-org related - payments direct to professionals
Pachulski/Hayward/Foley
                 Debtor bankruptcy counsel                                                   -                    -                 -                  (300)                -                    -                  -              (720)                   -                    -                   -                (720)                    -                    -
          DSI    Debtor FA/CRO                                                               -                    -                 -                   -                   -                    -                  -              (300)                   -                    -                   -                (300)                    -                    -
        Mercer Compensation consultant                                                       -                    -                 -                   -                   -                    -                  -               -                      -                    -                   -                 -                       -                    -
     Sidley/YoungCommittee counsel                                                           -                    -                (359)               (339)                -                    -                  -              (600)                   -                    -                   -                (600)                    -                    -
          FTI    Committee FA                                                                -                    -                (172)               (138)                -                    -                  -              (480)                   -                    -                   -                (480)                    -                    -
          KCC    Claims / noticing agent                                                     -                    -                 -                   -                   -                    -                  -               (30)                   -                    -                   -                 (30)                    -                    -
        Wilmer Regulatory & compliance counsel                                               -                    -                 -                  (100)                -                    -                  -              (100)                   -                    -                   -                (100)                    -                    -
                 Mediation                                                                   -                    -                 -                   -                   -                    -                  -               -                      -                    -                   -                 -                       -                    -
                 US Trustee                                                                  -                    -                 -                   -                   -                    -                  -              (175)                   -                    -                   -                 -                       -                    -
                    Total re-org related                                         $           -        $           -    $           (531) $             (877) $              -     $              -   $              -   $        (2,405) $                 -     $              -    $              -     $        (2,230) $                  -     $              -
                  Net change in cash from ops + reorg costs                                 (589)            (1,264)               367                 518               (723)                140                165             (2,866)                   959               (585)                  669            (7,134)                    236               (682)

               Investing cash flows (principal only on notes)
                  Jefferies prime brokerage, net or Select Equity Fund funding               -                    -                 -                  -                    -                    -                  -               2,000                  -                    -                -                    5,000                   -                    -
                  Third party fund capital call obligations                                  -                    -                 -                  -                    -                    -                  -                 -                    -                    -             (1,650)                   -                     -                    -
                  Third party fund expected distributions                                    -                    -                 -                  -                    -                    -                  -                 -                    -                    -                400                    -                     -                    -
                  Highland Capital Management Korea (capital call funding)                   -                    -                 -                  -                    -                    -                  -                 -                    -                    -                -                      -                     -                    -
                  Multi Strategy Credit Fund                                                 -                    -                 -                  -                    -                    -                  -                 -                    -                    -                -                      -                     -                    -
                  Highland Capital Management Latin America                                  -                    -                 -                  -                    -                    -                  -                 -                    -                    -                -                      -                     -                    -
                  Proceeds from outstanding notes                                            -                    -                 -                  202                  -                    -                  -                 -                    -                    -                -                      -                     -                    -
                  Divs, paydowns, misc from non-PB assets                                    -                    -                 -                  -                    -                    -                  -                 -                    -                    -                -                      -                     -                    -
                  Purchases of other investments (non-PB)                                    -                    -                 -                  -                    -                    -                  -                 -                    -                    -                -                      -                     -                    -
                  Proceeds from other investments (non-PB)                                   -                    -                 -                  -                    -                    -                  -                 -                    -                    -                -                      -                     -                    -

                  Net change in cash due to investing activities                             -                    -                 -                  202                  -                    -                  -               2,000                  -                    -             (1,250)                 5,000                   -                    -

               Financing cash flows
                  Required equity distributions                                              -                    -                 -                    -                  -                    -                  -                  -                   -                    -                   -                    -                    -                    -
                  Equity contributions                                                       -                    -                 -                    -                  -                    -                  -                  -                   -                    -                   -                    -                    -                    -
                  Existing debt paydowns                                                     -                    -                 -                    -                  -                    -                  -                  -                   -                    -                   -                    -                    -                    -

                  Net change in cash due to financing activities                             -                    -                 -                    -                  -                    -                  -                  -                   -                    -                   -                    -                    -                    -

               Ending unrestricted operating cash                                $     11,948         $      10,684    $      11,051      $       11,771     $       11,048       $       11,188     $       11,353     $       10,486      $       11,445       $       10,860      $       10,279       $           8,145    $           8,381    $           7,699




                                                                                                                                                                                                                                                                                                                                                                        D-CNL003810
                                                                                                                                                                                                                                                                                                                                                                         Appx. 00882
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                                EXHIBIT 59




                                                                          Appx. 00883
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     TO:            Board of Trustees or Board of Directors (as the case may be) (collectively, the
                    “Board”) of Highland Funds I, Highland Funds II, Highland Income Fund,
                    Highland Global Allocation Fund, NexPoint Strategic Opportunities Fund,
                    NexPoint Real Estate Strategies Fund and NexPoint Capital, Inc.

     FROM:          Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.
                    and NexPoint Securities, Inc.

     RE:            Supplemental 15(c) Information Request

     DATE:          October 23, 2020

             Pursuant to your supplemental request dated October 2, 2020, Highland Capital
     Management Fund Advisors, L.P. (“HCMFA”), NexPoint Advisors, L.P. (“NexPoint”, and
     with HCMFA, each, an “Adviser”, and together, the “Advisers”) and NexPoint Securities, Inc.
     (“NSI” the “Distributor”) submit the following supplemental information to the Board in order
     to assist the Board in fulfilling its obligations under Section 15(c) of the Investment Company
     Act of 1940, as amended (the “1940 Act”), and to assist in the Board’s consideration of the
     investment advisory, and other contractual arrangements, for the funds listed on Appendix A
     (each, a “Fund” and, collectively, the “Funds”). References to the 2020 15(c) Response dated
     August 13, 2020 and the supplemental response dated September 17-18, 2020 are referred to
     as the “2020 15(c) Response” and “2020 Supplemental 15(c) Response”, respectively.

            Your requests have been noted below, each of which is followed by our response.
     Unless otherwise specified, reference documents are located on Director’s Desk at the
     following location: Home > Documents > Corporate Documents > 15c Reference Documents.

     A.     Nature, Extent and Quality of Services

            1.      Please provide, to the extent practicable, the contingency plans with respect to
                    the services provided under the Shared Services Agreements in the event that
                    the outcome of the HCMLP bankruptcy proceedings were to impact the current
                    servicing structure. For example, has the Advisers considered any outside
                    service providers if necessary?

                    Response: As a result of the Highland Capital Management, L.P. (“HCMLP”)
                    bankruptcy, NexPoint’s senior management’s plan as a backup/contingency
                    plan is to extend employment offers to the vast majority of HCMLP’s employees
                    by December 31, 2020. This will help ensure that there is no disruption in
                    services to the Funds. Once we have further details of this we will advise. In
                    the interim, the plan is to continue with existing shared services.

                    Representatives of HCMLP and NexPoint will be available to discuss the
                    structure of these contingency plans, relevant employees, and communications


                                                                                                  1
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              to current employees regarding these matters. Representatives of HCMLP and
              NexPoint are working to facilitate the shared use of and/or transfer of services
              such as the intranet, shared computer drives, and third-party contracts.

        2.    Are there any material outstanding amounts currently payable or due in the
              future (e.g., notes) to HLCMLP by HCMFA or NexPoint Advisors or any other
              affiliate that provide services to the Funds?

              Response: As of June 30, 2020, $23,683,000 remains outstanding to HCMLP
              and its affiliates from NexPoint and $12,286,000 remains outstanding to
              HCMLP from HCMFA. The Note between HCMLP and NexPoint comes due
              on December 31, 2047. The earliest the Note between HCMLP and HCMFA
              could come due is in May 2021. All amounts owed by each of NexPoint and
              HCMFA pursuant to the shared services arrangement with HCMLP have been
              paid as of the date of this letter. The Adviser notes that both entities have the
              full faith and support of James Dondero.

        3.    The Board notes the provision of the updated list of current co-investments
              provided by HCMFA/NexPoint Advisors and the Advisers’ discussion,
              including the senior-level team in place, to address any potential conflicts of
              interest matters. With respect to the compliance function, please confirm that
              the Funds’ Chief Compliance Officer overall will continue in his usual role with
              respect to the Funds. Are there any other potential conflicts outside of the
              specific co-investment matters identified?

              Response: The Advisers confirm that the Funds’ Chief Compliance Officer
              overall will continue in his usual role with respect to the Funds. As of October
              14, 2020, the Funds’ Chief Compliance Officer is an employee of NexPoint.
              Please see Exhibit A for a list of current co-investments and cross-held positions
              where a future conflict may arise together with Exhibit B for the list of non-
              HCMLP employees available to assist the Board in any future conflicts.




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                                  Exhibit A

                           Co-Investment Analysis



        [PDF here: G:\Legal-Compliance\Retail\15c\2020\HCMLP BK Stuff]




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                                                                              Appx. 00886
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Highland Capital Management, LP ("HCMLP")
Condensed Co-Investment Analysis
As of 9/30/20

           Condensed Co-Investments 1
                                                                                                                                                                   Non-HCMLP
                                                                                                                            Funds Managed                          Investment
                                                    Investment                                            HCMLP MV           by HCMLP MV         Retail Funds       Coverage
       1   Metro-Goldwyn-Mayer Inc. Class A Common Stock                                                   $13,085,369        $418,019,027          $61,820,908     Dondero
       2   CCS Medical, Inc. (Chronic Care) Loan 1st Lien @ PRIME 7% 7/31/2021                                     -           121,166,994           47,510,599     Dondero
       3   TerreStar Corporation Term Loan A @ LIBOR 11% 2/28/2022                                                 -            49,742,043           40,159,485     Dondero
       4   VST US Equity                                                                                           -            41,904,280           24,381,982      Sowin
       5   NXRT                                                                                             10,799,003           2,228,410           21,256,955     McGraner
       6   Grayson CLO, Ltd. Class II Preference Shares                                                            -             2,201,500           18,861,500      Sowin
       7   NHT/U CN                                                                                          2,028,793                 -             18,524,594     McGraner
       8   NHF                                                                                               2,208,872           2,954,619           15,808,648     Dondero
       9   Advantage Sales & Marketing Inc. Term Loan (Second Lien) @ LIBOR 6.5% 7/25/2022                         -             1,940,140           13,784,695      Sowin
      10   Procera Networks, Inc. (aka Sandvine Corp) Initial Term Loan (First Lien) @ LIBOR 4.5% 10/31/2025       -             1,367,373           13,681,487      Sowin
      11   Gruden Acquisition, Inc. (aka Quality Distribution) ITL (First Lien) @ LIBOR 5.5% 8/18/2022             -             2,568,463           11,124,738      Sowin
      12   Westchester CLO, Ltd Class I Preference Shares 144A                                                     -             3,373,333           10,888,813      Sowin
      13   HRTX                                                                                                    -                81,510           10,686,168     Dondero
      14   Vistra Energy Corp. (fka TCEH Corp.) TXU TRA rights                                                     -             3,494,825           10,476,054      Sowin
      15   American Banknote Common                                                                            693,467                 -              1,843,371     Dondero
      16   American Airlines Escrow                                                                            154,650             630,365            1,444,839     Dondero
      17   Ginn LA Conduit Lender, Inc. 1st Lien A CL Deposit @ PRIME 4.5% 6/8/2011                             68,860             812,716              846,955      Sowin
      18   TerreStar Corporation TL C @ LIBOR 11% 2/28/2022                                                        -                25,418              553,282     Dondero
      19   CCS Medical, Inc. (Chronic Care) Common                                                                 -                 6,008                5,797     Dondero
           Sub-Total                                                                                       $29,039,013        $652,517,024         $323,660,869

           Additional HCMLP Ownership of Retail Funds (non-co-investments) 2
                                                                                                                                                Funds Managed
                                                   Investment                                              HCMLP MV         Retail Fund MV       by HCMLP MV
           Highland Opportunistic Credit Fund (HNRZX)                                                        $2,911,923                 -                    -
           NexPoint Real Estate Strategies Fund (NRSZX)                                                         663,982                 -                    -
           Sub-Total                                                                                         $3,575,905                  $0                   $0


           Footnote:
           1 - Listing includes the following: 1) all investments held by both HCMLP and retail funds, regardless of materiality 2) investments for which retail
           funds hold $10 million or greater in the aggregate and are also held by funds advised by HCMLP 3) investments for which retail funds hold ownership
           less than $10 million in the aggregate, the position is private and fair valued, and are also held by funds advised by HCMLP.
           2 - 'Additional HCMLP Ownership of Retail Funds' does not reflect other immaterial holdings of investments below $5,000.




                                                                                CONFIDENTIAL                                                            HCMFAS 000028

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  Highland Capital Management, LP ("HCMLP")
  Co-Investment Analysis
  As of 9/30/20

             Co-Investments, excluding holdings with zero market value
                                                                                                                                                                  Funds Managed by
                                                                                    Investment                                                    HCMLP MV           HCMLP MV            Retail Funds
         1   Metro-Goldwyn-Mayer Inc. Class A Common Stock                                                                                          $13,085,369       $418,019,027          $61,820,908
         2   CCS Medical, Inc. (Chronic Care) Loan 1st Lien @ PRIME 7% 7/31/2021                                                                            -          121,166,994           47,510,599
         3   TerreStar Corporation Term Loan A @ LIBOR 11% 2/28/2022                                                                                        -           49,742,043           40,159,485
         4   VST US Equity                                                                                                                                  -           41,904,280           24,381,982
         5   NXRT                                                                                                                                    10,799,003          2,228,410           21,256,955
         6   Grayson CLO, Ltd. Class II Preference Shares                                                                                                   -            2,201,500           18,861,500
         7   NHT/U CN                                                                                                                                 2,028,793                -             18,524,594
         8   NHF                                                                                                                                      2,208,872          2,954,619           15,808,648
         9   Advantage Sales & Marketing Inc. Term Loan (Second Lien) @ LIBOR 6.5% 7/25/2022                                                                -            1,940,140           13,784,695
        10   Procera Networks, Inc. (aka Sandvine Corp) Initial Term Loan (First Lien) @ LIBOR 4.5% 10/31/2025                                              -            1,367,373           13,681,487
        11   Gruden Acquisition, Inc. (aka Quality Distribution) ITL (First Lien) @ LIBOR 5.5% 8/18/2022                                                    -            2,568,463           11,124,738
        12   Westchester CLO, Ltd Class I Preference Shares 144A                                                                                            -            3,373,333           10,888,813
        13   HRTX                                                                                                                                           -               81,510           10,686,168
        14   Vistra Energy Corp. (fka TCEH Corp.) TXU TRA rights                                                                                            -            3,494,825           10,476,054
        15   Traverse Midstream Partners LLC Advance @ LIBOR 5.5% 9/27/2024                                                                                 -           25,916,705            9,945,051
        16   VM Consolidated, Inc. (aka American Traffic Solutions) B-1 1st Lien Non-ext @ LIBOR 3.25% 2/28/2025                                            -            2,719,702            9,594,505
        17   Edelman Financial Center, LLC, The (fka Flight Debt Merger Sub Inc.) Initial Term Loan (Second Lien) @ LIBOR 6.75% 7/20/2026                   -              125,340            9,078,334
        18   Forest City Enterprises, L.P. Replacement TL @ LIBOR 3.5% 12/8/2025                                                                            -            2,222,324            8,889,297
        19   Avaya Inc. B TL @ LIBOR 4.25% 12/15/2024                                                                                                       -            1,357,685            8,802,760
        20   MPMQ Appraisal Rights Claims                                                                                                                   -              527,460            8,224,455
        21   USS Ultimate Holdings, Inc. (aka United Site Services, Inc.) Initial Term Loan (First Lien) @ LIBOR 3.75% 8/25/2024                            -            2,877,263            6,691,414
        22   PSC Industrial Holdings Corp. Term Loan (First Lien) @ LIBOR 3.75% 10/11/2024                                                                  -            3,685,775            6,511,970
        23   EnergySolutions, LLC (aka Envirocare of Utah, LLC) Initial Term Loan @ LIBOR 3.75% 5/9/2025                                                    -            7,194,271            5,678,112
        24   Truck Hero, Inc. Initial TL 2nd Lien @ LIBOR 8.25% 4/21/2025                                                                                   -              645,557            5,561,471
        25   Envision Healthcare Corporation Initial Term Loan @ LIBOR 3.75% 10/10/2025                                                                     -            2,854,870            5,502,657
        26   AERI                                                                                                                                           -               35,310            5,211,756
        27   MDPK 2014-15A Float - 01/2026 - DR - 55818WAG0 @ LIBOR 5.4400 1/27/2026                                                                        -            1,249,500            4,774,875
        28   Brentwood CLO Ltd Class II Preference Shares                                                                                                   -            7,424,000            4,416,000
        29   Jo-Ann Stores, LLC Initial Loan @ LIBOR 5% 10/20/2023                                                                                          -            2,354,854            4,384,100
        30   Advantage Sales & Marketing Inc. Initial Term Loan (First Lien) @ LIBOR 3.25% 7/23/2021                                                        -            1,896,829            3,571,805
        31   Radnet Management, Inc. T B-1 L @ LIBOR 3.75% 6/30/2023                                                                                        -            1,601,339            3,479,728
        32   Fort Dearborn Holding Company, Inc. Initial Term Loan (First Lien) @ LIBOR 4% 10/19/2023                                                       -            1,394,305            3,406,180
        33   Sound Inpatient Physicians, Inc. Initial Term Loan (Second Lien) @ LIBOR 6.75% 6/26/2026                                                       -              326,460            3,264,600
        34   Liberty CLO, Ltd. Preferred                                                                                                                    -            8,339,310            2,989,000
        35   UDFI                                                                                                                                           -            1,291,306            2,801,645
        36   Auris Luxembourg III S.a r.l. Facility B2 @ LIBOR 3.75% 2/27/2026                                                                              -            1,891,886            2,364,858
        37   BIO                                                                                                                                            -              171,133            2,319,570
        38   Dayco Products LLC - (Mark IV Industries, Inc.) Term Loan @ LIBOR 4.25% 5/19/2023                                                              -            1,587,518            2,121,554
        39   Rockwall CDO, Ltd. Preferred Shares                                                                                                            -            5,211,000            2,026,500
        40   AVYA                                                                                                                                           -           30,877,250            1,911,598
        41   RWIC NOT LISTED                                                                                                                                -              579,000            1,852,800
        42   American Banknote Common                                                                                                                   693,467                -              1,843,371
        43   TCW 2019-2A D2A Float - 10/02032 - 87242BAS9 @ 4.89 10/20/2032                                                                                 -            1,250,000            1,750,000
        44   Red River CLO, Ltd. Red River CLO                                                                                                              -            3,797,722            1,744,900
        45   American Airlines Escrow                                                                                                                   154,650            630,365            1,444,839
        46   Refinitiv US Holdings Inc. (fka Financial & Risk US Holdings, Inc.) Initial Dollar Term Loan @ LIBOR 3.25% 10/1/2025                           -            1,950,070            1,231,425
        47   Scientific Games International, Inc. Initial Term B-5 Loan @ LIBOR 2.75% 8/14/2024                                                             -            3,715,025            1,213,050
        48   ACIS 2015-6A Zero Coupon - 05/2027 - SUB - 004524AD6 @ Zero Coupon 0.0000 5/1/2027                                                             -            8,296,000            1,200,000
        49   CIFC 2015-5A DR Float - 10/02027 - 12550NAJ7 @ 5.55 10/25/2027                                                                                 -            1,109,375            1,198,125
        50   General Nutrition Centers, Inc. FILO Term Loan @ PRIME 8% 12/31/2022                                                                           -              487,190            1,148,178
        51   Change Healthcare Holdings, LLC closing date TL @ LIBOR 2.5% 3/1/2024                                                                          -            2,709,671              991,845
        52   CIFC 2016-1A D2R Float - 10/02031 - 17180TAW2 @ 4.43 10/21/2031                                                                                -              980,000              980,000
        53   TMO                                                                                                                                            -              201,775              927,192
        54   ACIS 2015-6A Float - 05/2027 - D - 00452PAR8 @ LIBOR 3.7700 5/1/2027                                                                           -            1,810,000              905,000
        55   Edelman Financial Center, LLC, The (fka Flight Debt Merger Sub Inc.) Initial Term Loan (First Lien) @ LIBOR 3% 7/21/2025                       -            3,329,415              903,218
        56   AHT1 2018-KEYS E Float - 05/02035 - 04410CAN9 @ 4.15 05/15/2035                                                                                -              695,663              850,255
        57   ABERD                                                                                                                                          -              905,975              847,525
        58   Ginn LA Conduit Lender, Inc. 1st Lien A CL Deposit @ PRIME 4.5% 6/8/2011                                                                    68,860            812,716              846,955
        59   Bausch Health Companies Inc. (fka Valeant Pharmaceuticals International, Inc.) Initial Term Loan @ LIBOR 3% 6/2/2025                           -            3,010,042              825,922
        60   CSC Holdings, LLC (fka CSC Holdings Inc. (Cablevision)) March 2017 Refinancing Term Loan @ LIBOR 2.25% 7/17/2025                               -            1,142,030              824,572
        61   Hub International Limited Initial Term Loan @ LIBOR 3% 4/25/2025                                                                               -            1,270,064              819,121
        62   Nielsen Finance LLC (VNU, Inc.) Class B-4 Term Loan @ LIBOR 2% 10/4/2023                                                                       -              480,085              813,503
        63   PRTK                                                                                                                                           -              100,626              757,508
        64   MPH Acquisition Holdings LLC Initial Term Loan @ LIBOR 2.75% 6/7/2023                                                                          -            3,767,027              739,421
        65   VICI Properties 1 LLC Term B Loan @ LIBOR 1.75% 12/20/2024                                                                                     -              969,035              726,776
        66   McAfee, LLC Term B USD Loan @ LIBOR 3.75% 9/30/2024                                                                                            -            1,469,387              722,848
        67   IRB Holding Corp. (aka Arby's / Buffalo Wild Wings) 2020 Replacement Term B Loan @ Libor 2.75% 2/5/2025                                        -              531,087              716,184
        68   Global Medical Response, Inc. (aka Air Medical) 2018 Term Loan @ LIBOR 3.25% 4/28/2022                                                         -              969,179              699,346
        69   CityCenter Holdings, LLC Term B Loan @ LIBOR 2.25% 4/18/2024                                                                                   -              344,250              694,346
        70   Misys Limited (aka Almonde/Tahoe, Finastra USA) Dollar Term Loan (First Lien) @ LIBOR 3.5% 6/13/2024                                           -              920,265              693,200
        71   Golden Nugget, Inc. (aka Landry's Inc.) TL @ LIBOR 2.5% 10/4/2023                                                                              -              383,374              671,846
        72   H.B. Fuller Company Commitment @ LIBOR 2% 10/20/2024                                                                                           -              250,488              638,664
        73   Lightstone Holdco LLC Refinancing Term B Loan @ LIBOR 3.75% 1/30/2024                                                                          -            4,262,832              616,367
        74   ACHC                                                                                                                                           -               73,700              589,600
        75   Crown Finance US, Inc. (aka Cineworld Group plc) Initial Dollar Tranche Term Loan @ LIBOR 2.5% 2/28/2025                                       -           11,999,814              572,658
        76   Calpine Corporation Term Loan (2015) @ LIBOR 2.25% 1/15/2024                                                                                   -              375,085              567,158
        77   TerreStar Corporation TL C @ LIBOR 11% 2/28/2022                                                                                               -               25,418              553,282
        78   TransDigm Inc. Tranche E Refinancing Term Loan @ LIBOR 2.25% 5/30/2025                                                                         -            6,149,465              542,437
        79   Tronox Finance LLC Initial Dollar Term Loan (First Lien) @ LIBOR 3% 9/23/2024                                                                  -            3,327,701              493,305
        80   Solera, LLC (Solera Finance, Inc.) Dollar TL @ LIBOR 2.75% 3/3/2023                                                                            -              446,555              490,314
        81   AlixPartners, LLP 2017 Refinancing Term Loan @ LIBOR 2.5% 4/4/2024                                                                             -            3,254,084              483,887
        82   iHeartCommunications, Inc. (fka Clear Channel Communications, Inc.) 6.375% - 05/2026 - 45174HBC0 FIX 6.375% 5/1/2026                           -                1,446              482,002
        83   Fieldwood Energy LLC Closing Date Loan (First Lien) @ LIBOR 5.25% 4/11/2022                                                                    -           10,941,771              479,396
        84   HLF 1X Floating - 08/2014 - C1 - 43037QAE9 @ LIBOR 0.0000 8/2/2018                                                                             -              318,583              477,874
        85   Ineos US Finance LLC New 2024 Dollar Term Loan @ LIBOR 2% 4/1/2024                                                                             -            2,131,748              474,805
        86   CGMS 2019-4A D Float - 01/02033 - 14317WAA6 @ 7.65 01/15/2033                                                                                  -              930,500              465,250
        87   BJ's Wholesale Club, Inc. Tranche B Term Loan (First Lien) @ LIBOR 2% 2/3/2024                                                                 -              515,535              460,180
        88   Titan Acquisition Limited (aka Husky IMS International Ltd.) Initial Term Loan @ LIBOR 3% 3/28/2025                                            -              923,108              459,071
        89   Plantronics, Inc. Initial Term B Loan @ LIBOR 2.5% 7/2/2025                                                                                    -           12,145,824              376,874
        90   SS&C Technologies Holdings, Inc. Term B-5 Loan @ LIBOR 2.25% 4/16/2025                                                                         -              952,120              264,538
        91   Berry Global, Inc. (fka Berry Plastics Corporation) Term W Loan @ LIBOR 2% 10/1/2022                                                           -              339,055              248,184
        92   Applied Systems, Inc. Closing Date Term Loan (First Lien) @ LIBOR 3.25% 9/19/2024                                                              -            1,693,433              245,795
        93   SolarWinds Holdings, Inc. 2018 Refinancing Term Loan (First Lien) @ LIBOR 2.75% 2/5/2024                                                       -              956,532              243,383
        94   VAHA 2004-1A Variable - 08/2012 - 91914QAA4 @ Variable 0.0000 8/1/2012                                                                         -              375,000              225,000
        95   SRC                                                                                                                                            -                1,212              220,219
        96   COLL                                                                                                                                           -               62,398              166,456
        97   Texas Competitive Electric Holdings Company LLC (TXU) Escrow Loan Extended @ LIBOR 0%                                                          -                2,079              151,087
        98   AAMRQ escrow Common Stock                                                                                                                      -               57,400              123,000
        99   Tecton 9 PERP                                                                                                                                  -              467,201              114,573
       100   ACRG/A/U CN                                                                                                                                    -               41,887              111,422
       101   NRG                                                                                                                                            -               26,498               83,767
       102   FGI Operating Company, LLC Common                                                                                                              -               51,252               68,922
       103   Fieldwood Energy LLC Common1                                                                                                                   -               15,420               56,288
       104   ACRG/B/U CN                                                                                                                                    -               15,022               39,960
       105   Lightstone Holdco LLC Refinancing Term C Loan @ LIBOR 3.75% 1/30/2024                                                                          -              240,430               34,764
       106   SMTA (Delisted 01/02/2020)                                                                                                                     -               93,852                7,880
       107   CCS Medical, Inc. (Chronic Care) Common                                                                                                        -                6,008                5,797
             Total                                                                                                                                  $29,039,013       $878,908,335         $495,707,848

             Additional HCMLP Ownership of Retail Funds (non-co-investments) 1
                                                                                                                                                                                       Funds Managed by
                                                                             Investment                                                           HCMLP MV         Retail Fund MV         HCMLP MV
             Highland Opportunistic Credit Fund (HNRZX)                                                                                              $2,911,923                 -                       -
             NexPoint Real Estate Strategies Fund (NRSZX)                                                                                               663,982                 -                       -
             Total                                                                                                                                   $3,575,905                 0.00                     $0


             Footnote:
             1 - 'Additional HCMLP Ownership of Retail Funds' does not reflect other immaterial holdings of investments below $5,000.



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                                                   Exhibit B

                                           Non-HCMLP Employees

                                                                                                        Employed
Name             Role                             Current Title                                         By
Jim Dondero      Senior Investment Team Member    Partner                                               NPA
Jason Post       Chief Compliance Officer         Chief Compliance Officer                              NPA
Joe Sowin        Senior Investment Team Member    Co-CIO and Head of Global Equity Trading              HCMFA
Brad Heiss       Senior Investment Team Member    Managing Director                                     HCMFA
Matt McGraner    Senior Investment Team Member    Managing Director                                     NPA
Dustin Norris    Fund Officer/Liaison             Head of Distribution and Chief Product Strategist     NPA
DC Sauter        Legal                            General Counsel                                       NPA
Eric Holt        Compliance                       Chief Compliance Officer, Affiliated Broker Dealers   NSI
David Willmore   Accounting/Operations            Senior Manager, Real Estate Accounting                NXRT
Paul Richards    Valuation                        Director, Real Estate                                 NPA
Jackie Graham    PR/Marketing                     Investor Relations Manager                            NPA

HCMFA            Highland Capital Management Fund Advisors, L.P.
NPA              NexPoint Advisors, L.P.
NSI              NexPoint Securities, Inc.
NXRT             NexPoint Residential Trust, Inc.




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                                         Appendix A

 Open-End Funds

        Highland Funds I:

        1.   Highland Healthcare Opportunities Fund
        2.   Highland/iBoxx Senior Loan ETF
        3.   Highland Opportunistic Credit Fund (in liquidation)
        4.   Highland Merger Arbitrage Fund

        Highland Funds II:

        5.   Highland Small-Cap Equity Fund
        6.   Highland Socially Responsible Equity Fund
        7.   Highland Fixed Income Fund (sub-advised)
        8.   Highland Total Return Fund (sub-advised)

 Closed-End Funds

        9. NexPoint Capital, Inc.
               a. BDC REIT Sub, LLC                                     (REIT Subsidiary)
        10. NexPoint Strategic Opportunities Fund
               a. NexPoint Real Estate Opportunities, LLC               (REIT Subsidiary)
               b. NexPoint Real Estate Capital, LLC                     (REIT Subsidiary)
        11. Highland Income Fund
               a. HFRO Sub, LLC                                        (Credit Subsidiary)
               b. NFRO REIT Sub, LLC                                    (REIT Subsidiary)
        12. Highland Global Allocation Fund
               a. GAF REIT, LLC                                         (REIT Subsidiary)


 Interval Funds:

        13. NexPoint Real Estate Strategies Fund
               a. NRESF REIT Sub, LLC                                   (REIT Subsidiary)




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                                EXHIBIT 60




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                                            Highland Capital Management, LP
                                               Schedule of Investments, net

         Fund                                                                             Ticker          7/31/2020 FMV

         INVESTMENTS, AT FAIR VALUE:
         HEDGE FUNDS:
         Multi-Strategy Credit Fund (4)                                                                   $     7,026,019
         Highland Dynamic Income Fund                                                                                 -
         Highland Select Equity Fund - Jefferies                                                          $           -
         SUBTOTAL                                                                                               7,026,019

         PRIVATE EQUITY FUNDS:
         Highland Select Equity Fund - PE (4)                                                             $    95,472,589
         Restoration Capital Partners (4)                                                                      27,626,237
         Petrocap Partners II (1)                                                                             10,142,249
         Petrocap Partners III (1)                                                                              2,725,623
         Highland CLO Funding (1)                                                                                 269,275
         SUBTOTAL                                                                                             136,235,973

         CORPORATE SECURITIES - PUBLIC:
         Public securities - Jefferies account, net of borrow (3)                                              20,949,643
         NexPoint Hospitality Trust                                                     NHT (TSX)               4,458,885
         NexPoint Real Estate Strategies Fund (custodied at AST)                         NRSZX                    225,302
         NexPoint Residental Trust (custodied at Maxim)                                  NXRT                         -
         NexPoint Strategic Opportunities Fund (custodied at Maxim)                       NHF                         -
         Minerva Neuroscience Inc.                                                       NERV                         -
         SUBTOTAL                                                                                              25,633,830

         CORPORATE SECURITIES - PRIVATE/OTC:
         MGM Common Stock (2)                                                                                   8,085,367
         JHT Holdings, Inc. Common                                                                              5,102,801
         Cornerstone Common                                                                                     2,967,377
         NHT Holdco                                                                                             2,069,886
         HE Capital Asante, LLC Loan C                                                                          1,215,531
         American Banknote Corp.                                                                                  837,564
         Goldfield Ranch Realty Holdings, LLC Loan                                                                832,048
         American Airlines Escrow                                                                                 113,410
         BEA CBO                                                                                                  100,000
         Ginn LA Conduit Lender, Inc. 1st Lien                                                                     68,860
         Goldfield Ranch Realty Holdings, LLC Incremental TL                                                       66,516
         Turtle Bay Units                                                                                          56,934
         Progenics Pharmaceuticals Contingent Rights                                                               42,560
         Carey International, Inc. Term Loan                                                                      268,095
         Romacorp Common Stock                                                                                    120,796
         OmniMax International, Inc. Common                                                                           171
         SUBTOTAL                                                                                              21,947,915

         OTHER:
         Little Terrell Land                                                                                     398,450
         SUBTOTAL                                                                                                398,450

         TOTAL INVESTMENTS, AT FAIR VALUE                                                                 $   191,242,187

         SUBSIDIARIES:
         Highland Capital Management Korea Limited                                                        $       968,322
         Maple Avenue Holdings                                                                                    586,989
         Penant, Ltd.                                                                                             417,366
         SUBTOTAL                                                                                         $     1,972,678

         TOTAL INVESTMENTS                                                                                $   193,214,865

         (1)
             7/31/20 FMV carried forward from 3/31/20, as that is the most recent available information
         (2)
             MVs represents a value, net of $5.2mm Frontier borrow
         (3)
             MV represents value of Jefferies account
         (4)
             7/31/20 FMV is as of 6/30/20, as that is the most recent available information




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HCMLP Equity
10/31/19 - 7/31/20
(all values in millions)

10/31/19     399,573
11/30/19     411,674
12/31/19     349,812
1/31/20      347,150
2/29/20      323,569
3/31/20      181,954
4/30/20      182,351
5/31/20      195,713
6/30/20      199,105
7/31/20      247,665




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HCMLP Notes Receivable
As of 7/31/2020

NexPoint Advisors                                 $   23,846,944   30 yr Amort (issued 2017)
Dugaboy                                               17,788,532   30 yr Amort (issued 2017)
Highland Capital Management Services                   6,677,529   30 yr Amort (issued 2017)
HCRE                                                   5,938,670   30 yr Amort (issued 2017)
Trussway                                               1,004,993   Due upon maturity - 11/1/2021
SSP Holdings, LLC                                      2,037,898   Due upon maturity - 11/22/2022
Siepe                                                  2,334,606   Equity conversion option
Highland Capital Management Fund Advisors             10,530,971   Demand
James Dondero                                          8,911,977   Demand
Multi-Strategy Credit Fund                             1,269,000   Demand
HCRE                                                   4,859,929   Demand
Highland Select Equity Fund                            3,000,000   Demand
Highland Capital Management Korea                      3,760,000   Due upon maturity - 4/21/2037
Highland Capital Management Services                     934,331   Demand
   Total Notes Receivable                         $   92,895,380


Demand                                                29,506,208




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